                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

IN THE MATTER OF:

STAYMOBILE VENTURE LLC                                      Chapter 7
                                                            Case No. 22-43781-lsg
                                                            Hon. Lisa S. Gretchko
              Debtor(s)
                                             /

                       TRUSTEE'S MOTION FOR
        ORDER APPROVING SALE PROCEDURES FOR AUCTION SALE OF
       DEBTOR’S INVENTORY, FURNITURE, FIXTURES, AND EQUIPMENT
     AND MOTION TO TRANSFER LIENS AND INTERESTS TO SALE PROCEEDS

       Timothy J. Miller, Trustee, by and through his attorneys OSIPOV BIGELMAN, P.C.
states for the Trustee’s Motion (“Motion”) for Order Approving Auction Sale of Debtor’s
Inventory, Furniture, Fixtures, and Equipment, and Motion to Transfer Liens and Interests to
Sale Proceeds as follows:
                                          Background
1.     The Debtor is a limited liability corporation that had operations and assets in several
       states, including significant assets at facilities in Georgia, Pennsylvania, South Carolina,
       Nevada, and Texas (collectively, the “Facilities”).       Such assets include inventory,
       business equipment, and other tangible property.
2.     On May 9, 2022 (the “Petition Date”), the Debtor filed a voluntary Chapter 7 bankruptcy
       petition. The Debtor’s day-to-day business operations ceased immediately prior to the
       Petition Date, when substantially all of its employees were terminated.
3.     According to the Debtor’s Schedules, on the Petition Date (i) the Debtor’s personal
       property (inventory and equipment) has a scheduled value of$8,960,787.00; (ii) the
       purported secured creditors with secured interests in the personal property claim to be
       owed $2,512,000.00; and (iii) the unsecured creditors (priority and nonpriority) have
       scheduled claims at $5,879,104.00.
4.     Timothy J. Miller, Trustee is the duly appointed Chapter 7 Trustee in this case.
5.     The Trustee must collect and reduce to money all property of the estate, pursuant to 11




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      U.S.C. § 704(a)(1).
6.    Since his appointment, the Trustee has taken steps to preserve and protect the Debtor’s
      assets. On May 17, 2022, the Trustee filed his Application to retain the law firm of
      Osipov Bigelman, P.C. to assist him in locating and securing the Debtor’s assets (ECF
      No. 17). The Court entered an order approving counsel’s employment on May 17, 2022
      (ECF No. 20) With the assistance of counsel, the Trustee has ensured the continued
      security of Debtor’s assets at the Facilities, including working with the various landlords,
      insurance providers, security firms, and utilities.
7.    The Trustee seeks authority to sell Debtor’s remaining inventory, furniture, fixtures,
      equipment, and other personal property pursuant to a public auction sale.
8.    The Trustee, with the assistance of counsel, has negotiated with Liquid Asset Partners,
      LLC (“Auctioneer”), a liquidation firm which routinely takes possession of and disposes
      of assets of the type and in the locations where the Debtor maintained its assets. Trustee,
      through his counsel, and the Auctioneer have reached an agreement to secure the assets,
      prepare the assets for sale and liquidate them in an orderly manner formulated to
      maximize the value of the Chapter 7 estate. The Trustee filed his amended Application to
      employ Auctioneer on June 27, 2022 (ECF No. 119).
9.    As more fully set forth in the Liquidation Agreement attached hereto as Exhibit B, the
      Auctioneer will conduct “going out of business,” “store closing,” “bankruptcy
      liquidation,” or similarly themed sales, as well as conducting an auction sale, wholesale
      sale, or sale in bulk, at the Facilities in order to maximize the liquidation proceeds of the
      inventory and equipment at the Facilities.
10.   The Auctioneer has identified the following anticipated timeline, to commence
      immediately upon entry of an order approving this Motion, online and at each of the
      Facilities:
              Day 1 to 5: Onsite evaluation, setup, cataloging, and lotting of the sealed bid lots
              Day 6 to 15: Sealed bid customer meetings & preparing “other assets” for auction
              Day 15 to 20: Listing of auction lots online
              Day 21: Closing sealed bid to highest and best bidder, start bulk removal
              Day 35: Auction previews
              Day 36: Auction day
              Day 37 to 44: Auction invoicing, payment collection, and asset removals
              Day 45: Final walk-through and completion on site
              Day 60: Final accounting finished



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11.   Auctioneer has agreed to waive any sales commissions and market and sell the Assets in
      consideration of a 15% buyer’s premium.
12.   Auctioneer has agreed to secure a surety bond and to cap expenses at $48,500.00.
      Expenses are expected to consist of site supervisors, temporary labor, marketing and
      advertising, accounting of sale proceeds, insurance, credit card processing fees, and any
      other costs typically incurred in such auction sales. This does not include costs of the
      surety bond required by the US Trustee which is estimated to cost $7,500.00.
13.   The items to be sold (“Assets”) are identified in the asset list attached hereto as Exhibit
      A. Pending sale, the Assets will remain in place at the Facilities, which the Trustee has
      secured.
14.   The Trustee asserts that the Auctioneer’s liquidation of the Assets as set forth herein will
      benefit the Estate and its creditors.
15.   The Trustee seeks a prompt liquidation of the Assets from the Facilities, as the estate
      continues to incur expenses associated with the preservation of the Assets, including rent,
      insurance, utilities, and security.
                                              Argument
                         Sale Outside the Ordinary Course of Business
16.   The Trustee is seeking, inter alia, an order authorizing the sale of the Debtor’s Assets,
      outside the ordinary course of the Debtor’s day-to-day business operations, to be
      conducted at the Facilities.
17.   11 U.S.C. § 363(b)(1) provides that “[t]he trustee, after notice and a hearing, may use,
      sell, or lease, other than in the ordinary course of business, property of the estate.”
      Moreover, 11 U.S.C. § 105(a) provides that “[t]he Court may issue any order, process, or
      judgment that is necessary or appropriate to carry out the provisions of this title.”
18.   The Trustee may sell assets outside of the ordinary course of business under § 363(b)(1)
      if a sound business purpose exists for doing so. In re Woodberry, 629 B.R. 239, 246
      (Bankr. E.D. Mich., 2021).
19.   The relevant factors in deciding whether a sound business purpose exists for a § 363 sale
      of assets are: (i) whether the terms of the proposed sale reflect the highest and best offer
      for the assets; (ii) whether negotiations have been conducted at arm’s length and (iii)




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      whether the sale is in the best interest of the estate and its creditors. Stephens Indus., Inc.
      v. McClung, 789 F.2d 386, 390 (6th Cir. 1986).
20.   In this case, the analysis of the relevant factors favors a ruling that the Auctioneer’s sale
      of the Asssets is based in a sound business purpose. The Trustee has consulted with
      several representatives of the Debtor, the Debtor’s financial consultants, creditors,
      financial professionals, and several liquidation professionals (including Auctioneer).
      Based upon the Trustee’s investigation and analysis of the Debtor’s ongoing and future
      business prospects, the Trustee has determined that the Debtor has little value as a going-
      concern, and that a sale of the Assets by auction pursuant to 11 U.S.C. § 363 is the most
      effective way to maximize their value, particularly where the costs of preserving the
      Assets continue to accumulate. Maximizing asset value and preventing accumulation of
      administrative costs are sound business purposes that warrant authorizing the proposed
      auction sale. The sale of the Assets will be well-marketed and open to the public. The
      Assets will be sold on the open market for the prices that the market will bear. The
      Auctioneer’s sale of the Assets is the most efficient way to liquidate the Assets, thereby
      maximizing the recovery of the creditors in this case.
21.   Accordingly, the auction sale of the Assets is appropriate under 11 U.S.C. §§ 105 and
      363. The procedures set forth herein will ensure that the bidding process is fair and
      reasonable and will yield the maximum return for the estate and creditors. Auctioneer is
      a qualified and nationally renowned liquidation specialist, and has the knowledge,
      personnel, and experience to obtain maximum value for the Assets.
                 Waiver of Compliance with any State and Local Restrictions
22.   Given the varied geographical locations of the Facilities, there could be state and local
      laws, statutes, rules, and ordinances which place various restrictions on the types of sales
      contemplated by this Motion. These restrictions could include licensure requirements,
      waiting periods, time limitations or other procedures for the sale. However, this Court
      has exclusive jurisdiction over the Debtor’s property, wherever located. 28 U.S.C.
      §1334(e)(1). Conflicts with state and local laws are resolved in favor of the Bankruptcy
      Code, to the extent there is a conflict with the underlying policies of the Bankruptcy
      Code. Reinhardt v. Vanderbilt Mortgage and Fin., Inc., 563 F.3d 558, 563 (6th Cir.
      2009) (finding that Bankruptcy Courts only look to state law “to the extent it does not




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      conflict with the bankruptcy code”); see also, Belculfine v. Aloe (In re Shenango Group,
      Inc.), 186 B.R. 623, 628 (Bankr. W.D. Pa. 1995), aff'd 112 F.3d 633 (3d Cir. 1997).
      Where the non-Bankruptcy Code law involves economic regulation, rather than public
      health and safety, Bankruptcy preemption is more appropriate. See Baker & Drake, Inc.
      v. Public Serv. Comm 'n of Nev. (In re Baker & Drake, Inc.), 35 F.3d 1348, 1353 (9th Cir.
      1994).
23.   Any state or local restrictions that might be placed on the Auctioneer’s sale of the Assets
      would undermine the Trustee’s ability to fulfill his statutory duty to liquidate the assets in
      an expeditious manner. Furthermore, 11 U.S.C. § 363(b)(1) specifically allows for sales
      outside of the Debtor’s ordinary course of business with Bankruptcy Court approval.
      Authorizing the Sale to proceed without regard to state and local laws that would inject
      delay and burden through licensure, waiting periods or time limits, or restrictions on
      advertising, is necessary and appropriate.
24.   The Trustee also seeks an injunction against any action by any lessor or any federal, state
      or local agency, department or governmental authority or any other entity to prevent,
      interfere or otherwise hinder consummation of the Auctioneer’s sale of the Assets or
      advertisements relating to such sales. See Missouri v. U.S. Bankruptcy Court, 647 F.2d
      768, 776 (8th Cir. 1981) (concluding that state laws that primarily relate to the regulation
      of pecuniary interest in the debtor’s property directly conflict with the control of the
      debtor’s property by the Bankruptcy Court). The Trustee acknowledges that any such
      injunction should be narrowly tailored to facilitate the sale of the Assets. Accordingly,
      the Trustee does not seek to enjoin ability of Governmental Units (as defined in 11
      U.S.C. § 101(27)) from enforcing any applicable state and local public health and safety
      laws or any tax, labor, employment, environmental, or consumer protection laws,
      including consumer laws regulating deceptive practices and false advertising.
25.   The Trustee is unaware of any provisions in any of the Debtor’s leases of the Facilities
      that would condition or prohibit the sale as contemplated by this Motion. Nevertheless,
      to the extent that any such lease would contain such provisions, such provisions are
      unenforceable, as they “conflict with a debtor’s statutory right to receive the full benefit
      of its . . . liquidation efforts.” In re Tobago Bay Trading Co., 112 B.R. 463, 467 (Bankr.
      N.D. Ga. 1990) (finding that Bankruptcy Code Section 365 exempts from timely




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      performance lease clauses that restrict the debtor’s liquidation and noting that Section
      365 applies in Chapter 7 proceedings); see also, In re Lisbon Shops, Inc., 24 B.R. 693,
      695 (Bankr. E.D. Mo. 1982) (finding that restrictive lease clauses at issue in a Chapter 11
      proceeding were unenforceable to the extent they purport to restrict a debtor’s going-out-
      of-business sale). To the extent any of the Facility leases contain provisions which
      purport to restrict the Auctioneer’s sale of the Assets, the Trustee requests that the Court
      authorize the Trustee and Auctioneer to conduct such sale without regard to such
      provisions.
                                     Sale Free and Clear of Interests
26.   To facilitate the Auctioneer’s ability to maximize the value of the Assets, the Trustee
      requests authorization to sell such Assets free and clear of any and all interests, including
      claims, liens, and encumbrances that may be asserted against the Assets.
27.   Alleged secured claims total $2,500,000.00 ($1,500,000.00 held by Brian Eisenberg,
      $500,000.00 held by Kenneth Eisenberg, and $500,000.00 held by Stephen Eisenberg).
      The Trustee has disputed the validity of these liens, on the grounds that some of the
      alleged funds were not actually loaned to the Debtor, and/or the liens were not properly
      perfected or are otherwise avoidable or subject to setoff
28.   Pursuant to 11 U.S.C. § 363(f), the Trustee may sell property free and clear of any
      interest in such property if, among other things, any one of the following five conditions
      are met:
             1) applicable nonbankruptcy law permits sale of such property free and clear of
                    such interest;
             2) such entity consents;
             3) such interest is a lien and the price at which such property is sold is greater
                    than the aggregate value of all liens on such property;
             4) such interest is in bona fide dispute; or
             5) such entity could be compelled, in a legal or equitable proceeding, to accept a
                    money satisfaction of such interest.
29.   11 U.S.C. § 363(f) permits the sale of estate property free and clear of interests if any one
      of the five conditions above is met. K&D Indus. Servs. Holding Co., 602 B.R. 16, 24
      (Bankr. E.D. Mich. 2019).




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30.   In this case, at a minimum, the alleged liens are subject to the Trustee’s bona fide dispute
      (§ 363(f)(4)), and the alleged lienholders could be compelled to accept a monetary
      satisfaction of their lien (§ 363(f)(5)), following liquidation of their collateral.
31.   Accordingly, this Court should authorize the Trustee to sell the Assets free and clear of
      any and all interests, including claims, liens, and encumbrances, that may be asserted by
      any party, with any such claims, liens, and encumbrances attaching to the net proceeds of
      the auction sale, in the same order and priority as they exist prior to such sale, except for
      the payment of 11 U.S.C. § 506(c) expenses, as discussed infra.
                             Surcharge for Administrative Expenses
32.   Bankruptcy Code Section 506(c) provides:
              The Trustee may recover from property securing an allowed claim the
              reasonable, necessary costs and expenses of preserving, or disposing of,
              such property to the extent of any benefit to the holder of such claim,
              including the payment of all ad valorem property taxes with respect to the
              property.

33.   A Section 506(c) surcharge represents an exception to the traditional rule that the costs of
      administration of a bankruptcy estate may not be charged against the secured creditors.
      “A party seeking to surcharge has the burden of proving, by a preponderance of the
      evidence, either a direct quantifiable benefit to the secured creditor which enabled the
      secured creditor to realize as much or more than it would have had it enforced its security
      interest outside of bankruptcy, or that the creditor consented directly or by implication.”
      In re Glen Eden Hosp., 1995 Bankr. LEXIS 2130 at *2-3 (Bankr. E.D. Mich. 1995). See
      also In re Staunton Indus., Inc., 75 B.R. 699, 702 (Bankr. E.D. Mich. 1987).
34.   The Trustee seeks authority to incur and to surcharge against the Assets the costs of
      preserving and disposing of those assets. In this case, the Assets must be located,
      inventoried, secured, and sold in an orderly process. In order to properly liquidate the
      assets, the Trustee must incur the costs and expenses necessary to preserve, advertise for
      sale and properly liquidate the Assets if any of the creditors, including the secured
      creditors, are to receive any substantial recovery in this case. Such costs and expenses
      may include, but are not limited to, rents, security costs, utilities, insurance, and
      professional fees.
35.   To compensate the Trustee and the Trustee’s retained professionals, the Trustee




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      respectfully requests that the Court permit the Trustee to surcharge the proceeds of the
      sale of the Assets with the reasonable costs and expenses of preserving and disposing of
      the Assets, including the payment of all professional fees, pursuant to 11 U.S.C. § 506(c)
      (the “Section 506(c) Expenses”). Such expenses may include, but are not necessarily
      limited   to:      rent    ($100,000.00/month),   security   ($20,000.00/month),     utilities
      ($10,000.00/month), costs of retention of Debtor’s former employees to assist with the
      liquidation of assets ($10,000.00/week), and other administrative expenses.
36.   To ensure that the Section 506(c) Expenses are reasonable and necessary, the Trustee and
      his professionals shall submit applications to the Court for the allowance of their
      respective Section 506(c) Expenses, and those expenses shall not be paid until an Order
      of this Court approves payment.
                                           Waiver of Stay
37.   Fed. R. Bankr. P. 6004(h) provides that: “[a]n order authorizing the use, sale, or lease of
      property . . . is stayed until the expiration of 14 days after entry of the order, unless the
      court orders otherwise.”
38.   The Trustee requests that the Court waive the fourteen-day stay of Fed. R. Bankr. P.
      6004. By waiving such requirement, the Trustee and any purchaser will be able to
      immediately close the sale of the Assets, which will benefit the estate by avoiding the
      continued accrual of administrative expenses
                                     Sales Made in Good Faith
39.   The Trustee requests that any sales of the Assets pursuant to the procedures identified
      herein be deemed made in good faith within the meaning of 11 U.S.C. §363(m), and
      afforded the full protection thereby provided. Auctioneer’s procedures are designed to
      reach the widest range of arm’s-length potential purchasers and to obtain the very highest
      value possible for the Assets. The disposition of the Assets pursuant to the auction
      procedures identified herein represents an accepted method for the liquidation sale of
      business assets.
                                   Abandonment of Unsold Assets
40.   During the course of the sale, the Trustee may determine that the costs associated with
      holding or selling certain of the Assets exceed the likely proceeds that may derive from
      any sale of same.         As such, those assets are of inconsequential value and may be




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       burdensome to the estate. To maximize the value of the estate, the Trustee requests
       authority under 11 U.S.C. § 554(a) to abandon assets the Trustee determines to be
       burdensome or of inconsequential value or benefit to the estate.
41.    At the termination of the sale, any abandoned Assets may be abandoned in place by the
       Trustee, and the Facility landlord may dispose of such property without liability to it, the
       Trustee, or any other third party.
       WHEREFORE, Timothy J. Miller, Trustee, prays for entry of an appropriate order.

                                             Respectfully submitted,

                                             OSIPOV BIGELMAN, P.C.

Dated: June 28, 2022                         /s/ Anthony J. Miller______________
                                             Anthony J. Miller (P71505)
                                             Jeffrey H. Bigelman (P61755)
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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

IN THE MATTER OF:

STAYMOBILE VENTURE LLC                                        Chapter 7
                                                              Case No. 22-43781-lsg
                                                              Hon. Lisa S. Gretchko
               Debtor(s)
                                                /

                             PROPOSED
       ORDER APPROVING SALE PROCEDURES FOR AUCTION SALE OF
      DEBTOR’S INVENTORY, FURNITURE, FIXTURES, AND EQUIPMENT
    AND MOTION TO TRANSFER LIENS AND INTERESTS TO SALE PROCEEDS

       This matter has come before the court on Timothy J. Miller, Trustee’s Motion for Order

Approving Sale Procedures for Auction Sale of Debtor’s Inventory, Furniture, Fixtures, and

Equipment, and Motion to Transfer Liens and Interests to Sale Proceeds (“the Motion”).

       The Court has reviewed the Motion. Notice has been provided to all creditors and parties

in interest in accordance with applicable Court rules. No objections were filed within the time

set forth by applicable Court rules. The Court finds, therefore, that good cause exists to grant the

Motion and enter this Order.

       WHEREAS,

       A.      The Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and

               1334, and this matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A).

       B.      The auction procedures described in the Motion are fair, reasonable, and

               appropriate and are designed to maximize the recovery with respect to the

               Debtor’s assets (“Assets”) identified on Exhibit A to the Motion.

       C.      The Trustee has demonstrated a sound business justification to authorize the sale




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                 of the Assets 1 outside the ordinary course of the Debtor’s business.

        D.       The sale of the Assets pursuant to the terms and procedures described in the

                 Motion is appropriate and in the best interests of the estate pursuant to 11 U.S.C.

                 §363(b).

        NOW THEREFORE, IT IS HEREBY ORDERED:

    1. The Trustee’s Motion is granted.

    2. The Trustee is authorized to sell the Assets at auction, pursuant to the terms and

        procedures described in the Motion.

    3. The sale shall be conducted in accordance with the terms of the Liquidation Agreement

        attached to the Motion as Exhibit A.

    4. Any Assets sold at auction pursuant to this Order are sold free and clear of any and all

        interests, including claims, liens, and encumbrances, that may be asserted by any party.

        Any such claims, liens, and encumbrances shall attach to the net proceeds of the Assets,

        in the same order and priority as they existed prior to such sale.

    5. The Trustee may surcharge the proceeds of the auction sale to pay administrative

        expenses, including the reasonable, necessary costs and expenses of preserving and

        liquidating the Assets, pursuant to 11 U.S.C. § 506(c). Such administrative expenses

        must be sought by separate application, with proper notice and opportunity for hearing.

    6. Any federal, state or local agency, department or governmental authority with regulatory

        authority over the sale of the Assets shall consider this Order binding, and no further

        approval, license, or permits of any governmental authority shall be required; provided,

        however that the Trustee continue to be bound by and comply with the state and local


1To the extent not otherwise defined in this Order, capitalized terms contained herein shall have the meaning
ascribed to them in the Motion.



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      public health and safety laws, and tax, labor, employment, environmental and consumer

      protection laws, including consumer laws regulating deceptive practices and false

      advertising, to the extent applicable.

   7. Any parties or persons, including, but not limited to, Debtor’s landlords, subtenants, lien

      holders, utility companies, creditors, and all persons acting for or on their behalf (but not

      including Governmental Units as defined in 11 U.S.C. § 101(27)) shall not interfere with

      or otherwise impede the conduct of the Trustee’s sale of the Assets, institute any action

      against the Trustee or the Debtor, (other than in the Bankruptcy Court) which in any way

      directly or indirectly interferes with or obstructs or otherwise impedes the conduct of the

      sale. This Court shall retain exclusive jurisdiction to resolve such disputes.

   8. Notwithstanding any provision in any Facility lease to the contrary, the Trustee shall be

      permitted to conduct the sale in accordance with this Order, and to take all actions

      reasonably related thereto or arising in connection therewith, including advertising such

      sales as “going-out-of-business,” “bankruptcy liquidation,” “auction,” or similarly

      themed sale in media advertisements, on interior and exterior banners, sign walkers, and

      other signage that the Trustee deems appropriate, without complying with any such

      restrictive lease provision. Parties to any Facility lease are hereafter enjoined from in any

      way interfering with or otherwise restricting the Trustee from conducting the sale and

      from seeking to recover damages for breach of any such restrictive lease provisions.

   9. Provided that the sale is conducted in accordance with the terms of this Order, the Trustee

      and the Trustee’s retained professionals shall be deemed to be in compliance with the

      requirements of any applicable “going-out-of-business,” “bankruptcy liquidation,” “store

      closing,” or similarly themed inventory liquidation sales, or bulk sale laws.




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   10. The sale shall be conducted by the Trustee and the Trustee’s retained professionals

      without the necessity of compliance with any federal, state, or local statute or ordinance

      (other than public health and safety laws), lease provision, or licensing requirement

      affecting store closing, going out of business, bankruptcy liquidation, or affecting

      advertising, including signs, sign walkers, banners, and posting of signage.

   11. While conducting the sale of Debtor’s Assets, the Trustee and the Trustee’s retained

      professionals shall have peaceful possession and quiet enjoyment of the Facilities for the

      purposes of conducting the sale of the Assets in accordance with this Order.

   12. The sale at the Facilities shall be conducted by the Trustee and the Trustee’s retained

      professionals notwithstanding any restrictive provision of any lease, sublease, or other

      agreement relative to occupancy affecting or purporting to restrict the conduct of such

      sale, the rejection of leases, abandonment of assets, or “going dark” provisions.

   13. The Trustee, the Trustee’s retained professionals, and their respective officers,

      employees, and agents are authorized to execute such documents and to do such acts as

      are necessary or desirable to carry out the sale.

   14. Any stay of effectiveness of this Order pursuant to Fed. R. Bankr. P. 6004(h) is waived.

   15. Any purchases made at the auction held pursuant to this Order shall be deemed made in

      good faith, within the meaning of 11 U.S.C. § 363(m), and afforded the full protections of

      that section.

   16. The Trustee is authorized to terminate the auction at any time if he determines, in his sole

      discretion, that the auction will not maximize the value of the Assets to be realized by the

      estate.

   17. Upon conclusion of the auction, the Trustee shall file a report with the Court setting forth




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      the auction results.

   18. Any Assets remaining in the Facilities following conclusion of the slae may be

      abandoned in place by the Trustee, and the affected landlord, the Trustee, or the Debtor

      may dispose of such property without liability to the Trustee, the Trustee’s retained

      professionals, or any third party.




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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
IN THE MATTER OF:

STAYMOBILE VENTURE LLC                                      Chapter 7
                                                            Case No. 22-43781-lsg
                                                            Hon. Lisa S. Gretchko
               Debtor(s)
                                              /

                       NOTICE AND OPPORTUNITY TO OBJECT

        To be filed separately upon resolution of the Ex Parte Motion for Expedited

 Hearing to Trustee’s Motion for Order Approving Sale Procedures for Auction Sale of

 Debtor’s Inventory, Furniture, Fixtures, and Equipment, and Motion to Transfer Liens

 and Interests to Sale Proceeds filed contemporaneously herewith.

                                          Respectfully submitted,

                                          OSIPOV BIGELMAN, P.C.

Dated: June 28, 2022                      /s/ Anthony J. Miller______________
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                                          Jeffrey H. Bigelman (P61755)
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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
IN THE MATTER OF:

STAYMOBILE VENTURE LLC                                      Chapter 7
                                                            Case No. 22-43781-lsg
                                                            Hon. Lisa S. Gretchko
               Debtor(s)
                                              /

                                  CERTIFICATE OF SERVICE

       I certify that on June 28, 2022, the Trustee’s Motion for Order Approving Sale

Procedures for Auction Sale of Debtor’s Inventory, Furniture, Fixtures, and Equipment, and

Motion to Transfer Liens and Interests to Sale Proceeds, Proposed Order Granting Trustee’s

Motion, Notice of Motion and Opportunity to Object; and Certificate of Service were

electronically filed with the Court via the CM/ECF System. All attorneys and parties identified

with the Court for electronic service on the record in this proceeding were served by electronic

service in accordance with the CM/ECF system on the date of filing.               As required upon

resolution of the Ex Parte Motion for Expedited Hearing to Trustee’s Motion for Order

Approving Sale Procedures for Auction Sale of Debtor’s Inventory, Furniture, Fixtures, and

Equipment, and Motion to Transfer Liens and Interests to Sale Proceeds, the Trustee will file a

supplemental Certificate of Service reflecting service on the Creditors Matrix.


                                             Respectfully submitted,

                                             OSIPOV BIGELMAN, P.C.

DATED: June 28, 2022                          /s/ Monique Kallabat
                                             MONIQUE KALLABAT
                                             Legal Assistant
                                             20700 Civic Center Drive, Suite 420
                                             Southfield, MI 48076
                                             Tel: 248-663-1800/Fax: 248-663-1801
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                  EXHIBIT A




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                                                                                              Staymobile
                                                                                  Custom Inventory Valuation Summary
                                                                                          As of April 30, 2022


Item Type                                        Item                                                                  Description                                           Inv. Value % of Inv. Value   On Hand
SMV
  Super K
     Device Exchange
        Assembly/Bill of Materials
                                                 (Serialized) ## CB 14A (G5) ##                                                                                                $13.80          0.00%         2.00
                                                 (Serialized) CB 11 (100e 81QB)                                                                                             $2,365.00          0.03%        11.00
            Total - Assembly/Bill of Materials                                                                                                                              $2,378.80          0.03%        13.00
            Inventory Item
                                                 01C000E01                                                             DropTech Acer Chromebook Spin 511 (R752)- Black           $60.00          0.00%        4.00
                                                 06C002E01-0                                                           SlimTech Asus CB C204 â€“ Black                          $246.42          0.00%       20.00
                                                 06C004                                                                SlimTech for Asus C202SA                                 $132.50          0.00%       10.00
                                                 06D000E01-0                                                           SlimTech Dell 3100 Clamshell                             $172.97          0.00%       14.00
                                                 06D001E01-0                                                           SlimTech Dell 3100 2in1                                  $194.53          0.00%       19.00
                                                 AC-ESL-R851T-BLK                                                      Extreme Shell for Acer R851T (Black)                   $1,375.00          0.02%      100.00
                                                 DL-EP-5190-CBY-BLK                                                    EdgeProtect Plus for Dell 11" 5190 and 3100 2-in-1 Chromebooks
                                                                                                                                                                                $121.50 (Black) 0.00%         9.00
                                                 DT-DL3100CB2IN1-BLK                                                   DropTech for Dell Chromebook 3100 (2-in-1)               $150.00          0.00%       10.00
                                                 DT-DL3100CBCS-BLK                                                     DropTech Dell 3100 11" CB CS                           $3,549.00          0.04%      182.00
                                                 DT-L300E-BLK                                                          DropTech Lenovo 300E 11.6" 2in1                             $0.00         0.00%        2.00
                                                 DT-LN24F-BLK                                                          DropTech Lenovo N24 Flip                                 $264.00          0.00%       11.00
                                                 HP-ESS-G5EE-14-BLK                                                    Extreme Shell-S for HP G5 EE Chromebook Clamshell 14"    $362.50
                                                                                                                                                                                   (Black)       0.00%       25.00
                                                 HP-ESS-G6EE-BLK                                                       Extreme Shell-S for HP G6 EE Chromebook Clamshell $1,132.01
                                                                                                                                                                              11.6" (Black)      0.01%       83.00
                                                 MS-ES-SP-G7-BLK                                                       Extreme Shell for Microsoft Surface Pro 5/6/7 12.3" (Black)
                                                                                                                                                                                $217.50          0.00%       15.00
                                                 NYP-SM-CS-SP703-BLK                                                   NYP Logo Black Wrap Case Only for iPhone 8               $114.00          0.00%       30.00
                                                 NYP-SM-CS-SP703-Red                                                   NYP Logo Red Wrap Case Only for iPhone 8                  $85.00          0.00%       68.00
                                                 SM-CS-LP404                                                           Rugged - Dual Injected Case for LENOVO 300e/500e 2nd   $1,113.15
                                                                                                                                                                                  Gen Chr/Win Intel/MTK
                                                                                                                                                                                                 0.01%      137.00
                                                 SM-CS-LP406                                                           Rugged - Dual Injected Case for LENOVO 100e 2nd Gen$397.19Chr/Win Intel/MTK
                                                                                                                                                                                                 0.00%       49.00
                                                 SM-CS-LP420                                                           HP Chromebook 11 G8 EE Dual Injected Case              $1,665.43          0.02%      195.00
                                                 SM-CS-TB531                                                           Rugged Vision 360 Case with velcro hand strap for iPad New/
                                                                                                                                                                                $122.78
                                                                                                                                                                                      6th Gen    0.00%       19.00
           Total - Inventory Item                                                                                                                                            $11,475.48          0.13%    1,002.00
      Total - Device Exchange                                                                                                                                                $13,854.28          0.16%    1,015.00
   Total - Super K                                                                                                                                                           $13,854.28          0.16%    1,015.00
   9003 - Recovery
      Assembly/Bill of Materials
                                                 ## CB 11 (3100 P29T) ##                                                                                                     $342.17           0.00%          2.00
                                                 ## CB 11 (G5 EE) ##                                                                                                         $400.00           0.00%          6.00
                                                 ## CB 11 (G6 EE) ##                                                                                                       $4,073.03           0.05%         17.00
                                                 ## CB 11A (G6 EE) ##                                                                                                      $2,362.44           0.03%         21.00
                                                 ## Thinkpad 11e (20DA) ##                                                                                                     $0.00           0.00%         20.00
                                                 CB 11 (100e 81ER)                                                                                                         $1,625.43           0.02%         11.00
                                                 CB 11 (100e 81MA)                                                                                                            $60.00           0.00%          1.00
                                                 CB 11 (100e 81QB)                                                                                                            $60.00           0.00%          1.00
                                                 CB 11 (100e 82CD) AST                                                                                                       $553.86           0.01%          3.00
                                                 CB 11 (300e 81H0)                                                                                                           $560.00           0.01%          5.00
                                                 CB 11 (300e 81MB)                                                                                                           $899.80           0.01%          5.00
                                                 CB 11 (3100 P30T 2-in-1)(NRCK2)                                                                                             $395.23           0.00%          2.00
                                                 CB 11 (3120)                                                                                                                  $0.00           0.00%        208.00
                                                 CB 11 (3189)                                                                                                                  $0.00           0.00%          1.00
                                                 CB 11 (500e 81ES)                                                                                                           $286.26           0.00%          3.00
                                                 CB 11 (500e 81MC)                                                                                                           $509.99           0.01%          2.00
                                                 CB 11 (5190)                                                                                                                $480.00           0.01%          5.00
                                                 CB 11 (5190) 2-in-1                                                                                                         $596.32           0.01%          5.00
                                                 CB 11 (C202SA)                                                                                                           $13,929.42           0.16%         86.00
                                                 CB 11 (C204EE)                                                                                                              $295.79           0.00%          2.00
                                                 CB 11 (C204MA)                                                                                                              $521.62           0.01%          2.00
                                                 CB 11 (C720)                                                                                                             $53,612.07           0.62%        331.00
                                                 CB 11 (C721)                                                                                                                $689.23           0.01%          4.00
                                                 CB 11 (C722)                                                                                                                $235.25           0.00%          1.00
                                                 CB 11 (C731)                                                                                                                $953.08           0.01%          5.00
                                                 CB 11 (C731T)                                                                                                               $740.70           0.01%          7.00
                                                 CB 11 (C732)                                                                                                                $604.58           0.01%          6.00
                                                 CB 11 (C740)                                                                                                                 $99.75           0.00%          1.00
                                                 CB 11 (C771T)                                                                                                               $710.00           0.01%          2.00
                                                 CB 11 (CB1C13)                                                                                                                $0.00           0.00%         24.00
                                                 CB 11 (G3)                                                                                                                $3,600.00           0.04%         30.00
                                                 CB 11 (G4 EE)                                                                                                               $509.68           0.01%         26.00
                                                 CB 11 (G4)                                                                                                                $3,412.73           0.04%         26.00
                                                 CB 11 (G5)                                                                                                                  $918.90           0.01%          7.00
                                                 CB 11 (G6 EE Non-Touch)                                                                                                     $549.96           0.01%          3.00
                                                 CB 11 (G7 EE Non-Touch)                                                                                                      $60.00           0.00%          1.00
                                                 CB 11 (G8 EE Non-Touch)                                                                                                      $60.00           0.00%          1.00
                                                 CB 11 (N21)                                                                                                               $7,252.45           0.08%         89.00
                                                 CB 11 (N23)                                                                                                                 $278.49           0.00%          3.00
                                                 CB 11 (NL71)                                                                                                                $259.00           0.00%          1.00
                                                 CB 11 (NL7L LTE)                                                                                                             $60.00           0.00%          1.00
                                                 CB 11 (R721T)                                                                                                                $60.00           0.00%          1.00
                                                 CB 11 (R751T)                                                                                                               $399.99           0.00%          7.00
                                                 CB 11 (R752T)                                                                                                               $309.99           0.00%          2.00
                                                 CB 11 (R851TN)                                                                                                              $374.77           0.00%          1.00
                                                 CB 11 (RC738T)                                                                                                            $2,288.25           0.03%         16.00
                                                 CB 11 (XE303C12)                                                                                                          $7,063.08           0.08%         55.00
                                                 CB 11 (XE503C12)                                                                                                            $960.00           0.01%         12.00
                                                 CB 11 4 (XE310XBA-K01US)                                                                                                    $318.00           0.00%          2.00
                                                 CB 11 4 (XE310XBA-K04US)                                                                                                    $249.00           0.00%          2.00
                                                 CB 11 x360 (G1 EE)                                                                                                          $337.52           0.00%          4.00
                                                 CB 11 x360 (G2 EE)                                                                                                        $2,227.50           0.03%         11.00
                                                 CB 11 x360 (G3 EE)                                                                                                          $437.49           0.01%          2.00
                                                 CB 11A (G8 EE Non-Touch)                                                                                                    $511.00           0.01%          6.00
                                                 CB 11e (20DB)                                                                                                             $4,420.00           0.05%         63.00
                                                 CB 11MK (G9 EE)(349Y8UT)(Non-Touch)                                                                                         $449.92           0.01%          2.00
                                                 CB 13 (3380)                                                                                                                  $0.00           0.00%         24.00
                                                 CB 13 (C300M)                                                                                                                 $0.00           0.00%        106.00
                                                 CB 14 (C933)                                                                                                                $418.49           0.00%          3.00
                                                 CB 14 (G1)                                                                                                                    $0.00           0.00%         55.00
                                                 CB 14 (G4)                                                                                                                  $440.00           0.01%          2.00
                                                 CB 14 (G5 Non-Touch)                                                                                                        $335.00           0.00%          2.00
                                                 CB 14c x360 (CA0053DX)                                                                                                      $284.96           0.00%          1.00
                                                 CB 15 4+ (XE350XBA-K01US)                                                                                                   $228.00           0.00%          1.00
                                                 CTL J5                                                                                                                        $0.00           0.00%          2.00
                                                 CTL N6L                                                                                                                       $0.00           0.00%         17.00
                                                 iPhone 7 (Plus)                                                                                                             $499.77           0.01%          1.00
                                                 Latitude (3190 2-in-1)                                                                                                    $6,180.00           0.07%        103.00
                                                 Latitude (7390)                                                                                                               $0.00           0.00%          4.00
                                                 Macbook Air (A1466)                                                                                                         $529.00           0.01%          2.00
                                                 Pavilion 14 (C025US)                                                                                                          $0.00           0.00%         12.00
                                                 Surface Go 2                                                                                                                $423.99           0.00%          1.00
                                                 Surface RT                                                                                                                    $0.00           0.00%         15.00
                                                 Thinkpad X130e                                                                                                              $507.03           0.01%          4.00
                                                 Winbook (300e 81FY)                                                                                                         $520.05           0.01%          3.00
                                                 Winbook (300e 81M9)                                                                                                         $505.82           0.01%          2.00
                                                 Yoga (N23)                                                                                                                  $475.33           0.01%          2.00
       Total - Assembly/Bill of Materials                                                                                                                                $134,311.18           1.55%      1,525.00




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   Inventory Item
                                               CB 11 (300e 81QC) LCD Cable                                                                                                      $2.04    0.00%         1.00
                                               CB 11 (C202SA) Battery                                                                                                          $80.99    0.00%        15.00
                                               CB 11 (C202SA) Camera                                                                                                           $25.92    0.00%        16.00
                                               CB 11 (C202SA) Daughterboard                                                                                                   $103.66    0.00%        15.00
                                               CB 11 (C202SA) Daughterboard Flex                                                                                               $25.92    0.00%        15.00
                                               CB 11 (C202SA) Hinge Set*                                                                                                       $77.75    0.00%        16.00
                                               CB 11 (C202SA) Housing [Base] - Black                                                                                            $9.72    0.00%         2.00
                                               CB 11 (C202SA) Housing [Base] - Blue                                                                                            $68.03    0.00%        14.00
                                               CB 11 (C202SA) Housing [Hinge Cover] - Black                                                                                     $3.24    0.00%         2.00
                                               CB 11 (C202SA) Housing [Hinge Cover] - Blue                                                                                     $22.68    0.00%        11.00
                                               CB 11 (C202SA) Housing [LCD Bezel] - Black                                                                                       $9.72    0.00%         2.00
                                               CB 11 (C202SA) Housing [LCD Bezel] - Blue                                                                                       $68.03    0.00%        13.00
                                               CB 11 (C202SA) Housing [LCD Rear Cover] - Blue                                                                                  $68.03    0.00%        13.00
                                               CB 11 (C202SA) LCD Cable                                                                                                        $51.83    0.00%        16.00
                                               CB 11 (C202SA) LCD Panel                                                                                                        $74.51    0.00%         2.00
                                               CB 11 (C202SA) Motherboard [4GB] [32GB]                                                                                        $777.45    0.01%        15.00
                                               CB 11 (C202SA) Palmrest w/ Keyboard - Black                                                                                     $45.35    0.00%         2.00
                                               CB 11 (C202SA) Palmrest w/ Keyboard - Blue                                                                                     $294.79    0.00%        12.00
                                               CB 11 (C202SA) Screw Set                                                                                                        $25.92    0.00%        16.00
                                               CB 11 (C202SA) Speaker Set                                                                                                      $77.75    0.00%        16.00
                                               CB 11 (C202SA) Trackpad                                                                                                         $68.03    0.00%        14.00
                                               CB 11 (C202SA) Trackpad - Black                                                                                                 $12.96    0.00%         2.00
                                               CB 11 (C202SA) Trackpad Flex                                                                                                    $25.92    0.00%        16.00
                                               CB 11 (C202SA) Wi-Fi Card                                                                                                       $51.83    0.00%        16.00
                                               CB 11 (N21) Camera                                                                                                               $7.48    0.00%         2.00
                                               CB 11 (N21) Housing [Base]                                                                                                       $5.61    0.00%         1.00
                                               CB 11 (N21) Housing [LCD Rear Cover]                                                                                            $17.31    0.00%         3.00
                                               LCD Panel T/B Brackets (30 Pin 11 in)                                            30 Pin LCD with Top & Bottom Brackets         $521.54    0.01%        14.00
                                               Recycle Items                                                                                                                  $121.76    0.00%         6.00
   Total - Inventory Item                                                                                                                                                   $2,745.77    0.03%       288.00
Total - 9003 - Recovery                                                                                                                                                   $137,056.95    1.58%     1,813.00
National
   West
        1280 - Las Vegas, NV
           Assembly/Bill of Materials
                                               ## CB 11 (3100 P30T) ##                                                                                                        $326.64     0.00%       1.00
                                               ## Yoga 11E (4th Gen) ##                                                                                                       $279.00     0.00%       1.00
                                               (Serialized) CB 11 (C731)                                                                                                     ($873.54)   (0.01%)      0.00
                                               CB 10e (82AM)                                                                                                                  $697.71     0.01%       3.00
                                               CB 11 (100e 81QB)                                                                                                            $2,039.88     0.02%      12.00
                                               CB 11 (5190) 2-in-1                                                                                                          $1,245.00     0.01%       5.00
                                               CB 11 (C202SA)                                                                                                               $3,758.20     0.04%      20.00
                                               CB 11 (C204MA)                                                                                                              $21,733.35     0.25%      89.00
                                               CB 11 (C731)                                                                                                                   $118.90     0.00%       5.00
                                               CB 11 (C733-C5AS)                                                                                                              $773.97     0.01%       3.00
                                               CB 11 (C740)                                                                                                                     $0.00     0.00%       1.00
                                               EliteBook x360 1030 (G4)                                                                                                     $1,304.24     0.02%       1.00
                                               ProBook x360 11 (G5 EE)                                                                                                        $324.46     0.00%       1.00
          Total - Assembly/Bill of Materials                                                                                                                               $31,727.81     0.37%     142.00
          Inventory Item
                                               ## LCD Panel (30 Pin 11 in) (Touch) ##                                                                                         $891.41    0.01%       18.00
                                               ## CB 11 (100e 82CD) AST Keyboard ##                                                                                           $167.12    0.00%        4.00
                                               ## CB 11 (300e 81QC) Palmrest w/ Keyboard and Trackpad (2nd Gen) ##                                                              $0.00    0.00%        5.00
                                               ## CB 11 (3100 P29T) Hinge [Right] ##                                                                                            $0.00    0.00%        1.00
                                               ## CB 11 (3100 P29T) Housing [Base] ##                                                                                          $69.01    0.00%       14.00
                                               ## CB 11 (3100 P29T) Housing [LCD Bezel] ##                                                                                    $273.95    0.00%       18.00
                                               ## CB 11 (3100 P29T) Housing [LCD Rear Cover] ##                                                                               $216.70    0.00%        9.00
                                               ## CB 11 (3100 P29T) Keyboard ##                                                                                               $286.87    0.00%       27.00
                                               ## CB 11 (3100 P29T) LCD Cable ##                                                                                              $565.89    0.01%       74.00
                                               ## CB 11 (3100 P29T) LCD Panel (Touch) ##                                                                                    $3,836.16    0.04%       34.00
                                               ## CB 11 (3100 P29T) Motherboard [4GB] [32GB] w/ DB Connector - 0W1C7C ##                                                       $45.00    0.00%        1.00
                                               ## CB 11 (3100 P29T) Palmrest ##                                                                                               $443.74    0.01%       18.00
                                               ## CB 11 (3100 P29T) Speaker Set ##                                                                                              $3.48    0.00%        2.00
                                               ## CB 11 (3100 P30T) Battery ##                                                                                                $342.93    0.00%       27.00
                                               ## CB 11 (3100 P30T) Camera [Front] ##                                                                                       $1,515.48    0.02%      110.00
                                               ## CB 11 (3100 P30T) Camera [Palmrest] ##                                                                                       $51.17    0.00%        9.00
                                               ## CB 11 (3100 P30T) Daughterboard ##                                                                                           $35.59    0.00%        3.00
                                               ## CB 11 (3100 P30T) Daughterboard Flex Set ##                                                                                   $7.09    0.00%        1.00
                                               ## CB 11 (3100 P30T) G Sensor Board ##                                                                                         $228.02    0.00%       35.00
                                               ## CB 11 (3100 P30T) Hinge Set* ##                                                                                             $769.25    0.01%       85.00
                                               ## CB 11 (3100 P30T) Hinge [Left] ##                                                                                            $74.75    0.00%       26.00
                                               ## CB 11 (3100 P30T) Hinge [Right] ##                                                                                          $124.46    0.00%       76.00
                                               ## CB 11 (3100 P30T) Housing [Base] ###                                                                                        $622.85    0.01%       41.00
                                               ## CB 11 (3100 P30T) Housing [LCD Rear Cover] ##                                                                             $1,788.05    0.02%       99.00
                                               ## CB 11 (3100 P30T) LCD Cable ##                                                                                              $224.09    0.00%       26.00
                                               ## CB 11 (3100 P30T) Palmrest ##                                                                                                 $0.00    0.00%       36.00
                                               ## CB 11 (3100 P30T) Screw Set ##                                                                                                $0.83    0.00%       20.00
                                               ## CB 11 (3100 P30T) Speaker Set ##                                                                                             $47.58    0.00%        9.00
                                               ## CB 11 (3100 P30T) Trackpad ##                                                                                               $104.33    0.00%       14.00
                                               ## CB 11 (3100 P30T) Trackpad Flex ##                                                                                            $2.98    0.00%        1.00
                                               ## CB 11 (500e 81MC) Loudspeaker Set (L w/ R) ##                                                                                 $0.00    0.00%        2.00
                                               ## CB 11 (5190) LCD Cable (2-in-1) ##                                                                                            $9.08    0.00%        4.00
                                               ## CB 11 (C738T) Hinge (Left) ##                                                                                               $123.43    0.00%       12.00
                                               ## CB 11 (G6 EE) Battery ##                                                                                                    $348.90    0.00%       20.00
                                               ## CB 11 (G6 EE) Camera ###                                                                                                  $2,150.49    0.02%      100.00
                                               ## CB 11 (G6 EE) Camera Cable ##                                                                                                 $2.02    0.00%        2.00
                                               ## CB 11 (G6 EE) Daughterboard ##                                                                                              $337.75    0.00%       70.00
                                               ## CB 11 (G6 EE) Daughterboard Flex Set ##                                                                                      $19.66    0.00%       19.00
                                               ## CB 11 (G6 EE) Hinge Set ##                                                                                                   $62.30    0.00%        9.00
                                               ## CB 11 (G6 EE) Hinge [Left] ##                                                                                                $31.53    0.00%       34.00
                                               ## CB 11 (G6 EE) Hinge [Right] ##                                                                                                $0.00    0.00%       10.00
                                               ## CB 11 (G6 EE) Housing [Base] ##                                                                                              $16.01    0.00%       25.00
                                               ## CB 11 (G6 EE) Housing [LCD Bezel] ##                                                                                         $54.12    0.00%        5.00
                                               ## CB 11 (G6 EE) Housing [LCD Rear Cover] ##                                                                                    $89.28    0.00%       16.00
                                               ## CB 11 (G6 EE) Keyboard ##                                                                                                 $1,562.25    0.02%       34.00
                                               ## CB 11 (G6 EE) LCD Cable ##                                                                                                  $459.15    0.01%       65.00
                                               ## CB 11 (G6 EE) LCD Panel ##                                                                                                    $1.71    0.00%        2.00
                                               ## CB 11 (G6 EE) LCD Panel (Touch) ##                                                                                        $3,480.00    0.04%       60.00
                                               ## CB 11 (G6 EE) Palmrest w/ Keyboard ##                                                                                     $2,137.22    0.02%       96.00
                                               ## CB 11 (G6 EE) Screw Set ##                                                                                                   $82.30    0.00%       29.00
                                               ## CB 11 (G6 EE) Speaker Set ##                                                                                                $119.27    0.00%        9.00
                                               ## CB 11 (G6 EE) Trackpad ##                                                                                                   $242.11    0.00%       36.00
                                               ## CB 11 (G6 EE) Trackpad Flex ##                                                                                               $25.27    0.00%       28.00
                                               ## CB 11 (G6 EE) Wi-Fi Card ##                                                                                                 $123.82    0.00%        4.00
                                               ## CB 11 (G7 EE) Housing [LCD Bezel] ##                                                                                         $48.66    0.00%        3.00
                                               ## CB 11 (G7 EE) Palmrest w/ Keyboard ##                                                                                       $840.65    0.01%       29.00
                                               ## CB 11 (G7 EE) Trackpad ##                                                                                                   $725.70    0.01%       45.00
                                               ## CB 11 (G8 EE) Camera ##                                                                                                      $12.09    0.00%        1.00
                                               ## CB 11 (G8 EE) Daughterboard ##                                                                                               $59.48    0.00%        4.00
                                               ## CB 11 (G8 EE) Hinge Cover ##                                                                                                 $28.05    0.00%        2.00
                                               ## CB 11 (G8 EE) Hinge Set* ##                                                                                                  $46.20    0.00%        2.00
                                               ## CB 11 (G8 EE) LCD Cable ##                                                                                                   $37.18    0.00%        4.00
                                               ## CB 11 (G8 EE) Motherboard ##                                                                                              $2,997.66    0.03%       10.00
                                               ## CB 11 (G8 EE) Palmrest w/ Keyboard ##                                                                                        $38.54    0.00%        1.00
                                               ## CB 11 (G8 EE) Trackpad ##                                                                                                     $0.00    0.00%        1.00
                                               ## CB 11 x360 (G1 EE) Digitizer ##                                                                                             $105.98    0.00%        2.00
                                               ## CB 11 x360 (G3 EE) Keyboard ##                                                                                              $416.00    0.00%        8.00
                                               ## CB 11 x360 (G3 EE) Palmrest ##                                                                                              $140.40    0.00%        3.00




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               ## CB 11A (G6 EE) Battery ##                                                                 $11.55     0.00%     2.00
               ## CB 11A (G6 EE) Camera ##                                                                 $707.11     0.01%    67.00
               ## CB 11A (G6 EE) Daughterboard ##                                                           $97.33     0.00%     7.00
               ## CB 11A (G6 EE) Housing [Base] ##                                                         $311.27     0.00%    12.00
               ## CB 11A (G6 EE) Housing [LCD Rear Cover] ##                                               $332.66     0.00%    41.00
               ## CB 11A (G6 EE) LCD Cable ##                                                               $19.65     0.00%     6.00
               ## CB 11A (G6 EE) LCD Panel ##                                                              $529.69     0.01%    14.00
               ## CB 11A (G6 EE) Motherboard [4GB] [16GB] ##                                               $299.97     0.00%     3.00
               ## CB 11A (G6 EE) Motherboard [4GB] [32GB] ##                                             $5,733.55     0.07%    43.00
               ## CB 11A (G6 EE) Palmrest w/ Keyboard ##                                                   $489.97     0.01%    14.00
               ## CB 11A (G6 EE) Trackpad ##                                                                $44.47     0.00%     9.00
               ## CB 11A (G8 EE) Camera ##                                                                  $33.34     0.00%     3.00
               ## CB 11A (G8 EE) Daughterboard ##                                                          $168.22     0.00%    15.00
               ## CB 11A (G8 EE) Heatsink ##                                                                 $8.97     0.00%    13.00
               ## CB 11A (G8 EE) Hinge [Right] ##                                                            $7.46     0.00%     1.00
               ## CB 11A (G8 EE) Housing [Base] ##                                                         $193.92     0.00%     7.00
               ## CB 11A (G8 EE) Housing [Hinge Cover] ##                                                  $151.84     0.00%    14.00
               ## CB 11A (G8 EE) Housing [LCD Rear Cover] ##                                               $134.61     0.00%     6.00
               ## CB 11A (G8 EE) Keyboard ##                                                               $350.00     0.00%     7.00
               ## CB 11A (G8 EE) LCD Cable ##                                                              $136.27     0.00%    15.00
               ## CB 11A (G8 EE) Motherboard ##                                                         $12,325.32     0.14%    77.00
               ## CB 11A (G8 EE) Palmrest w/ Keyboard ##                                                 $1,496.48     0.02%    35.00
               ## CB 11A (G8 EE) Screw Kit ##                                                               $46.21     0.00%     5.00
               ## CB 11A (G8 EE) Trackpad ##                                                                $74.24     0.00%     7.00
               ## CB 11A (G8 EE) Wi-Fi Card ##                                                             $329.25     0.00%    15.00
               ## CB 14 (G5) Battery ##                                                                    $280.20     0.00%    10.00
               ## CB 14 (G5) Camera ##                                                                       $8.22     0.00%     1.00
               ## CB 14 (G5) Daughterboard ##                                                              $647.50     0.01%    28.00
               ## CB 14 (G5) Daughterboard Flex Set ##                                                       $2.07     0.00%    27.00
               ## CB 14 (G5) Hinge Set* ##                                                                 $344.16     0.00%    28.00
               ## CB 14 (G5) Housing [Base] ##                                                             $490.84     0.01%    38.00
               ## CB 14 (G5) Housing [LCD Bezel] ##                                                        $305.74     0.00%    27.00
               ## CB 14 (G5) Housing [LCD Rear Cover] ##                                                   $246.54     0.00%    29.00
               ## CB 14 (G5) LCD Cable ##                                                                  $158.55     0.00%    14.00
               ## CB 14 (G5) LCD Panel ##                                                                   ($2.88)   (0.00%)    1.00
               ## CB 14 (G5) LCD Panel (Touch) ##                                                          $768.11     0.01%    10.00
               ## CB 14 (G5) Palmrest w/ Keyboard ##                                                       $585.94     0.01%    14.00
               ## CB 14 (G5) Sensor Cable ##                                                                 $0.00     0.00%     2.00
               ## CB 14 (G5) Speaker Set ##                                                                $499.50     0.01%    30.00
               ## CB 14 (G5) Trackpad ##                                                                     $3.58     0.00%     3.00
               ## CB 14 (G5) Trackpad Flex ##                                                               $15.39     0.00%     1.00
               ## CB 14 (G5) Wi-Fi Card ##                                                                 $469.51     0.01%    18.00
               ## CB 14A (G5) Daughterboard ##                                                               $6.29     0.00%     1.00
               ## CB 14A (G5) LCD Cable ##                                                                 $103.10     0.00%     5.00
               ## CB 14A (G5) Palmrest w/ Keyboard ##                                                      $112.36     0.00%     2.00
               ### CB 11 (3100 P30T) Palmrest w/ Keyboard ##                                               $923.03     0.01%    26.00
               CB 10e (82AM) LCD EDP Cable                                                                  $79.95     0.00%     5.00
               CB 10e (82AM) Motherboard                                                                 $1,264.27     0.01%     9.00
               CB 11 (100e 81ER) LCD Cable                                                                  $14.10     0.00%     2.00
               CB 11 (100e 81MA) Hinge Set*                                                                 $10.88     0.00%     1.00
               CB 11 (100e 81MA) Housing [Base]                                                             $46.52     0.00%     4.00
               CB 11 (100e 81MA) Housing [LCD Rear Cover]                                                   $32.26     0.00%     2.00
               CB 11 (100e 81MA) Palmrest w/ Keyboard                                                       $56.25     0.00%     3.00
               CB 11 (100e 81QB) Battery                                                                    $33.93     0.00%     2.00
               CB 11 (100e 81QB) Camera                                                                     $11.22     0.00%     2.00
               CB 11 (100e 81QB) Daughterboard                                                              $26.99     0.00%     1.00
               CB 11 (100e 81QB) Housing [LCD Bezel]                                                         $6.17     0.00%     1.00
               CB 11 (100e 81QB) Motherboard                                                                $45.24     0.00%     1.00
               CB 11 (100e 81QB) Palmrest w/ Keyboard                                                       $30.56     0.00%     2.00
               CB 11 (100e 82CD) AST Battery                                                               $126.08     0.00%     7.00
               CB 11 (100e 82CD) AST Camera                                                                $138.39     0.00%    19.00
               CB 11 (100e 82CD) AST Daughterboard                                                         $209.27     0.00%    14.00
               CB 11 (100e 82CD) AST Daughterboard Flex Set                                                 $34.64     0.00%     8.00
               CB 11 (100e 82CD) AST Hinge [Left]                                                            $0.00     0.00%     6.00
               CB 11 (100e 82CD) AST Hinge [Right]                                                          $27.43     0.00%    12.00
               CB 11 (100e 82CD) AST Housing [LCD Bezel]                                                   $276.99     0.00%    41.00
               CB 11 (100e 82CD) AST Housing [LCD Rear Cover]                                              $528.29     0.01%    44.00
               CB 11 (100e 82CD) AST LCD Assembly                                                          $414.20     0.00%    10.00
               CB 11 (100e 82CD) AST LCD Cable                                                              $57.32     0.00%    18.00
               CB 11 (100e 82CD) AST Motherboard                                                           $344.22     0.00%     3.00
               CB 11 (100e 82CD) AST Palmrest w/ Keyboard                                                  $323.48     0.00%    18.00
               CB 11 (100e 82CD) AST Palmrest w/ Keyboard and Trackpad                                     $214.51     0.00%    13.00
               CB 11 (100e 82CD) AST Trackpad                                                               $27.85     0.00%     7.00
               CB 11 (300e 81H0) Daughterboard                                                             $962.71     0.01%    48.00
               CB 11 (300e 81H0) Housing [LCD Rear Cover]                                                  $479.12     0.01%    36.00
               CB 11 (300e 81H0) LCD Cable                                                                  $19.56     0.00%     3.00
               CB 11 (300e 81H0) LCD w/ Digitizer                                                          $130.21     0.00%     3.00
               CB 11 (300e 81H0) Motherboard [4GB][32GB] Non-Touch                                         $194.14     0.00%     1.00
               CB 11 (300e 81MB) Battery                                                                     $2.74     0.00%     1.00
               CB 11 (300e 81MB) Camera                                                                      $0.81     0.00%     3.00
               CB 11 (300e 81MB) Camera [WFC]                                                                $0.00     0.00%     2.00
               CB 11 (300e 81MB) Daughterboard w/ Flex Set                                                   $0.00     0.00%     8.00
               CB 11 (300e 81MB) LCD Cable                                                                   $6.33     0.00%     3.00
               CB 11 (300e 81MB) LCD Cable (Touch)                                                           $9.04     0.00%     2.00
               CB 11 (300e 81MB) LCD w/ Digitizer                                                          $613.21     0.01%     8.00
               CB 11 (300e 81MB) Motherboard                                                               $556.18     0.01%     4.00
               CB 11 (300e 81MB) Motherboard (w/ WFC)                                                      $376.06     0.00%     4.00
               CB 11 (300e 81MB) Palmrest w/ Keyboard                                                      $107.22     0.00%     5.00
               CB 11 (300e 81MB) Spine Cover                                                                 $8.87     0.00%    10.00
               CB 11 (300e 81MB) Trackpad Flex                                                               $4.76     0.00%     2.00
               CB 11 (300e 81MB) Wi-Fi Card                                                                  $0.00     0.00%     6.00
               CB 11 (300e 81QC) Battery                                                                   $404.66     0.00%    37.00
               CB 11 (300e 81QC) Camera                                                                      $0.89     0.00%     1.00
               CB 11 (300e 81QC) Daughterboard                                                             $285.76     0.00%    23.00
               CB 11 (300e 81QC) Daughterboard Flex                                                         $25.00     0.00%     9.00
               CB 11 (300e 81QC) Hinge Set*                                                                $149.25     0.00%     9.00
               CB 11 (300e 81QC) Hinge [Left]                                                              $123.78     0.00%    48.00
               CB 11 (300e 81QC) Hinge [Right]                                                              $57.33     0.00%    26.00
               CB 11 (300e 81QC) Housing [Base]                                                             $30.64     0.00%     3.00
               CB 11 (300e 81QC) Housing [Hinge Cover]                                                       $5.31     0.00%     1.00
               CB 11 (300e 81QC) Housing [LCD Rear Cover]                                                  $162.32     0.00%    16.00
               CB 11 (300e 81QC) LCD Cable                                                                 $104.07     0.00%    50.00
               CB 11 (300e 81QC) LCD w/ Camera Cable                                                        $25.26     0.00%     3.00
               CB 11 (300e 81QC) LCD w/ Digitizer                                                          $358.15     0.00%     7.00
               CB 11 (300e 81QC) Motherboard [4GB] [32GB]                                                $2,958.69     0.03%    34.00
               CB 11 (300e 81QC) Palmrest w/ Keyboard                                                       $47.40     0.00%     8.00
               CB 11 (300e 81QC) Palmrest w/ Keyboard and Trackpad                                          $83.31     0.00%     3.00
               CB 11 (300e 81QC) Sensor Board                                                                $0.31     0.00%     5.00
               CB 11 (300e 81QC) Speaker Set                                                                $54.50     0.00%    10.00
               CB 11 (300e 81QC) Spine Cover                                                                 $8.14     0.00%     4.00
               CB 11 (300e 81QC) Trackpad                                                                    $3.55     0.00%    12.00
               CB 11 (300e 81QC) Trackpad Cable                                                             $59.18     0.00%     8.00
               CB 11 (300e 81QC) Wi-Fi Cable                                                                 $0.00     0.00%    19.00
               CB 11 (300e 82CE) Battery                                                                   $139.20     0.00%     5.00
               CB 11 (300e 82CE) Camera                                                                      $7.47     0.00%     2.00
               CB 11 (300e 82CE) Daughterboard                                                             $102.81     0.00%     5.00
               CB 11 (300e 82CE) Daughterboard Flex                                                          $7.41     0.00%     3.00
               CB 11 (300e 82CE) Housing [Base]                                                            $689.25     0.01%    40.00
               CB 11 (300e 82CE) Housing [Hinge Cover]                                                       $6.00     0.00%     2.00




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               CB 11 (300e 82CE) Housing [LCD Rear Cover]                                                              $557.22   0.01%    37.00
               CB 11 (300e 82CE) LCD Cable                                                                              $56.64   0.00%    10.00
               CB 11 (300e 82CE) Motherboard [4GB] [32GB]                                                              $372.84   0.00%     3.00
               CB 11 (300e 82CE) Palmrest w/ Keyboard                                                                   $64.21   0.00%     3.00
               CB 11 (300e 82CE) Palmrest w/ Keyboard and Trackpad                                                     $589.33   0.01%    21.00
               CB 11 (300e 82CE) Speaker Set                                                                             $4.81   0.00%     1.00
               CB 11 (300e 82CE) Spine Cover                                                                             $0.00   0.00%     2.00
               CB 11 (300e 82CE) Trackpad                                                                                $0.00   0.00%     1.00
               CB 11 (300e 82CE) Trackpad Flex                                                                           $0.00   0.00%     2.00
               CB 11 (300e 82CE) Wi-Fi Card                                                                            $141.30   0.00%     9.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Battery                                                               $28.54   0.00%     2.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Battery (Non-DB)                                                      $59.98   0.00%     2.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Hinge Set*                                                            $13.00   0.00%     1.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Hinge [Left]                                                           $0.00   0.00%     2.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Hinge [Right]                                                          $0.00   0.00%     2.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [Base]                                                         $0.00   0.00%    15.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Keyboard                                                               $0.00   0.00%    20.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) LCD Cable                                                            $146.54   0.00%    20.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) LCD Panel                                                             $94.45   0.00%     2.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB] [32GB] w/ DB Connector - 0W1C7C                  $3,315.79   0.04%    21.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB][16GB] (Non-Touch) - 0GD6HC                         $372.07   0.00%     3.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB][16GB] (Non-Touch) w/ DB Connector - 01Y3PF          $86.82   0.00%     1.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest w/ Keyboard                                                   $0.00   0.00%     2.00
               CB 11 (3100 P29T Touch)(30J93) Daughterboard                                                              $0.00   0.00%     1.00
               CB 11 (3100 P29T Touch)(30J93) Daughterboard Flex Set                                                     $0.00   0.00%     1.00
               CB 11 (3100 P29T Touch)(30J93) Keyboard                                                                  $18.40   0.00%     2.00
               CB 11 (3100 P29T Touch)(30J93) LCD Panel                                                              $2,731.16   0.03%    29.00
               CB 11 (3100 P29T Touch)(30J93) Motherboard [4GB] [32GB] w/ DB Connector - 0W1C7C                        $679.41   0.01%     6.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Battery                                                                 $114.76   0.00%    12.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Battery (Non-WFC)                                                         $0.00   0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Battery Cable                                                             $2.33   0.00%     5.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Camera [Front]                                                           $53.80   0.00%     8.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Daughterboard                                                            $25.55   0.00%    34.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Daughterboard Flex Set                                                    $4.61   0.00%     4.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Daughterboard Flex [30 Pin]                                               $0.00   0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) G Sensor Board                                                            $0.95   0.00%     3.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) G Sensor Cable                                                            $0.00   0.00%     4.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Hinge Set*                                                               $58.21   0.00%     3.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Hinge [Left]                                                              $0.00   0.00%    16.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Hinge [Right]                                                             $0.13   0.00%     6.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Housing [Base]                                                           $37.13   0.00%     9.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Housing [LCD Rear Cover]                                                $126.26   0.00%    16.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Keyboard                                                                 $30.10   0.00%    10.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) LCD Cable                                                                 $0.00   0.00%    15.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) LCD w/ Digitizer                                                      $1,780.62   0.02%    30.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Motherboard [4GB][32GB] - 0R2K1H                                      $1,137.40   0.01%    12.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Motherboard [4GB][32GB] w/ WFC Connector - 0FNMF1                     $1,103.72   0.01%     9.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest                                                                $131.10   0.00%    11.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest (w/ WFC)                                                         $0.00   0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Keyboard                                                    $123.61   0.00%     6.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Keyboard (w/ WFC)                                             $0.00   0.00%    15.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Speaker Set                                                               $0.00   0.00%     5.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Trackpad                                                                  $0.00   0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Type-C Power Cable                                                        $3.45   0.00%     2.00
               CB 11 (3100) Palmrest                                                                                     $0.00   0.00%     1.00
               CB 11 (3180) Audio Board                                                                                $154.60   0.00%    11.00
               CB 11 (3189) Battery                                                                                    $267.68   0.00%    11.00
               CB 11 (3189) Battery Cable                                                                               $49.04   0.00%     8.00
               CB 11 (3189) Board Set (Power w/ Audio)                                                                 $305.07   0.00%     9.00
               CB 11 (3189) Camera [Front]                                                                              $69.42   0.00%     5.00
               CB 11 (3189) Daughterboard                                                                               $23.81   0.00%     1.00
               CB 11 (3189) DC Jack                                                                                     $37.34   0.00%     7.00
               CB 11 (3189) G Sensor Board                                                                               $2.97   0.00%     8.00
               CB 11 (3189) Hinge Set*                                                                                 $321.89   0.00%    17.00
               CB 11 (3189) Hinge [Left]                                                                                $31.44   0.00%    11.00
               CB 11 (3189) Hinge [Right]                                                                               $18.25   0.00%    10.00
               CB 11 (3189) Housing [Base]                                                                             $119.70   0.00%     8.00
               CB 11 (3189) Housing [LCD Rear Cover]                                                                   $182.12   0.00%    12.00
               CB 11 (3189) Keyboard                                                                                   $140.41   0.00%    23.00
               CB 11 (3189) LCD Assembly                                                                               $141.42   0.00%     3.00
               CB 11 (3189) LCD Cable                                                                                   $48.84   0.00%    13.00
               CB 11 (3189) LCD w/ Digitizer                                                                         $2,418.86   0.03%    34.00
               CB 11 (3189) Motherboard [4GB] [16GB]                                                                    $80.96   0.00%     2.00
               CB 11 (3189) Motherboard [4GB] [32GB]                                                                 $1,565.19   0.02%    30.00
               CB 11 (3189) Motherboard [4GB] [64GB]                                                                   $586.77   0.01%     8.00
               CB 11 (3189) Palmrest                                                                                   $285.54   0.00%    17.00
               CB 11 (3189) Palmrest w/ Keyboard and Trackpad*                                                          $44.00   0.00%     1.00
               CB 11 (3189) Power Board                                                                                  $9.82   0.00%     1.00
               CB 11 (3189) Screw Set                                                                                    $2.76   0.00%     4.00
               CB 11 (3189) Sensor Board Cable                                                                          $24.59   0.00%     2.00
               CB 11 (3189) Speaker Set                                                                                 $10.79   0.00%     1.00
               CB 11 (3189) Trackpad                                                                                    $17.89   0.00%     2.00
               CB 11 (3189) Trackpad Flex                                                                                $4.65   0.00%     3.00
               CB 11 (500e 81ES) Camera [Front]                                                                        $248.24   0.00%    20.00
               CB 11 (500e 81ES) G Sensor Board                                                                         $17.15   0.00%     1.00
               CB 11 (500e 81ES) Hinge Set*                                                                            $114.00   0.00%     6.00
               CB 11 (500e 81ES) Housing [LCD Rear Cover]                                                              $328.33   0.00%    22.00
               CB 11 (500e 81ES) LCD w/ Digitizer                                                                    $2,615.31   0.03%    36.00
               CB 11 (500e 81ES) Motherboard [4GB] [32GB]                                                               $73.02   0.00%     1.00
               CB 11 (500e 81ES) Palmrest w/ Keyboard                                                                  $406.33   0.00%    11.00
               CB 11 (500e 81ES) Palmrest w/ Keyboard and Trackpad*                                                    $245.00   0.00%     7.00
               CB 11 (500e 81ES) Wi-Fi Card                                                                              $0.00   0.00%     1.00
               CB 11 (500e 81MC) Battery                                                                               $377.62   0.00%    16.00
               CB 11 (500e 81MC) Camera Flex [Palmrest]                                                                  $3.98   0.00%    12.00
               CB 11 (500e 81MC) Camera [Front]                                                                        $621.06   0.01%    46.00
               CB 11 (500e 81MC) Camera [Palmrest]                                                                      $16.27   0.00%     1.00
               CB 11 (500e 81MC) Daughterboard (USB)                                                                 $1,075.45   0.01%    72.00
               CB 11 (500e 81MC) Daughterboard (USB) Flex Set                                                           $33.70   0.00%    21.00
               CB 11 (500e 81MC) G Sensor Board                                                                         $11.68   0.00%    14.00
               CB 11 (500e 81MC) Hinge Set*                                                                            $532.68   0.01%    29.00
               CB 11 (500e 81MC) Hinge [Left]                                                                           $23.82   0.00%    19.00
               CB 11 (500e 81MC) Hinge [Right]                                                                          $43.32   0.00%    24.00
               CB 11 (500e 81MC) Housing [Base]                                                                         $38.26   0.00%     4.00
               CB 11 (500e 81MC) Housing [Hinge Cover]                                                                  $28.00   0.00%     5.00
               CB 11 (500e 81MC) Housing [LCD Rear Cover]                                                               $83.19   0.00%     6.00
               CB 11 (500e 81MC) LCD Cable                                                                              $60.83   0.00%    10.00
               CB 11 (500e 81MC) LCD Panel                                                                             $169.99   0.00%     1.00
               CB 11 (500e 81MC) LCD w/ Digitizer (Touch)                                                            $3,160.21   0.04%    51.00
               CB 11 (500e 81MC) LCD w/ Digitizer (Touch) w/ EMR                                                         $0.00   0.00%     1.00
               CB 11 (500e 81MC) Motherboard [4GB][32GB]                                                            $20,698.78   0.24%   145.00
               CB 11 (500e 81MC) Motherboard [8GB][64GB]                                                               $159.99   0.00%     1.00
               CB 11 (500e 81MC) Palmrest w/ Keyboard                                                                  $409.90   0.00%    20.00
               CB 11 (500e 81MC) Palmrest w/ Keyboard and Trackpad                                                     $100.41   0.00%     6.00
               CB 11 (500e 81MC) Screw Set                                                                               $2.76   0.00%     4.00
               CB 11 (500e 81MC) Speaker Set                                                                           $230.17   0.00%    14.00
               CB 11 (500e 81MC) Spine Cover                                                                             $0.00   0.00%     7.00
               CB 11 (500e 81MC) Spine Cover Rubber                                                                      $0.00   0.00%    11.00
               CB 11 (500e 81MC) Stylus Sensor w/ Board                                                                  $2.27   0.00%     2.00
               CB 11 (500e 81MC) Trackpad                                                                               $12.90   0.00%     7.00




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               CB 11 (500e 81MC) Trackpad Flex                                                                       $88.78   0.00%    31.00
               CB 11 (500e 81MC) Wi-Fi Cable                                                                          $0.00   0.00%     5.00
               CB 11 (500e 81MC) Wi-Fi Card                                                                          $16.96   0.00%     5.00
               CB 11 (5190) Battery (2-in-1)                                                                          $0.00   0.00%     1.00
               CB 11 (5190) Camera (2-in-1)                                                                           $6.81   0.00%     2.00
               CB 11 (5190) Daughterboard (2-in-1)                                                                   $13.62   0.00%     2.00
               CB 11 (5190) Daughterboard Flex Set                                                                    $0.23   0.00%     1.00
               CB 11 (5190) G Sensor (2-in-1)                                                                         $0.00   0.00%     4.00
               CB 11 (5190) G Sensor Cable (2-in-1)                                                                   $9.08   0.00%     4.00
               CB 11 (5190) Hinge [Left]                                                                              $0.69   0.00%     1.00
               CB 11 (5190) Hinge [Left] (2-in-1)                                                                    $25.79   0.00%     5.00
               CB 11 (5190) Hinge [Right]                                                                             $0.69   0.00%     1.00
               CB 11 (5190) Housing [Base] (2-in-1)                                                                   $0.00   0.00%     1.00
               CB 11 (5190) Keyboard                                                                                  $0.15   0.00%     2.00
               CB 11 (5190) Keyboard (2-in-1)                                                                        $33.46   0.00%     3.00
               CB 11 (5190) LCD Assembly (2-in-1)                                                                    $62.37   0.00%     1.00
               CB 11 (5190) Motherboard (2-in-1)                                                                    $973.71   0.01%    11.00
               CB 11 (5190) Palmrest (2-in-1)                                                                        $50.66   0.00%     2.00
               CB 11 (5190) Palmrest and Trackpad w/ Cutout (2-in-1)                                                  $0.00   0.00%     6.00
               CB 11 (5190) Palmrest w/ Cutout (2-in-1)                                                             $172.17   0.00%    12.00
               CB 11 (5190) Palmrest w/ Keyboard (2-in-1)                                                           $467.20   0.01%    16.00
               CB 11 (5190) Palmrest w/ Keyboard and Trackpad* w/Cutout (2-in-1)                                      $0.00   0.00%     2.00
               CB 11 (5190) Trackpad (2-in-1)                                                                        $27.24   0.00%     4.00
               CB 11 (5190) Wi-Fi Card (2-in-1)                                                                       $5.00   0.00%     1.00
               CB 11 (C202SA) Battery                                                                               $670.50   0.01%    62.00
               CB 11 (C202SA) Camera                                                                                $138.21   0.00%    58.00
               CB 11 (C202SA) Daughterboard                                                                          $13.72   0.00%     2.00
               CB 11 (C202SA) Daughterboard Flex                                                                     $23.30   0.00%    10.00
               CB 11 (C202SA) DC Jack                                                                                $80.00   0.00%     4.00
               CB 11 (C202SA) Hinge Set*                                                                             $97.31   0.00%     8.00
               CB 11 (C202SA) Hinge [Left]                                                                           $60.90   0.00%    29.00
               CB 11 (C202SA) Hinge [Right]                                                                          $56.43   0.00%    27.00
               CB 11 (C202SA) Housing [Base] - Black                                                                $178.37   0.00%    19.00
               CB 11 (C202SA) Housing [Base] - Blue                                                                  $31.82   0.00%    10.00
               CB 11 (C202SA) Housing [Hinge Cover] - Black                                                         $142.04   0.00%    48.00
               CB 11 (C202SA) Housing [Hinge Cover] - Blue                                                          $286.08   0.00%    46.00
               CB 11 (C202SA) Housing [LCD Bezel] - Black                                                           $110.12   0.00%    16.00
               CB 11 (C202SA) Housing [LCD Bezel] - Blue                                                            $660.82   0.01%    40.00
               CB 11 (C202SA) Housing [LCD Rear Cover] - Black                                                      $118.13   0.00%    13.00
               CB 11 (C202SA) Housing [LCD Rear Cover] - Blue                                                       $703.52   0.01%    28.00
               CB 11 (C202SA) LCD Cable                                                                             $133.81   0.00%    33.00
               CB 11 (C202SA) LCD Panel                                                                              $51.94   0.00%     2.00
               CB 11 (C202SA) Motherboard [4GB] [32GB]                                                              $798.31   0.01%    12.00
               CB 11 (C202SA) Palmrest w/ Keyboard - Black                                                          $399.90   0.00%    26.00
               CB 11 (C202SA) Palmrest w/ Keyboard - Blue                                                         $1,494.40   0.02%    36.00
               CB 11 (C202SA) Speaker Set                                                                            $12.87   0.00%     5.00
               CB 11 (C202SA) Trackpad                                                                              $268.69   0.00%    11.00
               CB 11 (C202SA) Trackpad Flex                                                                          $35.71   0.00%    15.00
               CB 11 (C202SA) Wi-Fi Card                                                                            $134.94   0.00%     6.00
               CB 11 (C204) Battery                                                                                  $47.56   0.00%     6.00
               CB 11 (C204) Daughterboard                                                                           $109.26   0.00%     8.00
               CB 11 (C204) Hinge Set*                                                                               $53.18   0.00%     5.00
               CB 11 (C204) Housing [LCD Bezel]                                                                     $143.95   0.00%     9.00
               CB 11 (C204) Housing [Rear Cover]                                                                      $4.83   0.00%     7.00
               CB 11 (C204) LCD Cable                                                                                $20.89   0.00%     3.00
               CB 11 (C204) Motherboard                                                                           $2,486.08   0.03%    20.00
               CB 11 (C204) Palmrest w/ Keyboard                                                                    $773.65   0.01%    16.00
               CB 11 (C204) Trackpad                                                                                 $25.79   0.00%     2.00
               CB 11 (C204) Trackpad Flex                                                                             $3.86   0.00%     3.00
               CB 11 (C204EE) Camera                                                                                  $0.11   0.00%     2.00
               CB 11 (C204EE) Daughterboard                                                                           $0.67   0.00%     1.00
               CB 11 (C204EE) Motherboard                                                                           $118.20   0.00%     2.00
               CB 11 (C204EE) Palmrest w/ Keyboard                                                                    $0.37   0.00%     1.00
               CB 11 (C204EE) Trackpad                                                                               $33.50   0.00%     2.00
               CB 11 (C204EE) Trackpad Flex                                                                           $0.28   0.00%     7.00
               CB 11 (C204MA) Battery                                                                                 $0.00   0.00%     4.00
               CB 11 (C204MA) Camera                                                                                  $8.63   0.00%     1.00
               CB 11 (C204MA) Hinge [Right]                                                                           $3.03   0.00%     3.00
               CB 11 (C204MA) Housing [Base]                                                                          $0.00   0.00%     4.00
               CB 11 (C204MA) I/O Board                                                                               $0.00   0.00%    16.00
               CB 11 (C204MA) LCD Cable                                                                               $0.00   0.00%     4.00
               CB 11 (C204MA) LCD Panel [30pin]                                                                       $0.00   0.00%     1.00
               CB 11 (C204MA) Motherboard                                                                            $59.10   0.00%     1.00
               CB 11 (C204MA) Palmrest w/ Keyboard                                                                    $0.00   0.00%    10.00
               CB 11 (C204MA) Trackpad                                                                                $0.00   0.00%     1.00
               CB 11 (C204MA) Trackpad Flex                                                                           $0.00   0.00%     1.00
               CB 11 (C214MA) Battery                                                                                $52.76   0.00%     2.00
               CB 11 (C720) Housing [LCD Rear Cover]                                                                $119.74   0.00%     8.00
               CB 11 (C721) Battery                                                                                 $117.38   0.00%    17.00
               CB 11 (C721) Camera [Front]                                                                          $187.27   0.00%    55.00
               CB 11 (C721) Daughterboard                                                                           $416.30   0.00%   187.00
               CB 11 (C721) Daughterboard Flex (30 pin)                                                               $2.67   0.00%    12.00
               CB 11 (C721) Daughterboard Flex (45 pin)                                                               $0.61   0.00%     7.00
               CB 11 (C721) Daughterboard Flex Set                                                                    $0.60   0.00%     5.00
               CB 11 (C721) Heatsink                                                                                  $0.73   0.00%     1.00
               CB 11 (C721) Hinge Cover [Left]                                                                        $0.35   0.00%     1.00
               CB 11 (C721) Hinge Cover [Right]                                                                       $1.40   0.00%     4.00
               CB 11 (C721) Hinge Set*                                                                               $15.54   0.00%     7.00
               CB 11 (C721) Hinge [Left]                                                                             $15.56   0.00%    32.00
               CB 11 (C721) Hinge [Right]                                                                             $2.00   0.00%    31.00
               CB 11 (C721) Housing [Base]                                                                          $115.94   0.00%    45.00
               CB 11 (C721) Housing [LCD Bezel]                                                                      $48.15   0.00%    24.00
               CB 11 (C721) Housing [LCD Rear Cover]                                                                $117.22   0.00%    45.00
               CB 11 (C721) Keyboard                                                                                $864.80   0.01%   148.00
               CB 11 (C721) LCD Cable                                                                                $22.27   0.00%    30.00
               CB 11 (C721) Microphone                                                                               $47.20   0.00%    32.00
               CB 11 (C721) Motherboard [A4][4GB][32GB]                                                              $45.00   0.00%     1.00
               CB 11 (C721) Motherboard [A6][4GB][32GB]                                                           $5,880.15   0.07%    30.00
               CB 11 (C721) Palmrest                                                                                $181.93   0.00%    39.00
               CB 11 (C721) Palmrest w/ Keyboard                                                                      $0.00   0.00%     1.00
               CB 11 (C721) Screw Set                                                                               $116.87   0.00%    64.00
               CB 11 (C721) Speaker Set                                                                             $116.53   0.00%    51.00
               CB 11 (C721) Trackpad                                                                                  $7.24   0.00%    16.00
               CB 11 (C721) Trackpad Flex                                                                            $30.19   0.00%    60.00
               CB 11 (C721) Wi-Fi Antenna                                                                             $0.05   0.00%     4.00
               CB 11 (C721) Wi-Fi Card                                                                              $138.38   0.00%    54.00
               CB 11 (C731) Battery                                                                               $2,826.58   0.03%   118.00
               CB 11 (C731) Camera                                                                                   $28.07   0.00%     7.00
               CB 11 (C731) Daughterboard                                                                           $442.17   0.01%   137.00
               CB 11 (C731) Daughterboard Flex                                                                       $71.25   0.00%    60.00
               CB 11 (C731) DC Jack                                                                                  $38.24   0.00%    23.00
               CB 11 (C731) Hinge Set*                                                                               $32.26   0.00%     9.00
               CB 11 (C731) Hinge [Left]                                                                            $192.92   0.00%    55.00
               CB 11 (C731) Hinge [Right]                                                                           $595.58   0.01%   156.00
               CB 11 (C731) Housing [Base]                                                                          $889.60   0.01%    95.00
               CB 11 (C731) Housing [LCD Bezel]                                                                     $446.92   0.01%    65.00
               CB 11 (C731) Housing [LCD Rear Cover]                                                                $422.53   0.00%    27.00
               CB 11 (C731) LCD Cable                                                                               $388.55   0.00%   120.00
               CB 11 (C731) Motherboard [2GB][16GB]                                                                  $24.05   0.00%    19.00




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               CB 11 (C731) Motherboard [4GB] [32GB]                                                   $8,283.08     0.10%     65.00
               CB 11 (C731) Palmrest w/ Keyboard                                                         $617.35     0.01%     46.00
               CB 11 (C731) Screw Set                                                                     $47.83     0.00%     53.00
               CB 11 (C731) Speaker Set                                                                  $173.30     0.00%     79.00
               CB 11 (C731) Trackpad                                                                   $2,025.70     0.02%    292.00
               CB 11 (C731) Trackpad Flex                                                                 $60.27     0.00%     52.00
               CB 11 (C731) Wi-Fi Antenna Cable                                                            $0.32     0.00%      2.00
               CB 11 (C731) Wi-Fi Card                                                                   $763.76     0.01%    143.00
               CB 11 (C731T) Housing [LCD Rear Cover]                                                     $46.48     0.00%     11.00
               CB 11 (C731T) Wi-Fi Card                                                                   $81.82     0.00%      6.00
               CB 11 (C732) Battery                                                                       $26.78     0.00%     39.00
               CB 11 (C732) Camera                                                                       $254.62     0.00%     97.00
               CB 11 (C732) Daughterboard                                                                $783.30     0.01%    219.00
               CB 11 (C732) Daughterboard (USB) Flex Cable Set                                             $0.11     0.00%      2.00
               CB 11 (C732) Daughterboard (USB) Flex [30 Pin]                                              $0.50     0.00%      2.00
               CB 11 (C732) Hinge [Left]                                                                 $279.90     0.00%    103.00
               CB 11 (C732) Hinge [Right]                                                                  $7.82     0.00%     68.00
               CB 11 (C732) Housing [Base]                                                                $54.66     0.00%     29.00
               CB 11 (C732) Housing [LCD Bezel]                                                           $38.71     0.00%    108.00
               CB 11 (C732) Housing [LCD Rear Cover]                                                     $193.61     0.00%    129.00
               CB 11 (C732) LCD Cable                                                                     $56.43     0.00%     34.00
               CB 11 (C732) LCD Panel                                                                    $182.42     0.00%     15.00
               CB 11 (C732) Microphone                                                                   $153.06     0.00%     81.00
               CB 11 (C732) Motherboard [4GB] [32GB]                                                     $405.62     0.00%     24.00
               CB 11 (C732) Motherboard [4GB][16GB]                                                        $0.00     0.00%      3.00
               CB 11 (C732) Palmrest w/ Keyboard                                                         ($18.00)   (0.00%)    -6.00
               CB 11 (C732) Screw Set                                                                      $0.00     0.00%      1.00
               CB 11 (C732) Speaker Set                                                                   $58.73     0.00%     84.00
               CB 11 (C732) Trackpad                                                                      $22.89     0.00%     26.00
               CB 11 (C732) Trackpad Flex                                                                  $2.43     0.00%      5.00
               CB 11 (C732) Wi-Fi Cable                                                                   $17.34     0.00%     48.00
               CB 11 (C732) Wi-Fi Card                                                                    $91.60     0.00%     51.00
               CB 11 (C732T) Battery                                                                      $29.85     0.00%      4.00
               CB 11 (C732T) Daughterboard (USB)                                                          $35.93     0.00%      3.00
               CB 11 (C732T) Hinge Set*                                                                   $35.97     0.00%      3.00
               CB 11 (C732T) Housing [Base]                                                              $122.76     0.00%     33.00
               CB 11 (C732T) Housing [LCD Bezel]                                                           $1.33     0.00%      1.00
               CB 11 (C732T) Palmrest                                                                    $493.90     0.01%     22.00
               CB 11 (C732T) Screw Set                                                                    $73.63     0.00%     60.00
               CB 11 (C732T) Speaker Set                                                                  $22.19     0.00%      7.00
               CB 11 (C732T) Trackpad                                                                      $0.22     0.00%      1.00
               CB 11 (C733-C5AS) Battery                                                                 $214.78     0.00%     21.00
               CB 11 (C733-C5AS) Camera                                                                   $13.44     0.00%      2.00
               CB 11 (C733-C5AS) Daughterboard                                                           $723.26     0.01%     72.00
               CB 11 (C733-C5AS) Daughterboard Flex Set                                                   $44.62     0.00%     15.00
               CB 11 (C733-C5AS) Daughterboard Power Cable                                                 $8.52     0.00%      2.00
               CB 11 (C733-C5AS) Hinge [Left]                                                            $598.36     0.01%     56.00
               CB 11 (C733-C5AS) Hinge [Right]                                                           $112.91     0.00%     11.00
               CB 11 (C733-C5AS) Housing [Base]                                                        $1,150.01     0.01%    106.00
               CB 11 (C733-C5AS) Housing [LCD Bezel]                                                     $986.05     0.01%    140.00
               CB 11 (C733-C5AS) Housing [LCD Rear Cover]                                                  $4.03     0.00%      9.00
               CB 11 (C733-C5AS) LCD Cable                                                               $158.46     0.00%     47.00
               CB 11 (C733-C5AS) LCD Panel                                                             $1,207.16     0.01%     19.00
               CB 11 (C733-C5AS) Microphone                                                               $24.23     0.00%     15.00
               CB 11 (C733-C5AS) Motherboard [4GB] [32GB]                                                $339.46     0.00%      3.00
               CB 11 (C733-C5AS) Palmrest w/ Keyboard                                                    $630.77     0.01%     32.00
               CB 11 (C733-C5AS) Screw Set                                                                $23.47     0.00%     17.00
               CB 11 (C733-C5AS) Speaker Set                                                              $13.30     0.00%     17.00
               CB 11 (C733-C5AS) Trackpad Flex                                                            $70.12     0.00%     28.00
               CB 11 (C733-C5AS) Wi-Fi Antenna Cable                                                       $7.56     0.00%     12.00
               CB 11 (C733-C5AS) Wi-Fi Card                                                               $14.62     0.00%      5.00
               CB 11 (C740) Battery                                                                       $59.77     0.00%      2.00
               CB 11 (CP311-3H) Motherboard [4GB][32GB]                                                  $177.69     0.00%      1.00
               CB 11 (CP311-3H) Speaker Set                                                                $4.39     0.00%      1.00
               CB 11 (G5 EE Non-Touch) Trackpad Flex                                                       $0.00     0.00%      1.00
               CB 11 (G6 EE Non-Touch) Battery                                                             $0.23     0.00%     29.00
               CB 11 (G6 EE Non-Touch) Camera                                                              $0.00     0.00%     96.00
               CB 11 (G6 EE Non-Touch) Camera Cable                                                        $0.00     0.00%      4.00
               CB 11 (G6 EE Non-Touch) Daughterboard                                                       $0.00     0.00%     35.00
               CB 11 (G6 EE Non-Touch) Daughterboard Flex Set                                              $0.00     0.00%      6.00
               CB 11 (G6 EE Non-Touch) Hinge [Left]                                                        $0.00     0.00%     28.00
               CB 11 (G6 EE Non-Touch) Hinge [Right]                                                       $0.00     0.00%     17.00
               CB 11 (G6 EE Non-Touch) Housing [Base]                                                      $0.00     0.00%     12.00
               CB 11 (G6 EE Non-Touch) Housing [Hinge Cover]                                              $81.40     0.00%      6.00
               CB 11 (G6 EE Non-Touch) Housing [LCD Rear Cover]                                           $12.82     0.00%      2.00
               CB 11 (G6 EE Non-Touch) LCD Cable                                                           $0.00     0.00%     29.00
               CB 11 (G6 EE Non-Touch) LCD Panel                                                           $0.43     0.00%      2.00
               CB 11 (G6 EE Non-Touch) Motherboard [N3350][4GB][16GB]                                    $574.95     0.01%      5.00
               CB 11 (G6 EE Non-Touch) Motherboard [N3350][4GB][32GB]                                  $1,197.18     0.01%     13.00
               CB 11 (G6 EE Non-Touch) Palmrest w/ Keyboard                                              $146.82     0.00%     62.00
               CB 11 (G6 EE Non-Touch) Screw Set                                                           $0.63     0.00%      1.00
               CB 11 (G6 EE Non-Touch) Speaker Set                                                         $0.22     0.00%      1.00
               CB 11 (G6 EE Non-Touch) Trackpad                                                            $0.00     0.00%     14.00
               CB 11 (G6 EE Non-Touch) Trackpad Flex                                                       $0.00     0.00%     10.00
               CB 11 (G6 EE Touch) Housing [LCD Bezel]                                                     $0.00     0.00%      1.00
               CB 11 (G6 EE Touch) LCD Cable                                                               $7.16     0.00%      1.00
               CB 11 (G6 EE Touch) Palmrest w/ Keyboard                                                  $228.80     0.00%      5.00
               CB 11 (G6 EE Touch) Trackpad                                                                $0.13     0.00%      1.00
               CB 11 (G7 EE Non-Touch) Daughterboard                                                      $36.43     0.00%      8.00
               CB 11 (G7 EE Non-Touch) Housing [LCD Rear Cover]                                           $26.36     0.00%      1.00
               CB 11 (G7 EE Non-Touch) Motherboard [N4000][4GB][16GB]                                     $10.39     0.00%      1.00
               CB 11 (G7 EE Non-Touch) Palmrest w/ Keyboard                                               $24.61     0.00%      1.00
               CB 11 (G7 EE Touch) Daughterboard                                                          $19.99     0.00%      1.00
               CB 11 (G7 EE Touch) Housing [LCD Rear Cover]                                               $26.99     0.00%      1.00
               CB 11 (G7 EE Touch) LCD Cable                                                              $51.77     0.00%      8.00
               CB 11 (G7 EE Touch) LCD Panel                                                             $359.95     0.00%      5.00
               CB 11 (G7 EE Touch) Motherboard [N4000][4GB][16GB]                                        $259.98     0.00%      2.00
               CB 11 (G8 EE Non-Touch) Battery                                                           $232.38     0.00%      9.00
               CB 11 (G8 EE Non-Touch) Camera                                                              $8.71     0.00%      2.00
               CB 11 (G8 EE Non-Touch) Camera Cable                                                        $0.00     0.00%      1.00
               CB 11 (G8 EE Non-Touch) Daughterboard                                                       $5.49     0.00%      7.00
               CB 11 (G8 EE Non-Touch) Daughterboard Flex Set                                              $0.00     0.00%      2.00
               CB 11 (G8 EE Non-Touch) Hinge Cover                                                        $28.57     0.00%      2.00
               CB 11 (G8 EE Non-Touch) Housing [LCD Bezel]                                                 $0.47     0.00%      5.00
               CB 11 (G8 EE Non-Touch) Housing [LCD Rear Cover]                                            $3.46     0.00%      1.00
               CB 11 (G8 EE Non-Touch) LCD Cable                                                           $8.07     0.00%      1.00
               CB 11 (G8 EE Non-Touch) Motherboard                                                       $218.98     0.00%      3.00
               CB 11 (G8 EE Non-Touch) Motherboard [N4020][4GB][32GB]                                  $2,429.60     0.03%     20.00
               CB 11 (G8 EE Non-Touch) Motherboard [N4120][4GB][32GB]                                    $137.99     0.00%      1.00
               CB 11 (G8 EE Non-Touch) Palmrest w/ Keyboard                                               $37.58     0.00%      6.00
               CB 11 (G8 EE Non-Touch) Speaker Set                                                         $0.00     0.00%      1.00
               CB 11 (G8 EE Non-Touch) Trackpad                                                            $0.00     0.00%      3.00
               CB 11 (G8 EE Non-Touch) Trackpad Flex                                                       $0.00     0.00%      1.00
               CB 11 (G8 EE Non-Touch) Wi-Fi Cable                                                         $0.01     0.00%      1.00
               CB 11 (G8 EE Touch) Daughterboard                                                          $11.99     0.00%      1.00
               CB 11 (G8 EE Touch) Motherboard                                                         $2,196.00     0.03%      9.00
               CB 11 (N23) Hinge [Left]                                                                    $0.00     0.00%     47.00
               CB 11 (NL7) Camera                                                                        $152.94     0.00%      6.00
               CB 11 (NL7) Daughterboard                                                                   $0.00     0.00%      2.00




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               CB 11 (NL7) Housing [LCD Bezel]                                                       $914.69   0.01%   23.00
               CB 11 (NL7) Housing [LCD Rear Cover]                                                  $110.48   0.00%    2.00
               CB 11 (NL7) Trackpad                                                                   $44.98   0.00%    2.00
               CB 11 (NL71 LTE) Daughterboard                                                        $126.00   0.00%    9.00
               CB 11 (NL71 LTE) Motherboard                                                          $640.20   0.01%    4.00
               CB 11 (NL71 LTE) Trackpad                                                               $0.00   0.00%    1.00
               CB 11 (NL71) Motherboard                                                               $90.00   0.00%    2.00
               CB 11 (NL7L LTE) Battery                                                               $49.34   0.00%    4.00
               CB 11 (NL7L LTE) Daughterboard                                                         $94.22   0.00%    8.00
               CB 11 (NL7L LTE) Daughterboard Flex Set*                                                $0.00   0.00%    1.00
               CB 11 (NL7L LTE) Housing [LCD Bezel]                                                   $36.00   0.00%    3.00
               CB 11 (NL7L LTE) Housing [LCD Rear Cover]                                             $163.43   0.00%   11.00
               CB 11 (NL7L LTE) LCD Cable                                                             $10.00   0.00%    5.00
               CB 11 (NL7L LTE) Motherboard                                                        $3,200.56   0.04%   21.00
               CB 11 (NL7L LTE) Palmrest w/ Keyboard                                                 $809.85   0.01%   15.00
               CB 11 (NL7L LTE) Palmrest w/ Keyboard and Trackpad                                     $29.00   0.00%    1.00
               CB 11 (R751T) Palmrest w/ Keyboard                                                    $450.58   0.01%   10.00
               CB 11 (R752T) Battery                                                                 $284.71   0.00%    7.00
               CB 11 (R752T) Daughterboard                                                             $0.00   0.00%    4.00
               CB 11 (R752T) G Sensor Board                                                           $12.51   0.00%    9.00
               CB 11 (R752T) Hinge - Right                                                            $18.87   0.00%    3.00
               CB 11 (R752T) Housing [Base]                                                          $290.93   0.00%   22.00
               CB 11 (R752T) Housing [LCD Rear Cover]                                                $193.53   0.00%   22.00
               CB 11 (R752T) LCD Assembly                                                            $172.36   0.00%    2.00
               CB 11 (R752T) Motherboard                                                             $782.82   0.01%    4.00
               CB 11 (R752T) Motherboard [4GB][32GB][w/o WFC]                                        $556.11   0.01%    3.00
               CB 11 (R752T) Palmrest w/ Keyboard                                                     $25.32   0.00%    2.00
               CB 11 (R752T) Palmrest w/ Keyboard (w/ WFC)                                             $0.00   0.00%    3.00
               CB 11 (R752T) Speaker Set                                                               $6.34   0.00%    2.00
               CB 11 (R752T) Trackpad                                                                 $57.54   0.00%   12.00
               CB 11 (R752T) Wi-Fi Antenna                                                             $0.20   0.00%    2.00
               CB 11 (R752T) Wi-Fi Card                                                               $10.49   0.00%    1.00
               CB 11 (R752TN) LCD w/ Digitizer                                                       $702.00   0.01%    4.00
               CB 11 (R752TN) Motherboard [4GB][32GB]                                              $1,149.37   0.01%    7.00
               CB 11 (R851TN) Battery                                                                $237.45   0.00%    6.00
               CB 11 (R851TN) Camera                                                                   $5.99   0.00%    1.00
               CB 11 (R851TN) Camera [Palmrest]                                                       $63.01   0.00%    2.00
               CB 11 (R851TN) Daughterboard                                                          $209.94   0.00%   22.00
               CB 11 (R851TN) Daughterboard Flex - Large                                               $0.19   0.00%    2.00
               CB 11 (R851TN) Daughterboard Flex - Small                                               $1.34   0.00%    5.00
               CB 11 (R851TN) G Sensor Board                                                           $8.07   0.00%    6.00
               CB 11 (R851TN) G Sensor Board Cable                                                     $1.43   0.00%    1.00
               CB 11 (R851TN) Hinge [Left]                                                           $325.95   0.00%   82.00
               CB 11 (R851TN) Hinge [Right]                                                          $291.92   0.00%   38.00
               CB 11 (R851TN) Housing [Base]                                                         $218.28   0.00%   16.00
               CB 11 (R851TN) Housing [LCD Rear Cover]                                                 $3.68   0.00%    1.00
               CB 11 (R851TN) LCD Cable                                                               $42.23   0.00%   11.00
               CB 11 (R851TN) LCD Cable (Touch)                                                        $8.47   0.00%    2.00
               CB 11 (R851TN) LCD w/ Digitizer                                                       $239.55   0.00%   27.00
               CB 11 (R851TN) Motherboard Connector                                                   $67.84   0.00%   53.00
               CB 11 (R851TN) Motherboard [4GB][32GB]                                              $7,116.98   0.08%   52.00
               CB 11 (R851TN) Palmrest w/ Keyboard                                                   $346.12   0.00%   31.00
               CB 11 (R851TN) Power Button                                                             $2.28   0.00%    3.00
               CB 11 (R851TN) Power Button Cable                                                       $0.00   0.00%    3.00
               CB 11 (R851TN) Speaker Set                                                             $46.43   0.00%   16.00
               CB 11 (R851TN) Stylus Sensor w/ Board                                                   $4.66   0.00%    4.00
               CB 11 (R851TN) Trackpad                                                                 $5.73   0.00%    2.00
               CB 11 (R851TN) Trackpad Cable                                                           $6.40   0.00%   17.00
               CB 11 (R851TN) Wi-Fi Antenna                                                            $2.78   0.00%    2.00
               CB 11 (R851TN) Wi-Fi Cable                                                             $17.64   0.00%   14.00
               CB 11 (RC738T) Wi-Fi Card                                                               $0.43   0.00%    3.00
               CB 11 x360 (G1 EE) LCD Assembly                                                     $1,086.02   0.01%   14.00
               CB 11 x360 (G3 EE) Battery                                                            $228.83   0.00%    5.00
               CB 11 x360 (G3 EE) Camera                                                              $71.16   0.00%    7.00
               CB 11 x360 (G3 EE) Camera Cable                                                         $8.35   0.00%    3.00
               CB 11 x360 (G3 EE) Daughterboard                                                       $29.06   0.00%   13.00
               CB 11 x360 (G3 EE) Daughterboard Flex Set                                               $3.60   0.00%    1.00
               CB 11 x360 (G3 EE) Hinge Set                                                           $71.11   0.00%    4.00
               CB 11 x360 (G3 EE) Hinge [Left]                                                        $36.99   0.00%    2.00
               CB 11 x360 (G3 EE) Hinge [Right]                                                        $0.00   0.00%    4.00
               CB 11 x360 (G3 EE) Housing [Base]                                                     $319.41   0.00%   13.00
               CB 11 x360 (G3 EE) Housing [LCD Rear Cover]                                           $153.98   0.00%    2.00
               CB 11 x360 (G3 EE) LCD Cable                                                            $2.96   0.00%    5.00
               CB 11 x360 (G3 EE) LCD Cable [WFC]                                                     $10.80   0.00%    3.00
               CB 11 x360 (G3 EE) LCD w/ Digitizer (Finger-Touch)                                    $802.16   0.01%    7.00
               CB 11 x360 (G3 EE) Motherboard                                                      $3,216.89   0.04%   11.00
               CB 11 x360 (G3 EE) Palmrest w/ Keyboard                                             $3,775.71   0.04%   69.00
               CB 11 x360 (G3 EE) Sensor Board                                                         $0.87   0.00%    6.00
               CB 11 x360 (G3 EE) Speaker Set                                                          $8.71   0.00%    1.00
               CB 11 x360 (G3 EE) Trackpad                                                            $57.93   0.00%    6.00
               CB 11 x360 (G3 EE) Trackpad Flex                                                        $3.20   0.00%    1.00
               CB 11 x360 (G3 EE) Wi-Fi Card                                                          $64.87   0.00%   13.00
               CB 11A (G6 EE Non-Touch) Battery                                                        $0.00   0.00%    3.00
               CB 11A (G6 EE Non-Touch) Camera                                                         $0.00   0.00%   11.00
               CB 11A (G6 EE Non-Touch) Camera Cable                                                   $8.82   0.00%    3.00
               CB 11A (G6 EE Non-Touch) Daughterboard                                                 $46.18   0.00%    9.00
               CB 11A (G6 EE Non-Touch) Hinge [Left]                                                  $19.14   0.00%   11.00
               CB 11A (G6 EE Non-Touch) Housing [Base]                                                 $1.13   0.00%    2.00
               CB 11A (G6 EE Non-Touch) Housing [LCD Bezel]                                           $12.82   0.00%    7.00
               CB 11A (G6 EE Non-Touch) Housing [LCD Rear Cover]                                       $4.09   0.00%    1.00
               CB 11A (G6 EE Non-Touch) LCD Cable                                                      $0.00   0.00%    7.00
               CB 11A (G6 EE Non-Touch) Motherboard [4GB] [16GB]                                       $6.95   0.00%    2.00
               CB 11A (G6 EE Non-Touch) Motherboard [4GB] [32GB]                                     $674.57   0.01%   15.00
               CB 11A (G6 EE Non-Touch) Palmrest w/ Keyboard                                          $78.80   0.00%    8.00
               CB 11A (G6 EE Non-Touch) Speaker Set                                                    $0.00   0.00%    1.00
               CB 11A (G6 EE Non-Touch) Spine Cover                                                   $40.47   0.00%    3.00
               CB 11A (G6 EE Non-Touch) Trackpad                                                       $0.00   0.00%    5.00
               CB 11A (G8 EE Non-Touch) Battery                                                        $0.00   0.00%   14.00
               CB 11A (G8 EE Non-Touch) Camera                                                         $0.00   0.00%   13.00
               CB 11A (G8 EE Non-Touch) Camera Cable                                                   $0.00   0.00%    3.00
               CB 11A (G8 EE Non-Touch) Daughterboard                                                $196.05   0.00%   14.00
               CB 11A (G8 EE Non-Touch) Hinge Set*                                                    $35.58   0.00%    2.00
               CB 11A (G8 EE Non-Touch) Hinge [Left]                                                   $0.00   0.00%    2.00
               CB 11A (G8 EE Non-Touch) Hinge [Right]                                                  $0.00   0.00%    4.00
               CB 11A (G8 EE Non-Touch) Housing [LCD Bezel]                                           $20.42   0.00%    2.00
               CB 11A (G8 EE Non-Touch) Housing [LCD Rear Cover]                                     $486.14   0.01%   24.00
               CB 11A (G8 EE Non-Touch) LCD Cable                                                    $420.17   0.00%   49.00
               CB 11A (G8 EE Non-Touch) Motherboard                                                $1,848.23   0.02%   16.00
               CB 11A (G8 EE Non-Touch) Palmrest w/ Keyboard                                          $90.79   0.00%    7.00
               CB 11A (G8 EE Non-Touch) Trackpad                                                      $49.90   0.00%    8.00
               CB 11A (G8 EE Non-Touch) Wi-Fi Card                                                     $9.87   0.00%    2.00
               CB 11A (G8 EE Touch) Daughterboard                                                      $0.00   0.00%    1.00
               CB 11e (20GF) LCD Cable                                                                $44.98   0.00%    2.00
               CB 12 (C871-C85K) Hinge Set*                                                           $44.97   0.00%    3.00
               CB 12 (C871-C85K) Housing [LCD Rear Cover]                                             $11.50   0.00%    1.00
               CB 14 (C933) Battery                                                                    $0.00   0.00%    2.00
               CB 14 (C933) Daughterboard                                                              $2.26   0.00%    3.00
               CB 14 (C933) Hinge Set*                                                                $28.00   0.00%    2.00
               CB 14 (C933) Hinge [Left]                                                               $8.21   0.00%    7.00




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               CB 14 (C933) Hinge [Right]                                                                 $5.70   0.00%    6.00
               CB 14 (C933) Housing [Base]                                                              $114.51   0.00%   14.00
               CB 14 (C933) Housing [LCD Bezel]                                                          $11.21   0.00%    8.00
               CB 14 (C933) Housing [LCD Rear Cover]                                                     $62.29   0.00%    8.00
               CB 14 (C933) LCD Assembly                                                                $273.90   0.00%    2.00
               CB 14 (C933) LCD Cable                                                                    $16.46   0.00%    2.00
               CB 14 (C933) LCD w/ Digitizer                                                            $191.86   0.00%    2.00
               CB 14 (C933) Motherboard [4GB][32GB]                                                     $831.10   0.01%    4.00
               CB 14 (C933) Palmrest w/ Keyboard                                                          $0.65   0.00%    1.00
               CB 14 (C933T) LCD Cable                                                                    $8.45   0.00%    1.00
               CB 14 (CB3-431) DC Jack                                                                    $7.35   0.00%    5.00
               CB 14 (CB3-431) Housing [Base]                                                            $33.52   0.00%    3.00
               CB 14 (CB3-431) Housing [LCD Bezel]                                                       $74.70   0.00%    6.00
               CB 14 (CB3-431) Housing [LCD Rear Cover]                                                 $121.20   0.00%    6.00
               CB 14 (CB3-431) Keyboard                                                                  $58.81   0.00%    2.00
               CB 14 (CB3-431) LCD Cable                                                                 $71.61   0.00%   11.00
               CB 14 (CB3-431) Motherboard                                                            $2,169.49   0.03%   10.00
               CB 14 (CB3-431) Trackpad                                                                  $22.68   0.00%    3.00
               CB 14 (G5 Non-Touch) Battery                                                              $25.00   0.00%    1.00
               CB 14 (G5 Non-Touch) Camera                                                               $30.84   0.00%    7.00
               CB 14 (G5 Non-Touch) Camera Cable                                                         $44.82   0.00%    3.00
               CB 14 (G5 Non-Touch) Daughterboard Flex [30 Pin]                                         $227.86   0.00%   14.00
               CB 14 (G5 Non-Touch) Daughterboard Flex [40 Pin]                                          $14.89   0.00%    1.00
               CB 14 (G5 Non-Touch) LCD Cable                                                            $67.27   0.00%   10.00
               CB 14 (G5 Non-Touch) Motherboard[N3350][4GB][64GB]                                     $2,099.85   0.02%   15.00
               CB 14 (G5 Non-Touch) Motherboard[N3450][4GB][32GB]                                     $1,379.88   0.02%   12.00
               CB 14 (G5 Non-Touch) Palmrest w/ Keyboard                                                 $69.02   0.00%    4.00
               CB 14 (G5 Non-Touch) Sensor Board Cable                                                    $1.48   0.00%    1.00
               CB 14 (G5 Non-Touch) Speaker Set                                                           $0.62   0.00%    1.00
               CB 14 (G5 Non-Touch) Trackpad                                                            $152.55   0.00%   67.00
               CB 14 (G5 Non-Touch) Trackpad Flex                                                         $2.56   0.00%   13.00
               CB 14 (G5 Touch) Camera Cable                                                              $2.99   0.00%    1.00
               CB 14 (G5 Touch) LCD Cable                                                                $13.98   0.00%    2.00
               CB 14 (G5 Touch) Motherboard[N3350][4GB][16GB]                                           $153.44   0.00%    1.00
               CB 14 (G5 Touch) Sensor Board Cable                                                        $0.00   0.00%   23.00
               CB 14 (G5 Touch) Trackpad                                                                $411.89   0.00%   23.00
               CB 14 (G5 Touch) Trackpad Flex                                                             $0.00   0.00%    4.00
               CB 14 (G6) Battery                                                                       $140.34   0.00%    3.00
               CB 14 (G6) Housing [LCD Bezel]                                                            $43.98   0.00%    2.00
               CB 14 (G6) LCD Panel                                                                      $69.99   0.00%    1.00
               CB 14 (G6) Motherboard [N4020][4GB][32GB]                                                $413.97   0.00%    3.00
               CB 14 (G6) Trackpad                                                                       $14.99   0.00%    1.00
               CB 14 (N42) Camera                                                                       $148.39   0.00%    8.00
               CB 14 (N42) Daughterboard (USB)                                                          $317.81   0.00%   28.00
               CB 14 (N42) Daughterboard (USB) Flex                                                      $26.43   0.00%   20.00
               CB 14 (N42) DC Jack                                                                       $49.95   0.00%    5.00
               CB 14 (N42) Hinge [Right]                                                                  $0.00   0.00%    3.00
               CB 14 (N42) Housing [Base]                                                               $143.00   0.00%   11.00
               CB 14 (N42) Housing [LCD Bezel]                                                          $476.10   0.01%   23.00
               CB 14 (N42) Housing [LCD Bezel] (Touch)                                                    $0.00   0.00%    1.00
               CB 14 (N42) Housing [LCD Rear Cover]                                                     $195.00   0.00%   13.00
               CB 14 (N42) LCD Panel                                                                  $2,314.81   0.03%   29.00
               CB 14 (N42) Palmrest w/ Keyboard                                                         $540.94   0.01%   23.00
               CB 14 (N42) Screw Set                                                                      $0.00   0.00%    2.00
               CB 14 (N42) Trackpad                                                                     $101.15   0.00%   14.00
               CB 14A (G5 Non-Touch) Battery                                                             $71.21   0.00%    6.00
               CB 14A (G5 Non-Touch) Camera                                                             $246.53   0.00%   10.00
               CB 14A (G5 Non-Touch) Camera Cable                                                        $26.23   0.00%    6.00
               CB 14A (G5 Non-Touch) Daughterboard                                                       $12.42   0.00%    2.00
               CB 14A (G5 Non-Touch) Housing [LCD Bezel]                                                 $53.98   0.00%    2.00
               CB 14A (G5 Non-Touch) LCD Cable                                                           $33.75   0.00%   10.00
               CB 14A (G5 Non-Touch) Palmrest w/ Keyboard                                                 $2.69   0.00%    4.00
               CB 14A (G5 Non-Touch) Speaker Set                                                          $3.59   0.00%    1.00
               CB 14A (G5 Non-Touch) Trackpad                                                            $13.87   0.00%    5.00
               CB 14A (G5 Non-Touch) Trackpad Flex                                                       $40.58   0.00%   15.00
               CB 14A (G5 Touch) Camera Cable                                                             $9.59   0.00%    1.00
               CB 14A (G5 Touch) LCD Cable                                                                $0.00   0.00%    1.00
               CB 14A (G5 Touch) Motherboard [A4-9120C][4GB][16GB]                                       $97.78   0.00%    1.00
               CB 14A (G5 Touch) Speaker Set                                                              $1.50   0.00%    3.00
               CB 14E (81MH) Motherboard [4GB][32GB]                                                    $413.64   0.00%    3.00
               CB 14E (81MH) Palmrest w/ Keyboard                                                       $340.00   0.00%    8.00
               Galaxy A12 (SM-125U) LCD                                                                  $50.35   0.00%    1.00
               Galaxy A50 Battery                                                                        $47.16   0.00%    4.00
               Galaxy A50 Charge Port Flex                                                               $32.13   0.00%    3.00
               Galaxy A50 LCD Assembly - Prism Blue                                                     $139.22   0.00%    2.00
               Galaxy J7 (2018) Battery                                                                  $41.76   0.00%    6.00
               Galaxy J7 (2018) Charge Port                                                               $5.16   0.00%    6.00
               Galaxy J7 (2018) LCD Assembly - Black                                                     $93.90   0.00%    6.00
               Galaxy Note 10 (Plus) LCD Assembly                                                       $236.30   0.00%    1.00
               Galaxy Note 5 LCD Assembly - Blue/Black                                                   $97.37   0.00%    1.00
               Galaxy Note 5 LCD Assembly - White                                                        $99.26   0.00%    1.00
               Galaxy Note 8 Backglass- Orchid Gray                                                       $5.86   0.00%    1.00
               Galaxy Note 8 Camera [Front]                                                               $5.27   0.00%    2.00
               Galaxy Note 8 Housing [Rear] - Gold                                                       $10.28   0.00%    1.00
               Galaxy Note 8 Housing [Rear] - Orchid Grey                                                 $0.00   0.00%    1.00
               Galaxy Note 8 Scanner Flex (Fingerprint)                                                   $9.42   0.00%    1.00
               Galaxy Note 9 Housing [Rear] - Black                                                      $47.16   0.00%    2.00
               Galaxy Note 9 Housing [Rear] - Blue                                                       $33.59   0.00%    2.00
               Galaxy Note 9 LCD Assembly - Black                                                       $224.99   0.00%    1.00
               Galaxy Note 9 LCD Assembly - Purple                                                      $227.49   0.00%    1.00
               Galaxy S10 (Plus) Audio Jack                                                              $69.86   0.00%    8.00
               Galaxy S10 (Plus) Housing [Rear] - Blue                                                    $6.24   0.00%    1.00
               Galaxy S10 (Plus) LCD Assembly - Black                                                 $1,059.29   0.01%    4.00
               Galaxy S10 Battery                                                                       $109.90   0.00%   10.00
               Galaxy S10 Camera Lens                                                                     $2.80   0.00%    2.00
               Galaxy S10 Camera [Front]                                                                  $7.44   0.00%    2.00
               Galaxy S10 Camera [Rear]                                                                  $29.50   0.00%    2.00
               Galaxy S10 Charge Port                                                                     $6.15   0.00%    3.00
               Galaxy S10 Housing [Rear] - Black                                                        $108.09   0.00%   13.00
               Galaxy S10 Housing [Rear] - Blue                                                           $6.52   0.00%    1.00
               Galaxy S10 LCD Assembly - Black                                                        $2,033.24   0.02%    8.00
               Galaxy S10 LCD Assembly - Blue                                                           $234.89   0.00%    1.00
               Galaxy S10 LCD Assembly - Prism White                                                      $6.77   0.00%    1.00
               Galaxy S10E Camera [Rear]                                                                 $15.86   0.00%    2.00
               Galaxy S10E Housing [Rear] - Black                                                        $54.94   0.00%    7.00
               Galaxy S10E LCD Assembly - Black                                                         $152.35   0.00%    1.00
               Galaxy S10E LCD Assembly - Blue                                                          $221.32   0.00%    2.00
               Galaxy S20 Battery                                                                        $21.04   0.00%    2.00
               Galaxy S20 Camera [Front]                                                                 $23.98   0.00%    2.00
               Galaxy S20 Camera [Rear]                                                                 $129.95   0.00%    5.00
               Galaxy S20 Glass [Rear] - Grey                                                            $37.58   0.00%    1.00
               Galaxy S20 Ultra LCD Assembly - Black                                                  $1,299.40   0.02%    5.00
               Galaxy S7 (Edge) Housing [Rear] - Gold                                                    $40.76   0.00%    4.00
               Galaxy S7 (Edge) LCD Assembly w/ Housing [Mid] - Gold                                    $315.55   0.00%    2.00
               Galaxy S8 (Plus) LCD Assembly - Black                                                    $543.72   0.01%    4.00
               Galaxy S8 (Plus) LCD Assembly - Blue                                                     $185.72   0.00%    1.00
               Galaxy S8 (Plus) LCD Assembly - Purple                                                   $148.97   0.00%    1.00
               Galaxy S8 (Plus) LCD Assembly - Silver                                                     $0.00   0.00%    1.00
               Galaxy S8 (Plus) LCD Assembly w/ Housing - Gold                                          $185.72   0.00%    1.00




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               Galaxy S8 Battery                                                                                                                         $8.41   0.00%     1.00
               Galaxy S8 Housing [Rear] - Black                                                                                                          $9.47   0.00%     1.00
               Galaxy S9 (Plus) Camera Lens [Rear]                                                                                                       $0.98   0.00%     2.00
               Galaxy S9 (Plus) Camera [Front]                                                                                                           $5.22   0.00%     1.00
               Galaxy S9 (Plus) Housing [Rear] - Blue                                                                                                   $20.07   0.00%     2.00
               Galaxy S9 (Plus) LCD Assembly - Black                                                                                                   $396.12   0.00%     2.00
               Galaxy S9 (Plus) LCD Assembly - Blue                                                                                                    $489.96   0.01%     3.00
               Galaxy S9 (Plus) LCD Assembly - Purple                                                                                                  $205.88   0.00%     1.00
               Galaxy S9 Battery                                                                                                                        $23.16   0.00%     3.00
               Galaxy S9 Camera [Front]                                                                                                                  $4.20   0.00%     1.00
               Galaxy S9 Housing [Rear] - Coral Blue                                                                                                     $4.76   0.00%     1.00
               Galaxy S9 Housing [Rear] - Purple                                                                                                        $12.14   0.00%     1.00
               Galaxy S9 LCD Assembly - Purple                                                                                                         $178.94   0.00%     1.00
               Galaxy S9 Wireless Charging Flex Bracket                                                                                                  $0.89   0.00%     1.00
               Galaxy Tab A (T387) Battery                                                                                                              $43.59   0.00%     3.00
               Galaxy Tab A (T387) Camera [Front]                                                                                                       $55.23   0.00%     7.00
               Galaxy Tab A (T387) Camera [Rear]                                                                                                       $159.34   0.00%    10.00
               Galaxy Tab A (T387) Charge Port                                                                                                          $22.14   0.00%     3.00
               Galaxy Tab A (T387) LCD Cable                                                                                                           $239.88   0.00%    12.00
               Galaxy Tab A (T387) Volume Button                                                                                                        $16.86   0.00%     2.00
               Ideapad 3 (82H4) Battery                                                                                                                 $33.04   0.00%     1.00
               Ideapad 3 (82H4) Motherboard [4GB][32GB]                                                                                                 $89.99   0.00%     1.00
               INV-SM-TG-IPA105                                                                  Tempered Glass for iPad Air/Air 2/New/Pro 9.7/6th Gen   $0.00   0.00%     1.00
               iPad 5 Digitizer - Black                                                                                                                 $31.52   0.00%     2.00
               iPad 5 Digitizer - White                                                                                                                 $15.76   0.00%     1.00
               iPad 5 Home Button - Black                                                                                                                $9.00   0.00%     2.00
               iPad 5 LCD Panel                                                                                                                        $132.70   0.00%     2.00
               iPad 6 Digitizer - White                                                                                                                  $0.00   0.00%     1.00
               iPad 7 (10.2) Digitizer - Black                                                                                                          $15.11   0.00%     1.00
               iPad 8 Digitizer - Black                                                                                                                 $75.55   0.00%     5.00
               iPad 8 LCD Panel                                                                                                                        $144.91   0.00%     2.00
               iPad Air 1 Digitizer - White                                                                                                              $0.00   0.00%     1.00
               iPad Air 2 Battery                                                                                                                        $0.00   0.00%     1.00
               iPad Air 2 Charge Port                                                                                                                    $0.00   0.00%     1.00
               iPad Air 2 Charge Port Flex - Black                                                                                                       $0.00   0.00%     5.00
               iPad Air 2 Charge Port Flex - White                                                                                                       $0.00   0.00%     5.00
               iPad Air 2 Housing [Home Button Bracket]                                                                                                  $0.00   0.00%     1.00
               iPad Air 2 LCD Assembly - Black                                                                                                          $96.18   0.00%     1.00
               iPad Air 2 LCD Assembly - White                                                                                                           $0.00   0.00%     1.00
               iPad Pro (11 2nd Gen)(A2228) LCD Assembly - Black                                                                                       $160.95   0.00%     1.00
               iPad Pro (11) LCD Assembly                                                                                                              $294.35   0.00%     1.00
               iPhone 11 Earpiece Speaker w/ Sensor Assembly                                                                                             $8.29   0.00%     1.00
               iPhone 11 LCD Assembly - Black                                                                                                          $127.85   0.00%     2.00
               iPhone 11 Pro Housing [Rear] - Gray                                                                                                       $7.12   0.00%     1.00
               iPhone 11 Pro Housing [Rear] - Silver                                                                                                    $67.00   0.00%     1.00
               iPhone 11 Pro Housing [Rear] w/ Glass - Gray                                                                                             $95.59   0.00%     1.00
               iPhone 11 Pro LCD Assembly - Black                                                                                                       $46.92   0.00%     1.00
               iPhone 12 LCD Assembly                                                                                                                  $107.15   0.00%     1.00
               iPhone 12 Pro Housing [Rear] - Graphite                                                                                                 $176.78   0.00%     1.00
               iPhone 6 (Plus) Battery                                                                                                                  $11.86   0.00%     1.00
               iPhone 6 (Plus) G/D/L - Black                                                                                                            $47.98   0.00%     2.00
               iPhone 6S (Plus) LCD Assembly - Black                                                                                                   $138.09   0.00%     3.00
               iPhone 8 (Plus) Camera [Front] w/ Proximity Sensor Flex                                                                                  $33.52   0.00%     3.00
               iPhone 8 (Plus) Ear Speaker                                                                                                               $1.79   0.00%     1.00
               iPhone 8 (Plus) Housing [Rear] - Gold                                                                                                    $52.97   0.00%     3.00
               iPhone 8 (Plus) LCD Assembly - White                                                                                                     $71.73   0.00%     3.00
               iPhone 8 Housing [Rear] - Black                                                                                                         $143.85   0.00%     3.00
               iPhone 8 Housing [Rear] - White                                                                                                          $81.43   0.00%     2.00
               iPhone 8 LCD Assembly - Black                                                                                                            $59.94   0.00%    13.00
               iPhone 8 LCD Assembly - White                                                                                                           $190.07   0.00%    12.00
               iPhone X Battery                                                                                                                         $15.07   0.00%     1.00
               iPhone X Camera Lens [Rear]                                                                                                               $2.05   0.00%     1.00
               iPhone X LCD Assembly - Black                                                                                                           $117.24   0.00%     2.00
               iPhone XR Charging Port Flex                                                                                                              $8.20   0.00%     2.00
               iPhone XR Housing [Rear] - Space Grey                                                                                                     $7.41   0.00%     3.00
               iPhone XR LCD Assembly                                                                                                                  $278.90   0.00%     5.00
               iPhone XS Charge Port Flex - Space Grey                                                                                                  $25.05   0.00%     3.00
               iPhone XS LCD Assembly                                                                                                                  $424.05   0.00%     7.00
               iPhone XS Max Battery                                                                                                                    $41.60   0.00%     2.00
               iPhone XS Max Camera [Front]                                                                                                             $15.20   0.00%     2.00
               iPhone XS Max Charge Port                                                                                                                $44.75   0.00%     5.00
               iPhone XS Max LCD Assembly                                                                                                              $142.51   0.00%     3.00
               iPhone XS Max SIM Card Tray                                                                                                               $3.70   0.00%     3.00
               iPhone XS Power Button Flex                                                                                                               $2.91   0.00%     1.00
               Latitude (3189) Audio Board                                                                                                              $36.97   0.00%     4.00
               Latitude (3189) Housing [Base]                                                                                                           $42.57   0.00%     1.00
               Latitude (3189) LCD w/ Digitizer                                                                                                        $180.00   0.00%     2.00
               Latitude (3189) Palmrest                                                                                                                 $34.21   0.00%     1.00
               Latitude (3190 2-in-1) Battery                                                                                                            $0.00   0.00%     2.00
               Latitude (3190 2-in-1) Daughterboard                                                                                                      $0.00   0.00%     2.00
               Latitude (3190 2-in-1) Keyboard                                                                                                          $37.90   0.00%     2.00
               Latitude (3190 2-in-1) LCD Assembly                                                                                                     $112.93   0.00%     1.00
               Latitude (3190 2-in-1) LCD Cable                                                                                                          $0.00   0.00%     1.00
               Latitude (3190) Hinge Set*                                                                                                              $142.00   0.00%    10.00
               Latitude (3310 2-in-1) LCD Panel                                                                                                        $169.00   0.00%     1.00
               Latitude (3310 2-in-1) Palmrest w/ Keyboard [w/ Cam and Backlight]                                                                      $133.35   0.00%     3.00
               LCD Panel (30 Pin 14 in)                                                                                                              $4,131.52   0.05%    41.00
               LCD Panel (40 Pin 11 in)                                                                                                                $634.44   0.01%    12.00
               LCD Panel (40 Pin 11 in) (Touch)                                                                                                      $1,593.09   0.02%    26.00
               LCD Panel (40 Pin 14 in) (Touch)                                                                                                      $2,300.00   0.03%    20.00
               LCD Panel L/R Brackets (30 Pin 11 in)                                             30 Pin LCD with Left & Right Brackets               $7,240.87   0.08%   182.00
               LCD Panel T/B Brackets (30 Pin 11 in)                                             30 Pin LCD with Top & Bottom Brackets                  $80.93   0.00%     3.00
               MacBook Pro 13" 2018 (A1989) LCD Assembly [Silver]                                                                                      $409.06   0.00%     1.00
               Pixelbook Go Palmrest w/ Keyboard                                                                                                       $193.99   0.00%     1.00
               ProBook x360 11 (G1 EE) AC Adapter                                                                                                       $69.66   0.00%     2.00
               ProBook x360 11 (G1 EE) Daughterboard                                                                                                     $0.00   0.00%     3.00
               ProBook x360 11 (G1 EE) Hinge [Left]                                                                                                      $0.00   0.00%    11.00
               ProBook x360 11 (G1 EE) Hinge [Right]                                                                                                     $0.00   0.00%     3.00
               ProBook x360 11 (G1 EE) LCD w/ Digitizer                                                                                                $392.70   0.00%     1.00
               ProBook x360 11 (G1 EE) Motherboard [4GB][64GB]                                                                                       $3,000.00   0.03%    20.00
               ProBook x360 11 (G1 EE) Palmrest w/ Keyboard                                                                                            $388.80   0.00%     4.00
               ProBook x360 11 (G1 EE) Trackpad                                                                                                        $142.02   0.00%     3.00
               ProBook x360 11 (G1 EE) Wi-Fi Card                                                                                                        $0.00   0.00%     9.00
               ProBook x360 11 (G3 EE) AC Adapter                                                                                                    $2,951.13   0.03%   191.00
               ProBook x360 11 (G3 EE) Battery                                                                                                         $309.99   0.00%     9.00
               ProBook x360 11 (G3 EE) Cable Kit*                                                                                                      $324.36   0.00%     6.00
               ProBook x360 11 (G3 EE) Camera                                                                                                          $167.92   0.00%     7.00
               ProBook x360 11 (G3 EE) Daughterboard                                                                                                     $0.00   0.00%     6.00
               ProBook x360 11 (G3 EE) DC Jack                                                                                                           $0.00   0.00%     4.00
               ProBook x360 11 (G3 EE) Digitizer                                                                                                         $0.00   0.00%     5.00
               ProBook x360 11 (G3 EE) Hinge [Left]                                                                                                      $0.00   0.00%     9.00
               ProBook x360 11 (G3 EE) Hinge [Right]                                                                                                     $0.00   0.00%     5.00
               ProBook x360 11 (G3 EE) Housing [Base]                                                                                                    $0.00   0.00%     5.00
               ProBook x360 11 (G3 EE) Housing [LCD Rear Cover]                                                                                      $1,064.30   0.01%    29.00
               ProBook x360 11 (G3 EE) LCD Cable [Touch]                                                                                                 $0.00   0.00%     3.00
               ProBook x360 11 (G3 EE) LCD Panel (w/ Brackets)                                                                                           $0.00   0.00%     4.00
               ProBook x360 11 (G3 EE) LCD w/ Digitizer                                                                                                $163.40   0.00%     2.00
               ProBook x360 11 (G3 EE) LED Board                                                                                                         $0.00   0.00%     3.00
               ProBook x360 11 (G3 EE) Motherboard [4GB][64GB]                                                                                       $1,447.56   0.02%     9.00




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                                        ProBook x360 11 (G3 EE) Palmrest w/ Keyboard                                                                                              $0.00           0.00%         9.00
                                        ProBook x360 11 (G3 EE) Sensor Board                                                                                                     $34.65           0.00%         3.00
                                        ProBook x360 11 (G3 EE) Trackpad                                                                                                        $477.26           0.01%        27.00
                                        ProBook x360 11 (G3 EE) Wi-Fi Card                                                                                                       $14.56           0.00%         4.00
                                        ProBook x360 11 (G5 EE) LCD w/ Digitizer                                                                                                 $97.20           0.00%         2.00
                                        ProBook x360 11 (G6 EE) Camera [WFC]                                                                                                     $29.95           0.00%         1.00
                                        ProBook x360 11 (G6 EE) LCD Assembly (Touch)                                                                                            $848.49           0.01%         3.00
                                        ProBook x360 11 (G6 EE) Trackpad                                                                                                         $22.53           0.00%         1.00
                                        SM-CS-LP404                                                                      Rugged - Dual Injected Case for LENOVO 300e/500e 2nd$24.42
                                                                                                                                                                                  Gen Chr/Win Intel/MTK
                                                                                                                                                                                                  0.00%         3.00
                                        SM-CS-SP703                                                                      Wrap Case for iPhone 7/8/SE - Black                      $7.65           0.00%         3.00
                                        SM-CS-SP708                                                                      Wrap Case for iPhone XR - Black                         $17.50           0.00%         7.00
                                        SM-CS-SP787                                                                      Wrap Case for Galaxy S10+ - Black                        $5.94           0.00%         3.00
                                        SM-CS-TB531                                                                      Rugged Vision 360 Case with velcro hand strap for iPad New/
                                                                                                                                                                                 $64.20
                                                                                                                                                                                     6th Gen      0.00%        10.00
                                        SM-CS-TB542                                                                      Rugged Vision 360 Case w/ velcro hand strap for iPad 7th$19.80
                                                                                                                                                                                  gen. 10.2" and iPad
                                                                                                                                                                                                  0.00%
                                                                                                                                                                                                      8th Gen   3.00
                                        SM-TG-IPA105                                                                     Tempered Glass for iPad Air/Air 2/New/Pro 9.7/6th Gen $39.90             0.00%        14.00
                                        SM-TG-IPA110                                                                     Tempered Glass for iPad Pro 12.9"                        $0.00           0.00%         1.00
                                        SM-TG-IPH042                                                                     Tempered Glass for iPhone 6/7/8                          $5.20           0.00%         4.00
                                        SM-TG-IPH043                                                                     Tempered Glass for iPhone 6/7/8 Plus                     $0.00           0.00%         2.00
                                        SM-TG-IPH044                                                                     Tempered Glass for iPhone X/Xs                           $0.00           0.00%         8.00
                                        SM-TG-IPH046                                                                     Tempered Glass for iPhone XR                             $9.45           0.00%         7.00
                                        SM-TG-IPH051                                                                     Tempered Glass for IPhone 11 (6.1")                     $14.77           0.00%         6.00
                                        SM-TG-SP218                                                                      Tempered Glass for Galaxy S10                           $11.72           0.00%         4.00
                                        SM-TG-SP219                                                                      Tempered Glass for Galaxy S10+                           $9.15           0.00%         3.00
                                        Stream 11 Pro (G4 EE) Camera                                                                                                            $164.88           0.00%         8.00
                                        Stream 11 Pro (G4 EE) Housing [LCD Bezel]                                                                                                $49.10           0.00%         2.00
                                        Stream 11 Pro (G4 EE) LCD Cable                                                                                                          $23.10           0.00%         1.00
                                        Stream 11 Pro (G4 EE) LCD Panel                                                                                                         $175.32           0.00%         3.00
                                        Stream 11 Pro (G4 EE) Palmrest w/ Keyboard                                                                                              $315.96           0.00%         5.00
                                        Stream 11 Pro (G5) Camera                                                                                                                $23.65           0.00%         1.00
                                        Thinkpad E15 (20RD) LCD Panel                                                                                                            $71.76           0.00%         1.00
                                        TravelMate (B118) Battery                                                                                                               $211.57           0.00%         7.00
                                        TravelMate (B118) Camera                                                                                                                $184.22           0.00%         7.00
                                        TravelMate (B118) Daughterboard                                                                                                          $17.03           0.00%         7.00
                                        TravelMate (B118) Daughterboard Flex                                                                                                      $1.69           0.00%         2.00
                                        TravelMate (B118) Digitizer Board                                                                                                         $1.84           0.00%         2.00
                                        TravelMate (B118) G Sensor Cable                                                                                                          $0.46           0.00%         1.00
                                        TravelMate (B118) Hinge Set*                                                                                                             $70.80           0.00%         3.00
                                        TravelMate (B118) Hinge [Left]                                                                                                            $0.69           0.00%         4.00
                                        TravelMate (B118) Hinge [Right]                                                                                                          $28.19           0.00%         5.00
                                        TravelMate (B118) Housing [Base]                                                                                                         $16.20           0.00%         6.00
                                        TravelMate (B118) Housing [LCD Rear Cover]                                                                                               $29.04           0.00%        10.00
                                        TravelMate (B118) LCD Cable                                                                                                              $18.57           0.00%         5.00
                                        TravelMate (B118) Palmrest w/ Keyboard                                                                                                   $14.14           0.00%         9.00
                                        TravelMate (B118) Speaker Set                                                                                                             $1.38           0.00%         2.00
                                        TravelMate (B118) Trackpad                                                                                                                $1.84           0.00%         2.00
                                        TravelMate (B118) Trackpad Flex                                                                                                           $0.46           0.00%         1.00
                                        TravelMate (B118) Wi-Fi Card                                                                                                              $2.30           0.00%         2.00
                                        Travelmate (B118-G2-RN) Motherboard [4GB][64GB]                                  NB.VHT11.002                                         $3,292.60           0.04%        20.00
                                        TravelMate (P214) 52-54TE Motherboard [4GB][32GB]                                                                                       $470.09           0.01%         1.00
                                        Winbook (300e 81M9) Palmrest w/ Keyboard and Trackpad (w/ Cutout)                                                                         $0.00           0.00%         1.00
                                        Winbook 11 (100E 81M8) Hinge (Right)                                                                                                     $67.48           0.00%         5.00
                                        Winbook 11 (100E 81M8) Housing [Base]                                                                                                    $37.59           0.00%         3.00
                                        Winbook 11 (100E 81M8) Housing [LCD Rear Cover]                                                                                          $98.56           0.00%         5.00
                                        Winbook 11 (100E 81M8) LCD Cable                                                                                                         $18.00           0.00%         3.00
                                        Winbook 11 (100E 81M8) Palmrest w/ Keyboard                                                                                              $34.29           0.00%         3.00
                                        Winbook 11 (100E 81M8) Palmrest w/ Keyboard and Trackpad                                                                                $200.61           0.00%         3.00
                                        Winbook 11 (100E 81M8) Powerboard w/ Cable                                                                                              $129.00           0.00%         2.00
                                        Winbook 11 (100E 81M8) Trackpad                                                                                                           $4.84           0.00%         2.00
                                        Winbook 11 (100E 81M8) Wi-Fi Card                                                                                                        $99.00           0.00%         9.00
                                        Yoga 11e (20DU) Palmrest                                                                                                                  $0.00           0.00%         2.00
                                        Yoga 11e (20GA) SSD [256GB]                                                                                                               $0.00           0.00%         8.00
                                        Yoga 11e (20HU) DC Jack                                                                                                                  $18.98           0.00%         2.00
                                        Yoga 11e (20HU) Housing [Base Cover]                                                                                                      $0.42           0.00%        14.00
                                        Yoga 11e (20HU) Housing [Base]                                                                                                          $372.26           0.00%        10.00
                                        Yoga 11e (20HU) Housing [LCD Rear Cover]                                                                                                $312.71           0.00%         6.00
                                        Yoga 11e (20HU) Keyboard                                                                                                                $468.07           0.01%        17.00
                                        Yoga 11e (20HU) Palmrest                                                                                                                $567.34           0.01%        11.00
                                        Yoga 11e (20LM) Battery                                                                                                                 $605.80           0.01%        81.00
                                        Yoga 11e (20LM) Camera                                                                                                                  $121.52           0.00%         8.00
                                        Yoga 11e (20LM) CMOS Battery                                                                                                             $42.69           0.00%         3.00
                                        Yoga 11e (20LM) DC Jack                                                                                                                   $3.72           0.00%         1.00
                                        Yoga 11e (20LM) G Sensor Board                                                                                                           $91.87           0.00%         5.00
                                        Yoga 11e (20LM) Housing [Base]                                                                                                          $290.71           0.00%        16.00
                                        Yoga 11e (20LM) Housing [LCD Rear Cover]                                                                                                $338.30           0.00%        10.00
                                        Yoga 11e (20LM) Keyboard                                                                                                                $842.05           0.01%        53.00
                                        Yoga 11e (20LM) LCD Assembly                                                                                                          $2,441.55           0.03%        21.00
                                        Yoga 11e (20LM) LCD Cable                                                                                                               $130.20           0.00%        10.00
                                        Yoga 11e (20LM) Motherboard                                                                                                           $9,363.85           0.11%       111.00
                                        Yoga 11e (20LM) Palmrest                                                                                                                $810.39           0.01%        53.00
                                        Yoga 11e (20LM) Power Button Board                                                                                                       $19.00           0.00%         1.00
                                        Yoga 11e (20LM) Power Button Board Cable                                                                                                  $7.46           0.00%         2.00
                                        Yoga 11e (20LM) Sensor Board Cable                                                                                                       $11.22           0.00%         3.00
                                        Yoga 11e (20LM) SSD [128GB]                                                                                                           $1,399.65           0.02%         7.00
                                        Yoga 11e (20LM) Trackpad                                                                                                                 $14.86           0.00%         2.00
                                        Yoga 11e (20LM) Trackpad Flex                                                                                                            $11.16           0.00%         3.00
                                        Yoga 11e (20LN) Housing [LCD Rear Cover]                                                                                                $247.65           0.00%         5.00
                                        Yoga 11e (20LN) Palmrest                                                                                                                 $49.73           0.00%         1.00
                                        Yoga 11E (5th Gen) Display Assembly                                                                                                     $199.00           0.00%         1.00
                                        Yoga 11E (5th Gen) Pen Charger w/ Cable                                                                                                  $21.69           0.00%         3.00
   Total - Inventory Item                                                                                                                                                   $302,686.76           3.49%    13,957.00
Total - 1280 - Las Vegas, NV                                                                                                                                                $334,414.57           3.86%    14,099.00
1430 - San Antonio, TX
   Assembly/Bill of Materials
                                        (Serialized) ## CB 11 (3100 P29T) ##                                                                                                   $265.00          0.00%          1.00
                                        (Serialized) CB 11 (500e 81MC)                                                                                                         $232.39          0.00%          1.00
                                        Staymobile Protect Used Current Laptop 1 Year (Card)                                                                                   $217.02          0.00%          6.00
                                        Staymobile Protect Used Current Laptop 2 Year (Card)                                                                                   $290.76          0.00%          4.00
                                        Staymobile Protect Used Current Phone 1 Year (Card)                                                                                    $229.08          0.00%          4.00
                                        Staymobile Protect Used Current Phone 2 Year (Card)                                                                                    $458.12          0.01%          4.00
                                        Staymobile Protect Used Current Tablet 1 Year (Card)                                                                                   $218.04          0.00%          6.00
                                        Staymobile Protect Used Current Tablet 2 Year (Card)                                                                                   $289.36          0.00%          4.00
                                        Staymobile Protect Used Older Phone 1 Year (Card)                                                                                      $145.60          0.00%          5.00
                                        Staymobile Protect Used Older Phone 2 Year (Card)                                                                                      $232.96          0.00%          4.00
                                        Staymobile Protect Used Older Tablet 1 Year (Card)                                                                                     $154.68          0.00%          6.00
                                        Staymobile Protect Used Older Tablet 2 Year (Card)                                                                                     $206.24          0.00%          4.00
   Total - Assembly/Bill of Materials                                                                                                                                        $2,939.25          0.03%         49.00
   Inventory Item
                                        ## CB 11 (3100 P29T) Battery ##                                                                                                        $140.59          0.00%          2.00
                                        ## CB 11 (3100 P29T) Battery Cable ##                                                                                                    $7.37          0.00%          2.00
                                        ## CB 11 (3100 P29T) Camera [Front] ##                                                                                                 $169.87          0.00%         10.00
                                        ## CB 11 (3100 P29T) Daughterboard (Touch) ##                                                                                          $104.32          0.00%          5.00
                                        ## CB 11 (3100 P29T) Hinge [Left] ##                                                                                                    $22.17          0.00%          5.00
                                        ## CB 11 (3100 P29T) Hinge [Right] ##                                                                                                   $20.79          0.00%          5.00
                                        ## CB 11 (3100 P29T) Housing [Base] ##                                                                                                 $344.74          0.00%         20.00
                                        ## CB 11 (3100 P29T) Housing [LCD Rear Cover] ##                                                                                       $590.04          0.01%         44.00
                                        ## CB 11 (3100 P29T) Keyboard ##                                                                                                         $7.76          0.00%          1.00
                                        ## CB 11 (3100 P29T) LCD Assembly ##                                                                                                   $280.47          0.00%          3.00
                                        ## CB 11 (3100 P29T) LCD Cable ##                                                                                                        $8.03          0.00%          2.00
                                        ## CB 11 (3100 P29T) Palmrest w/ Keyboard ##                                                                                            $33.63          0.00%          1.00




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               ## CB 11 (3100 P29T) Speaker Set ##                                                        $0.00   0.00%    3.00
               ## CB 11 (3100 P29T) Trackpad ##                                                           $5.39   0.00%    2.00
               ## CB 11 (3100 P30T) AC Adapter ##                                                       $197.59   0.00%   12.00
               ## CB 11 (3100 P30T) Battery ##                                                          $186.60   0.00%   13.00
               ## CB 11 (3100 P30T) Camera [Front] ##                                                   $140.45   0.00%   10.00
               ## CB 11 (3100 P30T) Daughterboard Flex Set ##                                            $44.68   0.00%   13.00
               ## CB 11 (3100 P30T) Hinge Set* ##                                                       $110.49   0.00%   15.00
               ## CB 11 (3100 P30T) Housing [Base] ###                                                  $305.90   0.00%   20.00
               ## CB 11 (3100 P30T) Housing [LCD Rear Cover] ##                                         $612.42   0.01%   34.00
               ## CB 11 (3100 P30T) LCD Cable ##                                                         $82.48   0.00%    9.00
               ## CB 11 (3100 P30T) Palmrest w/ Keyboard (w/ WFC) ##                                    $849.75   0.01%   25.00
               ## CB 11 (3100 P30T) Speaker Set ##                                                       $86.53   0.00%   15.00
               ## CB 11 (3100 P30T) Trackpad ##                                                           $7.36   0.00%    1.00
               ## CB 11 (G6 EE) Camera ###                                                              $170.35   0.00%   10.00
               ## CB 11 (G6 EE) Camera Cable ##                                                           $3.68   0.00%    2.00
               ## CB 11 (G6 EE) Daughterboard Flex Set ##                                                 $5.87   0.00%   20.00
               ## CB 11 (G6 EE) Housing [LCD Bezel] ##                                                  $365.85   0.00%   34.00
               ## CB 11 (G6 EE) Housing [LCD Rear Cover] ##                                             $120.93   0.00%   19.00
               ## CB 11 (G6 EE) Keyboard ##                                                             $942.40   0.01%   22.00
               ## CB 11 (G6 EE) LCD Cable ##                                                            $235.40   0.00%   37.00
               ## CB 11 (G6 EE) LCD Cable (Touch) ##                                                      $9.99   0.00%    1.00
               ## CB 11 (G6 EE) LCD Panel (Touch) ##                                                    $915.31   0.01%   11.00
               ## CB 11 (G6 EE) Palmrest w/ Keyboard ##                                                 $289.81   0.00%   10.00
               ## CB 11 (G6 EE) Trackpad ##                                                             $137.68   0.00%   16.00
               ## CB 11 (G6 EE) Trackpad Flex ##                                                          $2.50   0.00%    2.00
               ## CB 11 (G7 EE) Battery ##                                                              $120.50   0.00%    3.00
               ## CB 11 (G7 EE) Camera ##                                                               $370.88   0.00%   13.00
               ## CB 11 (G7 EE) Camera Cable ##                                                         $110.25   0.00%   15.00
               ## CB 11 (G7 EE) Housing [Base] ##                                                       $440.30   0.01%   16.00
               ## CB 11 (G7 EE) Housing [LCD Rear Cover] ##                                              $28.53   0.00%    1.00
               ## CB 11 (G7 EE) LCD Cable ##                                                             $39.80   0.00%    6.00
               ## CB 11 (G7 EE) Trackpad ##                                                              $29.96   0.00%    1.00
               ## CB 11 (G8 EE) Camera ##                                                                $79.41   0.00%    6.00
               ## CB 11 (G8 EE) Camera Cable ##                                                           $0.03   0.00%    2.00
               ## CB 11 (G8 EE) Daughterboard Flex ##                                                   $300.30   0.00%   15.00
               ## CB 11 (G8 EE) Housing [Base] ##                                                        $21.15   0.00%    1.00
               ## CB 11 x360 (G1 EE) Camera Board ##                                                     $90.23   0.00%    7.00
               ## CB 11A (G6 EE) Camera Cable ##                                                          $4.25   0.00%    1.00
               ## CB 11A (G6 EE) Daughterboard ##                                                       $255.63   0.00%   24.00
               ## CB 11A (G6 EE) Housing [Base] ##                                                       $92.20   0.00%   20.00
               ## CB 11A (G6 EE) Housing [LCD Rear Cover] ##                                             $98.07   0.00%   19.00
               ## CB 11A (G6 EE) LCD Cable ##                                                            $80.87   0.00%   25.00
               ## CB 11A (G6 EE) LCD Panel ##                                                           $603.52   0.01%   15.00
               ## CB 11A (G6 EE) Palmrest w/ Keyboard ##                                                 $35.57   0.00%    1.00
               ## CB 11A (G8 EE) Daughterboard Flex Set ##                                               $18.95   0.00%    1.00
               ## CB 11A (G8 EE) Hinge [Left] ##                                                         $30.19   0.00%    4.00
               ## CB 11A (G8 EE) Hinge [Right] ##                                                        $29.87   0.00%    4.00
               ## CB 11A (G8 EE) Housing [Base] ##                                                      $497.42   0.01%   19.00
               ## CB 11A (G8 EE) Housing [LCD Rear Cover] ##                                             $17.51   0.00%    1.00
               ## CB 11A (G8 EE) Palmrest w/ Keyboard ##                                                  $0.00   0.00%    2.00
               ## CB 11A (G8 EE) Speaker Set ##                                                         $138.95   0.00%    7.00
               ## CB 11A (G8 EE) Trackpad ##                                                             $10.00   0.00%    1.00
               ## CB 11A (G8 EE) Trackpad Flex ##                                                        $31.90   0.00%    6.00
               ## CB 14 (G5) Camera Cable ##                                                            $272.74   0.00%   19.00
               ## CB 14 (G5) Daughterboard ##                                                            $35.71   0.00%    3.00
               ## CB 14 (G5) Daughterboard Flex Set ##                                                    $0.84   0.00%   11.00
               ## CB 14 (G5) Hinge [Left] ##                                                             $11.45   0.00%    4.00
               ## CB 14 (G5) Hinge [Right] ##                                                            $14.62   0.00%    5.00
               ## CB 14 (G5) Housing [Base] ##                                                          $225.84   0.00%   17.00
               ## CB 14 (G5) Housing [LCD Rear Cover] ##                                                 $11.69   0.00%    1.00
               ## CB 14 (G5) LCD Panel (Touch) ##                                                        $70.11   0.00%    1.00
               ## CB 14 (G5) Sensor Board ##                                                              $3.95   0.00%    2.00
               ## CB 14 (G5) Sensor Board Cable ##                                                        $0.04   0.00%    1.00
               ## CB 14 (G5) Speaker Set ##                                                               $4.22   0.00%    2.00
               ## CB 14 (G5) Wi-Fi Card ##                                                              $127.93   0.00%   26.00
               ## CB 14A (G5) Daughterboard Flex Set ##                                                   $3.49   0.00%   51.00
               ## CB 14A (G5) Housing [Base] ##                                                          $76.71   0.00%    6.00
               ## CB 14A (G5) Housing [Rear Cover] ##                                                   $424.92   0.00%   24.00
               ## CB 14A (G5) Sensor Board ##                                                             $0.00   0.00%    6.00
               ## CB 14A (G5) Speaker Set ##                                                              $0.00   0.00%    2.00
               ## CB 14A (G5) Wifi Card ##                                                                $0.00   0.00%    6.00
               ## Thinkpad 11e (20DA) Camera ##                                                          $45.84   0.00%    2.00
               ## Thinkpad 11e (20DA) Housing [LCD Bezel] ##                                             $39.45   0.00%    3.00
               ## Thinkpad 11e (20DA) Housing [LCD Rear Cover] ##                                         $0.00   0.00%    2.00
               ## Thinkpad 11e (20DA) Keyboard ##                                                        $91.17   0.00%    4.00
               ## Thinkpad 11e (20DA) Palmrest ##                                                         $0.00   0.00%    2.00
               (Cons) CB 11 (100e 81MA) Motherboard                                                       $0.00   0.00%    1.00
               (Cons) CB 11 (300e 81QC) LCD Cable                                                         $0.00   0.00%    1.00
               (Cons) Latitude (3190) Battery                                                             $0.00   0.00%    1.00
               CB 10e (82AM) LCD EDP Cable                                                               $15.99   0.00%    1.00
               CB 10e (82AM) LCD Panel                                                                  $327.26   0.00%    2.00
               CB 11 (100e 81ER) Battery                                                                $122.22   0.00%    5.00
               CB 11 (100e 81ER) Camera                                                                   $6.42   0.00%    2.00
               CB 11 (100e 81ER) Daughterboard                                                          $533.89   0.01%   20.00
               CB 11 (100e 81ER) Daughterboard Flex Set                                                  $32.45   0.00%    6.00
               CB 11 (100e 81ER) Hinge Set*                                                              $43.24   0.00%    8.00
               CB 11 (100e 81ER) Hinge [Right]                                                            $0.60   0.00%    1.00
               CB 11 (100e 81ER) Housing [Base]                                                         $658.33   0.01%   43.00
               CB 11 (100e 81ER) Housing [LCD Bezel]                                                    $150.32   0.00%    8.00
               CB 11 (100e 81ER) Housing [LCD Rear Cover]                                                $38.37   0.00%    3.00
               CB 11 (100e 81ER) LCD Cable                                                               $60.25   0.00%   10.00
               CB 11 (100e 81ER) Motherboard [4GB][16GB]                                              $1,027.72   0.01%    5.00
               CB 11 (100e 81ER) Motherboard [4GB][32GB]                                              $2,312.46   0.03%   15.00
               CB 11 (100e 81ER) Palmrest w/ Keyboard                                                   $317.65   0.00%    9.00
               CB 11 (100e 81ER) Palmrest w/ Keyboard + Trackpad                                         $50.82   0.00%    2.00
               CB 11 (100e 81ER) Screw Set                                                                $0.16   0.00%    1.00
               CB 11 (100e 81ER) Speaker Set                                                              $0.16   0.00%    8.00
               CB 11 (100e 81ER) Trackpad                                                                 $7.36   0.00%    1.00
               CB 11 (100e 81ER) Trackpad Flex                                                            $4.72   0.00%    9.00
               CB 11 (100e 81ER) Wi-FI Card                                                               $0.67   0.00%    1.00
               CB 11 (100e 81QB) Daughterboard                                                           $15.77   0.00%    4.00
               CB 11 (100e 81QB) Daughterboard Flex                                                       $2.05   0.00%    2.00
               CB 11 (100e 81QB) Hinge Set*                                                              $24.03   0.00%    3.00
               CB 11 (100e 81QB) Hinge [Left]                                                            $33.14   0.00%    7.00
               CB 11 (100e 81QB) Hinge [Right]                                                           $28.41   0.00%    6.00
               CB 11 (100e 81QB) Housing [Base]                                                         $359.87   0.00%   23.00
               CB 11 (100e 81QB) Housing [LCD Bezel]                                                     $48.40   0.00%    7.00
               CB 11 (100e 81QB) Housing [LCD Rear Cover]                                                $11.80   0.00%    1.00
               CB 11 (100e 81QB) Motherboard                                                            $209.37   0.00%    4.00
               CB 11 (100e 81QB) Palmrest w/ Keyboard                                                    $10.87   0.00%    1.00
               CB 11 (100e 81QB) Speaker Set                                                              $2.14   0.00%    1.00
               CB 11 (100e 81QB) Trackpad                                                                 $8.38   0.00%   10.00
               CB 11 (100e 81QB) Trackpad Flex                                                            $3.89   0.00%    1.00
               CB 11 (100e 82CD) AST Battery                                                            $264.79   0.00%    6.00
               CB 11 (100e 82CD) AST Camera                                                              $78.00   0.00%    9.00
               CB 11 (100e 82CD) AST Daughterboard                                                      $427.45   0.00%   23.00
               CB 11 (100e 82CD) AST Daughterboard Flex Set                                             $125.23   0.00%   30.00
               CB 11 (100e 82CD) AST Hinge Set*                                                         $128.03   0.00%   14.00
               CB 11 (100e 82CD) AST Hinge [Left]                                                         $9.64   0.00%    1.00




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               CB 11 (100e 82CD) AST Housing [Base]                                                                     $10.76   0.00%     1.00
               CB 11 (100e 82CD) AST Housing [LCD Rear Cover]                                                          $160.97   0.00%    11.00
               CB 11 (100e 82CD) AST LCD Cable                                                                          $61.19   0.00%    11.00
               CB 11 (100e 82CD) AST Motherboard                                                                     $1,636.42   0.02%    15.00
               CB 11 (100e 82CD) AST Palmrest w/ Keyboard                                                              $260.35   0.00%    17.00
               CB 11 (100e 82CD) AST Trackpad                                                                            $4.78   0.00%     3.00
               CB 11 (100e 82CD) AST Trackpad Cable                                                                     $10.02   0.00%     5.00
               CB 11 (300e 81H0) Battery                                                                                $25.76   0.00%    35.00
               CB 11 (300e 81H0) Camera                                                                                  $2.64   0.00%    11.00
               CB 11 (300e 81H0) Daughterboard                                                                          $40.30   0.00%    10.00
               CB 11 (300e 81H0) Daughterboard Flex                                                                     $43.76   0.00%    59.00
               CB 11 (300e 81H0) G Sensor Board                                                                          $0.00   0.00%    20.00
               CB 11 (300e 81H0) Hinge Set*                                                                            $217.91   0.00%     9.00
               CB 11 (300e 81H0) Hinge [Left]                                                                            $0.01   0.00%     6.00
               CB 11 (300e 81H0) Hinge [Right]                                                                           $0.06   0.00%    35.00
               CB 11 (300e 81H0) Housing [Base]                                                                         $92.97   0.00%    18.00
               CB 11 (300e 81H0) Housing [LCD Rear Cover]                                                              $209.25   0.00%    12.00
               CB 11 (300e 81H0) LCD Cable                                                                               $2.85   0.00%    17.00
               CB 11 (300e 81H0) LCD w/ Digitizer                                                                      $788.02   0.01%    10.00
               CB 11 (300e 81H0) Motherboard [4GB][32GB] Touch                                                         $183.82   0.00%     4.00
               CB 11 (300e 81H0) Palmrest w/ Keyboard                                                                    $7.32   0.00%    10.00
               CB 11 (300e 81H0) Screw Set                                                                               $0.02   0.00%     9.00
               CB 11 (300e 81H0) Speaker Set                                                                            $21.24   0.00%    10.00
               CB 11 (300e 81H0) Spine Cover                                                                             $0.00   0.00%    20.00
               CB 11 (300e 81H0) Trackpad                                                                               $13.05   0.00%    14.00
               CB 11 (300e 81H0) Trackpad Flex                                                                           $0.00   0.00%    16.00
               CB 11 (300e 81MB) LCD Cable (Touch)                                                                       $4.52   0.00%     1.00
               CB 11 (300e 81MB) Motherboard                                                                         $1,979.95   0.02%    14.00
               CB 11 (300e 81MB) Palmrest w/ Keyboard                                                                   $24.89   0.00%     1.00
               CB 11 (300e 81MB) Palmrest w/ Keyboard (w/ Cutout)                                                        $5.62   0.00%     4.00
               CB 11 (300e 81MB) Trackpad                                                                                $2.13   0.00%     1.00
               CB 11 (300e 81MB) Trackpad Flex                                                                           $1.19   0.00%     1.00
               CB 11 (300e 81MB) Wi-Fi Card                                                                              $0.00   0.00%     2.00
               CB 11 (300e 81QC) Battery                                                                               $167.14   0.00%    10.00
               CB 11 (300e 81QC) Camera                                                                                 $19.43   0.00%     3.00
               CB 11 (300e 81QC) Daughterboard                                                                         $893.78   0.01%    72.00
               CB 11 (300e 81QC) Daughterboard Flex                                                                     $53.11   0.00%    18.00
               CB 11 (300e 81QC) Hinge Set*                                                                            $291.53   0.00%    18.00
               CB 11 (300e 81QC) Hinge [Left]                                                                           $34.94   0.00%     4.00
               CB 11 (300e 81QC) Hinge [Right]                                                                          $22.54   0.00%     8.00
               CB 11 (300e 81QC) Housing [Base]                                                                        $597.59   0.01%    35.00
               CB 11 (300e 81QC) Housing [Hinge Cover]                                                                  $60.33   0.00%    10.00
               CB 11 (300e 81QC) Housing [LCD Rear Cover]                                                              $162.43   0.00%    16.00
               CB 11 (300e 81QC) LCD Cable                                                                              $78.22   0.00%    15.00
               CB 11 (300e 81QC) LCD w/ Camera Cable                                                                    $18.18   0.00%     2.00
               CB 11 (300e 81QC) LCD w/ Digitizer                                                                      $632.65   0.01%    10.00
               CB 11 (300e 81QC) Motherboard [4GB] [32GB]                                                           $12,120.73   0.14%   102.00
               CB 11 (300e 81QC) Palmrest w/ Keyboard                                                                  $114.90   0.00%    23.00
               CB 11 (300e 81QC) Palmrest w/ Keyboard and Trackpad                                                      $83.35   0.00%     3.00
               CB 11 (300e 81QC) Palmrest w/ Keyboard and Trackpad (w/ Trackpad Flex)                                   $15.27   0.00%     1.00
               CB 11 (300e 81QC) Sensor Board                                                                            $0.12   0.00%     5.00
               CB 11 (300e 81QC) Speaker Set                                                                             $8.64   0.00%     2.00
               CB 11 (300e 81QC) Spine Cover                                                                             $4.06   0.00%     2.00
               CB 11 (300e 81QC) Trackpad                                                                               $11.24   0.00%     8.00
               CB 11 (300e 81QC) Trackpad Cable                                                                         $30.80   0.00%    10.00
               CB 11 (300e 81QC) Wi-Fi Cable                                                                             $0.00   0.00%     1.00
               CB 11 (300e 82CE) Camera                                                                                 $47.60   0.00%     4.00
               CB 11 (300e 82CE) Daughterboard                                                                          $40.55   0.00%     2.00
               CB 11 (300e 82CE) Daughterboard Flex                                                                      $2.82   0.00%     3.00
               CB 11 (300e 82CE) Hinge Set*                                                                            $105.37   0.00%     6.00
               CB 11 (300e 82CE) Hinge [Right]                                                                          $12.00   0.00%     1.00
               CB 11 (300e 82CE) Housing [Base]                                                                          $0.00   0.00%     2.00
               CB 11 (300e 82CE) Housing [Hinge Cover]                                                                   $6.00   0.00%     2.00
               CB 11 (300e 82CE) Housing [LCD Bezel]                                                                    $20.00   0.00%     2.00
               CB 11 (300e 82CE) Housing [LCD Rear Cover]                                                              $192.87   0.00%    11.00
               CB 11 (300e 82CE) LCD Cable                                                                             $182.70   0.00%    14.00
               CB 11 (300e 82CE) Motherboard [4GB] [32GB]                                                            $1,414.75   0.02%    14.00
               CB 11 (300e 82CE) Motherboard [4GB][32GB] (w/ WFC)                                                       $45.00   0.00%     1.00
               CB 11 (300e 82CE) Palmrest w/ Keyboard                                                                  $264.98   0.00%    18.00
               CB 11 (300e 82CE) Palmrest w/ Keyboard and Trackpad                                                     $112.23   0.00%     4.00
               CB 11 (300e 82CE) Sensor Board                                                                            $0.00   0.00%     2.00
               CB 11 (300e 82CE) Speaker Set                                                                             $9.62   0.00%     2.00
               CB 11 (300e 82CE) Trackpad                                                                                $0.09   0.00%     2.00
               CB 11 (300e 82CE) Trackpad Flex                                                                           $0.00   0.00%     1.00
               CB 11 (300e 82CE) Wi-Fi Card                                                                            $172.70   0.00%    11.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Battery                                                               $67.57   0.00%     5.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Camera [Front]                                                         $0.00   0.00%     2.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Daughterboard                                                         $33.83   0.00%     8.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Daughterboard Flex Set                                                 $0.00   0.00%     4.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Daughterboard Flex [30 Pin]                                            $0.71   0.00%     1.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Hinge Set*                                                            $64.98   0.00%     5.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Hinge [Left]                                                           $6.87   0.00%     7.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [Base]                                                        $13.33   0.00%     2.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [LCD Bezel]                                                   $48.55   0.00%     3.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [LCD Rear Cover]                                              $52.26   0.00%     4.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Keyboard                                                               $2.18   0.00%     1.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) LCD Cable                                                             $63.57   0.00%    11.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB] [32GB] w/ DB Connector - 0W1C7C                  $8,448.03   0.10%    54.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB][16GB] (Non-Touch) - 0GD6HC                       $1,929.58   0.02%    19.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB][16GB] (Non-Touch) w/ DB Connector - 01Y3PF         $131.82   0.00%     2.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest                                                              $41.35   0.00%     5.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest w/ Keyboard and Trackpad*                                    $46.05   0.00%     1.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Trackpad                                                               $5.14   0.00%     5.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Trackpad Flex                                                          $0.47   0.00%     5.00
               CB 11 (3100 P29T Touch)(30J93) Daughterboard                                                              $0.00   0.00%     2.00
               CB 11 (3100 P29T Touch)(30J93) Hinge [Left]                                                               $0.00   0.00%     1.00
               CB 11 (3100 P29T Touch)(30J93) Hinge [Right]                                                              $0.00   0.00%     1.00
               CB 11 (3100 P29T Touch)(30J93) Housing [LCD Bezel]                                                        $0.00   0.00%     1.00
               CB 11 (3100 P29T Touch)(30J93) LCD Cable                                                                  $1.70   0.00%     6.00
               CB 11 (3100 P29T Touch)(30J93) LCD Panel                                                              $1,150.59   0.01%    18.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Battery                                                                  $42.57   0.00%    13.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Battery Cable                                                             $1.50   0.00%     5.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Camera Cable [Palmrest]                                                   $4.35   0.00%     3.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Camera [Front]                                                           $80.09   0.00%    13.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Camera [Palmrest]                                                        $12.66   0.00%     5.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Daughterboard                                                            $11.57   0.00%    26.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Daughterboard Flex Set                                                   $21.77   0.00%    26.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) G Sensor Board                                                           $13.67   0.00%    16.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) G Sensor Cable                                                           $11.65   0.00%    15.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Hinge Set*                                                              $498.23   0.01%    25.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Hinge [Left]                                                              $0.52   0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Hinge [Right]                                                             $0.34   0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Housing [Base]                                                           $71.35   0.00%    28.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Housing [LCD Rear Cover]                                                $516.53   0.01%    43.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Keyboard                                                                 $18.05   0.00%    10.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) LCD Cable                                                                $53.26   0.00%    53.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) LCD w/ Digitizer                                                      $4,576.64   0.05%    60.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Motherboard [4GB][32GB] - 0R2K1H                                        $849.20   0.01%     7.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Motherboard [4GB][32GB] w/ WFC Connector - 0FNMF1                     $4,032.71   0.05%    33.00




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               CB 11 (3100 P30T 2-in-1)(NRCK2) Motherboard [8GB][32GB] w/ WFC Connector                            $269.80   0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest                                                            $115.33   0.00%     8.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest (w/ WFC)                                                     $0.00   0.00%     4.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Keyboard                                                $470.89   0.01%    22.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Keyboard (w/ WFC)                                       $234.55   0.00%     7.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Trackpad (w/ WFC)                                        $36.93   0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Speaker Set                                                           $0.00   0.00%     5.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Trackpad                                                              $8.19   0.00%    14.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Trackpad Flex                                                        $12.40   0.00%    10.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Type-C Power Cable                                                    $3.45   0.00%     2.00
               CB 11 (3180) Audio Board                                                                            $333.46   0.00%    12.00
               CB 11 (3180) Audio Board Flex                                                                        $24.20   0.00%    28.00
               CB 11 (3180) Camera                                                                                  $11.88   0.00%    14.00
               CB 11 (3180) Camera and LED Board                                                                    $16.14   0.00%     1.00
               CB 11 (3180) Hinge Set*                                                                             $138.39   0.00%    10.00
               CB 11 (3180) Hinge [Left]                                                                             $4.16   0.00%     5.00
               CB 11 (3180) Hinge [Right]                                                                            $3.28   0.00%     4.00
               CB 11 (3180) Housing [Base]                                                                         $202.82   0.00%    15.00
               CB 11 (3180) Housing [Hinge Cover]                                                                  $324.67   0.00%    45.00
               CB 11 (3180) Housing [Hinge Cover] Set*                                                              $42.32   0.00%    15.00
               CB 11 (3180) Housing [LCD Bezel]                                                                    $175.41   0.00%    18.00
               CB 11 (3180) Housing [LCD Rear Cover]                                                               $444.80   0.01%    55.00
               CB 11 (3180) Keyboard                                                                                $76.62   0.00%    12.00
               CB 11 (3180) LCD Cable                                                                               $30.15   0.00%    17.00
               CB 11 (3180) Motherboard [4GB] [32GB]                                                             $1,714.11   0.02%    20.00
               CB 11 (3180) Palmrest                                                                                $42.92   0.00%     4.00
               CB 11 (3180) Palmrest w/ Keyboard                                                                    $19.54   0.00%     1.00
               CB 11 (3180) Palmrest w/ Keyboard and Trackpad                                                      $347.55   0.00%     9.00
               CB 11 (3180) Palmrest w/ Trackpad                                                                   $149.91   0.00%     4.00
               CB 11 (3180) Speaker Set                                                                             $20.00   0.00%     4.00
               CB 11 (3180) Trackpad                                                                                $11.97   0.00%     6.00
               CB 11 (3180) Trackpad Flex                                                                            $3.57   0.00%    14.00
               CB 11 (3189) Battery                                                                                 $73.84   0.00%     3.00
               CB 11 (3189) Battery Cable                                                                            $3.96   0.00%     2.00
               CB 11 (3189) Board Set (Power w/ Audio)                                                             $167.67   0.00%     3.00
               CB 11 (3189) Board Set (Power w/ Audio) Cable                                                        $56.43   0.00%     6.00
               CB 11 (3189) Camera [Front]                                                                          $29.20   0.00%     2.00
               CB 11 (3189) Daughterboard                                                                           $18.33   0.00%     1.00
               CB 11 (3189) DC Jack                                                                                  $6.00   0.00%     2.00
               CB 11 (3189) G Sensor Board                                                                           $1.50   0.00%     2.00
               CB 11 (3189) Hinge Set*                                                                             $184.20   0.00%    10.00
               CB 11 (3189) Hinge [Left]                                                                             $5.32   0.00%     2.00
               CB 11 (3189) Hinge [Right]                                                                            $3.18   0.00%     2.00
               CB 11 (3189) Housing [Base]                                                                         $224.45   0.00%    16.00
               CB 11 (3189) Housing [LCD Rear Cover]                                                               $138.92   0.00%     9.00
               CB 11 (3189) Keyboard                                                                                 $5.67   0.00%     1.00
               CB 11 (3189) LCD Assembly                                                                         $1,014.31   0.01%    22.00
               CB 11 (3189) LCD Cable                                                                                $7.52   0.00%     2.00
               CB 11 (3189) LCD w/ Digitizer                                                                       $599.71   0.01%     9.00
               CB 11 (3189) Motherboard [4GB] [32GB]                                                             $1,140.31   0.01%    20.00
               CB 11 (3189) Palmrest                                                                                $47.19   0.00%     3.00
               CB 11 (3189) Palmrest w/ Keyboard                                                                   $195.04   0.00%     8.00
               CB 11 (3189) Power Board                                                                          $1,255.98   0.01%    21.00
               CB 11 (3189) Speaker Set                                                                             $32.37   0.00%     3.00
               CB 11 (3189) Trackpad                                                                                $60.86   0.00%     7.00
               CB 11 (3189) Trackpad Flex                                                                            $0.00   0.00%     1.00
               CB 11 (500e 81ES) Battery                                                                            $24.80   0.00%     1.00
               CB 11 (500e 81ES) Camera Cable [Palmrest]                                                             $0.15   0.00%     1.00
               CB 11 (500e 81ES) Camera [Front]                                                                    $169.42   0.00%    15.00
               CB 11 (500e 81ES) Camera [Palmrest]                                                                   $0.85   0.00%     1.00
               CB 11 (500e 81ES) Daughterboard                                                                     $675.00   0.01%    40.00
               CB 11 (500e 81ES) Daughterboard Flex Set                                                             $92.05   0.00%     7.00
               CB 11 (500e 81ES) Hinge Set*                                                                        $115.29   0.00%     5.00
               CB 11 (500e 81ES) Hinge [Left]                                                                        $0.69   0.00%     1.00
               CB 11 (500e 81ES) Hinge [Right]                                                                       $4.42   0.00%     3.00
               CB 11 (500e 81ES) Housing [Base]                                                                    $225.24   0.00%     7.00
               CB 11 (500e 81ES) Housing [Hinge Cover]                                                             $160.50   0.00%    14.00
               CB 11 (500e 81ES) Housing [LCD Rear Cover]                                                           $45.06   0.00%     6.00
               CB 11 (500e 81ES) LCD Cable                                                                           $5.78   0.00%     1.00
               CB 11 (500e 81ES) LCD w/ Digitizer                                                                  $390.80   0.00%     5.00
               CB 11 (500e 81ES) LCD w/ Digitizer (EMR)                                                          $3,801.94   0.04%    21.00
               CB 11 (500e 81ES) Motherboard [4GB] [32GB]                                                        $1,791.98   0.02%     9.00
               CB 11 (500e 81ES) Palmrest w/ Keyboard                                                            $1,904.46   0.02%    52.00
               CB 11 (500e 81ES) Spine Cover                                                                         $7.19   0.00%     3.00
               CB 11 (500e 81ES) Trackpad Flex                                                                       $3.48   0.00%     2.00
               CB 11 (500e 81ES) Wi-Fi Card                                                                         $53.53   0.00%     7.00
               CB 11 (500e 81MC) Battery                                                                           $247.05   0.00%    10.00
               CB 11 (500e 81MC) Camera Flex [Palmrest]                                                              $3.22   0.00%     2.00
               CB 11 (500e 81MC) Camera [Front]                                                                    $229.71   0.00%    20.00
               CB 11 (500e 81MC) Camera [Palmrest]                                                                  $38.66   0.00%    10.00
               CB 11 (500e 81MC) Daughterboard (USB)                                                                $27.83   0.00%    11.00
               CB 11 (500e 81MC) Daughterboard (USB) Flex Set                                                        $4.15   0.00%     4.00
               CB 11 (500e 81MC) Hinge Set*                                                                        $497.27   0.01%    27.00
               CB 11 (500e 81MC) Housing [Base]                                                                    $130.11   0.00%     9.00
               CB 11 (500e 81MC) Housing [LCD Rear Cover]                                                        $1,060.17   0.01%    71.00
               CB 11 (500e 81MC) LCD Cable                                                                         $131.12   0.00%    17.00
               CB 11 (500e 81MC) LCD w/ Digitizer (Touch)                                                          $963.27   0.01%    18.00
               CB 11 (500e 81MC) Motherboard [4GB][32GB]                                                           $714.32   0.01%     5.00
               CB 11 (500e 81MC) Motherboard [8GB][64GB]                                                           $159.99   0.00%     1.00
               CB 11 (500e 81MC) Palmrest w/ Keyboard                                                               $75.56   0.00%     4.00
               CB 11 (500e 81MC) Speaker Set                                                                       $110.92   0.00%     8.00
               CB 11 (500e 81MC) Spine Cover                                                                         $2.94   0.00%     1.00
               CB 11 (500e 81MC) Trackpad                                                                            $2.43   0.00%     1.00
               CB 11 (500e 81MC) Trackpad Flex                                                                       $3.40   0.00%     2.00
               CB 11 (500e 81MC) Wi-Fi Card                                                                        $173.35   0.00%    10.00
               CB 11 (5190) Keyboard                                                                                $35.99   0.00%     1.00
               CB 11 (5190) LCD Assembly (2-in-1)                                                                  $112.22   0.00%     2.00
               CB 11 (C202SA) Battery                                                                              $194.15   0.00%    22.00
               CB 11 (C202SA) Camera                                                                                $38.65   0.00%    14.00
               CB 11 (C202SA) Daughterboard                                                                         $69.30   0.00%    12.00
               CB 11 (C202SA) Daughterboard Flex                                                                    $53.54   0.00%    21.00
               CB 11 (C202SA) Hinge Set*                                                                           $317.42   0.00%    49.00
               CB 11 (C202SA) Hinge [Right]                                                                         $62.76   0.00%    13.00
               CB 11 (C202SA) Housing [Base] - Black                                                                $29.34   0.00%     5.00
               CB 11 (C202SA) Housing [Base] - Blue                                                                 $16.70   0.00%     2.00
               CB 11 (C202SA) Housing [Hinge Cover] - Black                                                      $2,329.93   0.03%   165.00
               CB 11 (C202SA) Housing [Hinge Cover] - Blue                                                           $3.08   0.00%     2.00
               CB 11 (C202SA) Housing [LCD Bezel] - Black                                                          $204.19   0.00%    51.00
               CB 11 (C202SA) Housing [LCD Rear Cover] - Black                                                   $1,002.84   0.01%   150.00
               CB 11 (C202SA) Housing [LCD Rear Cover] - Blue                                                        $9.15   0.00%     1.00
               CB 11 (C202SA) LCD Cable                                                                            $283.32   0.00%    49.00
               CB 11 (C202SA) LCD Panel                                                                            $233.68   0.00%     9.00
               CB 11 (C202SA) Motherboard [4GB] [32GB]                                                           $1,530.48   0.02%    19.00
               CB 11 (C202SA) Palmrest w/ Keyboard - Black                                                         $726.59   0.01%    63.00
               CB 11 (C202SA) Palmrest w/ Keyboard - Blue                                                            $2.67   0.00%     5.00
               CB 11 (C202SA) Screw Set                                                                              $1.61   0.00%     1.00
               CB 11 (C202SA) Speaker Set                                                                            $3.67   0.00%     1.00
               CB 11 (C202SA) Trackpad                                                                              $54.19   0.00%    11.00
               CB 11 (C202SA) Trackpad - Black                                                                       $6.32   0.00%     2.00




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               CB 11 (C202SA) Trackpad Assembly - Black                                                    $4.30   0.00%    1.00
               CB 11 (C202SA) Trackpad Flex                                                               $17.02   0.00%    9.00
               CB 11 (C202SA) Wi-Fi Antenna                                                               $13.15   0.00%    5.00
               CB 11 (C202SA) Wi-Fi Card                                                                  $45.20   0.00%    5.00
               CB 11 (C202XA) Palmrest w/ Keyboard                                                     $1,411.76   0.02%   28.00
               CB 11 (C204) Housing [Base]                                                               $215.64   0.00%   14.00
               CB 11 (C204) Housing [LCD Bezel]                                                          $131.34   0.00%    8.00
               CB 11 (C204) Trackpad                                                                     $119.91   0.00%    9.00
               CB 11 (C204EE) Camera                                                                      $14.32   0.00%    2.00
               CB 11 (C204EE) Hinge Set*                                                                   $1.15   0.00%    6.00
               CB 11 (C204EE) Housing [Base]                                                              $27.15   0.00%    4.00
               CB 11 (C204EE) Housing [LCD Bezel]                                                          $0.92   0.00%    2.00
               CB 11 (C204EE) Housing [LCD Rear Cover]                                                    $63.66   0.00%    6.00
               CB 11 (C204EE) LCD Cable                                                                    $3.98   0.00%    1.00
               CB 11 (C204EE) Motherboard                                                                $315.37   0.00%    6.00
               CB 11 (C204EE) Trackpad                                                                    $89.11   0.00%    5.00
               CB 11 (C204EE) Trackpad Flex                                                                $0.23   0.00%    1.00
               CB 11 (C204MA) Palmrest w/ Keyboard                                                         $0.00   0.00%    2.00
               CB 11 (C302CA) Battery                                                                    $299.95   0.00%    5.00
               CB 11 (C302CA) Camera                                                                      $68.00   0.00%    8.00
               CB 11 (C302CA) Daughterboard                                                               $32.30   0.00%    1.00
               CB 11 (C302CA) Daughterboard Flex                                                           $2.40   0.00%    4.00
               CB 11 (C302CA) Hinge [Right]                                                               $16.95   0.00%    1.00
               CB 11 (C302CA) Housing [Base]                                                              $23.04   0.00%    1.00
               CB 11 (C302CA) Housing [LCD Rear Cover]                                                    $29.84   0.00%    1.00
               CB 11 (C302CA) Motherboard                                                                $699.06   0.01%    3.00
               CB 11 (C302CA) Palmrest w/ Keyboard                                                       $228.72   0.00%    4.00
               CB 11 (C302CA) Trackpad                                                                   $168.85   0.00%    6.00
               CB 11 (C302CA) Trackpad Flex                                                               $28.47   0.00%    3.00
               CB 11 (C720) Battery                                                                       $32.85   0.00%    1.00
               CB 11 (C720) Hinge Set*                                                                     $0.96   0.00%    1.00
               CB 11 (C720) Housing [LCD Bezel]                                                           $13.03   0.00%    1.00
               CB 11 (C720) Housing [LCD Rear Cover]                                                      $14.97   0.00%    1.00
               CB 11 (C720) LCD Cable                                                                     $26.98   0.00%    3.00
               CB 11 (C720) Motherboard [4GB] [32GB]                                                      $68.20   0.00%    2.00
               CB 11 (C720) Palmrest w/ Keyboard and Trackpad                                             $25.24   0.00%    1.00
               CB 11 (C721) Camera [Front]                                                                $42.82   0.00%    8.00
               CB 11 (C721) Housing [Base]                                                                $24.52   0.00%   10.00
               CB 11 (C731) Battery                                                                       $38.65   0.00%    1.00
               CB 11 (C731T) Motherboard [4GB][32GB]                                                     $169.09   0.00%    1.00
               CB 11 (C732) Motherboard [4GB] [32GB]                                                     $169.09   0.00%    1.00
               CB 11 (C740) Battery                                                                      $178.69   0.00%    6.00
               CB 11 (C740) Camera                                                                        $53.82   0.00%    3.00
               CB 11 (C740) Daughterboard                                                                 $48.84   0.00%    3.00
               CB 11 (C740) Hinge Set*                                                                   $225.75   0.00%   20.00
               CB 11 (C740) Hinge [Right]                                                                 $13.39   0.00%    3.00
               CB 11 (C740) Housing [Base]                                                                $33.06   0.00%    3.00
               CB 11 (C740) Housing [LCD Bezel]                                                          $413.61   0.00%   26.00
               CB 11 (C740) Housing [LCD Rear Cover]                                                     $572.27   0.01%   25.00
               CB 11 (C740) LCD Cable                                                                     $44.63   0.00%    6.00
               CB 11 (C740) LED Board                                                                     $14.95   0.00%    6.00
               CB 11 (C740) Motherboard [2GB] [16GB]                                                       $8.99   0.00%    1.00
               CB 11 (C740) Motherboard [4GB] [32GB]                                                   $1,287.51   0.01%   21.00
               CB 11 (C740) Palmrest w/ Keyboard                                                         $139.40   0.00%    5.00
               CB 11 (C740) Palmrest w/ Keyboard and Trackpad*                                            $24.98   0.00%    1.00
               CB 11 (C740) Trackpad                                                                      $29.07   0.00%    3.00
               CB 11 (C740) Trackpad Flex                                                                  $4.06   0.00%    3.00
               CB 11 (C740) Wi-Fi Antenna Set                                                             $40.51   0.00%    1.00
               CB 11 (C740) Wifi Card                                                                      $0.00   0.00%    1.00
               CB 11 (C771) Battery                                                                       $38.40   0.00%    1.00
               CB 11 (C771) Camera w/ Microphone                                                          $32.59   0.00%    3.00
               CB 11 (C771) Daughterboard                                                                 $97.46   0.00%   22.00
               CB 11 (C771) Daughterboard Flex                                                             $2.99   0.00%   13.00
               CB 11 (C771) Hinge Set*                                                                    $13.40   0.00%   10.00
               CB 11 (C771) Hinge [Left]                                                                   $4.89   0.00%    5.00
               CB 11 (C771) Hinge [Right]                                                                  $3.90   0.00%    3.00
               CB 11 (C771) Housing [Base]                                                                $47.70   0.00%   10.00
               CB 11 (C771) Housing [LCD Bezel]                                                            $6.98   0.00%   11.00
               CB 11 (C771) Housing [LCD Rear Cover]                                                      $19.26   0.00%    1.00
               CB 11 (C771) LCD                                                                          $123.56   0.00%    1.00
               CB 11 (C771) LCD Cable                                                                     $11.06   0.00%    2.00
               CB 11 (C771) Microphone                                                                    $12.45   0.00%   10.00
               CB 11 (C771) Palmrest w/ Keyboard                                                         $360.70   0.00%   15.00
               CB 11 (C771) Wi-Fi Cable                                                                    $2.60   0.00%    2.00
               CB 11 (C771T) Battery                                                                       $0.00   0.00%    2.00
               CB 11 (C771T) Motherboard [4GB][32GB]                                                      $45.00   0.00%    1.00
               CB 11 (CP311-2H) Housing [Base]                                                             $6.75   0.00%    1.00
               CB 11 (CP311-2H) Palmrest w/ Keyboard                                                      $51.06   0.00%    3.00
               CB 11 (G4 EE) Palmrest w/ Keyboard                                                        $215.96   0.00%    4.00
               CB 11 (G5 EE Non-Touch) Palmrest w/ Keyboard                                               $75.98   0.00%    2.00
               CB 11 (G6 EE Non-Touch) Battery                                                           $163.36   0.00%   14.00
               CB 11 (G6 EE Non-Touch) Camera                                                            $151.14   0.00%   18.00
               CB 11 (G6 EE Non-Touch) Camera Cable                                                        $0.05   0.00%   11.00
               CB 11 (G6 EE Non-Touch) Daughterboard                                                     $218.54   0.00%   21.00
               CB 11 (G6 EE Non-Touch) Daughterboard Flex Set                                              $2.63   0.00%    4.00
               CB 11 (G6 EE Non-Touch) Daughterboard w/ Flex Set                                          $22.12   0.00%    4.00
               CB 11 (G6 EE Non-Touch) Hinge Set                                                          $13.49   0.00%    3.00
               CB 11 (G6 EE Non-Touch) Hinge [Left]                                                        $1.58   0.00%    1.00
               CB 11 (G6 EE Non-Touch) Hinge [Right]                                                       $0.90   0.00%    2.00
               CB 11 (G6 EE Non-Touch) Housing [Base]                                                      $0.02   0.00%    2.00
               CB 11 (G6 EE Non-Touch) Housing [LCD Bezel]                                                 $0.00   0.00%    7.00
               CB 11 (G6 EE Non-Touch) Housing [LCD Rear Cover]                                          $225.01   0.00%   17.00
               CB 11 (G6 EE Non-Touch) LCD Cable                                                          $57.56   0.00%   13.00
               CB 11 (G6 EE Non-Touch) LCD Panel                                                           $0.00   0.00%    1.00
               CB 11 (G6 EE Non-Touch) Motherboard [4GB][32GB]                                         $1,370.96   0.02%   14.00
               CB 11 (G6 EE Non-Touch) Motherboard [N3350][4GB][16GB]                                    $479.96   0.01%    4.00
               CB 11 (G6 EE Non-Touch) Motherboard [N3350][4GB][32GB]                                    $102.80   0.00%    1.00
               CB 11 (G6 EE Non-Touch) Palmrest w/ Keyboard                                              $712.43   0.01%   35.00
               CB 11 (G6 EE Non-Touch) Speaker Set                                                         $0.22   0.00%    1.00
               CB 11 (G6 EE Non-Touch) Trackpad                                                            $6.64   0.00%    8.00
               CB 11 (G6 EE Non-Touch) Trackpad Flex                                                       $0.00   0.00%   15.00
               CB 11 (G6 EE Non-Touch) Wi-Fi Card                                                          $4.72   0.00%    6.00
               CB 11 (G6 EE Touch) Trackpad Flex                                                           $0.00   0.00%    2.00
               CB 11 (G7 EE Non-Touch) Camera                                                              $8.73   0.00%    4.00
               CB 11 (G7 EE Non-Touch) Camera Cable                                                       $22.05   0.00%    3.00
               CB 11 (G7 EE Non-Touch) Daughterboard                                                       $7.77   0.00%    5.00
               CB 11 (G7 EE Non-Touch) Daughterboard Flex                                                  $0.00   0.00%   12.00
               CB 11 (G7 EE Non-Touch) Hinge Set                                                           $5.99   0.00%    1.00
               CB 11 (G7 EE Non-Touch) Housing [Base]                                                     $27.13   0.00%    1.00
               CB 11 (G7 EE Non-Touch) Housing [LCD Bezel]                                               $249.59   0.00%   14.00
               CB 11 (G7 EE Non-Touch) Housing [LCD Rear Cover]                                          $245.21   0.00%   10.00
               CB 11 (G7 EE Non-Touch) LCD Cable                                                          $24.00   0.00%    4.00
               CB 11 (G7 EE Non-Touch) Motherboard [N4000][4GB][16GB]                                     $33.64   0.00%    2.00
               CB 11 (G7 EE Non-Touch) Motherboard [N4000][4GB][32GB]                                     $45.00   0.00%    1.00
               CB 11 (G7 EE Non-Touch) Motherboard [N4100][4GB][32GB]                                    $514.50   0.01%    2.00
               CB 11 (G7 EE Non-Touch) Palmrest w/ Keyboard                                               $62.77   0.00%   13.00
               CB 11 (G7 EE Non-Touch) Speaker Set                                                         $0.00   0.00%    2.00
               CB 11 (G7 EE Non-Touch) Trackpad                                                           $14.96   0.00%    5.00
               CB 11 (G7 EE Non-Touch) Trackpad Flex                                                       $0.00   0.00%    2.00




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               CB 11 (G7 EE Non-Touch) Wi-Fi Card                                                            $22.87   0.00%    1.00
               CB 11 (G7 EE Touch) Camera                                                                     $0.00   0.00%    2.00
               CB 11 (G7 EE Touch) Camera Cable                                                               $7.99   0.00%    1.00
               CB 11 (G7 EE Touch) Hinge Set                                                                 $20.29   0.00%    2.00
               CB 11 (G7 EE Touch) LCD Cable                                                                 $19.41   0.00%    3.00
               CB 11 (G7 EE Touch) LCD Panel                                                                 $71.99   0.00%    1.00
               CB 11 (G7 EE Touch) Palmrest w/ Keyboard                                                      $79.98   0.00%    4.00
               CB 11 (G7 EE Touch) Trackpad Flex                                                              $1.99   0.00%    1.00
               CB 11 (G8 EE Non-Touch) Battery                                                               $72.75   0.00%    5.00
               CB 11 (G8 EE Non-Touch) Camera Cable                                                           $0.01   0.00%    3.00
               CB 11 (G8 EE Non-Touch) Daughterboard                                                          $0.36   0.00%   11.00
               CB 11 (G8 EE Non-Touch) Daughterboard Flex                                                    $17.25   0.00%    1.00
               CB 11 (G8 EE Non-Touch) Daughterboard Flex Set                                                 $0.00   0.00%    4.00
               CB 11 (G8 EE Non-Touch) Hinge Cover                                                            $8.62   0.00%    1.00
               CB 11 (G8 EE Non-Touch) Hinge [Left]                                                           $0.00   0.00%    4.00
               CB 11 (G8 EE Non-Touch) Hinge [Right]                                                          $0.00   0.00%    4.00
               CB 11 (G8 EE Non-Touch) Housing [Base]                                                         $0.37   0.00%    3.00
               CB 11 (G8 EE Non-Touch) Housing [LCD Bezel]                                                    $0.00   0.00%    1.00
               CB 11 (G8 EE Non-Touch) Housing [LCD Rear Cover]                                             $162.93   0.00%    9.00
               CB 11 (G8 EE Non-Touch) LCD Cable                                                             $60.95   0.00%   14.00
               CB 11 (G8 EE Non-Touch) Motherboard                                                        $1,896.55   0.02%   16.00
               CB 11 (G8 EE Non-Touch) Palmrest w/ Keyboard                                                 $308.91   0.00%   14.00
               CB 11 (G8 EE Non-Touch) Palmrest w/ Keyboard and Trackpad                                     $56.48   0.00%    2.00
               CB 11 (G8 EE Non-Touch) Trackpad                                                               $8.53   0.00%    8.00
               CB 11 (G8 EE Non-Touch) Trackpad Flex                                                          $0.01   0.00%    3.00
               CB 11 (G8 EE Non-Touch) Wi-Fi Cable                                                            $0.01   0.00%    1.00
               CB 11 (G8 EE Touch) Housing [Base]                                                           $195.06   0.00%    6.00
               CB 11 (N21) Housing [Base]                                                                    $27.52   0.00%    3.00
               CB 11 (N21) Housing [LCD Bezel]                                                               $12.40   0.00%    3.00
               CB 11 (N21) Housing [LCD Rear Cover]                                                           $3.62   0.00%    1.00
               CB 11 (N22 80SF) Battery                                                                      $20.29   0.00%    1.00
               CB 11 (N22 80SF) Hinge [Right]                                                                 $1.95   0.00%    1.00
               CB 11 (N22 80SF) Housing [Base]                                                                $9.98   0.00%    1.00
               CB 11 (N22 80SF) Housing [LCD Rear Cover]                                                    $120.82   0.00%   13.00
               CB 11 (N22 80SF) Palmrest w/ Keyboard                                                         $10.10   0.00%    1.00
               CB 11 (N22 80SF) Palmrest w/ Keyboard and Trackpad*                                           $91.47   0.00%    3.00
               CB 11 (N23) Hinge [Left]                                                                       $1.94   0.00%    1.00
               CB 11 (N23) Hinge [Right]                                                                      $0.01   0.00%    1.00
               CB 11 (N23) Housing [Base]                                                                    $15.86   0.00%    1.00
               CB 11 (N23) LCD Assembly                                                                       $0.24   0.00%    1.00
               CB 11 (N23) Palmrest w/ Keyboard                                                              $19.11   0.00%    2.00
               CB 11 (N23) Speaker Set                                                                       $99.21   0.00%   20.00
               CB 11 (R751T) AC Adapter                                                                      $31.88   0.00%    4.00
               CB 11 (R751T) Battery                                                                        $244.21   0.00%    6.00
               CB 11 (R751T) Camera                                                                          $47.92   0.00%    8.00
               CB 11 (R751T) Camera Cable                                                                     $1.83   0.00%    3.00
               CB 11 (R751T) Camera Flex [Palmrest]                                                          $13.33   0.00%    6.00
               CB 11 (R751T) Camera [Front]                                                                 $265.17   0.00%   24.00
               CB 11 (R751T) Camera [Palmrest]                                                                $5.99   0.00%    2.00
               CB 11 (R751T) Daughterboard                                                                   $21.68   0.00%    8.00
               CB 11 (R751T) Daughterboard (USB) Flex Set                                                     $3.10   0.00%    4.00
               CB 11 (R751T) Hinge Set*                                                                     $806.99   0.01%   46.00
               CB 11 (R751T) Hinge [Left]                                                                    $77.44   0.00%   11.00
               CB 11 (R751T) Hinge [Right]                                                                   $58.88   0.00%   10.00
               CB 11 (R751T) Housing [Base]                                                                 $114.61   0.00%   10.00
               CB 11 (R751T) Housing [LCD Rear Cover]                                                       $141.52   0.00%   37.00
               CB 11 (R751T) LCD Cable                                                                      $108.68   0.00%   16.00
               CB 11 (R751T) LCD w/ Digitizer                                                             $1,180.60   0.01%   17.00
               CB 11 (R751T) Microphone                                                                      $18.51   0.00%    7.00
               CB 11 (R751T) Motherboard                                                                    $382.32   0.00%   14.00
               CB 11 (R751T) Palmrest w/ Keyboard                                                           $388.51   0.00%   24.00
               CB 11 (R751T) Screw Set                                                                       $24.13   0.00%    4.00
               CB 11 (R751T) Sensor Board                                                                    $43.95   0.00%    8.00
               CB 11 (R751T) Sensor Board Cable                                                              $10.14   0.00%    7.00
               CB 11 (R751T) Speaker Set                                                                     $57.93   0.00%    7.00
               CB 11 (R751T) Trackpad                                                                        $19.96   0.00%    4.00
               CB 11 (R751T) Trackpad Flex                                                                    $1.55   0.00%    1.00
               CB 11 (R751T) Wi-Fi Antenna                                                                  $197.71   0.00%   21.00
               CB 11 (R751T) Wi-Fi Card                                                                      $62.41   0.00%    9.00
               CB 11 (R751TN) LCD w/ Digitizer                                                              $106.11   0.00%    2.00
               CB 11 (R752T) Battery                                                                         $79.22   0.00%    2.00
               CB 11 (R752T) Camera Cable                                                                     $1.83   0.00%    3.00
               CB 11 (R752T) Camera [Front]                                                                   $6.62   0.00%    3.00
               CB 11 (R752T) Camera [Palmrest]                                                               $52.50   0.00%    5.00
               CB 11 (R752T) Daughterboard                                                                   $51.57   0.00%    4.00
               CB 11 (R752T) Daughterboard Flex Set                                                           $0.00   0.00%    2.00
               CB 11 (R752T) G Sensor Board                                                                   $2.78   0.00%    2.00
               CB 11 (R752T) Hinge - Left                                                                     $0.00   0.00%    1.00
               CB 11 (R752T) Hinge - Right                                                                    $0.76   0.00%    1.00
               CB 11 (R752T) Housing [Base]                                                                  $81.30   0.00%    6.00
               CB 11 (R752T) Housing [LCD Rear Cover]                                                         $0.87   0.00%    1.00
               CB 11 (R752T) LCD Assembly                                                                 $1,008.91   0.01%   13.00
               CB 11 (R752T) LCD Cable                                                                       $11.97   0.00%    3.00
               CB 11 (R752T) Motherboard                                                                  $1,907.28   0.02%   10.00
               CB 11 (R752T) Palmrest w/ Keyboard                                                            $31.17   0.00%    2.00
               CB 11 (R752T) Palmrest w/ Keyboard (w/ WFC)                                                    $1.93   0.00%    3.00
               CB 11 (R752T) Trackpad                                                                         $8.53   0.00%    2.00
               CB 11 (R752T) Trackpad Flex                                                                    $0.08   0.00%    2.00
               CB 11 (R752T) Wi-Fi Antenna                                                                    $0.20   0.00%    2.00
               CB 11 (R752T) Wi-Fi Card                                                                      $20.68   0.00%    3.00
               CB 11 (RC738T) LCD Assembly                                                                    $0.00   0.00%    1.00
               CB 11 x360 (G1 EE) Camera Cable                                                               $26.98   0.00%    2.00
               CB 11 x360 (G1 EE) LCD Assembly                                                              $310.25   0.00%    7.00
               CB 11 x360 (G1 EE) LCD Cable                                                                  $78.24   0.00%   11.00
               CB 11 x360 (G1 EE) Palmrest w/ Keyboard                                                       $20.62   0.00%    2.00
               CB 11 x360 (G1 EE) Speaker Set                                                                 $4.23   0.00%    1.00
               CB 11 x360 (G2 EE) Battery                                                                    $49.68   0.00%    2.00
               CB 11 x360 (G2 EE) Camera Cable                                                                $0.00   0.00%    1.00
               CB 11 x360 (G2 EE) Daughterboard                                                               $0.00   0.00%    4.00
               CB 11 x360 (G2 EE) Daughterboard Flex Set                                                      $0.00   0.00%    4.00
               CB 11 x360 (G2 EE) Hinge Set                                                                   $0.02   0.00%    1.00
               CB 11 x360 (G2 EE) Housing [Base]                                                             $26.99   0.00%    5.00
               CB 11 x360 (G2 EE) LCD (Touch)                                                               $719.87   0.01%   13.00
               CB 11 x360 (G2 EE) LCD Cable (Touch)                                                          $40.47   0.00%    3.00
               CB 11 x360 (G2 EE) Motherboard [N4000][4GB][32GB]                                            $509.97   0.01%    3.00
               CB 11 x360 (G2 EE) Palmrest w/ Keyboard                                                        $0.00   0.00%    3.00
               CB 11 x360 (G2 EE) Sensor Board                                                                $0.00   0.00%    2.00
               CB 11 x360 (G2 EE) Trackpad                                                                    $0.96   0.00%    3.00
               CB 11 x360 (G2 EE) Trackpad Flex                                                               $0.00   0.00%    2.00
               CB 11 x360 (G3 EE) Battery                                                                    $86.80   0.00%    5.00
               CB 11 x360 (G3 EE) Battery Cable                                                               $2.65   0.00%    1.00
               CB 11 x360 (G3 EE) Camera Cable                                                               $54.55   0.00%   12.00
               CB 11 x360 (G3 EE) Camera [Palmrest]                                                           $0.00   0.00%    3.00
               CB 11 x360 (G3 EE) Daughterboard                                                             $332.29   0.00%   44.00
               CB 11 x360 (G3 EE) Daughterboard Flex Set                                                      $8.78   0.00%   17.00
               CB 11 x360 (G3 EE) Hinge Set                                                                  $36.31   0.00%    3.00
               CB 11 x360 (G3 EE) Hinge [Left]                                                                $0.27   0.00%    6.00
               CB 11 x360 (G3 EE) Hinge [Right]                                                               $0.00   0.00%    6.00
               CB 11 x360 (G3 EE) Housing [Base]                                                            $134.49   0.00%    6.00




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               CB 11 x360 (G3 EE) Housing [LCD Rear Cover]                                                   $143.14   0.00%    7.00
               CB 11 x360 (G3 EE) LCD Assembly                                                               $816.11   0.01%    6.00
               CB 11 x360 (G3 EE) LCD Cable                                                                   $47.68   0.00%   13.00
               CB 11 x360 (G3 EE) LCD w/ Digitizer (Finger-Touch)                                             $95.18   0.00%   12.00
               CB 11 x360 (G3 EE) Motherboard                                                              $8,567.53   0.10%   75.00
               CB 11 x360 (G3 EE) Palmrest Camera Cable                                                        $7.52   0.00%    2.00
               CB 11 x360 (G3 EE) Palmrest w/ Keyboard                                                     $1,197.45   0.01%   47.00
               CB 11 x360 (G3 EE) Palmrest w/ Keyboard [w/ WFC]                                                $0.00   0.00%    1.00
               CB 11 x360 (G3 EE) Sensor Board                                                                 $0.23   0.00%    3.00
               CB 11 x360 (G3 EE) Speaker Set                                                                  $3.70   0.00%    1.00
               CB 11 x360 (G3 EE) Trackpad                                                                   $176.47   0.00%   33.00
               CB 11 x360 (G3 EE) Trackpad Flex                                                               $20.62   0.00%   14.00
               CB 11 x360 (G3 EE) Wi-Fi Antenna                                                                $0.00   0.00%    1.00
               CB 11 x360 (G3 EE) Wi-Fi Card                                                                  $27.35   0.00%    3.00
               CB 11A (G6 EE Non-Touch) Battery                                                                $0.00   0.00%    3.00
               CB 11A (G6 EE Non-Touch) Camera Cable                                                          $17.65   0.00%    7.00
               CB 11A (G6 EE Non-Touch) Daughterboard                                                         $11.03   0.00%    2.00
               CB 11A (G6 EE Non-Touch) Housing [LCD Rear Cover]                                               $8.19   0.00%    2.00
               CB 11A (G6 EE Non-Touch) LCD Cable                                                              $6.46   0.00%    4.00
               CB 11A (G6 EE Non-Touch) Motherboard [4GB] [32GB]                                             $280.00   0.00%    2.00
               CB 11A (G6 EE Non-Touch) Palmrest w/ Keyboard                                                  $43.63   0.00%    3.00
               CB 11A (G6 EE Non-Touch) Palmrest w/ Keyboard and Trackpad                                      $8.31   0.00%    1.00
               CB 11A (G6 EE Non-Touch) Trackpad                                                               $8.29   0.00%    4.00
               CB 11A (G6 EE Non-Touch) Trackpad Flex                                                          $5.16   0.00%    4.00
               CB 11A (G6 EE Non-Touch) Wi-Fi Card                                                             $0.00   0.00%    3.00
               CB 11A (G6 EE Touch) LCD Cable                                                                 $21.73   0.00%    1.00
               CB 11A (G8 EE Non-Touch) Battery                                                               $25.93   0.00%    6.00
               CB 11A (G8 EE Non-Touch) Camera                                                                 $1.87   0.00%    7.00
               CB 11A (G8 EE Non-Touch) Camera Cable                                                           $0.00   0.00%    5.00
               CB 11A (G8 EE Non-Touch) Daughterboard                                                         $13.66   0.00%   17.00
               CB 11A (G8 EE Non-Touch) Daughterboard Flex Set                                                 $0.00   0.00%    2.00
               CB 11A (G8 EE Non-Touch) Hinge Set*                                                            $88.95   0.00%    5.00
               CB 11A (G8 EE Non-Touch) Hinge [Left]                                                           $0.00   0.00%   12.00
               CB 11A (G8 EE Non-Touch) Hinge [Right]                                                         $18.92   0.00%   11.00
               CB 11A (G8 EE Non-Touch) Housing [Base]                                                        $19.00   0.00%    3.00
               CB 11A (G8 EE Non-Touch) Housing [Hinge Cover]                                                 $82.75   0.00%   16.00
               CB 11A (G8 EE Non-Touch) Housing [LCD Bezel]                                                   $34.75   0.00%    2.00
               CB 11A (G8 EE Non-Touch) Housing [LCD Rear Cover]                                             $595.73   0.01%   30.00
               CB 11A (G8 EE Non-Touch) LCD Cable                                                             $18.36   0.00%    5.00
               CB 11A (G8 EE Non-Touch) Motherboard                                                        $2,012.77   0.02%   15.00
               CB 11A (G8 EE Non-Touch) Palmrest w/ Keyboard                                                 $132.89   0.00%   12.00
               CB 11A (G8 EE Non-Touch) Palmrest w/ Keyboard and Trackpad                                    $150.87   0.00%    3.00
               CB 11A (G8 EE Non-Touch) Trackpad                                                              $27.74   0.00%    5.00
               CB 11A (G8 EE Non-Touch) Trackpad Flex                                                          $0.00   0.00%    5.00
               CB 11A (G8 EE Non-Touch) Wi-Fi Card                                                             $3.65   0.00%    1.00
               CB 14 (C434TA) Battery                                                                          $0.00   0.00%    2.00
               CB 14 (C434TA) Housing [LCD Rear Cover]                                                        $60.06   0.00%    2.00
               CB 14 (C434TA) LCD Assembly                                                                   $684.82   0.01%    5.00
               CB 14 (C434TA) LCD Cable                                                                       $11.28   0.00%    4.00
               CB 14 (C434TA) Motherboard                                                                    $872.90   0.01%    3.00
               CB 14 (C434TA) Trackpad                                                                         $0.00   0.00%    2.00
               CB 14 (C434TA) Trackpad Cable                                                                   $0.00   0.00%    2.00
               CB 14 (C933) Battery                                                                        $1,012.00   0.01%   23.00
               CB 14 (C933) Battery Flex                                                                       $3.00   0.00%    1.00
               CB 14 (C933) Camera                                                                             $0.73   0.00%    1.00
               CB 14 (C933) Daughterboard                                                                     $31.53   0.00%    4.00
               CB 14 (C933) Daughterboard Flex Set                                                             $0.00   0.00%    4.00
               CB 14 (C933) Daughterboard Flex [30 Pin]                                                        $0.00   0.00%    4.00
               CB 14 (C933) Hinge [Left]                                                                      $10.96   0.00%    7.00
               CB 14 (C933) Hinge [Right]                                                                      $9.38   0.00%    6.00
               CB 14 (C933) Housing [Base]                                                                   $122.07   0.00%   15.00
               CB 14 (C933) Housing [LCD Bezel]                                                               $39.78   0.00%   44.00
               CB 14 (C933) Housing [LCD Rear Cover]                                                          $44.65   0.00%    6.00
               CB 14 (C933) LCD Cable                                                                        $127.78   0.00%   21.00
               CB 14 (C933) LCD w/ Digitizer                                                                 $287.80   0.00%    3.00
               CB 14 (C933) Motherboard [4GB][32GB]                                                           $78.20   0.00%    2.00
               CB 14 (C933) Palmrest w/ Keyboard                                                             $211.56   0.00%   19.00
               CB 14 (C933) Trackpad                                                                          $27.30   0.00%    5.00
               CB 14 (C933) Trackpad Flex                                                                      $0.06   0.00%    1.00
               CB 14 (C933) Wi-Fi Antenna                                                                      $0.04   0.00%    1.00
               CB 14 (C933) Wi-Fi Card                                                                         $0.00   0.00%    2.00
               CB 14 (G5 Non-Touch) Battery                                                                   $75.00   0.00%    3.00
               CB 14 (G5 Non-Touch) Camera                                                                     $2.78   0.00%    1.00
               CB 14 (G5 Non-Touch) Daughterboard                                                              $9.01   0.00%    4.00
               CB 14 (G5 Non-Touch) Housing [Base]                                                             $0.00   0.00%    2.00
               CB 14 (G5 Non-Touch) Housing [LCD Bezel]                                                        $0.00   0.00%    1.00
               CB 14 (G5 Non-Touch) Housing [LCD Rear Cover]                                                   $4.26   0.00%    2.00
               CB 14 (G5 Non-Touch) LCD Cable                                                                  $4.54   0.00%    1.00
               CB 14 (G5 Non-Touch) Motherboard[N3350][4GB][64GB]                                            $559.96   0.01%    4.00
               CB 14 (G5 Non-Touch) Motherboard[N3450][8GB][32GB]                                            $139.99   0.00%    1.00
               CB 14 (G5 Non-Touch) Palmrest w/ Keyboard                                                     $193.05   0.00%   24.00
               CB 14 (G5 Non-Touch) Trackpad                                                                  $90.33   0.00%    7.00
               CB 14 (G5 Non-Touch) Trackpad Flex                                                              $0.85   0.00%    4.00
               CB 14 (G5 Touch) Camera                                                                         $5.99   0.00%    1.00
               CB 14 (G5 Touch) Daughterboard                                                                $118.88   0.00%    5.00
               CB 14 (G5 Touch) Daughterboard Flex Set                                                         $6.66   0.00%    2.00
               CB 14 (G5 Touch) Housing [Base]                                                                $16.24   0.00%    2.00
               CB 14 (G5 Touch) Housing [LCD Rear Cover]                                                      $41.21   0.00%    3.00
               CB 14 (G5 Touch) LCD Panel                                                                  $2,802.69   0.03%   64.00
               CB 14 (G5 Touch) Motherboard[N3350][4GB][16GB]                                                $117.10   0.00%    1.00
               CB 14 (G5 Touch) Motherboard[N3450][4GB][32GB]                                                $387.59   0.00%    2.00
               CB 14 (G5 Touch) Sensor Board                                                                   $0.00   0.00%    2.00
               CB 14 (G5 Touch) Sensor Board Cable                                                             $0.00   0.00%    2.00
               CB 14 (G5 Touch) Trackpad Flex                                                                  $0.00   0.00%   19.00
               CB 14 (G5 Touch) Wi-Fi Card                                                                     $0.00   0.00%    2.00
               CB 14A (G5 Non-Touch) Battery                                                                  $91.82   0.00%    5.00
               CB 14A (G5 Non-Touch) Camera                                                                  $125.91   0.00%    6.00
               CB 14A (G5 Non-Touch) Camera Cable                                                             $31.52   0.00%    5.00
               CB 14A (G5 Non-Touch) Daughterboard                                                           $172.07   0.00%   28.00
               CB 14A (G5 Non-Touch) Hinge Set                                                                $14.38   0.00%    2.00
               CB 14A (G5 Non-Touch) Housing [Base]                                                           $35.93   0.00%    2.00
               CB 14A (G5 Non-Touch) Housing [LCD Bezel]                                                      $68.89   0.00%    3.00
               CB 14A (G5 Non-Touch) Housing [Rear Cover]                                                    $233.26   0.00%   13.00
               CB 14A (G5 Non-Touch) LCD Cable                                                                $59.40   0.00%    3.00
               CB 14A (G5 Non-Touch) Palmrest w/ Keyboard                                                     $20.12   0.00%   25.00
               CB 14A (G5 Non-Touch) Sensor Board                                                             $10.76   0.00%    3.00
               CB 14A (G5 Non-Touch) Speaker Set                                                               $7.17   0.00%    2.00
               CB 14A (G5 Non-Touch) Trackpad                                                                 $22.47   0.00%    2.00
               CB 14A (G5 Non-Touch) Trackpad Flex                                                            $60.32   0.00%   23.00
               CB 14A (G5 Touch) Battery                                                                     $293.76   0.00%   38.00
               CB 14A (G5 Touch) Camera                                                                        $4.49   0.00%    3.00
               CB 14A (G5 Touch) Camera Cable                                                                 $55.36   0.00%   18.00
               CB 14A (G5 Touch) Daughterboard                                                               $155.70   0.00%   27.00
               CB 14A (G5 Touch) Daughterboard Flex Set                                                       $12.25   0.00%   41.00
               CB 14A (G5 Touch) Hinge Set                                                                     $0.00   0.00%    5.00
               CB 14A (G5 Touch) Housing [Base]                                                              $296.84   0.00%   42.00
               CB 14A (G5 Touch) Housing [LCD Bezel]                                                          $20.62   0.00%    3.00
               CB 14A (G5 Touch) Housing [Rear Cover]                                                          $0.00   0.00%   11.00
               CB 14A (G5 Touch) LCD Cable                                                                   $116.81   0.00%   26.00




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               CB 14A (G5 Touch) LCD Cable (Touch)                                                                                          $105.54   0.00%    15.00
               CB 14A (G5 Touch) LCD Panel                                                                                               $31,466.83   0.36%   366.00
               CB 14A (G5 Touch) Motherboard [A4-9120C][4GB][16GB]                                                                        $5,071.36   0.06%    39.00
               CB 14A (G5 Touch) Palmrest w/ Keyboard                                                                                       $945.48   0.01%    24.00
               CB 14A (G5 Touch) Sensor Board                                                                                                 $3.50   0.00%     4.00
               CB 14A (G5 Touch) Sensor Board Flex                                                                                            $0.00   0.00%     6.00
               CB 14A (G5 Touch) Speaker Set                                                                                                  $0.46   0.00%     2.00
               CB 14A (G5 Touch) Trackpad                                                                                                   $231.37   0.00%    15.00
               CB 14A (G5 Touch) Trackpad Flex                                                                                              $246.19   0.00%    57.00
               CB 14A (G5 Touch) Wi-Fi Antenna                                                                                                $0.00   0.00%     6.00
               CB 14A (G5 Touch) Wifi Card                                                                                                    $0.00   0.00%     4.00
               CB 14A (NA0061DX) Housing [LCD Bezel]                                                                                        $199.80   0.00%     4.00
               CB 14A (NA0061DX) LCD Panel                                                                                                  $424.65   0.00%     3.00
               CB 14A (NA0061DX) Motherboard [4GB][32GB]                                                                                    $199.98   0.00%     2.00
               CB 14A (NA0061DX) Palmrest w/ Keyboard                                                                                         $3.80   0.00%     1.00
               CB 14E (81MH) Battery                                                                                                        $172.08   0.00%     6.00
               CB 14E (81MH) Camera                                                                                                           $1.41   0.00%     3.00
               CB 14E (81MH) Daughterboard Set                                                                                               $44.95   0.00%     5.00
               CB 14E (81MH) Hinge (Left)                                                                                                     $0.00   0.00%    12.00
               CB 14E (81MH) Hinge (Right)                                                                                                    $0.00   0.00%    12.00
               CB 14E (81MH) Hinge Cover                                                                                                      $0.00   0.00%     1.00
               CB 14E (81MH) Hinge Set*                                                                                                      $74.13   0.00%     7.00
               CB 14E (81MH) Housing [Base]                                                                                                 $229.90   0.00%    11.00
               CB 14E (81MH) Housing [Hinge Cover]                                                                                           $64.29   0.00%     7.00
               CB 14E (81MH) Housing [LCD Bezel]                                                                                             $39.48   0.00%     8.00
               CB 14E (81MH) Housing [LCD Rear Cover]                                                                                       $215.38   0.00%    15.00
               CB 14E (81MH) LCD Cable                                                                                                       $52.52   0.00%     6.00
               CB 14E (81MH) LCD Panel                                                                                                    $1,305.62   0.02%    15.00
               CB 14E (81MH) Motherboard [4GB][32GB]                                                                                      $1,244.51   0.01%    15.00
               CB 14E (81MH) Palmrest w/ Keyboard                                                                                           $467.34   0.01%    16.00
               CB 14E (81MH) Speaker Set                                                                                                     $59.97   0.00%     3.00
               CB 14E (81MH) Trackpad                                                                                                         $0.00   0.00%     5.00
               CB 14E (81MH) Trackpad Cable                                                                                                   $2.99   0.00%     4.00
               CB 14E (81MH) Wi-Fi Card                                                                                                      $11.58   0.00%    12.00
               Galaxy S10 Housing [Rear] - Black                                                                                             $15.01   0.00%     2.00
               Galaxy S10 Housing [Rear] - Blue                                                                                               $6.68   0.00%     1.00
               Galaxy S10 LCD Assembly - Black                                                                                              $587.36   0.01%     2.00
               Galaxy S10 LCD Assembly - Blue                                                                                               $199.81   0.00%     1.00
               Galaxy S7 (Edge) LCD Assembly - Gold                                                                                         $124.10   0.00%     1.00
               iPad 4 Wi-Fi w/ Bluetooth Flex                                                                                                 $0.97   0.00%     2.00
               iPad 5 Audio Flex - Black                                                                                                      $4.80   0.00%     3.00
               iPad 5 Digitizer - Black                                                                                                      $25.30   0.00%     2.00
               iPad 5 Digitizer - White                                                                                                      $48.91   0.00%     3.00
               iPad 6 Audio Jack                                                                                                             $10.27   0.00%     5.00
               iPad 6 Audio Jack (Cellular)                                                                                                  $12.30   0.00%     6.00
               iPad 6 Battery                                                                                                               $318.92   0.00%    18.00
               iPad 6 Charge Port Flex [Black]                                                                                                $6.72   0.00%     3.00
               iPad 6 Digitizer - Black                                                                                                      $44.16   0.00%     4.00
               iPad 6 Digitizer - White                                                                                                       $9.54   0.00%     1.00
               iPad 6 Home Button Flex [Black]                                                                                                $8.75   0.00%     2.00
               iPad 6 Home Button Flex [White]                                                                                                $8.64   0.00%     2.00
               iPad 6 Home Button Spacer                                                                                                     $34.21   0.00%    14.00
               iPad 6 LCD Panel                                                                                                             $659.55   0.01%    12.00
               iPad 6 Microphone Flex                                                                                                        $13.02   0.00%    21.00
               iPad 6 Speaker Set                                                 https://www.mobilesentrix.com/right-left-speaker-for-ipad-air-1
                                                                                                                                              $2.91   0.00%     1.00
               iPad 6 Volume Flex                                                                                                            $26.50   0.00%     6.00
               iPad 7 (10.2) Digitizer - White                                                                                              $117.72   0.00%     6.00
               iPad 7 (10.2) LCD                                                                                                            $226.82   0.00%     2.00
               iPad 7 (9.7) LCD                                                                                                             $199.26   0.00%     2.00
               iPad 8 Digitizer - Black                                                                                                     $241.76   0.00%    16.00
               iPad 8 Home Button w/ Flex - Space Grey                                                                                       $11.94   0.00%     3.00
               iPad 8 LCD Panel                                                                                                             $325.46   0.00%     4.00
               iPad 8 Power Button Flex                                                                                                       $1.30   0.00%     1.00
               iPad Pro (11) LCD Assembly                                                                                                   $238.29   0.00%     1.00
               iPhone 11 Pro Max LCD Assembly                                                                                                $65.37   0.00%     1.00
               Latitude (3189) LCD Cable                                                                                                     $21.96   0.00%     4.00
               Latitude (3190) Battery (WDX0R)                                                                                               $57.51   0.00%     1.00
               Latitude (3190) Battery (YRDD6)                                                                                               $82.34   0.00%     1.00
               Latitude (3190) Camera [Front]                                                                                                 $0.00   0.00%     2.00
               Latitude (3190) Housing [LCD Bezel]                                                                                           $36.55   0.00%     2.00
               Latitude (3190) Housing [LCD Rear Cover]                                                                                     $140.27   0.00%     8.00
               Latitude (3190) Keyboard                                                                                                      $15.69   0.00%     2.00
               Latitude (3190) LCD                                                                                                          $183.58   0.00%     4.00
               Latitude (3190) LCD Cable                                                                                                     $82.09   0.00%     5.00
               Latitude (3190) Trackpad                                                                                                       $0.00   0.00%     2.00
               Latitude (3190) Trackpad Flex                                                                                                  $1.43   0.00%     2.00
               LCD Panel (30 Pin 14 in)                                                                                                   $1,841.01   0.02%    17.00
               LCD Panel (40 Pin 11 in) (Touch)                                                                                           $1,960.00   0.02%    28.00
               LCD Panel (40 Pin 14 in) (Touch)                                                                                             $379.27   0.00%     6.00
               LCD Panel L/R Brackets (30 Pin 11 in)                              30 Pin LCD with Left & Right Brackets                   $6,412.61   0.07%   181.00
               LCD Panel T/B Brackets (30 Pin 11 in)                              30 Pin LCD with Top & Bottom Brackets                   $3,631.06   0.04%    78.00
               Pavilion (15) CS3073CL LCD                                                                                                   $447.00   0.01%     3.00
               ProBook 310 (G2) LCD Assembly (11.6")                                                                                          $0.00   0.00%     1.00
               ProBook x360 11 (G5 EE) LCD w/ Digitizer                                                                                     $363.10   0.00%     6.00
               ProBook x360 11 (G5 EE) Palmrest w/ Keyboard                                                                                   $0.77   0.00%     1.00
               ProBook x360 11 (G5 EE) Trackpad                                                                                              $45.06   0.00%     2.00
               ProBook x360 435 (G7) Camera                                                                                                   $0.00   0.00%     1.00
               ProBook x360 435 (G7) Fan                                                                                                      $0.00   0.00%     1.00
               ProBook x360 435 (G7) Heatsink                                                                                                 $0.00   0.00%     1.00
               ProBook x360 435 (G7) Hinge Set*                                                                                               $0.00   0.00%     1.00
               ProBook x360 435 (G7) Housing [Base]                                                                                           $0.00   0.00%     2.00
               ProBook x360 435 (G7) Housing [LCD Rear Cover]                                                                                 $0.00   0.00%     2.00
               ProBook x360 435 (G7) LCD Panel                                                                                            $2,010.00   0.02%     4.00
               ProBook x360 440 (G1) Antenna                                                                                                 $64.72   0.00%     2.00
               ProBook x360 440 (G1) Battery                                                                                                  $0.00   0.00%     1.00
               ProBook x360 440 (G1) Cable Flex [HD]                                                                                          $0.00   0.00%     2.00
               ProBook x360 440 (G1) Camera                                                                                                 $457.40   0.01%     5.00
               ProBook x360 440 (G1) Daughterboard                                                                                          $117.00   0.00%     6.00
               ProBook x360 440 (G1) Daughterboard Flex                                                                                       $0.00   0.00%    10.00
               ProBook x360 440 (G1) Fan                                                                                                    $156.21   0.00%     6.00
               ProBook x360 440 (G1) Housing [Base Plate]                                                                                    $40.20   0.00%     2.00
               ProBook x360 440 (G1) Housing [Base]                                                                                         $117.27   0.00%     2.00
               ProBook x360 440 (G1) Housing [LCD Rear Cover]                                                                             $1,077.90   0.01%    17.00
               ProBook x360 440 (G1) IO Flex                                                                                                  $0.00   0.00%     5.00
               ProBook x360 440 (G1) Keyboard                                                                                               $266.82   0.00%     3.00
               ProBook x360 440 (G1) LCD Assembly                                                                                         $3,099.30   0.04%    12.00
               ProBook x360 440 (G1) LCD Board (Touch) Flex                                                                                   $0.00   0.00%     5.00
               ProBook x360 440 (G1) Palmrest                                                                                                $76.24   0.00%     2.00
               ProBook x360 440 (G1) Power Button Flex                                                                                        $0.00   0.00%     2.00
               ProBook x360 440 (G1) Trackpad                                                                                               $254.16   0.00%     8.00
               ProBook x360 440 (G1) Trackpad Flex                                                                                            $0.00   0.00%     5.00
               Stream 11 Pro (G4 EE) Battery                                                                                                $344.82   0.00%     5.00
               Stream 11 Pro (G4 EE) Camera                                                                                                  $20.61   0.00%     1.00
               Stream 11 Pro (G4 EE) Daughterboard                                                                                           $19.85   0.00%     1.00
               Stream 11 Pro (G4 EE) DC Jack                                                                                                 $15.86   0.00%     1.00
               Stream 11 Pro (G4 EE) Housing [LCD Bezel]                                                                                     $39.72   0.00%     2.00
               Stream 11 Pro (G4 EE) Housing [LCD Rear Cover]                                                                                $46.31   0.00%     1.00
               Stream 11 Pro (G4 EE) Keyboard                                                                                                $45.63   0.00%     1.00
               Stream 11 Pro (G4 EE) Motherboard                                                                                            $221.90   0.00%     1.00




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                                     Stream 11 Pro (G4 EE) Palmrest w/ Keyboard                                                                             $510.21          0.01%          6.00
                                     Stream 11 Pro (G4 EE) Power Button Board Flex                                                                           $28.66          0.00%          2.00
                                     Stream 11 Pro (G4 EE) Trackpad                                                                                          $33.23          0.00%          2.00
                                     Surface 3 (1645) Back Case Assembly                                                                                     $34.48          0.00%          1.00
                                     Surface Go 2 LCD Flex                                                                                                   $38.99          0.00%          1.00
                                     Surface Go Battery                                                                                                      $93.40          0.00%          2.00
                                     Surface Go LCD Assembly                                                                                                $954.75          0.01%          7.00
                                     Surface Pro 4 (1796) LCD                                                                                                $77.78          0.00%          1.00
                                     Surface Pro 7+ (12.3 in)(1960) LCD                                                                                     $388.70          0.00%          2.00
                                     Thinkpad L390 (20NS) LCD                                                                                                $83.50          0.00%          1.00
                                     VivoBook (Flip 14) Battery                                                                                               $0.00          0.00%          1.00
                                     VivoBook (Flip 14) Camera [Front]                                                                                        $9.94          0.00%          2.00
                                     VivoBook (Flip 14) Digitizer Board                                                                                       $2.30          0.00%          2.00
                                     VivoBook (Flip 14) Heatsink Fan                                                                                        $225.35          0.00%         10.00
                                     VivoBook (Flip 14) Hinge Set*                                                                                           $15.00          0.00%          1.00
                                     VivoBook (Flip 14) Housing [Base]                                                                                      $300.47          0.00%         10.00
                                     VivoBook (Flip 14) Housing [LCD Rear Cover]                                                                             $58.56          0.00%          3.00
                                     VivoBook (Flip 14) LCD Assembly                                                                                      $1,437.15          0.02%         10.00
                                     VivoBook (Flip 14) LCD Cable                                                                                             $3.45          0.00%          3.00
                                     VivoBook (Flip 14) Motherboard                                                                                         $405.63          0.00%          2.00
                                     VivoBook (Flip 14) Palmrest w/ Keyboard and Trackpad                                                                   $405.62          0.00%          3.00
                                     VivoBook (Flip 14) Speaker Set                                                                                          $22.53          0.00%          1.00
                                     VivoBook (Flip 14) Trackpad                                                                                             $32.80          0.00%          5.00
                                     VivoBook (Flip 14) Trackpad Flex                                                                                         $6.55          0.00%          5.00
                                     VivoBook Flip 14 TP412UA-XB51T LCD w/ Digitizer                                                                        $668.03          0.01%          6.00
                                     Winbook (300e 81FY) Housing [LCD Rear Cover]                                                                            $28.02          0.00%          2.00
                                     Winbook (300e 81M9) Battery                                                                                              $2.04          0.00%          2.00
                                     Winbook (300e 81M9) Camera Cable [WFC]                                                                                   $0.00          0.00%          2.00
                                     Winbook (300e 81M9) Camera [WFC]                                                                                         $0.00          0.00%          4.00
                                     Winbook (300e 81M9) Daughterboard Flex                                                                                  $41.56          0.00%          5.00
                                     Winbook (300e 81M9) Hinge Set*                                                                                          $13.73          0.00%          1.00
                                     Winbook (300e 81M9) Hinge [Left]                                                                                         $0.00          0.00%          1.00
                                     Winbook (300e 81M9) Hinge [Right]                                                                                        $0.00          0.00%          1.00
                                     Winbook (300e 81M9) Housing [Base]                                                                                      $19.54          0.00%          9.00
                                     Winbook (300e 81M9) Housing [Hinge Cover]                                                                                $7.50          0.00%          1.00
                                     Winbook (300e 81M9) Housing [LCD Rear Cover]                                                                           $232.74          0.00%         18.00
                                     Winbook (300e 81M9) LCD Cable                                                                                            $9.39          0.00%          4.00
                                     Winbook (300e 81M9) LCD w/ Digitizer                                                                                   $765.91          0.01%         15.00
                                     Winbook (300e 81M9) Motherboard                                                                                        $805.06          0.01%          6.00
                                     Winbook (300e 81M9) Palmrest w/ Keyboard                                                                               $103.68          0.00%          8.00
                                     Winbook (300e 81M9) Palmrest w/ Keyboard and Trackpad                                                                   $29.63          0.00%          1.00
                                     Winbook (300e 81M9) Pen Sensor Board w/ Cable                                                                            $0.06          0.00%          2.00
                                     Winbook (300e 81M9) Spine Cover                                                                                          $2.69          0.00%          2.00
                                     Winbook (300e 81M9) Trackpad                                                                                             $1.41          0.00%          3.00
                                     Winbook (300e 81M9) Trackpad Flex                                                                                        $5.94          0.00%         14.00
                                     Winbook (300e 81M9) Trackpad Flex (WFC)                                                                                  $3.48          0.00%          4.00
                                     Winbook (300e 81M9) Wi-Fi Card                                                                                           $7.75          0.00%          3.00
                                     Yoga (N23) LCD w/ Digitizer                                                                                             $85.00          0.00%          1.00
                                     Yoga 11e (20LM) Wi-Fi Card                                                                                               $7.46          0.00%          1.00
      Total - Inventory Item                                                                                                                            $229,761.89          2.65%      8,406.00
   Total - 1430 - San Antonio, TX                                                                                                                       $232,701.14          2.69%      8,455.00
   1431 - Fort Worth, TX
      Inventory Item
                                     ## CB 11 (3100 P30T) Trackpad ##                                                                                          $9.47         0.00%          1.00
                                     ## CB 11 (G8 EE) Daughterboard ##                                                                                       $179.90         0.00%         10.00
                                     ## CB 11A (G8 EE) Trackpad Flex ##                                                                                        $0.00         0.00%          1.00
                                     CB 11 (300e 81QC) LCD w/ Digitizer                                                                                      $328.83         0.00%          4.00
                                     CB 11 (300e 81QC) Motherboard [4GB] [32GB]                                                                              $112.77         0.00%          1.00
                                     CB 11 (300e 81QC) Palmrest w/ Keyboard                                                                                  $101.82         0.00%          6.00
                                     CB 11 (300e 81QC) Palmrest w/ Keyboard and Trackpad                                                                       $0.00         0.00%          1.00
                                     CB 11 (3100 P29T Non-Touch)(TC6KM) Trackpad                                                                               $0.00         0.00%          2.00
                                     CB 11 x360 (G3 EE) LCD w/ Digitizer (Finger-Touch)                                                                       $88.18         0.00%          1.00
                                     CB 11 x360 (G3 EE) Palmrest w/ Keyboard                                                                                 $141.86         0.00%          4.00
                                     CB 11 x360 (G3 EE) Wi-Fi Card                                                                                             $0.00         0.00%         32.00
                                     LCD Panel L/R Brackets (30 Pin 11 in)                                30 Pin LCD with Left & Right Brackets               $49.62         0.00%          1.00
                                     SM-CS-LP404                                                          Rugged - Dual Injected Case for LENOVO 300e/500e 2nd
                                                                                                                                                           $1,187.07
                                                                                                                                                               Gen Chr/Win Intel/MTK
                                                                                                                                                                             0.01%        146.00
        Total - Inventory Item                                                                                                                             $2,199.52         0.03%        210.00
   Total - 1431 - Fort Worth, TX                                                                                                                           $2,199.52         0.03%        210.00
Total - West                                                                                                                                             $569,315.23         6.57%     22,764.00
Central
   1103 - Kennesaw 2
        Assembly/Bill of Materials
                                     ## CB 11 (G5 EE) ##                                                                                                  $47,007.52         0.54%       532.00
                                     ## CB 11 (P22T) ##                                                                                                      $346.65         0.00%         5.00
                                     (A2C) Elitebook 820 (G1)                                                                                                  $0.00         0.00%        12.00
                                     (A2C) EliteBook 840 (G3)                                                                                                  $0.00         0.00%         5.00
                                     (A2C) Latitude (E5470)                                                                                                    $0.00         0.00%         9.00
                                     (A2C) Latitude (E7240)                                                                                                    $0.00         0.00%        12.00
                                     (A2C) Latitude (E7440)                                                                                                    $0.00         0.00%        12.00
                                     (A2C) Thinkpad T440 (20B7)                                                                                                $0.00         0.00%        12.00
                                     (A2C) Thinkpad X240                                                                                                       $0.00         0.00%         9.00
                                     (Serialized) CB 11 x360 (G3 EE)                                                                                         $293.91         0.00%         1.00
                                     (Serialized) CB 14c x360 (CA0053DX)                                                                                     $325.00         0.00%         1.00
                                     (Serialized) Latitude (E7270)                                                                                           $799.92         0.01%         2.00
                                     (Serialized) Stream 11 Pro (G5)                                                                                         $249.99         0.00%         1.00
                                     (Serialized) Surface Go                                                                                                 $381.87         0.00%         1.00
                                     (Serialized) Surface Go 2                                                                                             $1,938.96         0.02%         3.00
                                     (Serialized) Thinkpad (20GE)                                                                                            $444.00         0.01%         6.00
                                     CB 10e (82AM)                                                                                                         $5,769.84         0.07%        24.00
                                     CB 11 (100e 81ER)                                                                                                     $1,020.00         0.01%        12.00
                                     CB 11 (100e 81MA)                                                                                                     $2,820.00         0.03%        12.00
                                     CB 11 (100e 82CD) AST                                                                                                 $9,952.85         0.11%        48.00
                                     CB 11 (300e 81MB)                                                                                                       $269.15         0.00%         1.00
                                     CB 11 (300e 82CE)                                                                                                     $2,565.00         0.03%         9.00
                                     CB 11 (300e 82J9000EUS)                                                                                                   $0.00         0.00%         3.00
                                     CB 11 (3100 P29T Non-Touch)(0JWC5)[w/DB]                                                                              $5,750.00         0.07%        50.00
                                     CB 11 (3100 P29T Non-Touch)(TC6KM)                                                                                      $272.32         0.00%         1.00
                                     CB 11 (3100 P29T Touch)(30J93)                                                                                        $5,717.52         0.07%        41.00
                                     CB 11 (3100 P30T 2-in-1)(NRCK2)                                                                                      $55,085.43         0.64%       241.00
                                     CB 11 (3120)                                                                                                            $169.98         0.00%         2.00
                                     CB 11 (3180)                                                                                                          $1,483.48         0.02%        11.00
                                     CB 11 (3189)                                                                                                          $1,230.95         0.01%        10.00
                                     CB 11 (500e 81MC)                                                                                                     $2,586.95         0.03%         7.00
                                     CB 11 (5190)                                                                                                            $123.13         0.00%         2.00
                                     CB 11 (5190) 2-in-1                                                                                                   $7,974.76         0.09%        49.00
                                     CB 11 (C202SA)                                                                                                          $419.08         0.00%         3.00
                                     CB 11 (C204EE)                                                                                                          $505.99         0.01%         2.00
                                     CB 11 (C204MA)                                                                                                       $10,531.64         0.12%        43.00
                                     CB 11 (C722)                                                                                                            $530.45         0.01%         2.00
                                     CB 11 (C733-C5AS)                                                                                                       $492.97         0.01%         2.00
                                     CB 11 (C740)                                                                                                             $99.51         0.00%         1.00
                                     CB 11 (CP311-2H)                                                                                                        $488.00         0.01%         2.00
                                     CB 11 (G1)                                                                                                                $0.00         0.00%         3.00
                                     CB 11 (G4 EE)                                                                                                           $929.60         0.01%         7.00
                                     CB 11 (G6 EE Non-Touch)                                                                                               $3,075.00         0.04%        41.00
                                     CB 11 (G8 EE Non-Touch)                                                                                               $3,478.28         0.04%        25.00
                                     CB 11 (G8 EE Touch)                                                                                                   $1,260.75         0.01%         5.00
                                     CB 11 (N22 80SF)                                                                                                     $20,254.86         0.23%       162.00
                                     CB 11 (N23)                                                                                                             $710.00         0.01%        12.00




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                                      CB 11 (NL7L LTE)                                                                   $1,277.06   0.01%       4.00
                                      CB 11 (R721T)                                                                      $1,136.97   0.01%       5.00
                                      CB 11 (R751T)                                                                      $5,024.24   0.06%      13.00
                                      CB 11 (R752T)                                                                      $6,501.41   0.08%      25.00
                                      CB 11 (R752TN)                                                                     $2,568.02   0.03%       5.00
                                      CB 11 (R851TN)                                                                     $7,822.10   0.09%      20.00
                                      CB 11 (RC738T)                                                                     $6,474.37   0.07%      73.00
                                      CB 11 (XE500C13-K04US)                                                               $236.99   0.00%       2.00
                                      CB 11 (XE503C12)                                                                     $492.88   0.01%       4.00
                                      CB 11 4 (XE310XBA-K01US)                                                             $127.79   0.00%       1.00
                                      CB 11 4 (XE310XBA-K04US)                                                             $177.77   0.00%       1.00
                                      CB 11 4 (XE310XBA-KB1US)                                                             $194.46   0.00%       1.00
                                      CB 11 x360 (G3 EE)                                                                 $1,047.77   0.01%       4.00
                                      CB 11A (G8 EE Non-Touch)                                                          $10,991.69   0.13%      82.00
                                      CB 11A (G8 EE Touch)                                                               $1,264.95   0.01%       5.00
                                      CB 11A-NB0013DX                                                                      $421.99   0.00%       3.00
                                      CB 11MK x360 (G3 EE)                                                               $3,940.25   0.05%      31.00
                                      CB 13 (CP713-1WN)                                                                    $617.95   0.01%       1.00
                                      CB 13 (CP713-2WN)                                                                      $0.00   0.00%       2.00
                                      CB 14 (C423NA-1A)                                                                    $832.17   0.01%       3.00
                                      CB 14 (C423NA-BCLN5)                                                                 $345.89   0.00%       2.00
                                      CB 14 (DB0023DX)                                                                     $451.89   0.01%       2.00
                                      CB 14 (Flip C433TA)                                                                    $0.00   0.00%       1.00
                                      CB 14 (G4)                                                                           $440.00   0.01%       2.00
                                      CB 14 (G5 Non-Touch)                                                                   $0.00   0.00%       4.00
                                      CB 14 (G6)                                                                           $626.23   0.01%       2.00
                                      CB 14A (G5 Non-Touch)                                                              $1,069.36   0.01%       4.00
                                      CB 14A (G5 Touch)                                                                 $21,352.42   0.25%      76.00
                                      CB 14A (NA0061DX)                                                                    $399.98   0.00%       2.00
                                      CB 14b (CA0013DX)                                                                    $243.73   0.00%       1.00
                                      CB 14c x360 (CA0053DX)                                                             $1,894.92   0.02%       5.00
                                      CB 14E (81MH)                                                                      $2,099.35   0.02%       8.00
                                      CB 15 4+ (XE350XBA-K05US)                                                            $306.96   0.00%       1.00
                                      CB Tab (CT100PA)                                                                     $777.98   0.01%       2.00
                                      EliteBook 840 (G6)                                                                 $3,558.00   0.04%       2.00
                                      EliteBook x360 1030 (G4)                                                           $4,999.95   0.06%       5.00
                                      Galaxy S9                                                                            $239.99   0.00%       1.00
                                      Galaxy Tab 3 (10.1)                                                                   $13.80   0.00%       1.00
                                      Galaxy Tab A (T387)                                                                  $148.00   0.00%       1.00
                                      Galaxy Tab S (SM-T807T)                                                               $13.80   0.00%       1.00
                                      Galaxy Tab S7 5G (SM-T878U)                                                        $1,499.98   0.02%       2.00
                                      Ideapad 3 (82BA)                                                                       $0.00   0.00%       1.00
                                      Ideapad 3 (82H4)                                                                     $265.66   0.00%       1.00
                                      Ideapad Duet (ZA6F)                                                                  $825.00   0.01%       3.00
                                      Inspiron 11 (3181)                                                                     $0.00   0.00%       1.00
                                      iPad 6                                                                             $1,412.51   0.02%       4.00
                                      iPad 7 (10.2)                                                                      $4,046.82   0.05%      12.00
                                      iPad 8                                                                               $704.95   0.01%       1.00
                                      iPad Air 1                                                                           $716.00   0.01%       4.00
                                      iPad Air 2                                                                           $205.00   0.00%       1.00
                                      iPad Mini 4                                                                          $264.99   0.00%       1.00
                                      Latitude (3180)                                                                      $347.14   0.00%       1.00
                                      Latitude (3189)                                                                    $1,356.98   0.02%       7.00
                                      Latitude (3190)                                                                    $3,893.53   0.04%      17.00
                                      Latitude (3390)                                                                    $1,927.62   0.02%       4.00
                                      Latitude (3410)                                                                        $0.00   0.00%       1.00
                                      Latitude (5420)(2T9RC)                                                             $1,866.65   0.02%       2.00
                                      Latitude (E7250)                                                                     $244.68   0.00%       1.00
                                      Latitude 5511 (D91GW)(Non-Touch)                                                   $1,184.99   0.01%       1.00
                                      Macbook Air (A1466)                                                                  $230.00   0.00%       1.00
                                      Macbook Air 13in 2020 (A2179)                                                        $892.49   0.01%       1.00
                                      Notebook (BR1100CKA)                                                                 $249.29   0.00%       1.00
                                      Philly 11A (G8EE) POOL                                                                 $0.00   0.00%   4,300.00
                                      ProBook 11 (G2 EE)                                                                 $9,500.00   0.11%      50.00
                                      ProBook 430 (G7)                                                                   $4,396.00   0.05%       4.00
                                      ProBook x360 11 (G1 EE)                                                            $2,410.62   0.03%      11.00
                                      ProBook x360 435 (G7)                                                                $749.99   0.01%       1.00
                                      Spin 5 (SP513-53N-56CR)                                                              $859.99   0.01%       1.00
                                      Stream 11 Pro (G4 EE)                                                                $382.20   0.00%       2.00
                                      Surface 3 (1645)                                                                   $1,782.56   0.02%       8.00
                                      Surface Go                                                                           $946.18   0.01%       2.00
                                      Surface Go 2                                                                       $9,395.87   0.11%      25.00
                                      Surface Laptop 3 (13.5 in)(1868) - Black                                           $2,099.97   0.02%       3.00
                                      Surface Laptop 4 (13.5 in)(1950)                                                     $827.45   0.01%       1.00
                                      Surface Pro 7 (12.3 in)                                                              $769.99   0.01%       1.00
                                      Surface Pro 7+ (12.3 in)(1960)                                                     $2,455.99   0.03%       2.00
                                      Thinkpad (20LR)                                                                    $2,013.41   0.02%       5.00
                                      Thinkpad 11e (20DAS06U00)(Non-Touch)                                                 $237.40   0.00%       2.00
                                      Thinkpad C13 (20UX-001PUS)                                                         $1,346.29   0.02%       3.00
                                      Thinkpad L380 (20M6)                                                                 $784.99   0.01%       2.00
                                      Thinkpad Yoga 11e (20SE)                                                             $609.89   0.01%       1.00
                                      Travelmate (B311RN)                                                                  $691.78   0.01%       2.00
                                      TravelMate (P214)                                                                  $3,838.80   0.04%       6.00
                                      VivoBook Flip 14 (TP412UA-XB51T)                                                     $628.81   0.01%       1.00
                                      Winbook (300e 81M9)                                                                $3,724.95   0.04%      10.00
                                      Winbook 11 (100E 81M8)                                                             $5,852.01   0.07%      21.00
                                      Winbook 11 (300e 82GK)                                                               $550.98   0.01%       2.00
                                      Yoga (N23)                                                                           $364.99   0.00%       3.00
                                      Yoga 11e (20G8)                                                                      $209.99   0.00%       1.00
                                      Yoga 11e (20LM)                                                                    $1,867.95   0.02%       5.00
                                      Yoga 11e (20LN)                                                                      $349.00   0.00%       1.00
 Total - Assembly/Bill of Materials                                                                                    $369,270.72   4.26%   6,408.00
 Inventory Item
                                      ## LCD Panel (30 Pin 11 in) (Touch) ##                                             $2,976.88   0.03%     60.00
                                      ## CB 11 (3100 P29T) Battery Cable ##                                                  $3.79   0.00%      2.00
                                      ## CB 11 (3100 P29T) Camera Cable (WFC) ##                                             $1.39   0.00%      1.00
                                      ## CB 11 (3100 P29T) Daughterboard ##                                                $125.05   0.00%      7.00
                                      ## CB 11 (3100 P29T) Hinge Set* ##                                                   $134.95   0.00%      5.00
                                      ## CB 11 (3100 P29T) Hinge [Left] ##                                                   $3.66   0.00%      1.00
                                      ## CB 11 (3100 P29T) Housing [Base] ##                                             $3,072.47   0.04%    181.00
                                      ## CB 11 (3100 P29T) Housing [LCD Bezel] ##                                          $609.52   0.01%     43.00
                                      ## CB 11 (3100 P29T) Keyboard ##                                                   $4,368.47   0.05%    232.00
                                      ## CB 11 (3100 P29T) LCD Cable ##                                                     $58.28   0.00%      8.00
                                      ## CB 11 (3100 P29T) LCD Panel (Touch) ##                                            $308.41   0.00%      3.00
                                      ## CB 11 (3100 P29T) Palmrest ##                                                     $663.97   0.01%     39.00
                                      ## CB 11 (3100 P29T) Speaker Set ##                                                   $10.19   0.00%      5.00
                                      ## CB 11 (3100 P29T) Trackpad ##                                                       $6.73   0.00%      2.00
                                      ## CB 11 (3100 P29T) Trackpad Bracket ##                                              $10.21   0.00%      1.00
                                      ## CB 11 (3100 P30T) Daughterboard ##                                                $154.07   0.00%     12.00
                                      ## CB 11 (3100 P30T) Hinge Set* ##                                                     $7.34   0.00%      1.00
                                      ## CB 11 (3100 P30T) Hinge [Right] ##                                                  $1.98   0.00%      1.00
                                      ## CB 11 (3100 P30T) Housing [Base] ###                                               $30.76   0.00%      2.00
                                      ## CB 11 (3100 P30T) Housing [LCD Rear Cover] ##                                     $125.12   0.00%      6.00
                                      ## CB 11 (3100 P30T) LCD Cable ##                                                      $4.99   0.00%      1.00
                                      ## CB 11 (3100 P30T) Motherboard ##                                                  $163.11   0.00%      2.00
                                      ## CB 11 (3100 P30T) Speaker Set ##                                                   $26.42   0.00%      5.00
                                      ## CB 11 (3100 P30T) Trackpad ##                                                     $174.65   0.00%     14.00
                                      ## CB 11 (3100 P30T) Trackpad Flex ##                                                  $5.00   0.00%      1.00
                                      ## CB 11 (500e 81MC) Loudspeaker Set (L w/ R) ##                                      $22.66   0.00%      3.00




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               ## CB 11 (C202SA) Keyboard ##                                                              $21.49   0.00%     1.00
               ## CB 11 (G5 EE) Battery ##                                                               $194.28   0.00%     6.00
               ## CB 11 (G5 EE) Camera ##                                                                 $67.73   0.00%     4.00
               ## CB 11 (G5 EE) DC Jack ##                                                               $931.71   0.01%    71.00
               ## CB 11 (G5 EE) Housing [Base] ##                                                        $173.27   0.00%    15.00
               ## CB 11 (G5 EE) Housing [LCD Bezel] ##                                                   $135.21   0.00%     8.00
               ## CB 11 (G5 EE) Housing [LCD Rear Cover] ##                                               $23.80   0.00%     3.00
               ## CB 11 (G5 EE) LCD Cable ##                                                             $271.42   0.00%    24.00
               ## CB 11 (G5 EE) LCD Panel ##                                                              $55.13   0.00%     1.00
               ## CB 11 (G5 EE) Motherboard [4GB] [32GB] ##                                            $2,230.07   0.03%    18.00
               ## CB 11 (G5 EE) Palmrest w/ Keyboard ##                                                  $677.02   0.01%    12.00
               ## CB 11 (G5 EE) Palmrest w/ Keyboard and Trackpad ##                                       $0.00   0.00%     1.00
               ## CB 11 (G5 EE) Speaker Set ##                                                            $10.79   0.00%     1.00
               ## CB 11 (G5 EE) Trackpad ##                                                              $254.19   0.00%    12.00
               ## CB 11 (G5 EE) Trackpad Flex ##                                                           $8.38   0.00%    10.00
               ## CB 11 (G6 EE Non-Touch) Keyboard ##                                                    $456.22   0.01%    12.00
               ## CB 11 (G6 EE) Battery ##                                                               $738.54   0.01%    55.00
               ## CB 11 (G6 EE) Camera ###                                                             $1,997.61   0.02%   104.00
               ## CB 11 (G6 EE) Camera Cable ##                                                           $19.57   0.00%    15.00
               ## CB 11 (G6 EE) Daughterboard ##                                                         $206.13   0.00%    24.00
               ## CB 11 (G6 EE) Daughterboard Flex Set ##                                                 $31.63   0.00%    26.00
               ## CB 11 (G6 EE) Hinge Set ##                                                             $650.47   0.01%    45.00
               ## CB 11 (G6 EE) Hinge [Left] ##                                                           $84.60   0.00%    34.00
               ## CB 11 (G6 EE) Hinge [Right] ##                                                         $101.47   0.00%    30.00
               ## CB 11 (G6 EE) Housing [Base] ##                                                         $38.66   0.00%    19.00
               ## CB 11 (G6 EE) Housing [Hinge Cover] ##                                                   $2.76   0.00%     2.00
               ## CB 11 (G6 EE) Housing [LCD Bezel] ##                                                   $119.53   0.00%    39.00
               ## CB 11 (G6 EE) Housing [LCD Rear Cover] ##                                               $21.06   0.00%     2.00
               ## CB 11 (G6 EE) Housing [Rear Cover] ##                                                   $38.66   0.00%     1.00
               ## CB 11 (G6 EE) LCD Cable ##                                                              $28.10   0.00%     4.00
               ## CB 11 (G6 EE) LCD Panel ##                                                               $0.96   0.00%     1.00
               ## CB 11 (G6 EE) LCD Panel (Touch) ##                                                     $116.00   0.00%     2.00
               ## CB 11 (G6 EE) Speaker Set ##                                                           $254.59   0.00%    52.00
               ## CB 11 (G6 EE) Trackpad ##                                                              $498.14   0.01%    67.00
               ## CB 11 (G6 EE) Trackpad Flex ##                                                          $82.22   0.00%    55.00
               ## CB 11 (G7 EE) Battery ##                                                                $50.00   0.00%     2.00
               ## CB 11 (G7 EE) Camera ##                                                                 $77.00   0.00%     5.00
               ## CB 11 (G7 EE) Hinge Set ##                                                             $174.24   0.00%    11.00
               ## CB 11 (G7 EE) Housing [Base] ##                                                         $29.00   0.00%     1.00
               ## CB 11 (G7 EE) LCD Cable ##                                                              $42.00   0.00%     7.00
               ## CB 11 (G7 EE) Palmrest w/ Keyboard ##                                                   $48.55   0.00%     2.00
               ## CB 11 (G7 EE) Trackpad ##                                                              $290.75   0.00%    11.00
               ## CB 11 (G8 EE) Battery ##                                                               $180.31   0.00%     7.00
               ## CB 11 (G8 EE) Camera ##                                                                $144.75   0.00%    10.00
               ## CB 11 (G8 EE) Daughterboard ##                                                          $68.78   0.00%     4.00
               ## CB 11 (G8 EE) Daughterboard Flex ##                                                    $162.27   0.00%     9.00
               ## CB 11 (G8 EE) Hinge Cover ##                                                            $28.05   0.00%     2.00
               ## CB 11 (G8 EE) Hinge Set* ##                                                            $527.87   0.01%    45.00
               ## CB 11 (G8 EE) Hinge [Left] ##                                                            $0.92   0.00%     1.00
               ## CB 11 (G8 EE) Housing [Base] ##                                                      $1,109.58   0.01%    43.00
               ## CB 11 (G8 EE) Housing [LCD Rear Cover] ##                                               $60.31   0.00%     3.00
               ## CB 11 (G8 EE) LCD Cable ##                                                             $216.00   0.00%    18.00
               ## CB 11 (G8 EE) LCD Panel ##                                                              $50.24   0.00%     1.00
               ## CB 11 (G8 EE) Palmrest w/ Keyboard ##                                                  $251.40   0.00%     8.00
               ## CB 11A (G6 EE) Battery ##                                                              $124.84   0.00%    21.00
               ## CB 11A (G6 EE) Camera ##                                                                $12.07   0.00%     1.00
               ## CB 11A (G6 EE) Daughterboard ##                                                          $8.69   0.00%     1.00
               ## CB 11A (G6 EE) Hinge [Left] ##                                                          $29.15   0.00%     7.00
               ## CB 11A (G6 EE) Hinge [Right] ##                                                         $41.92   0.00%    13.00
               ## CB 11A (G6 EE) LCD Panel ##                                                            $287.91   0.00%     6.00
               ## CB 11A (G6 EE) Motherboard [4GB] [32GB] ##                                             $652.35   0.01%     6.00
               ## CB 11A (G6 EE) Speaker Set ##                                                           $41.47   0.00%     8.00
               ## CB 11A (G6 EE) Trackpad ##                                                              $38.80   0.00%     8.00
               ## CB 11A (G6 EE) Trackpad Support Bracket ##                                               $0.00   0.00%     1.00
               ## CB 11A (G8 EE) Battery ##                                                               $32.77   0.00%     3.00
               ## CB 11A (G8 EE) Camera ##                                                               $236.95   0.00%    11.00
               ## CB 11A (G8 EE) Daughterboard ##                                                        $700.77   0.01%   112.00
               ## CB 11A (G8 EE) Daughterboard Flex Set ##                                                $92.64   0.00%    12.00
               ## CB 11A (G8 EE) Hinge Set* ##                                                           $137.34   0.00%     6.00
               ## CB 11A (G8 EE) Hinge [Left] ##                                                         $228.29   0.00%    32.00
               ## CB 11A (G8 EE) Hinge [Right] ##                                                        $119.47   0.00%    16.00
               ## CB 11A (G8 EE) Housing [Base] ##                                                       $755.55   0.01%    30.00
               ## CB 11A (G8 EE) Housing [LCD Rear Cover] ##                                             $468.70   0.01%    20.00
               ## CB 11A (G8 EE) LCD Panel ##                                                             $66.43   0.00%     1.00
               ## CB 11A (G8 EE) Motherboard ##                                                        $7,092.06   0.08%    47.00
               ## CB 11A (G8 EE) Palmrest w/ Keyboard ##                                                 $346.67   0.00%     7.00
               ## CB 11A (G8 EE) Palmrest w/ Keyboard and Trackpad ##                                     $50.29   0.00%     1.00
               ## CB 11A (G8 EE) Trackpad ##                                                              $19.57   0.00%     2.00
               ## CB 14 (G5) Camera ##                                                                    $55.73   0.00%     5.00
               ## CB 14 (G5) Camera Cable ##                                                             $389.37   0.00%    26.00
               ## CB 14 (G5) Daughterboard ##                                                              $0.58   0.00%     1.00
               ## CB 14 (G5) Housing [LCD Rear Cover] ##                                                   $9.86   0.00%     1.00
               ## CB 14 (G5) LCD Cable ##                                                                 $95.92   0.00%    12.00
               ## CB 14 (G5) LCD Cable (Touch) ##                                                        $377.12   0.00%    47.00
               ## CB 14 (G5) LCD Panel ##                                                                $340.42   0.00%    10.00
               ## CB 14 (G5) LCD Panel (Touch) ##                                                      $3,379.62   0.04%    43.00
               ## CB 14 (G5) Palmrest w/ Keyboard ##                                                     $122.10   0.00%     3.00
               ## CB 14 (G5) Trackpad ##                                                                   $9.52   0.00%     8.00
               ## CB 14 (G5) Trackpad Flex ##                                                             $63.54   0.00%     5.00
               ## CB 14A (G5) Battery ##                                                                   $0.00   0.00%     3.00
               ## CB 14A (G5) Camera ##                                                                   $70.74   0.00%     4.00
               ## CB 14A (G5) Camera Cable ##                                                             $39.96   0.00%     4.00
               ## CB 14A (G5) Daughterboard ##                                                             $6.29   0.00%     1.00
               ## CB 14A (G5) Housing [Rear Cover] ##                                                     $51.14   0.00%     3.00
               ## CB 14A (G5) Palmrest w/ Keyboard ##                                                  $1,404.59   0.02%    25.00
               ## CB 14A (G5) Trackpad ##                                                                  $0.00   0.00%     1.00
               ## Thinkpad 11e (20DA) Keyboard ##                                                        $129.35   0.00%     6.00
               ## Thinkpad 11e (20DA) Motherboard (Non-Touch) ##                                         $368.20   0.00%     7.00
               ## Thinkpad 11e (20DA) Motherboard (Touch) ##                                             $479.97   0.01%     6.00
               ## Thinkpad 11e (20DA) Palmrest ##                                                         $16.00   0.00%     1.00
               ### CB 11 (3100 P30T) Palmrest w/ Keyboard ##                                             $457.63   0.01%    13.00
               (A2C) Elitebook 720 (G1) Battery                                                            $0.00   0.00%     1.00
               (A2C) Elitebook 820 (G1) Housing [LCD Rear Cover]                                           $0.00   0.00%     4.00
               (A2C) EliteBook 820 (G1) Keyboard                                                           $0.00   0.00%     5.00
               (A2C) EliteBook 820 (G1) Motherboard                                                        $0.00   0.00%     3.00
               (A2C) EliteBook 820 (G1) Trackpad                                                           $0.00   0.00%     5.00
               (A2C) Elitebook 820 (G2) Battery                                                            $0.00   0.00%     5.00
               (A2C) EliteBook 840 (G1) Housing [LCD Bezel]                                                $0.00   0.00%    19.00
               (A2C) EliteBook 840 (G1) Housing [LCD Rear Cover]                                           $0.00   0.00%     5.00
               (A2C) Elitebook 840 (G1) Keyboard                                                           $0.00   0.00%    12.00
               (A2C) EliteBook 840 (G1) LCD Assembly                                                       $0.00   0.00%    12.00
               (A2C) Elitebook 840 (G1) Motherboard                                                        $0.00   0.00%    16.00
               (A2C) EliteBook 840 (G1) Palmrest                                                           $0.00   0.00%     9.00
               (A2C) EliteBook 840 (G1) Trackpad                                                           $0.00   0.00%    10.00
               (A2C) Elitebook 840 (G3) Motherboard                                                        $0.00   0.00%    10.00
               (A2C) Elitebook 850 (G2) Battery                                                            $0.00   0.00%    10.00
               (A2C) Intel Dual-Band Wireless Card 7260                                                    $0.00   0.00%    20.00
               (A2C) Latitude (E5470) AC Adapter                                                           $0.00   0.00%    11.00
               (A2C) Latitude (E5470) Camera                                                               $0.00   0.00%     5.00




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               (A2C) Latitude (E5470) Camera Cable                                                                                                              $0.00          0.00%     1.00
               (A2C) Latitude (E5470) Keyboard                                                                                                                  $0.00          0.00%     8.00
               (A2C) Latitude (E7240) Battery                                                                                                                   $0.00          0.00%     5.00
               (A2C) Latitude (E7240) Housing [LCD Bezel]                                                                                                       $0.00          0.00%     5.00
               (A2C) Latitude (E7240) Housing [LCD Rear Cover]                                                                                                  $0.00          0.00%     5.00
               (A2C) Latitude (E7240) Keyboard                                                                                                                  $0.00          0.00%    14.00
               (A2C) Latitude (E7240) LCD                                                                                                                       $0.00          0.00%     9.00
               (A2C) Latitude (E7240) Motherboard                                                                                                               $0.00          0.00%     5.00
               (A2C) Latitude (E7240) Palmrest                                                                                                                  $0.00          0.00%     5.00
               (A2C) Latitude (E7440) Battery                                                                                                                   $0.00          0.00%    22.00
               (A2C) Latitude (E7440) Fan                                                                                                                       $0.00          0.00%     3.00
               (A2C) Latitude (E7440) Housing [LCD Bezel]                                                                                                       $0.00          0.00%     8.00
               (A2C) Latitude (E7440) Housing [LCD Rear Cover]                                                                                                  $0.00          0.00%     9.00
               (A2C) Latitude (E7440) Keyboard                                                                                                                  $0.00          0.00%    50.00
               (A2C) Latitude (E7440) Motherboard                                                                                                               $0.00          0.00%    23.00
               (A2C) Latitude (E7440) Palmrest                                                                                                                  $0.00          0.00%    12.00
               (A2C) SSD 224 GB                                                                                                                                 $0.00          0.00%    21.00
               (A2C) Thinkpad (T440) Battery                                                                                                                    $0.00          0.00%     4.00
               (A2C) Thinkpad (T440) Housing [Inner Bezel]                                                                                                      $0.00          0.00%     9.00
               (A2C) Thinkpad (T440) Housing [LCD Bezel]                                                                                                        $0.00          0.00%     9.00
               (A2C) Thinkpad (T440) Housing [LCD Rear Cover]                                                                                                   $0.00          0.00%    17.00
               (A2C) Thinkpad (T440) Keyboard                                                                                                                   $0.00          0.00%     7.00
               (A2C) Thinkpad (T440) Motherboard                                                                                                                $0.00          0.00%     8.00
               (A2C) Thinkpad (T440) Palmrest                                                                                                                   $0.00          0.00%    10.00
               (A2C) Thinkpad (T440) Trackpad                                                                                                                   $0.00          0.00%    20.00
               (A2C) Thinkpad (T440) Wi-Fi Card                                                                                                                 $0.00          0.00%     7.00
               (A2C) Thinkpad (X240) Battery                                                                                                                    $0.00          0.00%     3.00
               (A2C) Thinkpad (X240) Housing [LCD Bezel]                                                                                                        $0.00          0.00%     5.00
               (A2C) Thinkpad (X240) Motherboard                                                                                                                $0.00          0.00%     3.00
               (A2C) Thinkpad (X240) Palmrest                                                                                                                   $0.00          0.00%     5.00
               (A2C) Thinkpad T460S LCD Panel                                                                                                                   $0.00          0.00%    19.00
               (A2C) Thinkpad T460s LCD Rear Housing                                                                                                            $0.00          0.00%     2.00
               (A2C) ThinkPad T470S Trackpad                                                                                                                    $0.00          0.00%     1.00
               (A2C) Thinkpad T480s Keyboard                                                                                                                    $0.00          0.00%     7.00
               (A2C) Thinkpad X240 Housing [LCD Rear Cover]                                                                                                     $0.00          0.00%    10.00
               (A2C) Thinkpad X240 Keyboard                                                                                                                     $0.00          0.00%     4.00
               (A2C) Thinkpad X240 LCD Panel                                                                                                                    $0.00          0.00%     3.00
               (A2C) Thinkpad X240 Trackpad                                                                                                                     $0.00          0.00%     5.00
               (Cons) CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB][16GB] (Non-Touch) - 0GD6HC                                                           $0.00          0.00%     1.00
               (Cons) CB 11 (3100 P29T Touch)(30J93) Motherboard [4GB] [32GB] w/ DB Connector - 0W1C7C                                                          $0.00          0.00%     1.00
               (Cons) Elitebook 740 (G1) Battery                                                                                                                $0.00          0.00%    12.00
               (Cons) Elitebook 820 (G1) Battery                                                                                                                $0.00          0.00%     2.00
               (Cons) Elitebook 820 (G1) Palmrest                                                                                                               $0.00          0.00%     5.00
               (Cons) Elitebook 840 (G3) Battery                                                                                                                $0.00          0.00%     9.00
               (Cons) Latitude (E7440) Housing [LCD Rear Cover]                                                                                                 $0.00          0.00%     8.00
               (Cons) Memory [8GB]                                                                                                                              $0.00          0.00%    29.00
               (Cons) Notebook (CM03XL) Battery                                                                                                                 $0.00          0.00%    16.00
               (Cons) Thinkpad X240 Keyboard                                                                                                                    $0.00          0.00%     5.00
               01C000E01                                                                                 DropTech Acer Chromebook Spin 511 (R752)- Black      $750.00          0.01%    50.00
               01C001                                                                                    DropTech Acer Chromebook 311 (C721)                  $234.00          0.00%    18.00
               01H009E01-0                                                                               01H009E01-1 (DropTech HP CB x360 11 G3 EE – Black)   $690.00          0.01%    46.00
               XX-XXXXXXX                                                                                Case Only Acer C731 Chromebook - Rapt Trans Smk/Bk $0.00              0.00%     1.00
               XX-XXXXXXX                                                                                Case Only Acer R751TN-C5P3 Tra Smk/Bk                  $0.00          0.00%     9.00
               AC-BG-CBT-10-CLR-R                                                                        Battle Glass for Acer Chromebook Tab 10 & Asus Chromebook
                                                                                                                                                               $41.25Tab 10    0.00%     3.00
               AC-ES-CBT-10-BLK                                                                          Extreme Shell for Acer Chromebook Tab 10 & Asus Chromebook
                                                                                                                                                               $41.25 Tab 10   0.00%     3.00
               BT-DL3180CS-BLK                                                                           Dell Chromebook 11“ 3180 CS - BumpTech - Black       $158.10          0.00%    12.00
               CB 10e (82AM) Battery                                                                                                                           $24.99          0.00%     1.00
               CB 10e (82AM) LCD EDP Cable                                                                                                                     $15.99          0.00%     1.00
               CB 10e (82AM) LCD Panel                                                                                                                        $648.70          0.01%     4.00
               CB 10e (82AM) Motherboard                                                                                                                      $301.49          0.00%     2.00
               CB 11 (100e 81ER) Battery                                                                                                                    $2,720.22          0.03%   123.00
               CB 11 (100e 81ER) Camera                                                                                                                        $68.17          0.00%    16.00
               CB 11 (100e 81ER) Daughterboard                                                                                                                $483.60          0.01%    61.00
               CB 11 (100e 81ER) Daughterboard Flex Set                                                                                                        $34.00          0.00%    24.00
               CB 11 (100e 81ER) Hinge Set*                                                                                                                   $649.90          0.01%    40.00
               CB 11 (100e 81ER) Hinge [Left]                                                                                                                   $0.60          0.00%    21.00
               CB 11 (100e 81ER) Hinge [Right]                                                                                                                  $1.19          0.00%    13.00
               CB 11 (100e 81ER) Housing [Base]                                                                                                             $1,506.04          0.02%    87.00
               CB 11 (100e 81ER) Housing [LCD Bezel]                                                                                                          $251.85          0.00%    30.00
               CB 11 (100e 81ER) Housing [LCD Rear Cover]                                                                                                     $643.84          0.01%    50.00
               CB 11 (100e 81ER) LCD Cable                                                                                                                    $112.57          0.00%    86.00
               CB 11 (100e 81ER) Motherboard [4GB][16GB]                                                                                                    $1,788.44          0.02%    18.00
               CB 11 (100e 81ER) Motherboard [4GB][32GB]                                                                                                    $9,266.60          0.11%    53.00
               CB 11 (100e 81ER) Palmrest w/ Keyboard                                                                                                         $868.33          0.01%    38.00
               CB 11 (100e 81ER) Palmrest w/ Keyboard + Trackpad                                                                                              $254.50          0.00%     8.00
               CB 11 (100e 81ER) Screw Set                                                                                                                      $0.32          0.00%     2.00
               CB 11 (100e 81ER) Speaker Set                                                                                                                    $0.07          0.00%     1.00
               CB 11 (100e 81ER) Trackpad                                                                                                                      $69.55          0.00%    52.00
               CB 11 (100e 81ER) Trackpad Flex                                                                                                                  $3.00          0.00%    10.00
               CB 11 (100e 81ER) Wi-FI Card                                                                                                                     $6.52          0.00%     8.00
               CB 11 (100e 81MA) Battery                                                                                                                       $32.51          0.00%     2.00
               CB 11 (100e 81MA) Camera [Front]                                                                                                               $181.39          0.00%     9.00
               CB 11 (100e 81MA) Daughterboard                                                                                                                $135.51          0.00%     9.00
               CB 11 (100e 81MA) Hinge Set*                                                                                                                    $63.58          0.00%     6.00
               CB 11 (100e 81MA) Hinge [Right]                                                                                                                 $10.59          0.00%     1.00
               CB 11 (100e 81MA) Housing [Base]                                                                                                               $108.00          0.00%     9.00
               CB 11 (100e 81MA) Housing [LCD Bezel]                                                                                                            $6.74          0.00%     1.00
               CB 11 (100e 81MA) Housing [LCD Rear Cover]                                                                                                     $579.42          0.01%    36.00
               CB 11 (100e 81MA) LCD Cable                                                                                                                    $278.48          0.00%    32.00
               CB 11 (100e 81MA) Motherboard                                                                                                              $10,783.24           0.12%    77.00
               CB 11 (100e 81MA) Palmrest w/ Keyboard                                                                                                         $465.45          0.01%    34.00
               CB 11 (100e 81MA) Palmrest w/ Keyboard and Trackpad*                                                                                           $393.47          0.00%    14.00
               CB 11 (100e 81MA) Speaker Set                                                                                                                  $147.55          0.00%     9.00
               CB 11 (100e 81MA) Trackpad                                                                                                                      $13.84          0.00%    62.00
               CB 11 (100e 81MA) Trackpad Flex                                                                                                                  $0.85          0.00%     3.00
               CB 11 (100e 81MA) Wi-Fi Card                                                                                                                    $12.49          0.00%    12.00
               CB 11 (100e 81QB) Battery                                                                                                                    $1,915.51          0.02%   208.00
               CB 11 (100e 81QB) Camera                                                                                                                       $129.73          0.00%    21.00
               CB 11 (100e 81QB) Daughterboard                                                                                                                $705.39          0.01%   165.00
               CB 11 (100e 81QB) Daughterboard Flex                                                                                                            $66.11          0.00%    77.00
               CB 11 (100e 81QB) Hinge Set*                                                                                                                   $311.89          0.00%    33.00
               CB 11 (100e 81QB) Hinge [Left]                                                                                                                  $60.24          0.00%    16.00
               CB 11 (100e 81QB) Hinge [Right]                                                                                                                $151.49          0.00%    39.00
               CB 11 (100e 81QB) Housing [Base]                                                                                                               $327.00          0.00%    80.00
               CB 11 (100e 81QB) Housing [LCD Bezel]                                                                                                        $2,069.86          0.02%   340.00
               CB 11 (100e 81QB) Housing [LCD Rear Cover]                                                                                                   $3,331.31          0.04%   309.00
               CB 11 (100e 81QB) LCD Cable                                                                                                                    $245.21          0.00%   142.00
               CB 11 (100e 81QB) Motherboard                                                                                                                $9,175.44          0.11%   115.00
               CB 11 (100e 81QB) Palmrest w/ Keyboard                                                                                                       $3,860.75          0.04%   366.00
               CB 11 (100e 81QB) Palmrest w/ Keyboard and Trackpad                                                                                            $238.53          0.00%     9.00
               CB 11 (100e 81QB) Screw Set                                                                                                                      $1.67          0.00%    10.00
               CB 11 (100e 81QB) Speaker Set                                                                                                                   $56.77          0.00%    26.00
               CB 11 (100e 81QB) Trackpad                                                                                                                     $378.22          0.00%   191.00
               CB 11 (100e 81QB) Trackpad Flex                                                                                                                $192.97          0.00%    83.00
               CB 11 (100e 81QB) Wi-Fi Antenna                                                                                                                  $0.00          0.00%     2.00
               CB 11 (100e 82CD) AST Battery                                                                                                                $3,093.90          0.04%   146.00
               CB 11 (100e 82CD) AST Camera                                                                                                                   $441.35          0.01%    94.00
               CB 11 (100e 82CD) AST Daughterboard                                                                                                            $238.30          0.00%    93.00
               CB 11 (100e 82CD) AST Daughterboard Flex Set                                                                                                   $208.10          0.00%    92.00




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               CB 11 (100e 82CD) AST Hinge Set*                                                            $470.94   0.01%    50.00
               CB 11 (100e 82CD) AST Hinge [Left]                                                          $421.55   0.00%   104.00
               CB 11 (100e 82CD) AST Hinge [Right]                                                          $26.51   0.00%    40.00
               CB 11 (100e 82CD) AST Housing [Base]                                                        $479.02   0.01%    48.00
               CB 11 (100e 82CD) AST Housing [LCD Bezel]                                                     $0.00   0.00%    38.00
               CB 11 (100e 82CD) AST Housing [LCD Rear Cover]                                              $209.18   0.00%    17.00
               CB 11 (100e 82CD) AST LCD Assembly                                                          $418.60   0.00%    10.00
               CB 11 (100e 82CD) AST LCD Cable                                                             $333.33   0.00%   166.00
               CB 11 (100e 82CD) AST Motherboard                                                        $43,555.63   0.50%   390.00
               CB 11 (100e 82CD) AST Palmrest w/ Keyboard                                                  $571.42   0.01%   205.00
               CB 11 (100e 82CD) AST Palmrest w/ Keyboard and Trackpad                                   $1,154.60   0.01%    40.00
               CB 11 (100e 82CD) AST Screw Set                                                              $31.78   0.00%    31.00
               CB 11 (100e 82CD) AST Speaker Set                                                            $70.99   0.00%    53.00
               CB 11 (100e 82CD) AST Trackpad                                                               $30.84   0.00%    77.00
               CB 11 (100e 82CD) AST Trackpad Cable                                                         $31.65   0.00%    74.00
               CB 11 (100e 82CD) AST Wi-Fi Card                                                            $313.97   0.00%   171.00
               CB 11 (300e 81H0) Battery                                                                 $1,335.73   0.02%    67.00
               CB 11 (300e 81H0) Camera                                                                  $1,246.14   0.01%   178.00
               CB 11 (300e 81H0) Daughterboard                                                           $4,040.08   0.05%   176.00
               CB 11 (300e 81H0) Daughterboard Flex                                                        $598.22   0.01%   116.00
               CB 11 (300e 81H0) G Sensor Board                                                              $0.00   0.00%    38.00
               CB 11 (300e 81H0) Hinge Set*                                                                 $81.54   0.00%     8.00
               CB 11 (300e 81H0) Hinge [Left]                                                                $2.18   0.00%    36.00
               CB 11 (300e 81H0) Hinge [Right]                                                               $2.54   0.00%    30.00
               CB 11 (300e 81H0) Housing [Base]                                                            $916.56   0.01%    59.00
               CB 11 (300e 81H0) Housing [Hinge Cover]                                                      $11.96   0.00%     1.00
               CB 11 (300e 81H0) Housing [LCD Rear Cover]                                                $1,771.87   0.02%   135.00
               CB 11 (300e 81H0) LCD Cable                                                                 $326.88   0.00%    47.00
               CB 11 (300e 81H0) LCD w/ Digitizer                                                        $3,240.77   0.04%    60.00
               CB 11 (300e 81H0) Motherboard [4GB][32GB] Non-Touch                                       $3,342.66   0.04%    19.00
               CB 11 (300e 81H0) Motherboard [4GB][32GB] Touch                                           $1,311.78   0.02%    33.00
               CB 11 (300e 81H0) Palmrest w/ Keyboard                                                       $16.27   0.00%     2.00
               CB 11 (300e 81H0) Palmrest w/ Keyboard and Trackpad*                                        $715.36   0.01%    25.00
               CB 11 (300e 81H0) Screw Set                                                                 $118.58   0.00%    37.00
               CB 11 (300e 81H0) Speaker Set                                                               $598.99   0.01%    97.00
               CB 11 (300e 81H0) Spine Cover                                                                $86.80   0.00%    29.00
               CB 11 (300e 81H0) Trackpad                                                                  $579.52   0.01%   145.00
               CB 11 (300e 81H0) Trackpad Flex                                                              $58.92   0.00%    24.00
               CB 11 (300e 81MB) Battery                                                                    $33.30   0.00%    12.00
               CB 11 (300e 81MB) Camera                                                                      $7.54   0.00%    28.00
               CB 11 (300e 81MB) Camera Cable [Palmrest]                                                     $0.00   0.00%     1.00
               CB 11 (300e 81MB) Daughterboard w/ Flex Set                                                   $0.45   0.00%     6.00
               CB 11 (300e 81MB) Hinge Cover Rubber                                                          $0.00   0.00%     6.00
               CB 11 (300e 81MB) Hinge Set                                                                  $15.30   0.00%     2.00
               CB 11 (300e 81MB) Hinge [Left]                                                                $0.00   0.00%     1.00
               CB 11 (300e 81MB) Hinge [Right]                                                               $3.80   0.00%    34.00
               CB 11 (300e 81MB) Housing [Base]                                                              $8.45   0.00%    12.00
               CB 11 (300e 81MB) LCD Cable                                                                   $0.64   0.00%     3.00
               CB 11 (300e 81MB) LCD Cable (Touch)                                                         $153.85   0.00%    34.00
               CB 11 (300e 81MB) LCD w/ Digitizer                                                        $5,469.39   0.06%    84.00
               CB 11 (300e 81MB) Motherboard                                                            $14,663.96   0.17%   118.00
               CB 11 (300e 81MB) Palmrest w/ Keyboard                                                    $1,183.60   0.01%    83.00
               CB 11 (300e 81MB) Palmrest w/ Keyboard (w/ Cutout)                                          $361.41   0.00%    46.00
               CB 11 (300e 81MB) Screw Set                                                                   $0.00   0.00%     5.00
               CB 11 (300e 81MB) Speaker Set                                                                 $0.00   0.00%     1.00
               CB 11 (300e 81MB) Spine Cover                                                                 $2.66   0.00%     3.00
               CB 11 (300e 81MB) Spine Cover Rubber                                                          $0.00   0.00%     2.00
               CB 11 (300e 81MB) Trackpad                                                                  $237.79   0.00%    86.00
               CB 11 (300e 81MB) Trackpad Flex                                                              $59.84   0.00%    47.00
               CB 11 (300e 81MB) Wi-Fi Card                                                                  $1.52   0.00%     5.00
               CB 11 (300e 81QC) AC Adapter                                                                 $16.00   0.00%     1.00
               CB 11 (300e 81QC) Battery                                                                   $271.64   0.00%    24.00
               CB 11 (300e 81QC) Camera                                                                     $25.24   0.00%    26.00
               CB 11 (300e 81QC) Daughterboard                                                           $3,216.22   0.04%   256.00
               CB 11 (300e 81QC) Daughterboard Flex                                                         $53.97   0.00%    50.00
               CB 11 (300e 81QC) Hinge Rubber                                                                $0.00   0.00%     1.00
               CB 11 (300e 81QC) Hinge Set*                                                                $612.48   0.01%    36.00
               CB 11 (300e 81QC) Hinge [Left]                                                              $374.24   0.00%    91.00
               CB 11 (300e 81QC) Hinge [Right]                                                             $758.88   0.01%   134.00
               CB 11 (300e 81QC) Housing [Base]                                                            $981.75   0.01%   140.00
               CB 11 (300e 81QC) Housing [Hinge Cover]                                                      $58.31   0.00%    12.00
               CB 11 (300e 81QC) Housing [LCD Bezel]                                                         $9.45   0.00%     1.00
               CB 11 (300e 81QC) Housing [LCD Rear Cover]                                                $2,126.29   0.02%   209.00
               CB 11 (300e 81QC) LCD Cable                                                                 $161.08   0.00%    71.00
               CB 11 (300e 81QC) LCD w/ Camera Cable                                                         $8.42   0.00%     1.00
               CB 11 (300e 81QC) LCD w/ Digitizer                                                        $7,005.35   0.08%   104.00
               CB 11 (300e 81QC) Motherboard [4GB] [32GB]                                               $26,338.28   0.30%   276.00
               CB 11 (300e 81QC) Palmrest w/ Keyboard                                                      $380.94   0.00%    72.00
               CB 11 (300e 81QC) Palmrest w/ Keyboard and Trackpad                                         $463.09   0.01%    17.00
               CB 11 (300e 81QC) Screw Set                                                                   $0.00   0.00%    13.00
               CB 11 (300e 81QC) Sensor Board                                                                $0.00   0.00%    20.00
               CB 11 (300e 81QC) Speaker Set                                                               $224.95   0.00%    52.00
               CB 11 (300e 81QC) Spine Cover                                                                $75.00   0.00%    40.00
               CB 11 (300e 81QC) Spine Cover Rubber                                                          $0.00   0.00%    55.00
               CB 11 (300e 81QC) Trackpad                                                                   $69.03   0.00%   118.00
               CB 11 (300e 81QC) Trackpad Cable                                                            $456.50   0.01%   155.00
               CB 11 (300e 81QC) Wi-Fi Cable                                                                 $0.00   0.00%     2.00
               CB 11 (300e 82CE) AC Adapter                                                                 $25.99   0.00%     1.00
               CB 11 (300e 82CE) Battery                                                                   $718.02   0.01%    23.00
               CB 11 (300e 82CE) Camera                                                                     $65.84   0.00%    17.00
               CB 11 (300e 82CE) Daughterboard                                                             $432.91   0.00%    21.00
               CB 11 (300e 82CE) Daughterboard Flex                                                          $0.00   0.00%     1.00
               CB 11 (300e 82CE) Hinge Set*                                                              $1,149.54   0.01%    66.00
               CB 11 (300e 82CE) Hinge [Left]                                                               $44.34   0.00%     5.00
               CB 11 (300e 82CE) Hinge [Right]                                                              $31.40   0.00%     4.00
               CB 11 (300e 82CE) Housing [Base]                                                            $271.65   0.00%    15.00
               CB 11 (300e 82CE) Housing [Hinge Cover]                                                      $42.00   0.00%    14.00
               CB 11 (300e 82CE) Housing [LCD Rear Cover]                                                $1,059.22   0.01%    67.00
               CB 11 (300e 82CE) LCD Cable                                                                 $249.70   0.00%    44.00
               CB 11 (300e 82CE) LCD w/ Digitizer                                                       $15,821.05   0.18%   168.00
               CB 11 (300e 82CE) Motherboard [4GB] [32GB]                                               $56,329.72   0.65%   431.00
               CB 11 (300e 82CE) Motherboard [4GB][32GB] (w/ WFC)                                        $3,262.81   0.04%    28.00
               CB 11 (300e 82CE) Palmrest w/ Keyboard                                                      $771.92   0.01%    46.00
               CB 11 (300e 82CE) Palmrest w/ Keyboard (w/ Cutout)                                        $1,648.91   0.02%    69.00
               CB 11 (300e 82CE) Palmrest w/ Keyboard and Trackpad                                       $1,010.88   0.01%    36.00
               CB 11 (300e 82CE) Screw Set                                                                  $26.65   0.00%    16.00
               CB 11 (300e 82CE) Sensor Board                                                                $0.00   0.00%     1.00
               CB 11 (300e 82CE) Speaker Set                                                                $33.91   0.00%     7.00
               CB 11 (300e 82CE) Spine Cover                                                                 $0.00   0.00%    25.00
               CB 11 (300e 82CE) Spine Cover Rubber                                                          $0.00   0.00%     2.00
               CB 11 (300e 82CE) Trackpad                                                                    $1.69   0.00%    33.00
               CB 11 (300e 82CE) Trackpad Flex                                                               $0.00   0.00%    10.00
               CB 11 (300e 82CE) Wi-Fi Card                                                                 $87.87   0.00%    10.00
               CB 11 (300e 82CE) World Facing Camera (w/ Cable)                                              $0.00   0.00%     1.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Battery                                                  $575.92   0.01%    30.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Battery (Non-DB)                                       $1,171.68   0.01%    34.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Battery Cable                                              $6.29   0.00%     1.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Camera Cable (WFC)                                        $49.63   0.00%     7.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Camera [Front]                                            $27.86   0.00%    14.00




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               CB 11 (3100 P29T Non-Touch)(TC6KM) Daughterboard                                                                                                      $18.84   0.00%     7.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Daughterboard Flex Set                                                                                              $0.00   0.00%     7.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Daughterboard Flex [30 Pin]                                                                                         $2.13   0.00%     3.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Hinge Set*                                                                                                        $109.77   0.00%    12.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Hinge [Left]                                                                                                        $0.00   0.00%    29.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Hinge [Right]                                                                                                       $2.93   0.00%    34.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [Base]                                                                                                      $3.82   0.00%    14.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [LCD Bezel]                                                                                             $1,077.62   0.01%    68.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [LCD Rear Cover]                                                                                          $571.80   0.01%    35.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Keyboard                                                                                                          $166.23   0.00%    96.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Keyboard (Philly)                                                                                                   $0.00   0.00%   177.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) LCD Assembly (Philly)                                                                                               $0.00   0.00%     9.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) LCD Cable                                                                                                         $880.99   0.01%   116.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) LCD Panel                                                                                                         $566.70   0.01%    12.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB] [32GB] w/ DB Connector - 0W1C7C                                                               $1,756.57   0.02%    23.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB][16GB] (Non-Touch) - 0GD6HC                                                                   $12,482.92   0.14%   113.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB][16GB] (Non-Touch) w/ DB Connector - 01Y3PF                                                    $1,217.31   0.01%    19.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest                                                                                                          $110.85   0.00%    37.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest (w/ Cutout)                                                                                               $93.42   0.00%     3.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest w/ Keyboard                                                                                              $866.71   0.01%    33.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest w/ Keyboard (w/ Cutout)                                                                                $1,247.61   0.01%    39.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Screw Set                                                                                                           $0.00   0.00%    20.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Speaker Set                                                                                                         $0.00   0.00%    29.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Trackpad                                                                                                           $27.61   0.00%    13.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Trackpad Bracket                                                                                                    $0.00   0.00%     2.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Trackpad Flex                                                                                                       $0.00   0.00%    25.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Type-C Power Cable                                                                                                  $0.00   0.00%     7.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Wi-Fi Antenna Cable                                                                                                 $0.00   0.00%     3.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Wi-Fi Card                                                                                                        $145.00   0.00%     5.00
               CB 11 (3100 P29T Touch)(30J93) Battery                                                                                                                $20.41   0.00%    28.00
               CB 11 (3100 P29T Touch)(30J93) Battery Cable                                                                                                           $0.00   0.00%    12.00
               CB 11 (3100 P29T Touch)(30J93) Camera [Front]                                                                                                         $43.86   0.00%     9.00
               CB 11 (3100 P29T Touch)(30J93) Daughterboard                                                                                                           $0.00   0.00%     6.00
               CB 11 (3100 P29T Touch)(30J93) Daughterboard Flex Set                                                                                                  $0.00   0.00%     2.00
               CB 11 (3100 P29T Touch)(30J93) Daughterboard Flex [30 Pin]                                                                                             $0.00   0.00%     1.00
               CB 11 (3100 P29T Touch)(30J93) Daughterboard Flex [40 Pin]                                                                                             $0.00   0.00%     2.00
               CB 11 (3100 P29T Touch)(30J93) Hinge Set*                                                                                                             $28.00   0.00%     4.00
               CB 11 (3100 P29T Touch)(30J93) Hinge [Left]                                                                                                            $0.00   0.00%     4.00
               CB 11 (3100 P29T Touch)(30J93) Hinge [Right]                                                                                                           $0.00   0.00%     6.00
               CB 11 (3100 P29T Touch)(30J93) Housing [Base]                                                                                                          $0.00   0.00%     1.00
               CB 11 (3100 P29T Touch)(30J93) Housing [LCD Bezel]                                                                                                     $0.00   0.00%     9.00
               CB 11 (3100 P29T Touch)(30J93) Housing [LCD Rear Cover]                                                                                                $0.00   0.00%    15.00
               CB 11 (3100 P29T Touch)(30J93) Keyboard                                                                                                              $155.06   0.00%    26.00
               CB 11 (3100 P29T Touch)(30J93) LCD Cable                                                                                                             $162.47   0.00%    97.00
               CB 11 (3100 P29T Touch)(30J93) LCD Panel                                                                                                           $8,504.39   0.10%   149.00
               CB 11 (3100 P29T Touch)(30J93) Motherboard [4GB] [32GB] w/ DB Connector - 0W1C7C                                                                   $5,243.41   0.06%    42.00
               CB 11 (3100 P29T Touch)(30J93) Palmrest                                                                                                                $0.00   0.00%     5.00
               CB 11 (3100 P29T Touch)(30J93) Palmrest w/ Keyboard                                                                                                  $434.66   0.01%    17.00
               CB 11 (3100 P29T Touch)(30J93) Palmrest w/ Keyboard (w/ Cutout)                                                                                        $0.00   0.00%     2.00
               CB 11 (3100 P29T Touch)(30J93) Palmrest w/ Keyboard and Trackpad*                                                                                    $690.17   0.01%    13.00
               CB 11 (3100 P29T Touch)(30J93) Screw Set                                                                                                               $0.00   0.00%     2.00
               CB 11 (3100 P29T Touch)(30J93) Speaker Set                                                                                                             $0.00   0.00%     1.00
               CB 11 (3100 P29T Touch)(30J93) Trackpad                                                                                                                $0.00   0.00%    13.00
               CB 11 (3100 P29T Touch)(30J93) Type-C Power Cable                                                                                                      $0.00   0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Battery                                                                                                              $170.31   0.00%    23.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Battery Cable                                                                                                          $1.50   0.00%     4.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Camera Cable [Palmrest]                                                                                               $14.46   0.00%    12.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Camera [Front]                                                                                                       $139.52   0.00%    23.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Camera [Palmrest]                                                                                                     $12.64   0.00%     8.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Daughterboard                                                                                                         $16.29   0.00%    26.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Daughterboard Flex Set                                                                                                 $1.53   0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Daughterboard Flex [40 Pin]                                                                                            $0.00   0.00%     4.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) G Sensor Board                                                                                                         $4.79   0.00%     8.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) G Sensor Cable                                                                                                         $4.05   0.00%     8.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Hinge Set*                                                                                                           $496.75   0.01%    30.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Hinge [Left]                                                                                                           $1.22   0.00%     7.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Hinge [Right]                                                                                                          $0.62   0.00%     4.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Housing [Base]                                                                                                        $69.80   0.00%    15.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Housing [LCD Rear Cover]                                                                                             $163.33   0.00%    13.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Keyboard                                                                                                              $38.76   0.00%    18.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) LCD Cable                                                                                                             $44.47   0.00%    31.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) LCD w/ Digitizer                                                                                                   $6,653.98   0.08%    54.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) LCD w/ Digitizer (w/ EMR)                                                                                            $631.55   0.01%     6.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Motherboard [4GB][32GB] - 0R2K1H                                                                                     $393.12   0.00%     4.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Motherboard [4GB][32GB] w/ WFC Connector - 0FNMF1                                                                  $1,594.51   0.02%    13.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Motherboard [8GB][32GB] w/ WFC Connector                                                                             $134.90   0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest                                                                                                             $100.35   0.00%     7.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest (w/ WFC)                                                                                                      $0.00   0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Keyboard                                                                                                 $318.65   0.00%    15.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Keyboard (w/ WFC)                                                                                        $267.67   0.00%     8.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Trackpad (w/ WFC)                                                                                        $301.32   0.00%     7.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Screw Set                                                                                                              $0.00   0.00%     3.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Speaker Set                                                                                                            $0.00   0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Trackpad                                                                                                               $0.00   0.00%    16.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Trackpad Bracket                                                                                                       $2.10   0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Trackpad Flex                                                                                                          $0.80   0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Type-C Power Cable                                                                                                     $0.00   0.00%     1.00
               CB 11 (3120) DC Jack                                                                                                                                   $0.77   0.00%     1.00
               CB 11 (3120) Hinge Set*                                                                                                                                $0.00   0.00%     2.00
               CB 11 (3120) Housing [Base]                                                                                                                           $12.92   0.00%     1.00
               CB 11 (3120) Housing [Hinge Cover]                                                                                                                    $14.99   0.00%     1.00
               CB 11 (3120) Housing [LCD Bezel]                                                                                                                      $41.19   0.00%     3.00
               CB 11 (3120) Housing [LCD Bezel] (Touch)                                                                                                               $0.00   0.00%     1.00
               CB 11 (3120) Motherboard [4GB] [32GB]                                                                                                                 $45.90   0.00%     1.00
               CB 11 (3120) Palmrest w/ Keyboard and Trackpad*                                                                                                       $53.97   0.00%     3.00
               CB 11 (3120) Screw Set                                                                                                                                 $0.00   0.00%    22.00
               CB 11 (3120) Wi-Fi Card                                                                                                                               $33.20   0.00%     7.00
               CB 11 (3180) Audio Board                                                                                                                             $503.74   0.01%    44.00
               CB 11 (3180) Audio Board Flex                                                                                                                          $1.10   0.00%     3.00
               CB 11 (3180) Battery                                                                                                                                  $14.25   0.00%     2.00
               CB 11 (3180) Camera                                                                                                                                   $25.02   0.00%    35.00
               CB 11 (3180) Daughterboard (USB)                                                                                                                     $478.05   0.01%    19.00
               CB 11 (3180) DC Jack                                                                                                                                  $10.29   0.00%     2.00
               CB 11 (3180) Hinge Set*                                                                                                                              $767.98   0.01%    57.00
               CB 11 (3180) Hinge [Left]                                                                                                                             $41.38   0.00%    46.00
               CB 11 (3180) Hinge [Right]                                                                                                                            $29.24   0.00%    33.00
               CB 11 (3180) Housing [Base]                                                                                                                          $519.40   0.01%    37.00
               CB 11 (3180) Housing [Hinge Cover]                                                                                                                 $1,089.17   0.01%   151.00
               CB 11 (3180) Housing [Hinge Cover] Set*                                                                                                               $27.70   0.00%     9.00
               CB 11 (3180) Housing [LCD Bezel]                                                                                                                     $134.65   0.00%    42.00
               CB 11 (3180) Housing [LCD Bezel] (Touch)                                                                                                               $5.84   0.00%     1.00
               CB 11 (3180) Housing [LCD Rear Cover]                                                                                                                $761.79   0.01%    61.00
               CB 11 (3180) Keyboard                                                                                                                                 $91.67   0.00%    30.00
               CB 11 (3180) LCD Cable                                                                                                                               $472.34   0.01%   439.00
               CB 11 (3180) LCD Cable (Touch)                                                                                                                        $29.71   0.00%     2.00
               CB 11 (3180) LED Board                                                                            CB 11 (3180) LED Board without the camera component. $0.82   0.00%     1.00
               CB 11 (3180) Motherboard [4GB] [32GB]                                                                                                              $3,453.64   0.04%    53.00
               CB 11 (3180) Palmrest                                                                                                                                 $93.02   0.00%     9.00
               CB 11 (3180) Palmrest w/ Keyboard and Trackpad                                                                                                       $772.30   0.01%    20.00




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               CB 11 (3180) Palmrest w/ Trackpad                                                     $513.70   0.01%    14.00
               CB 11 (3180) Screw Kit                                                                  $2.19   0.00%     2.00
               CB 11 (3180) Speaker Set                                                              $521.81   0.01%    37.00
               CB 11 (3180) Trackpad                                                                  $49.73   0.00%    26.00
               CB 11 (3180) Trackpad Flex                                                              $6.49   0.00%     9.00
               CB 11 (3189) Battery                                                                  $187.32   0.00%     8.00
               CB 11 (3189) Battery Cable                                                              $3.67   0.00%    17.00
               CB 11 (3189) Board Set (Power w/ Audio)                                               $396.32   0.00%     5.00
               CB 11 (3189) Board Set (Power w/ Audio) Cable                                          $34.61   0.00%     4.00
               CB 11 (3189) Daughterboard                                                            $125.00   0.00%     5.00
               CB 11 (3189) DC Jack                                                                    $5.35   0.00%     1.00
               CB 11 (3189) G Sensor Board                                                             $0.75   0.00%     1.00
               CB 11 (3189) Hinge Set*                                                               $462.87   0.01%    26.00
               CB 11 (3189) Hinge [Left]                                                             $116.08   0.00%    16.00
               CB 11 (3189) Hinge [Right]                                                             $16.39   0.00%     9.00
               CB 11 (3189) Housing [Base]                                                           $597.58   0.01%    36.00
               CB 11 (3189) Housing [LCD Bezel]                                                        $0.00   0.00%     1.00
               CB 11 (3189) Housing [LCD Rear Cover]                                                 $217.25   0.00%    15.00
               CB 11 (3189) Keyboard                                                                 $110.49   0.00%     6.00
               CB 11 (3189) LCD Assembly                                                              $51.81   0.00%     1.00
               CB 11 (3189) LCD Cable                                                                 $37.47   0.00%     6.00
               CB 11 (3189) LCD w/ Digitizer                                                         $288.98   0.00%     4.00
               CB 11 (3189) Motherboard [4GB] [16GB]                                                  $39.99   0.00%     1.00
               CB 11 (3189) Motherboard [4GB] [32GB]                                                 $840.52   0.01%    17.00
               CB 11 (3189) Motherboard [4GB] [64GB]                                                  $75.08   0.00%     1.00
               CB 11 (3189) Palmrest                                                                 $130.70   0.00%     6.00
               CB 11 (3189) Palmrest w/ Keyboard                                                      $24.38   0.00%     1.00
               CB 11 (3189) Palmrest w/ Keyboard and Trackpad*                                        $68.99   0.00%     2.00
               CB 11 (3189) Speaker Set                                                               $56.26   0.00%     9.00
               CB 11 (3189) Trackpad                                                                  $10.99   0.00%     3.00
               CB 11 (3189) Trackpad Flex                                                              $1.08   0.00%     1.00
               CB 11 (3189) Wi-Fi Card                                                                 $0.00   0.00%     1.00
               CB 11 (500e 81ES) Battery                                                              $63.91   0.00%     2.00
               CB 11 (500e 81ES) Camera Cable [Palmrest]                                               $0.31   0.00%     2.00
               CB 11 (500e 81ES) Camera [Front]                                                        $9.49   0.00%     1.00
               CB 11 (500e 81ES) Daughterboard                                                       $605.15   0.01%    38.00
               CB 11 (500e 81ES) Daughterboard Flex Set                                                $6.25   0.00%    11.00
               CB 11 (500e 81ES) Hinge Set*                                                          $265.05   0.00%    26.00
               CB 11 (500e 81ES) Hinge [Right]                                                         $0.02   0.00%     1.00
               CB 11 (500e 81ES) Housing [Base]                                                      $485.82   0.01%    18.00
               CB 11 (500e 81ES) Housing [LCD Rear Cover]                                             $74.67   0.00%     3.00
               CB 11 (500e 81ES) LCD Cable                                                            $11.56   0.00%     2.00
               CB 11 (500e 81ES) LCD w/ Digitizer                                                    $789.48   0.01%     9.00
               CB 11 (500e 81ES) LCD w/ Digitizer (EMR)                                           $12,237.71   0.14%    70.00
               CB 11 (500e 81ES) Motherboard [4GB] [32GB]                                          $2,326.85   0.03%    18.00
               CB 11 (500e 81ES) Motherboard [8GB] [64GB]                                              $0.00   0.00%     2.00
               CB 11 (500e 81ES) Palmrest w/ Keyboard                                              $1,616.59   0.02%    45.00
               CB 11 (500e 81ES) Speaker Set                                                           $7.43   0.00%     1.00
               CB 11 (500e 81ES) Spine Cover                                                          $35.98   0.00%     2.00
               CB 11 (500e 81ES) Stylus                                                              $132.96   0.00%     4.00
               CB 11 (500e 81ES) Trackpad                                                             $11.48   0.00%     2.00
               CB 11 (500e 81MC) AC Adapter                                                          $107.97   0.00%     3.00
               CB 11 (500e 81MC) Battery                                                             $197.16   0.00%    14.00
               CB 11 (500e 81MC) Camera [Front]                                                      $353.38   0.00%    25.00
               CB 11 (500e 81MC) Daughterboard (USB)                                               $1,723.02   0.02%   205.00
               CB 11 (500e 81MC) Daughterboard (USB) Flex Set                                          $2.55   0.00%     3.00
               CB 11 (500e 81MC) Hinge Set*                                                          $223.50   0.00%    12.00
               CB 11 (500e 81MC) Hinge [Left]                                                         $51.84   0.00%    25.00
               CB 11 (500e 81MC) Hinge [Right]                                                        $23.70   0.00%    11.00
               CB 11 (500e 81MC) Housing [Base]                                                      $923.79   0.01%    93.00
               CB 11 (500e 81MC) Housing [Hinge Cover]                                                $16.73   0.00%     3.00
               CB 11 (500e 81MC) Housing [LCD Rear Cover]                                            $225.75   0.00%    19.00
               CB 11 (500e 81MC) LCD Cable                                                           $588.57   0.01%    76.00
               CB 11 (500e 81MC) LCD Panel                                                           $169.99   0.00%     1.00
               CB 11 (500e 81MC) LCD w/ Digitizer (Touch)                                         $12,788.03   0.15%   217.00
               CB 11 (500e 81MC) LCD w/ Digitizer (Touch) w/ EMR                                       $2.16   0.00%     9.00
               CB 11 (500e 81MC) Motherboard [4GB][32GB]                                          $16,497.32   0.19%   115.00
               CB 11 (500e 81MC) Motherboard [8GB][64GB]                                           $1,002.86   0.01%     7.00
               CB 11 (500e 81MC) Palmrest w/ Keyboard                                              $1,782.87   0.02%    85.00
               CB 11 (500e 81MC) Screw Set                                                             $0.00   0.00%     1.00
               CB 11 (500e 81MC) Speaker Set                                                          $44.92   0.00%     4.00
               CB 11 (500e 81MC) Spine Cover                                                          $90.12   0.00%    22.00
               CB 11 (500e 81MC) Stylus                                                                $6.77   0.00%     1.00
               CB 11 (500e 81MC) Trackpad                                                            $420.32   0.00%    85.00
               CB 11 (500e 81MC) Trackpad Flex                                                        $29.58   0.00%    14.00
               CB 11 (500e 81MC) Wi-Fi Cable                                                           $0.00   0.00%     2.00
               CB 11 (500e 81MC) Wi-Fi Card                                                            $7.05   0.00%     4.00
               CB 11 (5190) Battery                                                                   $24.00   0.00%     1.00
               CB 11 (5190) Camera                                                                    $27.94   0.00%     2.00
               CB 11 (5190) Daughterboard                                                              $4.95   0.00%     5.00
               CB 11 (5190) Hinge [Left]                                                               $0.57   0.00%     1.00
               CB 11 (5190) Housing [LCD Bezel]                                                       $50.00   0.00%     5.00
               CB 11 (5190) Housing [LCD Rear Cover]                                                   $1.38   0.00%     1.00
               CB 11 (5190) Keyboard                                                                   $0.00   0.00%    15.00
               CB 11 (5190) LCD Cable                                                                  $5.26   0.00%     1.00
               CB 11 (5190) LCD Panel (Touch)                                                          $0.00   0.00%     1.00
               CB 11 (5190) Motherboard                                                              $489.99   0.01%     9.00
               CB 11 (5190) Palmrest                                                                  $56.98   0.00%     7.00
               CB 11 (5190) Palmrest w/ Keyboard and Trackpad*                                       $142.48   0.00%     2.00
               CB 11 (5190) Trackpad                                                                   $0.15   0.00%     3.00
               CB 11 (C202SA) Battery                                                                $194.86   0.00%    11.00
               CB 11 (C202SA) Camera                                                                 $139.59   0.00%    47.00
               CB 11 (C202SA) Daughterboard                                                          $109.74   0.00%    10.00
               CB 11 (C202SA) Hinge Set*                                                             $132.50   0.00%    11.00
               CB 11 (C202SA) Hinge [Left]                                                           $108.79   0.00%    30.00
               CB 11 (C202SA) Hinge [Right]                                                          $135.92   0.00%    34.00
               CB 11 (C202SA) Housing [Base] - Black                                                   $0.00   0.00%     2.00
               CB 11 (C202SA) Housing [Base] - Blue                                                   $13.09   0.00%     3.00
               CB 11 (C202SA) Housing [Hinge Cover] - Black                                           $25.47   0.00%     2.00
               CB 11 (C202SA) Housing [Hinge Cover] - Blue                                            $43.90   0.00%    20.00
               CB 11 (C202SA) Housing [Hinge Cover] - Grey                                             $0.00   0.00%     2.00
               CB 11 (C202SA) Housing [LCD Bezel] - Black                                             $36.87   0.00%     7.00
               CB 11 (C202SA) Housing [LCD Bezel] - Blue                                             $227.69   0.00%    31.00
               CB 11 (C202SA) Housing [LCD Rear Cover] - Black                                        $73.95   0.00%     9.00
               CB 11 (C202SA) Housing [LCD Rear Cover] - Blue                                        $249.20   0.00%    23.00
               CB 11 (C202SA) LCD Cable                                                               $75.22   0.00%    16.00
               CB 11 (C202SA) LCD Panel                                                              $714.17   0.01%    18.00
               CB 11 (C202SA) Motherboard [4GB] [32GB]                                             $1,174.48   0.01%    15.00
               CB 11 (C202SA) Palmrest w/ Keyboard - Black                                           $987.80   0.01%    48.00
               CB 11 (C202SA) Palmrest w/ Keyboard - Blue                                          $2,486.15   0.03%    74.00
               CB 11 (C202SA) Screw Set                                                               $44.65   0.00%    20.00
               CB 11 (C202SA) Speaker Set                                                            $236.99   0.00%    33.00
               CB 11 (C202SA) Trackpad                                                                $59.79   0.00%    10.00
               CB 11 (C202SA) Trackpad - Black                                                        $29.65   0.00%     5.00
               CB 11 (C202SA) Trackpad - Blue                                                          $9.08   0.00%     1.00
               CB 11 (C202SA) Trackpad Assembly - Blue                                                 $1.46   0.00%     2.00
               CB 11 (C202SA) Trackpad Flex                                                           $16.42   0.00%    20.00
               CB 11 (C202SA) Wi-Fi Antenna                                                            $7.89   0.00%     3.00
               CB 11 (C202SA) Wi-Fi Card                                                              $10.27   0.00%     2.00




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               CB 11 (C203XA) Battery                                                                 $562.34   0.01%    35.00
               CB 11 (C203XA) Camera                                                                   $56.02   0.00%    31.00
               CB 11 (C203XA) Daughterboard                                                            $79.67   0.00%    62.00
               CB 11 (C203XA) Daughterboard Flex                                                       $18.75   0.00%    60.00
               CB 11 (C203XA) Hinge Cover                                                              $16.38   0.00%    28.00
               CB 11 (C203XA) Hinge Set                                                                $32.77   0.00%    23.00
               CB 11 (C203XA) Housing [Base]                                                           $56.09   0.00%    16.00
               CB 11 (C203XA) Housing [LCD Bezel]                                                      $54.01   0.00%    22.00
               CB 11 (C203XA) Housing [LCD Rear Cover]                                                 $38.11   0.00%    11.00
               CB 11 (C203XA) LCD Cable                                                                $40.09   0.00%    38.00
               CB 11 (C203XA) Motherboard [MT8173C][4GB][32GB]                                     $12,454.76   0.14%   110.00
               CB 11 (C203XA) Palmrest w/ Keyboard                                                  $1,180.16   0.01%    63.00
               CB 11 (C203XA) Screw Set                                                                 $8.89   0.00%     8.00
               CB 11 (C203XA) Speaker Set                                                               $5.43   0.00%    14.00
               CB 11 (C203XA) Trackpad                                                                 $77.49   0.00%    46.00
               CB 11 (C203XA) Trackpad Flex                                                             $3.23   0.00%     7.00
               CB 11 (C203XA) Wi-Fi Antenna                                                             $6.44   0.00%    12.00
               CB 11 (C204) Battery                                                                    $43.29   0.00%     3.00
               CB 11 (C204) Camera                                                                      $3.89   0.00%     2.00
               CB 11 (C204) Daughterboard                                                              $18.21   0.00%     2.00
               CB 11 (C204) Hinge Set*                                                                 $76.10   0.00%     8.00
               CB 11 (C204) Housing [Base]                                                             $15.02   0.00%     1.00
               CB 11 (C204) Housing [Battery Cover]                                                     $2.12   0.00%     1.00
               CB 11 (C204) Housing [LCD Bezel]                                                        $64.12   0.00%     4.00
               CB 11 (C204) Housing [Rear Cover]                                                      $107.97   0.00%     3.00
               CB 11 (C204) IO board                                                                    $2.90   0.00%     1.00
               CB 11 (C204) LCD Assembly                                                              $719.92   0.01%     8.00
               CB 11 (C204) Palmrest w/ Keyboard                                                      $756.37   0.01%    15.00
               CB 11 (C204) Screw Set                                                                   $0.40   0.00%     1.00
               CB 11 (C204) Trackpad                                                                   $28.49   0.00%     2.00
               CB 11 (C204) Trackpad Flex                                                               $2.83   0.00%     1.00
               CB 11 (C204EE) Battery                                                                 $240.66   0.00%    12.00
               CB 11 (C204EE) Camera                                                                    $1.43   0.00%     8.00
               CB 11 (C204EE) Daughterboard                                                             $0.67   0.00%     1.00
               CB 11 (C204EE) Hinge Set*                                                                $0.71   0.00%    13.00
               CB 11 (C204EE) Hinge [Left]                                                             $14.76   0.00%    15.00
               CB 11 (C204EE) Hinge [Right]                                                             $9.85   0.00%    10.00
               CB 11 (C204EE) Housing [Base]                                                           $55.82   0.00%     7.00
               CB 11 (C204EE) Housing [LCD Bezel]                                                       $0.94   0.00%     5.00
               CB 11 (C204EE) Housing [LCD Rear Cover]                                                $473.78   0.01%    33.00
               CB 11 (C204EE) LCD Cable                                                                $13.19   0.00%    10.00
               CB 11 (C204EE) Motherboard                                                           $4,042.68   0.05%    47.00
               CB 11 (C204EE) Palmrest w/ Keyboard                                                    $147.67   0.00%    19.00
               CB 11 (C204EE) Screw Set                                                                 $0.00   0.00%     4.00
               CB 11 (C204EE) Speaker Set                                                               $5.79   0.00%     3.00
               CB 11 (C204EE) Trackpad                                                                 $13.72   0.00%     5.00
               CB 11 (C204EE) Wi-Fi Antenna                                                             $4.14   0.00%     3.00
               CB 11 (C204MA) Housing [LCD Rear Cover]                                                 $23.70   0.00%     2.00
               CB 11 (C204MA) Palmrest w/ Keyboard                                                      $0.00   0.00%    20.00
               CB 11 (C204MA) Screw Set                                                                 $0.00   0.00%     1.00
               CB 11 (C214MA) Battery                                                                 $373.33   0.00%    21.00
               CB 11 (C214MA) Camera [Front]                                                           $32.17   0.00%     3.00
               CB 11 (C214MA) Camera [Palmrest] Flex                                                   $11.80   0.00%     2.00
               CB 11 (C214MA) Camera [Palmrest] w/Bracket                                              $48.37   0.00%     5.00
               CB 11 (C214MA) Daughterboard                                                            $84.91   0.00%     7.00
               CB 11 (C214MA) Daughterboard Flex Set                                                   $11.75   0.00%     3.00
               CB 11 (C214MA) G Sensor Flex                                                            $35.48   0.00%     6.00
               CB 11 (C214MA) Hinge Set [Left]                                                         $94.93   0.00%     6.00
               CB 11 (C214MA) Hinge Set [Right]                                                       $110.74   0.00%     7.00
               CB 11 (C214MA) Housing [Base]                                                          $133.84   0.00%     9.00
               CB 11 (C214MA) Housing [LCD Rear Cover] w/ Antenna                                     $180.20   0.00%    11.00
               CB 11 (C214MA) LCD Cable                                                                $44.69   0.00%     7.00
               CB 11 (C214MA) LCD w/ Digitizer                                                        $389.86   0.00%     7.00
               CB 11 (C214MA) Mic Board Flex                                                            $5.39   0.00%     1.00
               CB 11 (C214MA) Motherboard                                                             $129.35   0.00%     1.00
               CB 11 (C214MA) Palmrest w/ Keyboard                                                    $362.20   0.00%    17.00
               CB 11 (C214MA) Stylus                                                                   $30.45   0.00%     3.00
               CB 11 (C214MA) Trackpad                                                                 $56.45   0.00%     5.00
               CB 11 (C721) Battery                                                                    $16.24   0.00%     7.00
               CB 11 (C721) Daughterboard                                                             $253.15   0.00%    31.00
               CB 11 (C721) Daughterboard Flex (30 pin)                                                 $0.00   0.00%    19.00
               CB 11 (C721) Daughterboard Flex (45 pin)                                                 $1.24   0.00%    19.00
               CB 11 (C721) Daughterboard Flex Set                                                      $0.06   0.00%     1.00
               CB 11 (C721) Hinge Cover [Left]                                                          $0.35   0.00%     1.00
               CB 11 (C721) Hinge Set*                                                                 $31.98   0.00%     4.00
               CB 11 (C721) Hinge [Left]                                                                $1.20   0.00%     5.00
               CB 11 (C721) Hinge [Right]                                                               $1.18   0.00%     5.00
               CB 11 (C721) Housing [Base]                                                              $0.00   0.00%     4.00
               CB 11 (C721) Housing [LCD Bezel]                                                         $2.08   0.00%     2.00
               CB 11 (C721) Housing [LCD Rear Cover]                                                    $2.92   0.00%     2.00
               CB 11 (C721) Keyboard                                                                   $86.01   0.00%    13.00
               CB 11 (C721) LCD Cable                                                                  $78.65   0.00%    57.00
               CB 11 (C721) Motherboard [A4][4GB][32GB]                                               $122.17   0.00%     5.00
               CB 11 (C721) Motherboard [A6][4GB][32GB]                                             $4,030.06   0.05%    26.00
               CB 11 (C721) Palmrest                                                                   $17.20   0.00%     3.00
               CB 11 (C721) Palmrest w/ Keyboard                                                        $0.00   0.00%     4.00
               CB 11 (C721) Speaker Set                                                                $15.26   0.00%     6.00
               CB 11 (C721) Trackpad                                                                   $16.82   0.00%     4.00
               CB 11 (C721) Trackpad Flex                                                               $0.04   0.00%     1.00
               CB 11 (C721) Wi-Fi Antenna                                                               $0.00   0.00%     9.00
               CB 11 (C721) Wi-Fi Card                                                                  $0.40   0.00%     2.00
               CB 11 (C731) Hinge [Left]                                                              $256.15   0.00%    55.00
               CB 11 (C731) Hinge [Right]                                                             $136.04   0.00%    30.00
               CB 11 (C731) Housing [Base]                                                            $146.15   0.00%    15.00
               CB 11 (C731) Housing [LCD Bezel]                                                        $62.88   0.00%     6.00
               CB 11 (C731) Housing [LCD Rear Cover]                                                   $14.34   0.00%     1.00
               CB 11 (C731) Motherboard [4GB] [32GB]                                                $1,259.96   0.01%    10.00
               CB 11 (C731) Trackpad                                                                   $79.29   0.00%    10.00
               CB 11 (C731T) AC Adapter                                                                 $0.00   0.00%     2.00
               CB 11 (C731T) Housing [LCD Bezel]                                                        $7.54   0.00%     1.00
               CB 11 (C731T) Wi-Fi Card                                                                $68.18   0.00%     5.00
               CB 11 (C732) Battery                                                                     $0.09   0.00%     1.00
               CB 11 (C732) Daughterboard                                                              $14.74   0.00%     2.00
               CB 11 (C732) Hinge [Left]                                                                $0.00   0.00%    16.00
               CB 11 (C732) Hinge [Right]                                                              $32.61   0.00%    13.00
               CB 11 (C732) Housing [LCD Rear Cover]                                                    $2.35   0.00%     2.00
               CB 11 (C732) LCD Panel                                                                   $0.00   0.00%     1.00
               CB 11 (C732) Microphone                                                                  $1.24   0.00%     1.00
               CB 11 (C732) Motherboard [4GB] [32GB]                                                  $474.19   0.01%     3.00
               CB 11 (C732) Palmrest w/ Keyboard                                                        $0.05   0.00%     1.00
               CB 11 (C732) Trackpad                                                                    $6.75   0.00%     1.00
               CB 11 (C732) Trackpad Flex                                                               $1.16   0.00%     1.00
               CB 11 (C732) Wi-Fi Cable                                                                 $4.69   0.00%     1.00
               CB 11 (C732) Wi-Fi Card                                                                  $1.11   0.00%     1.00
               CB 11 (C733-C5AS) Camera                                                                $18.87   0.00%     2.00
               CB 11 (C733-C5AS) Hinge [Left]                                                           $0.00   0.00%     1.00
               CB 11 (C733-C5AS) LCD Cable                                                              $3.97   0.00%     1.00
               CB 11 (C733-C5AS) Motherboard [4GB] [32GB]                                              $61.98   0.00%     1.00
               CB 11 (C733-C5AS) Palmrest w/ Keyboard                                                  $31.41   0.00%     1.00




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               CB 11 (C740) Battery                                                                          $59.77   0.00%     2.00
               CB 11 (C740) Daughterboard                                                                    $64.40   0.00%     8.00
               CB 11 (C740) Daughterboard Flex                                                                $1.00   0.00%     2.00
               CB 11 (C740) Hinge Set*                                                                       $73.52   0.00%     7.00
               CB 11 (C740) Housing [LCD Bezel]                                                             $104.80   0.00%     7.00
               CB 11 (C740) Housing [LCD Rear Cover]                                                        $228.45   0.00%    10.00
               CB 11 (C740) LCD Cable                                                                         $7.70   0.00%     1.00
               CB 11 (C740) Motherboard [4GB] [32GB]                                                        $367.86   0.00%     6.00
               CB 11 (C740) Palmrest w/ Keyboard                                                             $83.64   0.00%     3.00
               CB 11 (C740) SSD [16GB]                                                                      $302.40   0.00%     8.00
               CB 11 (C771) Housing [LCD Rear Cover]                                                         $19.95   0.00%     1.00
               CB 11 (C771) Motherboard                                                                   $1,350.83   0.02%    11.00
               CB 11 (C771) Palmrest w/ Keyboard                                                             $67.76   0.00%     3.00
               CB 11 (C771T) Camera                                                                           $0.00   0.00%     2.00
               CB 11 (C810) Motherboard [4GB] [32GB]                                                          $0.00   0.00%     1.00
               CB 11 (CB1C13) Battery                                                                         $0.00   0.00%     3.00
               CB 11 (CB1C13) Housing [LCD Rear Cover]                                                        $5.99   0.00%     1.00
               CB 11 (CB1C13) Motherboard [2GB] [16GB]                                                        $0.00   0.00%     3.00
               CB 11 (CP311-3H) Housing [LCD Rear Cover]                                                      $6.40   0.00%     1.00
               CB 11 (CP311-3H) LCD Cable                                                                     $7.94   0.00%     2.00
               CB 11 (G4 EE) Battery                                                                         $30.37   0.00%     8.00
               CB 11 (G4 EE) Housing [Base]                                                                 $239.10   0.00%     5.00
               CB 11 (G4 EE) Housing [LCD Bezel]                                                             $28.76   0.00%     4.00
               CB 11 (G4 EE) Motherboard [4GB] [32GB]                                                       $288.45   0.00%     5.00
               CB 11 (G4 EE) Palmrest w/ Keyboard                                                           $428.63   0.00%     9.00
               CB 11 (G4 EE) Trackpad                                                                        $62.98   0.00%     2.00
               CB 11 (G4 EE) Trackpad Flex                                                                    $0.00   0.00%     2.00
               CB 11 (G4) Motherboard [4GB] [32GB]                                                          $855.68   0.01%    14.00
               CB 11 (G4) Palmrest w/ Keyboard                                                              $215.88   0.00%     5.00
               CB 11 (G5 EE Non-Touch) Camera                                                                 $2.00   0.00%     1.00
               CB 11 (G5 EE Non-Touch) Housing [LCD Bezel]                                                   $13.98   0.00%     2.00
               CB 11 (G5 EE Non-Touch) Housing [LCD Rear Cover]                                              $33.61   0.00%     4.00
               CB 11 (G5 EE Non-Touch) LCD Cable                                                              $0.00   0.00%     2.00
               CB 11 (G5 EE Non-Touch) Motherboard [2GB][16GB]                                              $264.40   0.00%     2.00
               CB 11 (G5 EE Non-Touch) Motherboard [4GB][16GB]                                              $106.74   0.00%     2.00
               CB 11 (G5 EE Non-Touch) Palmrest w/ Keyboard                                                   $0.00   0.00%     3.00
               CB 11 (G5 EE Touch) Camera                                                                    $15.98   0.00%     2.00
               CB 11 (G5) Daughterboard                                                                       $0.00   0.00%     1.00
               CB 11 (G5) LCD Assembly (With Touch)                                                         $255.80   0.00%     3.00
               CB 11 (G5) Palmrest w/ Keyboard                                                               $36.49   0.00%     1.00
               CB 11 (G6 EE Non-Touch) Battery                                                                $0.05   0.00%    11.00
               CB 11 (G6 EE Non-Touch) Camera                                                             $1,565.21   0.02%   200.00
               CB 11 (G6 EE Non-Touch) Camera Cable                                                          $11.44   0.00%   207.00
               CB 11 (G6 EE Non-Touch) Daughterboard                                                          $0.00   0.00%    59.00
               CB 11 (G6 EE Non-Touch) Daughterboard Flex Set                                                 $0.00   0.00%     7.00
               CB 11 (G6 EE Non-Touch) Daughterboard w/ Flex Set                                             $49.77   0.00%     9.00
               CB 11 (G6 EE Non-Touch) Hinge Set                                                             $18.54   0.00%     5.00
               CB 11 (G6 EE Non-Touch) Hinge [Left]                                                           $0.00   0.00%    94.00
               CB 11 (G6 EE Non-Touch) Hinge [Right]                                                          $0.00   0.00%   102.00
               CB 11 (G6 EE Non-Touch) Housing [Base]                                                       $118.74   0.00%   179.00
               CB 11 (G6 EE Non-Touch) Housing [Hinge Cover]                                                 $95.12   0.00%     9.00
               CB 11 (G6 EE Non-Touch) Housing [LCD Bezel]                                                    $4.66   0.00%   133.00
               CB 11 (G6 EE Non-Touch) Housing [LCD Rear Cover]                                           $1,081.72   0.01%   153.00
               CB 11 (G6 EE Non-Touch) LCD Cable                                                            $908.43   0.01%   214.00
               CB 11 (G6 EE Non-Touch) LCD Panel                                                              $6.76   0.00%     8.00
               CB 11 (G6 EE Non-Touch) Motherboard [4GB][32GB]                                            $5,639.27   0.07%    49.00
               CB 11 (G6 EE Non-Touch) Motherboard [N3350][4GB][16GB]                                     $5,145.36   0.06%    63.00
               CB 11 (G6 EE Non-Touch) Motherboard [N3350][4GB][32GB]                                     $5,152.10   0.06%    45.00
               CB 11 (G6 EE Non-Touch) Motherboard [N3350][8GB][32GB]                                        $90.00   0.00%     2.00
               CB 11 (G6 EE Non-Touch) Motherboard [N3450][4GB][32GB]                                        $45.00   0.00%     1.00
               CB 11 (G6 EE Non-Touch) Motherboard [N3450][8GB][64GB]                                         $0.00   0.00%     1.00
               CB 11 (G6 EE Non-Touch) Palmrest w/ Keyboard                                               $9,114.62   0.11%   352.00
               CB 11 (G6 EE Non-Touch) Screw Set                                                              $0.94   0.00%     2.00
               CB 11 (G6 EE Non-Touch) Speaker Set                                                            $0.00   0.00%    40.00
               CB 11 (G6 EE Non-Touch) Trackpad                                                             $105.96   0.00%   171.00
               CB 11 (G6 EE Non-Touch) Trackpad Flex                                                          $0.00   0.00%     3.00
               CB 11 (G6 EE Non-Touch) USB Bracket                                                            $0.02   0.00%     1.00
               CB 11 (G6 EE Non-Touch) Wi-Fi Card                                                            $10.42   0.00%    15.00
               CB 11 (G6 EE Touch) Daughterboard                                                              $0.00   0.00%     1.00
               CB 11 (G6 EE Touch) Keyboard                                                                  $38.02   0.00%     1.00
               CB 11 (G6 EE Touch) LCD Cable                                                                  $1.31   0.00%     1.00
               CB 11 (G6 EE Touch) LCD Panel                                                                $151.90   0.00%     2.00
               CB 11 (G6 EE Touch) Motherboard [N3350][4GB][32GB]                                         $1,311.09   0.02%     8.00
               CB 11 (G6 EE Touch) Trackpad                                                                   $0.26   0.00%     2.00
               CB 11 (G7 EE Non-Touch) Battery                                                                $0.00   0.00%    60.00
               CB 11 (G7 EE Non-Touch) Camera                                                               $351.94   0.00%   102.00
               CB 11 (G7 EE Non-Touch) Camera Cable                                                          $35.98   0.00%    74.00
               CB 11 (G7 EE Non-Touch) Daughterboard                                                          $0.00   0.00%    63.00
               CB 11 (G7 EE Non-Touch) Daughterboard Flex                                                     $0.00   0.00%    84.00
               CB 11 (G7 EE Non-Touch) Hinge Set                                                             $14.30   0.00%     1.00
               CB 11 (G7 EE Non-Touch) Hinge [Left]                                                           $0.00   0.00%    91.00
               CB 11 (G7 EE Non-Touch) Hinge [Right]                                                          $0.00   0.00%    89.00
               CB 11 (G7 EE Non-Touch) Housing [Base]                                                         $3.38   0.00%    26.00
               CB 11 (G7 EE Non-Touch) Housing [LCD Bezel]                                                  $567.89   0.01%    52.00
               CB 11 (G7 EE Non-Touch) Housing [LCD Rear Cover]                                           $1,442.54   0.02%    67.00
               CB 11 (G7 EE Non-Touch) LCD Cable                                                            $117.11   0.00%    79.00
               CB 11 (G7 EE Non-Touch) Motherboard [N4000][4GB][16GB]                                       $487.54   0.01%    12.00
               CB 11 (G7 EE Non-Touch) Palmrest w/ Keyboard                                                 $267.40   0.00%    56.00
               CB 11 (G7 EE Non-Touch) Screw Kit                                                              $0.00   0.00%    66.00
               CB 11 (G7 EE Non-Touch) Speaker Set                                                            $0.00   0.00%    76.00
               CB 11 (G7 EE Non-Touch) Trackpad                                                             $148.03   0.00%    65.00
               CB 11 (G7 EE Non-Touch) Trackpad Bracket                                                       $0.00   0.00%     5.00
               CB 11 (G7 EE Non-Touch) Trackpad Flex                                                          $0.00   0.00%    67.00
               CB 11 (G7 EE Non-Touch) Wi-Fi Antenna                                                          $0.00   0.00%     2.00
               CB 11 (G7 EE Non-Touch) Wi-Fi Card                                                             $0.00   0.00%    76.00
               CB 11 (G7 EE Touch) Camera                                                                    $39.96   0.00%     4.00
               CB 11 (G7 EE Touch) LCD Cable                                                                 $38.83   0.00%     6.00
               CB 11 (G7 EE Touch) Motherboard [N4000][4GB][16GB]                                           $259.98   0.00%     2.00
               CB 11 (G8 EE Non-Touch) Battery                                                              $263.91   0.00%    12.00
               CB 11 (G8 EE Non-Touch) Camera                                                               $132.24   0.00%    56.00
               CB 11 (G8 EE Non-Touch) Camera Cable                                                           $9.77   0.00%    55.00
               CB 11 (G8 EE Non-Touch) Daughterboard                                                        $202.01   0.00%    85.00
               CB 11 (G8 EE Non-Touch) Daughterboard Flex                                                    $17.25   0.00%     1.00
               CB 11 (G8 EE Non-Touch) Daughterboard Flex Set                                                 $0.00   0.00%     2.00
               CB 11 (G8 EE Non-Touch) Hinge Cover                                                          $566.68   0.01%    49.00
               CB 11 (G8 EE Non-Touch) Hinge Set*                                                             $9.53   0.00%     1.00
               CB 11 (G8 EE Non-Touch) Hinge [Left]                                                           $0.00   0.00%     5.00
               CB 11 (G8 EE Non-Touch) Hinge [Right]                                                          $0.00   0.00%     4.00
               CB 11 (G8 EE Non-Touch) Housing [Base]                                                         $0.00   0.00%     2.00
               CB 11 (G8 EE Non-Touch) Housing [LCD Bezel]                                                   $63.25   0.00%    26.00
               CB 11 (G8 EE Non-Touch) Housing [LCD Rear Cover]                                             $122.26   0.00%    33.00
               CB 11 (G8 EE Non-Touch) LCD Cable                                                          $1,573.65   0.02%   222.00
               CB 11 (G8 EE Non-Touch) Motherboard                                                        $5,243.50   0.06%    41.00
               CB 11 (G8 EE Non-Touch) Motherboard [N4020][4GB][16GB]                                       $269.98   0.00%     2.00
               CB 11 (G8 EE Non-Touch) Motherboard [N4020][4GB][32GB]                                     $2,429.60   0.03%    20.00
               CB 11 (G8 EE Non-Touch) Palmrest w/ Keyboard                                               $1,768.02   0.02%    57.00
               CB 11 (G8 EE Non-Touch) Palmrest w/ Keyboard and Trackpad                                  $4,284.81   0.05%   152.00
               CB 11 (G8 EE Non-Touch) Screw Kit                                                              $0.03   0.00%     3.00
               CB 11 (G8 EE Non-Touch) Speaker Set                                                            $0.00   0.00%     2.00




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               CB 11 (G8 EE Non-Touch) Trackpad                                                               $187.66   0.00%   166.00
               CB 11 (G8 EE Non-Touch) Trackpad Flex                                                            $0.00   0.00%     2.00
               CB 11 (G8 EE Non-Touch) Wi-Fi Bracket                                                            $0.00   0.00%     1.00
               CB 11 (G8 EE Non-Touch) Wi-Fi Cable                                                              $0.02   0.00%     2.00
               CB 11 (G8 EE Non-Touch) Wi-Fi Card                                                               $0.00   0.00%    12.00
               CB 11 (G8 EE Touch) Housing [Base]                                                             $130.04   0.00%     4.00
               CB 11 (G8 EE Touch) Housing [LCD Bezel]                                                          $9.00   0.00%     1.00
               CB 11 (G8 EE Touch) LCD Cable                                                                    $4.99   0.00%     1.00
               CB 11 (G8 EE Touch) Speaker Set                                                                 $17.97   0.00%     3.00
               CB 11 (N21) Hinge [Left]                                                                         $4.66   0.00%     2.00
               CB 11 (N21) Hinge [Right]                                                                        $4.76   0.00%     2.00
               CB 11 (N21) Motherboard [4GB] [32GB]                                                            $45.19   0.00%     1.00
               CB 11 (N22 80SF) Battery                                                                        $84.98   0.00%     4.00
               CB 11 (N22 80SF) Camera                                                                        $230.88   0.00%     8.00
               CB 11 (N22 80SF) Camera w/ LCD Cable                                                           $113.57   0.00%    11.00
               CB 11 (N22 80SF) DC Jack                                                                         $0.00   0.00%     1.00
               CB 11 (N22 80SF) Housing [Base]                                                                $399.37   0.00%    15.00
               CB 11 (N22 80SF) Housing [LCD Rear Cover]                                                       $44.21   0.00%     2.00
               CB 11 (N22 80SF) LCD Panel (Touch)                                                             $683.00   0.01%    10.00
               CB 11 (N22 80SF) Motherboard [4GB] [32GB]                                                      $689.14   0.01%     9.00
               CB 11 (N22 80SF) Palmrest w/ Keyboard                                                          $332.06   0.00%    17.00
               CB 11 (N22 80SF) Palmrest w/ Keyboard and Trackpad*                                             $80.74   0.00%     3.00
               CB 11 (N22 80SF) Speaker Set                                                                    $75.53   0.00%     7.00
               CB 11 (N22 80SF) Trackpad                                                                        $6.32   0.00%     2.00
               CB 11 (N22 80SF) Trackpad Flex                                                                   $0.00   0.00%     1.00
               CB 11 (N22 80SF) Wi-Fi Card                                                                      $8.36   0.00%     1.00
               CB 11 (N23) AC Adapter                                                                          $45.21   0.00%    16.00
               CB 11 (N23) Battery                                                                            $991.10   0.01%   134.00
               CB 11 (N23) Camera                                                                             $516.56   0.01%    41.00
               CB 11 (N23) Daughterboard                                                                    $1,181.37   0.01%   132.00
               CB 11 (N23) Daughterboard Cable                                                                  $2.04   0.00%     1.00
               CB 11 (N23) DC Jack                                                                             $28.11   0.00%    10.00
               CB 11 (N23) Hinge Set*                                                                         $369.25   0.00%    32.00
               CB 11 (N23) Hinge [Left]                                                                       $141.14   0.00%    62.00
               CB 11 (N23) Hinge [Right]                                                                       $76.07   0.00%    28.00
               CB 11 (N23) Housing [Base]                                                                   $1,402.71   0.02%    96.00
               CB 11 (N23) Housing [Camera]                                                                 $3,507.13   0.04%   155.00
               CB 11 (N23) Housing [LCD Bezel]                                                              $1,710.73   0.02%   176.00
               CB 11 (N23) Housing [LCD Rear Cover]                                                         $1,540.78   0.02%   117.00
               CB 11 (N23) LCD Assembly                                                                         $2.16   0.00%     9.00
               CB 11 (N23) LCD Cable                                                                          $588.36   0.01%   122.00
               CB 11 (N23) LCD Cable (Touch)                                                                   $14.00   0.00%     2.00
               CB 11 (N23) LCD Panel (Touch)                                                                $1,471.45   0.02%    19.00
               CB 11 (N23) Motherboard                                                                     $17,763.48   0.21%   384.00
               CB 11 (N23) Palmrest w/ Keyboard                                                             $3,421.44   0.04%   335.00
               CB 11 (N23) Palmrest w/ Keyboard and Trackpad*                                               $1,223.03   0.01%    45.00
               CB 11 (N23) Screw Set                                                                           $81.09   0.00%    49.00
               CB 11 (N23) Speaker Set                                                                          $6.92   0.00%     4.00
               CB 11 (N23) Trackpad                                                                           $357.17   0.00%    78.00
               CB 11 (N23) Trackpad Cable                                                                      $32.07   0.00%    11.00
               CB 11 (N23) Wi-Fi Card                                                                       $1,103.01   0.01%   177.00
               CB 11 (N24) LCD Panel (Touch)                                                                $1,543.79   0.02%    24.00
               CB 11 (NL7L LTE) Housing [LCD Bezel]                                                            $12.00   0.00%     1.00
               CB 11 (R721T) Housing [Base]                                                                    $22.47   0.00%     2.00
               CB 11 (R721T) Housing [LCD Rear Cover]                                                           $3.07   0.00%     1.00
               CB 11 (R721T) Keyboard                                                                          $10.69   0.00%     2.00
               CB 11 (R721T) LCD w/ Digitizer                                                               $1,081.82   0.01%    10.00
               CB 11 (R721T) Motherboard                                                                      $157.94   0.00%     1.00
               CB 11 (R751T) Battery                                                                           $35.79   0.00%     1.00
               CB 11 (R751T) Daughterboard                                                                      $4.60   0.00%     2.00
               CB 11 (R751T) Daughterboard (USB) Flex Set                                                       $1.12   0.00%     2.00
               CB 11 (R751T) Hinge Set*                                                                        $72.26   0.00%     4.00
               CB 11 (R751T) Housing [LCD Rear Cover]                                                           $3.17   0.00%     1.00
               CB 11 (R751T) LCD w/ Digitizer                                                                 $331.12   0.00%     4.00
               CB 11 (R751T) Motherboard                                                                      $116.82   0.00%     2.00
               CB 11 (R751T) Palmrest w/ Keyboard                                                             $439.13   0.01%    10.00
               CB 11 (R751T) Speaker Set                                                                       $15.00   0.00%     2.00
               CB 11 (R751T) Trackpad                                                                           $5.34   0.00%     2.00
               CB 11 (R751T) Trackpad Flex                                                                      $2.90   0.00%     2.00
               CB 11 (R751T) Wi-Fi Card                                                                        $11.81   0.00%     1.00
               CB 11 (R752T) Battery                                                                           $14.59   0.00%     1.00
               CB 11 (R752T) Camera [Front]                                                                     $0.00   0.00%     2.00
               CB 11 (R752T) Daughterboard                                                                      $0.51   0.00%     2.00
               CB 11 (R752T) Daughterboard Flex Set                                                             $0.00   0.00%     1.00
               CB 11 (R752T) Daughterboard Flex [30 Pin]                                                        $0.00   0.00%     2.00
               CB 11 (R752T) G Sensor Board Cable                                                               $0.71   0.00%     1.00
               CB 11 (R752T) Housing [Base]                                                                     $9.78   0.00%     2.00
               CB 11 (R752T) LCD Assembly                                                                       $0.00   0.00%     2.00
               CB 11 (R752T) Palmrest w/ Keyboard                                                              $15.10   0.00%     1.00
               CB 11 (R752T) Wi-Fi Card                                                                        $62.96   0.00%     6.00
               CB 11 (R752TN) Motherboard [4GB][32GB]                                                         $135.98   0.00%     1.00
               CB 11 (R851TN) Daughterboard                                                                     $8.34   0.00%     4.00
               CB 11 (R851TN) Daughterboard Flex - Large                                                        $0.00   0.00%    13.00
               CB 11 (R851TN) Daughterboard Flex - Small                                                        $0.07   0.00%     1.00
               CB 11 (R851TN) Hinge [Left]                                                                      $0.00   0.00%     1.00
               CB 11 (R851TN) Hinge [Right]                                                                    $20.90   0.00%     6.00
               CB 11 (R851TN) Housing [Base]                                                                   $36.60   0.00%     3.00
               CB 11 (R851TN) LCD Cable                                                                         $3.13   0.00%     1.00
               CB 11 (R851TN) LCD w/ Digitizer                                                                $216.39   0.00%     2.00
               CB 11 (R851TN) Motherboard Connector                                                             $0.00   0.00%    12.00
               CB 11 (R851TN) Palmrest w/ Keyboard                                                              $0.00   0.00%     1.00
               CB 11 (RC738T) Motherboard [4GB][32GB]                                                           $0.00   0.00%    18.00
               CB 11 (XE500C13) Battery                                                                       $494.08   0.01%    15.00
               CB 11 (XE500C13) Camera                                                                         $17.97   0.00%     3.00
               CB 11 (XE500C13) Daughterboard w/ Flex Set                                                      $23.98   0.00%     2.00
               CB 11 (XE500C13) Hinge Set*                                                                    $179.90   0.00%    10.00
               CB 11 (XE500C13) Housing [Base]                                                                  $0.00   0.00%     2.00
               CB 11 (XE500C13) Housing [LCD Rear Cover]                                                      $171.89   0.00%     7.00
               CB 11 (XE500C13) LCD                                                                            $69.98   0.00%     2.00
               CB 11 (XE500C13) LCD Cable                                                                      $17.97   0.00%     3.00
               CB 11 (XE500C13) Motherboard [4GB] [32GB]                                                    $3,721.18   0.04%    45.00
               CB 11 (XE500C13) Palmrest w/ Keyboard                                                           $21.70   0.00%     2.00
               CB 11 (XE500C13) Palmrest w/ Keyboard and Trackpad*                                            $233.56   0.00%     8.00
               CB 11 (XE500C13) Speaker Set                                                                     $3.99   0.00%     1.00
               CB 11 (XE500C13-K04US) Motherboard [4GB][32GB]                                                  $88.79   0.00%     1.00
               CB 11 4 (XE310XBA-K01US) Audio Board                                                             $0.00   0.00%     1.00
               CB 11 4 (XE310XBA-K01US) Battery                                                                $77.13   0.00%     3.00
               CB 11 4 (XE310XBA-K01US) Camera                                                                  $0.00   0.00%     2.00
               CB 11 4 (XE310XBA-K01US) Daughterboard                                                           $0.00   0.00%     1.00
               CB 11 4 (XE310XBA-K01US) Housing [Base]                                                         $12.97   0.00%     2.00
               CB 11 4 (XE310XBA-K01US) Housing [LCD Rear Cover]                                                $0.00   0.00%     3.00
               CB 11 4 (XE310XBA-K01US) Keyboard                                                              $132.54   0.00%     2.00
               CB 11 4 (XE310XBA-K01US) LCD Cable                                                              $55.95   0.00%    14.00
               CB 11 4 (XE310XBA-K01US) LCD Panel                                                             $300.15   0.00%     3.00
               CB 11 4 (XE310XBA-K01US) Palmrest w/ Keyboard                                                    $0.00   0.00%     4.00
               CB 11 4 (XE310XBA-KA1US) LCD Cable                                                              $55.95   0.00%     3.00
               CB 11 4 (XE310XBA-KA1US) Palmrest w/ Keyboard and Trackpad                                     $198.81   0.00%     3.00
               CB 11 4 (XE310XBA-KB1US) Housing [Base]                                                         $12.97   0.00%     1.00
               CB 11 4 (XE310XBA-KB1US) LCD Cable                                                              $55.95   0.00%     3.00




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               CB 11 4 (XE310XBA-KB1US) Palmrest w/ Keyboard                                                  $58.69   0.00%    1.00
               CB 11 x360 (G1 EE) Battery                                                                     $33.83   0.00%    8.00
               CB 11 x360 (G1 EE) Hinge Set*                                                                  $41.20   0.00%    1.00
               CB 11 x360 (G1 EE) Housing [Base]                                                              $11.49   0.00%    2.00
               CB 11 x360 (G1 EE) Housing [LCD Rear Cover]                                                    $43.49   0.00%    2.00
               CB 11 x360 (G1 EE) LCD Assembly                                                             $1,209.91   0.01%   23.00
               CB 11 x360 (G1 EE) LCD Cable                                                                   $21.34   0.00%    3.00
               CB 11 x360 (G1 EE) Motherboard [4GB][32GB]                                                    $143.69   0.00%    3.00
               CB 11 x360 (G1 EE) Palmrest w/ Keyboard                                                        $61.00   0.00%    3.00
               CB 11 x360 (G1 EE) Power Board                                                                 $10.29   0.00%    1.00
               CB 11 x360 (G2 EE) Battery                                                                    $951.22   0.01%   57.00
               CB 11 x360 (G2 EE) Bracket Kit                                                                 $52.44   0.00%   57.00
               CB 11 x360 (G2 EE) Camera                                                                      $39.40   0.00%   25.00
               CB 11 x360 (G2 EE) Camera Cable                                                                $60.78   0.00%   46.00
               CB 11 x360 (G2 EE) Camera [Palmrest]                                                            $0.46   0.00%    2.00
               CB 11 x360 (G2 EE) Camera [Palmrest] Flex                                                       $0.46   0.00%    2.00
               CB 11 x360 (G2 EE) Daughterboard                                                                $0.76   0.00%   10.00
               CB 11 x360 (G2 EE) Daughterboard Flex Set                                                      $18.40   0.00%   40.00
               CB 11 x360 (G2 EE) Hinge Set                                                                    $8.32   0.00%    5.00
               CB 11 x360 (G2 EE) Housing [Base]                                                              $55.20   0.00%   61.00
               CB 11 x360 (G2 EE) Housing [LCD Rear Cover]                                                     $5.24   0.00%    1.00
               CB 11 x360 (G2 EE) Housing [LCD Rear Cover] (Touch)                                            $94.27   0.00%   41.00
               CB 11 x360 (G2 EE) LCD (Touch)                                                                $688.95   0.01%   25.00
               CB 11 x360 (G2 EE) LCD Cable                                                                    $0.00   0.00%    6.00
               CB 11 x360 (G2 EE) LCD Cable (Touch)                                                           $35.88   0.00%   26.00
               CB 11 x360 (G2 EE) Motherboard [N4000][4GB][32GB]                                             $626.21   0.01%    5.00
               CB 11 x360 (G2 EE) Palmrest w/ Keyboard                                                         $0.00   0.00%   10.00
               CB 11 x360 (G2 EE) Power Board Cable                                                           $47.84   0.00%   52.00
               CB 11 x360 (G2 EE) Screw Kit                                                                   $49.91   0.00%   31.00
               CB 11 x360 (G2 EE) Sensor Board                                                                $59.80   0.00%   52.00
               CB 11 x360 (G2 EE) Speaker Set                                                                 $27.14   0.00%   59.00
               CB 11 x360 (G2 EE) Trackpad                                                                     $8.28   0.00%   36.00
               CB 11 x360 (G2 EE) Trackpad Flex                                                               $12.42   0.00%   54.00
               CB 11 x360 (G2 EE) Wi-Fi Card                                                                 $238.62   0.00%   77.00
               CB 11 x360 (G3 EE) Battery                                                                    $977.77   0.01%   34.00
               CB 11 x360 (G3 EE) Battery Cable                                                               $15.87   0.00%   23.00
               CB 11 x360 (G3 EE) Bracket Kit                                                                 $25.76   0.00%   28.00
               CB 11 x360 (G3 EE) Camera                                                                      $28.98   0.00%   18.00
               CB 11 x360 (G3 EE) Camera Cable                                                                $45.54   0.00%   33.00
               CB 11 x360 (G3 EE) Daughterboard                                                               $54.78   0.00%   19.00
               CB 11 x360 (G3 EE) Daughterboard Flex Set                                                      $16.91   0.00%   38.00
               CB 11 x360 (G3 EE) Hinge Set                                                                  $241.57   0.00%   26.00
               CB 11 x360 (G3 EE) Hinge [Left]                                                                 $6.35   0.00%   26.00
               CB 11 x360 (G3 EE) Hinge [Right]                                                                $5.04   0.00%   18.00
               CB 11 x360 (G3 EE) Housing [Base]                                                              $37.72   0.00%   41.00
               CB 11 x360 (G3 EE) Housing [LCD Rear Cover]                                                   $178.97   0.00%   30.00
               CB 11 x360 (G3 EE) LCD Assembly                                                             $1,145.49   0.01%    8.00
               CB 11 x360 (G3 EE) LCD Cable                                                                   $23.09   0.00%   30.00
               CB 11 x360 (G3 EE) LCD Cable [WFC]                                                              $7.20   0.00%    2.00
               CB 11 x360 (G3 EE) LCD w/ Digitizer (Finger-Touch)                                          $1,493.10   0.02%   36.00
               CB 11 x360 (G3 EE) Motherboard                                                              $6,632.30   0.08%   62.00
               CB 11 x360 (G3 EE) Palmrest w/ Keyboard                                                     $1,484.71   0.02%   40.00
               CB 11 x360 (G3 EE) Palmrest w/ Keyboard [w/ WFC]                                                $0.00   0.00%    7.00
               CB 11 x360 (G3 EE) Screw Kit                                                                   $19.32   0.00%   12.00
               CB 11 x360 (G3 EE) Sensor Board                                                                $29.90   0.00%   26.00
               CB 11 x360 (G3 EE) Speaker Set                                                                 $12.88   0.00%   28.00
               CB 11 x360 (G3 EE) Trackpad                                                                   $118.03   0.00%   24.00
               CB 11 x360 (G3 EE) Trackpad Bracket                                                             $0.00   0.00%    1.00
               CB 11 x360 (G3 EE) Trackpad Flex                                                                $1.72   0.00%    8.00
               CB 11 x360 (G3 EE) Wi-Fi Antenna                                                                $0.00   0.00%    3.00
               CB 11 x360 (G3 EE) Wi-Fi Card                                                                  $15.18   0.00%   22.00
               CB 11A (G6 EE Non-Touch) Battery                                                                $0.00   0.00%   13.00
               CB 11A (G6 EE Non-Touch) Camera                                                                $48.34   0.00%   11.00
               CB 11A (G6 EE Non-Touch) Camera Cable                                                           $8.59   0.00%   14.00
               CB 11A (G6 EE Non-Touch) Daughterboard                                                         $30.96   0.00%   16.00
               CB 11A (G6 EE Non-Touch) Daughterboard Flex Set                                                 $0.00   0.00%    2.00
               CB 11A (G6 EE Non-Touch) Hinge [Left]                                                           $0.00   0.00%    5.00
               CB 11A (G6 EE Non-Touch) Hinge [Right]                                                          $2.29   0.00%    2.00
               CB 11A (G6 EE Non-Touch) Housing [LCD Bezel]                                                   $33.16   0.00%   10.00
               CB 11A (G6 EE Non-Touch) Housing [LCD Rear Cover]                                              $75.24   0.00%   19.00
               CB 11A (G6 EE Non-Touch) LCD Cable                                                             $79.75   0.00%   39.00
               CB 11A (G6 EE Non-Touch) LCD Panel                                                            $235.74   0.00%    6.00
               CB 11A (G6 EE Non-Touch) Motherboard [4GB] [16GB]                                             $951.03   0.01%   20.00
               CB 11A (G6 EE Non-Touch) Motherboard [4GB] [32GB]                                           $1,445.28   0.02%   24.00
               CB 11A (G6 EE Non-Touch) Palmrest w/ Keyboard                                                 $888.88   0.01%   60.00
               CB 11A (G6 EE Non-Touch) Palmrest w/ Keyboard and Trackpad                                    $458.40   0.01%   10.00
               CB 11A (G6 EE Non-Touch) Speaker Set                                                            $3.19   0.00%    2.00
               CB 11A (G6 EE Non-Touch) Trackpad                                                               $2.58   0.00%    8.00
               CB 11A (G6 EE Non-Touch) Trackpad Flex                                                          $2.59   0.00%    2.00
               CB 11A (G6 EE Non-Touch) Wi-Fi Antenna                                                          $0.00   0.00%    1.00
               CB 11A (G6 EE Non-Touch) Wi-Fi Card                                                             $1.43   0.00%    2.00
               CB 11A (G6 EE Touch) Daughterboard                                                              $0.00   0.00%    1.00
               CB 11A (G6 EE Touch) LCD Cable                                                                 $95.89   0.00%    8.00
               CB 11A (G6 EE Touch) LCD Panel                                                                $143.98   0.00%    2.00
               CB 11A (G6 EE Touch) Palmrest w/ Keyboard and Trackpad                                          $0.00   0.00%    2.00
               CB 11A (G8 EE Non-Touch) Battery                                                               $34.12   0.00%   13.00
               CB 11A (G8 EE Non-Touch) Camera                                                                 $0.00   0.00%   16.00
               CB 11A (G8 EE Non-Touch) Camera Cable                                                           $0.00   0.00%   16.00
               CB 11A (G8 EE Non-Touch) Daughterboard                                                         $85.74   0.00%   15.00
               CB 11A (G8 EE Non-Touch) Daughterboard Flex Set                                                 $4.13   0.00%    2.00
               CB 11A (G8 EE Non-Touch) Hinge Set*                                                           $125.12   0.00%   12.00
               CB 11A (G8 EE Non-Touch) Hinge [Left]                                                           $0.00   0.00%   26.00
               CB 11A (G8 EE Non-Touch) Hinge [Right]                                                         $21.61   0.00%   31.00
               CB 11A (G8 EE Non-Touch) Housing [Base]                                                         $0.00   0.00%    2.00
               CB 11A (G8 EE Non-Touch) Housing [Hinge Cover]                                              $1,028.59   0.01%   83.00
               CB 11A (G8 EE Non-Touch) Housing [LCD Bezel]                                                  $262.08   0.00%   22.00
               CB 11A (G8 EE Non-Touch) Housing [LCD Rear Cover]                                           $1,059.10   0.01%   51.00
               CB 11A (G8 EE Non-Touch) LCD Bracket                                                            $0.75   0.00%    1.00
               CB 11A (G8 EE Non-Touch) LCD Cable                                                            $151.77   0.00%   73.00
               CB 11A (G8 EE Non-Touch) Motherboard                                                        $6,513.63   0.08%   51.00
               CB 11A (G8 EE Non-Touch) Palmrest w/ Keyboard                                                 $128.07   0.00%   21.00
               CB 11A (G8 EE Non-Touch) Palmrest w/ Keyboard and Trackpad                                     $44.86   0.00%    1.00
               CB 11A (G8 EE Non-Touch) Screw Kit                                                              $3.27   0.00%    1.00
               CB 11A (G8 EE Non-Touch) Speaker Set                                                           $13.23   0.00%    4.00
               CB 11A (G8 EE Non-Touch) Trackpad                                                             $180.27   0.00%   39.00
               CB 11A (G8 EE Non-Touch) Trackpad Flex                                                          $2.30   0.00%    1.00
               CB 11A (G8 EE Non-Touch) Wi-Fi Card                                                            $20.82   0.00%    4.00
               CB 11A (G8 EE Touch) LCD Cable                                                                 $90.58   0.00%    4.00
               CB 11e (20DB) Housing [Base]                                                                   $29.69   0.00%    1.00
               CB 11e (20GF) Housing [LCD Bezel]                                                              $21.33   0.00%    1.00
               CB 11e (20GF) Keyboard                                                                         $69.09   0.00%    3.00
               CB 11e (20GF) LCD Cable                                                                        $88.00   0.00%   10.00
               CB 11MK (G9 EE)(349Y8UT)(Non-Touch) LCD Cable                                                  $35.96   0.00%    4.00
               CB 11MK (G9 EE)(349Y8UT)(Non-Touch) LCD Panel (11.6 in)                                       $209.93   0.00%    7.00
               CB 11MK x360 (G3 EE) Daughterboard                                                              $8.99   0.00%    1.00
               CB 11MK x360 (G3 EE) Motherboard                                                              $551.96   0.01%    4.00
               CB 12 (C223NA) Battery [38Wh]                                                                  $36.63   0.00%    1.00
               CB 12 (C223NA) Hinge [Left]                                                                     $1.73   0.00%    1.00
               CB 12 (C223NA) Hinge [Right]                                                                    $1.70   0.00%    1.00




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               CB 12 (C223NA) Housing [Base]                                                                $20.30   0.00%     2.00
               CB 12 (C223NA) Housing [LCD Rear Cover]                                                       $8.67   0.00%     1.00
               CB 12 (C223NA) Keyboard w/ Palmrest                                                          $25.38   0.00%     1.00
               CB 12 (C223NA) LCD Cable                                                                      $8.00   0.00%     2.00
               CB 12 (C871-C85K) LCD Cable                                                                   $3.70   0.00%     1.00
               CB 12 (C871-C85K) Palmrest w/ Keyboard                                                       $25.80   0.00%     1.00
               CB 14 (3400) Motherboard [4GB][32GB]                                                        $195.63   0.00%     1.00
               CB 14 (C423NA-BCLN5) Hinge Set                                                                $0.00   0.00%     1.00
               CB 14 (C423NA-BCLN5) Housing [Base]                                                           $0.00   0.00%     2.00
               CB 14 (C423NA-BCLN5) LCD Panel                                                              $206.98   0.00%     2.00
               CB 14 (C423NA-BCLN5) Motherboard [4GB]                                                      $295.30   0.00%     2.00
               CB 14 (C423NA-BCLN5) Palmrest w/ Keyboard                                                    $25.00   0.00%     1.00
               CB 14 (C423NA-BCLN5) Trackpad                                                                $15.00   0.00%     1.00
               CB 14 (C434TA) Housing [LCD Rear Cover]                                                      $30.03   0.00%     2.00
               CB 14 (C434TA) LCD Assembly                                                                 $393.84   0.00%     3.00
               CB 14 (C434TA) Motherboard                                                                  $585.82   0.01%     2.00
               CB 14 (C933) Battery                                                                        $366.54   0.00%    24.00
               CB 14 (C933) Battery Flex                                                                     $0.00   0.00%     2.00
               CB 14 (C933) Camera                                                                          $47.54   0.00%    53.00
               CB 14 (C933) Daughterboard                                                                   $74.00   0.00%    21.00
               CB 14 (C933) Daughterboard Flex [30 Pin]                                                      $0.00   0.00%     6.00
               CB 14 (C933) Daughterboard Flex [40 Pin]                                                      $0.00   0.00%     3.00
               CB 14 (C933) Hinge Set*                                                                      $56.00   0.00%     4.00
               CB 14 (C933) Hinge [Left]                                                                    $46.66   0.00%   104.00
               CB 14 (C933) Hinge [Right]                                                                   $28.80   0.00%    25.00
               CB 14 (C933) Housing [Base]                                                                 $963.04   0.01%   122.00
               CB 14 (C933) Housing [LCD Bezel]                                                             $63.56   0.00%    49.00
               CB 14 (C933) Housing [LCD Rear Cover]                                                       $245.86   0.00%    50.00
               CB 14 (C933) LCD Assembly                                                                 $6,174.08   0.07%    49.00
               CB 14 (C933) LCD Cable                                                                      $667.89   0.01%   117.00
               CB 14 (C933) LCD w/ Digitizer                                                            $12,426.38   0.14%   188.00
               CB 14 (C933) Motherboard [4GB][32GB]                                                     $13,099.16   0.15%    78.00
               CB 14 (C933) Palmrest w/ Keyboard                                                         $2,318.75   0.03%   157.00
               CB 14 (C933) Sensor Board                                                                     $0.03   0.00%     1.00
               CB 14 (C933) Sensor Board Flex                                                                $0.02   0.00%     1.00
               CB 14 (C933) Speaker Set                                                                      $0.00   0.00%     4.00
               CB 14 (C933) Trackpad                                                                        $65.85   0.00%    29.00
               CB 14 (C933) Trackpad Flex                                                                   $14.62   0.00%    39.00
               CB 14 (C933) Wi-Fi Antenna                                                                    $2.67   0.00%     6.00
               CB 14 (C933) Wi-Fi Card                                                                       $0.00   0.00%     6.00
               CB 14 (C933T) Hinge [Left]                                                                    $1.73   0.00%     1.00
               CB 14 (C933T) Housing [Base]                                                                 $16.54   0.00%     2.00
               CB 14 (C933T) Housing [LCD Bezel]                                                           $219.99   0.00%     1.00
               CB 14 (C933T) LCD Assembly                                                                  $509.80   0.01%     3.00
               CB 14 (C933T) LCD Cable                                                                       $8.45   0.00%     1.00
               CB 14 (C933T) Motherboard [4GB][32GB]                                                       $135.00   0.00%     3.00
               CB 14 (C933T) Palmrest w/ Keyboard                                                           $20.07   0.00%     1.00
               CB 14 (C933T) Trackpad                                                                        $5.96   0.00%     1.00
               CB 14 (C933T) Wi-Fi Card                                                                     $11.09   0.00%     1.00
               CB 14 (CB3-431) Housing [Base]                                                               $23.98   0.00%     3.00
               CB 14 (CB3-431) Keyboard                                                                     $57.88   0.00%     2.00
               CB 14 (CB3-431) Motherboard                                                                 $305.93   0.00%     2.00
               CB 14 (CB3-431) Trackpad                                                                      $7.56   0.00%     1.00
               CB 14 (DB0023DX) LCD                                                                        $105.28   0.00%     1.00
               CB 14 (DB0023DX) LCD Cable                                                                  $105.90   0.00%     3.00
               CB 14 (DB0023DX) Palmrest w/ Keyboard                                                       $129.98   0.00%     2.00
               CB 14 (G4) Housing [Base]                                                                   $115.68   0.00%     4.00
               CB 14 (G4) LCD Assembly                                                                     $691.17   0.01%     7.00
               CB 14 (G4) Motherboard [4GB] [32GB]                                                          $74.11   0.00%     1.00
               CB 14 (G4) Palmrest w/ Keyboard                                                           $4,153.23   0.05%    59.00
               CB 14 (G5 Non-Touch) Battery                                                                 $40.23   0.00%     2.00
               CB 14 (G5 Non-Touch) Camera                                                                  $18.93   0.00%     6.00
               CB 14 (G5 Non-Touch) Camera Cable                                                            $29.88   0.00%     2.00
               CB 14 (G5 Non-Touch) Daughterboard                                                            $4.70   0.00%     2.00
               CB 14 (G5 Non-Touch) Daughterboard Flex Set                                                   $0.62   0.00%     1.00
               CB 14 (G5 Non-Touch) Housing [Base]                                                           $0.00   0.00%     1.00
               CB 14 (G5 Non-Touch) Housing [LCD Bezel]                                                      $0.00   0.00%     3.00
               CB 14 (G5 Non-Touch) LCD Cable                                                               $55.77   0.00%    12.00
               CB 14 (G5 Non-Touch) LCD Panel                                                              $411.24   0.00%     9.00
               CB 14 (G5 Non-Touch) Motherboard[N3350][4GB][16GB]                                            $0.00   0.00%     1.00
               CB 14 (G5 Non-Touch) Palmrest w/ Keyboard                                                    $49.70   0.00%     6.00
               CB 14 (G5 Non-Touch) Sensor Board                                                             $2.00   0.00%     1.00
               CB 14 (G5 Non-Touch) Sensor Board Cable                                                       $1.48   0.00%     1.00
               CB 14 (G5 Non-Touch) Trackpad                                                                 $2.39   0.00%    15.00
               CB 14 (G5 Non-Touch) Trackpad Flex                                                            $1.28   0.00%     2.00
               CB 14 (G5 Non-Touch) Wi-Fi Card                                                               $3.26   0.00%     2.00
               CB 14 (G5 Touch) Camera                                                                      $11.98   0.00%     2.00
               CB 14 (G5 Touch) LCD Cable                                                                    $6.99   0.00%     1.00
               CB 14 (G5 Touch) Motherboard[N3350][4GB][16GB]                                              $201.89   0.00%     1.00
               CB 14 (G5 Touch) Trackpad                                                                     $0.00   0.00%     1.00
               CB 14 (G6) Battery                                                                          $107.98   0.00%     2.00
               CB 14 (G6) Camera                                                                            $11.98   0.00%     2.00
               CB 14 (G6) Hinge Cover                                                                       $26.97   0.00%     3.00
               CB 14 (G6) Housing [LCD Bezel]                                                              $109.95   0.00%     5.00
               CB 14 (G6) LCD Cable                                                                         $31.98   0.00%     2.00
               CB 14 (G6) LCD Panel                                                                        $521.19   0.01%     7.00
               CB 14 (G6) LCD Panel (Touch)                                                                $169.99   0.00%     1.00
               CB 14 (G6) Motherboard [N4020][4GB][32GB]                                                   $757.95   0.01%     5.00
               CB 14 (G6) Palmrest w/ Keyboard                                                             $241.96   0.00%     4.00
               CB 14 (G6) Trackpad                                                                          $75.96   0.00%     4.00
               CB 14 (N42) Battery                                                                          $36.86   0.00%     2.00
               CB 14 (N42) Camera                                                                        $2,273.18   0.03%   142.00
               CB 14 (N42) Daughterboard (USB)                                                              $10.01   0.00%     1.00
               CB 14 (N42) DC Jack                                                                           $1.17   0.00%     1.00
               CB 14 (N42) Hinge Set*                                                                       $63.93   0.00%     7.00
               CB 14 (N42) Hinge [Left]                                                                      $0.00   0.00%     1.00
               CB 14 (N42) Hinge [Right]                                                                     $0.00   0.00%     3.00
               CB 14 (N42) Housing [Base]                                                                  $107.92   0.00%     8.00
               CB 14 (N42) Housing [LCD Bezel]                                                             $151.08   0.00%     8.00
               CB 14 (N42) Housing [LCD Rear Cover]                                                         $75.00   0.00%     5.00
               CB 14 (N42) Keyboard                                                                        $257.94   0.00%     6.00
               CB 14 (N42) LCD Cable                                                                        $21.71   0.00%     4.00
               CB 14 (N42) LCD Panel                                                                     $2,519.22   0.03%    31.00
               CB 14 (N42) LCD Panel (Touch)                                                               $784.63   0.01%     8.00
               CB 14 (N42) Motherboard [4GB][16GB]                                                          $44.99   0.00%     1.00
               CB 14 (N42) Motherboard [4GB][32GB]                                                         $106.66   0.00%     1.00
               CB 14 (N42) Palmrest w/ Keyboard                                                             $21.34   0.00%     2.00
               CB 14 (N42) Speaker Set                                                                      $21.58   0.00%     2.00
               CB 14 (N42) Trackpad                                                                         $40.00   0.00%     4.00
               CB 14 (N42) Trackpad Flex                                                                    $20.89   0.00%     5.00
               CB 14A (G5 Non-Touch) Daughterboard                                                          $14.50   0.00%     2.00
               CB 14A (G5 Non-Touch) Housing [LCD Bezel]                                                    $45.05   0.00%     2.00
               CB 14A (G5 Non-Touch) Housing [Rear Cover]                                                   $35.89   0.00%     2.00
               CB 14A (G5 Non-Touch) Keyboard [w/ Backlight]                                                 $0.00   0.00%     1.00
               CB 14A (G5 Non-Touch) LCD Cable                                                              $28.79   0.00%    10.00
               CB 14A (G5 Non-Touch) LCD Panel                                                              $55.22   0.00%     2.00
               CB 14A (G5 Non-Touch) Motherboard w/ Bracket                                                 $26.13   0.00%     2.00
               CB 14A (G5 Non-Touch) Motherboard [A4-9120C][4GB][16GB]                                     $952.21   0.01%     9.00
               CB 14A (G5 Non-Touch) Palmrest w/ Keyboard                                                   $29.63   0.00%    14.00




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               CB 14A (G5 Non-Touch) Trackpad                                                                                              $7.55     0.00%     7.00
               CB 14A (G5 Non-Touch) Trackpad Flex                                                                                         $0.00     0.00%     2.00
               CB 14A (G5 Non-Touch) Wifi Card                                                                                             $3.59     0.00%     1.00
               CB 14A (G5 Touch) Battery                                                                                                   $7.66     0.00%     3.00
               CB 14A (G5 Touch) Daughterboard                                                                                             $8.99     0.00%     1.00
               CB 14A (G5 Touch) Housing [Base]                                                                                            $2.44     0.00%     2.00
               CB 14A (G5 Touch) Housing [Rear Cover]                                                                                      $0.00     0.00%     1.00
               CB 14A (G5 Touch) LCD Cable                                                                                               $32.00      0.00%     9.00
               CB 14A (G5 Touch) LCD Panel                                                                                              $351.96      0.00%     4.00
               CB 14A (G5 Touch) Motherboard [A4-9120C][4GB][16GB]                                                                      $124.12      0.00%     1.00
               CB 14A (G5 Touch) Trackpad                                                                                                $38.22      0.00%     4.00
               CB 14A (NA0061DX) Wi-Fi Card                                                                                                $0.95     0.00%     1.00
               CB 14E (81MH) Battery                                                                                                    $135.41      0.00%     6.00
               CB 14E (81MH) Camera                                                                                                      $28.98      0.00%    36.00
               CB 14E (81MH) Daughterboard                                                                                                 $0.00     0.00%     3.00
               CB 14E (81MH) Daughterboard Set                                                                                           $13.31      0.00%     6.00
               CB 14E (81MH) Hinge (Left)                                                                                                  $0.00     0.00%    42.00
               CB 14E (81MH) Hinge (Right)                                                                                                 $0.00     0.00%    56.00
               CB 14E (81MH) Hinge Cover                                                                                                   $4.68     0.00%     8.00
               CB 14E (81MH) Hinge Set*                                                                                                 $366.10      0.00%    49.00
               CB 14E (81MH) Housing [Base]                                                                                              $38.22      0.00%     8.00
               CB 14E (81MH) Housing [Hinge Cover]                                                                                       $48.27      0.00%     5.00
               CB 14E (81MH) Housing [LCD Bezel]                                                                                        $142.11      0.00%    43.00
               CB 14E (81MH) Housing [LCD Rear Cover]                                                                                 $1,373.81      0.02%   115.00
               CB 14E (81MH) LCD Cable                                                                                                $1,050.04      0.01%   164.00
               CB 14E (81MH) LCD Panel                                                                                                $7,909.96      0.09%    97.00
               CB 14E (81MH) Motherboard [4GB][32GB]                                                                                  $1,567.39      0.02%    42.00
               CB 14E (81MH) Palmrest w/ Keyboard                                                                                       $177.25      0.00%    47.00
               CB 14E (81MH) Palmrest w/ Keyboard and Trackpad                                                                           $30.99      0.00%     1.00
               CB 14E (81MH) Speaker Set                                                                                                 $92.07      0.00%     9.00
               CB 14E (81MH) Trackpad                                                                                                      $6.78     0.00%    25.00
               CB 14E (81MH) Trackpad Cable                                                                                                $2.99     0.00%     3.00
               CB 14E (81MH) Wi-Fi Card                                                                                                  $12.99      0.00%     6.00
               CB 15 4+ (XE350XBA-K01US) Hinge [Left]                                                                                      $9.21     0.00%     1.00
               CB 15 4+ (XE350XBA-K01US) Hinge [Right]                                                                                   $27.63      0.00%     3.00
               CB 15 4+ (XE350XBA-K01US) Housing [LCD Bezel]                                                                             $69.04      0.00%     4.00
               CB 15 4+ (XE350XBA-K01US) Housing [LCD Rear Cover]                                                                       $209.12      0.00%     4.00
               CB 15 4+ (XE350XBA-K01US) LCD Cable                                                                                       $17.72      0.00%     1.00
               CB 15 4+ (XE350XBA-K01US) LCD Panel                                                                                      $212.12      0.00%     2.00
               CB 15 4+ (XE350XBA-K01US) Palmrest w/ Keyboard                                                                              $2.13     0.00%     1.00
               CB R13 (CB5-312T) Camera                                                                                                    $5.92     0.00%     1.00
               CB R13 (CB5-312T) Daughterboard                                                                                             $0.00     0.00%     3.00
               CB R13 (CB5-312T) Hinge Set*                                                                                              $94.10      0.00%     5.00
               CB R13 (CB5-312T) Hinge [Left]                                                                                            $26.89      0.00%     4.00
               CB R13 (CB5-312T) Hinge [Right]                                                                                           $94.10      0.00%    14.00
               CB R13 (CB5-312T) Housing [LCD Rear Cover]                                                                               $186.64      0.00%     8.00
               CB R13 (CB5-312T) Keyboard                                                                                               $170.16      0.00%     8.00
               CB R13 (CB5-312T) LCD                                                                                                  $1,499.28      0.02%     8.00
               CB R13 (CB5-312T) LCD Cable                                                                                                 $4.17     0.00%     1.00
               CB R13 (CB5-312T) Motherboard                                                                                            $422.93      0.00%     6.00
               CB R13 (CB5-312T) Trackpad                                                                                                $11.76      0.00%     2.00
               CB R13 (CB5-312T) Wi-Fi Card                                                                                              $12.30      0.00%     3.00
               CB Tab 10 (D651N-K9WT) Battery                                                                                           $227.65      0.00%     5.00
               CB Tab 10 (D651N-K9WT) Digitizer                                                                                         $500.00      0.01%     5.00
               CB Tab 10 (D651N-K9WT) Housing [LCD Rear Cover]                                                                           $15.99      0.00%     1.00
               CB Tab 10 (D651N-K9WT) LCD Cable                                                                                          $45.63      0.00%    13.00
               CB Tab 10 (D651N-K9WT) LCD Panel                                                                                       $1,697.88      0.02%    12.00
               CB Tab 10 (D651N-K9WT) Motherboard                                                                                     $4,341.74      0.05%    27.00
               DL-ES-3189-11-BLK                                                  Extreme Shell for Dell 3189 Chrombook 11" (Black)      $55.00      0.00%     4.00
               DT-DL3100CB2IN1-BLK                                                DropTech for Dell Chromebook 3100 (2-in-1)            $105.00      0.00%     7.00
               DT-DL31902IN1-BLK                                                  DropTech Dell 3189/3190 2-in-1 - Black                $321.75      0.00%    15.00
               DT-DL3190CS-BLK                                                    DropTech Dell 3180/3190 Clamshell - Black             $280.53      0.00%    19.00
               DT-DL5190-BLK                                                      DropTech for Dell Chromebook 5190 2-in-1            $1,845.00      0.02%   123.00
               Elitebook 840 (G3) Motherboard                                                                                         $1,253.12      0.01%     2.00
               EliteBook 840 (G6) LCD Panel                                                                                             $283.10      0.00%     2.00
               EliteBook 840 (G6) Motherboard                                                                                         $3,338.08      0.04%     4.00
               EliteBook 840 (G6) Palmrest                                                                                               $58.86      0.00%     1.00
               EliteBook 840 (G6) Trackpad                                                                                               $49.95      0.00%     1.00
               EliteBook x360 1030 (G4) Cable Kit                                                                                          $0.00     0.00%     2.00
               EliteBook x360 1030 (G4) Housing [Base]                                                                                     $0.00     0.00%     1.00
               EliteBook x360 1030 (G4) LCD w/ Digitizer                                                                              $2,596.46      0.03%     5.00
               EliteBook x360 1030 (G4) Motherboard                                                                                     $249.99      0.00%     1.00
               EliteBook x360 1030 (G4) Palmrest w/ Keyboard                                                                               $0.00     0.00%     1.00
               EliteBook x360 1030 (G4) Trackpad                                                                                           $0.00     0.00%     1.00
               Galaxy A51 (SM-A515U1) LCD                                                                                                $30.28      0.00%     1.00
               Galaxy S10 LCD Assembly - Black                                                                                          $227.89      0.00%     1.00
               Galaxy S10E Battery                                                                                                         $0.00     0.00%     1.00
               Galaxy S10E LCD Assembly - Blue                                                                                          $174.99      0.00%     1.00
               Galaxy S20 Glass [Rear] - Grey                                                                                            $75.16      0.00%     2.00
               Galaxy S8 Camera Lens [Rear] - Black                                                                                        $0.58     0.00%     1.00
               Galaxy S8 Glass [Rear] - Black                                                                                            $12.42      0.00%     2.00
               Galaxy S8 LCD Assembly - Black                                                                                           $299.46      0.00%     2.00
               Galaxy S9 Housing [Rear] - Black                                                                                          $14.16      0.00%     2.00
               Galaxy S9 LCD Assembly - Black                                                                                           $625.29      0.01%     4.00
               Galaxy Tab S6 (SM-T867) Battery                                                                                           $99.95      0.00%     5.00
               Galaxy Tab S6 (SM-T867) LCD Assembly                                                                                   $1,907.90      0.02%     8.00
               Galaxy Tab S7 5G (SM-T878U) LCD                                                                                          $617.59      0.01%    10.00
               HP-ESS-G5EE-14-BLK                                                 Extreme Shell-S for HP G5 EE Chromebook Clamshell $1,899.50
                                                                                                                                       14" (Black)   0.02%   131.00
               Ideapad 3 (82BA) Motherboard [4GB][64GB]                                                                                 $678.80      0.01%     2.00
               INV-SM-TG-IPA105                                                   Tempered Glass for iPad Air/Air 2/New/Pro 9.7/6th Gen    $0.00     0.00%    92.00
               IP-HS-BR751                                                        iPeal Hard Shell Case â€“ R751T                       $200.15      0.00%    11.00
               iPad 2 Antenna Flex (Right)                                                                                                 $0.00     0.00%     1.00
               iPad 2 Audio (Wi-Fi 2011)                                                                                                   $0.00     0.00%     1.00
               iPad 2 Battery                                                                                                              $7.75     0.00%     1.00
               iPad 2 Charge Port Flex                                                                                                     $0.27     0.00%     1.00
               iPad 2 Digitizer - Black                                                                                                    $0.00     0.00%     4.00
               iPad 2 Digitizer - White                                                                                                    $0.00     0.00%     1.00
               iPad 2 Home Button - Black                                                                                                  $1.43     0.00%     1.00
               iPad 2 Home Button - White                                                                                                  $0.00     0.00%     1.00
               iPad 2 Housing [LCD Bezel] - Black                                                                                          $0.00     0.00%     1.00
               iPad 2 LCD Panel                                                                                                          $32.03      0.00%     1.00
               iPad 4 Bezel - White                                                                                                        $0.00     0.00%     3.00
               iPad 5 Camera [Rear]                                                                                                        $2.71     0.00%     1.00
               iPad 5 Digitizer - Black                                                                                                  $37.95      0.00%     3.00
               iPad 5 Home Button - Black                                                                                                  $4.56     0.00%     1.00
               iPad 5 Home Button Flex - Black                                                                                           $37.48      0.00%     9.00
               iPad 5 LCD Panel                                                                                                          $70.82      0.00%     8.00
               iPad 6 Audio Jack                                                                                                           $6.20     0.00%     4.00
               iPad 6 Camera [Rear]                                                                                                        $1.35     0.00%     1.00
               iPad 6 Charge Port Flex [Black]                                                                                             $3.53     0.00%     1.00
               iPad 6 Digitizer - Black                                                                                                  $11.77      0.00%     1.00
               iPad 6 Digitizer - White                                                                                                 $112.99      0.00%     9.00
               iPad 6 Home Button Flex [Black]                                                                                           $13.95      0.00%     3.00
               iPad 6 Home Button Flex [White]                                                                                             $4.50     0.00%     1.00
               iPad 6 Home Button [Black]                                                                                                  $4.65     0.00%     1.00
               iPad 6 Home Button [White]                                                                                                  $4.50     0.00%     1.00
               iPad 6 LCD Panel                                                                                                         $371.74      0.00%     7.00
               iPad 7 (10.2 A2200) Camera [Front]                                                                                          $3.28     0.00%     2.00
               iPad 7 (10.2 A2200) Camera [Rear]                                                                                           $5.42     0.00%     2.00




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               iPad 7 (10.2 A2200) Charging Port                                                            $2.19   0.00%    1.00
               iPad 7 (10.2) Audio Jack                                                                    $14.97   0.00%    6.00
               iPad 7 (10.2) Battery                                                                       $45.03   0.00%    2.00
               iPad 7 (10.2) Charge Port                                                                   $28.43   0.00%   13.00
               iPad 7 (10.2) Digitizer - Black                                                            $329.28   0.00%   18.00
               iPad 7 (10.2) Digitizer - White                                                            $114.60   0.00%    3.00
               iPad 7 (10.2) Home Button - Black                                                           $35.82   0.00%    9.00
               iPad 8 Battery                                                                              $22.58   0.00%    1.00
               iPad 8 Digitizer - Black                                                                    $45.33   0.00%    3.00
               iPad 8 Digitizer - White                                                                    $15.11   0.00%    1.00
               iPad 8 LCD Panel                                                                           $274.73   0.00%    4.00
               iPad Air 1 Battery                                                                          $29.66   0.00%    2.00
               iPad Air 1 Digitizer - Black                                                                $15.76   0.00%    1.00
               iPad Air 1 Digitizer - White                                                                $50.58   0.00%    6.00
               iPad Air 2 Battery                                                                         $461.61   0.01%   38.00
               iPad Air 2 Digitizer - Black                                                               $124.18   0.00%    7.00
               iPad Air 2 Digitizer - Black (Cellular)                                                     $53.22   0.00%    3.00
               iPad Air 2 Home Button - Black                                                              $26.17   0.00%   11.00
               iPad Air 2 LCD Assembly - Black                                                          $3,126.03   0.04%   39.00
               iPad Air 3 Battery                                                                          $21.96   0.00%    1.00
               iPad Air 3 Headphone Jack                                                                    $2.95   0.00%    1.00
               iPad Mini 1 Battery                                                                          $0.00   0.00%    3.00
               iPad Mini 1 Digitizer - Black                                                                $0.00   0.00%    2.00
               iPad Mini 1 Digitizer - White                                                                $0.00   0.00%    1.00
               iPad Mini 1 LCD                                                                              $0.00   0.00%    3.00
               iPad Mini 2 Battery                                                                          $0.00   0.00%    2.00
               iPad Mini 2 LCD (Retina)                                                                     $0.00   0.00%    2.00
               iPad Mini 3 Digitizer - Black                                                                $0.00   0.00%    2.00
               iPad Mini 4 Battery                                                                         $13.72   0.00%    1.00
               iPad Mini 4 Charge Port Flex - Black                                                        $26.00   0.00%   10.00
               iPad Mini 4 Charge Port Flex - White                                                         $7.98   0.00%    4.00
               iPad Mini 4 Home Button - Silver                                                             $4.62   0.00%    2.00
               iPad Mini 4 LCD Assembly - Black                                                            $81.97   0.00%    1.00
               iPad Mini 4 LCD Assembly - White                                                           $484.10   0.01%    5.00
               iPad Mini 4 Power Flex                                                                       $1.22   0.00%    1.00
               IPad Mini 4/5 Wi-Fi Antenna Flex                                                             $1.14   0.00%    1.00
               iPad Pro (11) LCD Assembly                                                                 $155.04   0.00%    1.00
               iPhone 11 LCD Assembly - Black                                                             $101.90   0.00%    2.00
               Iphone 7 (Plus) Camera Lens [Rear]                                                           $0.00   0.00%    4.00
               iPhone 7 (Plus) Camera [Front] w/ Proximity )Sensor Fle                                      $0.00   0.00%    1.00
               iPhone 7 (Plus) Camera [Front] w/ Proximity Sensor Flex                                      $0.00   0.00%    2.00
               iphone 7 (Plus) Charge Port Flex - Black                                                     $0.00   0.00%    1.00
               iPhone 7 (Plus) Ear Speaker                                                                  $0.00   0.00%    1.00
               iPhone 7 Camera [Front] w/ Proximity Sensor )Fle                                             $0.00   0.00%    1.00
               iPhone 7 Charge Port Flex - Black                                                            $0.00   0.00%    5.00
               iPhone 7 Home Button - White                                                                 $0.00   0.00%    1.00
               iPhone 7 Speaker                                                                             $0.00   0.00%    6.00
               iPhone 8 (Plus) Battery                                                                     $79.66   0.00%   10.00
               iPhone 8 (Plus) Camera Lens [Rear]                                                           $1.16   0.00%   11.00
               iPhone 8 (Plus) Camera [Front] w/ Proximity Sensor Flex                                    $171.25   0.00%   21.00
               iPhone 8 (Plus) Charge Port Flex - Gray                                                     $52.06   0.00%    7.00
               iPhone 8 (Plus) Charge Port Flex - White                                                     $0.00   0.00%    2.00
               iPhone 8 (Plus) Housing [Rear] - Black                                                       $0.00   0.00%    1.00
               iPhone 8 (Plus) Housing [Rear] - Gray                                                       $47.95   0.00%    1.00
               iPhone 8 (Plus) Housing [Rear] - White                                                       $0.00   0.00%    1.00
               iPhone 8 (Plus) LCD Assembly - Black                                                       $404.89   0.00%   17.00
               iPhone 8 (Plus) LCD Assembly - White                                                       $236.08   0.00%   11.00
               iPhone 8 (Plus) Vibrate Motor                                                                $0.00   0.00%    1.00
               iPhone 8 (Plus) Wi-Fi Antenna Flex                                                           $0.00   0.00%    1.00
               iPhone 8 Battery                                                                           $298.34   0.00%   28.00
               iPhone 8 Camera Font w/ Proximity Sensor Flex                                               $69.19   0.00%   11.00
               iPhone 8 Camera [Rear]                                                                     $491.64   0.01%   12.00
               iPhone 8 Charge Port - Black                                                                $33.32   0.00%    4.00
               iPhone 8 Charge Port - Gray                                                                $187.50   0.00%   30.00
               iPhone 8 Ear Speaker                                                                         $8.30   0.00%   10.00
               iPhone 8 Home Button - Black                                                                $29.55   0.00%    4.00
               iPhone 8 Home Button - White                                                                 $1.58   0.00%    1.00
               iPhone 8 Home Button Flex - Black                                                           $83.70   0.00%   10.00
               iPhone 8 Housing [Rear] - Black                                                            $756.47   0.01%   23.00
               iPhone 8 Housing [Rear] - Rose Gold                                                        $395.40   0.00%   12.00
               iPhone 8 Housing [Rear] - White                                                            $432.74   0.00%   14.00
               iPhone 8 LCD Assembly - Black                                                              $192.23   0.00%    7.00
               iPhone 8 LCD Assembly - White                                                              $935.05   0.01%   39.00
               iPhone XR Battery                                                                            $0.00   0.00%    1.00
               iPhone XS Max Camera [Front]                                                                $18.95   0.00%    1.00
               iPhone XS Max Charge Port                                                                   $11.90   0.00%    1.00
               Latitude (3180) Housing [Base]                                                              $63.58   0.00%    2.00
               Latitude (3180) Housing [Hinge Cover]                                                      $100.91   0.00%   24.00
               Latitude (3180) Keyboard                                                                     $8.41   0.00%    4.00
               Latitude (3180) Palmrest                                                                    $29.47   0.00%    1.00
               Latitude (3180) Palmrest w/ Trackpad                                                       $292.40   0.00%    5.00
               Latitude (3189) Audio Board                                                                  $1.55   0.00%    1.00
               Latitude (3189) Battery                                                                     $12.23   0.00%    1.00
               Latitude (3189) Battery Cable                                                               $24.26   0.00%    2.00
               Latitude (3189) Board Set (Power w/ Audio) Cable                                             $1.50   0.00%    1.00
               Latitude (3189) CMOS Battery                                                                 $2.05   0.00%    1.00
               Latitude (3189) DC Jack                                                                     $50.92   0.00%    4.00
               Latitude (3189) Hinge Set*                                                                  $67.18   0.00%    4.00
               Latitude (3189) Housing [Base]                                                             $148.68   0.00%    3.00
               Latitude (3189) Housing [LCD Rear Cover]                                                    $21.88   0.00%    1.00
               Latitude (3189) LCD w/ Digitizer                                                           $270.00   0.00%    3.00
               Latitude (3189) Motherboard                                                                  $0.00   0.00%    6.00
               Latitude (3189) Palmrest w/ Keyboard                                                        $55.85   0.00%    1.00
               Latitude (3189) Palmrest w/ Trackpad                                                       $113.75   0.00%    3.00
               Latitude (3189) Power Button Board                                                           $9.24   0.00%    1.00
               Latitude (3190 2-in-1) Hinge [Left]                                                          $0.00   0.00%    1.00
               Latitude (3190 2-in-1) Hinge [Right]                                                         $0.00   0.00%    1.00
               Latitude (3190 2-in-1) Housing [Base]                                                      $144.00   0.00%    9.00
               Latitude (3190 2-in-1) Housing [LCD Rear Cover]                                              $0.00   0.00%    1.00
               Latitude (3190 2-in-1) Keyboard                                                             $94.75   0.00%    7.00
               Latitude (3190 2-in-1) LCD Assembly                                                        $863.51   0.01%    9.00
               Latitude (3190 2-in-1) Motherboard [N4100][4GB]                                            $144.34   0.00%    2.00
               Latitude (3190 2-in-1) Palmrest w/ Trackpad                                                $150.00   0.00%    7.00
               Latitude (3190 2-in-1) Speaker Set                                                           $0.00   0.00%    1.00
               Latitude (3190) Battery Cable                                                                $0.00   0.00%    1.00
               Latitude (3190) Daughterboard                                                               $73.56   0.00%    2.00
               Latitude (3190) DC Jack                                                                      $0.00   0.00%    2.00
               Latitude (3190) Hinge Set*                                                                   $2.01   0.00%    1.00
               Latitude (3190) Housing [Base]                                                              $99.43   0.00%    3.00
               Latitude (3190) Housing [LCD Bezel]                                                        $181.98   0.00%   10.00
               Latitude (3190) Housing [LCD Rear Cover]                                                   $143.11   0.00%   12.00
               Latitude (3190) Keyboard                                                                    $41.26   0.00%    5.00
               Latitude (3190) LCD                                                                        $116.01   0.00%    4.00
               Latitude (3190) LCD Assembly                                                               $190.00   0.00%    2.00
               Latitude (3190) LCD Cable                                                                  $146.00   0.00%    9.00
               Latitude (3190) Motherboard                                                                 $45.00   0.00%    1.00
               Latitude (3190) Palmrest w/ Keyboard                                                       $146.28   0.00%    3.00
               Latitude (3190) Palmrest w/ Trackpad                                                       $585.50   0.01%   18.00
               Latitude (3190) SSD [128GB]                                                                  $0.00   0.00%    1.00




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               Latitude (3190) Trackpad                                                                                                            $0.00           0.00%         1.00
               Latitude (3301) LCD Cable                                                                                                          $24.99           0.00%         1.00
               Latitude (3301) Motherboard [i3-8145U][4GB]                                                                                       $257.98           0.00%         2.00
               Latitude (3390) Housing [LCD Rear Cover]                                                                                           $22.05           0.00%         1.00
               Latitude (3500) LCD Cable                                                                                                          $17.69           0.00%         1.00
               Latitude (5490) Motherboard                                                                                                       $698.90           0.01%         3.00
               Latitude (E5470) Camera Cable                                                                                                      $21.56           0.00%         1.00
               Latitude (E7440) Battery                                                                                                           $44.67           0.00%         1.00
               Latitude (E7440) Housing [Base]                                                                                                     $0.00           0.00%         2.00
               Latitude (E7440) Housing [LCD Rear Cover]                                                                                           $0.00           0.00%         2.00
               Latitude (E7440) Keyboard                                                                                                           $0.00           0.00%         2.00
               Latitude (E7440) LCD                                                                                                                $0.00           0.00%         2.00
               Latitude (E7440) Motherboard                                                                                                      $816.41           0.01%         7.00
               Latitude (E7440) Palmrest w/ Trackpad                                                                                               $0.00           0.00%         8.00
               Latitude (E7440) Speaker Set                                                                                                        $0.00           0.00%         1.00
               Latitude (E7440) Wi-Fi Card                                                                                                        $29.06           0.00%         3.00
               LCD Panel (30 Pin 14 in)                                                                                                       $11,242.52           0.13%       104.00
               LCD Panel (40 Pin 11 in)                                                                                                          $678.58           0.01%        20.00
               LCD Panel (40 Pin 11 in) (Touch)                                                                                                  $661.37           0.01%        27.00
               LCD Panel (40 Pin 14 in) (Touch)                                                                                                  $276.00           0.00%         2.00
               LCD Panel (Touch) L/R Brackets (30 Pin 11 in)                                                                                      $41.90           0.00%         1.00
               LCD Panel L/R Brackets (30 Pin 11 in)                                   30 Pin LCD with Left & Right Brackets                  $75,683.19           0.87%     2,472.00
               LCD Panel T/B Brackets (30 Pin 11 in)                                   30 Pin LCD with Top & Bottom Brackets                   $7,690.97           0.09%       231.00
               Lenovo t460s Battery                                                                                                              $188.13           0.00%         3.00
               Lenovo T460S/T470S LCD Only                                                                                                       $100.54           0.00%         1.00
               Lenovo Thinkpad T460s Battery                                                                                                     $147.40           0.00%         1.00
               LG Gram (14T90N) Daughterboard w/ Flex Set                                                                                         $69.62           0.00%         1.00
               MacBook (A1466) Wi-Fi Card                                                                                                         $39.00           0.00%        13.00
               Macbook Air (A1466 mid-2013) Keyboard                                                                                             $712.00           0.01%         8.00
               MacBook Air (A1466) Battery                                                                                                       $351.67           0.00%         9.00
               MacBook Air (A1466) Hinge Set*                                                                                                     $31.86           0.00%         1.00
               MacBook Air (A1466) Keyboard                                                                                                      $425.80           0.00%         8.00
               MacBook Air (A1466) LCD                                                                                                           $491.22           0.01%         3.00
               MacBook Air (A1466) LCD Assembly                                                                                                $1,586.20           0.02%         7.00
               MacBook Air (A1466) Motherboard                                                                                                 $1,329.51           0.02%         7.00
               MacBook Air (A1466) Palmrest w/ Keyboard                                                                                        $2,659.12           0.03%        35.00
               MacBook Air (A1466) SSD [256GB]                                                                                                   $267.00           0.00%         3.00
               MacBook Air (A1466) Trackpad                                                                                                      $149.35           0.00%         5.00
               Macbook Air 13in 2020 (A2179) LCD Assembly                                                                                        $708.98           0.01%         2.00
               Macbook Air M1 (A2337) LCD Assembly                                                                                             $1,234.47           0.01%         3.00
               Macbook Pro (A1706) LCD Assembly                                                                                                  $359.95           0.00%         1.00
               Macbook Pro (A1708) LCD Assembly                                                                                                  $365.89           0.00%         1.00
               MS-BG-SP56-CLR-R                                                        Battle Glass for Microsoft Surface Pro Gen 5               $90.00           0.00%         9.00
               MS-ES-SG-G2-BLK                                                         Extreme Shell for Microsoft Surface Go 1/ Go 2 / Go 3 - 10"
                                                                                                                                                 $206.77
                                                                                                                                                    (Black)        0.00%        15.00
               ProBook 11 (G2 EE) Motherboard                                                                                                    $200.00           0.00%         1.00
               ProBook 11 (G2 EE) Palmrest w/ Keyboard                                                                                            $57.99           0.00%         1.00
               ProBook 310 (G2) Battery                                                                                                            $0.00           0.00%         1.00
               ProBook 430 (G7) Battery                                                                                                          $276.24           0.00%         4.00
               ProBook 430 (G7) Camera [Front]                                                                                                    $21.06           0.00%         1.00
               ProBook 430 (G7) CMOS Battery                                                                                                       $0.00           0.00%         1.00
               ProBook 430 (G7) DC Jack                                                                                                           $43.56           0.00%         2.00
               ProBook 430 (G7) Housing [LCD Rear Cover]                                                                                          $38.92           0.00%         1.00
               ProBook 430 (G7) LCD Cable                                                                                                        $200.41           0.00%         7.00
               ProBook 430 (G7) LCD Panel                                                                                                        $390.00           0.00%         6.00
               ProBook 430 (G7) LCD w/ Digitizer                                                                                               $4,122.35           0.05%        22.00
               ProBook 430 (G7) Motherboard [4GB][32GB]                                                                                        $1,290.33           0.01%         3.00
               ProBook 430 (G7) Palmrest w/ Keyboard and Trackpad                                                                                $681.48           0.01%        12.00
               ProBook 430 (G7) USB Board                                                                                                         $33.68           0.00%         2.00
               ProBook 430 (G7) Wi-Fi Card                                                                                                        $69.04           0.00%         4.00
               ProBook 450 G8 (28K93UT) LCD                                                                                                      $208.99           0.00%         1.00
               ProBook x360 11 (G1 EE) Hinge [Right]                                                                                               $0.00           0.00%         1.00
               ProBook x360 11 (G1 EE) Housing [Base]                                                                                             $77.81           0.00%         1.00
               ProBook x360 11 (G1 EE) Motherboard [4GB][64GB]                                                                                   $450.00           0.01%         3.00
               ProBook x360 11 (G1 EE) Palmrest w/ Keyboard                                                                                      $291.60           0.00%         3.00
               ProBook x360 11 (G1 EE) Trackpad                                                                                                    $0.00           0.00%         1.00
               ProBook x360 11 (G3 EE) Housing [LCD Rear Cover]                                                                                   $99.22           0.00%         2.00
               ProBook x360 11 (G3 EE) LCD w/ Digitizer                                                                                        $1,388.90           0.02%        17.00
               ProBook x360 11 (G3 EE) Motherboard [4GB][64GB]                                                                                 $2,123.95           0.02%        19.00
               ProBook x360 11 (G3 EE) Palmrest w/ Keyboard                                                                                        $0.00           0.00%        10.00
               ProBook x360 11 (G3 EE) Trackpad                                                                                                   $17.90           0.00%         2.00
               ProBook x360 11 (G5 EE) LCD w/ Digitizer                                                                                          $542.07           0.01%        10.00
               ProBook x360 435 (G7) LCD Cable                                                                                                    $73.71           0.00%         7.00
               ProBook x360 435 (G7) Motherboard [4500U]                                                                                           $0.00           0.00%         2.00
               ProBook x360 435 (G7) Palmrest w/ Keyboard                                                                                          $0.00           0.00%         2.00
               ProBook x360 435 (G7) Trackpad                                                                                                      $0.00           0.00%         2.00
               SM-CS-LP405                                                             Rugged - Dual Injected Case for CTL NL7                     $0.01           0.00%         3.00
               SM-CS-LP406                                                             Rugged - Dual Injected Case for LENOVO 100e 2nd Gen     $3,753.28
                                                                                                                                                  Chr/Win Intel/MTK0.04%       468.00
               SM-CS-LP418                                                             Rugged - Dual Injected Case for LENOVO 11e 5th Gen Windows/Yoga
                                                                                                                                                 $250.58           0.00%        31.00
               SM-CS-LP420                                                             HP Chromebook 11 G8 EE Dual Injected Case                 $555.27           0.01%        65.00
               SM-CS-LP434                                                             HP Chromebook 11 MK G9 EE Dual Injected Laptop case       $196.98           0.00%        23.00
               SM-CS-LP442                                                             Acer Chromebook C722 Dual Injected Laptop Case            $187.66           0.00%        22.00
               SM-CS-LP444                                                                                                                       $428.50           0.00%        50.00
               SM-CS-LP445                                                             Dell 3100 2 in 1 / 3110 2 in 1 - Dual Injected Laptop case
                                                                                                                                               $1,068.88           0.01%       124.00
               SM-CS-TB533                                                             Rugged Vision 360 Case with velcro hand strap for iPad Pro$8.07
                                                                                                                                                     11" (2018) 0.00%            1.00
               SM-CS-TB534                                                             Rugged Vision 360 Case with velcro hand strap for iPad Mini $6.83
                                                                                                                                                     4/5           0.00%         1.00
               SM-CS-TB542                                                             Rugged Vision 360 Case w/ velcro hand strap for iPad 7th gen.
                                                                                                                                                   $6.6010.2" and iPad
                                                                                                                                                                   0.00%
                                                                                                                                                                       8th Gen   1.00
               SM-CS-TB574                                                             Rugged Vision 360 Case with velcro hand strap for Lenovo  $151.50
                                                                                                                                                   10e             0.00%        20.00
               SM-TG-IPA106                                                            Tempered Glass for iPad Pro 10.5"                           $0.00           0.00%         1.00
               SM-TG-IPA108                                                            Tempered Glass for iPad Mini 4/5                           $29.29           0.00%        12.00
               SM-TG-IPA109                                                            Tempered Glass for iPad Pro 11"                            $12.12           0.00%         4.00
               SM-TG-IPA110                                                            Tempered Glass for iPad Pro 12.9"                           $0.00           0.00%         1.00
               SM-TG-IPA120                                                            Tempered Glass for iPad Mini 1/2/3                          $0.00           0.00%         2.00
               SM-TG-IPA121                                                            Tempered Glass for iPad 7th Gen 10.2"                       $5.70           0.00%         2.00
               SM-TG-IPH042                                                            Tempered Glass for iPhone 6/7/8                            $33.80           0.00%        26.00
               SM-TG-IPH043                                                            Tempered Glass for iPhone 6/7/8 Plus                       $14.85           0.00%        11.00
               SM-TG-LV308                                                             Tempered Glass for Lenovo 10e                             $884.00           0.01%       272.00
               SM-TG-SP208                                                             Tempered Glass for Galaxy S8/9+                             $0.00           0.00%         9.00
               SM-TG-TB312                                                             Tempered Glass for Surface Go/Go 2                          $0.00           0.00%       324.00
               SM-TG-TB336                                                             Surface 3 Tempered Glass (Not Pro)                          $6.10           0.00%         2.00
               SM-TG-TB337                                                             Tempered Glass for Surface Pro 4/5/6/7/7+                  $27.60           0.00%         8.00
               Staymobile Tempered Glass IPAD 2/3/4                                                                                                $0.00           0.00%         2.00
               Stream 11 Pro (G4 EE) Camera                                                                                                        $0.00           0.00%        10.00
               Stream 11 Pro (G4 EE) Daughterboard                                                                                                $39.71           0.00%         2.00
               Stream 11 Pro (G4 EE) Housing [Base]                                                                                               $68.62           0.00%         2.00
               Stream 11 Pro (G4 EE) Housing [LCD Rear Cover]                                                                                     $40.14           0.00%         1.00
               Stream 11 Pro (G4 EE) LCD Panel                                                                                                    $58.44           0.00%         1.00
               Stream 11 Pro (G4 EE) Motherboard                                                                                                 $221.90           0.00%         1.00
               Stream 11 Pro (G4 EE) Palmrest w/ Keyboard                                                                                         $79.36           0.00%         2.00
               Stream 11 Pro (G4 EE) Power Button Board                                                                                           $10.35           0.00%         1.00
               Surface 3 (1645) Back Case Assembly                                                                                                $68.96           0.00%         2.00
               Surface 3 (1645) Camera                                                                                                           $124.95           0.00%         5.00
               Surface 3 (1645) LCD Assembly                                                                                                     $291.76           0.00%         3.00
               Surface 3/RT (1645) Battery                                                                                                       $931.04           0.01%        36.00
               Surface 3/RT (1645) Headphone Jack                                                                                                $125.76           0.00%         8.00
               Surface Go 2 LCD Panel (Touch)                                                                                                  $3,238.06           0.04%        40.00
               Surface Go LCD Assembly                                                                                                           $272.79           0.00%         2.00
               Surface Laptop 4 (13.5 in)(1950) LCD Assembly - Platinum                                                                          $231.42           0.00%         1.00
               Surface Pro 3 (1617) LCD Assembly                                                                                               $4,677.31           0.05%        27.00
               Surface Pro 3 (1631) Wi-Fi Antenna Flex                                                                                            $50.80           0.00%         5.00




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               Surface Pro 4 Battery                                                                               $30.60   0.00%     1.00
               Surface Pro 5 (1807) Touch Board                                                                    $10.14   0.00%     1.00
               Surface Pro 5 (1807) Touch Flex                                                                      $9.92   0.00%     1.00
               Surface Pro 5 LCD                                                                                  $321.79   0.00%     3.00
               Surface Pro 6 Battery                                                                               $26.07   0.00%     1.00
               Surface Pro 7 (12.3 in) LCD                                                                        $625.48   0.01%     4.00
               Surface Pro 7+ (12.3 in)(1960) LCD                                                                 $361.74   0.00%     2.00
               ThinkBook 14 G2 ARE (20VF0071US) Housing [LCD Bezel]                                                $23.13   0.00%     1.00
               ThinkBook 14 G2 ARE (20VF0071US) LCD Panel (14 in)                                                 $855.60   0.01%    10.00
               ThinkBook 14s (20RM) Battery                                                                       $370.10   0.00%     5.00
               Thinkpad (20GE) LCD Cable [Touch]                                                                   $26.72   0.00%     2.00
               Thinkpad (20GE) Motherboard [4GB][Non-Touch]                                                       $142.50   0.00%     1.00
               Thinkpad (20GE) Motherboard [4GB][Touch]                                                           $842.48   0.01%     4.00
               Thinkpad (20LR) Camera                                                                              $27.42   0.00%     2.00
               Thinkpad (20LR) Hinge Set                                                                           $19.92   0.00%     1.00
               Thinkpad (20LR) Housing [LCD Rear Cover]                                                            $26.69   0.00%     1.00
               Thinkpad (20LR) LCD Cable                                                                           $76.26   0.00%     6.00
               Thinkpad (20LR) Motherboard [4GB][64GB]                                                            $512.05   0.01%     5.00
               Thinkpad (20LR) Palmrest                                                                            $15.35   0.00%     1.00
               Thinkpad (20LR) Trackpad Flex                                                                       $35.10   0.00%     3.00
               Thinkpad (20LR) Wi-Fi Card                                                                          $16.23   0.00%     1.00
               Thinkpad (20N3) LCD                                                                                $110.79   0.00%     1.00
               Thinkpad (20UE) Keyboard                                                                            $41.98   0.00%     1.00
               Thinkpad 11e (20DAS06U00)(Non-Touch) LCD Cable                                                      $24.00   0.00%     4.00
               Thinkpad 11e (20DAS06U00)(Non-Touch) LCD Panel (Non-Touch)                                          $95.14   0.00%     2.00
               Thinkpad 11e (20DAS06U00)(Non-Touch) Palmrest                                                       $44.00   0.00%     2.00
               Thinkpad 11e (20DAS06U00)(Non-Touch) Wi-Fi Card                                                     $37.50   0.00%     2.00
               ThinkPad C13 Yoga Gen 1 (20UX000LUS) Motherboard [AMD 3150C][4GB][32GB]                            $222.67   0.00%     1.00
               Thinkpad L390 (20NT) Housing [LCD Bezel] - Black                                                     $9.57   0.00%     1.00
               Thinkpad L390 (20NT) Housing [LCD Rear Cover] - Black                                               $90.00   0.00%     2.00
               Thinkpad L390 (20NT) Keyboard                                                                       $99.95   0.00%     1.00
               Thinkpad L390 (20NT) LCD Cable                                                                      $19.99   0.00%     1.00
               Thinkpad X395 (20NL) Motherboard                                                                   $981.00   0.01%     3.00
               TravelMate (B118) Battery                                                                           $32.00   0.00%     1.00
               TravelMate (B118) Daughterboard Flex                                                                 $1.00   0.00%     1.00
               TravelMate (N20H1) B311RN-31 LCD Assembly w/ Touch                                                 $210.96   0.00%     1.00
               VivoBook Flip 14 TP412UA-XB51T LCD w/ Digitizer                                                    $119.48   0.00%     1.00
               Winbook (300e 81FY) AC Adapter                                                                      $43.26   0.00%     3.00
               Winbook (300e 81FY) Battery                                                                        $186.37   0.00%   105.00
               Winbook (300e 81FY) Bezel Screw Cover                                                                $0.00   0.00%     4.00
               Winbook (300e 81FY) Camera                                                                         $283.72   0.00%    39.00
               Winbook (300e 81FY) CMOS Battery                                                                    $71.14   0.00%    64.00
               Winbook (300e 81FY) Daughterboard                                                                  $214.41   0.00%    47.00
               Winbook (300e 81FY) Daughterboard Flex                                                              $20.11   0.00%    27.00
               Winbook (300e 81FY) Hinge Set                                                                       $61.62   0.00%    17.00
               Winbook (300e 81FY) Hinge [Left]                                                                     $6.11   0.00%    26.00
               Winbook (300e 81FY) Hinge [Right]                                                                    $1.12   0.00%    25.00
               Winbook (300e 81FY) Housing [Base]                                                                 $839.79   0.01%    62.00
               Winbook (300e 81FY) Housing [Hinge Cover]                                                          $133.71   0.00%     8.00
               Winbook (300e 81FY) Housing [LCD Rear Cover]                                                     $1,713.47   0.02%   137.00
               Winbook (300e 81FY) LCD Cable                                                                    $1,514.40   0.02%   298.00
               Winbook (300e 81FY) LCD w/ Digitizer                                                             $4,202.26   0.05%    63.00
               Winbook (300e 81FY) Motherboard                                                                  $1,810.65   0.02%    28.00
               Winbook (300e 81FY) Palmrest w/ Keyboard and Trackpad*                                           $3,185.57   0.04%    79.00
               Winbook (300e 81FY) Screw Set                                                                       $28.42   0.00%    28.00
               Winbook (300e 81FY) Speaker Set                                                                     $19.85   0.00%    10.00
               Winbook (300e 81FY) Stylus                                                                         $215.53   0.00%    20.00
               Winbook (300e 81FY) Trackpad Button Board                                                            $6.62   0.00%    12.00
               Winbook (300e 81FY) Trackpad Flex                                                                   $15.18   0.00%    12.00
               Winbook (300e 81FY) Wi-Fi Cable                                                                     $11.04   0.00%    12.00
               Winbook (300e 81FY) Wi-Fi Card                                                                      $46.95   0.00%    12.00
               Winbook (300e 81M9) Battery                                                                         $52.21   0.00%    33.00
               Winbook (300e 81M9) Camera [Front]                                                                   $7.89   0.00%    31.00
               Winbook (300e 81M9) Camera [WFC]                                                                     $0.00   0.00%     4.00
               Winbook (300e 81M9) CMOS Battery                                                                     $0.91   0.00%    43.00
               Winbook (300e 81M9) Daughterboard                                                                  $399.47   0.00%    64.00
               Winbook (300e 81M9) Daughterboard Flex                                                              $17.15   0.00%    50.00
               Winbook (300e 81M9) G Sensor                                                                         $0.00   0.00%     2.00
               Winbook (300e 81M9) Hinge Rubber                                                                     $0.00   0.00%     3.00
               Winbook (300e 81M9) Hinge Set*                                                                   $2,996.40   0.03%   176.00
               Winbook (300e 81M9) Hinge [Left]                                                                   $170.28   0.00%   118.00
               Winbook (300e 81M9) Hinge [Right]                                                                  $126.82   0.00%    39.00
               Winbook (300e 81M9) Housing [Base]                                                               $2,967.18   0.03%   239.00
               Winbook (300e 81M9) Housing [Hinge Cover]                                                           $73.32   0.00%     9.00
               Winbook (300e 81M9) Housing [LCD Rear Cover]                                                       $236.73   0.00%    33.00
               Winbook (300e 81M9) LCD Cable                                                                       $77.58   0.00%    35.00
               Winbook (300e 81M9) LCD w/ Digitizer                                                            $14,420.87   0.17%   202.00
               Winbook (300e 81M9) Motherboard                                                                 $19,196.03   0.22%   132.00
               Winbook (300e 81M9) Palmrest w/ Keyboard                                                            $62.07   0.00%     6.00
               Winbook (300e 81M9) Palmrest w/ Keyboard (w/ Cutout)                                             $1,663.16   0.02%    78.00
               Winbook (300e 81M9) Palmrest w/ Keyboard and Trackpad                                              $508.84   0.01%    18.00
               Winbook (300e 81M9) Palmrest w/ Keyboard and Trackpad (w/ Cutout)                                   $20.64   0.00%     1.00
               Winbook (300e 81M9) Screw Set                                                                        $0.46   0.00%     3.00
               Winbook (300e 81M9) Speaker Set                                                                      $3.61   0.00%     1.00
               Winbook (300e 81M9) Spine Cover                                                                     $59.67   0.00%    43.00
               Winbook (300e 81M9) Spine Cover Rubber                                                               $0.00   0.00%     3.00
               Winbook (300e 81M9) Stylus                                                                           $0.03   0.00%     2.00
               Winbook (300e 81M9) Trackpad                                                                         $5.73   0.00%    99.00
               Winbook (300e 81M9) Trackpad Flex                                                                   $19.39   0.00%    48.00
               Winbook (300e 81M9) Trackpad Flex (WFC)                                                              $1.16   0.00%     1.00
               Winbook (300e 81M9) USB Bracket                                                                      $0.00   0.00%     4.00
               Winbook (300e 81M9) Wi-Fi Card                                                                     $245.24   0.00%    45.00
               Winbook (N23 80UR) Battery                                                                           $0.00   0.00%     1.00
               Winbook (N23 80UR) LCD w/ Digitizer                                                                $259.84   0.00%     1.00
               Winbook (N24) Hinge Set                                                                             $28.79   0.00%     1.00
               Winbook (N24) Housing [LCD Rear Cover]                                                               $0.00   0.00%     5.00
               Winbook (N24) LCD Panel (Touch)                                                                    $560.34   0.01%     6.00
               Winbook (N24) Motherboard [4GB] [32GB]                                                             $174.17   0.00%     4.00
               Winbook (N24) Palmrest w/ Keyboard                                                                  $90.70   0.00%     3.00
               Winbook (N24) Palmrest w/ Keyboard and Trackpad                                                     $22.51   0.00%    10.00
               Winbook 11 (100e 81CY) Motherboard                                                                   $0.69   0.00%     1.00
               Winbook 11 (100E 81M8) Battery                                                                      $71.96   0.00%    12.00
               Winbook 11 (100E 81M8) Camera                                                                       $57.36   0.00%    16.00
               Winbook 11 (100E 81M8) CMOS Battery                                                                $244.30   0.00%    24.00
               Winbook 11 (100E 81M8) Hinge (Left)                                                                  $0.00   0.00%     9.00
               Winbook 11 (100E 81M8) Hinge (Right)                                                                 $8.45   0.00%    10.00
               Winbook 11 (100E 81M8) Hinge Set*                                                                    $8.00   0.00%     1.00
               Winbook 11 (100E 81M8) Housing [Base]                                                              $440.84   0.01%    33.00
               Winbook 11 (100E 81M8) Housing [LCD Bezel]                                                           $0.00   0.00%     4.00
               Winbook 11 (100E 81M8) Housing [LCD Rear Cover]                                                      $0.00   0.00%     2.00
               Winbook 11 (100E 81M8) LCD                                                                         $332.40   0.00%     6.00
               Winbook 11 (100E 81M8) LCD Cable                                                                    $53.04   0.00%    35.00
               Winbook 11 (100E 81M8) Motherboard [N4000][4GB][128GB]                                             $543.40   0.01%     2.00
               Winbook 11 (100E 81M8) Motherboard [N4100][4GB][128GB]                                             $213.00   0.00%     1.00
               Winbook 11 (100E 81M8) Palmrest w/ Keyboard                                                        $154.27   0.00%    15.00
               Winbook 11 (100E 81M8) Palmrest w/ Keyboard and Trackpad                                           $991.57   0.01%    15.00
               Winbook 11 (100E 81M8) Powerboard w/ Cable                                                          $32.36   0.00%     5.00
               Winbook 11 (100E 81M8) Screw Set                                                                     $0.00   0.00%     2.00
               Winbook 11 (100E 81M8) Speaker Set                                                                   $0.00   0.00%     1.00




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                                Winbook 11 (100E 81M8) Trackpad                                                                         $33.59    0.00%        10.00
                                Winbook 11 (100E 81M8) Trackpad Flex                                                                     $0.00    0.00%         4.00
                                Winbook 11 (100E 81M8) Wi-Fi Card                                                                        $2.57    0.00%        24.00
                                Winbook 11 (100e 82GJ) Motherboard [AMD 3015e][4GB][64GB]                                              $325.64    0.00%         2.00
                                Winbook 11 (100e 82GJ) Palmrest w/ Keyboard and Trackpad                                                $49.68    0.00%         1.00
                                Winbook 11 (300e 82GK) LCD w/ Digitizer                                                              $1,227.50    0.01%         8.00
                                Winbook 11 (300e 82GK) Motherboard                                                                     $154.11    0.00%         1.00
                                Winbook 11 (300e 82GK) Palmrest w/ Keyboard                                                            $111.84    0.00%         2.00
                                Winbook 11 (300e 82GK) Wi-Fi Card                                                                       $16.82    0.00%         1.00
                                Yoga (N23) Battery                                                                                       $0.00    0.00%         3.00
                                Yoga (N23) Camera [Front]                                                                                $0.00    0.00%         1.00
                                Yoga (N23) Hinge [Left]                                                                                  $0.22    0.00%         3.00
                                Yoga (N23) Hinge [Right]                                                                                 $0.00    0.00%         2.00
                                Yoga (N23) Housing [Base]                                                                              $143.92    0.00%         8.00
                                Yoga (N23) Housing [LCD Rear Cover]                                                                    $223.97    0.00%        11.00
                                Yoga (N23) Keyboard                                                                                    $100.92    0.00%         6.00
                                Yoga (N23) LCD Assembly                                                                              $2,718.52    0.03%        26.00
                                Yoga (N23) LCD Cable                                                                                   $185.34    0.00%        19.00
                                Yoga (N23) LCD w/ Digitizer                                                                            $166.14    0.00%         3.00
                                Yoga (N23) Motherboard                                                                               $1,102.55    0.01%        12.00
                                Yoga (N23) Palmrest w/ Keyboard                                                                         $10.67    0.00%         1.00
                                Yoga (N23) Screw Set                                                                                     $0.00    0.00%         1.00
                                Yoga (N23) Speaker Set                                                                                   $6.51    0.00%         1.00
                                Yoga (N23) Trackpad                                                                                    $137.42    0.00%        13.00
                                Yoga (N23) Trackpad Flex                                                                                 $0.17    0.00%         2.00
                                Yoga 11e (20G8) Housing [LCD Rear Cover]                                                                $72.63    0.00%         1.00
                                Yoga 11e (20LM) Battery                                                                                $155.42    0.00%        21.00
                                Yoga 11e (20LM) Camera                                                                                 $114.41    0.00%        15.00
                                Yoga 11e (20LM) Camera Cable                                                                           $109.64    0.00%        29.00
                                Yoga 11e (20LM) Camera [Palmrest]                                                                      $142.09    0.00%        19.00
                                Yoga 11e (20LM) CMOS Battery                                                                            $74.79    0.00%        20.00
                                Yoga 11e (20LM) DC Jack                                                                                 $71.05    0.00%        19.00
                                Yoga 11e (20LM) G Sensor Board                                                                          $71.05    0.00%        19.00
                                Yoga 11e (20LM) Hinge (Left)                                                                           $149.57    0.00%        20.00
                                Yoga 11e (20LM) Hinge (Right)                                                                          $179.49    0.00%        24.00
                                Yoga 11e (20LM) Hinge Set*                                                                               $1.15    0.00%         1.00
                                Yoga 11e (20LM) Housing [Base]                                                                         $354.74    0.00%        19.00
                                Yoga 11e (20LM) Housing [LCD Rear Cover]                                                               $448.18    0.01%        20.00
                                Yoga 11e (20LM) Keyboard                                                                               $212.15    0.00%        15.00
                                Yoga 11e (20LM) LCD Assembly                                                                         $3,047.31    0.04%        47.00
                                Yoga 11e (20LM) LCD Cable                                                                               $93.37    0.00%        25.00
                                Yoga 11e (20LM) Motherboard                                                                          $3,465.58    0.04%        41.00
                                Yoga 11e (20LM) Palmrest                                                                               $852.36    0.01%        34.00
                                Yoga 11e (20LM) Palmrest LED board w/ Cable                                                             $70.06    0.00%        18.00
                                Yoga 11e (20LM) Power Button Board                                                                     $145.09    0.00%        18.00
                                Yoga 11e (20LM) Power Button Board Cable                                                                $63.57    0.00%        17.00
                                Yoga 11e (20LM) Screw Set                                                                               $74.79    0.00%        20.00
                                Yoga 11e (20LM) Sensor Board Cable                                                                      $67.97    0.00%        18.00
                                Yoga 11e (20LM) Speaker Set                                                                            $149.57    0.00%        20.00
                                Yoga 11e (20LM) SSD [128GB]                                                                            $630.89    0.01%        18.00
                                Yoga 11e (20LM) Stylus                                                                                 $149.57    0.00%        20.00
                                Yoga 11e (20LM) Stylus Cable                                                                            $74.79    0.00%        20.00
                                Yoga 11e (20LM) Trackpad                                                                               $112.17    0.00%        15.00
                                Yoga 11e (20LM) Trackpad Flex                                                                           $74.79    0.00%        20.00
                                Yoga 11e (20LM) Wi-Fi Card                                                                             $134.61    0.00%        18.00
                                Yoga 11e (20LM) Wi-Fi Card LED Board                                                                    $74.79    0.00%        20.00
                                Yoga 11e (20LN) Battery                                                                                 $69.83    0.00%         1.00
                                Yoga 11e (20LN) LCD Assembly                                                                           $112.55    0.00%         1.00
                                Yoga 11e (20LN) Motherboard                                                                            $642.82    0.01%         4.00
                                Yoga 11e (20LN) Palmrest                                                                                $41.58    0.00%         2.00
   Total - Inventory Item                                                                                                          $967,479.30   11.17%    41,874.00
Total - 1103 - Kennesaw 2                                                                                                        $1,336,750.02   15.43%    48,282.00
1403 - Greenville, SC
   Assembly/Bill of Materials   (Serialized) CB 11 (100e 82CD) AST                                                                   ($104.16)   (0.00%)        0.00
   Inventory Item
                                ## CB 11 (3100 P29T) Daughterboard ##                                                                   $7.92    0.00%         1.00
                                ## CB 11 (3100 P29T) Hinge [Right] ##                                                                  $23.60    0.00%         6.00
                                ## CB 11 (3100 P29T) Housing [Base] ##                                                                 $13.35    0.00%         6.00
                                ## CB 11 (3100 P29T) Housing [LCD Bezel] ##                                                            $41.86    0.00%         3.00
                                ## CB 11 (3100 P29T) Housing [LCD Rear Cover] ##                                                       $12.24    0.00%         2.00
                                ## CB 11 (3100 P29T) LCD Cable ##                                                                      $20.42    0.00%         5.00
                                ## CB 11 (3100 P29T) LCD Panel (Touch) ##                                                           $1,139.28    0.01%        10.00
                                ## CB 11 (3100 P29T) Motherboard (Touch) ##                                                             $0.00    0.00%         1.00
                                ## CB 11 (3100 P29T) Palmrest w/ Keyboard ##                                                          $104.74    0.00%         7.00
                                ## CB 11 (3100 P29T) Trackpad ##                                                                        $2.20    0.00%         1.00
                                ## CB 11 (3100 P30T) Camera [Front] ##                                                                $493.25    0.01%        53.00
                                ## CB 11 (3100 P30T) Camera [Palmrest] ##                                                              $16.57    0.00%         3.00
                                ## CB 11 (3100 P30T) Daughterboard ##                                                                 $120.55    0.00%         9.00
                                ## CB 11 (3100 P30T) Hinge Set* ##                                                                      $4.13    0.00%         1.00
                                ## CB 11 (3100 P30T) Hinge [Left] ##                                                                   $14.82    0.00%         5.00
                                ## CB 11 (3100 P30T) Housing [Base] ###                                                                $12.64    0.00%         1.00
                                ## CB 11 (3100 P30T) Housing [LCD Rear Cover] ##                                                       $36.30    0.00%         2.00
                                ## CB 11 (3100 P30T) Keyboard ##                                                                        $2.82    0.00%         1.00
                                ## CB 11 (3100 P30T) LCD w/ Digitizer ##                                                              $138.12    0.00%         1.00
                                ## CB 11 (3100 P30T) Palmrest (w/ WFC) ##                                                               $0.00    0.00%         1.00
                                ## CB 11 (3100 P30T) Palmrest w/ Keyboard (w/ WFC) ##                                                  $67.98    0.00%         2.00
                                ## CB 11 (3100 P30T) Palmrest w/ Trackpad ##                                                           $19.40    0.00%         1.00
                                ## CB 11 (3100 P30T) Speaker Set ##                                                                    $39.56    0.00%         8.00
                                ## CB 11 (3100 P30T) Trackpad ##                                                                    $1,090.80    0.01%       133.00
                                ## CB 11 (G6 EE) LCD Panel ##                                                                           $1.44    0.00%         9.00
                                ## CB 11 (G6 EE) LCD Panel (Touch) ##                                                                 $116.00    0.00%         2.00
                                ## CB 11 (G7 EE) Camera ##                                                                            $127.78    0.00%         4.00
                                ## CB 11 (G7 EE) Housing [LCD Rear Cover] ##                                                           $26.36    0.00%         1.00
                                ## CB 14 (G5) Camera Cable ##                                                                          $59.58    0.00%         4.00
                                ## CB 14 (G5) LCD Cable ##                                                                             $17.52    0.00%         2.00
                                (Cons) CB 11 (100e 81MA) Battery                                                                        $0.00    0.00%         1.00
                                (Cons) CB 11 (100e 81MA) Camera [Front]                                                                 $0.00    0.00%         2.00
                                (Cons) CB 11 (100e 81MA) Daughterboard                                                                  $0.00    0.00%        25.00
                                (Cons) CB 11 (100e 81MA) Hinge Set*                                                                     $0.00    0.00%        11.00
                                (Cons) CB 11 (100e 81MA) Housing [LCD Bezel]                                                            $0.00    0.00%         1.00
                                (Cons) CB 11 (100e 81MA) LCD                                                                            $0.00    0.00%         9.00
                                (Cons) CB 11 (100e 81MA) LCD Cable                                                                      $0.00    0.00%         3.00
                                (Cons) CB 11 (100e 81MA) Motherboard                                                                    $0.00    0.00%        74.00
                                (Cons) CB 11 (100e 81MA) Palmrest w/ Keyboard and Trackpad*                                             $0.00    0.00%        18.00
                                (Cons) CB 11 (100e 82CD) AST Motherboard                                                                $0.00    0.00%         1.00
                                (Cons) CB 11 (300e 81MB) Camera [WFC]                                                                   $0.00    0.00%         1.00
                                (Cons) CB 11 (300e 81MB) LCD Cable (Touch)                                                              $0.00    0.00%         1.00
                                (Cons) CB 11 (300e 81MB) LCD w/ Digitizer                                                               $0.00    0.00%         4.00
                                (Cons) CB 11 (300e 81MB) Motherboard                                                                    $0.00    0.00%         3.00
                                (Cons) CB 11 (3100 P29T Non-Touch)(TC6KM) Daughterboard                                                 $0.00    0.00%         4.00
                                (Cons) CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB] [32GB] w/ DB Connector - 0W1C7C             $0.00    0.00%         2.00
                                (Cons) CB 11 (3100 P29T Touch)(30J93) Keyboard                                                          $0.00    0.00%         3.00
                                (Cons) CB 11 (3100 P29T Touch)(30J93) LCD Panel                                                         $0.00    0.00%         1.00
                                (Cons) CB 11 (3100 P29T Touch)(30J93) Motherboard [4GB] [32GB] w/ DB Connector - 0W1C7C                 $0.00    0.00%         2.00
                                (Cons) CB 11 (3100 P30T 2-in-1)(NRCK2) AC Adapter                                                       $0.00    0.00%         1.00
                                (Cons) CB 11 (3100 P30T 2-in-1)(NRCK2) Housing [LCD Rear Cover]                                         $0.00    0.00%         4.00
                                (Cons) CB 11 (3100 P30T 2-in-1)(NRCK2) LCD w/ Digitizer                                                 $0.00    0.00%         1.00
                                (Cons) CB 11 (3100 P30T 2-in-1)(NRCK2) Motherboard [4GB][32GB] w/ WFC Connector - 0FNMF1                $0.00    0.00%         2.00
                                (Cons) CB 11 (3180) AC Adapter                                                                          $0.00    0.00%        46.00




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               (Cons) CB 11 (3180) Audio Board                                                                                            $0.00   0.00%     1.00
               (Cons) CB 11 (3180) Camera                                                                                                 $0.00   0.00%    37.00
               (Cons) CB 11 (3180) Daughterboard (USB)                                                                                    $0.00   0.00%    18.00
               (Cons) CB 11 (3180) Hinge Set*                                                                                             $0.00   0.00%    15.00
               (Cons) CB 11 (3180) Hinge [Left]                                                                                           $0.00   0.00%    33.00
               (Cons) CB 11 (3180) Hinge [Right]                                                                                          $0.00   0.00%    34.00
               (Cons) CB 11 (3180) Housing [Base]                                                                                         $0.00   0.00%    16.00
               (Cons) CB 11 (3180) Housing [Hinge Cover]                                                                                  $0.00   0.00%   313.00
               (Cons) CB 11 (3180) Housing [LCD Bezel]                                                                                    $0.00   0.00%   669.00
               (Cons) CB 11 (3180) Housing [LCD Rear Cover]                                                                               $0.17   0.00%    28.00
               (Cons) CB 11 (3180) Keyboard                                                                                               $0.00   0.00%    19.00
               (Cons) CB 11 (3180) LCD Cable                                                                                              $0.00   0.00%    18.00
               (Cons) CB 11 (3180) LCD Panel (Non-touch)                                                                                  $0.00   0.00%    10.00
               (Cons) CB 11 (3180) Motherboard [4GB] [32GB]                                                                               $0.06   0.00%    16.00
               (Cons) CB 11 (3180) Palmrest                                                                                               $0.00   0.00%     6.00
               (Cons) CB 11 (3180) Palmrest w/ Trackpad                                                                                   $0.00   0.00%    11.00
               (Cons) CB 11 (5190) LCD Panel (Touch)                                                                                      $0.00   0.00%     1.00
               (Cons) Latitude (3190 2-in-1) Motherboard [N4100][4GB]                                                                     $0.00   0.00%     1.00
               (Cons) Latitude (3190) Motherboard                                                                                         $0.00   0.00%     2.00
               06D000E01-0                                                            SlimTech Dell 3100 Clamshell                      $300.00   0.00%    30.00
               BT-DL3180CS-BLK                                                        Dell Chromebook 11“ 3180 CS - BumpTech - Black    $566.55   0.01%    43.00
               CB 10e (82AM) LCD Panel                                                                                                $3,024.70   0.03%    19.00
               CB 10e (82AM) Motherboard                                                                                                $302.20   0.00%     2.00
               CB 11 (100e 81ER) Motherboard [4GB][32GB]                                                                                $259.37   0.00%     2.00
               CB 11 (100e 81MA) Camera [Front]                                                                                          $49.12   0.00%     3.00
               CB 11 (100e 81MA) Daughterboard                                                                                          $310.42   0.00%    20.00
               CB 11 (100e 81MA) Hinge Set*                                                                                              $74.19   0.00%     7.00
               CB 11 (100e 81MA) Housing [Base]                                                                                       $1,119.58   0.01%    95.00
               CB 11 (100e 81MA) Housing [LCD Bezel]                                                                                    $307.61   0.00%    49.00
               CB 11 (100e 81MA) Housing [LCD Rear Cover]                                                                               $458.83   0.01%    41.00
               CB 11 (100e 81MA) LCD Cable                                                                                              $369.70   0.00%    49.00
               CB 11 (100e 81MA) Motherboard                                                                                          $1,060.92   0.01%     8.00
               CB 11 (100e 81MA) Palmrest w/ Keyboard                                                                                     $7.57   0.00%     6.00
               CB 11 (100e 81MA) Palmrest w/ Keyboard and Trackpad*                                                                     $141.12   0.00%     5.00
               CB 11 (100e 81MA) Trackpad                                                                                                 $0.30   0.00%     5.00
               CB 11 (100e 81MA) Trackpad Flex                                                                                            $0.34   0.00%     2.00
               CB 11 (100e 81QB) Battery                                                                                              $1,773.93   0.02%   179.00
               CB 11 (100e 81QB) Camera                                                                                                 $281.01   0.00%   102.00
               CB 11 (100e 81QB) Daughterboard                                                                                          $514.04   0.01%   133.00
               CB 11 (100e 81QB) Daughterboard Flex                                                                                      $51.80   0.00%   117.00
               CB 11 (100e 81QB) Hinge Set*                                                                                             $960.14   0.01%   112.00
               CB 11 (100e 81QB) Hinge [Left]                                                                                            $43.86   0.00%    23.00
               CB 11 (100e 81QB) Hinge [Right]                                                                                          $121.49   0.00%    82.00
               CB 11 (100e 81QB) Housing [Base]                                                                                         $279.74   0.00%    69.00
               CB 11 (100e 81QB) Housing [LCD Bezel]                                                                                    $680.01   0.01%   121.00
               CB 11 (100e 81QB) Housing [LCD Rear Cover]                                                                             $1,987.82   0.02%   185.00
               CB 11 (100e 81QB) LCD Cable                                                                                              $160.65   0.00%    70.00
               CB 11 (100e 81QB) Motherboard                                                                                          $4,826.69   0.06%   102.00
               CB 11 (100e 81QB) Palmrest w/ Keyboard                                                                                 $2,730.75   0.03%   260.00
               CB 11 (100e 81QB) Palmrest w/ Keyboard and Trackpad                                                                    $2,144.30   0.02%    83.00
               CB 11 (100e 81QB) Screw Set                                                                                               $18.64   0.00%    84.00
               CB 11 (100e 81QB) Speaker Set                                                                                            $253.95   0.00%   124.00
               CB 11 (100e 81QB) Trackpad                                                                                                $63.75   0.00%    41.00
               CB 11 (100e 81QB) Trackpad Flex                                                                                           $12.39   0.00%    65.00
               CB 11 (100e 81QB) Wi-Fi Antenna                                                                                            $0.00   0.00%     2.00
               CB 11 (100e 82CD) AST Battery                                                                                          $1,061.31   0.01%    91.00
               CB 11 (100e 82CD) AST Camera                                                                                              $19.06   0.00%    31.00
               CB 11 (100e 82CD) AST Daughterboard                                                                                      $368.18   0.00%    88.00
               CB 11 (100e 82CD) AST Daughterboard Flex Set                                                                              $12.77   0.00%     6.00
               CB 11 (100e 82CD) AST Hinge Set*                                                                                         $307.08   0.00%    31.00
               CB 11 (100e 82CD) AST Hinge [Left]                                                                                       $217.44   0.00%    72.00
               CB 11 (100e 82CD) AST Hinge [Right]                                                                                       $63.87   0.00%    51.00
               CB 11 (100e 82CD) AST Housing [Base]                                                                                     $378.14   0.00%    81.00
               CB 11 (100e 82CD) AST Housing [LCD Bezel]                                                                                $254.35   0.00%    38.00
               CB 11 (100e 82CD) AST Housing [LCD Rear Cover]                                                                           $477.81   0.01%   110.00
               CB 11 (100e 82CD) AST LCD Assembly                                                                                        $29.43   0.00%    12.00
               CB 11 (100e 82CD) AST LCD Cable                                                                                           $58.70   0.00%    39.00
               CB 11 (100e 82CD) AST Motherboard                                                                                     $12,238.00   0.14%   138.00
               CB 11 (100e 82CD) AST Palmrest w/ Keyboard                                                                                $27.48   0.00%    22.00
               CB 11 (100e 82CD) AST Palmrest w/ Keyboard and Trackpad                                                                  $360.27   0.00%    20.00
               CB 11 (100e 82CD) AST Screw Set                                                                                            $2.30   0.00%     2.00
               CB 11 (100e 82CD) AST Speaker Set                                                                                          $9.30   0.00%    15.00
               CB 11 (100e 82CD) AST Thermalpad Mylar                                                                                 $1,897.71   0.02%   183.00
               CB 11 (100e 82CD) AST Trackpad                                                                                            $26.23   0.00%    30.00
               CB 11 (100e 82CD) AST Trackpad Cable                                                                                       $4.25   0.00%    22.00
               CB 11 (100e 82CD) AST Wi-Fi Card                                                                                           $6.29   0.00%    23.00
               CB 11 (300e 81H0) Camera                                                                                                  $14.84   0.00%     1.00
               CB 11 (300e 81H0) G Sensor Board                                                                                           $0.00   0.00%     1.00
               CB 11 (300e 81H0) Housing [Base]                                                                                          $35.15   0.00%     4.00
               CB 11 (300e 81H0) Palmrest w/ Keyboard                                                                                 $1,567.13   0.02%    87.00
               CB 11 (300e 81H0) Trackpad                                                                                               $412.33   0.00%    87.00
               CB 11 (300e 81MB) Battery                                                                                                 $29.39   0.00%     2.00
               CB 11 (300e 81MB) Daughterboard w/ Flex Set                                                                               $17.97   0.00%     2.00
               CB 11 (300e 81MB) Hinge Cover Rubber                                                                                       $0.00   0.00%     1.00
               CB 11 (300e 81MB) Hinge [Right]                                                                                            $1.10   0.00%     5.00
               CB 11 (300e 81MB) Housing [LCD Rear Cover]                                                                                 $0.00   0.00%     1.00
               CB 11 (300e 81MB) LCD Cable (Touch)                                                                                        $5.14   0.00%     1.00
               CB 11 (300e 81MB) LCD w/ Digitizer                                                                                       $844.63   0.01%    11.00
               CB 11 (300e 81MB) Motherboard (w/ WFC)                                                                                   $709.92   0.01%     5.00
               CB 11 (300e 81MB) Palmrest w/ Keyboard                                                                                    $15.70   0.00%     1.00
               CB 11 (300e 81MB) Speaker Set                                                                                              $0.00   0.00%     1.00
               CB 11 (300e 81MB) Spine Cover Rubber                                                                                       $0.00   0.00%     2.00
               CB 11 (300e 81MB) Wi-Fi Card                                                                                               $1.22   0.00%     1.00
               CB 11 (300e 81QC) Battery                                                                                                $171.38   0.00%     6.00
               CB 11 (300e 81QC) Camera                                                                                               $2,176.59   0.03%   184.00
               CB 11 (300e 81QC) Daughterboard                                                                                           $73.38   0.00%     6.00
               CB 11 (300e 81QC) Daughterboard Flex                                                                                       $6.78   0.00%     1.00
               CB 11 (300e 81QC) Hinge Rubber                                                                                             $0.00   0.00%     1.00
               CB 11 (300e 81QC) Hinge [Left]                                                                                             $3.32   0.00%     1.00
               CB 11 (300e 81QC) Hinge [Right]                                                                                            $9.88   0.00%     3.00
               CB 11 (300e 81QC) Housing [Base]                                                                                          $35.14   0.00%     5.00
               CB 11 (300e 81QC) Housing [LCD Rear Cover]                                                                               $114.76   0.00%    11.00
               CB 11 (300e 81QC) LCD w/ Digitizer                                                                                       $790.33   0.01%    14.00
               CB 11 (300e 81QC) Motherboard [4GB] [32GB]                                                                             $1,314.07   0.02%    15.00
               CB 11 (300e 81QC) Palmrest w/ Keyboard                                                                                    $26.39   0.00%     2.00
               CB 11 (300e 81QC) Sensor Board                                                                                             $0.30   0.00%     2.00
               CB 11 (300e 81QC) Spine Cover                                                                                             $18.02   0.00%     7.00
               CB 11 (300e 81QC) Spine Cover Rubber                                                                                       $0.00   0.00%     3.00
               CB 11 (300e 82CE) Battery                                                                                              $1,668.23   0.02%    45.00
               CB 11 (300e 82CE) Daughterboard                                                                                           $60.91   0.00%     3.00
               CB 11 (300e 82CE) Daughterboard Flex                                                                                       $0.99   0.00%     1.00
               CB 11 (300e 82CE) Hinge Set*                                                                                              $11.71   0.00%     1.00
               CB 11 (300e 82CE) Housing [Base]                                                                                          $17.23   0.00%     1.00
               CB 11 (300e 82CE) Housing [LCD Rear Cover]                                                                                $50.04   0.00%     3.00
               CB 11 (300e 82CE) LCD Cable                                                                                               $18.91   0.00%     3.00
               CB 11 (300e 82CE) LCD w/ Digitizer                                                                                     $1,498.81   0.02%    19.00
               CB 11 (300e 82CE) Motherboard [4GB] [32GB]                                                                               $623.26   0.01%     5.00
               CB 11 (300e 82CE) Motherboard [4GB][32GB] (w/ WFC)                                                                       $117.97   0.00%     1.00
               CB 11 (300e 82CE) Palmrest w/ Keyboard and Trackpad                                                                       $56.12   0.00%     2.00




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               CB 11 (300e 82CE) Spine Cover Rubber                                                                                                     $0.00       0.00%     4.00
               CB 11 (300e 82CE) Trackpad                                                                                                               $6.30       0.00%     1.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Camera [Front]                                                                                        $0.00       0.00%     1.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [LCD Rear Cover]                                                                              $6.86       0.00%     1.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest (w/ Cutout)                                                                                  $0.00       0.00%     1.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest w/ Keyboard                                                                                  $0.00       0.00%     3.00
               CB 11 (3100 P29T Touch)(30J93) Housing [LCD Rear Cover]                                                                                  $0.00       0.00%     2.00
               CB 11 (3100 P29T Touch)(30J93) Motherboard [4GB] [32GB] w/ DB Connector - 0W1C7C                                                      $318.03        0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Battery                                                                                                  $0.00       0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Battery Cable                                                                                            $0.00       0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Camera Cable [Palmrest]                                                                                  $0.00       0.00%     4.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Camera [Front]                                                                                           $9.71       0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Camera [Palmrest]                                                                                        $8.97       0.00%     3.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Daughterboard                                                                                            $0.00       0.00%     5.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Daughterboard Flex Set                                                                                   $0.00       0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Hinge [Left]                                                                                             $0.00       0.00%     5.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Hinge [Right]                                                                                            $0.23       0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Housing [Base]                                                                                           $9.46       0.00%     4.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Housing [LCD Rear Cover]                                                                               $61.42        0.00%     5.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Keyboard                                                                                               $79.65        0.00%    18.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) LCD Cable                                                                                                $0.00       0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) LCD w/ Digitizer                                                                                    $1,348.12        0.02%    15.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest                                                                                               $11.08        0.00%     3.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest (w/ WFC)                                                                                        $0.00       0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Keyboard                                                                                     $0.00       0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Keyboard (w/ WFC)                                                                         $231.29        0.00%     8.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Trackpad                                                                                  $224.58        0.00%     6.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Speaker Set                                                                                              $0.00       0.00%     5.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Trackpad                                                                                                 $0.00       0.00%     4.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Trackpad Bracket                                                                                         $2.10       0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Trackpad Flex                                                                                            $1.20       0.00%     1.00
               CB 11 (3180) AC Adapter                                                                                                                $22.49        0.00%     1.00
               CB 11 (3180) Audio Board                                                                                                              $722.60        0.01%    43.00
               CB 11 (3180) Audio Board Flex                                                                                                            $0.86       0.00%     1.00
               CB 11 (3180) Battery                                                                                                                   $19.89        0.00%     1.00
               CB 11 (3180) Battery Cable                                                                                                               $1.99       0.00%     1.00
               CB 11 (3180) Camera                                                                                                                    $12.53        0.00%    19.00
               CB 11 (3180) DC Jack                                                                                                                  $343.60        0.00%    69.00
               CB 11 (3180) Hinge Set*                                                                                                                  $1.83       0.00%     1.00
               CB 11 (3180) Hinge [Left]                                                                                                             $128.80        0.00%   140.00
               CB 11 (3180) Hinge [Right]                                                                                                               $2.47       0.00%     3.00
               CB 11 (3180) Housing [Base]                                                                                                           $199.11        0.00%    12.00
               CB 11 (3180) Housing [Hinge Cover]                                                                                                    $374.34        0.00%   496.00
               CB 11 (3180) Housing [LCD Rear Cover]                                                                                               $2,369.35        0.03%   182.00
               CB 11 (3180) Keyboard                                                                                                               $2,200.76        0.03%    96.00
               CB 11 (3180) LCD Cable                                                                                                                $200.90        0.00%    49.00
               CB 11 (3180) Palmrest                                                                                                                  $96.59        0.00%     9.00
               CB 11 (3180) Palmrest w/ Keyboard and Trackpad                                                                                        $386.16        0.00%    10.00
               CB 11 (3180) Palmrest w/ Trackpad                                                                                                      $85.94        0.00%     2.00
               CB 11 (3180) Speaker Set                                                                                                               $13.32        0.00%    12.00
               CB 11 (3180) Trackpad                                                                                                                 $230.19        0.00%    54.00
               CB 11 (3180) Trackpad Flex                                                                                                             $17.98        0.00%    54.00
               CB 11 (3189) DC Jack                                                                                                                   $37.36        0.00%     7.00
               CB 11 (5190) Battery                                                                                                                   $77.37        0.00%     2.00
               CB 11 (5190) Battery Cable                                                                                                             $11.39        0.00%     1.00
               CB 11 (5190) Keyboard (2-in-1)                                                                                                         $21.97        0.00%     1.00
               CB 11 (5190) Palmrest (2-in-1)                                                                                                           $5.31       0.00%     1.00
               CB 11 (5190) Speaker Set                                                                                                                 $9.18       0.00%     1.00
               CB 11 (CP311-3H) Camera                                                                                                                  $0.00       0.00%     1.00
               CB 11 (G7 EE Non-Touch) Camera Cable                                                                                                   $20.17        0.00%     2.00
               CB 11 (G7 EE Non-Touch) Housing [LCD Bezel]                                                                                            $16.55        0.00%     1.00
               CB 11 (N23) Trackpad Cable                                                                                                               $7.41       0.00%     2.00
               CB 11 (R721T) Hinge [Left]                                                                                                               $0.00       0.00%     1.00
               CB 11 x360 (G3 EE) Daughterboard                                                                                                         $5.26       0.00%     1.00
               CB 11 x360 (G3 EE) LCD Assembly                                                                                                       $359.98        0.00%     2.00
               CB 11 x360 (G3 EE) Trackpad Flex                                                                                                         $0.35       0.00%     1.00
               CB 14 (G5 Non-Touch) Palmrest w/ Keyboard                                                                                              $21.96        0.00%     1.00
               CB 14 (G5 Non-Touch) Trackpad                                                                                                            $0.00       0.00%     1.00
               CB 14 (G5 Non-Touch) Trackpad Flex                                                                                                       $0.00       0.00%     1.00
               CB 14E (81MH) Hinge (Left)                                                                                                               $0.00       0.00%     3.00
               CB 14E (81MH) Housing [Base]                                                                                                             $0.00       0.00%     1.00
               CB 14E (81MH) Housing [Hinge Cover]                                                                                                      $0.00       0.00%     1.00
               DT-DL3100CB2IN1-BLK                                                                DropTech for Dell Chromebook 3100 (2-in-1)       $1,485.00        0.02%    99.00
               DT-DL31902IN1-BLK                                                                  DropTech Dell 3189/3190 2-in-1 - Black             $229.92        0.00%    12.00
               DT-L300E-BLK                                                                       DropTech Lenovo 300E 11.6" 2in1                    $446.72        0.01%    23.00
               Generic AC Adapter - USB C (65W 20V 3.25A)                                                                                               $0.69       0.00%     1.00
               HP-ESS-G6EE-BLK                                                                    Extreme Shell-S for HP G6 EE Chromebook Clamshell 11.6"
                                                                                                                                                        $0.00
                                                                                                                                                          (Black)   0.00%    10.00
               iPad 5 Audio Flex - Black                                                                                                              $12.00        0.00%     6.00
               iPad 5 Digitizer - Black                                                                                                               $23.94        0.00%     2.00
               iPad 5 Digitizer - White                                                                                                              $116.49        0.00%     8.00
               iPad 5 Home Button Gasket                                                                                                              $60.77        0.00%    49.00
               iPad 5 Screw Set                                                                                                                       $10.63        0.00%     8.00
               iPad 6 Audio Jack                                                                                                                      $34.33        0.00%    21.00
               iPad 6 Battery                                                                                                                        $246.78        0.00%    11.00
               iPad 6 Camera [Front]                                                                                                                  $16.05        0.00%    10.00
               iPad 6 Charge Port Flex [Black]                                                                                                          $6.29       0.00%     2.00
               iPad 6 Digitizer - Black                                                                                                               $72.90        0.00%     6.00
               iPad 6 Home Button Flex [Black]                                                                                                          $4.12       0.00%     1.00
               iPad 6 Home Button Flex [White]                                                                                                        $22.30        0.00%     5.00
               iPad 6 Home Button Spacer                                                                                                             $270.54        0.00%   162.00
               iPad 6 Home Button [Black]                                                                                                             $93.00        0.00%    20.00
               iPad 6 LCD Panel                                                                                                                      $730.50        0.01%    10.00
               iPad 6 Microphone Flex                                                                                                                   $0.62       0.00%     1.00
               iPad 6 Power and Volume Button [Black]                                                                                                 $71.06        0.00%    11.00
               iPad 6 Volume Flex                                                                                                                     $34.46        0.00%    17.00
               iPad 6 Wi-Fi Antenna                                                                                                                     $1.30       0.00%     1.00
               iPad 7 (10.2 A2200) Wi-Fi Antenna                                                                                                        $1.34       0.00%     1.00
               iPad 7 (10.2) Audio Jack                                                                                                                 $2.38       0.00%     1.00
               iPad 7 (10.2) Digitizer - Black                                                                                                       $195.56        0.00%    10.00
               iPad 7 (10.2) Home Button - Black                                                                                                        $5.59       0.00%     1.00
               iPad 7 (10.2) LCD                                                                                                                     $849.27        0.01%    10.00
               iPad Air 1 Camera [Front]                                                                                                                $5.92       0.00%     2.00
               iPad Air 2 Audio Flex - Black                                                                                                            $1.49       0.00%     1.00
               iPad Air 2 Battery                                                                                                                     $46.99        0.00%     6.00
               iPad Air 2 Digitizer - Black                                                                                                           $35.48        0.00%     2.00
               iPad Air 2 Home Button - Black                                                                                                           $4.66       0.00%     2.00
               iPad Air 2 Home Button - White/Silver                                                                                                    $3.32       0.00%     2.00
               iPad Air 2 LCD Assembly - Black                                                                                                     $1,253.99        0.01%    12.00
               iPad Air 2 Power Flex                                                                                                                    $0.78       0.00%     1.00
               iPad Air 3 Battery                                                                                                                     $43.92        0.00%     2.00
               iPad Air 3 Headphone Jack                                                                                                                $2.95       0.00%     1.00
               iPad Air 3 Home Button - Black                                                                                                         $23.84        0.00%     8.00
               iPad Air 3 LCD Assembly - Black                                                                                                     $1,446.20        0.02%    10.00
               iPad Pro (9.7) LCD Assembly - Black                                                                                                   $196.29        0.00%     2.00
               iPad Pro 9.7" Tempered Glass                                                                                                             $5.20       0.00%     1.00
               Latitude (3180) Battery                                                                                                               $370.35        0.00%     3.00
               Latitude (3180) DC Jack                                                                                                                  $9.45       0.00%     1.00
               Latitude (3180) Housing [Base]                                                                                                         $31.79        0.00%     1.00
               Latitude (3180) Housing [LCD Bezel]                                                                                                    $31.39        0.00%     1.00




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                                             Latitude (3180) Keyboard                                                                                                               $101.62          0.00%         4.00
                                             Latitude (3180) Palmrest                                                                                                                $28.07          0.00%         1.00
                                             Latitude (3189) AC Adapter                                                                                                               $7.90          0.00%         5.00
                                             Latitude (3189) Audio Board                                                                                                              $4.62          0.00%         1.00
                                             Latitude (3189) Battery                                                                                                                 $59.41          0.00%         2.00
                                             Latitude (3189) DC Jack                                                                                                                $114.56          0.00%         9.00
                                             Latitude (3189) LCD Cable                                                                                                               $53.97          0.00%         4.00
                                             Latitude (3189) LCD w/ Digitizer                                                                                                       $270.00          0.00%         3.00
                                             Latitude (3189) Palmrest w/ Trackpad                                                                                                   $112.90          0.00%         3.00
                                             Latitude (3190) Battery (WDX0R)                                                                                                         $57.51          0.00%         1.00
                                             Latitude (3190) Housing [Base]                                                                                                          $69.24          0.00%         2.00
                                             Latitude (3190) Housing [LCD Bezel]                                                                                                    $162.19          0.00%         9.00
                                             Latitude (3190) Housing [LCD Rear Cover]                                                                                                $11.92          0.00%         1.00
                                             Latitude (3190) LCD                                                                                                                     $82.02          0.00%         2.00
                                             Latitude (3190) Motherboard                                                                                                             $71.09          0.00%         1.00
                                             Latitude (3190) Trackpad                                                                                                                 $0.34          0.00%         1.00
                                             LCD Panel (30 Pin 14 in)                                                                                                               $110.08          0.00%         1.00
                                             LCD Panel (40 Pin 11 in)                                                                                                               $138.71          0.00%         3.00
                                             LCD Panel (40 Pin 11 in) (Touch)                                                                                                       $333.17          0.00%         5.00
                                             LCD Panel L/R Brackets (30 Pin 11 in)                                           30 Pin LCD with Left & Right Brackets               $18,928.38          0.22%       708.00
                                             SM-CS-LP404                                                                     Rugged - Dual Injected Case for LENOVO 300e/500e 2nd   $463.12
                                                                                                                                                                                      Gen Chr/Win Intel/MTK
                                                                                                                                                                                                     0.01%        57.00
                                             SM-CS-LP406                                                                     Rugged - Dual Injected Case for LENOVO 100e 2nd Gen  $6,858.55
                                                                                                                                                                                     Chr/Win Intel/MTK
                                                                                                                                                                                                     0.08%       855.00
                                             SM-CS-TB531                                                                     Rugged Vision 360 Case with velcro hand strap for iPad New/
                                                                                                                                                                                    $162.46
                                                                                                                                                                                         6th Gen     0.00%        25.00
                                             SM-CS-TB574                                                                     Rugged Vision 360 Case with velcro hand strap for Lenovo$60.80
                                                                                                                                                                                      10e            0.00%         8.00
                                             SM-TG-IPA105                                                                    Tempered Glass for iPad Air/Air 2/New/Pro 9.7/6th Gen    $2.85          0.00%         1.00
                                             SM-TG-IPA121                                                                    Tempered Glass for iPad 7th Gen 10.2"                  $262.20          0.00%        92.00
                                             SM-TG-LV308                                                                     Tempered Glass for Lenovo 10e                           $12.29          0.00%         3.00
                                             Winbook (300e 81FY) Screw Set                                                                                                            $0.00          0.00%         8.00
      Total - Inventory Item                                                                                                                                                    $106,811.44          1.23%     9,549.00
   Total - 1403 - Greenville, SC                                                                                                                                                $106,707.28          1.23%     9,549.00
   1351 - Cincinnati, OH
      Assembly/Bill of Materials
                                             (Serialized) ## CB 11 (3100 P29T) ##                                                                                                 $252.71          0.00%           0.00
                                             (Serialized) Winbook (300e 81M9)                                                                                                     $613.34          0.01%           0.00
        Total - Assembly/Bill of Materials                                                                                                                                        $866.05          0.01%           0.00
   Total - 1351 - Cincinnati, OH                                                                                                                                                  $866.05          0.01%           0.00
Total - Central                                                                                                                                                             $1,444,323.35         16.68%      57,831.00
East
   1380 - Philadelphia, PA
        Assembly/Bill of Materials
                                             (Serialized) ## CB 11A (G6 EE) ##                                                                                                      $0.00          0.00%           1.00
                                             (Serialized) CB 11 (500e 81ES)                                                                                                       $683.88          0.01%           0.00
       Total - Assembly/Bill of Materials                                                                                                                                         $683.88          0.01%           1.00
       Inventory Item
                                             ## CB 11 (3100 P29T) Battery ##                                                                                                       $57.47          0.00%          5.00
                                             ## CB 11 (3100 P29T) Battery Cable ##                                                                                                 $24.62          0.00%          4.00
                                             ## CB 11 (3100 P29T) Camera Cable (WFC) ##                                                                                            $72.37          0.00%         10.00
                                             ## CB 11 (3100 P29T) Camera [Front] ##                                                                                                $13.90          0.00%          3.00
                                             ## CB 11 (3100 P29T) Daughterboard (Touch) ##                                                                                         $21.71          0.00%          1.00
                                             ## CB 11 (3100 P29T) Hinge [Left] ##                                                                                                  $26.59          0.00%          6.00
                                             ## CB 11 (3100 P29T) Hinge [Right] ##                                                                                                 $13.30          0.00%          3.00
                                             ## CB 11 (3100 P29T) Housing [Base] ##                                                                                               $359.20          0.00%         21.00
                                             ## CB 11 (3100 P29T) Housing [LCD Bezel] ##                                                                                          $387.99          0.00%         24.00
                                             ## CB 11 (3100 P29T) Housing [LCD Rear Cover] ##                                                                                     $302.23          0.00%         16.00
                                             ## CB 11 (3100 P29T) Keyboard ##                                                                                                      $66.08          0.00%          8.00
                                             ## CB 11 (3100 P29T) LCD Cable ##                                                                                                    $222.54          0.00%         51.00
                                             ## CB 11 (3100 P29T) LCD Cable (Touch) ##                                                                                             $43.90          0.00%          6.00
                                             ## CB 11 (3100 P29T) LCD Panel (Non-touch) ##                                                                                        $200.70          0.00%          3.00
                                             ## CB 11 (3100 P29T) LCD Panel (Touch) ##                                                                                          $4,474.60          0.05%         40.00
                                             ## CB 11 (3100 P29T) Motherboard ##                                                                                                   $43.53          0.00%          1.00
                                             ## CB 11 (3100 P29T) Motherboard (Touch) ##                                                                                       $11,472.24          0.13%         91.00
                                             ## CB 11 (3100 P29T) Motherboard [4GB][16GB] (Non-Touch) - 0GD6HC ##                                                                 $123.75          0.00%          2.00
                                             ## CB 11 (3100 P29T) Palmrest ##                                                                                                      $70.01          0.00%          5.00
                                             ## CB 11 (3100 P29T) Palmrest w/ Keyboard ##                                                                                         $286.00          0.00%          8.00
                                             ## CB 11 (3100 P29T) Trackpad ##                                                                                                       $2.08          0.00%          1.00
                                             ## CB 11 (3100 P29T) Wi-Fi Card ##                                                                                                     $0.69          0.00%          1.00
                                             ## CB 11 (3100 P30T) AC Adapter ##                                                                                                    $16.47          0.00%          1.00
                                             ## CB 11 (3100 P30T) Camera [Front] ##                                                                                               $569.23          0.01%         59.00
                                             ## CB 11 (3100 P30T) Daughterboard ##                                                                                                $116.32          0.00%          9.00
                                             ## CB 11 (3100 P30T) G Sensor Board ##                                                                                               $124.63          0.00%         20.00
                                             ## CB 11 (3100 P30T) G Sensor Cable ##                                                                                                $38.47          0.00%         12.00
                                             ## CB 11 (3100 P30T) Hinge Set* ##                                                                                                    $28.55          0.00%          3.00
                                             ## CB 11 (3100 P30T) Hinge [Left] ##                                                                                                   $1.77          0.00%          3.00
                                             ## CB 11 (3100 P30T) Hinge [Right] ##                                                                                                $104.53          0.00%         37.00
                                             ## CB 11 (3100 P30T) Housing [Base] ###                                                                                               $24.93          0.00%          2.00
                                             ## CB 11 (3100 P30T) Housing [LCD Rear Cover] ##                                                                                      $65.15          0.00%          3.00
                                             ## CB 11 (3100 P30T) LCD Cable ##                                                                                                     $44.66          0.00%          7.00
                                             ## CB 11 (3100 P30T) Motherboard ##                                                                                                  $398.87          0.00%          5.00
                                             ## CB 11 (3100 P30T) Palmrest ###                                                                                                      $0.00          0.00%          5.00
                                             ## CB 11 (3100 P30T) Speaker Set ##                                                                                                   $74.24          0.00%         12.00
                                             ## CB 11 (3100 P30T) Trackpad ##                                                                                                     $327.34          0.00%         35.00
                                             ## CB 11 (3100 P30T) Trackpad Flex ##                                                                                                  $2.67          0.00%          1.00
                                             ## CB 11 (C738T) Hinge (Right) ##                                                                                                      $6.36          0.00%          2.00
                                             ## CB 11 (G5 EE) Daughterboard Flex ##                                                                                                 $0.00          0.00%          1.00
                                             ## CB 11 (G5 EE) DC Jack ##                                                                                                           $17.99          0.00%          1.00
                                             ## CB 11 (G5 EE) Motherboard [4GB] [32GB] ##                                                                                          $66.42          0.00%          1.00
                                             ## CB 11 (G5 EE) Palmrest w/ Keyboard ##                                                                                             $549.13          0.01%         10.00
                                             ## CB 11 (G5 EE) Trackpad ##                                                                                                          $42.88          0.00%          2.00
                                             ## CB 11 (G6 EE) Battery ##                                                                                                        $2,730.56          0.03%         76.00
                                             ## CB 11 (G6 EE) Camera ###                                                                                                          $367.50          0.00%         20.00
                                             ## CB 11 (G6 EE) Camera Cable ##                                                                                                      $13.12          0.00%          2.00
                                             ## CB 11 (G6 EE) Daughterboard ##                                                                                                    $216.58          0.00%         39.00
                                             ## CB 11 (G6 EE) Daughterboard Flex Set ##                                                                                            $43.24          0.00%         52.00
                                             ## CB 11 (G6 EE) Hinge Set ##                                                                                                         $46.90          0.00%          4.00
                                             ## CB 11 (G6 EE) Hinge [Left] ##                                                                                                      $19.47          0.00%         21.00
                                             ## CB 11 (G6 EE) Hinge [Right] ##                                                                                                     $14.00          0.00%          4.00
                                             ## CB 11 (G6 EE) Housing [Hinge Cover] ##                                                                                              $2.76          0.00%          2.00
                                             ## CB 11 (G6 EE) Housing [LCD Bezel] ##                                                                                              $272.17          0.00%         19.00
                                             ## CB 11 (G6 EE) Housing [LCD Rear Cover] ##                                                                                         $907.72          0.01%         65.00
                                             ## CB 11 (G6 EE) Keyboard ##                                                                                                         $744.51          0.01%         16.00
                                             ## CB 11 (G6 EE) LCD Cable ##                                                                                                      $2,103.39          0.02%        284.00
                                             ## CB 11 (G6 EE) LCD Panel ##                                                                                                          $1.93          0.00%          2.00
                                             ## CB 11 (G6 EE) LCD Panel (Touch) ##                                                                                                $174.00          0.00%          3.00
                                             ## CB 11 (G6 EE) Palmrest w/ Keyboard ##                                                                                           $1,309.90          0.02%         53.00
                                             ## CB 11 (G6 EE) Speaker Set ##                                                                                                       $62.24          0.00%         17.00
                                             ## CB 11 (G6 EE) Trackpad ##                                                                                                         $148.33          0.00%         24.00
                                             ## CB 11 (G6 EE) Trackpad Flex ##                                                                                                      $2.47          0.00%          8.00
                                             ## CB 11 (G6 EE) Wi-Fi Card ##                                                                                                       $153.05          0.00%         26.00
                                             ## CB 11 (G7 EE) Battery ##                                                                                                          $348.00          0.00%          3.00
                                             ## CB 11 (G7 EE) LCD Cable ##                                                                                                        $114.00          0.00%         19.00
                                             ## CB 11 (G7 EE) Motherboard [4GB][16GB] ##                                                                                        $1,386.00          0.02%          6.00
                                             ## CB 11 (G7 EE) Palmrest w/ Keyboard ##                                                                                             $381.23          0.00%         15.00
                                             ## CB 11 (G8 EE) Battery ##                                                                                                          $712.21          0.01%         13.00
                                             ## CB 11 (G8 EE) Camera ##                                                                                                         $1,093.40          0.01%         88.00
                                             ## CB 11 (G8 EE) Daughterboard ##                                                                                                     $26.06          0.00%          2.00
                                             ## CB 11 (G8 EE) Hinge Cover ##                                                                                                       $14.02          0.00%          1.00
                                             ## CB 11 (G8 EE) Hinge Set* ##                                                                                                        $73.48          0.00%          7.00
                                             ## CB 11 (G8 EE) Hinge [Right] ##                                                                                                      $0.92          0.00%          1.00
                                             ## CB 11 (G8 EE) Housing [Base] ##                                                                                                   $395.11          0.00%         14.00




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               ## CB 11 (G8 EE) Housing [LCD Bezel] ##                                                     $11.25   0.00%     1.00
               ## CB 11 (G8 EE) Housing [LCD Rear Cover] ##                                                $36.66   0.00%     2.00
               ## CB 11 (G8 EE) LCD Cable ##                                                              $132.79   0.00%    13.00
               ## CB 11 (G8 EE) Palmrest w/ Keyboard ##                                                   $538.80   0.01%    16.00
               ## CB 11 (G8 EE) Palmrest w/ Keyboard and Trackpad ##                                      $450.00   0.01%    15.00
               ## CB 11 (G8 EE) Speaker Set ##                                                            $418.95   0.00%    19.00
               ## CB 11 (G8 EE) Trackpad ##                                                                $72.61   0.00%     5.00
               ## CB 11 (G8 EE) Trackpad Flex ##                                                            $0.10   0.00%    12.00
               ## CB 11 (G8 EE) Wi-Fi Card ##                                                             $240.58   0.00%    12.00
               ## CB 11 Spin (R751T) Trackpad ##                                                            $6.09   0.00%     1.00
               ## CB 11 Spin (R751T) Wi-Fi Card ##                                                         $23.94   0.00%     3.00
               ## CB 11A (G6 EE) Battery ##                                                                $10.12   0.00%     2.00
               ## CB 11A (G6 EE) Camera ##                                                                $493.92   0.01%    36.00
               ## CB 11A (G6 EE) Camera Cable ##                                                           $37.93   0.00%     9.00
               ## CB 11A (G6 EE) Daughterboard ##                                                         $167.36   0.00%    17.00
               ## CB 11A (G6 EE) Hinge [Left] ##                                                           $16.34   0.00%     5.00
               ## CB 11A (G6 EE) Hinge [Right] ##                                                          $17.11   0.00%     5.00
               ## CB 11A (G6 EE) Housing [Base] ##                                                         $33.63   0.00%     7.00
               ## CB 11A (G6 EE) Housing [LCD Bezel] ##                                                   $563.97   0.01%   102.00
               ## CB 11A (G6 EE) Housing [LCD Rear Cover] ##                                               $75.70   0.00%    14.00
               ## CB 11A (G6 EE) LCD Cable ##                                                             $145.61   0.00%    43.00
               ## CB 11A (G6 EE) LCD Panel ##                                                             $164.42   0.00%     4.00
               ## CB 11A (G6 EE) Motherboard [4GB] [32GB] ##                                              $873.06   0.01%    12.00
               ## CB 11A (G6 EE) Palmrest w/ Keyboard ##                                                $2,104.32   0.02%    68.00
               ## CB 11A (G8 EE) Battery ##                                                                $63.73   0.00%     7.00
               ## CB 11A (G8 EE) Camera ##                                                                $555.24   0.01%    24.00
               ## CB 11A (G8 EE) Daughterboard ##                                                          $10.92   0.00%     1.00
               ## CB 11A (G8 EE) Daughterboard Flex Set ##                                                 $61.20   0.00%     9.00
               ## CB 11A (G8 EE) Hinge Set* ##                                                             $45.79   0.00%     2.00
               ## CB 11A (G8 EE) Hinge [Left] ##                                                          $144.97   0.00%    20.00
               ## CB 11A (G8 EE) Hinge [Right] ##                                                          $89.62   0.00%    12.00
               ## CB 11A (G8 EE) Housing [Base] ##                                                        $152.98   0.00%     7.00
               ## CB 11A (G8 EE) Housing [LCD Rear Cover] ##                                              $120.51   0.00%     5.00
               ## CB 11A (G8 EE) LCD Cable ##                                                              $43.96   0.00%     5.00
               ## CB 11A (G8 EE) LCD Panel ##                                                              $66.43   0.00%     1.00
               ## CB 11A (G8 EE) Motherboard ##                                                         $4,757.86   0.05%    31.00
               ## CB 11A (G8 EE) Palmrest w/ Keyboard ##                                                   $44.82   0.00%     1.00
               ## CB 11A (G8 EE) Palmrest w/ Keyboard and Trackpad ##                                     $452.63   0.01%     9.00
               ## CB 11A (G8 EE) Screw Kit ##                                                              $17.87   0.00%     2.00
               ## CB 11A (G8 EE) Trackpad ##                                                               $19.67   0.00%     2.00
               ## CB 11A (G8 EE) Wi-Fi Antenna ##                                                           $8.14   0.00%     6.00
               ## CB 14 (G5) Battery ##                                                                    $84.59   0.00%     5.00
               ## CB 14 (G5) Camera ##                                                                    $342.09   0.00%    38.00
               ## CB 14 (G5) Camera Cable ##                                                              $343.88   0.00%    26.00
               ## CB 14 (G5) Daughterboard ##                                                              $63.50   0.00%     2.00
               ## CB 14 (G5) Housing [Base] ##                                                             $63.20   0.00%     7.00
               ## CB 14 (G5) Housing [LCD Rear Cover] ##                                                  $100.48   0.00%     8.00
               ## CB 14 (G5) LCD Cable ##                                                                  $36.26   0.00%     2.00
               ## CB 14 (G5) LCD Cable (Touch) ##                                                          $49.41   0.00%     3.00
               ## CB 14 (G5) LCD Panel (Touch) ##                                                       $3,205.65   0.04%    42.00
               ## CB 14 (G5) Motherboard [4GB] [32GB] ##                                                $1,368.00   0.02%     3.00
               ## CB 14 (G5) Palmrest w/ Keyboard ##                                                      $417.70   0.00%     8.00
               ## CB 14 (G5) Sensor Board ##                                                               $10.85   0.00%     5.00
               ## CB 14 (G5) Sensor Board Cable ##                                                          $0.25   0.00%     6.00
               ## CB 14 (G5) Trackpad ##                                                                  $223.98   0.00%    12.00
               ## CB 14 (G5) Trackpad Flex ##                                                               $8.70   0.00%    16.00
               ## CB 14 (G5) Wi-Fi Card ##                                                                  $7.27   0.00%     5.00
               ### CB 11 (3100 P30T) Palmrest w/ Keyboard ##                                            $1,545.46   0.02%    48.00
               (A2C) Latitude (E7440) Palmrest                                                              $0.00   0.00%     1.00
               (Cons) CB 11 (100e 81QB) Daughterboard                                                       $0.00   0.00%     1.00
               CB 10e (82AM) Motherboard                                                                  $152.99   0.00%     1.00
               CB 11 (100e 81MA) AC Adapter                                                                $84.50   0.00%     5.00
               CB 11 (100e 81MA) Battery                                                                   $83.98   0.00%     2.00
               CB 11 (100e 81MA) Camera [Front]                                                           $280.74   0.00%    14.00
               CB 11 (100e 81MA) Daughterboard                                                            $141.27   0.00%     6.00
               CB 11 (100e 81MA) Daughterboard Flex                                                         $3.87   0.00%    13.00
               CB 11 (100e 81MA) Hinge Set*                                                                $96.40   0.00%     9.00
               CB 11 (100e 81MA) Housing [Base]                                                            $58.14   0.00%     5.00
               CB 11 (100e 81MA) Housing [LCD Bezel]                                                      $122.49   0.00%    19.00
               CB 11 (100e 81MA) Housing [LCD Rear Cover]                                                 $557.46   0.01%    34.00
               CB 11 (100e 81MA) LCD Cable                                                                $448.00   0.01%    59.00
               CB 11 (100e 81MA) Motherboard                                                            $8,278.99   0.10%    59.00
               CB 11 (100e 81MA) Palmrest w/ Keyboard                                                     $547.85   0.01%    39.00
               CB 11 (100e 81MA) Palmrest w/ Keyboard and Trackpad*                                       $444.90   0.01%    12.00
               CB 11 (100e 81MA) Wi-Fi Card                                                               $143.91   0.00%    10.00
               CB 11 (100e 81QB) AC Adapter                                                                $97.64   0.00%     4.00
               CB 11 (100e 81QB) Camera                                                                    $18.72   0.00%     3.00
               CB 11 (100e 81QB) Daughterboard                                                            $118.31   0.00%    28.00
               CB 11 (100e 81QB) Daughterboard Flex                                                        $12.27   0.00%    12.00
               CB 11 (100e 81QB) Hinge Set*                                                               $606.74   0.01%    66.00
               CB 11 (100e 81QB) Hinge [Left]                                                              $12.91   0.00%     6.00
               CB 11 (100e 81QB) Hinge [Right]                                                             $10.04   0.00%     6.00
               CB 11 (100e 81QB) Housing [Base]                                                           $203.48   0.00%    13.00
               CB 11 (100e 81QB) Housing [LCD Bezel]                                                       $39.22   0.00%     5.00
               CB 11 (100e 81QB) Housing [LCD Rear Cover]                                                 $191.65   0.00%    16.00
               CB 11 (100e 81QB) LCD Cable                                                                 $88.72   0.00%    16.00
               CB 11 (100e 81QB) Motherboard                                                            $1,455.02   0.02%    20.00
               CB 11 (100e 81QB) Palmrest w/ Keyboard                                                     $480.01   0.01%    15.00
               CB 11 (100e 81QB) Palmrest w/ Keyboard and Trackpad                                         $78.48   0.00%     3.00
               CB 11 (100e 81QB) Speaker Set                                                                $2.46   0.00%     1.00
               CB 11 (100e 81QB) Trackpad                                                                  $32.88   0.00%    17.00
               CB 11 (100e 81QB) Trackpad Flex                                                              $0.50   0.00%     2.00
               CB 11 (100e 82CD) AST Battery                                                               $44.13   0.00%     1.00
               CB 11 (100e 82CD) AST Camera                                                                 $0.00   0.00%     1.00
               CB 11 (100e 82CD) AST Daughterboard Flex Set                                                $43.18   0.00%    10.00
               CB 11 (100e 82CD) AST Hinge Set*                                                             $8.82   0.00%     1.00
               CB 11 (100e 82CD) AST Housing [LCD Bezel]                                                    $0.00   0.00%     1.00
               CB 11 (100e 82CD) AST Housing [LCD Rear Cover]                                              $29.62   0.00%     3.00
               CB 11 (100e 82CD) AST LCD Cable                                                             $18.02   0.00%     9.00
               CB 11 (100e 82CD) AST Motherboard                                                        $2,536.41   0.03%    24.00
               CB 11 (100e 82CD) AST Palmrest w/ Keyboard                                                   $6.26   0.00%     3.00
               CB 11 (100e 82CD) AST Palmrest w/ Keyboard and Trackpad                                     $57.73   0.00%     2.00
               CB 11 (100e 82CD) AST Trackpad                                                               $9.77   0.00%     4.00
               CB 11 (100e 82CD) AST Wi-Fi Card                                                             $7.81   0.00%     1.00
               CB 11 (300e 81H0) Battery                                                                  $311.80   0.00%    13.00
               CB 11 (300e 81H0) Camera                                                                    $91.30   0.00%     7.00
               CB 11 (300e 81H0) Daughterboard                                                            $104.68   0.00%     6.00
               CB 11 (300e 81H0) Daughterboard Flex                                                       $177.27   0.00%    27.00
               CB 11 (300e 81H0) G Sensor Board                                                             $0.00   0.00%     2.00
               CB 11 (300e 81H0) Hinge Cover Rubber                                                         $2.24   0.00%     1.00
               CB 11 (300e 81H0) Hinge Set*                                                               $221.46   0.00%    12.00
               CB 11 (300e 81H0) Hinge [Left]                                                               $0.00   0.00%     1.00
               CB 11 (300e 81H0) Hinge [Right]                                                              $0.02   0.00%     8.00
               CB 11 (300e 81H0) Housing [Base]                                                            $47.87   0.00%     5.00
               CB 11 (300e 81H0) Housing [Hinge Cover]                                                     $11.93   0.00%     1.00
               CB 11 (300e 81H0) Housing [LCD Rear Cover]                                                 $268.03   0.00%    21.00
               CB 11 (300e 81H0) LCD Cable                                                                 $57.77   0.00%     8.00
               CB 11 (300e 81H0) LCD w/ Digitizer                                                       $8,140.22   0.09%   149.00
               CB 11 (300e 81H0) Motherboard [4GB][32GB] Non-Touch                                        $379.85   0.00%     2.00




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               CB 11 (300e 81H0) Motherboard [4GB][32GB] Touch                                                      $1,337.21   0.02%    30.00
               CB 11 (300e 81H0) Palmrest w/ Keyboard                                                               $1,030.33   0.01%    59.00
               CB 11 (300e 81H0) Palmrest w/ Keyboard and Trackpad*                                                   $839.54   0.01%    24.00
               CB 11 (300e 81H0) Screw Set                                                                             $26.97   0.00%     3.00
               CB 11 (300e 81H0) Speaker Set                                                                          $161.97   0.00%    17.00
               CB 11 (300e 81H0) Spine Cover                                                                            $1.25   0.00%     1.00
               CB 11 (300e 81H0) Trackpad                                                                              $14.81   0.00%     4.00
               CB 11 (300e 81H0) Trackpad Flex                                                                          $1.43   0.00%     1.00
               CB 11 (300e 81MB) Battery                                                                                $7.81   0.00%     3.00
               CB 11 (300e 81MB) Camera                                                                                $11.98   0.00%     3.00
               CB 11 (300e 81MB) Camera Cable [Palmrest]                                                                $0.23   0.00%     1.00
               CB 11 (300e 81MB) Camera [WFC]                                                                         $131.61   0.00%     6.00
               CB 11 (300e 81MB) Daughterboard w/ Flex Set                                                              $0.00   0.00%     3.00
               CB 11 (300e 81MB) Hinge [Left]                                                                           $0.00   0.00%     1.00
               CB 11 (300e 81MB) Hinge [Right]                                                                          $0.00   0.00%     1.00
               CB 11 (300e 81MB) Housing [Base]                                                                         $0.83   0.00%     1.00
               CB 11 (300e 81MB) LCD Cable (Touch)                                                                      $7.08   0.00%     1.00
               CB 11 (300e 81MB) LCD w/ Digitizer                                                                     $302.25   0.00%     4.00
               CB 11 (300e 81MB) Motherboard                                                                        $1,679.11   0.02%    11.00
               CB 11 (300e 81MB) Palmrest w/ Keyboard                                                                 $898.47   0.01%    18.00
               CB 11 (300e 81MB) Palmrest w/ Keyboard (w/ Cutout)                                                      $48.94   0.00%     3.00
               CB 11 (300e 81MB) Spine Cover                                                                            $0.89   0.00%     1.00
               CB 11 (300e 81MB) Spine Cover Rubber                                                                     $0.00   0.00%     1.00
               CB 11 (300e 81MB) Trackpad                                                                              $17.04   0.00%     8.00
               CB 11 (300e 81MB) Trackpad Flex                                                                          $4.76   0.00%     4.00
               CB 11 (300e 81MB) Wi-Fi Card                                                                             $0.00   0.00%     2.00
               CB 11 (300e 81QC) Battery                                                                            $1,671.52   0.02%    62.00
               CB 11 (300e 81QC) Camera                                                                                 $7.27   0.00%     8.00
               CB 11 (300e 81QC) Daughterboard                                                                        $102.49   0.00%    12.00
               CB 11 (300e 81QC) Daughterboard Flex                                                                     $0.00   0.00%     5.00
               CB 11 (300e 81QC) Hinge Set*                                                                           $987.27   0.01%    46.00
               CB 11 (300e 81QC) Hinge [Left]                                                                          $74.30   0.00%    32.00
               CB 11 (300e 81QC) Hinge [Right]                                                                        $755.75   0.01%    88.00
               CB 11 (300e 81QC) Housing [Base]                                                                       $326.72   0.00%    25.00
               CB 11 (300e 81QC) Housing [Hinge Cover]                                                                 $32.97   0.00%     6.00
               CB 11 (300e 81QC) Housing [LCD Rear Cover]                                                              $84.51   0.00%    16.00
               CB 11 (300e 81QC) LCD Cable                                                                             $26.84   0.00%     8.00
               CB 11 (300e 81QC) LCD w/ Camera Cable                                                                   $36.36   0.00%     4.00
               CB 11 (300e 81QC) LCD w/ Digitizer                                                                     $237.78   0.00%    12.00
               CB 11 (300e 81QC) Motherboard [4GB] [32GB]                                                           $2,717.55   0.03%    33.00
               CB 11 (300e 81QC) Palmrest w/ Keyboard                                                                 $407.69   0.00%    25.00
               CB 11 (300e 81QC) Palmrest w/ Keyboard and Trackpad                                                    $111.28   0.00%     4.00
               CB 11 (300e 81QC) Speaker Set                                                                            $9.74   0.00%     2.00
               CB 11 (300e 81QC) Spine Cover                                                                            $8.68   0.00%     3.00
               CB 11 (300e 81QC) Trackpad                                                                              $83.63   0.00%    20.00
               CB 11 (300e 82CE) Daughterboard                                                                         $20.27   0.00%     1.00
               CB 11 (300e 82CE) Hinge Set*                                                                           $228.96   0.00%    13.00
               CB 11 (300e 82CE) Housing [Hinge Cover]                                                                  $6.00   0.00%     2.00
               CB 11 (300e 82CE) Housing [LCD Rear Cover]                                                             $140.19   0.00%     9.00
               CB 11 (300e 82CE) LCD Cable                                                                             $12.00   0.00%     2.00
               CB 11 (300e 82CE) Motherboard [4GB] [32GB]                                                           $1,852.34   0.02%    15.00
               CB 11 (300e 82CE) Palmrest w/ Keyboard                                                                  $47.08   0.00%     4.00
               CB 11 (300e 82CE) Trackpad                                                                               $0.00   0.00%     1.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) AC Adapter                                                          $162.78   0.00%     7.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Battery                                                             $279.70   0.00%    15.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Battery (Non-DB)                                                    $133.37   0.00%     4.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Battery Cable                                                         $0.00   0.00%     2.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Camera Cable (WFC)                                                   $28.36   0.00%     4.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Camera [Front]                                                      $101.27   0.00%    27.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Hinge Set*                                                            $7.99   0.00%     1.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Hinge [Left]                                                          $5.43   0.00%     6.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Hinge [Right]                                                         $5.20   0.00%     6.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [Base]                                                       $17.12   0.00%     6.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [LCD Bezel]                                                 $456.13   0.01%    30.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [LCD Rear Cover]                                             $48.58   0.00%     9.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Keyboard                                                            $351.28   0.00%   155.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) LCD Cable                                                            $26.51   0.00%    16.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB] [32GB] w/ DB Connector - 0W1C7C                 $1,731.29   0.02%    11.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB][16GB] (Non-Touch) - 0GD6HC                      $2,493.78   0.03%    45.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB][16GB] (Non-Touch) w/ DB Connector - 01Y3PF      $2,765.24   0.03%    41.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest                                                            $191.69   0.00%    26.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest (w/ Cutout)                                                 $37.39   0.00%     9.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest w/ Keyboard                                              $1,650.69   0.02%    62.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest w/ Keyboard (w/ Cutout)                                    $120.39   0.00%     5.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest w/ Keyboard and Trackpad*                                  $314.50   0.00%     8.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Speaker Set                                                           $0.00   0.00%     2.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Trackpad                                                              $2.01   0.00%    32.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Trackpad Flex                                                         $0.06   0.00%     1.00
               CB 11 (3100 P29T Touch)(30J93) Battery                                                                   $2.34   0.00%     4.00
               CB 11 (3100 P29T Touch)(30J93) Daughterboard                                                             $0.00   0.00%     1.00
               CB 11 (3100 P29T Touch)(30J93) Daughterboard Flex [30 Pin]                                               $0.00   0.00%     4.00
               CB 11 (3100 P29T Touch)(30J93) Housing [Base]                                                            $0.00   0.00%     4.00
               CB 11 (3100 P29T Touch)(30J93) Housing [LCD Bezel]                                                       $0.00   0.00%    13.00
               CB 11 (3100 P29T Touch)(30J93) Housing [LCD Rear Cover]                                                  $0.00   0.00%     9.00
               CB 11 (3100 P29T Touch)(30J93) LCD Cable                                                                 $1.68   0.00%     4.00
               CB 11 (3100 P29T Touch)(30J93) LCD Panel                                                             $1,759.21   0.02%    29.00
               CB 11 (3100 P29T Touch)(30J93) Motherboard [4GB] [32GB] w/ DB Connector - 0W1C7C                     $2,421.70   0.03%    24.00
               CB 11 (3100 P29T Touch)(30J93) Palmrest                                                                  $0.00   0.00%    18.00
               CB 11 (3100 P29T Touch)(30J93) Palmrest w/ Keyboard                                                    $232.83   0.00%    13.00
               CB 11 (3100 P29T Touch)(30J93) Palmrest w/ Keyboard and Trackpad*                                       $53.09   0.00%     1.00
               CB 11 (3100 P29T Touch)(30J93) Trackpad                                                                  $0.00   0.00%     4.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) AC Adapter                                                              $98.82   0.00%     6.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Battery                                                                  $0.00   0.00%    12.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Battery Cable                                                            $0.00   0.00%     4.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Camera [Front]                                                          $53.08   0.00%    14.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Daughterboard                                                            $0.00   0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Daughterboard Flex Set                                                   $0.00   0.00%     5.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Daughterboard Flex [30 Pin]                                              $0.00   0.00%     7.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Daughterboard Flex [40 Pin]                                              $0.00   0.00%     6.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) G Sensor Board                                                           $0.00   0.00%     9.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) G Sensor Cable                                                           $0.00   0.00%     9.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Hinge Set*                                                             $461.83   0.01%    18.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Hinge [Left]                                                             $0.00   0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Hinge [Right]                                                            $0.00   0.00%     3.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Housing [Base]                                                          $10.79   0.00%     7.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Housing [LCD Rear Cover]                                                $59.68   0.00%     6.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Keyboard                                                                $11.74   0.00%     3.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) LCD Cable                                                               $18.32   0.00%    14.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) LCD w/ Digitizer                                                     $1,560.77   0.02%    18.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) LCD w/ Digitizer (w/ EMR)                                              $221.05   0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Motherboard [4GB][32GB] - 0R2K1H                                     $3,800.96   0.04%    35.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Motherboard [4GB][32GB] w/ WFC Connector - 0FNMF1                      $278.65   0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Motherboard [8GB][32GB] w/ WFC Connector                               $939.71   0.01%     7.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest                                                                $83.30   0.00%     6.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Keyboard                                                 $1,615.43   0.02%    57.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Keyboard (w/ WFC)                                            $8.82   0.00%     5.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Trackpad                                                    $60.49   0.00%     3.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Speaker Set                                                              $0.00   0.00%     4.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Trackpad                                                                 $6.32   0.00%     9.00




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               CB 11 (3100 P30T 2-in-1)(NRCK2) Trackpad Flex                                              $2.07   0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Wi-Fi Antenna Cable                                        $0.00   0.00%     3.00
               CB 11 (3120) Battery                                                                     $110.97   0.00%     7.00
               CB 11 (3120) Camera                                                                       $32.00   0.00%     4.00
               CB 11 (3120) Daughterboard                                                                 $1.61   0.00%     2.00
               CB 11 (3120) DC Jack                                                                       $7.65   0.00%    10.00
               CB 11 (3120) Hinge Set*                                                                    $0.00   0.00%    17.00
               CB 11 (3120) Housing [Base]                                                               $51.68   0.00%     4.00
               CB 11 (3120) Housing [Hinge Cover]                                                        $42.97   0.00%     3.00
               CB 11 (3120) Housing [LCD Bezel]                                                         $439.36   0.01%    32.00
               CB 11 (3120) Housing [LCD Bezel] (Touch)                                                   $0.00   0.00%     2.00
               CB 11 (3120) Housing [LCD Rear Cover]                                                    $545.23   0.01%    26.00
               CB 11 (3120) LCD Cable                                                                     $1.38   0.00%     3.00
               CB 11 (3120) LCD Panel                                                                   $133.00   0.00%     2.00
               CB 11 (3120) Motherboard [2GB][32GB]                                                     $130.25   0.00%     1.00
               CB 11 (3120) Motherboard [4GB] [32GB]                                                  $1,120.67   0.01%    24.00
               CB 11 (3120) Palmrest w/ Keyboard                                                        $718.99   0.01%    16.00
               CB 11 (3120) Palmrest w/ Keyboard and Trackpad*                                          $161.94   0.00%     7.00
               CB 11 (3120) Speaker Set                                                                  $23.82   0.00%     2.00
               CB 11 (3120) Trackpad                                                                     $11.04   0.00%    12.00
               CB 11 (3120) Wi-Fi Card                                                                   $61.05   0.00%     8.00
               CB 11 (3180) Audio Board                                                                 $315.31   0.00%    28.00
               CB 11 (3180) Battery                                                                     $201.00   0.00%     3.00
               CB 11 (3180) Camera                                                                        $5.79   0.00%     7.00
               CB 11 (3180) Daughterboard (USB)                                                         $100.00   0.00%     4.00
               CB 11 (3180) DC Jack                                                                      $53.14   0.00%    10.00
               CB 11 (3180) Hinge Set*                                                                   $41.97   0.00%     3.00
               CB 11 (3180) Hinge [Left]                                                                $216.89   0.00%   262.00
               CB 11 (3180) Housing [Base]                                                              $290.84   0.00%    22.00
               CB 11 (3180) Housing [Hinge Cover]                                                       $293.35   0.00%    41.00
               CB 11 (3180) Housing [Hinge Cover] Set*                                                    $3.10   0.00%     1.00
               CB 11 (3180) Housing [LCD Bezel]                                                         $321.91   0.00%    33.00
               CB 11 (3180) Housing [LCD Rear Cover]                                                    $516.37   0.01%    25.00
               CB 11 (3180) Keyboard                                                                     $76.56   0.00%    32.00
               CB 11 (3180) LCD Cable                                                                    $23.26   0.00%    17.00
               CB 11 (3180) Motherboard [4GB] [32GB]                                                  $2,938.77   0.03%    42.00
               CB 11 (3180) Palmrest                                                                    $294.91   0.00%    28.00
               CB 11 (3180) Palmrest w/ Keyboard                                                        $335.00   0.00%    20.00
               CB 11 (3180) Palmrest w/ Keyboard and Trackpad                                           $999.45   0.01%    26.00
               CB 11 (3180) Palmrest w/ Trackpad                                                         $35.97   0.00%     2.00
               CB 11 (3180) Speaker Set                                                                  $10.17   0.00%     4.00
               CB 11 (3180) Trackpad                                                                    $634.42   0.01%   301.00
               CB 11 (3180) Trackpad Flex                                                                 $2.13   0.00%     2.00
               CB 11 (3189) Antenna Cable                                                                $18.00   0.00%     6.00
               CB 11 (3189) Battery                                                                     $599.01   0.01%    24.00
               CB 11 (3189) Battery Cable                                                                $12.04   0.00%     6.00
               CB 11 (3189) Board Set (Power w/ Audio)                                                  $758.53   0.01%     7.00
               CB 11 (3189) Camera [Front]                                                              $164.47   0.00%    17.00
               CB 11 (3189) DC Jack                                                                      $18.00   0.00%     6.00
               CB 11 (3189) Digitizer Board                                                               $0.00   0.00%     4.00
               CB 11 (3189) G Sensor Board                                                                $2.25   0.00%     3.00
               CB 11 (3189) Hinge Set*                                                                   $72.02   0.00%     5.00
               CB 11 (3189) Hinge [Left]                                                                $111.15   0.00%    15.00
               CB 11 (3189) Hinge [Right]                                                                $94.25   0.00%    13.00
               CB 11 (3189) Housing [Base]                                                              $102.19   0.00%     7.00
               CB 11 (3189) Housing [LCD Rear Cover]                                                     $74.03   0.00%     5.00
               CB 11 (3189) Keyboard                                                                     $68.76   0.00%    12.00
               CB 11 (3189) LCD Assembly                                                              $1,209.80   0.01%    27.00
               CB 11 (3189) LCD Cable                                                                    $77.20   0.00%    14.00
               CB 11 (3189) LCD w/ Digitizer                                                            $902.70   0.01%    19.00
               CB 11 (3189) Motherboard [4GB] [16GB]                                                     $40.47   0.00%     1.00
               CB 11 (3189) Motherboard [4GB] [32GB]                                                    $770.17   0.01%    15.00
               CB 11 (3189) Palmrest                                                                     $70.96   0.00%     4.00
               CB 11 (3189) Palmrest w/ Keyboard                                                        $142.53   0.00%     6.00
               CB 11 (3189) Speaker Set                                                                 $561.08   0.01%    54.00
               CB 11 (3189) Trackpad                                                                     $62.75   0.00%     8.00
               CB 11 (3189) Trackpad Flex                                                                 $8.97   0.00%     3.00
               CB 11 (3189) Wi-Fi Antenna (L w/ R)                                                       $17.25   0.00%    15.00
               CB 11 (3189) Wi-Fi Card                                                                    $0.00   0.00%     3.00
               CB 11 (500e 81ES) Battery                                                                 $83.88   0.00%     4.00
               CB 11 (500e 81ES) Camera Cable [Palmrest]                                                  $2.76   0.00%     4.00
               CB 11 (500e 81ES) Camera [Front]                                                         $123.43   0.00%    13.00
               CB 11 (500e 81ES) Camera [Palmrest]                                                       $37.37   0.00%     2.00
               CB 11 (500e 81ES) Daughterboard                                                          $421.37   0.00%    25.00
               CB 11 (500e 81ES) Daughterboard Flex Set                                                  $10.07   0.00%     1.00
               CB 11 (500e 81ES) G Sensor Board                                                          $15.12   0.00%     2.00
               CB 11 (500e 81ES) Hinge Set*                                                               $9.40   0.00%     1.00
               CB 11 (500e 81ES) Hinge [Left]                                                             $0.00   0.00%     3.00
               CB 11 (500e 81ES) Hinge [Right]                                                            $0.36   0.00%     9.00
               CB 11 (500e 81ES) Housing [Base]                                                          $42.13   0.00%     4.00
               CB 11 (500e 81ES) Housing [Hinge Cover]                                                   $14.42   0.00%     4.00
               CB 11 (500e 81ES) Housing [LCD Rear Cover]                                               $398.19   0.00%    26.00
               CB 11 (500e 81ES) LCD Cable                                                               $41.51   0.00%     7.00
               CB 11 (500e 81ES) LCD w/ Digitizer                                                     $2,800.78   0.03%    39.00
               CB 11 (500e 81ES) LCD w/ Digitizer (EMR)                                               $1,413.08   0.02%     8.00
               CB 11 (500e 81ES) Motherboard [4GB] [32GB]                                             $6,281.67   0.07%    34.00
               CB 11 (500e 81ES) Motherboard [8GB] [64GB]                                                 $0.00   0.00%     1.00
               CB 11 (500e 81ES) Palmrest w/ Keyboard                                                   $288.40   0.00%     9.00
               CB 11 (500e 81ES) Palmrest w/ Keyboard and Trackpad*                                     $136.55   0.00%     4.00
               CB 11 (500e 81ES) Speaker Set                                                             $62.30   0.00%     7.00
               CB 11 (500e 81ES) Spine Cover                                                              $7.45   0.00%     2.00
               CB 11 (500e 81ES) Stylus                                                                   $0.00   0.00%     2.00
               CB 11 (500e 81ES) Trackpad                                                                $70.67   0.00%    18.00
               CB 11 (500e 81ES) Trackpad Flex                                                            $7.24   0.00%     4.00
               CB 11 (500e 81ES) Wi-Fi Card                                                           $2,793.84   0.03%   125.00
               CB 11 (500e 81MC) Battery                                                                $347.39   0.00%    16.00
               CB 11 (500e 81MC) Camera [Front]                                                         $219.28   0.00%    19.00
               CB 11 (500e 81MC) Daughterboard (USB)                                                    $346.08   0.00%    40.00
               CB 11 (500e 81MC) G Sensor Board                                                          $20.00   0.00%    10.00
               CB 11 (500e 81MC) Hinge Set*                                                             $983.70   0.01%    53.00
               CB 11 (500e 81MC) Hinge [Left]                                                             $9.48   0.00%     4.00
               CB 11 (500e 81MC) Hinge [Right]                                                           $33.46   0.00%    14.00
               CB 11 (500e 81MC) Housing [Base]                                                         $156.31   0.00%     7.00
               CB 11 (500e 81MC) Housing [Hinge Cover]                                                  $138.90   0.00%    12.00
               CB 11 (500e 81MC) Housing [LCD Rear Cover]                                                $97.99   0.00%     9.00
               CB 11 (500e 81MC) LCD Cable                                                               $37.46   0.00%     6.00
               CB 11 (500e 81MC) LCD w/ Digitizer (Touch)                                            $13,556.70   0.16%   108.00
               CB 11 (500e 81MC) Motherboard [4GB][32GB]                                                $912.13   0.01%     7.00
               CB 11 (500e 81MC) Palmrest w/ Keyboard                                                   $184.10   0.00%    10.00
               CB 11 (500e 81MC) Pen Sensor Board                                                         $0.00   0.00%     1.00
               CB 11 (500e 81MC) Pen Sensor Board Flex                                                    $1.38   0.00%     2.00
               CB 11 (500e 81MC) Speaker Set                                                             $17.09   0.00%     3.00
               CB 11 (500e 81MC) Trackpad                                                                 $8.25   0.00%     4.00
               CB 11 (500e 81MC) Trackpad Flex                                                           $86.76   0.00%    37.00
               CB 11 (500e 81MC) Wi-Fi Cable                                                              $0.00   0.00%     5.00
               CB 11 (500e 81MC) Wi-Fi Card                                                               $5.29   0.00%     3.00
               CB 11 (5190) Hinge [Right]                                                                 $2.30   0.00%     2.00
               CB 11 (5190) Motherboard (2-in-1)                                                        $103.40   0.00%     1.00
               CB 11 (5190) Palmrest w/ Keyboard                                                          $1.00   0.00%     1.00




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               CB 11 (C202SA) Battery                                                             $226.59   0.00%     7.00
               CB 11 (C202SA) Camera                                                               $53.98   0.00%    21.00
               CB 11 (C202SA) Daughterboard                                                       $389.63   0.00%    28.00
               CB 11 (C202SA) Hinge Set*                                                           $18.39   0.00%     3.00
               CB 11 (C202SA) Housing [Base] - Black                                               $17.52   0.00%     3.00
               CB 11 (C202SA) Housing [Base] - Blue                                                $74.35   0.00%     6.00
               CB 11 (C202SA) Housing [Hinge Cover] - Black                                        $27.04   0.00%     9.00
               CB 11 (C202SA) Housing [Hinge Cover] - Blue                                         $47.06   0.00%    21.00
               CB 11 (C202SA) Housing [LCD Bezel] - Blue                                          $241.05   0.00%    15.00
               CB 11 (C202SA) Housing [LCD Rear Cover] - Black                                     $16.62   0.00%     2.00
               CB 11 (C202SA) Housing [LCD Rear Cover] - Blue                                     $133.42   0.00%     7.00
               CB 11 (C202SA) LCD Cable                                                            $51.34   0.00%     5.00
               CB 11 (C202SA) LCD Panel                                                           $285.64   0.00%    11.00
               CB 11 (C202SA) Motherboard [4GB] [32GB]                                          $2,984.20   0.03%    36.00
               CB 11 (C202SA) Palmrest w/ Keyboard - Black                                        $134.83   0.00%     9.00
               CB 11 (C202SA) Palmrest w/ Keyboard - Blue                                         $918.51   0.01%    26.00
               CB 11 (C202SA) Screw Set                                                             $3.67   0.00%     2.00
               CB 11 (C202SA) Trackpad                                                             $39.99   0.00%     2.00
               CB 11 (C202SA) Trackpad - Blue                                                       $9.08   0.00%     1.00
               CB 11 (C202SA) Trackpad Flex                                                        $12.50   0.00%     5.00
               CB 11 (C202XA) Camera                                                                $0.00   0.00%     1.00
               CB 11 (C202XA) IO Board                                                             $20.84   0.00%     5.00
               CB 11 (C202XA) Motherboard [4GB]                                                   $225.00   0.00%     5.00
               CB 11 (C202XA) Palmrest w/ Keyboard                                                  $0.00   0.00%    11.00
               CB 11 (C202XA) Trackpad                                                              $0.00   0.00%     4.00
               CB 11 (C202XA) Trackpad Flex                                                         $8.00   0.00%     4.00
               CB 11 (C203XA) Battery                                                               $9.84   0.00%     4.00
               CB 11 (C203XA) Daughterboard                                                         $3.96   0.00%     3.00
               CB 11 (C203XA) Daughterboard Flex                                                    $0.56   0.00%     1.00
               CB 11 (C203XA) Hinge Cover                                                           $3.45   0.00%     3.00
               CB 11 (C203XA) Hinge Set                                                             $2.52   0.00%     2.00
               CB 11 (C203XA) Housing [Base]                                                        $5.24   0.00%     2.00
               CB 11 (C203XA) LCD Cable                                                             $3.45   0.00%     3.00
               CB 11 (C203XA) Motherboard [MT8173C][4GB][32GB]                                  $1,131.79   0.01%     9.00
               CB 11 (C203XA) Palmrest w/ Keyboard                                                 $94.20   0.00%     5.00
               CB 11 (C203XA) Trackpad                                                              $7.44   0.00%     2.00
               CB 11 (C204) Housing [Rear Cover]                                                   $11.28   0.00%     1.00
               CB 11 (C204) Motherboard                                                           $200.92   0.00%     2.00
               CB 11 (C204) Palmrest w/ Keyboard                                                   $42.54   0.00%     1.00
               CB 11 (C204EE) Battery                                                             $402.60   0.00%    14.00
               CB 11 (C204EE) Camera                                                                $0.20   0.00%     3.00
               CB 11 (C204EE) Daughterboard                                                        $20.79   0.00%     2.00
               CB 11 (C204EE) Daughterboard Flex                                                    $0.04   0.00%     1.00
               CB 11 (C204EE) Hinge Set*                                                            $3.15   0.00%    16.00
               CB 11 (C204EE) Hinge [Left]                                                          $0.98   0.00%     1.00
               CB 11 (C204EE) Hinge [Right]                                                         $0.99   0.00%     1.00
               CB 11 (C204EE) Housing [Base]                                                       $37.80   0.00%     3.00
               CB 11 (C204EE) Housing [LCD Bezel]                                                   $3.24   0.00%    12.00
               CB 11 (C204EE) Housing [LCD Rear Cover]                                            $249.42   0.00%    23.00
               CB 11 (C204EE) LCD Cable                                                             $9.50   0.00%     4.00
               CB 11 (C204EE) Motherboard                                                       $1,067.59   0.01%    14.00
               CB 11 (C204EE) Palmrest w/ Keyboard                                                 $80.32   0.00%     9.00
               CB 11 (C204EE) Trackpad                                                             $39.60   0.00%    15.00
               CB 11 (C204EE) Trackpad Flex                                                         $0.08   0.00%     2.00
               CB 11 (C204MA) Palmrest w/ Keyboard                                                  $0.00   0.00%     5.00
               CB 11 (C214MA) G Sensor Flex                                                         $0.00   0.00%     7.00
               CB 11 (C214MA) LCD w/ Digitizer                                                     $47.28   0.00%     1.00
               CB 11 (C214MA) Motherboard                                                         $548.39   0.01%     4.00
               CB 11 (C214MA) Palmrest w/ Keyboard                                                 $14.24   0.00%     3.00
               CB 11 (C721) AC Adapter                                                            $825.32   0.01%    47.00
               CB 11 (C721) Battery                                                               $158.40   0.00%     6.00
               CB 11 (C721) Camera [Front]                                                        $539.87   0.01%    97.00
               CB 11 (C721) Daughterboard                                                          $24.74   0.00%    10.00
               CB 11 (C721) Daughterboard Flex Set                                                  $0.42   0.00%     6.00
               CB 11 (C721) Hinge Set*                                                             $45.28   0.00%    15.00
               CB 11 (C721) Hinge [Left]                                                           $25.41   0.00%    91.00
               CB 11 (C721) Hinge [Right]                                                           $4.62   0.00%    84.00
               CB 11 (C721) Housing [Base]                                                         $45.23   0.00%     5.00
               CB 11 (C721) Housing [LCD Bezel]                                                     $8.21   0.00%    11.00
               CB 11 (C721) Housing [LCD Rear Cover]                                               $26.83   0.00%    14.00
               CB 11 (C721) Keyboard                                                              $475.74   0.01%   244.00
               CB 11 (C721) LCD Cable                                                              $23.07   0.00%    10.00
               CB 11 (C721) Microphone                                                             $18.12   0.00%    11.00
               CB 11 (C721) Motherboard [A4][4GB][32GB]                                           $165.09   0.00%     5.00
               CB 11 (C721) Motherboard [A6][4GB][32GB]                                         $4,881.06   0.06%    33.00
               CB 11 (C721) Palmrest                                                              $443.70   0.01%   143.00
               CB 11 (C721) Speaker Set                                                             $7.87   0.00%     4.00
               CB 11 (C721) Trackpad                                                               $66.46   0.00%    16.00
               CB 11 (C721) Trackpad Flex                                                           $0.08   0.00%     2.00
               CB 11 (C721) Wi-Fi Antenna                                                           $0.00   0.00%     4.00
               CB 11 (C721) Wi-Fi Card                                                              $5.41   0.00%     2.00
               CB 11 (C722) Battery                                                                 $0.00   0.00%     1.00
               CB 11 (C722) Camera [Front]                                                         $15.60   0.00%     2.00
               CB 11 (C722) Hinge [Left]                                                            $1.73   0.00%     1.00
               CB 11 (C722) Hinge [Right]                                                           $1.73   0.00%     1.00
               CB 11 (C722) Housing [Base]                                                          $4.27   0.00%     1.00
               CB 11 (C722) Housing [LCD Bezel]                                                     $7.35   0.00%     3.00
               CB 11 (C722) Housing [LCD Rear Cover]                                                $9.94   0.00%     2.00
               CB 11 (C722) Keyboard                                                              $289.33   0.00%    25.00
               CB 11 (C722) LCD Cable [Non-Touch]                                                 $256.87   0.00%    30.00
               CB 11 (C722) Motherboard [4GB][32GB]                                             $3,761.61   0.04%    25.00
               CB 11 (C722) Trackpad                                                               $33.50   0.00%     5.00
               CB 11 (C722) USB Board                                                               $7.80   0.00%     2.00
               CB 11 (C722) Wi-Fi Antenna Set                                                       $1.39   0.00%     1.00
               CB 11 (C731) Battery                                                                $90.30   0.00%     4.00
               CB 11 (C731) Camera                                                                $891.08   0.01%    98.00
               CB 11 (C731) Daughterboard                                                         $544.12   0.01%    21.00
               CB 11 (C731) DC Jack                                                                $32.10   0.00%    12.00
               CB 11 (C731) Hinge [Left]                                                          $406.17   0.00%   196.00
               CB 11 (C731) Hinge [Right]                                                         $301.11   0.00%   157.00
               CB 11 (C731) Housing [Base]                                                        $130.51   0.00%    11.00
               CB 11 (C731) Housing [LCD Bezel]                                                   $620.39   0.01%    89.00
               CB 11 (C731) Housing [LCD Rear Cover]                                              $620.32   0.01%    65.00
               CB 11 (C731) LCD Cable                                                              $12.47   0.00%     3.00
               CB 11 (C731) Motherboard [4GB] [32GB]                                            $2,985.21   0.03%    30.00
               CB 11 (C731) Palmrest w/ Keyboard                                                  $519.22   0.01%    40.00
               CB 11 (C731) Speaker Set                                                           $145.59   0.00%    14.00
               CB 11 (C731) Trackpad                                                              $131.35   0.00%    34.00
               CB 11 (C731) Trackpad Flex                                                          $19.10   0.00%    20.00
               CB 11 (C731) Wi-Fi Antenna Cable                                                     $3.35   0.00%     5.00
               CB 11 (C731) Wi-Fi Card                                                             $38.91   0.00%     8.00
               CB 11 (C731T) Battery                                                              $180.02   0.00%     4.00
               CB 11 (C731T) Camera                                                               $175.79   0.00%    14.00
               CB 11 (C731T) DC Jack                                                                $8.52   0.00%     1.00
               CB 11 (C731T) Hinge Set*                                                         $1,156.41   0.01%   116.00
               CB 11 (C731T) Hinge [Left]                                                           $1.15   0.00%     1.00
               CB 11 (C731T) Housing [LCD Bezel]                                                  $349.68   0.00%    47.00
               CB 11 (C731T) LCD (Touch)                                                          $275.18   0.00%     4.00
               CB 11 (C731T) LCD Cable (Touch)                                                     $11.33   0.00%     2.00




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               CB 11 (C731T) Motherboard [4GB][16GB]                                                          $0.00   0.00%     2.00
               CB 11 (C731T) Motherboard [4GB][32GB]                                                        $204.47   0.00%     2.00
               CB 11 (C731T) Speaker Set                                                                    $107.90   0.00%    10.00
               CB 11 (C731T) Trackpad                                                                         $0.84   0.00%     2.00
               CB 11 (C731T) Wi-Fi Antenna Cable                                                              $6.70   0.00%     5.00
               CB 11 (C732) Palmrest w/ Keyboard                                                            $689.26   0.01%    52.00
               CB 11 (C732T) Palmrest w/ Keyboard                                                            $11.05   0.00%     1.00
               CB 11 (C733-C5AS) Camera                                                                      $10.77   0.00%     1.00
               CB 11 (C733-C5AS) Daughterboard                                                                $0.00   0.00%     3.00
               CB 11 (C733-C5AS) Daughterboard Flex Set                                                      $12.95   0.00%     4.00
               CB 11 (C733-C5AS) Daughterboard Power Cable                                                    $3.72   0.00%     1.00
               CB 11 (C733-C5AS) Hinge [Left]                                                                $21.52   0.00%     2.00
               CB 11 (C733-C5AS) Hinge [Right]                                                               $14.46   0.00%     4.00
               CB 11 (C733-C5AS) Housing [Base]                                                               $6.46   0.00%     2.00
               CB 11 (C733-C5AS) Housing [LCD Bezel]                                                         $14.59   0.00%     3.00
               CB 11 (C733-C5AS) Housing [LCD Rear Cover]                                                     $3.78   0.00%     4.00
               CB 11 (C733-C5AS) LCD Cable                                                                   $28.27   0.00%     8.00
               CB 11 (C733-C5AS) LCD Panel                                                                  $381.21   0.00%     6.00
               CB 11 (C733-C5AS) Motherboard [4GB] [32GB]                                                 $1,445.32   0.02%    20.00
               CB 11 (C733-C5AS) Palmrest w/ Keyboard                                                        $64.29   0.00%     6.00
               CB 11 (C733-C5AS) Trackpad                                                                    $22.43   0.00%     7.00
               CB 11 (C733-C5AS) Wi-Fi Card                                                                  $26.33   0.00%     3.00
               CB 11 (C771) Camera                                                                            $0.00   0.00%     5.00
               CB 11 (C771) Hinge [Left]                                                                     $26.00   0.00%    20.00
               CB 11 (C771) Hinge [Right]                                                                    $26.00   0.00%    20.00
               CB 11 (C771) Housing [LCD Bezel]                                                              $30.90   0.00%    15.00
               CB 11 (C771) Palmrest w/ Keyboard                                                            $620.54   0.01%    22.00
               CB 11 (C771) Wi-Fi Cable                                                                      $23.40   0.00%    18.00
               CB 11 (C771T) Battery                                                                          $0.00   0.00%     1.00
               CB 11 (C771T) Camera                                                                          $11.98   0.00%     2.00
               CB 11 (C771T) Microphone                                                                       $1.32   0.00%     8.00
               CB 11 (C771T) Palmrest w/ Keyboard                                                           $154.35   0.00%     7.00
               CB 11 (C771T) Trackpad                                                                         $0.00   0.00%     2.00
               CB 11 (C771T) Wi-Fi Card                                                                       $0.00   0.00%    48.00
               CB 11 (CB1C13) Battery                                                                         $0.00   0.00%     2.00
               CB 11 (CB1C13) Palmrest w/ Keyboard                                                           $25.98   0.00%     2.00
               CB 11 (CP311-3H) LCD Cable                                                                     $3.97   0.00%     1.00
               CB 11 (CP311-3H) LCD w/ Digitizer                                                            $763.32   0.01%     4.00
               CB 11 (CP311-3H) Motherboard [4GB][32GB]                                                     $177.69   0.00%     1.00
               CB 11 (CP311-3H) Palmrest w/ Keyboard                                                         $17.72   0.00%     1.00
               CB 11 (CP311-3H) Trackpad [w/ Bracket]                                                         $0.00   0.00%     2.00
               CB 11 (G4 EE) Palmrest w/ Keyboard                                                           $230.52   0.00%     3.00
               CB 11 (G4) Palmrest w/ Keyboard                                                               $86.36   0.00%     2.00
               CB 11 (G5) Battery                                                                           $278.79   0.00%     4.00
               CB 11 (G5) Camera                                                                            $103.56   0.00%     3.00
               CB 11 (G5) LCD Assembly (With Touch)                                                         $719.92   0.01%     8.00
               CB 11 (G5) LCD Cable                                                                         $105.84   0.00%     6.00
               CB 11 (G5) Palmrest w/ Keyboard                                                              $182.45   0.00%     5.00
               CB 11 (G6 EE Non-Touch) Battery                                                                $0.13   0.00%    18.00
               CB 11 (G6 EE Non-Touch) Camera                                                                $77.54   0.00%    30.00
               CB 11 (G6 EE Non-Touch) Camera Cable                                                           $0.00   0.00%     3.00
               CB 11 (G6 EE Non-Touch) Daughterboard                                                          $0.00   0.00%    20.00
               CB 11 (G6 EE Non-Touch) Daughterboard Flex Set                                                 $0.00   0.00%    45.00
               CB 11 (G6 EE Non-Touch) Hinge [Left]                                                           $0.00   0.00%    30.00
               CB 11 (G6 EE Non-Touch) Hinge [Right]                                                          $0.00   0.00%    13.00
               CB 11 (G6 EE Non-Touch) Housing [Base]                                                         $1.95   0.00%     5.00
               CB 11 (G6 EE Non-Touch) Housing [Hinge Cover]                                                 $27.98   0.00%     2.00
               CB 11 (G6 EE Non-Touch) Housing [LCD Bezel]                                                    $0.00   0.00%     8.00
               CB 11 (G6 EE Non-Touch) Housing [LCD Rear Cover]                                               $0.00   0.00%    45.00
               CB 11 (G6 EE Non-Touch) LCD Cable                                                              $0.00   0.00%    32.00
               CB 11 (G6 EE Non-Touch) Motherboard [N3350][4GB][16GB]                                         $0.00   0.00%     2.00
               CB 11 (G6 EE Non-Touch) Motherboard [N3350][4GB][32GB]                                     $1,833.40   0.02%    21.00
               CB 11 (G6 EE Non-Touch) Palmrest w/ Keyboard                                                   $1.88   0.00%    16.00
               CB 11 (G6 EE Non-Touch) Screw Set                                                              $0.00   0.00%    31.00
               CB 11 (G6 EE Non-Touch) Speaker Set                                                            $0.00   0.00%     6.00
               CB 11 (G6 EE Non-Touch) Trackpad                                                               $0.00   0.00%    50.00
               CB 11 (G6 EE Non-Touch) Trackpad Flex                                                          $0.00   0.00%    47.00
               CB 11 (G6 EE Non-Touch) Trackpad Support Bracket                                               $0.00   0.00%    34.00
               CB 11 (G6 EE Non-Touch) Wi-Fi Card                                                             $0.00   0.00%    52.00
               CB 11 (G6 EE Touch) LCD Panel                                                                $302.20   0.00%     4.00
               CB 11 (G6 EE Touch) Motherboard [N3350][4GB][32GB]                                           $327.78   0.00%     2.00
               CB 11 (G7 EE Non-Touch) Camera Cable                                                          $29.42   0.00%     4.00
               CB 11 (G7 EE Non-Touch) LCD Cable                                                             $47.86   0.00%     8.00
               CB 11 (G7 EE Non-Touch) Motherboard [N4000][4GB][16GB]                                       $259.98   0.00%     2.00
               CB 11 (G8 EE Non-Touch) Battery                                                              $348.36   0.00%    22.00
               CB 11 (G8 EE Non-Touch) Camera                                                               $121.90   0.00%    34.00
               CB 11 (G8 EE Non-Touch) Camera Cable                                                           $0.09   0.00%    27.00
               CB 11 (G8 EE Non-Touch) Daughterboard                                                          $0.00   0.00%    25.00
               CB 11 (G8 EE Non-Touch) Daughterboard Flex                                                   $310.50   0.00%    18.00
               CB 11 (G8 EE Non-Touch) Hinge Cover                                                          $896.65   0.01%    69.00
               CB 11 (G8 EE Non-Touch) Hinge Set*                                                           $126.41   0.00%    14.00
               CB 11 (G8 EE Non-Touch) Hinge [Left]                                                           $0.00   0.00%   110.00
               CB 11 (G8 EE Non-Touch) Hinge [Right]                                                          $0.00   0.00%   106.00
               CB 11 (G8 EE Non-Touch) Housing [Base]                                                         $1.38   0.00%     8.00
               CB 11 (G8 EE Non-Touch) Housing [LCD Bezel]                                                  $678.17   0.01%    37.00
               CB 11 (G8 EE Non-Touch) Housing [LCD Rear Cover]                                             $189.36   0.00%    54.00
               CB 11 (G8 EE Non-Touch) LCD Cable                                                             $83.88   0.00%    28.00
               CB 11 (G8 EE Non-Touch) Motherboard                                                        $1,322.99   0.02%    11.00
               CB 11 (G8 EE Non-Touch) Motherboard [N4020][4GB][32GB]                                       $121.48   0.00%     1.00
               CB 11 (G8 EE Non-Touch) Motherboard [N4120][4GB][32GB]                                       $558.90   0.01%     2.00
               CB 11 (G8 EE Non-Touch) Palmrest w/ Keyboard                                                 $256.69   0.00%   111.00
               CB 11 (G8 EE Non-Touch) Palmrest w/ Keyboard and Trackpad                                     $56.47   0.00%     2.00
               CB 11 (G8 EE Non-Touch) Speaker Set                                                            $0.00   0.00%     4.00
               CB 11 (G8 EE Non-Touch) Trackpad                                                              $22.19   0.00%    27.00
               CB 11 (G8 EE Non-Touch) Trackpad Flex                                                          $0.00   0.00%     2.00
               CB 11 (G8 EE Non-Touch) Wi-Fi Cable                                                            $0.07   0.00%     8.00
               CB 11 (G8 EE Non-Touch) Wi-Fi Card                                                             $0.00   0.00%     3.00
               CB 11 (G8 EE Touch) Motherboard                                                            $6,344.00   0.07%    26.00
               CB 11 (N23) Daughterboard                                                                     $62.65   0.00%     7.00
               CB 11 (N23) Hinge Set*                                                                         $0.00   0.00%     1.00
               CB 11 (N23) Hinge [Left]                                                                       $6.41   0.00%     2.00
               CB 11 (N23) Hinge [Right]                                                                      $8.30   0.00%     3.00
               CB 11 (N23) Housing [Base]                                                                    $16.03   0.00%     1.00
               CB 11 (N23) Housing [Camera]                                                                  $22.87   0.00%     1.00
               CB 11 (N23) Housing [LCD Rear Cover]                                                          $78.76   0.00%     6.00
               CB 11 (N23) LCD Cable (Touch)                                                                 $14.00   0.00%     2.00
               CB 11 (N23) LCD Panel (Touch)                                                                $312.50   0.00%     4.00
               CB 11 (N23) Motherboard                                                                      $231.83   0.00%     5.00
               CB 11 (N23) Palmrest w/ Keyboard                                                               $8.17   0.00%     2.00
               CB 11 (N23) Trackpad                                                                          $20.60   0.00%     5.00
               CB 11 (N23) Trackpad Cable                                                                     $5.89   0.00%     2.00
               CB 11 (NL7) Battery                                                                            $0.00   0.00%     5.00
               CB 11 (NL7) Palmrest w/ Keyboard                                                              $28.73   0.00%     1.00
               CB 11 (NL7L LTE) AC Adapter                                                                   $29.00   0.00%     1.00
               CB 11 (NL7L LTE) Battery                                                                      $37.00   0.00%     1.00
               CB 11 (NL7L LTE) Camera                                                                       $42.83   0.00%     3.00
               CB 11 (NL7L LTE) Daughterboard                                                                 $0.00   0.00%     4.00
               CB 11 (NL7L LTE) Housing [LCD Bezel]                                                          $24.00   0.00%     2.00
               CB 11 (NL7L LTE) Motherboard                                                               $1,538.71   0.02%    13.00




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               CB 11 (NL7L LTE) Palmrest w/ Keyboard                                                  $431.92   0.00%     8.00
               CB 11 (NL7L LTE) Palmrest w/ Keyboard and Trackpad                                      $92.23   0.00%     3.00
               CB 11 (NL7L LTE) Trackpad                                                               $50.00   0.00%    10.00
               CB 11 (R721T) Hinge Set*                                                               $109.60   0.00%     7.00
               CB 11 (R721T) Housing [Base]                                                            $12.36   0.00%     1.00
               CB 11 (R721T) Housing [LCD Rear Cover]                                                   $9.21   0.00%     3.00
               CB 11 (R721T) Keyboard                                                                 $133.56   0.00%    25.00
               CB 11 (R721T) LCD Cable                                                                  $0.00   0.00%     2.00
               CB 11 (R721T) LCD w/ Digitizer                                                         $457.63   0.01%     4.00
               CB 11 (R721T) Motherboard                                                              $691.35   0.01%     6.00
               CB 11 (R721T) Sensor Board                                                               $0.00   0.00%     3.00
               CB 11 (R721T) Sensor Board Flex                                                          $0.00   0.00%     3.00
               CB 11 (R721T) Trackpad                                                                   $0.00   0.00%     1.00
               CB 11 (R721T) Wi-Fi Antenna                                                              $0.00   0.00%     3.00
               CB 11 (R721T) Wi-Fi Card                                                                 $0.00   0.00%     1.00
               CB 11 (R751T) AC Adapter                                                                 $7.97   0.00%     1.00
               CB 11 (R751T) Battery                                                                  $269.75   0.00%     7.00
               CB 11 (R751T) Camera                                                                   $437.27   0.01%    73.00
               CB 11 (R751T) Camera Cable                                                               $0.98   0.00%     2.00
               CB 11 (R751T) Camera Flex [Palmrest]                                                    $10.26   0.00%     3.00
               CB 11 (R751T) Camera [Front]                                                         $4,369.33   0.05%   361.00
               CB 11 (R751T) Camera [Palmrest]                                                         $61.90   0.00%     8.00
               CB 11 (R751T) Daughterboard                                                             $95.22   0.00%    39.00
               CB 11 (R751T) Daughterboard (USB) Flex Set                                               $4.30   0.00%     6.00
               CB 11 (R751T) Hinge Set*                                                             $1,070.40   0.01%    60.00
               CB 11 (R751T) Hinge [Left]                                                             $221.57   0.00%    29.00
               CB 11 (R751T) Hinge [Right]                                                          $1,237.42   0.01%   162.00
               CB 11 (R751T) Housing [Base]                                                         $2,835.09   0.03%   134.00
               CB 11 (R751T) Housing [LCD Rear Cover]                                                 $102.21   0.00%    22.00
               CB 11 (R751T) LCD Cable                                                                $316.00   0.00%    23.00
               CB 11 (R751T) LCD w/ Digitizer                                                       $4,053.77   0.05%    60.00
               CB 11 (R751T) Microphone                                                             $1,319.98   0.02%   175.00
               CB 11 (R751T) Motherboard                                                            $3,335.11   0.04%    15.00
               CB 11 (R751T) Palmrest w/ Keyboard                                                   $1,239.23   0.01%    63.00
               CB 11 (R751T) Screw Set                                                                 $60.17   0.00%    19.00
               CB 11 (R751T) Sensor Board                                                              $52.42   0.00%    15.00
               CB 11 (R751T) Sensor Board Cable                                                        $15.24   0.00%    12.00
               CB 11 (R751T) Speaker Set                                                              $294.67   0.00%    69.00
               CB 11 (R751T) Trackpad                                                                  $85.33   0.00%    14.00
               CB 11 (R751T) Trackpad Flex                                                             $10.64   0.00%     7.00
               CB 11 (R751T) Wi-Fi Antenna                                                             $13.49   0.00%     1.00
               CB 11 (R751T) Wi-Fi Card                                                               $175.04   0.00%    30.00
               CB 11 (R751TN) G Sensor                                                                  $1.22   0.00%     1.00
               CB 11 (R751TN) Housing [Base]                                                           $10.48   0.00%     2.00
               CB 11 (R751TN) Housing [LCD Rear Cover]                                                 $17.23   0.00%     1.00
               CB 11 (R751TN) LCD w/ Digitizer                                                      $1,167.26   0.01%    22.00
               CB 11 (R751TN) Palmrest w/ Keyboard                                                     $51.44   0.00%     2.00
               CB 11 (R751TN) Wi-Fi Antenna                                                             $5.50   0.00%     2.00
               CB 11 (R752T) Battery                                                                  $267.60   0.00%    17.00
               CB 11 (R752T) Camera Cable                                                               $2.53   0.00%     5.00
               CB 11 (R752T) Camera [Front]                                                           $139.98   0.00%     9.00
               CB 11 (R752T) Camera [Palmrest]                                                         $21.00   0.00%     2.00
               CB 11 (R752T) Daughterboard                                                              $9.40   0.00%    33.00
               CB 11 (R752T) Daughterboard Flex Set                                                     $0.00   0.00%     4.00
               CB 11 (R752T) Daughterboard Flex [30 Pin]                                                $0.00   0.00%     5.00
               CB 11 (R752T) G Sensor Board                                                             $0.00   0.00%     2.00
               CB 11 (R752T) G Sensor Board Cable                                                       $1.60   0.00%     3.00
               CB 11 (R752T) Hinge - Left                                                               $1.68   0.00%    16.00
               CB 11 (R752T) Hinge - Right                                                             $66.36   0.00%    56.00
               CB 11 (R752T) Housing [Base]                                                            $82.70   0.00%    21.00
               CB 11 (R752T) Housing [LCD Rear Cover]                                                  $38.39   0.00%    18.00
               CB 11 (R752T) LCD Assembly                                                           $7,471.11   0.09%    98.00
               CB 11 (R752T) LCD Cable                                                                 $38.46   0.00%    12.00
               CB 11 (R752T) Microphone                                                                 $4.80   0.00%     4.00
               CB 11 (R752T) Motherboard                                                           $16,345.65   0.19%    87.00
               CB 11 (R752T) Motherboard [4GB][32GB][w/o WFC]                                         $373.90   0.00%     2.00
               CB 11 (R752T) Palmrest w/ Keyboard                                                   $1,738.35   0.02%   104.00
               CB 11 (R752T) Palmrest w/ Keyboard (w/ WFC)                                              $2.15   0.00%     6.00
               CB 11 (R752T) Speaker Set                                                               $18.95   0.00%     7.00
               CB 11 (R752T) Trackpad                                                                   $9.95   0.00%    24.00
               CB 11 (R752T) Trackpad Flex                                                              $0.16   0.00%     3.00
               CB 11 (R752T) Wi-Fi Antenna                                                              $0.10   0.00%     4.00
               CB 11 (R752T) Wi-Fi Card                                                                $66.40   0.00%     9.00
               CB 11 (R752T) Wi-Fi Repair Kit                                                          $53.96   0.00%     4.00
               CB 11 (R752TN) Battery                                                                   $0.00   0.00%     5.00
               CB 11 (R752TN) Camera                                                                    $0.00   0.00%     4.00
               CB 11 (R752TN) Daughterboard                                                             $0.00   0.00%     5.00
               CB 11 (R752TN) Hinge [Left]                                                              $0.00   0.00%     2.00
               CB 11 (R752TN) Hinge [Right]                                                            $76.32   0.00%     9.00
               CB 11 (R752TN) Housing [Base]                                                           $37.10   0.00%     3.00
               CB 11 (R752TN) Housing [LCD Rear Cover]                                                 $15.79   0.00%     2.00
               CB 11 (R752TN) LCD Cable                                                                $21.95   0.00%     5.00
               CB 11 (R752TN) LCD w/ Digitizer                                                      $3,194.11   0.04%    14.00
               CB 11 (R752TN) Microphone                                                                $0.00   0.00%     3.00
               CB 11 (R752TN) Motherboard [4GB][32GB]                                               $5,222.25   0.06%    25.00
               CB 11 (R752TN) Palmrest w/ Keyboard                                                      $7.10   0.00%     3.00
               CB 11 (R752TN) Trackpad w/ Bracket                                                      $30.32   0.00%     2.00
               CB 11 (R752TN) Wi-Fi Card                                                               $23.70   0.00%     3.00
               CB 11 (R851TN) Battery                                                                  $30.62   0.00%     2.00
               CB 11 (R851TN) Camera                                                                   $31.92   0.00%     1.00
               CB 11 (R851TN) Daughterboard                                                            $11.44   0.00%     2.00
               CB 11 (R851TN) Daughterboard Flex - Small                                                $0.07   0.00%     1.00
               CB 11 (R851TN) Hinge [Right]                                                            $16.52   0.00%     2.00
               CB 11 (R851TN) Housing [Base]                                                           $17.49   0.00%     3.00
               CB 11 (R851TN) Housing [LCD Rear Cover]                                                  $3.49   0.00%     1.00
               CB 11 (R851TN) LCD Cable                                                                 $6.26   0.00%     2.00
               CB 11 (R851TN) LCD Cable (Touch)                                                        $13.96   0.00%     4.00
               CB 11 (R851TN) LCD w/ Digitizer                                                      $4,014.09   0.05%    27.00
               CB 11 (R851TN) Motherboard [4GB][32GB]                                                 $337.97   0.00%     4.00
               CB 11 (R851TN) Palmrest w/ Keyboard                                                     $34.38   0.00%     3.00
               CB 11 (R851TN) Trackpad                                                                  $8.14   0.00%     3.00
               CB 11 (R851TN) Wi-Fi Card                                                               $16.78   0.00%     4.00
               CB 11 (RC738T) Digitizer Board                                                           $0.00   0.00%     6.00
               CB 11 (RC738T) Microphone                                                                $4.20   0.00%     1.00
               CB 11 (RC738T) Speaker Set                                                               $2.31   0.00%     1.00
               CB 11 (XE500C13-K04US) Motherboard [4GB][32GB]                                         $352.89   0.00%     4.00
               CB 11 4 (XE310XBA-K01US) AC Adapter                                                     $54.23   0.00%     1.00
               CB 11 4 (XE310XBA-K01US) Battery                                                       $308.52   0.00%     4.00
               CB 11 4 (XE310XBA-K01US) Camera                                                          $0.00   0.00%     1.00
               CB 11 4 (XE310XBA-K01US) Daughterboard Flex                                              $0.00   0.00%     1.00
               CB 11 4 (XE310XBA-K01US) Housing [LCD Rear Cover]                                        $0.00   0.00%     1.00
               CB 11 4 (XE310XBA-K01US) Keyboard                                                       $66.27   0.00%     1.00
               CB 11 4 (XE310XBA-K01US) LCD Cable                                                       $0.00   0.00%     1.00
               CB 11 4 (XE310XBA-K01US) LCD Panel                                                     $600.30   0.01%     6.00
               CB 11 4 (XE310XBA-K01US) Motherboard                                                     $0.00   0.00%     2.00
               CB 11 4 (XE310XBA-K01US) Palmrest w/ Keyboard                                            $0.00   0.00%     2.00
               CB 11 4 (XE310XBA-K01US) Trackpad                                                        $0.00   0.00%     1.00
               CB 11 4 (XE310XBA-KB1US) USB Board                                                      $21.06   0.00%     1.00
               CB 11 x360 (G1 EE) Battery                                                               $5.80   0.00%     3.00




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               CB 11 x360 (G1 EE) Camera                                                                       $54.17   0.00%     3.00
               CB 11 x360 (G1 EE) Camera Cable                                                                 $16.05   0.00%     3.00
               CB 11 x360 (G1 EE) Daughterboard                                                                $18.57   0.00%     1.00
               CB 11 x360 (G1 EE) Hinge Set*                                                                   $38.79   0.00%     1.00
               CB 11 x360 (G1 EE) Housing [Base]                                                               $13.71   0.00%     3.00
               CB 11 x360 (G1 EE) Housing [LCD Rear Cover]                                                     $12.03   0.00%     2.00
               CB 11 x360 (G1 EE) LCD Assembly                                                              $1,152.36   0.01%    26.00
               CB 11 x360 (G1 EE) Motherboard [4GB][32GB]                                                     $143.69   0.00%     3.00
               CB 11 x360 (G1 EE) Palmrest w/ Keyboard                                                         $41.24   0.00%     4.00
               CB 11 x360 (G1 EE) Power Board                                                                  $61.74   0.00%     6.00
               CB 11 x360 (G1 EE) Power Board Flex                                                             $17.84   0.00%     6.00
               CB 11 x360 (G1 EE) Trackpad                                                                     $42.21   0.00%    11.00
               CB 11 x360 (G2 EE) Battery                                                                     $156.10   0.00%     4.00
               CB 11 x360 (G2 EE) Camera                                                                        $0.00   0.00%     1.00
               CB 11 x360 (G2 EE) Camera Cable                                                                  $0.00   0.00%     2.00
               CB 11 x360 (G2 EE) Daughterboard                                                                 $0.00   0.00%     3.00
               CB 11 x360 (G2 EE) Hinge Set                                                                     $0.04   0.00%     1.00
               CB 11 x360 (G2 EE) LCD (Touch)                                                               $2,889.91   0.03%    39.00
               CB 11 x360 (G2 EE) Motherboard [N4000][4GB][32GB]                                              $360.66   0.00%     2.00
               CB 11 x360 (G2 EE) Palmrest w/ Keyboard                                                          $0.00   0.00%     1.00
               CB 11 x360 (G2 EE) Screw Kit                                                                     $0.00   0.00%     2.00
               CB 11 x360 (G3 EE) Battery                                                                     $163.30   0.00%     6.00
               CB 11 x360 (G3 EE) Camera                                                                      $169.46   0.00%     8.00
               CB 11 x360 (G3 EE) Camera Cable                                                                 $17.22   0.00%     5.00
               CB 11 x360 (G3 EE) Daughterboard                                                                $56.84   0.00%    11.00
               CB 11 x360 (G3 EE) Daughterboard Flex Set                                                        $3.55   0.00%     2.00
               CB 11 x360 (G3 EE) Hinge Set                                                                   $205.90   0.00%    15.00
               CB 11 x360 (G3 EE) Hinge [Left]                                                                  $1.49   0.00%    51.00
               CB 11 x360 (G3 EE) Hinge [Right]                                                                 $0.00   0.00%    48.00
               CB 11 x360 (G3 EE) Housing [Base]                                                              $175.10   0.00%     8.00
               CB 11 x360 (G3 EE) Housing [LCD Rear Cover]                                                    $348.16   0.00%    17.00
               CB 11 x360 (G3 EE) LCD Assembly                                                                $654.40   0.01%     5.00
               CB 11 x360 (G3 EE) LCD Cable                                                                    $68.33   0.00%    13.00
               CB 11 x360 (G3 EE) LCD w/ Digitizer (Finger-Touch)                                           $4,992.42   0.06%    72.00
               CB 11 x360 (G3 EE) Motherboard                                                              $16,012.24   0.18%   126.00
               CB 11 x360 (G3 EE) Palmrest w/ Keyboard                                                      $1,934.58   0.02%    48.00
               CB 11 x360 (G3 EE) Palmrest w/ Keyboard [w/ WFC]                                                 $0.00   0.00%     4.00
               CB 11 x360 (G3 EE) Sensor Board                                                                  $9.82   0.00%     4.00
               CB 11 x360 (G3 EE) Speaker Set                                                                  $34.62   0.00%     3.00
               CB 11 x360 (G3 EE) Trackpad                                                                    $219.27   0.00%    34.00
               CB 11 x360 (G3 EE) Trackpad Flex                                                                 $3.80   0.00%     1.00
               CB 11 x360 (G3 EE) Wi-Fi Antenna                                                                 $0.00   0.00%    12.00
               CB 11 x360 (G3 EE) Wi-Fi Card                                                                  $153.72   0.00%    13.00
               CB 11A (G6 EE Non-Touch) AC Adapter                                                              $1.67   0.00%     1.00
               CB 11A (G6 EE Non-Touch) Battery                                                                 $0.00   0.00%     4.00
               CB 11A (G6 EE Non-Touch) Camera                                                                  $0.00   0.00%    26.00
               CB 11A (G6 EE Non-Touch) Camera Cable                                                            $0.00   0.00%    32.00
               CB 11A (G6 EE Non-Touch) Daughterboard                                                           $9.54   0.00%     3.00
               CB 11A (G6 EE Non-Touch) Daughterboard Flex Set                                                  $0.00   0.00%     2.00
               CB 11A (G6 EE Non-Touch) Hinge Set                                                               $0.00   0.00%     4.00
               CB 11A (G6 EE Non-Touch) Hinge [Left]                                                            $0.00   0.00%    11.00
               CB 11A (G6 EE Non-Touch) Hinge [Right]                                                           $0.00   0.00%     9.00
               CB 11A (G6 EE Non-Touch) Housing [Base]                                                          $0.00   0.00%     8.00
               CB 11A (G6 EE Non-Touch) Housing [LCD Bezel]                                                    $49.38   0.00%    30.00
               CB 11A (G6 EE Non-Touch) Housing [LCD Rear Cover]                                               $61.39   0.00%    27.00
               CB 11A (G6 EE Non-Touch) LCD Cable                                                               $0.00   0.00%    24.00
               CB 11A (G6 EE Non-Touch) LCD Panel                                                             $196.45   0.00%     5.00
               CB 11A (G6 EE Non-Touch) Motherboard [4GB] [16GB]                                               $22.38   0.00%     1.00
               CB 11A (G6 EE Non-Touch) Motherboard [4GB] [32GB]                                              $174.31   0.00%     2.00
               CB 11A (G6 EE Non-Touch) Palmrest w/ Keyboard                                                  $118.13   0.00%    26.00
               CB 11A (G6 EE Non-Touch) Palmrest w/ Keyboard and Trackpad                                       $4.27   0.00%     3.00
               CB 11A (G6 EE Non-Touch) Speaker Set                                                             $0.00   0.00%     2.00
               CB 11A (G6 EE Non-Touch) Spine Cover                                                           $148.39   0.00%    11.00
               CB 11A (G6 EE Non-Touch) Trackpad                                                                $0.00   0.00%    12.00
               CB 11A (G6 EE Non-Touch) Wi-Fi Antenna                                                           $0.00   0.00%     2.00
               CB 11A (G6 EE Non-Touch) Wi-Fi Card                                                              $6.42   0.00%     3.00
               CB 11A (G6 EE Touch) LCD Cable                                                                   $5.99   0.00%     1.00
               CB 11A (G6 EE Touch) Palmrest w/ Keyboard and Trackpad                                           $0.00   0.00%     8.00
               CB 11A (G8 EE Non-Touch) AC Adapter                                                             $24.33   0.00%     3.00
               CB 11A (G8 EE Non-Touch) Battery                                                                $43.19   0.00%    16.00
               CB 11A (G8 EE Non-Touch) Cable Kit*                                                             $15.40   0.00%     2.00
               CB 11A (G8 EE Non-Touch) Camera                                                                 $14.55   0.00%    25.00
               CB 11A (G8 EE Non-Touch) Camera Cable                                                            $0.00   0.00%    11.00
               CB 11A (G8 EE Non-Touch) Daughterboard                                                          $24.79   0.00%    23.00
               CB 11A (G8 EE Non-Touch) Daughterboard Flex Set                                                  $0.00   0.00%     2.00
               CB 11A (G8 EE Non-Touch) Hinge Set*                                                            $132.13   0.00%    13.00
               CB 11A (G8 EE Non-Touch) Hinge [Left]                                                            $0.00   0.00%    66.00
               CB 11A (G8 EE Non-Touch) Hinge [Right]                                                         $171.25   0.00%   107.00
               CB 11A (G8 EE Non-Touch) Housing [Base]                                                          $0.00   0.00%    10.00
               CB 11A (G8 EE Non-Touch) Housing [Hinge Cover]                                               $1,079.55   0.01%    90.00
               CB 11A (G8 EE Non-Touch) Housing [LCD Bezel]                                                   $207.66   0.00%    12.00
               CB 11A (G8 EE Non-Touch) Housing [LCD Rear Cover]                                            $1,259.16   0.01%    74.00
               CB 11A (G8 EE Non-Touch) LCD Cable                                                               $7.17   0.00%    21.00
               CB 11A (G8 EE Non-Touch) Motherboard                                                         $7,457.08   0.09%    57.00
               CB 11A (G8 EE Non-Touch) Palmrest w/ Keyboard                                                  $144.86   0.00%    42.00
               CB 11A (G8 EE Non-Touch) Speaker Set                                                             $9.93   0.00%     4.00
               CB 11A (G8 EE Non-Touch) Trackpad                                                              $101.33   0.00%    28.00
               CB 11A (G8 EE Non-Touch) Wi-Fi Antenna                                                           $0.00   0.00%     3.00
               CB 11A (G8 EE Non-Touch) Wi-Fi Card                                                             $15.36   0.00%     7.00
               CB 11A (G8 EE Touch) Cable Kit*                                                                 $67.56   0.00%     4.00
               CB 11A (G8 EE Touch) Camera                                                                      $0.00   0.00%     1.00
               CB 11A (G8 EE Touch) Daughterboard                                                              $22.87   0.00%     1.00
               CB 11A (G8 EE Touch) Motherboard [A4-9120C][4GB][16GB]                                         $134.99   0.00%     1.00
               CB 11A (G8 EE Touch) Motherboard [A4-9120C][4GB][32GB]                                       $1,176.93   0.01%     9.00
               CB 13 (CP713-1WN) Housing [LCD Rear Cover]                                                     $266.86   0.00%    11.00
               CB 13 (CP713-1WN) Keyboard                                                                     $860.85   0.01%    15.00
               CB 13 (CP713-1WN) LCD                                                                        $4,811.69   0.06%    13.00
               CB 13 (CP713-1WN) LCD Cable                                                                     $32.25   0.00%     3.00
               CB 14 (3400) Battery                                                                           $149.90   0.00%     2.00
               CB 14 (3400) Motherboard [4GB][32GB]                                                           $195.63   0.00%     1.00
               CB 14 (C423NA-BCLN5) Housing [LCD Bezel]                                                         $0.00   0.00%     2.00
               CB 14 (C423NA-BCLN5) Housing [LCD Rear Cover]                                                    $0.00   0.00%     2.00
               CB 14 (C423NA-BCLN5) Motherboard [4GB]                                                         $133.53   0.00%     1.00
               CB 14 (C423NA-BCLN5) Palmrest w/ Keyboard                                                        $0.00   0.00%     2.00
               CB 14 (C423NA-BCLN5) Trackpad                                                                   $26.99   0.00%     3.00
               CB 14 (C423NA-BCLN5) Trackpad Flex                                                               $0.00   0.00%     2.00
               CB 14 (C933) Battery                                                                             $0.00   0.00%     4.00
               CB 14 (C933T) Housing [LCD Bezel]                                                                $2.59   0.00%     1.00
               CB 14 (C933T) Housing [LCD Rear Cover]                                                           $7.90   0.00%     1.00
               CB 14 (C933T) LCD Assembly                                                                   $2,053.15   0.02%    11.00
               CB 14 (C933T) Motherboard [4GB][32GB]                                                            $0.00   0.00%     2.00
               CB 14 (C933T) Palmrest w/ Keyboard                                                             $659.97   0.01%     3.00
               CB 14 (DB0023DX) LCD                                                                           $105.28   0.00%     1.00
               CB 14 (G4) Palmrest w/ Keyboard                                                                $608.68   0.01%    12.00
               CB 14 (G5 Non-Touch) LCD Cable                                                                   $0.00   0.00%     2.00
               CB 14 (G5 Non-Touch) Palmrest w/ Keyboard                                                      $299.29   0.00%    16.00
               CB 14 (G5 Non-Touch) Trackpad                                                                    $0.00   0.00%    10.00
               CB 14 (G5 Non-Touch) Wi-Fi Card                                                                  $0.00   0.00%     3.00
               CB 14 (G5 Touch) LCD Cable                                                                      $13.98   0.00%     2.00




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               CB 14 (G5 Touch) LCD Panel                                                                                                          $1,390.87         0.02%      35.00
               CB 14 (G5 Touch) Motherboard[N3350][4GB][16GB]                                                                                        $807.55         0.01%       4.00
               CB 14 (G5 Touch) Motherboard[N3450][4GB][32GB]                                                                                        $134.99         0.00%       1.00
               CB 14 (G5 Touch) Trackpad                                                                                                              $48.60         0.00%       3.00
               CB 14A (G5 Touch) Camera                                                                                                                $0.00         0.00%       2.00
               CB 14A (G5 Touch) Camera Cable                                                                                                          $0.00         0.00%       1.00
               CB 14A (G5 Touch) Housing [LCD Bezel]                                                                                                  $34.53         0.00%       3.00
               CB 14A (G5 Touch) LCD Cable (Touch)                                                                                                    $13.98         0.00%       2.00
               CB 14A (G5 Touch) Motherboard [A4-9120C][4GB][16GB]                                                                                   $124.12         0.00%       1.00
               CB 14A (G5 Touch) Palmrest w/ Keyboard                                                                                                 $87.10         0.00%       2.00
               CB 14A (NA0061DX) Camera                                                                                                               $49.95         0.00%       1.00
               CB 14A (NA0061DX) Trackpad                                                                                                              $1.90         0.00%       1.00
               CB 14b (CA0013DX) Camera                                                                                                               $10.95         0.00%       1.00
               CB 14c x360 (CA0053DX) Camera                                                                                                         $111.45         0.00%       5.00
               CB 14c x360 (CA0053DX) Camera Cable                                                                                                    $15.95         0.00%       1.00
               CB 14c x360 (CA0053DX) Daughterboard                                                                                                   $29.95         0.00%       1.00
               CB 14c x360 (CA0053DX) Housing [Base]                                                                                                 $371.14         0.00%      11.00
               CB 14c x360 (CA0053DX) LCD w/ Digitizer                                                                                               $965.05         0.01%       3.00
               CB 14c x360 Battery                                                                                                                   $162.30         0.00%       2.00
               CB 14c x360 Camera                                                                                                                     $84.44         0.00%       2.00
               CB 14c x360 Camera Cable                                                                                                               $10.70         0.00%       1.00
               CB 14c x360 Daughterboard                                                                                                              $11.99         0.00%       1.00
               CB 14c x360 Housing [LCD Rear Cover]                                                                                                $2,304.68         0.03%      29.00
               CB 14c x360 Palmrest w/ Keyboard                                                                                                       $95.36         0.00%       1.00
               CB 14c x360 Trackpad                                                                                                                   $60.89         0.00%       2.00
               CB 14c x360 Trackpad Flex                                                                                                               $4.99         0.00%       1.00
               CB 14E (81MH) Camera                                                                                                                    $0.00         0.00%       2.00
               CB 14E (81MH) Hinge Cover                                                                                                               $0.00         0.00%       1.00
               CB 14E (81MH) Hinge Set*                                                                                                               $28.24         0.00%       2.00
               CB 14E (81MH) Housing [Hinge Cover]                                                                                                    $10.55         0.00%       1.00
               CB 14E (81MH) Housing [LCD Bezel]                                                                                                       $4.67         0.00%       1.00
               CB 14E (81MH) Housing [LCD Rear Cover]                                                                                                  $0.87         0.00%       1.00
               CB 14E (81MH) LCD Cable                                                                                                                $40.47         0.00%       3.00
               CB 14E (81MH) LCD Panel                                                                                                               $915.95         0.01%       8.00
               CB 14E (81MH) Motherboard [4GB][32GB]                                                                                                 $121.33         0.00%       2.00
               CB 14E (81MH) Palmrest w/ Keyboard                                                                                                    $310.43         0.00%      17.00
               CB 14E (81MH) Trackpad                                                                                                                  $0.00         0.00%       1.00
               CB 15 (CB315-3HT) Motherboard [4GB][64GB]                                                                                             $235.50         0.00%       1.00
               CB 15 (CP315-1H) Wi-Fi Card                                                                                                            $39.90         0.00%       5.00
               CB 15 4+ (XE350XBA-K01US) Daughterboard                                                                                                 $4.25         0.00%       1.00
               CB 15 4+ (XE350XBA-K01US) LCD Panel                                                                                                   $494.82         0.01%       4.00
               CB 15 4+ (XE350XBA-K01US) Palmrest w/ Keyboard and Trackpad                                                                           $675.08         0.01%       6.00
               CB 15 4+ (XE350XBA-K01US) Trackpad                                                                                                      $4.25         0.00%       1.00
               CB 15 4+ (XE350XBA-K01US) Trackpad Cable                                                                                                $2.13         0.00%       1.00
               CB 15 4+ (XE350XBA-K05US) Battery                                                                                                     $617.04         0.01%       8.00
               CB 15 4+ (XE350XBA-K05US) Housing [LCD Bezel]                                                                                         $120.82         0.00%       7.00
               CB 15 4+ (XE350XBA-K05US) Housing [LCD Rear Cover]                                                                                    $313.68         0.00%       6.00
               CB 15 4+ (XE350XBA-K05US) LCD Panel                                                                                                   $954.54         0.01%       9.00
               CB 15 4+ (XE350XBA-K05US) Motherboard                                                                                                 $172.76         0.00%       2.00
               CB 15 4+ (XE350XBA-KA1US) Battery                                                                                                      $77.13         0.00%       1.00
               CB 15 4+ (XE350XBA-KA1US) Housing [LCD Bezel]                                                                                          $17.26         0.00%       1.00
               CB 15 4+ (XE350XBA-KA1US) LCD Panel                                                                                                   $212.12         0.00%       2.00
               CB 15 4+ (XE350XBA-KA1US) Palmrest w/ Keyboard                                                                                         $74.95         0.00%       1.00
               CB Tab (CT100PA) LCD Assembly                                                                                                         $659.94         0.01%       6.00
               CB Tab 10 (D651N-K9WT) Battery                                                                                                        $927.11         0.01%      21.00
               CB Tab 10 (D651N-K9WT) Camera [Front]                                                                                                  $81.52         0.00%       8.00
               CB Tab 10 (D651N-K9WT) DC Jack Cable                                                                                                   $16.92         0.00%       3.00
               CB Tab 10 (D651N-K9WT) Digitizer                                                                                                      $400.00         0.00%       4.00
               CB Tab 10 (D651N-K9WT) Digitizer Flex                                                                                                   $6.08         0.00%       1.00
               CB Tab 10 (D651N-K9WT) Housing [LCD Rear Cover]                                                                                        $18.77         0.00%       1.00
               CB Tab 10 (D651N-K9WT) LCD Cable                                                                                                      $314.29         0.00%      50.00
               CB Tab 10 (D651N-K9WT) LCD Panel                                                                                                    $7,296.60         0.08%      71.00
               CB Tab 10 (D651N-K9WT) Motherboard                                                                                                  $8,519.19         0.10%      53.00
               DT-L500E-BLK                                                                   DropTech for Lenovo 500e Chromebook (1st Gen)          $375.00         0.00%      25.00
               EliteBook x360 1030 (G4) Cable Kit                                                                                                      $0.00         0.00%       2.00
               EliteBook x360 1030 (G4) LCD w/ Digitizer                                                                                           $2,648.24         0.03%       4.00
               EliteBook x360 1030 (G4) Motherboard                                                                                                  $606.30         0.01%       1.00
               Ideapad 5 (82B8) LCD Assembly                                                                                                          $96.80         0.00%       1.00
               INV-SM-CS-LP404                                                                Rugged - Dual Injected Case for LENOVO 300e/500e 2nd Gen $0.00
                                                                                                                                                           Chr/Win Intel/MTK
                                                                                                                                                                     0.00%      26.00
               INV-SM-CS-LP405                                                                Rugged - Dual Injected Case for CTL NL7                  $0.00         0.00%      16.00
               INV-SM-CS-TB531                                                                Rugged Vision 360 Case with velcro hand strap for iPad New/
                                                                                                                                                       $0.00
                                                                                                                                                          6th Gen    0.00%       1.00
               iPad 2 Digitizer - Black                                                                                                               $17.59         0.00%       2.00
               iPad 2 LCD Panel                                                                                                                       $29.01         0.00%       1.00
               iPad 6 Home Button [Black]                                                                                                              $4.65         0.00%       1.00
               iPad 6 LCD Panel                                                                                                                       $71.82         0.00%       1.00
               iPad 7 (10.2) Digitizer - Black                                                                                                        $58.86         0.00%       3.00
               iPad 7 (10.2) Digitizer - White                                                                                                       $133.83         0.00%       5.00
               iPad 7 (10.2) LCD                                                                                                                     $326.43         0.00%       3.00
               iPad 8 Audio Jack [Wi-Fi] - Black                                                                                                       $2.40         0.00%       1.00
               iPad 8 Digitizer - Black                                                                                                               $60.44         0.00%       4.00
               iPad 8 LCD Panel                                                                                                                      $331.42         0.00%       5.00
               iPad Pro (9.7) LCD Assembly - White                                                                                                   $114.00         0.00%       6.00
               Latitude (3190) LCD Assembly                                                                                                        $1,018.00         0.01%       8.00
               Latitude (E7250) Battery                                                                                                               $79.03         0.00%       1.00
               Latitude (E7250) Motherboard [i5-2.3GHz]                                                                                               $50.00         0.00%       1.00
               Latitude (E7440) Battery                                                                                                               $41.69         0.00%       1.00
               LCD Panel (30 Pin 14 in)                                                                                                            $4,417.46         0.05%      40.00
               LCD Panel (40 Pin 11 in)                                                                                                               $35.24         0.00%       2.00
               LCD Panel (40 Pin 11 in) (Touch)                                                                                                      $312.16         0.00%       7.00
               LCD Panel L/R Brackets (30 Pin 11 in)                                          30 Pin LCD with Left & Right Brackets               $16,395.68         0.19%     440.00
               LCD Panel T/B Brackets (30 Pin 11 in)                                          30 Pin LCD with Top & Bottom Brackets                $1,144.87         0.01%      33.00
               MacBook Air (A1466) Daughterboard                                                                                                      $26.37         0.00%       1.00
               MacBook Air (A1466) LCD Assembly                                                                                                      $924.17         0.01%       5.00
               Macbook Air 13in 2020 (A2179) LCD Assembly                                                                                            $708.98         0.01%       2.00
               Macbook Air 13in 2020 (A2179) LCD Assembly - Rose Gold                                                                                $367.98         0.00%       1.00
               Macbook Air 13in 2020 (A2179) Logic Board                                                                                             $499.99         0.01%       1.00
               Macbook Air 13in 2020 (A2179) Palmrest w/ Keyboard - Rose Gold                                                                        $121.00         0.00%       1.00
               Macbook Air 13in 2020 (A2179) Palmrest w/ Keyboard - Space Gray                                                                       $199.99         0.00%       1.00
               Macbook Air 13in 2020 (A2179) Trackpad - Rose Gold                                                                                     $66.33         0.00%       1.00
               ProBook 440 (G6) AC Adapter                                                                                                             $0.00         0.00%       3.00
               Relectro NPF                                                                                                                          $256.00         0.00%       8.00
               Relectro Repair Service                                                                                                             $3,186.00         0.04%      59.00
               SM-CS-LP420                                                                    HP Chromebook 11 G8 EE Dual Injected Case               $51.24         0.00%       6.00
               Spin 5 (SP513-52N-8326) Battery                                                                                                        $86.10         0.00%       2.00
               Spin 5 (SP513-52N-8326) Housing [Base]                                                                                                 $36.80         0.00%       2.00
               Spin 5 (SP513-52N-8326) Housing [LCD Rear Cover]                                                                                      $208.20         0.00%       2.00
               Spin 5 (SP513-52N-8326) Keyboard                                                                                                        $7.10         0.00%       2.00
               Spin 5 (SP513-53N-56CR) Camera [Front]                                                                                                  $0.00         0.00%       1.00
               Spin 5 (SP513-53N-56CR) LCD Cable                                                                                                       $0.00         0.00%       1.00
               Spin 5 (SP513-53N-56CR) Palmrest w/ Keyboard                                                                                            $0.00         0.00%       1.00
               Surface 2 LCD                                                                                                                          $43.50         0.00%       1.00
               Surface 3 (1645) LCD Assembly                                                                                                       $1,000.00         0.01%      10.00
               Surface Laptop 2 AC Adapter                                                                                                            $56.82         0.00%       2.00
               Surface Pro 5 LCD                                                                                                                     $242.82         0.00%       2.00
               Thinkpad (20N3) Keyboard                                                                                                               $40.35         0.00%       1.00
               Thinkpad C13 (20UX-001PUS) Motherboard [4GB][32GB]                                                                                    $445.34         0.01%       2.00
               Thinkpad L390 (20NS) Hinge Set*                                                                                                       $150.82         0.00%       2.00
               Winbook (300e 81FY) Camera                                                                                                             $18.33         0.00%       3.00
               Winbook (300e 81FY) Daughterboard                                                                                                      $40.08         0.00%       4.00




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                                                Winbook (300e 81FY) Daughterboard Flex                                                                                                  $0.94    0.00%         1.00
                                                Winbook (300e 81FY) Hinge [Left]                                                                                                        $0.00    0.00%         2.00
                                                Winbook (300e 81FY) LCD w/ Digitizer                                                                                                  $117.99    0.00%         2.00
                                                Winbook (300e 81FY) Trackpad Flex                                                                                                       $2.31    0.00%         3.00
                                                Winbook (300e 81M9) AC Adapter                                                                                                         $14.08    0.00%         2.00
                                                Winbook (300e 81M9) Battery                                                                                                            $77.16    0.00%        24.00
                                                Winbook (300e 81M9) Camera [Front]                                                                                                      $2.83    0.00%         3.00
                                                Winbook (300e 81M9) Camera [WFC]                                                                                                        $0.00    0.00%         8.00
                                                Winbook (300e 81M9) Daughterboard                                                                                                       $6.76    0.00%         3.00
                                                Winbook (300e 81M9) Daughterboard Flex                                                                                                  $0.87    0.00%         3.00
                                                Winbook (300e 81M9) G Sensor                                                                                                            $4.02    0.00%        14.00
                                                Winbook (300e 81M9) Hinge Rubber                                                                                                        $0.00    0.00%         2.00
                                                Winbook (300e 81M9) Hinge Set*                                                                                                        $324.68    0.00%        24.00
                                                Winbook (300e 81M9) Hinge [Left]                                                                                                       $48.65    0.00%        58.00
                                                Winbook (300e 81M9) Hinge [Right]                                                                                                     $568.78    0.01%       128.00
                                                Winbook (300e 81M9) Housing [Base]                                                                                                      $6.12    0.00%         5.00
                                                Winbook (300e 81M9) Housing [Hinge Cover]                                                                                              $29.98    0.00%         4.00
                                                Winbook (300e 81M9) Housing [LCD Rear Cover]                                                                                          $376.10    0.00%        48.00
                                                Winbook (300e 81M9) LCD Cable                                                                                                          $31.50    0.00%        12.00
                                                Winbook (300e 81M9) LCD w/ Digitizer                                                                                                $1,456.44    0.02%        27.00
                                                Winbook (300e 81M9) Motherboard                                                                                                     $1,131.42    0.01%        19.00
                                                Winbook (300e 81M9) Palmrest w/ Keyboard                                                                                              $150.39    0.00%        51.00
                                                Winbook (300e 81M9) Palmrest w/ Keyboard (w/ Cutout)                                                                                $1,141.67    0.01%        50.00
                                                Winbook (300e 81M9) Palmrest w/ Keyboard and Trackpad                                                                                 $364.68    0.00%        16.00
                                                Winbook (300e 81M9) Palmrest w/ Keyboard and Trackpad (w/ Cutout)                                                                   $1,124.61    0.01%        49.00
                                                Winbook (300e 81M9) Speaker Set                                                                                                         $0.00    0.00%         1.00
                                                Winbook (300e 81M9) SSD [128GB]                                                                                                         $0.00    0.00%         2.00
                                                Winbook (300e 81M9) Trackpad                                                                                                            $0.11    0.00%         2.00
                                                Winbook (300e 81M9) Wi-Fi Card                                                                                                         $10.66    0.00%         4.00
                                                Winbook (N23 80UR) Housing [Base]                                                                                                      $40.28    0.00%         2.00
                                                Winbook 11 (100E 81M8) Battery                                                                                                         $50.12    0.00%         1.00
                                                Winbook 11 (100E 81M8) Camera                                                                                                          $81.10    0.00%         5.00
                                                Winbook 11 (100E 81M8) Hinge (Left)                                                                                                     $0.00    0.00%         1.00
                                                Winbook 11 (100E 81M8) Hinge Set*                                                                                                       $8.00    0.00%         1.00
                                                Winbook 11 (100E 81M8) Housing [LCD Bezel]                                                                                              $0.00    0.00%         1.00
                                                Winbook 11 (100E 81M8) Housing [LCD Rear Cover]                                                                                        $25.58    0.00%         1.00
                                                Winbook 11 (100E 81M8) Motherboard [N4000][4GB][64GB]                                                                                   $0.00    0.00%         3.00
                                                Winbook 11 (100E 81M8) Wi-Fi Card                                                                                                     $105.36    0.00%         6.00
                                                Yoga (N23) Battery                                                                                                                    $740.61    0.01%        39.00
                                                Yoga (N23) Camera [Front]                                                                                                               $0.00    0.00%         8.00
                                                Yoga (N23) Daughterboard                                                                                                                $0.00    0.00%         4.00
                                                Yoga (N23) Hinge Set*                                                                                                                 $264.11    0.00%        22.00
                                                Yoga (N23) Housing [Base]                                                                                                             $230.29    0.00%        20.00
                                                Yoga (N23) Housing [LCD Rear Cover]                                                                                                   $333.73    0.00%        16.00
                                                Yoga (N23) Keyboard                                                                                                                    $47.89    0.00%        31.00
                                                Yoga (N23) LCD Assembly                                                                                                             $1,923.14    0.02%        19.00
                                                Yoga (N23) LCD Cable                                                                                                                   $22.22    0.00%         5.00
                                                Yoga (N23) LCD w/ Digitizer                                                                                                         $1,044.36    0.01%        26.00
                                                Yoga (N23) Motherboard                                                                                                              $4,655.24    0.05%        49.00
                                                Yoga (N23) Speaker Set                                                                                                                 $41.94    0.00%         6.00
                                                Yoga (N23) Trackpad                                                                                                                    $75.51    0.00%        55.00
                                                Yoga (N23) Trackpad Flex                                                                                                                $0.04    0.00%         5.00
                                                Yoga 11e (20LM) Keyboard                                                                                                               $28.06    0.00%         2.00
                                                Yoga 11e (20LM) SSD [128GB]                                                                                                             $0.00    0.00%         1.00
          Total - Inventory Item                                                                                                                                                  $433,683.67    5.01%    16,912.00
       Total - 1380 - Philadelphia, PA                                                                                                                                            $434,367.55    5.01%    16,913.00
       1330 - Raleigh, NC
          Assembly/Bill of Materials
                                                (Serialized) CB 11 (C738T)                                                                                                            $179.90     0.00%        0.00
                                                (Serialized) iPad 6                                                                                                                   $588.99     0.01%        0.00
           Total - Assembly/Bill of Materials                                                                                                                                         $768.89     0.01%        0.00
        Total - 1330 - Raleigh, NC                                                                                                                                                    $768.89     0.01%        0.00
   Total - East                                                                                                                                                                   $435,136.44     5.02%   16,913.00
Total - National                                                                                                                                                                $2,448,775.02    28.27%   97,508.00
9001 - Kennesaw Warehouse
   Assembly/Bill of Materials
                                                ## Galaxy Tab A (8.0 T387) Battery ##                                                                                                  $31.70    0.00%         2.00
                                                (Serialized) ## CB 11 (3100 P29T) ##                                                                                                  $257.99    0.00%         0.00
                                                (Serialized) ## CB 11 (G8 EE) ##                                                                                                   $24,180.00    0.28%         0.00
                                                (Serialized) CB 11 (N22 80SF)                                                                                                         $125.00    0.00%         0.00
                                                CB 11 (500e 82JB0002US)                                                                                                               $504.27    0.01%         1.00
   Total - Assembly/Bill of Materials                                                                                                                                              $25,098.96    0.29%         3.00
   Inventory Item
                                                ## CB 11 (3100 P29T) Daughterboard ##                                                                                                  $110.93   0.00%        14.00
                                                ## CB 11 (3100 P29T) Daughterboard (Touch) ##                                                                                          $125.16   0.00%         6.00
                                                ## CB 11 (3100 P29T) Hinge [Left] ##                                                                                                    $82.12   0.00%        15.00
                                                ## CB 11 (3100 P29T) Housing [LCD Rear Cover] ##                                                                                       $146.89   0.00%        24.00
                                                ## CB 11 (3100 P29T) Palmrest ##                                                                                                       $168.28   0.00%        20.00
                                                ## CB 11 (3100 P29T) Palmrest w/ Keyboard ##                                                                                           $374.08   0.00%        25.00
                                                ## CB 11 (3100 P29T) Speaker Set ##                                                                                                      $6.22   0.00%         3.00
                                                ## CB 11 (3100 P29T) Trackpad ##                                                                                                        $24.26   0.00%        11.00
                                                ## CB 11 (3100 P29T) Trackpad Flex ##                                                                                                  $182.54   0.00%        50.00
                                                ## CB 11 (3100 P30T) Camera [Front] ##                                                                                                  $96.70   0.00%         7.00
                                                ## CB 11 (3100 P30T) Daughterboard ##                                                                                                   $13.39   0.00%         1.00
                                                ## CB 11 (3100 P30T) Palmrest w/ Keyboard (w/ WFC) ##                                                                                  $101.97   0.00%         5.00
                                                ## CB 11 (3100 P30T) Speaker Set ##                                                                                                    $556.82   0.01%        90.00
                                                ## CB 11 (3100 P30T) Trackpad ##                                                                                                       $455.43   0.01%        48.00
                                                ## CB 11 (3100 P30T) Trackpad Flex ##                                                                                                   $25.45   0.00%         8.00
                                                ## CB 11 (G6 EE Non-Touch) Keyboard ##                                                                                                 $975.03   0.01%        20.00
                                                ## CB 11 (G6 EE) Battery ##                                                                                                            $140.42   0.00%         3.00
                                                ## CB 11 (G6 EE) Camera Cable ##                                                                                                         $1.31   0.00%         1.00
                                                ## CB 11 (G6 EE) Daughterboard ##                                                                                                        $8.59   0.00%         1.00
                                                ## CB 11 (G6 EE) LCD Cable (Touch) ##                                                                                                    $9.99   0.00%         1.00
                                                ## CB 11 (G6 EE) LCD Panel (Touch) ##                                                                                                $6,748.38   0.08%       116.00
                                                ## CB 11 (G6 EE) Motherboard [4GB][32GB] ##                                                                                             $43.61   0.00%         1.00
                                                ## CB 11 (G7 EE) Camera ##                                                                                                              $31.94   0.00%         1.00
                                                ## CB 11 (G7 EE) Motherboard [4GB][16GB] ##                                                                                          $3,209.90   0.04%        20.00
                                                ## CB 11 (G7 EE) Palmrest w/ Keyboard ##                                                                                               $467.68   0.01%        19.00
                                                ## CB 11 (G7 EE) Trackpad ##                                                                                                           $343.75   0.00%        11.00
                                                ## CB 11A (G6 EE) Camera Cable ##                                                                                                        $4.22   0.00%         1.00
                                                ## CB 11A (G6 EE) Housing [LCD Rear Cover] ##                                                                                           $26.36   0.00%         5.00
                                                ## CB 11A (G8 EE) Camera Cable ##                                                                                                      $477.24   0.01%        77.00
                                                ## CB 14 (G5) Camera ##                                                                                                                 $35.98   0.00%         1.00
                                                ## CB 14 (G5) Camera Cable ##                                                                                                          $148.95   0.00%        10.00
                                                ## CB 14 (G5) Daughterboard Flex Set ##                                                                                                  $0.23   0.00%         1.00
                                                ## CB 14 (G5) LCD Assembly ##                                                                                                           $98.70   0.00%         2.00
                                                ## CB 14 (G5) LCD Cable ##                                                                                                             $157.72   0.00%        18.00
                                                ## CB 14 (G5) LCD Panel (Touch) ##                                                                                                      $70.11   0.00%         1.00
                                                ## CB 14 (G5) Trackpad ##                                                                                                                $1.91   0.00%         2.00
                                                ## CB 14A (G5) Trackpad ##                                                                                                               $0.00   0.00%         2.00
                                                ## Thinkpad 11e (20DA) Motherboard (Touch) ##                                                                                        $7,743.25   0.09%       102.00
                                                (A2C) Latitude (E7440) Palmrest                                                                                                          $0.00   0.00%         7.00
                                                01C001                                                                           DropTech Acer Chromebook 311 (C721)                $17,914.00   0.21%     1,378.00
                                                01H005                                                                           DropTech X360 Probook 11" G5/G6 EE                 $12,246.00   0.14%       628.00
                                                01H008                                                                           DropTech HP Chromebook 11 G8/A EE – Black               $0.00   0.00%        50.00
                                                01H009E01-0                                                                      01H009E01-1 (DropTech HP CB x360 11 G3 EE – Black) $24,120.00   0.28%     1,608.00
                                                XX-XXXXXXX                                                                       Case Only iPad Mini 4 - Rapture Rugged Black/Black      $0.00   0.00%         3.00
                                                06C000E01-0                                                                      SlimTech Acer Chromebook Spin 511 (R752)            $5,600.00   0.06%       560.00
                                                06C001E01-0                                                                      SlimTech Acer Chromebook 311/C721 Clamshell        $12,533.05   0.14%     1,112.00




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               06C002E01-0                                                            SlimTech Asus CB C204 â€“ Black                      $2,554.12          0.03%     206.00
               06C004                                                                 SlimTech for Asus C202SA                             $4,199.72          0.05%     411.00
               06C007                                                                 SlimTech for Asus C203 XA                           $31,468.17          0.36%   2,702.00
               06D000E01-0                                                            SlimTech Dell 3100 Clamshell                        $32,976.85          0.38%   2,896.00
               06D001E01-0                                                            SlimTech Dell 3100 2in1                             $24,859.87          0.29%   2,428.00
               15-F233WM LCD Panel (30 Pin 15.6")                                                                                              $0.00          0.00%       1.00
               XX-XXXXXXX                                                             Case Only SS S8 - Rapture Black/Black Matte Finish       $0.00          0.00%       4.00
               XX-XXXXXXX                                                             Case Only Dell 3180 Lattitude - Rapt Tranks Smk/Bk       $0.00          0.00%       2.00
               XX-XXXXXXX                                                             Case Only Lenovo N23 Chromebook - Rap Trans Smk/Bk   $2,457.00          0.03%     150.00
               XX-XXXXXXX                                                             Case Only Lenovo 300e Chromebook - Rap Tran Smk/Bk  $27,360.00          0.32%   1,824.00
               XX-XXXXXXX                                                             Case Only Lenovo 100e Chromebook - Rap Tran Smk/Bk $0.00                0.00%      10.00
               XX-XXXXXXX                                                             Cellairis Microsoft Surface 3 Case- Bridgestone      $7,225.00          0.08%     289.00
               XX-XXXXXXX                                                             Case Only iPhone 8 - Rapture Black/Black Matte Finish    $0.00          0.00%       2.00
               XX-XXXXXXX                                                             Case Only iPhone 8 Plus - Rapture Black/Black Matte Finish
                                                                                                                                               $0.00          0.00%     227.00
               XX-XXXXXXX                                                             Case Only SS S9 - Rapture Black/Black Matte Finish       $0.00          0.00%       2.00
               XX-XXXXXXX                                                             Case Only iPhone 7 - Rapture Black/Black Matte Finish    $0.00          0.00%      19.00
               XX-XXXXXXX                                                             Case Only iPhone 7 Plus - Rapture Black/Black Matte Finish
                                                                                                                                               $0.00          0.00%      80.00
               XX-XXXXXXX                                                             Case Only iPhone X/XS - Rapture Black/Black Matte Finish$0.00           0.00%      32.00
               AC-BG-CBT-10-CLR-R                                                     Battle Glass for Acer Chromebook Tab 10 & Asus Chromebook
                                                                                                                                             $467.50Tab 10    0.01%      34.00
               AC-ES-C732-11-BLK                                                      Extreme Shell C732 Chromebook Clamshell              $5,843.75          0.07%     425.00
               AC-ES-CBT-10-BLK                                                       Extreme Shell for Acer Chromebook Tab 10 & Asus Chromebook
                                                                                                                                          $10,285.00 Tab 10   0.12%     748.00
               AC-ESL-C722-BLK                                                        Max Interactive (Max Cases) - Acer C722 Chromebook 11" $0.00
                                                                                                                                               (Black)        0.00%       2.00
               AC-ESL-C933-14-BLK                                                     Extreme Shell-L for Acer C933 Chromebook 14" (Black) $0.00              0.00%       4.00
               AC-ESL-R752T-BLK                                                       Max Interactive (Max Cases) - Acer R752T Chromebook Spin $0.00
                                                                                                                                                  511 11”     0.00%       2.00
               AC-ESL-R851T-BLK                                                       Extreme Shell for Acer R851T (Black)                 $2,695.00          0.03%     196.00
               AO-SNP-D5190                                                           UZBL Rugged Snap Case Dell 3100 2in1 & 5190 2in1         $0.00          0.00%      42.00
               Blade X Max (Z983) Battery                                                                                                      $4.55          0.00%       1.00
               BT-A732CCS-BLK                                                         BumpTech for Acer Chromebook C733                   $13,140.75          0.15%   1,018.00
               BT-DL3180CS-BLK                                                        Dell Chromebook 11“ 3180 CS - BumpTech - Black $2,424.55                0.03%     184.00
               CB 10e (82AM) Camera [Rear]                                                                                                    $20.97          0.00%       3.00
               CB 10e (82AM) LCD EDP Cable                                                                                                   $761.53          0.01%      47.00
               CB 10e (82AM) Motherboard                                                                                                  $16,620.98          0.19%     110.00
               CB 11 (100e 81ER) Battery                                                                                                  $15,726.75          0.18%     717.00
               CB 11 (100e 81ER) Camera                                                                                                      $716.96          0.01%     247.00
               CB 11 (100e 81ER) Daughterboard                                                                                             $2,150.87          0.02%     273.00
               CB 11 (100e 81ER) Daughterboard Flex Set                                                                                      $260.70          0.00%     222.00
               CB 11 (100e 81ER) Hinge Set*                                                                                                   $44.34          0.00%       4.00
               CB 11 (100e 81ER) Hinge [Left]                                                                                                  $1.76          0.00%     119.00
               CB 11 (100e 81ER) Hinge [Right]                                                                                                $29.06          0.00%     153.00
               CB 11 (100e 81ER) Housing [Base]                                                                                            $1,106.02          0.01%     250.00
               CB 11 (100e 81ER) Housing [LCD Bezel]                                                                                       $1,995.89          0.02%     249.00
               CB 11 (100e 81ER) Housing [LCD Rear Cover]                                                                                  $4,002.11          0.05%     308.00
               CB 11 (100e 81ER) LCD Cable                                                                                                   $154.35          0.00%     142.00
               CB 11 (100e 81ER) Motherboard [4GB][32GB]                                                                                   $7,930.37          0.09%      56.00
               CB 11 (100e 81ER) Palmrest w/ Keyboard                                                                                      $1,771.64          0.02%      92.00
               CB 11 (100e 81ER) Palmrest w/ Keyboard + Trackpad                                                                           $6,492.24          0.07%     256.00
               CB 11 (100e 81ER) Screw Set                                                                                                    $38.22          0.00%     243.00
               CB 11 (100e 81ER) Speaker Set                                                                                                   $7.13          0.00%     238.00
               CB 11 (100e 81ER) Trackpad                                                                                                    $979.14          0.01%     767.00
               CB 11 (100e 81ER) Trackpad Flex                                                                                                $28.28          0.00%     380.00
               CB 11 (100e 81ER) USB Bracket                                                                                                   $0.92          0.00%     140.00
               CB 11 (100e 81ER) Wi-FI Card                                                                                                  $172.01          0.00%     253.00
               CB 11 (100e 81MA) Camera [Front]                                                                                              $740.72          0.01%      49.00
               CB 11 (100e 81MA) Daughterboard                                                                                               $195.74          0.00%      13.00
               CB 11 (100e 81MA) Daughterboard Flex                                                                                           $10.78          0.00%      12.00
               CB 11 (100e 81MA) Hinge Set*                                                                                                  $190.78          0.00%      18.00
               CB 11 (100e 81MA) Hinge [Left]                                                                                                 $33.56          0.00%      13.00
               CB 11 (100e 81MA) Hinge [Right]                                                                                                 $0.00          0.00%       9.00
               CB 11 (100e 81MA) Housing [Base]                                                                                            $4,912.59          0.06%     431.00
               CB 11 (100e 81MA) Housing [LCD Bezel]                                                                                       $2,687.76          0.03%     429.00
               CB 11 (100e 81MA) Housing [LCD Rear Cover]                                                                                    $342.58          0.00%      30.00
               CB 11 (100e 81MA) LCD Cable                                                                                                     $0.00          0.00%      14.00
               CB 11 (100e 81MA) Motherboard                                                                                              $11,861.04          0.14%      86.00
               CB 11 (100e 81MA) Palmrest w/ Keyboard and Trackpad*                                                                        $2,106.07          0.02%      75.00
               CB 11 (100e 81MA) Screw Set                                                                                                     $0.00          0.00%      11.00
               CB 11 (100e 81MA) Speaker Set                                                                                                 $104.30          0.00%      23.00
               CB 11 (100e 81MA) Trackpad                                                                                                      $9.20          0.00%     158.00
               CB 11 (100e 81MA) Trackpad Flex                                                                                                 $4.06          0.00%      49.00
               CB 11 (100e 81MA) Wi-Fi Card                                                                                                    $1.04          0.00%       1.00
               CB 11 (100e 81QB) AC Adapter                                                                                                   $48.82          0.00%       2.00
               CB 11 (100e 81QB) Battery                                                                                                  $10,935.87          0.13%   1,194.00
               CB 11 (100e 81QB) Camera                                                                                                   $10,828.34          0.13%   2,003.00
               CB 11 (100e 81QB) Daughterboard                                                                                             $2,860.38          0.03%     723.00
               CB 11 (100e 81QB) Daughterboard Flex                                                                                        $1,512.02          0.02%   1,539.00
               CB 11 (100e 81QB) Hinge Set*                                                                                                $1,321.40          0.02%     165.00
               CB 11 (100e 81QB) Hinge [Left]                                                                                              $4,282.53          0.05%   1,791.00
               CB 11 (100e 81QB) Hinge [Right]                                                                                             $3,847.42          0.04%   1,133.00
               CB 11 (100e 81QB) Housing [Base]                                                                                            $5,502.27          0.06%   1,283.00
               CB 11 (100e 81QB) Housing [LCD Bezel]                                                                                       $5,635.97          0.07%   1,012.00
               CB 11 (100e 81QB) Housing [LCD Rear Cover]                                                                                 $13,184.88          0.15%   1,229.00
               CB 11 (100e 81QB) LCD Cable                                                                                                 $2,929.50          0.03%   1,563.00
               CB 11 (100e 81QB) Motherboard                                                                                                 $984.53          0.01%      22.00
               CB 11 (100e 81QB) Palmrest w/ Keyboard                                                                                      $9,613.61          0.11%     916.00
               CB 11 (100e 81QB) Palmrest w/ Keyboard and Trackpad                                                                        $22,138.53          0.26%     857.00
               CB 11 (100e 81QB) Screw Set                                                                                                   $156.34          0.00%     957.00
               CB 11 (100e 81QB) Speaker Set                                                                                               $3,833.38          0.04%   1,855.00
               CB 11 (100e 81QB) Trackpad                                                                                                  $6,994.22          0.08%   3,829.00
               CB 11 (100e 81QB) Trackpad Flex                                                                                             $4,277.62          0.05%   1,872.00
               CB 11 (100e 81QB) Wi-Fi Antenna                                                                                                 $0.00          0.00%      80.00
               CB 11 (100e 81QB) Wi-Fi Card                                                                                                  $163.70          0.00%      10.00
               CB 11 (100e 82CD) AST Battery                                                                                              $10,513.59          0.12%     561.00
               CB 11 (100e 82CD) AST Camera                                                                                                   $83.82          0.00%     155.00
               CB 11 (100e 82CD) AST Daughterboard                                                                                         $2,362.00          0.03%     221.00
               CB 11 (100e 82CD) AST Daughterboard Flex Set                                                                                  $158.87          0.00%     229.00
               CB 11 (100e 82CD) AST Hinge Set*                                                                                              $379.76          0.00%      38.00
               CB 11 (100e 82CD) AST Hinge [Left]                                                                                            $772.41          0.01%     226.00
               CB 11 (100e 82CD) AST Hinge [Right]                                                                                            $25.70          0.00%      24.00
               CB 11 (100e 82CD) AST Housing [Base]                                                                                        $1,378.57          0.02%     151.00
               CB 11 (100e 82CD) AST Housing [LCD Bezel]                                                                                     $132.78          0.00%      14.00
               CB 11 (100e 82CD) AST Housing [LCD Rear Cover]                                                                              $4,723.16          0.05%     317.00
               CB 11 (100e 82CD) AST LCD Cable                                                                                                $22.34          0.00%      54.00
               CB 11 (100e 82CD) AST Motherboard                                                                                          $12,264.93          0.14%     138.00
               CB 11 (100e 82CD) AST Palmrest w/ Keyboard                                                                                     $64.41          0.00%      47.00
               CB 11 (100e 82CD) AST Palmrest w/ Keyboard and Trackpad                                                                     $1,115.55          0.01%      50.00
               CB 11 (100e 82CD) AST Screw Set                                                                                               $170.88          0.00%     299.00
               CB 11 (100e 82CD) AST Speaker Set                                                                                             $213.35          0.00%     317.00
               CB 11 (100e 82CD) AST Thermalpad Mylar                                                                                      $1,057.74          0.01%     102.00
               CB 11 (100e 82CD) AST Trackpad                                                                                                 $70.95          0.00%     186.00
               CB 11 (100e 82CD) AST Trackpad Cable                                                                                           $89.00          0.00%     604.00
               CB 11 (100e 82CD) AST USB Bracket                                                                                               $1.84          0.00%     112.00
               CB 11 (100e 82CD) AST Wi-Fi Card                                                                                                $0.00          0.00%      28.00
               CB 11 (300e 81H0) Battery                                                                                                  $10,063.97          0.12%     377.00
               CB 11 (300e 81H0) Camera                                                                                                    $3,496.88          0.04%     502.00
               CB 11 (300e 81H0) Daughterboard                                                                                             $7,700.97          0.09%     433.00
               CB 11 (300e 81H0) Daughterboard Flex                                                                                           $67.64          0.00%      22.00
               CB 11 (300e 81H0) G Sensor Board                                                                                                $0.00          0.00%     160.00
               CB 11 (300e 81H0) Hinge Cover Rubber                                                                                          $425.40          0.00%      62.00
               CB 11 (300e 81H0) Hinge [Left]                                                                                                 $19.33          0.00%     253.00
               CB 11 (300e 81H0) Hinge [Right]                                                                                                $17.39          0.00%     108.00




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               CB 11 (300e 81H0) Housing [Base]                                                                      $9,544.34   0.11%     911.00
               CB 11 (300e 81H0) Housing [LCD Rear Cover]                                                           $26,537.47   0.31%   2,080.00
               CB 11 (300e 81H0) LCD Cable                                                                           $4,257.38   0.05%     734.00
               CB 11 (300e 81H0) LCD Panel (Non-Touch)                                                                 $176.39   0.00%       3.00
               CB 11 (300e 81H0) LCD w/ Digitizer                                                                   $29,639.77   0.34%     564.00
               CB 11 (300e 81H0) Motherboard [4GB][32GB] Non-Touch                                                   $5,616.41   0.06%      33.00
               CB 11 (300e 81H0) Motherboard [4GB][32GB] Touch                                                       $3,019.88   0.03%      74.00
               CB 11 (300e 81H0) Palmrest w/ Keyboard                                                                $3,462.42   0.04%     399.00
               CB 11 (300e 81H0) Palmrest w/ Keyboard and Trackpad*                                                  $3,258.59   0.04%     113.00
               CB 11 (300e 81H0) Rubber Feet                                                                             $0.00   0.00%       6.00
               CB 11 (300e 81H0) Screw Set                                                                             $923.51   0.01%     383.00
               CB 11 (300e 81H0) Speaker Set                                                                         $2,481.40   0.03%     649.00
               CB 11 (300e 81H0) Spine Cover                                                                           $218.90   0.00%     175.00
               CB 11 (300e 81H0) Trackpad                                                                              $475.25   0.01%     370.00
               CB 11 (300e 81H0) Trackpad Flex                                                                         $746.13   0.01%     638.00
               CB 11 (300e 81H0) Wi-Fi Card                                                                            $645.00   0.01%     100.00
               CB 11 (300e 81MB) Battery                                                                                $46.59   0.00%      17.00
               CB 11 (300e 81MB) Camera                                                                                  $2.28   0.00%       9.00
               CB 11 (300e 81MB) Camera Cable [Palmrest]                                                                 $0.00   0.00%      45.00
               CB 11 (300e 81MB) Camera [WFC]                                                                            $0.23   0.00%      47.00
               CB 11 (300e 81MB) Daughterboard w/ Flex Set                                                             $159.90   0.00%      10.00
               CB 11 (300e 81MB) G Sensor Board                                                                          $0.82   0.00%      26.00
               CB 11 (300e 81MB) Hinge Cover Rubber                                                                      $0.00   0.00%       2.00
               CB 11 (300e 81MB) Hinge [Left]                                                                           $16.22   0.00%      69.00
               CB 11 (300e 81MB) Hinge [Right]                                                                           $5.30   0.00%      24.00
               CB 11 (300e 81MB) Housing [Base]                                                                         $29.04   0.00%      35.00
               CB 11 (300e 81MB) Housing [LCD Rear Cover]                                                               $71.61   0.00%      18.00
               CB 11 (300e 81MB) LCD Cable                                                                               $0.64   0.00%       3.00
               CB 11 (300e 81MB) LCD Cable (Touch)                                                                     $748.20   0.01%     166.00
               CB 11 (300e 81MB) LCD w/ Digitizer                                                                       $11.06   0.00%       3.00
               CB 11 (300e 81MB) Motherboard                                                                         $2,308.31   0.03%      19.00
               CB 11 (300e 81MB) Palmrest w/ Keyboard                                                                  $506.59   0.01%      21.00
               CB 11 (300e 81MB) Screw Set                                                                               $0.00   0.00%      59.00
               CB 11 (300e 81MB) Speaker Set                                                                             $0.00   0.00%      64.00
               CB 11 (300e 81MB) Spine Cover Rubber                                                                      $0.00   0.00%      12.00
               CB 11 (300e 81MB) Trackpad                                                                              $621.96   0.01%     297.00
               CB 11 (300e 81MB) Trackpad Flex                                                                          $98.72   0.00%      88.00
               CB 11 (300e 81MB) USB Bracket                                                                             $0.00   0.00%      29.00
               CB 11 (300e 81QC) Battery                                                                             $3,267.22   0.04%     271.00
               CB 11 (300e 81QC) Camera                                                                                $553.61   0.01%     584.00
               CB 11 (300e 81QC) Daughterboard                                                                       $6,948.35   0.08%     556.00
               CB 11 (300e 81QC) Daughterboard Flex                                                                    $218.45   0.00%     763.00
               CB 11 (300e 81QC) Hinge Rubber                                                                            $0.00   0.00%     134.00
               CB 11 (300e 81QC) Hinge Set*                                                                          $1,909.51   0.02%     107.00
               CB 11 (300e 81QC) Hinge [Left]                                                                        $3,014.54   0.03%     921.00
               CB 11 (300e 81QC) Hinge [Right]                                                                       $2,780.09   0.03%     943.00
               CB 11 (300e 81QC) Housing [Base]                                                                      $3,315.82   0.04%     513.00
               CB 11 (300e 81QC) Housing [LCD Rear Cover]                                                              $549.58   0.01%      33.00
               CB 11 (300e 81QC) LCD Cable                                                                           $1,778.29   0.02%     713.00
               CB 11 (300e 81QC) LCD w/ Camera Cable                                                                 $1,011.44   0.01%     120.00
               CB 11 (300e 81QC) LCD w/ Digitizer                                                                   $13,091.32   0.15%     152.00
               CB 11 (300e 81QC) Motherboard [4GB] [32GB]                                                            $4,217.43   0.05%      65.00
               CB 11 (300e 81QC) Palmrest w/ Keyboard                                                                $1,937.31   0.02%     311.00
               CB 11 (300e 81QC) Palmrest w/ Keyboard and Trackpad                                                  $11,254.95   0.13%     431.00
               CB 11 (300e 81QC) Palmrest w/ Keyboard and Trackpad (w/ Trackpad Flex)                                $1,359.03   0.02%      89.00
               CB 11 (300e 81QC) Screw Set                                                                              $28.79   0.00%     713.00
               CB 11 (300e 81QC) Sensor Board                                                                           $17.34   0.00%     742.00
               CB 11 (300e 81QC) Speaker Set                                                                         $3,515.75   0.04%     814.00
               CB 11 (300e 81QC) Spine Cover                                                                           $752.62   0.01%     370.00
               CB 11 (300e 81QC) Spine Cover Rubber                                                                      $0.00   0.00%     107.00
               CB 11 (300e 81QC) Trackpad                                                                               $10.46   0.00%      10.00
               CB 11 (300e 81QC) Trackpad Cable                                                                      $2,084.15   0.02%     721.00
               CB 11 (300e 81QC) Wi-Fi Cable                                                                             $0.00   0.00%     143.00
               CB 11 (300e 82CE) Battery                                                                             $1,238.58   0.01%      66.00
               CB 11 (300e 82CE) Daughterboard                                                                       $5,534.94   0.06%     273.00
               CB 11 (300e 82CE) Daughterboard Flex                                                                     $89.90   0.00%      10.00
               CB 11 (300e 82CE) Hinge Set*                                                                            $546.02   0.01%      31.00
               CB 11 (300e 82CE) Hinge [Left]                                                                        $2,527.32   0.03%     362.00
               CB 11 (300e 82CE) Hinge [Right]                                                                       $1,576.12   0.02%     248.00
               CB 11 (300e 82CE) Housing [Base]                                                                          $0.00   0.00%      15.00
               CB 11 (300e 82CE) Housing [Hinge Cover]                                                                 $486.00   0.01%     162.00
               CB 11 (300e 82CE) Housing [LCD Bezel]                                                                   $310.00   0.00%      31.00
               CB 11 (300e 82CE) Housing [LCD Rear Cover]                                                            $3,700.33   0.04%     243.00
               CB 11 (300e 82CE) LCD w/ Digitizer                                                                    $4,465.00   0.05%      47.00
               CB 11 (300e 82CE) Palmrest w/ Keyboard                                                                $1,657.01   0.02%     140.00
               CB 11 (300e 82CE) Palmrest w/ Keyboard (w/ Cutout)                                                      $380.28   0.00%      16.00
               CB 11 (300e 82CE) Palmrest w/ Keyboard and Trackpad                                                   $2,160.37   0.02%      77.00
               CB 11 (300e 82CE) Screw Set                                                                              $14.98   0.00%       9.00
               CB 11 (300e 82CE) Sensor Board                                                                            $0.00   0.00%      19.00
               CB 11 (300e 82CE) Speaker Set                                                                           $370.55   0.00%      77.00
               CB 11 (300e 82CE) Spine Cover                                                                             $0.00   0.00%      18.00
               CB 11 (300e 82CE) Spine Cover Rubber                                                                      $0.00   0.00%       9.00
               CB 11 (300e 82CE) Trackpad                                                                                $0.13   0.00%      13.00
               CB 11 (300e 82CE) Trackpad Flex                                                                           $0.00   0.00%      50.00
               CB 11 (300e 82CE) World Facing Camera (w/ Cable)                                                          $0.00   0.00%       6.00
               CB 11 (3100 2-in-1) LCD Assembly                                                                         $55.13   0.00%       1.00
               CB 11 (3100 2-in-1) LCD Panel                                                                           $119.99   0.00%       1.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) AC Adapter                                                            $46.51   0.00%       2.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Battery                                                            $2,157.36   0.02%     103.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Battery (Non-DB)                                                   $2,102.15   0.02%      61.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Battery Cable                                                      $1,280.15   0.01%     267.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Camera Cable (WFC)                                                   $482.12   0.01%      68.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Camera [Front]                                                       $881.16   0.01%     253.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Daughterboard                                                      $1,037.93   0.01%     211.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Daughterboard Flex Set                                                 $0.00   0.00%     127.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Daughterboard Flex [30 Pin]                                           $19.88   0.00%      28.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Hinge Set*                                                           $847.45   0.01%     106.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Hinge [Left]                                                         $191.84   0.00%     290.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Hinge [Right]                                                        $189.41   0.00%     296.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [Base]                                                     $1,952.45   0.02%     236.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [LCD Bezel]                                                $3,745.43   0.04%     236.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [LCD Rear Cover]                                           $1,285.70   0.01%      74.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Keyboard                                                             $916.99   0.01%     118.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Keyboard (Philly)                                                  $1,439.55   0.02%      90.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) LCD Cable                                                          $1,148.19   0.01%     269.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB] [32GB] w/ DB Connector - 0W1C7C                  $2,103.14   0.02%      24.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB][16GB] (Non-Touch) - 0GD6HC                       $1,780.34   0.02%      16.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB][16GB] (Non-Touch) w/ DB Connector - 01Y3PF       $1,452.25   0.02%      24.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest                                                           $1,563.85   0.02%     125.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest (w/ Cutout)                                               $7,986.80   0.09%     306.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest w/ Keyboard                                               $2,214.17   0.03%      64.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest w/ Keyboard (w/ Cutout)                                   $1,494.20   0.02%      41.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest w/ Keyboard and Trackpad*                                    $53.09   0.00%       1.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Screw Set                                                            $413.28   0.00%     275.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Speaker Set                                                          $411.83   0.00%     403.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Trackpad                                                           $1,115.68   0.01%     419.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Trackpad Bracket                                                      $19.17   0.00%     151.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Trackpad Flex                                                         $60.49   0.00%     314.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Type-C Power Cable                                                    $22.08   0.00%     188.00




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               CB 11 (3100 P29T Non-Touch)(TC6KM) Wi-Fi Antenna Cable                                                                                 $226.62    0.00%      75.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Wi-Fi Card                                                                                        $1,276.00    0.01%      44.00
               CB 11 (3100 P29T Touch)(30J93) Battery                                                                                                    $6.10   0.00%      29.00
               CB 11 (3100 P29T Touch)(30J93) Battery Cable                                                                                              $0.00   0.00%     128.00
               CB 11 (3100 P29T Touch)(30J93) Camera [Front]                                                                                        $1,031.37    0.01%     395.00
               CB 11 (3100 P29T Touch)(30J93) Daughterboard                                                                                             $13.39   0.00%     237.00
               CB 11 (3100 P29T Touch)(30J93) Daughterboard Flex Set                                                                                     $0.00   0.00%     265.00
               CB 11 (3100 P29T Touch)(30J93) Daughterboard Flex [30 Pin]                                                                                $0.00   0.00%       5.00
               CB 11 (3100 P29T Touch)(30J93) Daughterboard Flex [40 Pin]                                                                                $0.00   0.00%       8.00
               CB 11 (3100 P29T Touch)(30J93) Hinge Set*                                                                                                $77.00   0.00%      11.00
               CB 11 (3100 P29T Touch)(30J93) Hinge [Left]                                                                                               $0.00   0.00%     291.00
               CB 11 (3100 P29T Touch)(30J93) Hinge [Right]                                                                                              $0.00   0.00%     285.00
               CB 11 (3100 P29T Touch)(30J93) Housing [Base]                                                                                             $0.00   0.00%     194.00
               CB 11 (3100 P29T Touch)(30J93) Housing [LCD Bezel]                                                                                        $0.00   0.00%     157.00
               CB 11 (3100 P29T Touch)(30J93) Housing [LCD Rear Cover]                                                                                   $0.00   0.00%      21.00
               CB 11 (3100 P29T Touch)(30J93) Keyboard                                                                                                $525.74    0.01%     148.00
               CB 11 (3100 P29T Touch)(30J93) LCD Cable                                                                                                 $40.92   0.00%     108.00
               CB 11 (3100 P29T Touch)(30J93) LCD Panel                                                                                               $575.29    0.01%       9.00
               CB 11 (3100 P29T Touch)(30J93) Motherboard [4GB] [32GB] w/ DB Connector - 0W1C7C                                                       $761.98    0.01%      17.00
               CB 11 (3100 P29T Touch)(30J93) Palmrest                                                                                                   $0.00   0.00%      17.00
               CB 11 (3100 P29T Touch)(30J93) Palmrest (w/ Cutout)                                                                                       $0.00   0.00%     136.00
               CB 11 (3100 P29T Touch)(30J93) Screw Set                                                                                                  $0.00   0.00%     266.00
               CB 11 (3100 P29T Touch)(30J93) Speaker Set                                                                                                $0.00   0.00%     289.00
               CB 11 (3100 P29T Touch)(30J93) Trackpad                                                                                                   $0.00   0.00%     217.00
               CB 11 (3100 P29T Touch)(30J93) Trackpad Bracket                                                                                           $0.00   0.00%     206.00
               CB 11 (3100 P29T Touch)(30J93) Trackpad Flex                                                                                              $0.00   0.00%     296.00
               CB 11 (3100 P29T Touch)(30J93) Type-C Power Cable                                                                                         $0.00   0.00%     289.00
               CB 11 (3100 P29T Touch)(30J93) Wi-Fi Antenna Cable                                                                                        $0.00   0.00%      97.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Battery                                                                                              $6,204.17    0.07%     265.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Battery Cable                                                                                          $122.34    0.00%     346.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Camera Cable [Palmrest]                                                                                $397.75    0.00%     276.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Camera [Front]                                                                                       $3,977.51    0.05%     601.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Camera [Palmrest]                                                                                      $695.21    0.01%     276.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Daughterboard                                                                                          $225.01    0.00%     255.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Daughterboard Flex Set                                                                                 $483.90    0.01%     421.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) G Sensor Board                                                                                         $336.54    0.00%     355.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) G Sensor Cable                                                                                         $334.92    0.00%     441.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Hinge Set*                                                                                             $447.72    0.01%      28.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Hinge [Left]                                                                                             $98.02   0.00%     383.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Hinge [Right]                                                                                            $61.31   0.00%     372.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Housing [Base]                                                                                         $975.10    0.01%     211.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Housing [LCD Rear Cover]                                                                             $2,472.72    0.03%     196.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Keyboard                                                                                               $685.21    0.01%     199.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) LCD Cable                                                                                              $414.64    0.00%     237.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) LCD w/ Digitizer                                                                                          $0.00   0.00%       1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Motherboard [4GB][32GB] - 0R2K1H                                                                       $634.53    0.01%       6.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Motherboard [4GB][32GB] w/ WFC Connector - 0FNMF1                                                    $1,762.43    0.02%      19.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest                                                                                             $4,079.84    0.05%     300.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest (w/ WFC)                                                                                         $0.00   0.00%      90.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Keyboard                                                                                   $247.25    0.00%      12.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Keyboard (w/ WFC)                                                                            $33.99   0.00%       1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Trackpad                                                                                     $60.08   0.00%       3.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Screw Set                                                                                                 $5.64   0.00%     503.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Speaker Set                                                                                            $173.36    0.00%     360.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Trackpad                                                                                               $213.07    0.00%     271.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Trackpad Bracket                                                                                       $929.58    0.01%     442.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Trackpad Flex                                                                                          $645.56    0.01%     541.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Type-C Power Cable                                                                                     $894.57    0.01%     520.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Wi-Fi Antenna Cable                                                                                       $0.00   0.00%      79.00
               CB 11 (3100) Palmrest                                                                                                                     $2.00   0.00%       1.00
               CB 11 (3120) Camera                                                                                                                      $19.96   0.00%       4.00
               CB 11 (3120) Camera Cable                                                                                                                 $2.99   0.00%       1.00
               CB 11 (3120) Daughterboard Flex                                                                                                           $1.15   0.00%       1.00
               CB 11 (3120) DC Jack                                                                                                                     $26.85   0.00%      35.00
               CB 11 (3120) Hinge Set*                                                                                                                   $0.00   0.00%       1.00
               CB 11 (3120) Hinge [Left]                                                                                                                 $5.98   0.00%       1.00
               CB 11 (3120) Hinge [Right]                                                                                                                $5.52   0.00%       1.00
               CB 11 (3120) Housing [Base]                                                                                                            $219.65    0.00%      17.00
               CB 11 (3120) Housing [LCD Bezel]                                                                                                         $13.73   0.00%       1.00
               CB 11 (3120) Housing [LCD Bezel] (Touch)                                                                                                  $0.00   0.00%       1.00
               CB 11 (3120) LCD Cable                                                                                                                    $0.46   0.00%       1.00
               CB 11 (3120) LCD Panel                                                                                                                 $663.06    0.01%      10.00
               CB 11 (3120) LCD Panel (Touch)                                                                                                         $633.82    0.01%      11.00
               CB 11 (3120) LED Board                                                                                                                    $6.67   0.00%       1.00
               CB 11 (3120) Motherboard [4GB] [32GB]                                                                                                $2,932.95    0.03%      64.00
               CB 11 (3120) Palmrest w/ Keyboard                                                                                                        $48.00   0.00%       1.00
               CB 11 (3120) Palmrest w/ Keyboard and Trackpad*                                                                                          $35.99   0.00%       1.00
               CB 11 (3120) Screw Set                                                                                                                    $6.90   0.00%       1.00
               CB 11 (3120) Speaker Set                                                                                                                 $11.90   0.00%       1.00
               CB 11 (3120) Trackpad                                                                                                                     $5.52   0.00%       6.00
               CB 11 (3120) Trackpad Flex                                                                                                                $2.53   0.00%       3.00
               CB 11 (3180) Audio Board                                                                                                             $3,878.74    0.04%     370.00
               CB 11 (3180) Audio Board Flex                                                                                                          $417.55    0.00%     408.00
               CB 11 (3180) Battery                                                                                                                   $793.54    0.01%     107.00
               CB 11 (3180) Battery Cable                                                                                                             $291.28    0.00%     116.00
               CB 11 (3180) Camera                                                                                                                  $1,952.26    0.02%   4,192.00
               CB 11 (3180) Camera and LED Board                                                                                                    $1,097.52    0.01%      68.00
               CB 11 (3180) Daughterboard (USB)                                                                                                          $9.66   0.00%      14.00
               CB 11 (3180) DC Jack                                                                                                                   $338.69    0.00%     133.00
               CB 11 (3180) Hinge [Left]                                                                                                            $1,566.76    0.02%   4,505.00
               CB 11 (3180) Hinge [Right]                                                                                                           $2,012.23    0.02%   4,980.00
               CB 11 (3180) Housing [Base]                                                                                                          $4,063.68    0.05%     344.00
               CB 11 (3180) Housing [Hinge Cover]                                                                                                   $2,429.39    0.03%     340.00
               CB 11 (3180) Housing [Hinge Cover] Set*                                                                                                $207.47    0.00%      67.00
               CB 11 (3180) Housing [LCD Bezel]                                                                                                       $460.77    0.01%     163.00
               CB 11 (3180) Housing [LCD Rear Cover]                                                                                                  $967.31    0.01%     122.00
               CB 11 (3180) Housing [LCD Rear Cover] (Touch)                                                                                             $7.30   0.00%      23.00
               CB 11 (3180) Keyboard                                                                                                                $5,282.49    0.06%   2,015.00
               CB 11 (3180) LCD Cable                                                                                                               $2,553.34    0.03%   4,377.00
               CB 11 (3180) LCD Cable (Touch)                                                                                                         $133.70    0.00%       9.00
               CB 11 (3180) LED Board                                                              CB 11 (3180) LED Board without the camera component.
                                                                                                                                                    $1,935.34    0.02%   4,528.00
               CB 11 (3180) Motherboard [4GB] [32GB]                                                                                                $8,742.66    0.10%     189.00
               CB 11 (3180) Palmrest                                                                                                                $5,901.42    0.07%     609.00
               CB 11 (3180) Screw Kit                                                                                                                 $153.50    0.00%     121.00
               CB 11 (3180) Speaker Set                                                                                                               $305.16    0.00%     126.00
               CB 11 (3180) Trackpad                                                                                                                $2,464.86    0.03%   1,367.00
               CB 11 (3180) Trackpad Flex                                                                                                           $1,020.10    0.01%   1,153.00
               CB 11 (3181) Hinge [Right]                                                                                                                $3.76   0.00%       2.00
               CB 11 (3189) Antenna Cable                                                                                                               $66.00   0.00%      22.00
               CB 11 (3189) Battery                                                                                                                 $3,412.52    0.04%     132.00
               CB 11 (3189) Battery Cable                                                                                                             $196.24    0.00%      99.00
               CB 11 (3189) Board Set (Power w/ Audio)                                                                                              $9,584.96    0.11%     176.00
               CB 11 (3189) Board Set (Power w/ Audio) Cable                                                                                            $91.90   0.00%      16.00
               CB 11 (3189) Camera [Front]                                                                                                          $1,282.68    0.01%      91.00
               CB 11 (3189) Camera [Palmrest]                                                                                                         $305.10    0.00%      27.00
               CB 11 (3189) DC Jack                                                                                                                     $37.36   0.00%       7.00
               CB 11 (3189) Digitizer Board                                                                                                             $11.04   0.00%      16.00
               CB 11 (3189) G Sensor Board                                                                                                               $4.50   0.00%       6.00
               CB 11 (3189) Hinge Set*                                                                                                              $3,777.67    0.04%     178.00




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               CB 11 (3189) Hinge [Left]                                                                             $428.26   0.00%   161.00
               CB 11 (3189) Hinge [Right]                                                                            $333.85   0.00%   210.00
               CB 11 (3189) Housing [Base]                                                                         $2,038.38   0.02%   139.00
               CB 11 (3189) Housing [LCD Rear Cover]                                                                  $70.67   0.00%     3.00
               CB 11 (3189) Keyboard                                                                               $1,182.74   0.01%   210.00
               CB 11 (3189) LCD Assembly                                                                           $2,849.64   0.03%    55.00
               CB 11 (3189) LCD Cable                                                                                 $78.91   0.00%    21.00
               CB 11 (3189) LCD w/ Digitizer                                                                       $2,899.14   0.03%    54.00
               CB 11 (3189) LED Board                                                                                $290.92   0.00%    50.00
               CB 11 (3189) Motherboard [4GB] [16GB]                                                               $1,092.82   0.01%    27.00
               CB 11 (3189) Motherboard [4GB] [32GB]                                                               $3,063.94   0.04%    60.00
               CB 11 (3189) Motherboard [4GB] [64GB]                                                               $6,381.53   0.07%    85.00
               CB 11 (3189) Palmrest                                                                               $4,991.67   0.06%   347.00
               CB 11 (3189) Power Board                                                                            $1,257.15   0.01%   128.00
               CB 11 (3189) Proximity Board Cable                                                                     $20.01   0.00%    29.00
               CB 11 (3189) Sensor Board Cable                                                                        $53.65   0.00%     4.00
               CB 11 (3189) Trackpad                                                                                 $632.17   0.01%   253.00
               CB 11 (3189) Trackpad Flex                                                                            $223.02   0.00%   144.00
               CB 11 (500e 81ES) Battery                                                                           $1,642.07   0.02%    80.00
               CB 11 (500e 81ES) Camera Cable [Palmrest]                                                               $1.67   0.00%    45.00
               CB 11 (500e 81ES) Camera [Front]                                                                    $1,329.21   0.02%   140.00
               CB 11 (500e 81ES) Camera [Palmrest]                                                                     $9.89   0.00%    36.00
               CB 11 (500e 81ES) Daughterboard                                                                     $2,387.49   0.03%   186.00
               CB 11 (500e 81ES) Daughterboard Flex Set                                                              $327.50   0.00%    80.00
               CB 11 (500e 81ES) G Sensor Board                                                                      $330.90   0.00%    60.00
               CB 11 (500e 81ES) Hinge Rubber                                                                          $0.00   0.00%    20.00
               CB 11 (500e 81ES) Hinge [Left]                                                                         $77.00   0.00%    64.00
               CB 11 (500e 81ES) Hinge [Right]                                                                        $98.62   0.00%    49.00
               CB 11 (500e 81ES) Housing [Base]                                                                      $801.32   0.01%    88.00
               CB 11 (500e 81ES) Housing [Hinge Cover]                                                               $501.07   0.01%   139.00
               CB 11 (500e 81ES) Housing [LCD Rear Cover]                                                          $1,154.87   0.01%   104.00
               CB 11 (500e 81ES) LCD Cable                                                                           $716.10   0.01%   124.00
               CB 11 (500e 81ES) LCD w/ Digitizer                                                                  $9,084.03   0.10%   129.00
               CB 11 (500e 81ES) LCD w/ Digitizer (EMR)                                                          $114,550.79   1.32%   659.00
               CB 11 (500e 81ES) Motherboard [4GB] [32GB]                                                            $387.54   0.00%     2.00
               CB 11 (500e 81ES) Palmrest w/ Keyboard                                                              $2,755.46   0.03%   126.00
               CB 11 (500e 81ES) Palmrest w/ Keyboard and Trackpad*                                               $29,071.27   0.34%   852.00
               CB 11 (500e 81ES) Screw Set                                                                             $0.23   0.00%    30.00
               CB 11 (500e 81ES) Speaker Set                                                                       $1,441.89   0.02%   194.00
               CB 11 (500e 81ES) Spine Cover                                                                         $271.36   0.00%    72.00
               CB 11 (500e 81ES) Spine Cover Rubber                                                                    $0.00   0.00%    22.00
               CB 11 (500e 81ES) Stylus                                                                                $0.00   0.00%     2.00
               CB 11 (500e 81ES) Trackpad                                                                            $655.71   0.01%   218.00
               CB 11 (500e 81ES) Trackpad Flex                                                                       $212.39   0.00%   122.00
               CB 11 (500e 81ES) USB Bracket                                                                           $0.00   0.00%    37.00
               CB 11 (500e 81ES) Wi-Fi Card                                                                        $3,169.48   0.04%   542.00
               CB 11 (500e 81MC) AC Adapter                                                                           $25.99   0.00%     1.00
               CB 11 (500e 81MC) Battery                                                                             $121.17   0.00%    25.00
               CB 11 (500e 81MC) Camera Flex [Palmrest]                                                              $103.02   0.00%    80.00
               CB 11 (500e 81MC) Camera [Front]                                                                    $4,181.71   0.05%   396.00
               CB 11 (500e 81MC) Camera [Palmrest]                                                                    $46.37   0.00%    73.00
               CB 11 (500e 81MC) Daughterboard (USB)                                                               $1,015.06   0.01%   733.00
               CB 11 (500e 81MC) Daughterboard (USB) Flex Set                                                         $42.49   0.00%    65.00
               CB 11 (500e 81MC) G Sensor Board                                                                        $0.00   0.00%    59.00
               CB 11 (500e 81MC) Hinge Set*                                                                        $3,755.64   0.04%   232.00
               CB 11 (500e 81MC) Hinge [Left]                                                                        $634.00   0.01%   299.00
               CB 11 (500e 81MC) Hinge [Right]                                                                       $934.91   0.01%   371.00
               CB 11 (500e 81MC) Housing [Base]                                                                       $99.33   0.00%    30.00
               CB 11 (500e 81MC) Housing [Hinge Cover]                                                               $576.73   0.01%   103.00
               CB 11 (500e 81MC) Housing [LCD Rear Cover]                                                          $1,059.81   0.01%    87.00
               CB 11 (500e 81MC) LCD Cable                                                                           $178.84   0.00%    40.00
               CB 11 (500e 81MC) LCD w/ Digitizer (Touch)                                                          $1,104.80   0.01%    89.00
               CB 11 (500e 81MC) LCD w/ Digitizer (Touch) w/ EMR                                                       $0.00   0.00%     7.00
               CB 11 (500e 81MC) Motherboard [4GB][32GB]                                                             $435.28   0.01%     5.00
               CB 11 (500e 81MC) Palmrest w/ Keyboard                                                              $7,952.09   0.09%   468.00
               CB 11 (500e 81MC) Palmrest w/ Keyboard (w/ Cutout)                                                     $50.93   0.00%    11.00
               CB 11 (500e 81MC) Screw Set                                                                             $0.00   0.00%    63.00
               CB 11 (500e 81MC) Speaker Set                                                                         $155.65   0.00%    99.00
               CB 11 (500e 81MC) Spine Cover                                                                           $0.00   0.00%    12.00
               CB 11 (500e 81MC) Spine Cover Rubber                                                                    $0.00   0.00%     7.00
               CB 11 (500e 81MC) Stylus                                                                              $189.65   0.00%    33.00
               CB 11 (500e 81MC) Stylus Sensor w/ Board                                                               $49.94   0.00%    44.00
               CB 11 (500e 81MC) Trackpad                                                                              $4.51   0.00%    13.00
               CB 11 (500e 81MC) Trackpad Flex                                                                       $402.07   0.00%   253.00
               CB 11 (500e 81MC) USB Bracket                                                                           $0.00   0.00%    19.00
               CB 11 (500e 81MC) Wi-Fi Cable                                                                           $0.00   0.00%    11.00
               CB 11 (500e 81MC) Wi-Fi Card                                                                            $0.00   0.00%    17.00
               CB 11 (5190) AC Adapter (2-in-1)                                                                       $45.40   0.00%    10.00
               CB 11 (5190) Battery                                                                                   $48.00   0.00%     3.00
               CB 11 (5190) Battery (2-in-1)                                                                           $0.00   0.00%     1.00
               CB 11 (5190) Battery Cable                                                                             $34.17   0.00%     3.00
               CB 11 (5190) Battery Cable (2-in-1)                                                                    $11.35   0.00%     8.00
               CB 11 (5190) Camera                                                                                   $854.38   0.01%    66.00
               CB 11 (5190) Camera (2-in-1)                                                                           $33.65   0.00%     9.00
               CB 11 (5190) Camera (2-in-1) [Palmrest]                                                                 $0.00   0.00%     4.00
               CB 11 (5190) Camera Cable (WFC)                                                                         $0.00   0.00%     1.00
               CB 11 (5190) Camera Flex (2-in-1) [Palmrest]                                                            $4.54   0.00%     4.00
               CB 11 (5190) Daughterboard                                                                              $0.00   0.00%     3.00
               CB 11 (5190) Daughterboard (2-in-1)                                                                     $1.69   0.00%     4.00
               CB 11 (5190) Daughterboard Flex Set                                                                     $0.00   0.00%     4.00
               CB 11 (5190) Daughterboard Flex Set (2-in-1)                                                           $11.58   0.00%     9.00
               CB 11 (5190) Daughterboard Flex [30 Pin] (2-in-1)                                                       $0.00   0.00%     2.00
               CB 11 (5190) Daughterboard Flex [40 Pin] (2-in-1)                                                       $0.00   0.00%     2.00
               CB 11 (5190) Digitizer Board Cable (2-in-1)                                                             $6.80   0.00%     3.00
               CB 11 (5190) G Sensor (2-in-1)                                                                          $0.00   0.00%     3.00
               CB 11 (5190) G Sensor Cable (2-in-1)                                                                    $6.81   0.00%     7.00
               CB 11 (5190) Hinge [Left]                                                                              $12.65   0.00%    26.00
               CB 11 (5190) Hinge [Left] (2-in-1)                                                                      $0.00   0.00%     5.00
               CB 11 (5190) Hinge [Right]                                                                              $5.75   0.00%     9.00
               CB 11 (5190) Hinge [Right] (2-in-1)                                                                    $56.75   0.00%    10.00
               CB 11 (5190) Housing [Base]                                                                           $359.90   0.00%    10.00
               CB 11 (5190) Housing [Base] (2-in-1)                                                                    $0.00   0.00%     5.00
               CB 11 (5190) Housing [LCD Bezel]                                                                      $243.00   0.00%    27.00
               CB 11 (5190) Housing [LCD Rear Cover]                                                                 $755.72   0.01%    28.00
               CB 11 (5190) Housing [LCD Rear Cover] (2-in-1)                                                        $345.40   0.00%    32.00
               CB 11 (5190) Keyboard                                                                                  $16.63   0.00%    98.00
               CB 11 (5190) Keyboard (2-in-1)                                                                        $463.73   0.01%    74.00
               CB 11 (5190) LCD Assembly (2-in-1)                                                                    $472.75   0.01%    10.00
               CB 11 (5190) LCD Cable                                                                                $145.62   0.00%    31.00
               CB 11 (5190) LCD Cable (Touch)                                                                         $18.77   0.00%     5.00
               CB 11 (5190) LCD Panel (Touch)                                                                        $986.70   0.01%    22.00
               CB 11 (5190) Motherboard (2-in-1)                                                                   $5,595.83   0.06%    58.00
               CB 11 (5190) Palmrest                                                                                 $157.58   0.00%    41.00
               CB 11 (5190) Palmrest (2-in-1)                                                                         $15.92   0.00%     3.00
               CB 11 (5190) Palmrest and Trackpad w/ Cutout (2-in-1)                                                   $0.00   0.00%    12.00
               CB 11 (5190) Palmrest w/ Cutout (2-in-1)                                                                $0.00   0.00%     2.00
               CB 11 (5190) Palmrest w/ Keyboard (2-in-1)                                                              $0.00   0.00%     2.00
               CB 11 (5190) Palmrest w/ Keyboard and Trackpad*                                                     $2,721.75   0.03%    40.00
               CB 11 (5190) Palmrest w/ Keyboard and Trackpad* w/Cutout (2-in-1)                                       $0.00   0.00%    12.00




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               CB 11 (5190) Screw Set                                                                $0.00   0.00%     4.00
               CB 11 (5190) Screw Set w/ Brackets (2-in-1)                                           $0.00   0.00%     8.00
               CB 11 (5190) Speaker Set                                                             $80.42   0.00%    12.00
               CB 11 (5190) Speaker Set (2-in-1)                                                    $34.51   0.00%    12.00
               CB 11 (5190) Trackpad                                                                $39.36   0.00%   124.00
               CB 11 (5190) Trackpad (2-in-1)                                                        $0.46   0.00%     6.00
               CB 11 (5190) Trackpad Bracket (2-in-1)                                                $9.08   0.00%     9.00
               CB 11 (5190) Trackpad Flex                                                            $2.30   0.00%    13.00
               CB 11 (5190) Trackpad Flex (2-in-1)                                                  $11.81   0.00%    70.00
               CB 11 (5190) Wi-Fi Card                                                               $0.00   0.00%     4.00
               CB 11 (5190) Wi-Fi Card (2-in-1)                                                     $25.00   0.00%    10.00
               CB 11 (C202SA) AC Adapter                                                           $116.14   0.00%   145.00
               CB 11 (C202SA) Battery                                                            $3,334.08   0.04%   523.00
               CB 11 (C202SA) Battery Bracket                                                    $1,358.13   0.02%   665.00
               CB 11 (C202SA) Camera                                                             $1,034.95   0.01%   417.00
               CB 11 (C202SA) Daughterboard                                                      $4,309.92   0.05%   614.00
               CB 11 (C202SA) Daughterboard Flex                                                 $1,746.30   0.02%   655.00
               CB 11 (C202SA) Heatsink                                                             $305.33   0.00%   111.00
               CB 11 (C202SA) Hinge Set*                                                           $159.47   0.00%    26.00
               CB 11 (C202SA) Hinge [Left]                                                       $1,645.62   0.02%   547.00
               CB 11 (C202SA) Hinge [Right]                                                      $1,553.78   0.02%   572.00
               CB 11 (C202SA) Housing [Base] - Black                                             $2,165.88   0.03%   374.00
               CB 11 (C202SA) Housing [Base] - Blue                                              $1,645.36   0.02%   197.00
               CB 11 (C202SA) Housing [Hinge Cover] - Black                                      $4,243.83   0.05%   304.00
               CB 11 (C202SA) Housing [Hinge Cover] - Blue                                          $92.35   0.00%    60.00
               CB 11 (C202SA) Housing [LCD Bezel] - Black                                          $976.16   0.01%   253.00
               CB 11 (C202SA) Housing [LCD Bezel] - Blue                                         $1,485.70   0.02%   195.00
               CB 11 (C202SA) Housing [LCD Rear Cover] - Black                                   $1,156.70   0.01%   178.00
               CB 11 (C202SA) Housing [LCD Rear Cover] - Blue                                    $2,104.26   0.02%   230.00
               CB 11 (C202SA) LCD Cable                                                          $2,622.33   0.03%   497.00
               CB 11 (C202SA) LCD Panel                                                             $51.93   0.00%     2.00
               CB 11 (C202SA) Motherboard [4GB] [32GB]                                          $25,941.88   0.30%   494.00
               CB 11 (C202SA) Palmrest w/ Keyboard - Black                                       $2,829.89   0.03%   257.00
               CB 11 (C202SA) Palmrest w/ Keyboard - Blue                                        $5,600.81   0.06%   158.00
               CB 11 (C202SA) Screw Set                                                            $821.17   0.01%   585.00
               CB 11 (C202SA) Speaker Set                                                        $3,197.57   0.04%   629.00
               CB 11 (C202SA) Trackpad                                                             $300.45   0.00%    61.00
               CB 11 (C202SA) Trackpad - Black                                                     $878.35   0.01%   285.00
               CB 11 (C202SA) Trackpad - Blue                                                    $1,676.04   0.02%   197.00
               CB 11 (C202SA) Trackpad Assembly - Black                                            $253.78   0.00%    59.00
               CB 11 (C202SA) Trackpad Assembly - Blue                                              $12.41   0.00%    17.00
               CB 11 (C202SA) Trackpad Flex                                                      $1,216.77   0.01%   617.00
               CB 11 (C202SA) Wi-Fi Antenna                                                        $195.40   0.00%    93.00
               CB 11 (C202SA) Wi-Fi Card                                                         $2,629.36   0.03%   673.00
               CB 11 (C202XA) Battery                                                                $0.00   0.00%     5.00
               CB 11 (C202XA) Camera                                                                 $0.00   0.00%     4.00
               CB 11 (C202XA) Hinge Cover                                                            $0.00   0.00%     3.00
               CB 11 (C202XA) Hinge [Left]                                                           $0.00   0.00%     5.00
               CB 11 (C202XA) Hinge [Right]                                                          $0.00   0.00%     4.00
               CB 11 (C202XA) Housing [Base]                                                         $0.00   0.00%     5.00
               CB 11 (C202XA) Housing [LCD Bezel]                                                    $0.00   0.00%     5.00
               CB 11 (C202XA) Housing [LCD Rear Cover]                                               $0.00   0.00%     3.00
               CB 11 (C202XA) IO Board                                                               $4.16   0.00%     1.00
               CB 11 (C202XA) IO Board Flex                                                          $0.00   0.00%     5.00
               CB 11 (C202XA) LCD Cable                                                              $0.00   0.00%     4.00
               CB 11 (C202XA) Motherboard [4GB]                                                  $4,516.64   0.05%   102.00
               CB 11 (C202XA) Palmrest w/ Keyboard                                                   $0.00   0.00%    56.00
               CB 11 (C202XA) Screw Set                                                              $0.00   0.00%     5.00
               CB 11 (C202XA) Speaker Set                                                            $0.00   0.00%     5.00
               CB 11 (C202XA) Trackpad                                                               $0.00   0.00%    31.00
               CB 11 (C202XA) Trackpad Flex                                                          $0.00   0.00%     1.00
               CB 11 (C203XA) Battery                                                               $18.42   0.00%    15.00
               CB 11 (C203XA) Camera                                                                $50.59   0.00%    32.00
               CB 11 (C203XA) Daughterboard                                                          $1.28   0.00%     1.00
               CB 11 (C203XA) Daughterboard Flex                                                    $14.49   0.00%    48.00
               CB 11 (C203XA) Hinge Set                                                             $99.09   0.00%   109.00
               CB 11 (C203XA) Housing [Base]                                                       $178.37   0.00%    68.00
               CB 11 (C203XA) Housing [LCD Bezel]                                                   $81.41   0.00%    78.00
               CB 11 (C203XA) Housing [LCD Rear Cover]                                             $173.42   0.00%    96.00
               CB 11 (C203XA) LCD Cable                                                             $38.10   0.00%    56.00
               CB 11 (C203XA) Motherboard [MT8173C][4GB][32GB]                                     $671.72   0.01%     8.00
               CB 11 (C203XA) Screw Set                                                            $113.85   0.00%   108.00
               CB 11 (C203XA) Speaker Set                                                           $30.80   0.00%   107.00
               CB 11 (C203XA) Trackpad                                                               $1.99   0.00%     3.00
               CB 11 (C203XA) Trackpad Flex                                                         $49.01   0.00%   128.00
               CB 11 (C203XA) Wi-Fi Antenna                                                          $0.00   0.00%    17.00
               CB 11 (C204) AC Adapter                                                              $62.96   0.00%    14.00
               CB 11 (C204) Antenna Cable                                                            $0.00   0.00%     5.00
               CB 11 (C204) Battery                                                                $228.33   0.00%    16.00
               CB 11 (C204) Daughterboard                                                           $13.65   0.00%     1.00
               CB 11 (C204) Housing [Base]                                                         $285.31   0.00%    19.00
               CB 11 (C204) Housing [Battery Cover]                                                 $33.85   0.00%    15.00
               CB 11 (C204) Housing [LCD Bezel]                                                    $246.27   0.00%    15.00
               CB 11 (C204) IO board                                                                $66.65   0.00%    10.00
               CB 11 (C204) LCD Cable                                                              $394.94   0.00%    62.00
               CB 11 (C204) Motherboard                                                          $5,023.11   0.06%    50.00
               CB 11 (C204) Palmrest w/ Keyboard                                                 $6,678.36   0.08%   157.00
               CB 11 (C204) Speaker                                                                $268.15   0.00%    30.00
               CB 11 (C204) Trackpad                                                               $241.61   0.00%    19.00
               CB 11 (C204) Trackpad Flex                                                           $41.12   0.00%    32.00
               CB 11 (C204EE) Battery                                                              $734.22   0.01%    72.00
               CB 11 (C204EE) Camera                                                                 $2.09   0.00%    61.00
               CB 11 (C204EE) Daughterboard                                                         $56.14   0.00%    84.00
               CB 11 (C204EE) Daughterboard Flex                                                     $3.70   0.00%    93.00
               CB 11 (C204EE) Heatsink                                                               $0.00   0.00%    73.00
               CB 11 (C204EE) Hinge Set*                                                             $0.00   0.00%     3.00
               CB 11 (C204EE) Hinge [Left]                                                           $0.00   0.00%    25.00
               CB 11 (C204EE) Hinge [Right]                                                          $4.92   0.00%    31.00
               CB 11 (C204EE) Housing [Base Plate]                                                   $2.30   0.00%    34.00
               CB 11 (C204EE) Housing [Base]                                                       $134.47   0.00%    69.00
               CB 11 (C204EE) Housing [LCD Bezel]                                                    $0.15   0.00%    33.00
               CB 11 (C204EE) Housing [LCD Rear Cover]                                             $191.01   0.00%    21.00
               CB 11 (C204EE) LCD Cable                                                             $44.10   0.00%    77.00
               CB 11 (C204EE) Motherboard                                                          $432.29   0.00%     7.00
               CB 11 (C204EE) Palmrest w/ Keyboard                                                   $9.66   0.00%    16.00
               CB 11 (C204EE) Screw Set                                                              $0.00   0.00%    67.00
               CB 11 (C204EE) Speaker Set                                                            $5.12   0.00%    93.00
               CB 11 (C204EE) Trackpad                                                              $98.97   0.00%    65.00
               CB 11 (C204EE) Trackpad Flex                                                          $2.09   0.00%    88.00
               CB 11 (C204EE) Wi-Fi Antenna                                                          $9.66   0.00%    29.00
               CB 11 (C204MA) Battery                                                                $0.00   0.00%    12.00
               CB 11 (C204MA) Camera                                                                 $0.00   0.00%    37.00
               CB 11 (C204MA) Daughterboard Flex Set                                                 $0.00   0.00%    16.00
               CB 11 (C204MA) Heatsink                                                               $0.00   0.00%    16.00
               CB 11 (C204MA) Hinge [Left]                                                           $0.62   0.00%    37.00
               CB 11 (C204MA) Hinge [Right]                                                          $6.46   0.00%    40.00
               CB 11 (C204MA) Housing [Base]                                                         $0.00   0.00%    24.00
               CB 11 (C204MA) Housing [LCD Bezel]                                                    $0.00   0.00%    32.00
               CB 11 (C204MA) Housing [LCD Rear Cover]                                              $82.95   0.00%    32.00




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               CB 11 (C204MA) I/O Board                                                                $0.00   0.00%    20.00
               CB 11 (C204MA) I/O Flex [30pin]                                                         $0.00   0.00%    18.00
               CB 11 (C204MA) I/O Flex [40pin]                                                         $0.00   0.00%    18.00
               CB 11 (C204MA) LCD Cable                                                                $1.32   0.00%    34.00
               CB 11 (C204MA) Motherboard                                                          $2,245.70   0.03%    40.00
               CB 11 (C204MA) Palmrest w/ Keyboard                                                     $0.00   0.00%    31.00
               CB 11 (C204MA) Screw Set                                                                $0.00   0.00%    33.00
               CB 11 (C204MA) Speaker Set                                                              $0.00   0.00%    37.00
               CB 11 (C204MA) Trackpad                                                                 $0.00   0.00%    25.00
               CB 11 (C204MA) Trackpad Flex                                                            $0.00   0.00%    38.00
               CB 11 (C204MA) Type-C Cable                                                             $0.00   0.00%    30.00
               CB 11 (C213SA) LCD Panel                                                                $0.00   0.00%    14.00
               CB 11 (C214MA) Camera [Front]                                                         $121.07   0.00%    14.00
               CB 11 (C214MA) Camera [Palmrest] Flex                                                  $42.77   0.00%    11.00
               CB 11 (C214MA) Camera [Palmrest] w/Bracket                                            $181.74   0.00%    13.00
               CB 11 (C214MA) Daughterboard                                                          $226.08   0.00%    15.00
               CB 11 (C214MA) Daughterboard Flex Set                                                  $14.78   0.00%    11.00
               CB 11 (C214MA) Daughterboard Flex [30 Pin]                                              $9.00   0.00%     9.00
               CB 11 (C214MA) Daughterboard Flex [40 Pin]                                              $4.14   0.00%     9.00
               CB 11 (C214MA) G Sensor                                                               $260.05   0.00%    22.00
               CB 11 (C214MA) G Sensor Flex                                                            $4.60   0.00%     4.00
               CB 11 (C214MA) Heatsink                                                               $120.42   0.00%    14.00
               CB 11 (C214MA) Hinge Set [Left]                                                         $2.07   0.00%     3.00
               CB 11 (C214MA) Hinge Set [Right]                                                        $9.66   0.00%     7.00
               CB 11 (C214MA) Hinge Set*                                                             $140.00   0.00%    10.00
               CB 11 (C214MA) Housing [Base]                                                          $25.12   0.00%     2.00
               CB 11 (C214MA) Housing [Battery Cover]                                                 $69.18   0.00%    13.00
               CB 11 (C214MA) Housing [LCD Rear Cover] w/ Antenna                                    $201.24   0.00%    17.00
               CB 11 (C214MA) LCD Cable                                                              $165.82   0.00%    32.00
               CB 11 (C214MA) Mic Board                                                              $276.80   0.00%    22.00
               CB 11 (C214MA) Mic Board Flex                                                          $61.20   0.00%    16.00
               CB 11 (C214MA) Motherboard                                                            $905.43   0.01%     7.00
               CB 11 (C214MA) Palmrest w/ Keyboard                                                    $10.67   0.00%     6.00
               CB 11 (C214MA) Speaker                                                                $198.81   0.00%    24.00
               CB 11 (C214MA) Stylus                                                                  $91.38   0.00%     9.00
               CB 11 (C214MA) Trackpad                                                                $30.00   0.00%     3.00
               CB 11 (C214MA) Trackpad Flex                                                           $15.51   0.00%     9.00
               CB 11 (C214MA) Wi-Fi Antenna                                                            $2.54   0.00%     1.00
               CB 11 (C302CA) Battery                                                                $239.96   0.00%     6.00
               CB 11 (C302CA) Camera                                                                 $144.50   0.00%    20.00
               CB 11 (C302CA) Daughterboard                                                          $526.10   0.01%    30.00
               CB 11 (C302CA) Daughterboard Flex                                                      $40.20   0.00%    70.00
               CB 11 (C302CA) Hinge [Left]                                                             $0.00   0.00%     3.00
               CB 11 (C302CA) Hinge [Right]                                                            $0.00   0.00%     3.00
               CB 11 (C302CA) Housing [Base]                                                           $0.00   0.00%     3.00
               CB 11 (C302CA) Housing [LCD Rear Cover]                                                 $0.00   0.00%     3.00
               CB 11 (C302CA) LCD Cable                                                                $0.00   0.00%     3.00
               CB 11 (C302CA) LCD Panel                                                                $0.00   0.00%     2.00
               CB 11 (C302CA) Motherboard                                                          $3,094.32   0.04%    18.00
               CB 11 (C302CA) Palmrest w/ Keyboard                                                 $1,886.94   0.02%    36.00
               CB 11 (C302CA) Speaker Set                                                              $0.00   0.00%     3.00
               CB 11 (C302CA) Trackpad                                                               $250.00   0.00%    13.00
               CB 11 (C302CA) Trackpad Flex                                                            $0.00   0.00%     3.00
               CB 11 (C302CA) Trackpad Plate                                                          $10.00   0.00%    10.00
               CB 11 (C302CA) Wi-Fi Card                                                               $0.00   0.00%     3.00
               CB 11 (C720) AC Adapter                                                                 $4.60   0.00%    10.00
               CB 11 (C720) Battery                                                                $1,741.09   0.02%    53.00
               CB 11 (C720) Card Reader                                                               $10.00   0.00%     1.00
               CB 11 (C720) Hinge Set*                                                               $162.06   0.00%    84.00
               CB 11 (C720) Housing [Base]                                                           $405.78   0.00%    55.00
               CB 11 (C720) Housing [LCD Bezel]                                                      $859.90   0.01%    66.00
               CB 11 (C720) Housing [LCD Rear Cover]                                               $1,122.58   0.01%    75.00
               CB 11 (C720) LCD Cable                                                                 $17.99   0.00%     2.00
               CB 11 (C720) Motherboard [4GB] [32GB]                                               $4,183.14   0.05%    97.00
               CB 11 (C720) Palmrest w/ Keyboard and Trackpad                                        $605.71   0.01%    24.00
               CB 11 (C720) SSD [16GB]                                                               $157.43   0.00%     7.00
               CB 11 (C720) Trackpad                                                                 $200.00   0.00%    20.00
               CB 11 (C721) AC Adapter                                                             $1,211.64   0.01%    69.00
               CB 11 (C721) Battery                                                                   $92.50   0.00%   266.00
               CB 11 (C721) Camera [Front]                                                            $53.58   0.00%   549.00
               CB 11 (C721) Daughterboard                                                             $96.90   0.00%    66.00
               CB 11 (C721) Daughterboard Flex (30 pin)                                                $1.75   0.00%    24.00
               CB 11 (C721) Daughterboard Flex (45 pin)                                                $1.33   0.00%    18.00
               CB 11 (C721) Daughterboard Flex Set                                                    $41.27   0.00%   379.00
               CB 11 (C721) Heatsink                                                                   $7.36   0.00%   140.00
               CB 11 (C721) Hinge [Left]                                                             $167.34   0.00%   417.00
               CB 11 (C721) Hinge [Right]                                                             $89.96   0.00%   306.00
               CB 11 (C721) Housing [Base]                                                           $134.83   0.00%    55.00
               CB 11 (C721) Housing [LCD Bezel]                                                      $267.75   0.00%   438.00
               CB 11 (C721) Housing [LCD Rear Cover]                                                 $140.37   0.00%   228.00
               CB 11 (C721) Keyboard                                                                 $112.50   0.00%    57.00
               CB 11 (C721) LCD Cable                                                                 $53.05   0.00%   459.00
               CB 11 (C721) Microphone                                                               $211.12   0.00%   698.00
               CB 11 (C721) Motherboard [A4][4GB][32GB]                                            $3,037.58   0.04%    83.00
               CB 11 (C721) Motherboard [A6][4GB][32GB]                                            $1,286.43   0.01%    31.00
               CB 11 (C721) Palmrest                                                                 $973.78   0.01%   248.00
               CB 11 (C721) Screw Set                                                                 $20.68   0.00%   534.00
               CB 11 (C721) Speaker Set                                                              $110.46   0.00%   525.00
               CB 11 (C721) Trackpad                                                                 $231.12   0.00%   459.00
               CB 11 (C721) Trackpad Flex                                                             $39.75   0.00%   575.00
               CB 11 (C721) Wi-Fi Antenna                                                              $1.00   0.00%   121.00
               CB 11 (C721) Wi-Fi Card                                                               $163.13   0.00%   585.00
               CB 11 (C722) Hinge [Left]                                                               $3.46   0.00%     2.00
               CB 11 (C722) Housing [LCD Bezel]                                                        $2.89   0.00%     1.00
               CB 11 (C731) Battery                                                                $2,228.95   0.03%    86.00
               CB 11 (C731) Camera                                                                    $29.37   0.00%    33.00
               CB 11 (C731) Daughterboard                                                            $193.50   0.00%    68.00
               CB 11 (C731) Daughterboard Flex                                                         $0.00   0.00%     5.00
               CB 11 (C731) DC Jack                                                                  $729.97   0.01%   190.00
               CB 11 (C731) Hinge [Left]                                                           $1,461.61   0.02%   347.00
               CB 11 (C731) Hinge [Right]                                                            $979.18   0.01%   234.00
               CB 11 (C731) Housing [Base]                                                         $1,426.95   0.02%    99.00
               CB 11 (C731) Housing [LCD Bezel]                                                    $2,881.56   0.03%   292.00
               CB 11 (C731) Housing [LCD Rear Cover]                                               $5,536.83   0.06%   373.00
               CB 11 (C731) LCD Cable                                                                $374.65   0.00%   111.00
               CB 11 (C731) Motherboard [4GB] [32GB]                                               $7,918.50   0.09%   100.00
               CB 11 (C731) Motherboard [4GB][16GB]                                                $1,317.24   0.02%    30.00
               CB 11 (C731) Palmrest w/ Keyboard                                                   $6,132.02   0.07%   524.00
               CB 11 (C731) Screw Set                                                                 $28.25   0.00%    74.00
               CB 11 (C731) Speaker Set                                                              $376.77   0.00%   114.00
               CB 11 (C731) Trackpad                                                               $2,233.99   0.03%   340.00
               CB 11 (C731) Trackpad Flex                                                             $30.18   0.00%    79.00
               CB 11 (C731) Wi-Fi Antenna Cable                                                        $5.61   0.00%    34.00
               CB 11 (C731) Wi-Fi Card                                                               $462.75   0.01%   154.00
               CB 11 (C731T) Battery                                                               $2,753.90   0.03%    74.00
               CB 11 (C731T) Camera                                                                  $289.86   0.00%    25.00
               CB 11 (C731T) Daughterboard                                                             $0.00   0.00%    13.00
               CB 11 (C731T) Daughterboard Flex Set                                                    $0.00   0.00%    13.00
               CB 11 (C731T) DC Jack                                                                 $168.73   0.00%    29.00




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               CB 11 (C731T) Hinge Set*                                                            $500.00   0.01%    50.00
               CB 11 (C731T) Hinge [Left]                                                            $4.60   0.00%    14.00
               CB 11 (C731T) Hinge [Right]                                                           $0.00   0.00%    18.00
               CB 11 (C731T) Housing [Base]                                                        $227.54   0.00%    31.00
               CB 11 (C731T) Housing [LCD Bezel]                                                   $904.07   0.01%   122.00
               CB 11 (C731T) Housing [LCD Rear Cover]                                              $478.77   0.01%   115.00
               CB 11 (C731T) LCD (Touch)                                                         $5,434.79   0.06%    79.00
               CB 11 (C731T) LCD Cable (Touch)                                                     $138.50   0.00%    22.00
               CB 11 (C731T) Motherboard [4GB][16GB]                                               $151.31   0.00%     3.00
               CB 11 (C731T) Palmrest w/ Keyboard                                                $7,397.86   0.09%   246.00
               CB 11 (C731T) Speaker Set                                                           $115.60   0.00%    27.00
               CB 11 (C731T) Trackpad                                                               $28.40   0.00%    68.00
               CB 11 (C731T) Trackpad Flex                                                           $0.00   0.00%    12.00
               CB 11 (C731T) Wi-Fi Antenna Cable                                                    $43.70   0.00%    30.00
               CB 11 (C731T) Wi-Fi Card                                                          $1,562.10   0.02%   119.00
               CB 11 (C732) AC Adapter                                                               $0.46   0.00%     2.00
               CB 11 (C732) Battery                                                                 $66.70   0.00%   266.00
               CB 11 (C732) Camera                                                                 $664.49   0.01%   816.00
               CB 11 (C732) Daughterboard                                                        $1,259.70   0.01%   594.00
               CB 11 (C732) Daughterboard (USB) Flex Cable Set                                      $54.60   0.00%   806.00
               CB 11 (C732) Daughterboard (USB) Flex [30 Pin]                                       $28.25   0.00%   114.00
               CB 11 (C732) Daughterboard (USB) Flex [40 Pin]                                       $27.80   0.00%   110.00
               CB 11 (C732) Hinge [Left]                                                            $38.15   0.00%   398.00
               CB 11 (C732) Hinge [Right]                                                           $37.84   0.00%   311.00
               CB 11 (C732) Housing [Base]                                                         $429.54   0.00%   509.00
               CB 11 (C732) Housing [LCD Bezel]                                                    $117.90   0.00%   509.00
               CB 11 (C732) Housing [LCD Rear Cover]                                               $125.19   0.00%   168.00
               CB 11 (C732) LCD Cable                                                              $883.83   0.01%   891.00
               CB 11 (C732) Microphone                                                             $710.12   0.01%   782.00
               CB 11 (C732) Motherboard [4GB] [32GB]                                             $1,014.63   0.01%     7.00
               CB 11 (C732) Palmrest w/ Keyboard                                                   $116.87   0.00%    25.00
               CB 11 (C732) Screw Set                                                                $0.00   0.00%   748.00
               CB 11 (C732) Speaker Set                                                            $109.57   0.00%   861.00
               CB 11 (C732) Trackpad                                                               $269.18   0.00%   629.00
               CB 11 (C732) Trackpad Flex                                                          $128.33   0.00%   751.00
               CB 11 (C732) Wi-Fi Cable                                                             $40.44   0.00%   113.00
               CB 11 (C732) Wi-Fi Card                                                             $812.14   0.01%   890.00
               CB 11 (C732T) Battery                                                                 $9.79   0.00%     1.00
               CB 11 (C732T) Camera                                                                $503.91   0.01%    59.00
               CB 11 (C732T) Daughterboard (USB)                                                   $862.22   0.01%    72.00
               CB 11 (C732T) Hinge Set*                                                            $107.91   0.00%     9.00
               CB 11 (C732T) Housing [LCD Bezel]                                                    $65.46   0.00%    49.00
               CB 11 (C732T) LCD Cable                                                               $9.73   0.00%     2.00
               CB 11 (C732T) Palmrest w/ Keyboard                                                    $0.00   0.00%     1.00
               CB 11 (C732T) Screw Set                                                              $98.57   0.00%    95.00
               CB 11 (C732T) Speaker Set                                                           $116.46   0.00%    13.00
               CB 11 (C732T) Trackpad                                                                $7.85   0.00%    35.00
               CB 11 (C732T) Trackpad Flex                                                           $1.75   0.00%     6.00
               CB 11 (C732T) Wi-Fi Card                                                              $0.00   0.00%     3.00
               CB 11 (C733-C5AS) AC Adapter                                                        $520.33   0.01%   132.00
               CB 11 (C733-C5AS) Battery                                                         $1,221.15   0.01%   138.00
               CB 11 (C733-C5AS) Camera                                                          $1,017.51   0.01%   117.00
               CB 11 (C733-C5AS) Daughterboard                                                       $0.00   0.00%     2.00
               CB 11 (C733-C5AS) Daughterboard Flex Set                                            $344.30   0.00%   115.00
               CB 11 (C733-C5AS) Daughterboard flex [30 Pin]                                         $6.25   0.00%    25.00
               CB 11 (C733-C5AS) Daughterboard flex [40 Pin]                                         $6.25   0.00%    25.00
               CB 11 (C733-C5AS) Daughterboard Power Cable                                         $457.05   0.01%   126.00
               CB 11 (C733-C5AS) Hinge [Left]                                                      $496.91   0.01%    69.00
               CB 11 (C733-C5AS) Hinge [Right]                                                     $123.16   0.00%    69.00
               CB 11 (C733-C5AS) Housing [Base]                                                    $498.50   0.01%    68.00
               CB 11 (C733-C5AS) Housing [LCD Bezel]                                                $76.73   0.00%    35.00
               CB 11 (C733-C5AS) Housing [LCD Rear Cover]                                            $1.41   0.00%     6.00
               CB 11 (C733-C5AS) LCD Cable                                                         $166.80   0.00%    66.00
               CB 11 (C733-C5AS) Microphone                                                        $523.16   0.01%   163.00
               CB 11 (C733-C5AS) Motherboard [4GB] [32GB]                                            $0.00   0.00%     2.00
               CB 11 (C733-C5AS) Palmrest w/ Keyboard                                                $0.00   0.00%     4.00
               CB 11 (C733-C5AS) Screw Set                                                         $595.85   0.01%   186.00
               CB 11 (C733-C5AS) Speaker Set                                                     $1,695.72   0.02%   229.00
               CB 11 (C733-C5AS) Trackpad                                                            $8.22   0.00%    13.00
               CB 11 (C733-C5AS) Trackpad Flex                                                     $351.15   0.00%   118.00
               CB 11 (C733-C5AS) Wi-Fi Card                                                      $1,214.55   0.01%   168.00
               CB 11 (C740) Battery                                                                $388.50   0.00%    13.00
               CB 11 (C740) Camera                                                               $1,733.57   0.02%   104.00
               CB 11 (C740) Daughterboard                                                          $292.99   0.00%    18.00
               CB 11 (C740) Daughterboard Flex                                                      $20.70   0.00%    34.00
               CB 11 (C740) Heatsink w/ Cooling Fan                                                 $90.21   0.00%    12.00
               CB 11 (C740) Hinge Set*                                                              $94.53   0.00%     9.00
               CB 11 (C740) Hinge [Left]                                                            $97.12   0.00%    93.00
               CB 11 (C740) Hinge [Right]                                                        $1,258.76   0.01%   277.00
               CB 11 (C740) Housing [Base]                                                       $3,147.86   0.04%   304.00
               CB 11 (C740) Housing [LCD Bezel]                                                  $1,482.20   0.02%    99.00
               CB 11 (C740) Housing [LCD Rear Cover]                                               $137.07   0.00%     6.00
               CB 11 (C740) LCD Cable                                                            $1,170.60   0.01%   152.00
               CB 11 (C740) LED Board                                                               $45.79   0.00%    39.00
               CB 11 (C740) LED Board Flex                                                          $20.01   0.00%    34.00
               CB 11 (C740) Motherboard [4GB] [32GB]                                            $20,784.15   0.24%   339.00
               CB 11 (C740) Palmrest w/ Keyboard                                                 $2,230.61   0.03%    80.00
               CB 11 (C740) Palmrest w/ Keyboard and Trackpad*                                     $274.78   0.00%    11.00
               CB 11 (C740) Screw Set                                                                $0.00   0.00%     1.00
               CB 11 (C740) Speaker Set                                                             $82.18   0.00%    30.00
               CB 11 (C740) SSD [16GB]                                                             $182.22   0.00%    11.00
               CB 11 (C740) Trackpad                                                             $4,102.06   0.05%   475.00
               CB 11 (C740) Trackpad Bracket                                                         $0.00   0.00%    15.00
               CB 11 (C740) Trackpad Flex                                                          $127.91   0.00%   107.00
               CB 11 (C740) Wi-Fi Antenna Set                                                      $243.05   0.00%     6.00
               CB 11 (C771) Camera w/ Microphone                                                   $115.44   0.00%    11.00
               CB 11 (C771) Daughterboard Flex                                                       $2.53   0.00%    11.00
               CB 11 (C771) Housing [Base]                                                         $186.84   0.00%    38.00
               CB 11 (C771) Housing [LCD Bezel]                                                      $2.06   0.00%     1.00
               CB 11 (C771) LCD                                                                    $123.56   0.00%     1.00
               CB 11 (C771) LCD Cable                                                               $49.79   0.00%     9.00
               CB 11 (C771) Palmrest w/ Keyboard                                                    $13.82   0.00%     2.00
               CB 11 (C771) Speaker Set                                                            $273.75   0.00%    25.00
               CB 11 (C771T) Battery                                                                 $0.00   0.00%     2.00
               CB 11 (C771T) Camera                                                                  $0.00   0.00%     3.00
               CB 11 (C771T) Daughterboard                                                           $0.00   0.00%     2.00
               CB 11 (C771T) LCD Cable                                                               $0.00   0.00%     1.00
               CB 11 (C771T) Microphone                                                              $0.15   0.00%     2.00
               CB 11 (C810) Battery                                                                  $0.00   0.00%     1.00
               CB 11 (C810) Palmrest w/ Keyboard                                                     $0.00   0.00%     3.00
               CB 11 (CB1C13) Camera                                                                 $0.00   0.00%     1.00
               CB 11 (CB1C13) Daughterboard                                                          $0.00   0.00%     1.00
               CB 11 (CB1C13) Daughterboard Flex Set                                                 $0.00   0.00%     1.00
               CB 11 (CB1C13) DC Jack                                                                $0.00   0.00%     1.00
               CB 11 (CB1C13) Fan                                                                    $0.00   0.00%     1.00
               CB 11 (CB1C13) Hinge Cover                                                            $0.00   0.00%     1.00
               CB 11 (CB1C13) Hinge Set                                                              $0.00   0.00%     1.00
               CB 11 (CB1C13) Housing [Base]                                                         $0.00   0.00%     1.00
               CB 11 (CB1C13) Housing [LCD Bezel]                                                    $0.00   0.00%     1.00




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               CB 11 (CB1C13) Housing [LCD Rear Cover]                                                      $0.00   0.00%       1.00
               CB 11 (CB1C13) LCD Cable                                                                     $0.00   0.00%       1.00
               CB 11 (CB1C13) Speaker Set                                                                   $0.00   0.00%       1.00
               CB 11 (CB1C13) Trackpad                                                                      $0.00   0.00%       1.00
               CB 11 (CB1C13) Trackpad Flex                                                                 $0.00   0.00%       1.00
               CB 11 (CB1C13) Wi-Fi Card                                                                    $0.00   0.00%       1.00
               CB 11 (CB311) LCD Cable (Touch)                                                             $11.97   0.00%       3.00
               CB 11 (CB311-9H) Trackpad                                                                    $0.00   0.00%      26.00
               CB 11 (G4 EE) AC Adapter                                                                     $0.00   0.00%       9.00
               CB 11 (G4 EE) Battery                                                                       $13.50   0.00%      18.00
               CB 11 (G4 EE) Camera                                                                       $422.00   0.00%      38.00
               CB 11 (G4 EE) Daughterboard                                                                  $0.00   0.00%       2.00
               CB 11 (G4 EE) Daughterboard Flex                                                             $0.00   0.00%      12.00
               CB 11 (G4 EE) DC Jack                                                                      $628.20   0.01%      85.00
               CB 11 (G4 EE) Hinge [Left]                                                                   $0.00   0.00%      12.00
               CB 11 (G4 EE) Hinge [Right]                                                                  $0.00   0.00%      12.00
               CB 11 (G4 EE) Housing [Base]                                                                $31.88   0.00%      12.00
               CB 11 (G4 EE) Housing [LCD Bezel]                                                            $5.99   0.00%       9.00
               CB 11 (G4 EE) Housing [LCD Rear Cover]                                                      $13.89   0.00%      18.00
               CB 11 (G4 EE) LCD Cable                                                                      $4.19   0.00%      13.00
               CB 11 (G4 EE) Motherboard [4GB] [32GB]                                                   $1,549.76   0.02%      25.00
               CB 11 (G4 EE) Palmrest w/ Keyboard                                                         $161.92   0.00%      18.00
               CB 11 (G4 EE) Screw Set                                                                      $0.00   0.00%      10.00
               CB 11 (G4 EE) SD Card Reader                                                                 $0.00   0.00%      12.00
               CB 11 (G4 EE) Speaker Set                                                                    $0.00   0.00%      11.00
               CB 11 (G4 EE) Trackpad                                                                      $58.48   0.00%      14.00
               CB 11 (G4 EE) Trackpad Flex                                                                  $0.00   0.00%      12.00
               CB 11 (G4 EE) Trackpad Support Bracket                                                       $0.00   0.00%       2.00
               CB 11 (G4 EE) Wi-Fi Card                                                                     $0.00   0.00%       2.00
               CB 11 (G4) Battery                                                                          $59.85   0.00%       3.00
               CB 11 (G4) Camera Board                                                                     $64.00   0.00%      15.00
               CB 11 (G4) DC Jack                                                                          $41.58   0.00%       4.00
               CB 11 (G4) Housing [LCD Bezel]                                                               $0.00   0.00%       1.00
               CB 11 (G4) LCD Cable                                                                       $345.20   0.00%      25.00
               CB 11 (G4) LCD Panel                                                                        $57.62   0.00%       1.00
               CB 11 (G4) Motherboard [4GB] [32GB]                                                        $611.39   0.01%      10.00
               CB 11 (G4) Palmrest w/ Keyboard                                                            $474.93   0.01%      11.00
               CB 11 (G5 EE Non-Touch) AC Adapter                                                         $121.47   0.00%       3.00
               CB 11 (G5 EE Non-Touch) Battery                                                          $1,694.91   0.02%      53.00
               CB 11 (G5 EE Non-Touch) Camera                                                             $556.05   0.01%      55.00
               CB 11 (G5 EE Non-Touch) Daughterboard                                                      $404.63   0.00%      44.00
               CB 11 (G5 EE Non-Touch) Daughterboard Flex                                                 $128.80   0.00%      39.00
               CB 11 (G5 EE Non-Touch) DC Jack                                                            $771.00   0.01%      76.00
               CB 11 (G5 EE Non-Touch) Hinge Set                                                          $191.20   0.00%      40.00
               CB 11 (G5 EE Non-Touch) Hinge [Left]                                                         $0.00   0.00%       3.00
               CB 11 (G5 EE Non-Touch) Hinge [Right]                                                        $0.00   0.00%       3.00
               CB 11 (G5 EE Non-Touch) Housing [Base]                                                     $681.00   0.01%      53.00
               CB 11 (G5 EE Non-Touch) Housing [LCD Bezel]                                                $908.38   0.01%      82.00
               CB 11 (G5 EE Non-Touch) Housing [LCD Rear Cover]                                           $227.68   0.00%      27.00
               CB 11 (G5 EE Non-Touch) LCD Cable                                                          $364.07   0.00%      61.00
               CB 11 (G5 EE Non-Touch) Motherboard [4GB][16GB]                                         $13,735.07   0.16%     144.00
               CB 11 (G5 EE Non-Touch) Palmrest w/ Keyboard                                             $2,393.30   0.03%      63.00
               CB 11 (G5 EE Non-Touch) Screw Set                                                          $259.56   0.00%      39.00
               CB 11 (G5 EE Non-Touch) Speaker Set                                                        $340.99   0.00%      46.00
               CB 11 (G5 EE Non-Touch) Trackpad                                                         $1,370.80   0.02%     152.00
               CB 11 (G5 EE Non-Touch) Trackpad Flex                                                      $396.44   0.00%     109.00
               CB 11 (G5 EE Non-Touch) Wi-Fi Card                                                         $177.84   0.00%      40.00
               CB 11 (G5 EE Touch) LCD Cable [30 Pin]                                                     $273.28   0.00%      16.00
               CB 11 (G5 EE Touch) Motherboard [4GB] [32GB]                                                 $0.00   0.00%       1.00
               CB 11 (G5 EE Touch) Palmrest w/ Keyboard and Trackpad                                      $113.46   0.00%       1.00
               CB 11 (G5) Battery                                                                         $903.38   0.01%      14.00
               CB 11 (G5) Camera                                                                            $0.00   0.00%       1.00
               CB 11 (G5) Camera Cable                                                                      $0.00   0.00%       1.00
               CB 11 (G5) Daughterboard Flex                                                                $0.00   0.00%       1.00
               CB 11 (G5) DC Jack                                                                          $94.43   0.00%       8.00
               CB 11 (G5) Housing [Base]                                                                  $167.94   0.00%       7.00
               CB 11 (G5) Housing [Bezel]                                                                   $0.00   0.00%       1.00
               CB 11 (G5) Housing [LCD Rear Cover]                                                        $247.31   0.00%      10.00
               CB 11 (G5) LCD Assembly (With Touch)                                                     $2,064.75   0.02%      26.00
               CB 11 (G5) LCD Cable                                                                       $109.94   0.00%       7.00
               CB 11 (G5) Palmrest w/ Keyboard                                                          $1,605.76   0.02%      44.00
               CB 11 (G5) Screw Set                                                                         $0.00   0.00%       1.00
               CB 11 (G5) Sensor Board                                                                      $0.00   0.00%       1.00
               CB 11 (G5) Sensor Board Flex                                                                 $0.00   0.00%       1.00
               CB 11 (G5) Speaker Set                                                                       $0.00   0.00%       1.00
               CB 11 (G5) Trackpad                                                                        $180.59   0.00%      12.00
               CB 11 (G5) Trackpad Flex                                                                     $0.00   0.00%       1.00
               CB 11 (G5) Wi-Fi Antenna Set                                                                 $0.00   0.00%       1.00
               CB 11 (G6 EE Non-Touch) Battery                                                          $7,415.39   0.09%     730.00
               CB 11 (G6 EE Non-Touch) Camera                                                           $6,189.66   0.07%     803.00
               CB 11 (G6 EE Non-Touch) Camera Cable                                                        $17.13   0.00%     355.00
               CB 11 (G6 EE Non-Touch) Daughterboard                                                    $1,780.27   0.02%     880.00
               CB 11 (G6 EE Non-Touch) Daughterboard Flex Set                                             $766.79   0.01%   1,241.00
               CB 11 (G6 EE Non-Touch) Heatsink                                                           $110.00   0.00%     133.00
               CB 11 (G6 EE Non-Touch) Hinge [Left]                                                     $1,229.07   0.01%     926.00
               CB 11 (G6 EE Non-Touch) Hinge [Right]                                                      $371.64   0.00%     963.00
               CB 11 (G6 EE Non-Touch) Housing [Base]                                                     $352.04   0.00%     444.00
               CB 11 (G6 EE Non-Touch) Housing [LCD Bezel]                                                  $5.75   0.00%     176.00
               CB 11 (G6 EE Non-Touch) Housing [LCD Rear Cover]                                         $2,321.62   0.03%     347.00
               CB 11 (G6 EE Non-Touch) LCD Cable                                                        $5,668.43   0.07%   1,324.00
               CB 11 (G6 EE Non-Touch) Motherboard [4GB][32GB]                                            $119.14   0.00%       1.00
               CB 11 (G6 EE Non-Touch) Motherboard [N3350][4GB][16GB]                                       $0.00   0.00%       4.00
               CB 11 (G6 EE Non-Touch) Motherboard [N3350][8GB][32GB]                                      $45.00   0.00%       1.00
               CB 11 (G6 EE Non-Touch) Palmrest w/ Keyboard                                            $33,658.01   0.39%   1,404.00
               CB 11 (G6 EE Non-Touch) Screw Set                                                          $574.51   0.01%   1,041.00
               CB 11 (G6 EE Non-Touch) Speaker Set                                                        $160.42   0.00%   1,020.00
               CB 11 (G6 EE Non-Touch) Trackpad                                                           $822.96   0.01%   1,183.00
               CB 11 (G6 EE Non-Touch) Trackpad Flex                                                      $781.23   0.01%   1,410.00
               CB 11 (G6 EE Non-Touch) Trackpad Support Bracket                                             $0.00   0.00%     361.00
               CB 11 (G6 EE Non-Touch) USB Bracket                                                          $7.57   0.00%     396.00
               CB 11 (G6 EE Non-Touch) Wi-Fi Card                                                       $1,081.96   0.01%   1,053.00
               CB 11 (G6 EE Touch) Housing [LCD Bezel]                                                  $1,976.40   0.02%     108.00
               CB 11 (G6 EE Touch) Keyboard                                                               $671.39   0.01%      18.00
               CB 11 (G6 EE Touch) LCD Assembly                                                         $1,181.40   0.01%      20.00
               CB 11 (G6 EE Touch) LCD Panel                                                           $22,633.92   0.26%     298.00
               CB 11 (G6 EE Touch) Palmrest w/ Keyboard                                                $10,816.60   0.12%     572.00
               CB 11 (G6 EE Touch) Screw Set                                                                $0.00   0.00%       1.00
               CB 11 (G6 EE Touch) Trackpad                                                                 $0.52   0.00%       4.00
               CB 11 (G6 EE Touch) Trackpad Flex                                                            $0.00   0.00%      60.00
               CB 11 (G7 EE Non-Touch) Battery                                                            $878.76   0.01%     159.00
               CB 11 (G7 EE Non-Touch) Camera                                                              $10.91   0.00%     133.00
               CB 11 (G7 EE Non-Touch) Camera Cable                                                       $324.42   0.00%     218.00
               CB 11 (G7 EE Non-Touch) Daughterboard                                                      $363.37   0.00%     137.00
               CB 11 (G7 EE Non-Touch) Daughterboard Flex                                                   $0.00   0.00%     156.00
               CB 11 (G7 EE Non-Touch) Hinge [Left]                                                         $0.00   0.00%     150.00
               CB 11 (G7 EE Non-Touch) Hinge [Right]                                                        $0.00   0.00%     183.00
               CB 11 (G7 EE Non-Touch) Housing [Base]                                                      $88.68   0.00%      84.00
               CB 11 (G7 EE Non-Touch) Housing [LCD Bezel]                                                $145.81   0.00%      17.00
               CB 11 (G7 EE Non-Touch) Housing [LCD Rear Cover]                                           $689.35   0.01%      33.00




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               CB 11 (G7 EE Non-Touch) LCD Cable                                                             $967.13   0.01%   340.00
               CB 11 (G7 EE Non-Touch) Motherboard [N4000][4GB][16GB]                                        $312.89   0.00%    17.00
               CB 11 (G7 EE Non-Touch) Palmrest w/ Keyboard                                                $2,177.05   0.03%    82.00
               CB 11 (G7 EE Non-Touch) Screw Kit                                                               $0.00   0.00%   159.00
               CB 11 (G7 EE Non-Touch) Speaker Set                                                             $0.00   0.00%   186.00
               CB 11 (G7 EE Non-Touch) Trackpad                                                              $236.10   0.00%   177.00
               CB 11 (G7 EE Non-Touch) Trackpad Bracket                                                        $0.00   0.00%    34.00
               CB 11 (G7 EE Non-Touch) Trackpad Flex                                                           $0.00   0.00%   197.00
               CB 11 (G7 EE Non-Touch) Wi-Fi Antenna                                                           $0.00   0.00%    18.00
               CB 11 (G7 EE Non-Touch) Wi-Fi Card                                                              $0.00   0.00%   200.00
               CB 11 (G7 EE Touch) Camera                                                                      $0.00   0.00%     1.00
               CB 11 (G7 EE Touch) Daughterboard                                                              $59.97   0.00%     3.00
               CB 11 (G7 EE Touch) LCD Cable                                                                 $135.93   0.00%    21.00
               CB 11 (G8 EE Non-Touch) Battery                                                             $1,877.55   0.02%   135.00
               CB 11 (G8 EE Non-Touch) Camera                                                                $440.24   0.01%   136.00
               CB 11 (G8 EE Non-Touch) Camera Cable                                                            $0.59   0.00%   150.00
               CB 11 (G8 EE Non-Touch) Daughterboard                                                           $7.34   0.00%    21.00
               CB 11 (G8 EE Non-Touch) Daughterboard Flex                                                    $379.50   0.00%    22.00
               CB 11 (G8 EE Non-Touch) Daughterboard Flex Set                                                  $0.00   0.00%   181.00
               CB 11 (G8 EE Non-Touch) Hinge Cover                                                             $0.00   0.00%     8.00
               CB 11 (G8 EE Non-Touch) Hinge [Left]                                                            $0.00   0.00%    78.00
               CB 11 (G8 EE Non-Touch) Hinge [Right]                                                           $0.00   0.00%    96.00
               CB 11 (G8 EE Non-Touch) Housing [Base]                                                         $40.29   0.00%    71.00
               CB 11 (G8 EE Non-Touch) Housing [LCD Bezel]                                                     $0.00   0.00%     6.00
               CB 11 (G8 EE Non-Touch) Housing [LCD Rear Cover]                                               $23.07   0.00%    13.00
               CB 11 (G8 EE Non-Touch) LCD Cable                                                           $1,004.69   0.01%   140.00
               CB 11 (G8 EE Non-Touch) Motherboard                                                           $716.64   0.01%     8.00
               CB 11 (G8 EE Non-Touch) Motherboard [N4020][4GB][16GB]                                        $269.98   0.00%     2.00
               CB 11 (G8 EE Non-Touch) Palmrest w/ Keyboard                                                    $9.69   0.00%    13.00
               CB 11 (G8 EE Non-Touch) Palmrest w/ Keyboard and Trackpad                                   $3,360.29   0.04%   119.00
               CB 11 (G8 EE Non-Touch) Screw Kit                                                               $1.57   0.00%   207.00
               CB 11 (G8 EE Non-Touch) Speaker Set                                                             $0.00   0.00%   201.00
               CB 11 (G8 EE Non-Touch) Trackpad                                                              $108.18   0.00%   107.00
               CB 11 (G8 EE Non-Touch) Trackpad Bracket                                                        $0.46   0.00%    79.00
               CB 11 (G8 EE Non-Touch) Trackpad Flex                                                           $0.95   0.00%   257.00
               CB 11 (G8 EE Non-Touch) USB Bracket                                                             $0.69   0.00%   104.00
               CB 11 (G8 EE Non-Touch) Wi-Fi Bracket                                                           $0.46   0.00%   111.00
               CB 11 (G8 EE Non-Touch) Wi-Fi Cable                                                             $1.03   0.00%    79.00
               CB 11 (G8 EE Non-Touch) Wi-Fi Card                                                              $0.00   0.00%   195.00
               CB 11 (G8 EE Touch) Battery                                                                     $0.00   0.00%     2.00
               CB 11 (G8 EE Touch) Camera                                                                      $0.00   0.00%     2.00
               CB 11 (G8 EE Touch) Camera Cable                                                                $0.00   0.00%     2.00
               CB 11 (G8 EE Touch) Daughterboard                                                               $0.00   0.00%     2.00
               CB 11 (G8 EE Touch) Daughterboard Flex Set                                                      $0.00   0.00%     2.00
               CB 11 (G8 EE Touch) Hinge [Left]                                                                $0.00   0.00%     2.00
               CB 11 (G8 EE Touch) Hinge [Right]                                                               $0.00   0.00%     2.00
               CB 11 (G8 EE Touch) Housing [Base]                                                          $2,438.25   0.03%    75.00
               CB 11 (G8 EE Touch) Housing [LCD Bezel]                                                         $8.99   0.00%     3.00
               CB 11 (G8 EE Touch) Housing [LCD Rear Cover]                                                    $0.00   0.00%     1.00
               CB 11 (G8 EE Touch) LCD Cable                                                                   $0.00   0.00%     1.00
               CB 11 (G8 EE Touch) Motherboard                                                                 $0.00   0.00%     1.00
               CB 11 (G8 EE Touch) Palmrest w/ Keyboard                                                        $0.00   0.00%     2.00
               CB 11 (G8 EE Touch) Screw Kit                                                                   $0.00   0.00%     2.00
               CB 11 (G8 EE Touch) Speaker Set                                                                 $0.00   0.00%     2.00
               CB 11 (G8 EE Touch) Trackpad                                                                    $0.00   0.00%     2.00
               CB 11 (G8 EE Touch) Trackpad Flex                                                               $0.00   0.00%     2.00
               CB 11 (G8 EE Touch) Wi-Fi Card                                                                  $0.00   0.00%     2.00
               CB 11 (N21) Battery                                                                         $1,485.18   0.02%   127.00
               CB 11 (N21) Camera                                                                          $1,018.65   0.01%    64.00
               CB 11 (N21) Camera Assembly                                                                 $2,191.39   0.03%    92.00
               CB 11 (N21) Daughterboard                                                                     $295.43   0.00%    91.00
               CB 11 (N21) Daughterboard Flex                                                                $146.10   0.00%    92.00
               CB 11 (N21) DC Jack                                                                           $535.49   0.01%   176.00
               CB 11 (N21) Heatsink                                                                            $0.00   0.00%     4.00
               CB 11 (N21) Hinge [Left]                                                                      $216.57   0.00%    91.00
               CB 11 (N21) Hinge [Right]                                                                     $216.47   0.00%    90.00
               CB 11 (N21) Housing [Base]                                                                    $737.70   0.01%    93.00
               CB 11 (N21) Housing [LCD Bezel]                                                               $318.86   0.00%    78.00
               CB 11 (N21) Housing [LCD Rear Cover]                                                          $261.20   0.00%    62.00
               CB 11 (N21) Keyboard                                                                           $12.31   0.00%    30.00
               CB 11 (N21) LCD Cable                                                                       $1,064.50   0.01%   211.00
               CB 11 (N21) LCD Panel                                                                          $17.63   0.00%     1.00
               CB 11 (N21) Motherboard [2GB] [16GB]                                                            $0.62   0.00%     4.00
               CB 11 (N21) Motherboard [4GB] [32GB]                                                        $6,082.83   0.07%   141.00
               CB 11 (N21) Palmrest w/ Keyboard                                                            $1,519.19   0.02%    86.00
               CB 11 (N21) Palmrest w/ Keyboard and Trackpad*                                              $3,967.17   0.05%   141.00
               CB 11 (N21) Rubber Feet                                                                         $0.00   0.00%     2.00
               CB 11 (N21) Screw Kit                                                                         $150.29   0.00%    88.00
               CB 11 (N21) Speaker Set                                                                       $160.59   0.00%    85.00
               CB 11 (N21) Trackpad                                                                        $1,206.63   0.01%   414.00
               CB 11 (N21) Trackpad Cable                                                                  $1,075.57   0.01%   239.00
               CB 11 (N21) Wi-Fi Card                                                                        $231.13   0.00%    92.00
               CB 11 (N22 80SF) AC Adapter                                                                    $58.20   0.00%    16.00
               CB 11 (N22 80SF) Battery                                                                    $3,589.44   0.04%   222.00
               CB 11 (N22 80SF) Camera                                                                     $1,230.11   0.01%    50.00
               CB 11 (N22 80SF) Camera w/ LCD Cable                                                        $2,857.14   0.03%    99.00
               CB 11 (N22 80SF) Camera [Housing] Assembly                                                      $0.00   0.00%    10.00
               CB 11 (N22 80SF) Daughterboard (USB)                                                        $1,451.68   0.02%   154.00
               CB 11 (N22 80SF) Daughterboard (USB) Flex                                                   $1,104.82   0.01%   395.00
               CB 11 (N22 80SF) DC Jack                                                                      $232.43   0.00%   101.00
               CB 11 (N22 80SF) Hinge Set*                                                                    $67.45   0.00%     5.00
               CB 11 (N22 80SF) Hinge [Left]                                                                 $352.71   0.00%   124.00
               CB 11 (N22 80SF) Hinge [Right]                                                                $220.79   0.00%   126.00
               CB 11 (N22 80SF) Housing [Base]                                                               $755.82   0.01%    80.00
               CB 11 (N22 80SF) Housing [LCD Bezel]                                                          $598.66   0.01%   111.00
               CB 11 (N22 80SF) Housing [LCD Rear Cover]                                                     $858.71   0.01%   126.00
               CB 11 (N22 80SF) LCD Cable                                                                    $448.86   0.01%    71.00
               CB 11 (N22 80SF) LCD Cable (Touch)                                                             $66.21   0.00%     6.00
               CB 11 (N22 80SF) LCD Panel                                                                  $1,552.82   0.02%    30.00
               CB 11 (N22 80SF) LCD Panel (Touch)                                                             $56.99   0.00%     1.00
               CB 11 (N22 80SF) Motherboard [2GB] [16GB]                                                     $585.00   0.01%    16.00
               CB 11 (N22 80SF) Motherboard [4GB] [32GB]                                                  $49,856.70   0.58%   650.00
               CB 11 (N22 80SF) Motherboard [4GB] [32GB] (Touch)                                               $0.92   0.00%     2.00
               CB 11 (N22 80SF) Palmrest w/ Keyboard                                                       $1,513.84   0.02%   174.00
               CB 11 (N22 80SF) Palmrest w/ Keyboard and Trackpad*                                         $9,547.87   0.11%   344.00
               CB 11 (N22 80SF) Screw Kit                                                                    $227.52   0.00%   100.00
               CB 11 (N22 80SF) Speaker Set                                                                  $215.59   0.00%   107.00
               CB 11 (N22 80SF) Trackpad                                                                   $3,580.18   0.04%   600.00
               CB 11 (N22 80SF) Trackpad Flex                                                                $431.69   0.00%   287.00
               CB 11 (N22 80SF) Wi-Fi Card                                                                 $6,005.46   0.07%   727.00
               CB 11 (N22 80VH) Battery                                                                        $1.12   0.00%     9.00
               CB 11 (N22 80VH) Hinge [Left]                                                                   $0.57   0.00%     9.00
               CB 11 (N22 80VH) Hinge [Right]                                                                  $0.57   0.00%     9.00
               CB 11 (N22 80VH) Housing [Base]                                                                 $1.41   0.00%     9.00
               CB 11 (N22 80VH) Housing [LCD Bezel]                                                            $1.01   0.00%     6.00
               CB 11 (N22 80VH) Housing [LCD Rear Cover]                                                       $1.01   0.00%     8.00
               CB 11 (N22 80VH) LCD Cable                                                                      $0.07   0.00%     5.00
               CB 11 (N22 80VH) Motherboard [4GB] [32GB] (Non-Touch)                                         $675.75   0.01%    22.00
               CB 11 (N22 80VH) Palmrest w/ Keyboard                                                           $1.67   0.00%     9.00




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               CB 11 (N22 80VH) Screw Kit                                                               $0.05   0.00%       7.00
               CB 11 (N22 80VH) Speaker Set                                                             $0.96   0.00%       9.00
               CB 11 (N22 80VH) Trackpad                                                                $2.63   0.00%      23.00
               CB 11 (N22 80VH) Trackpad Flex                                                           $0.57   0.00%       9.00
               CB 11 (N22 80VH) Wi-Fi Card                                                              $0.57   0.00%       9.00
               CB 11 (N23) AC Adapter                                                                  $11.31   0.00%       4.00
               CB 11 (N23) Battery                                                                    $762.51   0.01%     131.00
               CB 11 (N23) Camera                                                                     $125.40   0.00%      19.00
               CB 11 (N23) Daughterboard                                                            $3,295.04   0.04%     416.00
               CB 11 (N23) Daughterboard Cable                                                      $1,049.18   0.01%     561.00
               CB 11 (N23) DC Jack                                                                  $1,422.53   0.02%     583.00
               CB 11 (N23) Hinge Set*                                                                  $11.80   0.00%       1.00
               CB 11 (N23) Hinge [Left]                                                                 $4.62   0.00%      41.00
               CB 11 (N23) Hinge [Right]                                                            $1,639.23   0.02%     619.00
               CB 11 (N23) Housing [Camera]                                                         $1,981.82   0.02%      92.00
               CB 11 (N23) Housing [LCD Bezel]                                                          $0.06   0.00%       1.00
               CB 11 (N23) Housing [LCD Rear Cover]                                                $17,036.43   0.20%   1,313.00
               CB 11 (N23) LCD Assembly                                                                 $0.24   0.00%       1.00
               CB 11 (N23) LCD Cable                                                                $3,592.29   0.04%     792.00
               CB 11 (N23) LCD Cable (Touch)                                                           $21.00   0.00%       3.00
               CB 11 (N23) LCD Panel (Touch)                                                           $78.13   0.00%       1.00
               CB 11 (N23) Motherboard                                                             $12,051.01   0.14%     265.00
               CB 11 (N23) Palmrest w/ Keyboard                                                       $211.11   0.00%      69.00
               CB 11 (N23) Screw Set                                                                  $474.84   0.01%     311.00
               CB 11 (N23) Speaker Set                                                                $834.67   0.01%     517.00
               CB 11 (N23) Trackpad                                                                 $3,729.27   0.04%   1,015.00
               CB 11 (N23) Trackpad Cable                                                           $2,563.48   0.03%     916.00
               CB 11 (N23) Wi-Fi Card                                                               $9,707.83   0.11%   1,614.00
               CB 11 (NL7) Battery                                                                    $523.54   0.01%      14.00
               CB 11 (NL7) Camera                                                                      $23.43   0.00%       1.00
               CB 11 (NL7) Hinge [Left]                                                                $16.56   0.00%      24.00
               CB 11 (NL7) Hinge [Right]                                                               $16.56   0.00%      24.00
               CB 11 (NL7) Housing [Base]                                                               $7.00   0.00%       1.00
               CB 11 (NL7) Housing [LCD Bezel]                                                         $42.49   0.00%       1.00
               CB 11 (NL7) Housing [LCD Rear Cover]                                                   $219.32   0.00%       9.00
               CB 11 (NL7) LCD Cable                                                                  $104.32   0.00%      25.00
               CB 11 (NL7) Motherboard [4GB] [32GB]                                                 $1,225.77   0.01%      17.00
               CB 11 (NL7) Palmrest w/ Keyboard                                                     $1,921.15   0.02%      95.00
               CB 11 (NL7) Trackpad                                                                     $0.23   0.00%       1.00
               CB 11 (NL7) Wi-Fi Card                                                                   $8.90   0.00%       7.00
               CB 11 (NL71 LTE) Motherboard                                                         $1,760.55   0.02%      11.00
               CB 11 (NL71 LTE) Trackpad                                                                $0.00   0.00%       7.00
               CB 11 (NL7L LTE) AC Adapter                                                            $145.00   0.00%       5.00
               CB 11 (NL7L LTE) Battery                                                                $24.66   0.00%       2.00
               CB 11 (NL7L LTE) Camera                                                                $207.61   0.00%      21.00
               CB 11 (NL7L LTE) Daughterboard Flex Set*                                                 $0.00   0.00%       4.00
               CB 11 (NL7L LTE) Hinge Set*                                                             $20.00   0.00%       1.00
               CB 11 (NL7L LTE) Hinge [Left]                                                            $0.00   0.00%       5.00
               CB 11 (NL7L LTE) Hinge [Right]                                                           $0.00   0.00%       5.00
               CB 11 (NL7L LTE) Housing [Base]                                                         $15.00   0.00%       2.00
               CB 11 (NL7L LTE) Housing [LCD Bezel]                                                    $48.00   0.00%       9.00
               CB 11 (NL7L LTE) Housing [LCD Rear Cover]                                                $0.00   0.00%       5.00
               CB 11 (NL7L LTE) LCD Cable                                                               $2.00   0.00%       1.00
               CB 11 (NL7L LTE) LTE Flex                                                                $0.00   0.00%       5.00
               CB 11 (NL7L LTE) Palmrest w/ Keyboard                                                  $323.94   0.00%      13.00
               CB 11 (NL7L LTE) Palmrest w/ Keyboard and Trackpad                                     $707.11   0.01%      23.00
               CB 11 (NL7L LTE) Trackpad                                                               $25.00   0.00%      11.00
               CB 11 (NL7L LTE) Trackpad Flex                                                           $0.00   0.00%       6.00
               CB 11 (NL7L LTE) Wi-Fi Card                                                              $0.00   0.00%       6.00
               CB 11 (R721T) Battery                                                                    $0.00   0.00%      29.00
               CB 11 (R721T) Camera                                                                     $0.00   0.00%      19.00
               CB 11 (R721T) Heatsink                                                                   $0.00   0.00%      11.00
               CB 11 (R721T) Hinge Set*                                                                $44.97   0.00%       3.00
               CB 11 (R721T) Hinge [Left]                                                               $9.00   0.00%      11.00
               CB 11 (R721T) Hinge [Right]                                                             $27.92   0.00%      31.00
               CB 11 (R721T) Housing [Base]                                                            $89.89   0.00%      17.00
               CB 11 (R721T) Housing [LCD Rear Cover]                                                  $35.37   0.00%      23.00
               CB 11 (R721T) Keyboard                                                                 $145.21   0.00%      42.00
               CB 11 (R721T) LCD Cable                                                                  $0.00   0.00%      17.00
               CB 11 (R721T) LCD w/ Digitizer                                                           $0.00   0.00%      10.00
               CB 11 (R721T) Microphone                                                                 $0.00   0.00%      19.00
               CB 11 (R721T) Motherboard                                                                $0.00   0.00%       3.00
               CB 11 (R721T) Palmrest                                                                 $123.31   0.00%      24.00
               CB 11 (R721T) Sensor Board                                                               $1.06   0.00%      21.00
               CB 11 (R721T) Sensor Board Flex                                                          $0.00   0.00%      20.00
               CB 11 (R721T) Speaker Set                                                                $0.00   0.00%      20.00
               CB 11 (R721T) Trackpad                                                                   $0.00   0.00%      18.00
               CB 11 (R721T) Trackpad Flex                                                              $0.00   0.00%      20.00
               CB 11 (R721T) USB Board                                                                $171.39   0.00%      38.00
               CB 11 (R721T) USB Board Flex [30 Pin]                                                    $0.00   0.00%      18.00
               CB 11 (R721T) USB Board Flex [45 Pin]                                                    $0.00   0.00%      18.00
               CB 11 (R721T) Wi-Fi Card                                                                 $0.00   0.00%       8.00
               CB 11 (R751T) Battery                                                                $9,154.63   0.11%     243.00
               CB 11 (R751T) Camera                                                                   $989.28   0.01%      53.00
               CB 11 (R751T) Camera Cable                                                              $14.27   0.00%      29.00
               CB 11 (R751T) Camera Flex [Palmrest]                                                   $198.92   0.00%     297.00
               CB 11 (R751T) Camera [Front]                                                         $1,036.53   0.01%     282.00
               CB 11 (R751T) Camera [Palmrest]                                                        $895.36   0.01%     376.00
               CB 11 (R751T) Daughterboard                                                            $358.75   0.00%     204.00
               CB 11 (R751T) Daughterboard (USB) Flex Set                                             $113.89   0.00%     254.00
               CB 11 (R751T) Daughterboard Flex [30 Pin]                                                $0.00   0.00%      43.00
               CB 11 (R751T) Daughterboard Flex [40 Pin]                                                $0.00   0.00%      29.00
               CB 11 (R751T) Hinge Set*                                                               $784.96   0.01%      44.00
               CB 11 (R751T) Hinge [Left]                                                           $4,080.46   0.05%     627.00
               CB 11 (R751T) Hinge [Right]                                                          $2,520.37   0.03%     489.00
               CB 11 (R751T) Housing [Base]                                                           $906.36   0.01%     218.00
               CB 11 (R751T) Housing [LCD Rear Cover]                                                   $0.29   0.00%       5.00
               CB 11 (R751T) LCD Cable                                                              $1,841.06   0.02%     450.00
               CB 11 (R751T) LCD w/ Digitizer                                                      $23,226.52   0.27%     387.00
               CB 11 (R751T) Microphone                                                             $1,638.99   0.02%     428.00
               CB 11 (R751T) Motherboard                                                              $188.09   0.00%       1.00
               CB 11 (R751T) Palmrest w/ Keyboard                                                   $3,986.76   0.05%     276.00
               CB 11 (R751T) Screw Set                                                                $196.70   0.00%     190.00
               CB 11 (R751T) Sensor Board                                                             $749.53   0.01%     282.00
               CB 11 (R751T) Sensor Board Cable                                                       $344.14   0.00%     339.00
               CB 11 (R751T) Speaker Set                                                              $639.59   0.01%     330.00
               CB 11 (R751T) Trackpad                                                                 $668.29   0.01%     302.00
               CB 11 (R751T) Trackpad Flex                                                            $428.15   0.00%     353.00
               CB 11 (R751T) Wi-Fi Antenna                                                            $391.21   0.00%      29.00
               CB 11 (R751T) Wi-Fi Card                                                             $3,389.82   0.04%     551.00
               CB 11 (R751TN) LCD w/ Digitizer                                                      $8,005.17   0.09%     167.00
               CB 11 (R751TN) Palmrest w/ Keyboard                                                     $58.29   0.00%       2.00
               CB 11 (R752T) Battery                                                                    $0.00   0.00%      11.00
               CB 11 (R752T) Camera Cable                                                              $12.92   0.00%     118.00
               CB 11 (R752T) Camera [Front]                                                           $196.41   0.00%     112.00
               CB 11 (R752T) Camera [Palmrest]                                                        $157.50   0.00%     118.00
               CB 11 (R752T) Daughterboard                                                              $0.00   0.00%      22.00
               CB 11 (R752T) Daughterboard Cable                                                        $0.00   0.00%      89.00
               CB 11 (R752T) Daughterboard Flex Set                                                     $0.00   0.00%      81.00




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               CB 11 (R752T) Daughterboard Flex [30 Pin]                                                 $0.00   0.00%    13.00
               CB 11 (R752T) Daughterboard Flex [40 Pin]                                                 $0.00   0.00%    20.00
               CB 11 (R752T) G Sensor Board                                                              $0.00   0.00%    96.00
               CB 11 (R752T) G Sensor Board Cable                                                        $7.56   0.00%   137.00
               CB 11 (R752T) Hinge - Left                                                               $90.51   0.00%    62.00
               CB 11 (R752T) Hinge - Right                                                              $46.37   0.00%    32.00
               CB 11 (R752T) Housing [Base]                                                            $146.58   0.00%    52.00
               CB 11 (R752T) Housing [LCD Rear Cover]                                                    $8.72   0.00%    31.00
               CB 11 (R752T) LCD Assembly                                                           $17,798.86   0.21%   242.00
               CB 11 (R752T) LCD Cable                                                                  $10.91   0.00%    99.00
               CB 11 (R752T) Microphone                                                                  $0.00   0.00%   203.00
               CB 11 (R752T) Microphone Cable                                                            $0.00   0.00%   126.00
               CB 11 (R752T) Motherboard                                                               $641.99   0.01%     5.00
               CB 11 (R752T) Palmrest w/ Keyboard                                                       $74.30   0.00%     8.00
               CB 11 (R752T) Palmrest w/ Keyboard (w/ WFC)                                              $30.05   0.00%    39.00
               CB 11 (R752T) Screw Set                                                                   $0.00   0.00%    51.00
               CB 11 (R752T) Speaker Set                                                                $34.28   0.00%   110.00
               CB 11 (R752T) Stylus                                                                    $293.28   0.00%    25.00
               CB 11 (R752T) Trackpad                                                                   $11.92   0.00%    76.00
               CB 11 (R752T) Trackpad Flex                                                               $4.81   0.00%   137.00
               CB 11 (R752T) Wi-Fi Antenna                                                               $0.89   0.00%     9.00
               CB 11 (R752T) Wi-Fi Card                                                                $666.19   0.01%   145.00
               CB 11 (R752T) Wi-Fi Repair Kit                                                           $80.94   0.00%     6.00
               CB 11 (R752TN) AC Adapter                                                                $87.80   0.00%     5.00
               CB 11 (R752TN) Battery                                                                    $0.00   0.00%    14.00
               CB 11 (R752TN) Camera                                                                     $0.00   0.00%    26.00
               CB 11 (R752TN) Daughterboard                                                              $0.00   0.00%    17.00
               CB 11 (R752TN) Daughterboard Flex [30 Pin]                                                $0.18   0.00%     1.00
               CB 11 (R752TN) Daughterboard Flex [40 Pin]                                                $0.40   0.00%     1.00
               CB 11 (R752TN) Hinge [Left]                                                               $0.00   0.00%    17.00
               CB 11 (R752TN) Hinge [Right]                                                            $101.76   0.00%    12.00
               CB 11 (R752TN) Housing [Base]                                                            $51.42   0.00%     5.00
               CB 11 (R752TN) Housing [LCD Rear Cover]                                                  $42.12   0.00%     4.00
               CB 11 (R752TN) LCD Cable                                                                 $17.56   0.00%     4.00
               CB 11 (R752TN) Microphone                                                                 $0.00   0.00%    26.00
               CB 11 (R752TN) Palmrest w/ Keyboard                                                      $15.42   0.00%     5.00
               CB 11 (R752TN) Sensor Board                                                               $0.00   0.00%     1.00
               CB 11 (R752TN) Stylus                                                                     $0.00   0.00%    30.00
               CB 11 (R752TN) Trackpad w/ Bracket                                                       $90.96   0.00%     6.00
               CB 11 (R752TN) Wi-Fi Antenna                                                              $0.00   0.00%    35.00
               CB 11 (R752TN) Wi-Fi Card                                                               $150.10   0.00%    19.00
               CB 11 (R851TN) Battery                                                                  $137.76   0.00%     9.00
               CB 11 (R851TN) Camera                                                                   $723.71   0.01%    23.00
               CB 11 (R851TN) Camera Cable                                                              $13.23   0.00%    15.00
               CB 11 (R851TN) Camera Cable [Palmrest]                                                    $5.04   0.00%    13.00
               CB 11 (R851TN) Camera [Palmrest]                                                        $273.00   0.00%    20.00
               CB 11 (R851TN) Daughterboard Flex - Large                                                 $0.57   0.00%     6.00
               CB 11 (R851TN) Daughterboard Flex - Small                                                 $0.52   0.00%     8.00
               CB 11 (R851TN) G Sensor Board                                                             $4.15   0.00%     6.00
               CB 11 (R851TN) G Sensor Board Cable                                                       $2.48   0.00%    11.00
               CB 11 (R851TN) Hinge [Left]                                                               $0.00   0.00%    40.00
               CB 11 (R851TN) Hinge [Right]                                                            $153.09   0.00%    24.00
               CB 11 (R851TN) Housing [Base]                                                            $40.23   0.00%     8.00
               CB 11 (R851TN) LCD Cable                                                                $112.64   0.00%    36.00
               CB 11 (R851TN) LCD Cable (Touch)                                                          $9.78   0.00%     2.00
               CB 11 (R851TN) LCD w/ Digitizer                                                       $4,843.25   0.06%    29.00
               CB 11 (R851TN) Microphone                                                                 $1.28   0.00%    18.00
               CB 11 (R851TN) Microphone Cable                                                           $0.00   0.00%     5.00
               CB 11 (R851TN) Motherboard Connector                                                      $2.19   0.00%    10.00
               CB 11 (R851TN) Motherboard [4GB][32GB]                                                $1,118.73   0.01%    11.00
               CB 11 (R851TN) Palmrest w/ Keyboard                                                     $110.21   0.00%     8.00
               CB 11 (R851TN) Power Button                                                               $1.52   0.00%     8.00
               CB 11 (R851TN) Power Button Cable                                                         $0.00   0.00%     3.00
               CB 11 (R851TN) Screw Set                                                                  $0.00   0.00%    10.00
               CB 11 (R851TN) Speaker Set                                                                $3.80   0.00%    10.00
               CB 11 (R851TN) Stylus Sensor w/ Board                                                    $15.03   0.00%    12.00
               CB 11 (R851TN) Trackpad                                                                 $119.21   0.00%    48.00
               CB 11 (R851TN) Trackpad Cable                                                             $1.63   0.00%    20.00
               CB 11 (R851TN) Wi-Fi Card                                                               $171.96   0.00%    41.00
               CB 11 (RC738T) AC Adapter                                                                 $2.76   0.00%     6.00
               CB 11 (RC738T) Battery                                                                $1,440.84   0.02%    74.00
               CB 11 (RC738T) Camera [Front]                                                         $1,051.90   0.01%   330.00
               CB 11 (RC738T) Daughterboard                                                            $142.90   0.00%    77.00
               CB 11 (RC738T) Daughterboard Flex                                                         $8.84   0.00%    27.00
               CB 11 (RC738T) Digitizer Board                                                           $51.15   0.00%    74.00
               CB 11 (RC738T) Hinge Set*                                                               $251.91   0.00%     9.00
               CB 11 (RC738T) Hinge [Left]                                                           $2,619.20   0.03%   260.00
               CB 11 (RC738T) Hinge [Right]                                                          $2,097.00   0.02%   479.00
               CB 11 (RC738T) Housing [Base]                                                         $1,939.47   0.02%   127.00
               CB 11 (RC738T) Housing [LCD Rear Cover]                                               $1,706.75   0.02%    79.00
               CB 11 (RC738T) LCD Assembly                                                           $3,979.36   0.05%    39.00
               CB 11 (RC738T) LCD Cable                                                                $113.94   0.00%    71.00
               CB 11 (RC738T) LCD w/ Digitizer                                                      $15,346.51   0.18%   266.00
               CB 11 (RC738T) LED Board                                                                $313.00   0.00%   155.00
               CB 11 (RC738T) LED Board Flex                                                            $12.62   0.00%    29.00
               CB 11 (RC738T) Microphone                                                               $505.96   0.01%   106.00
               CB 11 (RC738T) Motherboard [4GB][32GB]                                               $10,423.66   0.12%   153.00
               CB 11 (RC738T) Palmrest w/ Keyboard                                                   $3,166.63   0.04%   200.00
               CB 11 (RC738T) Screw Set                                                                 $26.79   0.00%    76.00
               CB 11 (RC738T) Sensor Board                                                             $519.45   0.01%    61.00
               CB 11 (RC738T) Sensor Board Flex                                                         $57.40   0.00%    95.00
               CB 11 (RC738T) Speaker Set                                                              $293.45   0.00%   145.00
               CB 11 (RC738T) Trackpad                                                                 $373.96   0.00%   110.00
               CB 11 (RC738T) Trackpad Flex                                                             $14.56   0.00%    33.00
               CB 11 (RC738T) Wi-Fi Antenna Set                                                          $0.00   0.00%     2.00
               CB 11 (RC738T) Wi-Fi Card                                                                $71.81   0.00%   139.00
               CB 11 (XE303C12) Battery                                                                $213.68   0.00%     7.00
               CB 11 (XE303C12) DC Jack                                                                $809.40   0.01%    60.00
               CB 11 (XE303C12) Hinge Set*                                                              $71.95   0.00%     5.00
               CB 11 (XE303C12) Housing [Base]                                                         $585.57   0.01%    38.00
               CB 11 (XE303C12) Housing [Hinge Cover]                                                  $179.90   0.00%    10.00
               CB 11 (XE303C12) Housing [LCD Bezel]                                                    $224.89   0.00%    11.00
               CB 11 (XE303C12) Housing [LCD Rear Cover]                                               $331.61   0.00%    10.00
               CB 11 (XE303C12) LCD                                                                  $3,299.19   0.04%    73.00
               CB 11 (XE303C12) Motherboard                                                             $90.00   0.00%     7.00
               CB 11 (XE303C12) Palmrest w/ Keyboard                                                   $363.48   0.00%    13.00
               CB 11 (XE303C12) Palmrest w/ Keyboard and Trackpad*                                     $587.22   0.01%    21.00
               CB 11 (XE500C12) LCD Panel                                                                $0.00   0.00%     8.00
               CB 11 (XE500C13) Battery                                                                $896.15   0.01%    26.00
               CB 11 (XE500C13) Daughterboard w/ Flex Set                                               $23.98   0.00%     2.00
               CB 11 (XE500C13) Housing [LCD Bezel]                                                    $108.00   0.00%    11.00
               CB 11 (XE500C13) Housing [LCD Rear Cover]                                                $39.95   0.00%     5.00
               CB 11 (XE500C13) LCD                                                                     $34.99   0.00%     1.00
               CB 11 (XE500C13) Motherboard [2GB][32GB]                                                 $36.50   0.00%     1.00
               CB 11 (XE500C13) Motherboard [4GB] [32GB]                                             $5,209.19   0.06%    61.00
               CB 11 (XE500C13) Palmrest w/ Keyboard                                                    $82.20   0.00%    20.00
               CB 11 (XE500C13) Palmrest w/ Keyboard and Trackpad*                                     $610.63   0.01%    18.00
               CB 11 (XE500C13) Trackpad                                                               $100.00   0.00%    18.00
               CB 11 (XE500C13-K04US) Motherboard [4GB][32GB]                                          $443.92   0.01%     5.00




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               CB 11 (XE501C13) Camera                                                                        $32.98   0.00%     2.00
               CB 11 (XE503C12) Battery                                                                      $167.06   0.00%     6.00
               CB 11 (XE503C12) Daughterboard                                                                  $0.69   0.00%     1.00
               CB 11 (XE503C12) Daughterboard Flex                                                             $2.30   0.00%     2.00
               CB 11 (XE503C12) Housing [LCD Bezel]                                                           $32.40   0.00%     3.00
               CB 11 (XE503C12) LCD Panel                                                                    $102.57   0.00%     3.00
               CB 11 (XE503C12) Motherboard [4GB]                                                          $1,066.50   0.01%    15.00
               CB 11 (XE503C12) Palmrest Assembly                                                          $2,964.68   0.03%    36.00
               CB 11 (XE503C12) Speaker [Left]                                                                 $8.05   0.00%     7.00
               CB 11 (XE503C12) Speaker [Right]                                                                $4.60   0.00%     4.00
               CB 11 (XE503C12) Trackpad                                                                     $137.41   0.00%    19.00
               CB 11 4 (XE310XBA-K01US) Audio Board                                                            $0.00   0.00%    14.00
               CB 11 4 (XE310XBA-K01US) Audio Board Flex                                                       $0.00   0.00%    15.00
               CB 11 4 (XE310XBA-K01US) Camera                                                                 $0.00   0.00%    13.00
               CB 11 4 (XE310XBA-K01US) Daughterboard                                                          $0.00   0.00%    14.00
               CB 11 4 (XE310XBA-K01US) Daughterboard Flex                                                     $0.00   0.00%    14.00
               CB 11 4 (XE310XBA-K01US) Hinge Set*                                                             $0.00   0.00%    15.00
               CB 11 4 (XE310XBA-K01US) Housing [Base]                                                         $0.00   0.00%    10.00
               CB 11 4 (XE310XBA-K01US) Housing [LCD Bezel]                                                    $0.00   0.00%    13.00
               CB 11 4 (XE310XBA-K01US) Housing [LCD Rear Cover]                                               $0.00   0.00%     3.00
               CB 11 4 (XE310XBA-K01US) LCD Cable                                                              $0.00   0.00%     3.00
               CB 11 4 (XE310XBA-K01US) Palmrest w/ Keyboard                                                   $0.00   0.00%     6.00
               CB 11 4 (XE310XBA-K01US) Speaker [Left]                                                         $0.00   0.00%    15.00
               CB 11 4 (XE310XBA-K01US) Speaker [Right]                                                        $0.00   0.00%    15.00
               CB 11 4 (XE310XBA-K01US) Trackpad                                                               $0.00   0.00%    14.00
               CB 11 4 (XE310XBA-K01US) Trackpad Flex                                                          $0.00   0.00%    15.00
               CB 11 4 (XE310XBA-KA1US) Palmrest w/ Keyboard and Trackpad                                     $66.27   0.00%     1.00
               CB 11 4 (XE310XBA-KB1US) Battery                                                              $539.91   0.01%     7.00
               CB 11 4 (XE310XBA-KD1US) Palmrest w/ Keyboard and Trackpad                                     $58.69   0.00%     1.00
               CB 11 x360 (G1 EE) AC Adapter                                                                  $67.47   0.00%    10.00
               CB 11 x360 (G1 EE) Battery                                                                      $0.00   0.00%     6.00
               CB 11 x360 (G1 EE) Camera                                                                     $236.27   0.00%    38.00
               CB 11 x360 (G1 EE) Camera Cable                                                               $133.85   0.00%    34.00
               CB 11 x360 (G1 EE) Camera Cable [Palmrest]                                                     $10.85   0.00%     6.00
               CB 11 x360 (G1 EE) Camera [Palmrest]                                                           $16.27   0.00%     9.00
               CB 11 x360 (G1 EE) Daughterboard                                                              $426.74   0.00%    32.00
               CB 11 x360 (G1 EE) Daughterboard Flex Set*                                                    $100.01   0.00%    36.00
               CB 11 x360 (G1 EE) Hinge [Left]                                                                $88.04   0.00%    35.00
               CB 11 x360 (G1 EE) Hinge [Right]                                                              $100.01   0.00%    37.00
               CB 11 x360 (G1 EE) Housing [Base]                                                             $113.63   0.00%    29.00
               CB 11 x360 (G1 EE) Housing [LCD Rear Cover]                                                   $145.50   0.00%    31.00
               CB 11 x360 (G1 EE) LCD Assembly                                                             $1,099.09   0.01%    26.00
               CB 11 x360 (G1 EE) LCD Cable                                                                   $99.57   0.00%    23.00
               CB 11 x360 (G1 EE) LCD Cable w/ Stylus Connector                                               $14.04   0.00%     7.00
               CB 11 x360 (G1 EE) Motherboard [4GB][32GB]                                                     $95.80   0.00%     4.00
               CB 11 x360 (G1 EE) Palmrest w/ Keyboard                                                        $50.28   0.00%    12.00
               CB 11 x360 (G1 EE) Power Board                                                                $401.37   0.00%    47.00
               CB 11 x360 (G1 EE) Power Board Flex                                                           $124.95   0.00%    50.00
               CB 11 x360 (G1 EE) Screw Kit                                                                   $80.52   0.00%    36.00
               CB 11 x360 (G1 EE) Sensor Board                                                               $161.70   0.00%    34.00
               CB 11 x360 (G1 EE) Speaker Set                                                                $105.67   0.00%    33.00
               CB 11 x360 (G1 EE) Trackpad                                                                    $84.41   0.00%    30.00
               CB 11 x360 (G1 EE) Trackpad Flex                                                                $2.79   0.00%    10.00
               CB 11 x360 (G1 EE) Wi-Fi Card                                                                 $179.80   0.00%    29.00
               CB 11 x360 (G2 EE) Battery                                                                  $1,862.81   0.02%    75.00
               CB 11 x360 (G2 EE) Bracket Kit                                                                  $0.00   0.00%    36.00
               CB 11 x360 (G2 EE) Camera                                                                     $109.08   0.00%   109.00
               CB 11 x360 (G2 EE) Camera Cable                                                                 $0.00   0.00%   115.00
               CB 11 x360 (G2 EE) Camera [Palmrest]                                                            $0.00   0.00%     3.00
               CB 11 x360 (G2 EE) Camera [Palmrest] Flex                                                       $0.00   0.00%     3.00
               CB 11 x360 (G2 EE) Daughterboard                                                                $0.23   0.00%    65.00
               CB 11 x360 (G2 EE) Daughterboard Flex Set                                                       $0.00   0.00%   113.00
               CB 11 x360 (G2 EE) Daughterboard Flex [30 Pin]                                                  $0.00   0.00%     2.00
               CB 11 x360 (G2 EE) Hinge Set                                                                    $3.45   0.00%    97.00
               CB 11 x360 (G2 EE) Housing [Base]                                                              $21.59   0.00%    46.00
               CB 11 x360 (G2 EE) Housing [LCD Rear Cover] (Touch)                                         $1,085.86   0.01%    39.00
               CB 11 x360 (G2 EE) LCD Cable                                                                    $0.00   0.00%    25.00
               CB 11 x360 (G2 EE) LCD Cable (Touch)                                                          $370.47   0.00%   132.00
               CB 11 x360 (G2 EE) Palmrest w/ Keyboard                                                         $0.00   0.00%     6.00
               CB 11 x360 (G2 EE) Power Board Cable                                                            $0.00   0.00%   122.00
               CB 11 x360 (G2 EE) Screw Kit                                                                    $0.00   0.00%   101.00
               CB 11 x360 (G2 EE) Sensor Board                                                                 $0.00   0.00%    95.00
               CB 11 x360 (G2 EE) Speaker Set                                                                 $10.79   0.00%   112.00
               CB 11 x360 (G2 EE) Trackpad                                                                    $30.53   0.00%   104.00
               CB 11 x360 (G2 EE) Trackpad Flex                                                                $0.00   0.00%   122.00
               CB 11 x360 (G2 EE) Wi-Fi Card                                                                 $557.95   0.01%   193.00
               CB 11 x360 (G3 EE) Audio Board                                                                  $8.36   0.00%     1.00
               CB 11 x360 (G3 EE) Battery                                                                    $858.32   0.01%   105.00
               CB 11 x360 (G3 EE) Battery Cable                                                               $90.00   0.00%    34.00
               CB 11 x360 (G3 EE) Bracket Kit                                                                  $0.00   0.00%    34.00
               CB 11 x360 (G3 EE) Camera                                                                     $690.30   0.01%   206.00
               CB 11 x360 (G3 EE) Camera Cable                                                                 $0.00   0.00%   123.00
               CB 11 x360 (G3 EE) Camera [Palmrest]                                                            $0.00   0.00%    34.00
               CB 11 x360 (G3 EE) Daughterboard                                                                $6.45   0.00%    35.00
               CB 11 x360 (G3 EE) Daughterboard Flex Set                                                      $14.17   0.00%   111.00
               CB 11 x360 (G3 EE) Hinge Set                                                                  $183.10   0.00%    10.00
               CB 11 x360 (G3 EE) Hinge [Left]                                                                 $0.29   0.00%    61.00
               CB 11 x360 (G3 EE) Hinge [Right]                                                                $0.00   0.00%    63.00
               CB 11 x360 (G3 EE) Housing [Base]                                                             $899.07   0.01%   133.00
               CB 11 x360 (G3 EE) Housing [LCD Rear Cover]                                                   $471.66   0.01%    56.00
               CB 11 x360 (G3 EE) LCD Assembly                                                             $2,229.38   0.03%    13.00
               CB 11 x360 (G3 EE) LCD Cable                                                                   $33.08   0.00%   112.00
               CB 11 x360 (G3 EE) LCD Cable [WFC]                                                             $54.00   0.00%    15.00
               CB 11 x360 (G3 EE) LCD w/ Digitizer (Finger-Touch)                                            $427.25   0.00%    29.00
               CB 11 x360 (G3 EE) Motherboard                                                                $336.19   0.00%     8.00
               CB 11 x360 (G3 EE) Palmrest Camera Cable                                                       $33.88   0.00%    48.00
               CB 11 x360 (G3 EE) Palmrest w/ Keyboard                                                        $30.47   0.00%    11.00
               CB 11 x360 (G3 EE) Palmrest w/ Keyboard [w/ WFC]                                                $0.00   0.00%    19.00
               CB 11 x360 (G3 EE) Screw Kit                                                                   $21.47   0.00%   160.00
               CB 11 x360 (G3 EE) Sensor Board                                                                 $8.43   0.00%   109.00
               CB 11 x360 (G3 EE) Speaker Set                                                                $462.75   0.01%   182.00
               CB 11 x360 (G3 EE) Trackpad                                                                   $660.59   0.01%   169.00
               CB 11 x360 (G3 EE) Trackpad Bracket                                                             $0.00   0.00%    89.00
               CB 11 x360 (G3 EE) Trackpad Flex                                                              $167.64   0.00%   183.00
               CB 11 x360 (G3 EE) Wi-Fi Antenna                                                                $0.00   0.00%    42.00
               CB 11 x360 (G3 EE) Wi-Fi Card                                                                 $352.17   0.00%   163.00
               CB 11A (G6 EE Non-Touch) AC Adapter                                                            $11.66   0.00%     7.00
               CB 11A (G6 EE Non-Touch) Battery                                                              $229.70   0.00%    88.00
               CB 11A (G6 EE Non-Touch) Camera                                                                $20.37   0.00%     5.00
               CB 11A (G6 EE Non-Touch) Camera Cable                                                         $176.53   0.00%    60.00
               CB 11A (G6 EE Non-Touch) Daughterboard                                                      $1,369.92   0.02%   253.00
               CB 11A (G6 EE Non-Touch) Daughterboard Flex Set                                               $426.80   0.00%   330.00
               CB 11A (G6 EE Non-Touch) Heatsink                                                             $431.25   0.00%   131.00
               CB 11A (G6 EE Non-Touch) Hinge [Left]                                                         $461.55   0.01%   217.00
               CB 11A (G6 EE Non-Touch) Hinge [Right]                                                        $685.13   0.01%   299.00
               CB 11A (G6 EE Non-Touch) Housing [Base]                                                       $866.41   0.01%   245.00
               CB 11A (G6 EE Non-Touch) Housing [LCD Bezel]                                                  $685.63   0.01%   106.00
               CB 11A (G6 EE Non-Touch) Housing [LCD Rear Cover]                                             $388.82   0.00%    95.00
               CB 11A (G6 EE Non-Touch) LCD Cable                                                             $21.71   0.00%     9.00




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               CB 11A (G6 EE Non-Touch) Motherboard [4GB] [16GB]                                              $179.02   0.00%     8.00
               CB 11A (G6 EE Non-Touch) Palmrest w/ Keyboard                                                $3,129.03   0.04%   205.00
               CB 11A (G6 EE Non-Touch) Palmrest w/ Keyboard and Trackpad                                      $58.19   0.00%     7.00
               CB 11A (G6 EE Non-Touch) Screw Set                                                             $427.28   0.00%   326.00
               CB 11A (G6 EE Non-Touch) Speaker Set                                                         $1,055.21   0.01%   331.00
               CB 11A (G6 EE Non-Touch) Trackpad                                                              $673.66   0.01%   325.00
               CB 11A (G6 EE Non-Touch) Trackpad Flex                                                         $438.63   0.01%   340.00
               CB 11A (G6 EE Non-Touch) Trackpad Support Bracket                                                $0.00   0.00%    94.00
               CB 11A (G6 EE Non-Touch) USB Bracket                                                             $0.00   0.00%    20.00
               CB 11A (G6 EE Non-Touch) Wi-Fi Antenna                                                           $0.00   0.00%    14.00
               CB 11A (G6 EE Non-Touch) Wi-Fi Card                                                            $660.31   0.01%   308.00
               CB 11A (G6 EE Touch) Daughterboard Flex Set                                                      $0.00   0.00%     1.00
               CB 11A (G6 EE Touch) Housing [Base]                                                             $55.36   0.00%     3.00
               CB 11A (G6 EE Touch) Keyboard                                                                   $22.20   0.00%     1.00
               CB 11A (G8 EE Non-Touch) AC Adapter                                                            $291.96   0.00%    36.00
               CB 11A (G8 EE Non-Touch) Battery                                                                $51.65   0.00%    50.00
               CB 11A (G8 EE Non-Touch) Cable Kit*                                                            $100.10   0.00%    13.00
               CB 11A (G8 EE Non-Touch) Camera                                                                  $6.96   0.00%    45.00
               CB 11A (G8 EE Non-Touch) Camera Cable                                                            $0.00   0.00%    84.00
               CB 11A (G8 EE Non-Touch) Daughterboard                                                           $1.40   0.00%    64.00
               CB 11A (G8 EE Non-Touch) Daughterboard Flex Set                                                $433.75   0.01%   197.00
               CB 11A (G8 EE Non-Touch) Heatsink                                                               $17.94   0.00%    26.00
               CB 11A (G8 EE Non-Touch) Hinge [Left]                                                            $0.00   0.00%     6.00
               CB 11A (G8 EE Non-Touch) Hinge [Right]                                                           $1.57   0.00%    19.00
               CB 11A (G8 EE Non-Touch) Housing [Base]                                                      $1,298.87   0.01%   151.00
               CB 11A (G8 EE Non-Touch) Housing [Hinge Cover]                                                   $0.00   0.00%     9.00
               CB 11A (G8 EE Non-Touch) Housing [LCD Bezel]                                                    $10.69   0.00%     6.00
               CB 11A (G8 EE Non-Touch) Housing [LCD Rear Cover]                                              $644.07   0.01%    47.00
               CB 11A (G8 EE Non-Touch) LCD Bracket                                                            $44.05   0.00%    59.00
               CB 11A (G8 EE Non-Touch) LCD Cable                                                               $0.00   0.00%    12.00
               CB 11A (G8 EE Non-Touch) Motherboard                                                         $1,316.70   0.02%    15.00
               CB 11A (G8 EE Non-Touch) Palmrest w/ Keyboard                                                    $4.21   0.00%     7.00
               CB 11A (G8 EE Non-Touch) Palmrest w/ Keyboard and Trackpad                                     $502.90   0.01%    10.00
               CB 11A (G8 EE Non-Touch) Screw Kit                                                             $748.09   0.01%   230.00
               CB 11A (G8 EE Non-Touch) Speaker Set                                                         $1,033.17   0.01%   235.00
               CB 11A (G8 EE Non-Touch) Trackpad                                                              $354.24   0.00%   126.00
               CB 11A (G8 EE Non-Touch) Trackpad Bracket                                                       $18.40   0.00%    88.00
               CB 11A (G8 EE Non-Touch) Trackpad Flex                                                         $335.88   0.00%   239.00
               CB 11A (G8 EE Non-Touch) USB Bracket                                                            $26.91   0.00%    70.00
               CB 11A (G8 EE Non-Touch) Wi-Fi Antenna                                                          $45.56   0.00%    65.00
               CB 11A (G8 EE Non-Touch) Wi-Fi Card                                                            $704.89   0.01%   211.00
               CB 11A (G8 EE Non-Touch) Wi-Fi Card Bracket                                                     $18.40   0.00%    82.00
               CB 11A (G8 EE Touch) Cable Kit*                                                                $439.14   0.01%    26.00
               CB 11A (G8 EE Touch) Hinge [Right]                                                               $0.00   0.00%    10.00
               CB 11A (G8 EE Touch) Motherboard [A4-9120C][4GB][32GB]                                         $850.77   0.01%    17.00
               CB 11A (G8 EE Touch) Palmrest w/ Keyboard                                                        $0.00   0.00%     3.00
               CB 11A (G8 EE Touch) Trackpad                                                                    $0.00   0.00%     1.00
               CB 11A (G8 EE Touch) Trackpad Flex                                                               $0.00   0.00%     1.00
               CB 11A-NB0013DX Palmrest w/ Keyboard                                                            $95.34   0.00%     7.00
               CB 11A-NB0013DX Trackpad                                                                         $0.00   0.00%     1.00
               CB 11e (20DB) Hinge Set*                                                                       $135.00   0.00%     9.00
               CB 11e (20DB) Housing [Base]                                                                   $237.52   0.00%     8.00
               CB 11e (20DB) Housing [LCD Bezel]                                                              $301.95   0.00%    11.00
               CB 11e (20DB) Housing [LCD Rear Cover]                                                         $406.00   0.00%    14.00
               CB 11e (20DB) LCD Panel                                                                         $36.00   0.00%     1.00
               CB 11e (20DB) Motherboard [4GB] [32GB]                                                           $0.00   0.00%    72.00
               CB 11e (20DB) Palmrest                                                                         $913.99   0.01%    25.00
               CB 11e (20GF) Housing [Base]                                                                    $22.49   0.00%     1.00
               CB 11e (20GF) Housing [LCD Bezel]                                                              $106.62   0.00%     5.00
               CB 11e (20GF) Housing [LCD Rear Cover]                                                          $31.49   0.00%     1.00
               CB 11e (20GF) Keyboard                                                                         $276.37   0.00%    12.00
               CB 11e (20GF) LCD Cable                                                                        $410.68   0.00%    28.00
               CB 11e (20GF) Motherboard [4GB] [32GB]                                                       $2,365.09   0.03%    27.00
               CB 11MK (G9 EE) Trackpad - Jet Black                                                             $0.00   0.00%     2.00
               CB 12 (C223NA) Housing [LCD Bezel]                                                               $4.88   0.00%     1.00
               CB 12 (C223NA) LCD Panel (30 Pin 11.6 in)                                                      $148.82   0.00%     4.00
               CB 12 (XE510C25) Palmrest w/ Keyboard                                                          $735.92   0.01%     8.00
               CB 13 (C300M) Wi-Fi Card                                                                         $0.00   0.00%     4.00
               CB 13 (C810) DC Jack                                                                             $9.00   0.00%     1.00
               CB 13 (CP713-1WN) Battery                                                                        $0.00   0.00%     2.00
               CB 13 (CP713-1WN) Hinge Set*                                                                     $0.00   0.00%     2.00
               CB 13 (CP713-1WN) Housing [Base]                                                                 $0.00   0.00%     2.00
               CB 13 (CP713-1WN) Housing [LCD Rear Cover]                                                       $0.00   0.00%     2.00
               CB 13 (CP713-1WN) LCD Cable                                                                     $32.25   0.00%     5.00
               CB 14 (3400) Palmrest w/ Trackpad                                                              $119.80   0.00%     4.00
               CB 14 (434TA) Trackpad Control Cable                                                             $6.00   0.00%     6.00
               CB 14 (C423NA-1B) LCD Panel                                                                  $1,117.65   0.01%    15.00
               CB 14 (C423NA-BCLN5) Camera                                                                      $0.00   0.00%     2.00
               CB 14 (C423NA-BCLN5) Daughterboard                                                               $0.00   0.00%     2.00
               CB 14 (C423NA-BCLN5) Daughterboard Flex Set                                                      $0.00   0.00%     2.00
               CB 14 (C423NA-BCLN5) Hinge Set                                                                   $0.00   0.00%     1.00
               CB 14 (C423NA-BCLN5) Housing [LCD Bezel]                                                         $5.08   0.00%     1.00
               CB 14 (C423NA-BCLN5) Housing [LCD Rear Cover]                                                   $30.00   0.00%     1.00
               CB 14 (C423NA-BCLN5) LCD Cable                                                                   $0.00   0.00%     2.00
               CB 14 (C423NA-BCLN5) Sensor Board                                                                $0.00   0.00%     2.00
               CB 14 (C423NA-BCLN5) Sensor Board Cable                                                          $0.00   0.00%     2.00
               CB 14 (C423NA-BCLN5) Speaker Set                                                                 $0.00   0.00%     2.00
               CB 14 (C423NA-BV0345) Battery                                                                   $37.99   0.00%     1.00
               CB 14 (C423NA-BV0345) Motherboard [4GB]                                                        $269.98   0.00%     2.00
               CB 14 (C434TA) Battery                                                                           $0.00   0.00%     1.00
               CB 14 (C434TA) Camera                                                                            $0.00   0.00%     2.00
               CB 14 (C434TA) Camera Cable                                                                      $0.00   0.00%     2.00
               CB 14 (C434TA) Daughterboard                                                                    $45.80   0.00%     6.00
               CB 14 (C434TA) Daughterboard Flex Set                                                            $2.40   0.00%     6.00
               CB 14 (C434TA) Hinge [Left]                                                                      $0.00   0.00%     4.00
               CB 14 (C434TA) Hinge [Right]                                                                     $0.00   0.00%     4.00
               CB 14 (C434TA) Housing [Base]                                                                    $0.00   0.00%     2.00
               CB 14 (C434TA) Housing [LCD Rear Cover]                                                         $90.09   0.00%     6.00
               CB 14 (C434TA) Keyboard                                                                        $785.10   0.01%    10.00
               CB 14 (C434TA) LCD Assembly                                                                    $656.39   0.01%     5.00
               CB 14 (C434TA) LCD Cable                                                                        $19.74   0.00%    10.00
               CB 14 (C434TA) LCD w/ Digitizer                                                                  $0.00   0.00%     3.00
               CB 14 (C434TA) Motherboard                                                                  $57,709.10   0.67%   199.00
               CB 14 (C434TA) Palmrest w/ Keyboard                                                              $0.00   0.00%     4.00
               CB 14 (C434TA) Screw Set                                                                         $0.00   0.00%     4.00
               CB 14 (C434TA) Sensor Board                                                                      $0.00   0.00%     4.00
               CB 14 (C434TA) Sensor Board Cable                                                                $0.00   0.00%     2.00
               CB 14 (C434TA) Speaker Set                                                                       $0.00   0.00%     3.00
               CB 14 (C434TA) Spine Cover                                                                       $0.00   0.00%     2.00
               CB 14 (C434TA) Touch Board                                                                      $45.00   0.00%     3.00
               CB 14 (C434TA) Touch Board Cable                                                                 $5.49   0.00%     5.00
               CB 14 (C434TA) Trackpad                                                                          $0.00   0.00%     2.00
               CB 14 (C434TA) Trackpad Cable                                                                    $0.00   0.00%     9.00
               CB 14 (C434TA) Wi-Fi Antenna                                                                     $0.00   0.00%     2.00
               CB 14 (C933) Battery Flex                                                                        $0.00   0.00%     2.00
               CB 14 (C933) Camera                                                                             $29.55   0.00%    52.00
               CB 14 (C933) Daughterboard                                                                     $444.26   0.01%    60.00
               CB 14 (C933) Daughterboard Flex Set                                                              $0.00   0.00%    33.00
               CB 14 (C933) Daughterboard Flex [30 Pin]                                                         $0.00   0.00%    83.00




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               CB 14 (C933) Daughterboard Flex [40 Pin]                                                 $0.00   0.00%    86.00
               CB 14 (C933) Hinge [Left]                                                               $20.72   0.00%    50.00
               CB 14 (C933) Hinge [Right]                                                              $30.68   0.00%   129.00
               CB 14 (C933) Housing [Base]                                                             $20.19   0.00%     4.00
               CB 14 (C933) Housing [LCD Bezel]                                                         $2.46   0.00%     3.00
               CB 14 (C933) Housing [LCD Rear Cover]                                                  $220.05   0.00%    61.00
               CB 14 (C933) LCD Assembly                                                              $648.39   0.01%     6.00
               CB 14 (C933) LCD Cable                                                                 $327.01   0.00%    75.00
               CB 14 (C933) LCD w/ Digitizer                                                       $55,353.00   0.64%   577.00
               CB 14 (C933) Palmrest w/ Keyboard                                                      $158.38   0.00%    16.00
               CB 14 (C933) Screw Set                                                                   $0.00   0.00%     2.00
               CB 14 (C933) Sensor Board                                                                $3.46   0.00%   118.00
               CB 14 (C933) Sensor Board Flex                                                           $1.59   0.00%   111.00
               CB 14 (C933) Speaker Set                                                                 $0.00   0.00%   112.00
               CB 14 (C933) Trackpad                                                                  $155.05   0.00%   102.00
               CB 14 (C933) Trackpad Flex                                                               $8.43   0.00%   150.00
               CB 14 (C933) Type-C Power Cable                                                          $0.00   0.00%    61.00
               CB 14 (C933) Wi-Fi Antenna                                                               $1.11   0.00%    28.00
               CB 14 (C933) Wi-Fi Card                                                                  $0.00   0.00%   119.00
               CB 14 (CB3-431) Battery                                                                  $0.00   0.00%     3.00
               CB 14 (CB3-431) Camera                                                                   $0.00   0.00%     5.00
               CB 14 (CB3-431) Daughterboard                                                            $0.00   0.00%     5.00
               CB 14 (CB3-431) Daughterboard Flex                                                       $0.00   0.00%     5.00
               CB 14 (CB3-431) DC Jack                                                                  $0.00   0.00%     5.00
               CB 14 (CB3-431) Hinge [Left]                                                             $0.00   0.00%     4.00
               CB 14 (CB3-431) Hinge [Right]                                                            $0.00   0.00%     5.00
               CB 14 (CB3-431) Housing [Base]                                                          $87.21   0.00%    12.00
               CB 14 (CB3-431) Housing [LCD Bezel]                                                      $0.00   0.00%     2.00
               CB 14 (CB3-431) Housing [LCD Rear Cover]                                               $242.40   0.00%    13.00
               CB 14 (CB3-431) Keyboard                                                               $144.70   0.00%     5.00
               CB 14 (CB3-431) LCD Cable                                                               $45.57   0.00%    12.00
               CB 14 (CB3-431) Microphone Board                                                         $0.00   0.00%     5.00
               CB 14 (CB3-431) Motherboard                                                              $0.00   0.00%     3.00
               CB 14 (CB3-431) Palmrest w/ Keyboard                                                     $0.00   0.00%     4.00
               CB 14 (CB3-431) Screw Set                                                                $0.00   0.00%     5.00
               CB 14 (CB3-431) Speaker Set                                                              $0.00   0.00%     4.00
               CB 14 (CB3-431) Spine Cover                                                              $0.00   0.00%     3.00
               CB 14 (CB3-431) Trackpad                                                                $37.80   0.00%    10.00
               CB 14 (CB3-431) Trackpad Flex                                                            $0.00   0.00%     5.00
               CB 14 (CB3-431) Wi-Fi Card                                                               $0.00   0.00%     5.00
               CB 14 (G4) Camera                                                                       $19.40   0.00%     1.00
               CB 14 (G4) DC Jack                                                                     $129.30   0.00%    13.00
               CB 14 (G4) Housing [Base]                                                              $359.94   0.00%     6.00
               CB 14 (G4) Motherboard [4GB] [32GB]                                                  $2,297.32   0.03%    31.00
               CB 14 (G4) Palmrest w/ Keyboard                                                        $912.99   0.01%    18.00
               CB 14 (G4) Speaker Set                                                                  $21.58   0.00%     2.00
               CB 14 (G4) Trackpad                                                                    $394.97   0.00%    15.00
               CB 14 (G5 Non-Touch) AC Adapter                                                          $9.94   0.00%     2.00
               CB 14 (G5 Non-Touch) Battery                                                         $1,709.77   0.02%    89.00
               CB 14 (G5 Non-Touch) Camera                                                              $0.00   0.00%     4.00
               CB 14 (G5 Non-Touch) Camera Cable                                                    $7,604.46   0.09%   532.00
               CB 14 (G5 Non-Touch) Daughterboard                                                      $16.01   0.00%    13.00
               CB 14 (G5 Non-Touch) Daughterboard Flex Set                                             $14.34   0.00%    29.00
               CB 14 (G5 Non-Touch) Daughterboard Flex [30 Pin]                                     $1,555.08   0.02%   104.00
               CB 14 (G5 Non-Touch) Daughterboard Flex [40 Pin]                                     $2,292.53   0.03%   154.00
               CB 14 (G5 Non-Touch) Hinge [Left]                                                        $0.00   0.00%    29.00
               CB 14 (G5 Non-Touch) Hinge [Right]                                                       $0.00   0.00%    29.00
               CB 14 (G5 Non-Touch) Housing [Base]                                                      $0.00   0.00%     7.00
               CB 14 (G5 Non-Touch) Housing [LCD Bezel]                                                 $0.00   0.00%     1.00
               CB 14 (G5 Non-Touch) Housing [LCD Rear Cover]                                           $27.72   0.00%    17.00
               CB 14 (G5 Non-Touch) LCD Cable                                                         $612.63   0.01%   114.00
               CB 14 (G5 Non-Touch) LCD Panel                                                         $228.46   0.00%     5.00
               CB 14 (G5 Non-Touch) LCD Panel (7IAF2158B34P001AH)                                  $31,656.10   0.37%   453.00
               CB 14 (G5 Non-Touch) Motherboard[N3350][4GB][16GB]                                       $0.00   0.00%     3.00
               CB 14 (G5 Non-Touch) Motherboard[N3450][8GB][32GB]                                     $419.97   0.00%     3.00
               CB 14 (G5 Non-Touch) Screw Set                                                           $2.70   0.00%    33.00
               CB 14 (G5 Non-Touch) Sensor Board                                                      $631.00   0.01%   322.00
               CB 14 (G5 Non-Touch) Sensor Board Cable                                                $642.94   0.01%   438.00
               CB 14 (G5 Non-Touch) Speaker Set                                                        $27.18   0.00%    49.00
               CB 14 (G5 Non-Touch) Trackpad                                                          $253.40   0.00%   110.00
               CB 14 (G5 Non-Touch) Trackpad Bracket                                                   $32.66   0.00%    95.00
               CB 14 (G5 Non-Touch) Trackpad Flex                                                      $13.22   0.00%    35.00
               CB 14 (G5 Non-Touch) USB Bracket                                                         $0.00   0.00%     4.00
               CB 14 (G5 Non-Touch) Wi-Fi Antenna                                                       $0.00   0.00%    14.00
               CB 14 (G5 Non-Touch) Wi-Fi Card                                                         $44.14   0.00%    32.00
               CB 14 (G5 Touch) Camera Cable                                                            $5.98   0.00%     2.00
               CB 14 (G5 Touch) Daughterboard                                                           $0.00   0.00%     1.00
               CB 14 (G5 Touch) Heatsink                                                                $0.00   0.00%     2.00
               CB 14 (G5 Touch) Housing [Base]                                                          $4.50   0.00%     1.00
               CB 14 (G5 Touch) Housing [LCD Rear Cover]                                              $406.35   0.00%    35.00
               CB 14 (G5 Touch) Palmrest w/ Keyboard                                                    $0.00   0.00%    15.00
               CB 14 (G5 Touch) Sensor Board                                                            $0.00   0.00%     2.00
               CB 14 (G5 Touch) Trackpad Flex                                                           $0.00   0.00%    73.00
               CB 14 (G6) Battery                                                                   $1,363.06   0.02%    39.00
               CB 14 (G6) Camera                                                                        $0.00   0.00%     6.00
               CB 14 (G6) Daughterboard                                                                 $0.00   0.00%     8.00
               CB 14 (G6) Daughterboard Flex                                                          $149.40   0.00%    18.00
               CB 14 (G6) Hinge Cover                                                                   $0.00   0.00%     5.00
               CB 14 (G6) Hinge Set                                                                     $0.00   0.00%     7.00
               CB 14 (G6) Housing [Base]                                                                $0.00   0.00%     7.00
               CB 14 (G6) Housing [LCD Bezel]                                                           $0.00   0.00%     3.00
               CB 14 (G6) Housing [LCD Rear Cover]                                                      $0.00   0.00%     6.00
               CB 14 (G6) LCD Cable                                                                     $0.00   0.00%     7.00
               CB 14 (G6) LCD Panel                                                                     $0.00   0.00%     3.00
               CB 14 (G6) Motherboard [N4020][4GB][32GB]                                                $0.00   0.00%     8.00
               CB 14 (G6) Palmrest w/ Keyboard                                                          $0.00   0.00%     6.00
               CB 14 (G6) Screw Kit                                                                     $0.00   0.00%     8.00
               CB 14 (G6) Sensor Board                                                                  $0.00   0.00%     8.00
               CB 14 (G6) Sensor Board Cable                                                            $0.00   0.00%     8.00
               CB 14 (G6) Speaker Set                                                                   $0.00   0.00%     8.00
               CB 14 (G6) Trackpad                                                                      $0.00   0.00%     8.00
               CB 14 (G6) Trackpad Flex                                                                 $0.00   0.00%     8.00
               CB 14 (G6) Wi-Fi Card                                                                    $0.00   0.00%     8.00
               CB 14 (N42) AC Adapter                                                                   $0.00   0.00%     8.00
               CB 14 (N42) Battery                                                                  $1,732.51   0.02%    94.00
               CB 14 (N42) Camera                                                                   $1,837.23   0.02%    47.00
               CB 14 (N42) Daughterboard (USB)                                                      $1,412.04   0.02%   141.00
               CB 14 (N42) Daughterboard (USB) Flex                                                   $167.80   0.00%   144.00
               CB 14 (N42) DC Jack                                                                     $22.31   0.00%    19.00
               CB 14 (N42) Hinge Set*                                                                 $108.89   0.00%    12.00
               CB 14 (N42) Hinge [Left]                                                                 $0.00   0.00%    16.00
               CB 14 (N42) Hinge [Right]                                                                $0.00   0.00%    11.00
               CB 14 (N42) Housing [Base]                                                             $280.22   0.00%    30.00
               CB 14 (N42) Housing [LCD Bezel]                                                      $1,000.76   0.01%    53.00
               CB 14 (N42) Housing [LCD Rear Cover]                                                   $275.29   0.00%    32.00
               CB 14 (N42) Keyboard                                                                    $42.99   0.00%     1.00
               CB 14 (N42) LCD Cable                                                                   $56.79   0.00%    15.00
               CB 14 (N42) LCD Cable (Touch)                                                           $16.70   0.00%     4.00
               CB 14 (N42) LCD Panel                                                                $1,522.58   0.02%    19.00




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               CB 14 (N42) LCD Panel (Touch)                                                                   $94.48   0.00%     3.00
               CB 14 (N42) Motherboard (Touch) [4GB][16GB]                                                     $12.27   0.00%     1.00
               CB 14 (N42) Motherboard [4GB][16GB]                                                            $311.34   0.00%     2.00
               CB 14 (N42) Motherboard [4GB][32GB]                                                          $3,306.34   0.04%    31.00
               CB 14 (N42) Palmrest w/ Keyboard                                                               $437.45   0.01%    41.00
               CB 14 (N42) Screw Set                                                                            $0.00   0.00%    15.00
               CB 14 (N42) Speaker Set                                                                        $287.86   0.00%    42.00
               CB 14 (N42) Trackpad                                                                           $176.47   0.00%    94.00
               CB 14 (N42) Trackpad Flex                                                                        $0.00   0.00%     8.00
               CB 14 (N42) Wi-Fi Card                                                                           $0.00   0.00%     7.00
               CB 14A (G5 Non-Touch) AC Adapter                                                                $26.75   0.00%    10.00
               CB 14A (G5 Non-Touch) Battery                                                                   $16.50   0.00%     2.00
               CB 14A (G5 Non-Touch) Camera                                                                    $11.00   0.00%     2.00
               CB 14A (G5 Non-Touch) Camera Cable                                                               $5.50   0.00%     2.00
               CB 14A (G5 Non-Touch) Daughterboard                                                            $258.66   0.00%    41.00
               CB 14A (G5 Non-Touch) Daughterboard Flex Set                                                   $134.27   0.00%   108.00
               CB 14A (G5 Non-Touch) Daughterboard Flex [30 Pin]                                                $0.00   0.00%   100.00
               CB 14A (G5 Non-Touch) Hinge Set                                                                 $22.00   0.00%     2.00
               CB 14A (G5 Non-Touch) Hinge [Left]                                                              $83.99   0.00%    32.00
               CB 14A (G5 Non-Touch) Hinge [Right]                                                             $84.44   0.00%    32.00
               CB 14A (G5 Non-Touch) Housing [Base]                                                            $55.00   0.00%     2.00
               CB 14A (G5 Non-Touch) Housing [LCD Bezel]                                                       $55.00   0.00%     2.00
               CB 14A (G5 Non-Touch) Housing [Rear Cover]                                                      $55.00   0.00%     2.00
               CB 14A (G5 Non-Touch) LCD Cable                                                                $361.90   0.00%    20.00
               CB 14A (G5 Non-Touch) LCD Cable (Touch)                                                          $0.00   0.00%     7.00
               CB 14A (G5 Non-Touch) Motherboard w/ Bracket                                                   $195.93   0.00%     9.00
               CB 14A (G5 Non-Touch) Motherboard [A4-9120C][4GB][16GB]                                        $178.49   0.00%     2.00
               CB 14A (G5 Non-Touch) Palmrest w/ Keyboard                                                      $81.42   0.00%    32.00
               CB 14A (G5 Non-Touch) Screw Set                                                                 $51.88   0.00%    33.00
               CB 14A (G5 Non-Touch) Sensor Board                                                              $75.57   0.00%    20.00
               CB 14A (G5 Non-Touch) Sensor Board Flex                                                         $72.67   0.00%   676.00
               CB 14A (G5 Non-Touch) Speaker Set                                                               $75.57   0.00%    20.00
               CB 14A (G5 Non-Touch) Trackpad                                                                  $11.00   0.00%   159.00
               CB 14A (G5 Non-Touch) Trackpad Bracket                                                           $0.00   0.00%    11.00
               CB 14A (G5 Non-Touch) Trackpad Flex                                                              $5.50   0.00%     6.00
               CB 14A (G5 Non-Touch) Wifi Card                                                                 $82.74   0.00%    22.00
               CB 14A (G5 Touch) Daughterboard Flex Set                                                         $5.94   0.00%    18.00
               CB 14A (G5 Touch) Heatsink                                                                       $0.00   0.00%     5.00
               CB 14A (G5 Touch) Hinge Set                                                                      $0.00   0.00%     1.00
               CB 14A (G5 Touch) Hinge [Left]                                                                   $0.00   0.00%    74.00
               CB 14A (G5 Touch) Hinge [Right]                                                                  $0.00   0.00%    77.00
               CB 14A (G5 Touch) Housing [Base]                                                                $36.47   0.00%    30.00
               CB 14A (G5 Touch) Housing [LCD Bezel]                                                            $0.86   0.00%     1.00
               CB 14A (G5 Touch) Housing [Rear Cover]                                                           $0.00   0.00%    36.00
               CB 14A (G5 Touch) LCD Cable (Touch)                                                             $55.92   0.00%     8.00
               CB 14A (G5 Touch) LCD Panel                                                                    $347.50   0.00%     4.00
               CB 14A (G5 Touch) Motherboard [A4-9120C][4GB][16GB]                                          $1,124.77   0.01%     8.00
               CB 14A (G5 Touch) Palmrest w/ Keyboard                                                         $304.84   0.00%     7.00
               CB 14A (G5 Touch) Screw Set                                                                      $0.00   0.00%     8.00
               CB 14A (G5 Touch) Sensor Board                                                                   $8.48   0.00%    34.00
               CB 14A (G5 Touch) Sensor Board Flex                                                              $0.00   0.00%   109.00
               CB 14A (G5 Touch) Speaker Set                                                                    $1.80   0.00%     8.00
               CB 14A (G5 Touch) Trackpad                                                                     $672.50   0.01%    39.00
               CB 14A (G5 Touch) Trackpad Flex                                                                  $3.98   0.00%     2.00
               CB 14A (G5 Touch) USB Bracket                                                                    $0.00   0.00%     7.00
               CB 14A (G5 Touch) Wi-Fi Antenna                                                                  $0.00   0.00%     1.00
               CB 14A (NA0061DX) Battery                                                                        $1.90   0.00%     1.00
               CB 14A (NA0061DX) Housing [Base]                                                                 $1.90   0.00%     1.00
               CB 14A (NA0061DX) Housing [LCD Bezel]                                                          $199.80   0.00%     4.00
               CB 14A (NA0061DX) Motherboard [4GB][32GB]                                                       $99.99   0.00%     1.00
               CB 14A (NA0061DX) Power Cable                                                                    $0.95   0.00%     1.00
               CB 14A (NA0061DX) Speaker Set                                                                    $1.90   0.00%     1.00
               CB 14A (NA0061DX) Trackpad Flex                                                                  $1.90   0.00%     1.00
               CB 14A (NA0061DX) USB Board                                                                     $29.95   0.00%     1.00
               CB 14A (NA0061DX) USB Board Flex [30 Pin]                                                        $1.90   0.00%     1.00
               CB 14A (NA0061DX) USB Board Flex [40 Pin]                                                        $1.90   0.00%     1.00
               CB 14c x360 (CA0053DX) Battery                                                                   $0.00   0.00%     5.00
               CB 14c x360 (CA0053DX) Camera                                                                    $0.00   0.00%     7.00
               CB 14c x360 (CA0053DX) Camera Cable                                                              $0.00   0.00%    11.00
               CB 14c x360 (CA0053DX) Daughterboard                                                             $0.00   0.00%     8.00
               CB 14c x360 (CA0053DX) Daughterboard Flex Set                                                    $0.00   0.00%    12.00
               CB 14c x360 (CA0053DX) Fan                                                                       $0.00   0.00%    15.00
               CB 14c x360 (CA0053DX) Fingerprint Scanner w/ Flex                                               $0.00   0.00%    14.00
               CB 14c x360 (CA0053DX) Hinge Set                                                                 $0.00   0.00%    12.00
               CB 14c x360 (CA0053DX) Housing [Base]                                                            $0.00   0.00%     9.00
               CB 14c x360 (CA0053DX) Housing [LCD Rear Cover]                                                  $0.00   0.00%     8.00
               CB 14c x360 (CA0053DX) LCD Cable                                                                 $0.00   0.00%    14.00
               CB 14c x360 (CA0053DX) LCD w/ Digitizer                                                          $0.00   0.00%     4.00
               CB 14c x360 (CA0053DX) Motherboard [8GB][64GB]                                                   $0.00   0.00%     1.00
               CB 14c x360 (CA0053DX) Palmrest w/ Keyboard                                                      $0.00   0.00%     9.00
               CB 14c x360 (CA0053DX) Screw Set                                                                 $0.00   0.00%    13.00
               CB 14c x360 (CA0053DX) Sensor Board                                                              $0.00   0.00%    14.00
               CB 14c x360 (CA0053DX) Speaker Set                                                               $0.00   0.00%    10.00
               CB 14c x360 (CA0053DX) Trackpad                                                                  $0.00   0.00%    13.00
               CB 14c x360 (CA0053DX) Trackpad Flex                                                             $0.00   0.00%    14.00
               CB 14c x360 Housing [LCD Rear Cover]                                                           $837.64   0.01%    14.00
               CB 14c x360 Palmrest w/ Keyboard and Trackpad                                                  $476.80   0.01%     5.00
               CB 14E (81MH) Battery                                                                          $328.24   0.00%   131.00
               CB 14E (81MH) Camera                                                                             $0.00   0.00%    97.00
               CB 14E (81MH) Daughterboard                                                                      $0.00   0.00%    85.00
               CB 14E (81MH) Daughterboard Set                                                                $148.51   0.00%   178.00
               CB 14E (81MH) Hinge (Left)                                                                       $0.00   0.00%    85.00
               CB 14E (81MH) Hinge (Right)                                                                      $0.00   0.00%    66.00
               CB 14E (81MH) Hinge Cover                                                                        $0.00   0.00%    54.00
               CB 14E (81MH) Hinge Set*                                                                        $57.80   0.00%     5.00
               CB 14E (81MH) Housing [Base]                                                                    $94.67   0.00%   110.00
               CB 14E (81MH) Housing [Hinge Cover]                                                             $98.44   0.00%    10.00
               CB 14E (81MH) Housing [LCD Bezel]                                                              $313.65   0.00%    67.00
               CB 14E (81MH) Housing [LCD Rear Cover]                                                          $12.11   0.00%    14.00
               CB 14E (81MH) IO Bracket                                                                         $0.00   0.00%    26.00
               CB 14E (81MH) LCD Cable                                                                         $50.29   0.00%    85.00
               CB 14E (81MH) LCD Panel [40 Pin]                                                                 $0.00   0.00%     2.00
               CB 14E (81MH) Motherboard [4GB][32GB]                                                            $0.00   0.00%    49.00
               CB 14E (81MH) Palmrest w/ Keyboard                                                               $9.81   0.00%    73.00
               CB 14E (81MH) Screw Set                                                                          $0.00   0.00%   155.00
               CB 14E (81MH) Speaker Set                                                                      $143.22   0.00%   184.00
               CB 14E (81MH) Trackpad                                                                           $0.00   0.00%    96.00
               CB 14E (81MH) Trackpad Cable                                                                     $0.00   0.00%   162.00
               CB 14E (81MH) Wi-Fi Card                                                                        $14.66   0.00%   136.00
               CB 15 (CB315-3H-C2C3) Motherboard [4GB][32GB]                                                  $183.91   0.00%     1.00
               CB 15 (CB315-3H-C2C3) USB Board                                                                  $8.99   0.00%     1.00
               CB 15 (CP315-1H) Motherboard                                                                     $0.00   0.00%     1.00
               CB 15 (CP315-1H) Wi-Fi Card                                                                     $23.94   0.00%     3.00
               CB 15 4+ (XE350XBA-K01US) Battery                                                                $7.13   0.00%     1.00
               CB 15 4+ (XE350XBA-K01US) Daughterboard Flex                                                     $2.13   0.00%     1.00
               CB 15 4+ (XE350XBA-K01US) Housing [Base]                                                         $2.13   0.00%     1.00
               CB 15 4+ (XE350XBA-K01US) Palmrest w/ Keyboard and Trackpad                                     $74.95   0.00%     1.00
               CB 15 4+ (XE350XBA-K05US) Camera                                                                $32.28   0.00%     1.00
               CB 15 4+ (XE350XBA-K05US) Palmrest w/ Keyboard                                                 $149.90   0.00%     2.00




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               CB R13 (CB5-312T) LCD                                                                                                        $222.83           0.00%       1.00
               CB R13 (CB5-312T) LCD Cable                                                                                                  $104.27           0.00%      25.00
               CB R13 (CB5-312T) Motherboard                                                                                                 $45.00           0.00%       1.00
               CB R13 (CB5-312T) Palmrest w/ Keyboard                                                                                        $87.90           0.00%       2.00
               CB R13 (CB5-312T) Trackpad                                                                                                    $96.92           0.00%      14.00
               CB Tab 10 (D651N-K9WT) Battery                                                                                               $145.83           0.00%       5.00
               CB Tab 10 (D651N-K9WT) Digitizer                                                                                             $225.00           0.00%       3.00
               CB Tab 10 (D651N-K9WT) Digitizer Flex                                                                                          $6.07           0.00%       1.00
               CB Tab 10 (D651N-K9WT) Housing [LCD Rear Cover]                                                                               $18.77           0.00%       1.00
               CB Tab 10 (D651N-K9WT) LCD Cable                                                                                              $17.55           0.00%       5.00
               CB Tab 10 (D651N-K9WT) Motherboard                                                                                         $1,437.27           0.02%      22.00
               Cellairis iPhone 6/S (Plus) Rapture Diary- MR                                                                                  $0.00           0.00%       2.00
               Cellairis iPhone 7/ 8 - Rapture Diary Carbon                                                                                   $0.00           0.00%       1.00
               Dell AC Adapter - 5.0 mm (65W 19.5V 3.34A)                                                                                     $0.00           0.00%      75.00
               DL-EP-5190-CBY-BLK                                                    EdgeProtect Plus for Dell 11" 5190 and 3100 2-in-1 Chromebooks
                                                                                                                                          $6,480.00 (Black)   0.07%     480.00
               DL-ES-3180-11-BLK                                                     Extreme Shell for Dell 3180 and 3181 Chromebook 11" (Black)
                                                                                                                                              $0.00           0.00%      28.00
               DL-ES-3189-11-BLK                                                     Extreme Shell for Dell 3189 Chrombook 11" (Black)    $6,462.50           0.07%     470.00
               DL-ESS-3100-CBC-BLK                                                   Extreme Shell-S for Dell 3100 Chromebook Clamshell 11.6"
                                                                                                                                            $405.00
                                                                                                                                               (Black)        0.00%      30.00
               DL-ESS-3100-CBY-BLK                                                   Extreme Shell-S for Dell 3100 Chromebook 2in1 11.6" (Black)
                                                                                                                                          $1,925.00           0.02%     140.00
               DT-DL3100CB2IN1-BLK                                                   DropTech for Dell Chromebook 3100 (2-in-1)             $525.00           0.01%      35.00
               DT-DL3100CBCS-BLK                                                     DropTech Dell 3100 11" CB CS                        $23,205.00           0.27%   1,190.00
               DT-DL31902IN1-BLK                                                     DropTech Dell 3189/3190 2-in-1 - Black               $2,681.25           0.03%     125.00
               DT-DL3190CS-BLK                                                       DropTech Dell 3180/3190 Clamshell - Black           $23,474.36           0.27%   1,590.00
               DT-DL5190-BLK                                                         DropTech for Dell Chromebook 5190 2-in-1             $3,390.00           0.04%     226.00
               DT-HP360PBEE11G3-BLK                                                  DropTech for HP ProBook x360 11 G3 EE               $13,399.72           0.15%     693.00
               DT-HPG514CBCS-BLK                                                     DropTech HP G5 14 Chromebook- Black                  $1,950.00           0.02%     100.00
               DT-HPX360CB11G2-BLK                                                   DropTech HP X360 11 Chromebook EE G2 Black           $6,873.87           0.08%     462.00
               DT-L300E-BLK                                                          DropTech Lenovo 300E 11.6" 2in1                      $6,719.32           0.08%     346.00
               DT-L500E-BLK                                                          DropTech for Lenovo 500e Chromebook (1st Gen)        $1,635.00           0.02%     109.00
               DT-LN23-BLK                                                           DropTech Lenovo N23 - Black                            $388.40           0.00%      20.00
               DT-LN24F-BLK                                                          DropTech Lenovo N24 Flip                            $39,576.00           0.46%   1,649.00
               EliteBook 840 (G1) Cable Kit                                                                                                   $0.00           0.00%      10.00
               EliteBook 840 (G1) Trackpad                                                                                                   $49.95           0.00%       1.00
               Elitebook 840 (G3) Cable Kit                                                                                                   $0.00           0.00%       1.00
               Elitebook 840 (G3) Card Reader                                                                                                 $0.00           0.00%       1.00
               Elitebook 840 (G3) HDD Kit                                                                                                     $0.00           0.00%       1.00
               Elitebook 840 (G3) Heatsink                                                                                                    $0.00           0.00%       1.00
               Elitebook 840 (G3) Hinge Kit                                                                                                   $0.00           0.00%       1.00
               Elitebook 840 (G3) Housing [LCD Bezel]                                                                                         $0.00           0.00%       1.00
               Elitebook 840 (G3) Housing [LCD Rear Cover]                                                                                    $0.00           0.00%       1.00
               Elitebook 840 (G3) Keyboard                                                                                                    $0.00           0.00%       1.00
               Elitebook 840 (G3) LCD Cable                                                                                                   $0.00           0.00%       1.00
               Elitebook 840 (G3) Motherboard                                                                                             $2,278.38           0.03%       4.00
               Elitebook 840 (G3) Power Button Board                                                                                          $0.00           0.00%       1.00
               Elitebook 840 (G3) Screw Kit                                                                                                   $0.00           0.00%       1.00
               Elitebook 840 (G3) Speaker Set                                                                                                 $0.00           0.00%       1.00
               Elitebook 840 (G3) Trackpad                                                                                                    $0.00           0.00%       1.00
               Elitebook 840 (G3) USB Board                                                                                                   $0.00           0.00%       1.00
               Elitebook 840 (G3) Wi-Fi Card                                                                                                  $0.00           0.00%       1.00
               EliteBook 840 (G6) Ambient Light Sensor                                                                                        $0.00           0.00%       1.00
               EliteBook 840 (G6) Battery                                                                                                     $0.00           0.00%       1.00
               EliteBook 840 (G6) Bracket Kit                                                                                                 $0.00           0.00%       1.00
               EliteBook 840 (G6) Cable Kit*                                                                                                  $0.00           0.00%       1.00
               EliteBook 840 (G6) Camera                                                                                                      $0.00           0.00%       1.00
               EliteBook 840 (G6) CMOS Battery                                                                                                $0.00           0.00%       1.00
               EliteBook 840 (G6) Ethernet Port w/ Bracket                                                                                    $0.00           0.00%       1.00
               EliteBook 840 (G6) Fan                                                                                                         $0.00           0.00%       1.00
               EliteBook 840 (G6) Fingerprint Sensor w/ Flex                                                                                  $0.00           0.00%       1.00
               EliteBook 840 (G6) Heatsink                                                                                                    $0.00           0.00%       1.00
               EliteBook 840 (G6) Hinge Set                                                                                                   $0.00           0.00%       1.00
               EliteBook 840 (G6) Housing [Base]                                                                                              $0.00           0.00%       1.00
               EliteBook 840 (G6) Housing [LCD Bezel]                                                                                         $0.00           0.00%       1.00
               EliteBook 840 (G6) Housing [LCD Rear Cover]                                                                                    $0.00           0.00%       1.00
               EliteBook 840 (G6) IO Board [w/ Bracket] w/ Flex                                                                               $0.00           0.00%       1.00
               EliteBook 840 (G6) Keyboard                                                                                                   $76.74           0.00%       2.00
               EliteBook 840 (G6) LCD Panel                                                                                                 $141.55           0.00%       1.00
               EliteBook 840 (G6) Motherboard                                                                                             $1,825.42           0.02%       2.00
               EliteBook x360 1030 (G4) Battery                                                                                               $0.00           0.00%      13.00
               EliteBook x360 1030 (G4) Cable Kit                                                                                             $0.00           0.00%       2.00
               EliteBook x360 1030 (G4) Camera                                                                                                $0.00           0.00%       9.00
               EliteBook x360 1030 (G4) Fingerprint Scanner w/ Flex                                                                           $0.00           0.00%      13.00
               EliteBook x360 1030 (G4) Hardware Kit                                                                                          $0.00           0.00%       8.00
               EliteBook x360 1030 (G4) Heatsink w/ Fan                                                                                       $0.00           0.00%      13.00
               EliteBook x360 1030 (G4) Hinge [Left]                                                                                          $0.00           0.00%      12.00
               EliteBook x360 1030 (G4) Hinge [Right]                                                                                         $0.00           0.00%      13.00
               EliteBook x360 1030 (G4) Housing [Base]                                                                                        $0.00           0.00%      11.00
               EliteBook x360 1030 (G4) Housing [LCD Rear Cover]                                                                              $0.00           0.00%      10.00
               EliteBook x360 1030 (G4) LCD w/ Digitizer                                                                                 $12,946.94           0.15%      22.00
               EliteBook x360 1030 (G4) Palmrest w/ Keyboard                                                                                  $0.00           0.00%       5.00
               EliteBook x360 1030 (G4) Power Board w/ Flex                                                                                   $0.00           0.00%      13.00
               EliteBook x360 1030 (G4) Screw Set                                                                                             $0.00           0.00%      13.00
               EliteBook x360 1030 (G4) Speaker Set                                                                                           $0.00           0.00%      13.00
               EliteBook x360 1030 (G4) SSD [128GB]                                                                                           $0.00           0.00%       7.00
               EliteBook x360 1030 (G4) SSD [256GB]                                                                                           $0.00           0.00%       6.00
               EliteBook x360 1030 (G4) Trackpad                                                                                              $0.00           0.00%      12.00
               EliteBook x360 1030 (G4) Trackpad Flex                                                                                         $0.00           0.00%      13.00
               Envy 15T (AS100) Battery                                                                                                       $0.00           0.00%      50.00
               Flex 3 (15) Palmrest w/ Keyboard                                                                                               $0.00           0.00%       1.00
               Galaxy J7 (2018) Battery                                                                                                      $53.65           0.00%       5.00
               Galaxy J7 (2018) Charge Port                                                                                                   $4.15           0.00%       5.00
               Galaxy J7 (2018) LCD Assembly - Black                                                                                         $36.36           0.00%       3.00
               Galaxy J7 Perx LCD Assembly - Gold                                                                                            $11.84           0.00%       1.00
               Galaxy Note 10 GDL - Black                                                                                                   $435.06           0.01%       2.00
               Galaxy Note 10 Housing [Rear] - Blue                                                                                          $11.99           0.00%       1.00
               Galaxy Note 3 Charge Port Flex (N900T)                                                                                         $2.66           0.00%       1.00
               Galaxy Note 3 LCD Assembly - White (N900V)                                                                                     $0.00           0.00%       4.00
               Galaxy Note 5 Charge Port Flex (N920P)                                                                                         $6.16           0.00%       1.00
               Galaxy Note 5 Charge Port Flex (N920T)                                                                                         $0.00           0.00%       2.00
               Galaxy Note 8 Battery                                                                                                         $35.00           0.00%       5.00
               Galaxy Note 8 Camera Lens [Rear]                                                                                               $0.83           0.00%       1.00
               Galaxy Note 8 Charge Port Flex                                                                                                 $5.97           0.00%       1.00
               Galaxy Note 8 Ear Speaker                                                                                                      $0.99           0.00%       1.00
               Galaxy Note 8 Housing [Rear] - Black                                                                                          $36.00           0.00%       5.00
               Galaxy Note 8 Housing [Rear] - Orchid Grey                                                                                     $0.00           0.00%       2.00
               Galaxy Note 8 LCD Assembly - Black                                                                                           $910.17           0.01%       5.00
               Galaxy S10 (Plus) Housing [Rear] - Black                                                                                       $0.00           0.00%       1.00
               Galaxy S10 (Plus) LCD Assembly - White                                                                                     $1,427.49           0.02%       5.00
               Galaxy S10 (Plus) LCD Assembly w/ Housing [Mid] - Blue                                                                       $216.95           0.00%       1.00
               Galaxy S10 Charge Port                                                                                                         $4.40           0.00%       1.00
               Galaxy S10 Housing [Rear] - Black                                                                                             $24.70           0.00%       4.00
               Galaxy S10 Housing [Rear] - Blue                                                                                              $66.39           0.00%       3.00
               Galaxy S10 LCD Assembly - Black                                                                                            $1,468.40           0.02%       5.00
               Galaxy S10 LCD Assembly - Blue                                                                                               $399.62           0.00%       2.00
               Galaxy S10E Battery                                                                                                           $25.19           0.00%       1.00
               Galaxy S10E Housing [Rear] - Black                                                                                             $7.98           0.00%       1.00
               Galaxy S10e Housing [Rear] - Prism Blue                                                                                       $13.80           0.00%       2.00
               Galaxy S4 LCD Assembly - Black                                                                                                 $0.00           0.00%       1.00
               Galaxy S5 (Active) LCD Assembly - Gray                                                                                         $0.00           0.00%       1.00
               Galaxy S5 LCD Assembly - Black                                                                                                $43.81           0.00%       2.00




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               Galaxy S5 LCD Assembly - White                                                                                                $0.00      0.00%       1.00
               Galaxy S5 Power Flex                                                                                                          $0.00      0.00%       1.00
               Galaxy S6 (Edge Plus) Housing [Rear] - Gold                                                                                   $0.00      0.00%       1.00
               Galaxy S6 (Edge) LCD Assembly - Black/Blue                                                                                    $0.00      0.00%       6.00
               Galaxy S6 (Edge) LCD Assembly - White                                                                                         $0.00      0.00%       4.00
               Galaxy S6 Housing [Rear] - Gold                                                                                               $0.00      0.00%       1.00
               Galaxy S6 LCD Assembly - Black                                                                                                $0.00      0.00%       2.00
               Galaxy S7 (Edge) Housing [Rear] - Black                                                                                       $0.00      0.00%       2.00
               Galaxy S7 (Edge) Housing [Rear] - Silver                                                                                      $0.00      0.00%       1.00
               Galaxy S7 (Edge) LCD Assembly - Black                                                                                         $0.00      0.00%       2.00
               Galaxy S7 Battery                                                                                                             $0.00      0.00%       1.00
               Galaxy S7 Housing [Rear] - Black                                                                                              $0.00      0.00%       3.00
               Galaxy S7 Housing [Rear] - Gold                                                                                               $0.00      0.00%       3.00
               Galaxy S7 LCD Assembly - White                                                                                                $0.00      0.00%       3.00
               Galaxy S8 (Plus) Battery                                                                                                      $9.22      0.00%       1.00
               Galaxy S8 (Plus) Camera [Rear]                                                                                              $16.97       0.00%       1.00
               Galaxy S8 (Plus) Housing [Rear] - Black                                                                                     $47.47       0.00%       6.00
               Galaxy S8 (Plus) Housing [Rear] - Gold                                                                                        $0.00      0.00%       2.00
               Galaxy S8 (Plus) Housing [Rear] - Silver                                                                                    $36.61       0.00%       5.00
               Galaxy S8 (Plus) LCD Assembly - Black                                                                                       $83.97       0.00%       1.00
               Galaxy S8 (Plus) LCD Assembly - Blue                                                                                       $371.44       0.00%       2.00
               Galaxy S8 (Plus) SIM Tray                                                                                                     $4.90      0.00%       1.00
               Galaxy S8 Camera Lens [Rear] - Black                                                                                          $2.32      0.00%       4.00
               Galaxy S8 Camera [Rear]                                                                                                     $33.94       0.00%       2.00
               Galaxy S8 Charge Port Flex (SM-G950U)                                                                                         $4.23      0.00%       1.00
               Galaxy S8 Ear Speaker                                                                                                         $1.00      0.00%       1.00
               Galaxy S8 Housing [Rear] - Black                                                                                              $4.13      0.00%       2.00
               Galaxy S8 Housing [Rear] - Blue                                                                                               $0.00      0.00%       1.00
               Galaxy S8 LCD Assembly - Black                                                                                           $1,308.00       0.02%       9.00
               Galaxy S9 (Plus) Housing [Rear] - Gray                                                                                        $0.00      0.00%       1.00
               Galaxy S9 (Plus) Housing [Rear] - Purple                                                                                      $6.84      0.00%       1.00
               Galaxy S9 (Plus) LCD Assembly - Black                                                                                      $501.35       0.01%       3.00
               Galaxy S9 Battery                                                                                                           $29.18       0.00%       4.00
               Galaxy S9 Camera Lens [Rear]                                                                                                  $0.09      0.00%       1.00
               Galaxy S9 Camera [Rear]                                                                                                     $10.68       0.00%       1.00
               Galaxy S9 Housing [Rear] - Black                                                                                            $22.60       0.00%       3.00
               Galaxy S9 Housing [Rear] - Purple                                                                                           $32.85       0.00%       1.00
               Galaxy S9 LCD Assembly - Black                                                                                             $151.93       0.00%       1.00
               Galaxy S9 LCD Assembly - Purple                                                                                            $178.94       0.00%       1.00
               Galaxy S9 Speaker                                                                                                             $9.44      0.00%       1.00
               Galaxy Tab A (10.1) LCD Assembly - Black                                                                                      $0.00      0.00%       1.00
               Galaxy Tab A (10.5) LCD Assembly                                                                                            $45.16       0.00%       1.00
               Galaxy Tab A (T387) Camera [Front]                                                                                         $394.50       0.00%      50.00
               Galaxy Tab A (T387) LCD Panel                                                                                                 $1.52      0.00%       1.00
               Galaxy Tab Pro 10.1" SM-T520 Charge port flex                                                                                 $1.70      0.00%       1.00
               Galaxy Tab S4 (SM-T837V) LCD                                                                                               $248.71       0.00%       1.00
               Generic Tablet Case                                                    Generic Tablet Case                                    $0.00      0.00%       1.00
               Google Pixel G/D/L - white                                                                                                    $0.00      0.00%       1.00
               HP-EP-X3CB-G2-BLK                                                      EdgeProtect Plus for HP 11" x360 Chromebook EE G2
                                                                                                                                      $12,420.00
                                                                                                                                         (Black)        0.14%     920.00
               HP-ES-CBCG5-14-BLK                                                     Extreme Shell for HP G5 14                             $0.00      0.00%       7.00
               HP-ESL-G9-BLK                                                          Max Interactive (Max Cases) - HP G9/G8 Chromebook 11" $0.00
                                                                                                                                             (Black)    0.00%       2.00
               HP-ESS-G5EE-14-BLK                                                     Extreme Shell-S for HP G5 EE Chromebook Clamshell$13,949.00
                                                                                                                                        14" (Black)     0.16%     962.00
               HP-ESS-G6EE-BLK                                                        Extreme Shell-S for HP G6 EE Chromebook Clamshell $7,023.46
                                                                                                                                        11.6" (Black)   0.08%     520.00
               HP-ESS-G7EE-BLK                                                        Extreme Shell-S for HP G7 EE Chromebook Clamshell$12,359.40
                                                                                                                                        11.6" (Black)   0.14%     908.00
               HP-ESS-G8EE-BLK                                                        Extreme Shell-S for HP G8 EE Chromebook Clamshell$16,672.50
                                                                                                                                        11.6" (Black)   0.19%   1,235.00
               HP-ESS-X3CB-G3-BLK                                                     Extreme Shell-S for HP x360 EE Gen 3            $52,100.42        0.60%   3,789.00
               Inspiron 11 (3180) Motherboard [4GB] [32GB]                                                                              $1,125.00       0.01%      25.00
               Inspiron 13 (7368) Battery                                                                                                  $96.80       0.00%       4.00
               Inspiron 14 (5482) LCD Panel                                                                                               $776.10       0.01%       5.00
               IP-HS-C731                                                             mCoverÂ® cases for 11.6" Acer Chromebook 11 N7 C731
                                                                                                                                        $1,257.48
                                                                                                                                             series     0.01%      84.00
               iPad 2 Antenna Flex (Left)                                                                                                    $0.00      0.00%       2.00
               iPad 2 Battery                                                                                                                $0.00      0.00%       1.00
               iPad 2 Camera [Front]                                                                                                         $0.00      0.00%       2.00
               iPad 2 Charge Port Flex                                                                                                       $1.63      0.00%       1.00
               iPad 2 Digitizer - Black                                                                                                   $116.32       0.00%      13.00
               iPad 2 Digitizer - White                                                                                                    $10.52       0.00%       1.00
               iPad 2 Housing [LCD Bezel] - Black                                                                                            $0.00      0.00%      27.00
               iPad 2 Housing [LCD Bezel] - White                                                                                            $0.00      0.00%      29.00
               iPad 2 LCD Panel                                                                                                            $87.04       0.00%       3.00
               iPad 2 Microphone                                                                                                             $0.00      0.00%       1.00
               iPad 2 Power Flex w/ Volume (2011)                                                                                            $0.00      0.00%       1.00
               iPad 3 Audio Flex Cable (w/ Daughter PCB Board) (Wi-Fi)                                                                       $0.00      0.00%       2.00
               iPad 3 Charge Port Flex                                                                                                       $0.00      0.00%       2.00
               iPad 4 Audio (Wi-Fi)                                                                                                        $22.80       0.00%       3.00
               iPad 4 Battery                                                                                                             $127.05       0.00%      10.00
               iPad 4 Bezel - Black                                                                                                          $8.13      0.00%       8.00
               iPad 4 Camera [Front]                                                                                                         $4.60      0.00%       8.00
               iPad 4 Camera [Rear]                                                                                                        $38.48       0.00%      13.00
               iPad 4 Charge Port Flex                                                                                                     $30.38       0.00%      13.00
               iPad 4 Digitizer - Black                                                                                                      $5.17      0.00%       1.00
               iPad 4 Digitizer - White                                                                                                    $21.15       0.00%       3.00
               iPad 4 Home Button Flex                                                                                                       $2.12      0.00%       5.00
               iPad 4 LCD Panel                                                                                                            $87.61       0.00%       3.00
               iPad 4 Power w/ Volume Flex                                                                                                   $0.00      0.00%       2.00
               iPad 4 Power w/ Volume Flex (Wi-Fi)                                                                                           $1.28      0.00%       1.00
               iPad 4 Wi-Fi w/ Bluetooth Flex                                                                                                $7.27      0.00%      15.00
               iPad 5 Audio Flex - Black                                                                                                     $9.47      0.00%       9.00
               iPad 5 Digitizer - White                                                                                                   $315.20       0.00%      20.00
               iPad 5 Home Button Flex - White                                                                                               $0.00      0.00%       2.00
               iPad 5 Home Button Gasket                                                                                                     $1.24      0.00%       5.00
               iPad 6 Audio Jack                                                                                                             $1.63      0.00%       1.00
               iPad 6 Digitizer - White                                                                                                    $36.45       0.00%       3.00
               iPad 6 Home Button Flex [White]                                                                                             $17.73       0.00%       4.00
               iPad 6 Home Button Spacer                                                                                                     $7.47      0.00%       3.00
               iPad 6 LCD Panel                                                                                                            $70.82       0.00%       1.00
               iPad 7 (10.2) Audio Jack                                                                                                      $7.08      0.00%       3.00
               iPad 7 (10.2) Digitizer - Black                                                                                             $18.13       0.00%       1.00
               iPad 7 (10.2) Digitizer - White                                                                                             $53.53       0.00%       2.00
               iPad 8 Battery                                                                                                              $22.45       0.00%       1.00
               iPad 8 Power Button Flex                                                                                                      $1.30      0.00%       1.00
               iPad Air 1 Audio Flex - Black (Cellular)                                                                                      $8.55      0.00%       5.00
               iPad Air 1 Battery                                                                                                         $103.81       0.00%       7.00
               iPad Air 1 Camera [Front]                                                                                                     $5.92      0.00%       2.00
               iPad Air 1 Camera [Rear]                                                                                                      $4.70      0.00%       2.00
               iPad Air 1 Charge Port - Black                                                                                                $0.00      0.00%       1.00
               iPad Air 1 Digitizer - Black                                                                                               $110.32       0.00%       7.00
               iPad Air 1 Digitizer - White                                                                                                $14.29       0.00%       1.00
               iPad Air 1 Home Button - Black                                                                                                $1.68      0.00%       1.00
               iPad Air 1 Home Button - White                                                                                                $1.75      0.00%       1.00
               iPad Air 1 LCD Panel                                                                                                        $38.27       0.00%       1.00
               iPad Air 1 Power w/ Volume Flex                                                                                               $6.10      0.00%       5.00
               iPad Air 1 SIM Card Flex                                                                                                      $0.00      0.00%       1.00
               iPad Air 1 Wi-Fi w/ Bluetooth Flex                                                                                            $0.00      0.00%       4.00
               iPad Air 2 Audio Flex - Black                                                                                                 $1.21      0.00%       8.00
               iPad Air 2 Battery                                                                                                          $48.59       0.00%       4.00
               iPad Air 2 Camera [Rear]                                                                                                    $36.60       0.00%      12.00
               iPad Air 2 Charge Port Flex - Black                                                                                           $0.00      0.00%       1.00
               iPad Air 2 Digitizer - Black                                                                                               $106.44       0.00%       6.00
               iPad Air 2 Home Button - Black                                                                                              $42.87       0.00%      18.00




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               iPad Air 2 Home Button - White/Silver                                                        $0.00   0.00%     1.00
               iPad Air 2 LCD Assembly - Black                                                          $1,742.42   0.02%    21.00
               iPad Air 2 Power Flex                                                                        $2.20   0.00%     1.00
               iPad Air 2 Volume Flex                                                                       $0.00   0.00%     6.00
               iPad Air 2 Wi-Fi Flex                                                                        $0.00   0.00%     2.00
               iPad Air 3 Digitizer - Black                                                                $24.89   0.00%     1.00
               iPad Air 3 Headphone Jack                                                                    $5.90   0.00%     2.00
               iPad Mini 1 Battery                                                                          $0.00   0.00%     1.00
               iPad Mini 1 LCD                                                                             $98.76   0.00%     3.00
               iPad Mini 1 Wi-Fi Flex                                                                       $0.00   0.00%     1.00
               iPad Mini 2 Digitizer - Black                                                               $74.67   0.00%     6.00
               iPad Mini 2 LCD (Retina)                                                                    $43.05   0.00%     3.00
               iPad Mini 3 Digitizer - Black                                                               $26.59   0.00%     2.00
               iPad Mini 3 Digitizer - White                                                               $13.80   0.00%     1.00
               iPad Mini 4 Battery                                                                        $150.38   0.00%    11.00
               iPad Mini 4 Charge Port Flex - Black                                                         $5.20   0.00%     2.00
               iPad Mini 4 Home Button - Silver                                                             $2.28   0.00%     1.00
               iPad Pro (10.5) Battery                                                                     $26.40   0.00%     2.00
               iPad Pro (10.5) LCD Assembly - Black                                                     $1,119.65   0.01%    11.00
               iPad Pro (11) LCD Assembly                                                                 $714.85   0.01%     3.00
               iPad Pro (12.9) LCD Assembly - Black                                                         $0.00   0.00%     1.00
               iPad Pro (9.7) Home Button Flex - Silver                                                     $0.00   0.00%     1.00
               iPad Pro (9.7) LCD Assembly - Black                                                        $282.21   0.00%     3.00
               iPad Pro 12.9 Home Button Silver                                                             $0.00   0.00%     1.00
               iPad Pro 12.9" Tempered Glass                                                                $0.00   0.00%     6.00
               iPad Pro 9.7" Tempered Glass                                                             $1,190.80   0.01%   229.00
               iPhone 11 Earpiece Speaker w/ Sensor Assembly                                               $29.42   0.00%     4.00
               iPhone 11 LCD Assembly - Black                                                             $200.85   0.00%     3.00
               iPhone 11 Pro Housing [Rear] w/ Glass - Gray                                               $244.65   0.00%     3.00
               iPhone 12 LCD Assembly                                                                     $107.15   0.00%     1.00
               iPhone 5 Battery                                                                             $0.00   0.00%     2.00
               iPhone 5 Camera [Front] w/ Proximity Sensor Flex                                             $0.00   0.00%     2.00
               iPhone 5 Charge Port Flex - Black                                                            $0.00   0.00%     2.00
               iPhone 5 Charge Port Flex - White                                                            $0.00   0.00%     2.00
               iPhone 5 Ear Speaker                                                                         $0.00   0.00%     2.00
               iPhone 5 LCD Assembly - White                                                                $0.00   0.00%    12.00
               iPhone 5C Battery                                                                            $0.00   0.00%     1.00
               iPhone 5C Camera [Front] w/ Proximity Sensor Flex                                            $0.00   0.00%     3.00
               iPhone 5C Home Button - Black                                                                $0.00   0.00%     1.00
               iPhone 5C Home Button Flex                                                                   $0.00   0.00%     1.00
               iPhone 5C Rear Camera                                                                        $0.00   0.00%     2.00
               iPhone 5S Camera [Front] w/ Proximity Sensor Flex                                            $0.00   0.00%     3.00
               iPhone 5S Camera [Rear]                                                                      $0.00   0.00%     2.00
               iPhone 5S Charge Port Flex - Black                                                           $0.00   0.00%     1.00
               iPhone 5S Ear Speaker                                                                        $0.00   0.00%     2.00
               iPhone 5S LCD Assembly - Black                                                               $0.00   0.00%    32.00
               iPhone 5S LCD Assembly - White                                                               $0.00   0.00%    26.00
               iPhone 6 (Plus) Battery                                                                     $11.86   0.00%     1.00
               iPhone 6 (Plus) G/D/L - Black                                                                $0.00   0.00%     1.00
               iPhone 6 (Plus) G/D/L - White                                                                $0.00   0.00%    27.00
               iPhone 6 (Plus) Vibrate Motor                                                                $0.00   0.00%     1.00
               iPhone 6 Camera [Rear]                                                                       $0.00   0.00%     1.00
               iPhone 6 LCD Assembly - Black                                                                $0.00   0.00%     1.00
               iPhone 6 Speaker                                                                             $0.00   0.00%     1.00
               iPhone 6S (Plus) Battery                                                                     $0.00   0.00%     1.00
               IPhone 6S (Plus) Ear Speaker                                                                 $0.00   0.00%     2.00
               iPhone 6S (Plus) Housing [Rear] - Gold                                                       $0.00   0.00%     1.00
               iPhone 6S (Plus) LCD Assembly - Black                                                       $46.03   0.00%     1.00
               iPhone 6S (Plus) Power Flex                                                                  $0.00   0.00%     4.00
               iPhone 6S (Plus) Vibrate Motor                                                               $0.00   0.00%     2.00
               iPhone 6S Camera [Rear]                                                                      $0.00   0.00%     1.00
               iPhone 6S Charge Port Flex - Silver                                                          $0.00   0.00%     2.00
               iPhone 6S LCD Assembly - White                                                               $0.00   0.00%     1.00
               iPhone 6S Speaker                                                                            $0.00   0.00%     1.00
               iPhone 6S Vibrate Motor                                                                      $0.00   0.00%     1.00
               iPhone 7 (Plus) Battery                                                                     $12.03   0.00%     1.00
               iPhone 7 (Plus) LCD Assembly - White                                                        $27.95   0.00%     1.00
               iPhone 7 Battery                                                                            $38.60   0.00%     4.00
               iPhone 7 Camera Lens [Rear]                                                                  $1.20   0.00%     8.00
               iPhone 7 Home Button - Black                                                                 $0.00   0.00%     1.00
               iPhone 7 LCD Assembly - Black                                                                $0.00   0.00%     2.00
               iPhone 7 LCD Assembly - White                                                                $0.00   0.00%     1.00
               iPhone 8 (Plus) Camera [Front] w/ Proximity Sensor Flex                                     $18.20   0.00%     2.00
               iPhone 8 (Plus) Home Button Flex                                                             $2.79   0.00%     1.00
               iPhone 8 (Plus) Housing [Rear] - Gold                                                        $2.51   0.00%     1.00
               iPhone 8 (Plus) LCD Assembly - Black                                                        $78.78   0.00%     3.00
               iPhone 8 Battery                                                                            $63.92   0.00%     6.00
               iPhone 8 Camera Font w/ Proximity Sensor Flex                                              $182.41   0.00%    29.00
               iPhone 8 Housing [Rear] - Black                                                             $41.30   0.00%     1.00
               iPhone 8 Housing [Rear] - Rose Gold                                                         $32.95   0.00%     1.00
               iPhone 8 LCD Assembly - Black                                                            $3,643.14   0.04%   133.00
               iPhone 8 LCD Assembly - White                                                              $359.63   0.00%    15.00
               iPhone SE - Battery                                                                          $0.00   0.00%     2.00
               iPhone X Camera Lens [Rear]                                                                  $1.56   0.00%     6.00
               iPhone XR LCD Assembly                                                                      $43.25   0.00%     1.00
               iPhone XS LCD Assembly                                                                     $120.87   0.00%     3.00
               iPhone XS Power Button Flex                                                                 $24.30   0.00%     3.00
               Latitude (3180) Housing [Base]                                                           $1,112.65   0.01%    35.00
               Latitude (3180) Housing [Hinge Cover]                                                       $58.86   0.00%    14.00
               Latitude (3180) Keyboard                                                                   $565.62   0.01%   136.00
               Latitude (3180) LCD Cable                                                                   $50.21   0.00%     7.00
               Latitude (3180) Palmrest                                                                 $1,000.78   0.01%    35.00
               Latitude (3180) Palmrest w/ Trackpad                                                     $3,852.80   0.04%    44.00
               Latitude (3180) SSD [128GB]                                                                 $74.39   0.00%     1.00
               Latitude (3189) AC Adapter                                                                   $7.90   0.00%     5.00
               Latitude (3189) Audio Board                                                                 $15.45   0.00%    10.00
               Latitude (3189) Battery                                                                    $195.70   0.00%    16.00
               Latitude (3189) Battery Cable                                                              $437.98   0.01%    47.00
               Latitude (3189) Board Set (Power w/ Audio) Cable                                             $3.00   0.00%    14.00
               Latitude (3189) Camera                                                                      $18.49   0.00%    18.00
               Latitude (3189) Camera [WFC]                                                                 $0.00   0.00%     6.00
               Latitude (3189) CMOS Battery                                                                 $4.78   0.00%    19.00
               Latitude (3189) Daughterboard                                                              $268.13   0.00%    19.00
               Latitude (3189) DC Jack                                                                     $36.73   0.00%    19.00
               Latitude (3189) Heatsink                                                                    $15.40   0.00%     5.00
               Latitude (3189) Hinge Set*                                                                  $29.20   0.00%     2.00
               Latitude (3189) Hinge [Left]                                                               $124.88   0.00%    35.00
               Latitude (3189) Hinge [Right]                                                               $12.19   0.00%    16.00
               Latitude (3189) Housing [Base]                                                             $212.82   0.00%     9.00
               Latitude (3189) Housing [LCD Rear Cover]                                                   $982.95   0.01%    57.00
               Latitude (3189) Keyboard                                                                    $17.73   0.00%     8.00
               Latitude (3189) LCD Cable                                                                   $63.95   0.00%    19.00
               Latitude (3189) LCD w/ Digitizer                                                         $4,680.00   0.05%    60.00
               Latitude (3189) LED Board                                                                   $36.97   0.00%     4.00
               Latitude (3189) Palmrest                                                                    $34.20   0.00%     5.00
               Latitude (3189) Palmrest w/ Trackpad                                                     $1,211.32   0.01%    32.00
               Latitude (3189) Power Button Board                                                           $9.24   0.00%    13.00
               Latitude (3189) Proximity Board Cable                                                       $71.11   0.00%    27.00
               Latitude (3189) Screw Set                                                                   $36.97   0.00%    18.00




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               Latitude (3189) Speaker Set                                                                                                     $159.82      0.00%         27.00
               Latitude (3189) SSD [128GB]                                                                                                      $92.42      0.00%         17.00
               Latitude (3189) Trackpad                                                                                                         $87.84      0.00%         29.00
               Latitude (3189) Trackpad Flex                                                                                                    $31.04      0.00%         18.00
               Latitude (3190 2-in-1) Battery                                                                                                  $263.82      0.00%          6.00
               Latitude (3190 2-in-1) Battery Cable                                                                                              $0.00      0.00%          1.00
               Latitude (3190 2-in-1) Camera                                                                                                     $0.00      0.00%          2.00
               Latitude (3190 2-in-1) CMOS Battery                                                                                               $1.61      0.00%          3.00
               Latitude (3190 2-in-1) DC Jack                                                                                                    $0.00      0.00%          2.00
               Latitude (3190 2-in-1) Hinge [Left]                                                                                               $0.00      0.00%          1.00
               Latitude (3190 2-in-1) Hinge [Right]                                                                                              $0.00      0.00%          1.00
               Latitude (3190 2-in-1) Keyboard                                                                                                  $94.75      0.00%          5.00
               Latitude (3190 2-in-1) Power Board                                                                                                $2.53      0.00%          3.00
               Latitude (3190 2-in-1) Power Board Cable                                                                                          $2.99      0.00%          3.00
               Latitude (3190 2-in-1) SSD [128GB]                                                                                                $0.00      0.00%          2.00
               Latitude (3190) Battery (WDX0R)                                                                                                   $0.00      0.00%          3.00
               Latitude (3190) Battery Cable                                                                                                    $14.95      0.00%          6.00
               Latitude (3190) Camera [Front]                                                                                                    $0.00      0.00%          4.00
               Latitude (3190) Camera [WFC]                                                                                                      $2.30      0.00%          1.00
               Latitude (3190) Daughterboard                                                                                                     $0.00      0.00%          3.00
               Latitude (3190) Daughterboard Flex                                                                                               $33.00      0.00%          8.00
               Latitude (3190) DC Jack                                                                                                           $9.45      0.00%          4.00
               Latitude (3190) Hinge Set*                                                                                                      $167.02      0.00%         86.00
               Latitude (3190) Hinge [Left]                                                                                                      $0.00      0.00%          3.00
               Latitude (3190) Hinge [Right]                                                                                                     $0.00      0.00%          3.00
               Latitude (3190) Housing [Base]                                                                                                $1,437.85      0.02%         47.00
               Latitude (3190) Housing [Hinge Cover]                                                                                             $0.00      0.00%          2.00
               Latitude (3190) Housing [LCD Bezel]                                                                                               $0.00      0.00%          2.00
               Latitude (3190) Housing [LCD Rear Cover]                                                                                         $11.92      0.00%          4.00
               Latitude (3190) Keyboard                                                                                                         $46.03      0.00%          8.00
               Latitude (3190) LCD Assembly                                                                                                    $475.00      0.01%          5.00
               Latitude (3190) LCD Cable                                                                                                        $75.67      0.00%          7.00
               Latitude (3190) Motherboard                                                                                                     $124.79      0.00%          2.00
               Latitude (3190) Palmrest                                                                                                          $0.00      0.00%          1.00
               Latitude (3190) Palmrest w/ Keyboard                                                                                            $975.20      0.01%         20.00
               Latitude (3190) Screw Set                                                                                                         $0.00      0.00%          6.00
               Latitude (3190) Speaker Set                                                                                                       $1.61      0.00%          6.00
               Latitude (3190) SSD [128GB]                                                                                                       $2.07      0.00%          3.00
               Latitude (3190) Trackpad                                                                                                          $0.35      0.00%         25.00
               Latitude (3190) Trackpad Flex                                                                                                    $42.12      0.00%         56.00
               Latitude (3300) Palmrest                                                                                                          $2.30      0.00%          1.00
               Latitude (3300) Trackpad Flex                                                                                                     $0.00      0.00%          1.00
               Latitude (3390) DC Jack                                                                                                          $39.90      0.00%          2.00
               Latitude (3390) Housing [Base]                                                                                                   $75.52      0.00%          2.00
               Latitude (3390) Memory [DDR4][8GB]                                                                                               $38.99      0.00%          1.00
               Latitude (3390) Trackpad                                                                                                          $0.00      0.00%          5.00
               Latitude (3500) LCD Panel                                                                                                       $109.14      0.00%          1.00
               Latitude (E5470) Camera                                                                                                          $76.12      0.00%          2.00
               Latitude (E7440) Audio Board                                                                                                      $0.00      0.00%          5.00
               Latitude (E7440) Audio Board Flex                                                                                                 $0.00      0.00%          5.00
               Latitude (E7440) Battery                                                                                                        $384.12      0.00%          9.00
               Latitude (E7440) Camera                                                                                                           $0.00      0.00%          5.00
               Latitude (E7440) CMOS Battery                                                                                                     $0.00      0.00%          5.00
               Latitude (E7440) Daughterboard                                                                                                    $0.00      0.00%          5.00
               Latitude (E7440) Daughterboard Flex                                                                                               $0.00      0.00%          5.00
               Latitude (E7440) DC Jack                                                                                                          $0.00      0.00%          5.00
               Latitude (E7440) Fan                                                                                                              $0.00      0.00%          5.00
               Latitude (E7440) Heatsink                                                                                                         $0.00      0.00%          5.00
               Latitude (E7440) Hinge Cover                                                                                                      $0.00      0.00%          5.00
               Latitude (E7440) Hinge Set*                                                                                                       $0.00      0.00%          5.00
               Latitude (E7440) Housing [Base]                                                                                                   $0.00      0.00%          3.00
               Latitude (E7440) Housing [LCD Bezel]                                                                                              $0.00      0.00%          5.00
               Latitude (E7440) Housing [LCD Rear Cover]                                                                                         $0.00      0.00%          3.00
               Latitude (E7440) Keyboard                                                                                                         $0.00      0.00%         16.00
               Latitude (E7440) LCD                                                                                                              $0.00      0.00%          2.00
               Latitude (E7440) LCD Cable                                                                                                      $229.20      0.00%         29.00
               Latitude (E7440) Memory [8GB]                                                                                                     $0.00      0.00%          5.00
               Latitude (E7440) Motherboard                                                                                                  $2,029.93      0.02%         13.00
               Latitude (E7440) Palmrest                                                                                                         $0.00      0.00%          3.00
               Latitude (E7440) Palmrest Button Board                                                                                            $0.00      0.00%          5.00
               Latitude (E7440) Palmrest w/ Keyboard                                                                                             $0.00      0.00%         50.00
               Latitude (E7440) Palmrest w/ Trackpad                                                                                         $1,029.00      0.01%         21.00
               Latitude (E7440) Power Button Board                                                                                               $0.00      0.00%          3.00
               Latitude (E7440) Sata SSD [256GB]                                                                                                 $0.00      0.00%          1.00
               Latitude (E7440) Screw Set                                                                                                        $0.00      0.00%          5.00
               Latitude (E7440) Speaker Set                                                                                                      $0.00      0.00%          4.00
               Latitude (E7440) SSD Bracket                                                                                                      $0.00      0.00%          4.00
               Latitude (E7440) SSD Cable                                                                                                        $0.00      0.00%          4.00
               Latitude (E7440) SSD [240GB]                                                                                                      $0.00      0.00%          4.00
               Latitude (E7440) Trackpad Button Board                                                                                            $0.00      0.00%          5.00
               Latitude (E7440) Trackpad Flex                                                                                                    $0.00      0.00%          5.00
               Latitude (E7440) Wi-Fi Card                                                                                                     $116.24      0.00%          8.00
               LCD Panel (30 Pin 14 in)                                                                                                      $8,195.36      0.09%        171.00
               LCD Panel (40 Pin 11 in)                                                                                                      $2,136.72      0.02%         45.00
               LCD Panel (40 Pin 11 in) (Touch)                                                                                              $1,549.80      0.02%         53.00
               LCD Panel (40 Pin 11.6")                                                                                                      $1,450.09      0.02%         21.00
               LCD Panel (40 Pin 14 in) (Touch)                                                                                              $1,375.91      0.02%         27.00
               LCD Panel (Touch) L/R Brackets (30 Pin 11 in)                                                                               $19,872.76       0.23%        475.00
               LCD Panel (Touch) T/B Brackets (30 Pin 11 in)                                                                                   $343.50      0.00%         15.00
               LCD Panel L/R Brackets (30 Pin 11 in)                                      30 Pin LCD with Left & Right Brackets            $77,891.56       0.90%      3,245.00
               LCD Panel T/B Brackets (30 Pin 11 in)                                      30 Pin LCD with Top & Bottom Brackets            $15,458.86       0.18%        599.00
               Lenovo AC Adapter - Slim (20V 4.5A)                                                                                              $18.88      0.00%         21.00
               Lenovo AC Adapter - USB C (45W 20V 3A)                                                                                            $0.00      0.00%        112.00
               Lenovo T460S/T470S LCD Only                                                                                                   $1,105.94      0.01%         11.00
               Lenovo Thinkpad T460s Battery                                                                                                   $219.50      0.00%          3.00
               Lenovo ThinkPad T460S/T470S Keyboard                                                                                              $0.00      0.00%         28.00
               Lenovo Yoga 920-13IKB Battery                                                                                                     $0.00      0.00%         11.00
               LG X Power 2 G/D/L - Black                                                                                                        $0.00      0.00%          1.00
               LN-ESS-14E-G1-BLK                                                          Extreme Shell-S for Lenovo 14e Chromebook 14" Gen 1$6,780.00
                                                                                                                                              AMD & 14w Windows
                                                                                                                                                            0.08%
                                                                                                                                                                (Black) 400.00
               LN-ESS-N42-14-BLK                                                          Shell-S for Lenovo N42 Chromebook 14" (Black)      $7,395.00      0.09%        510.00
               M.2 2280 SSD [256GB]                                                                                                             $69.23      0.00%          3.00
               M.2 SSD [128GB]                                                                                                                   $1.55      0.00%          3.00
               MacBook (A1466) Wi-Fi Card                                                                                                       $16.00      0.00%          2.00
               Macbook Air (A1466 mid-2013) Keyboard                                                                                             $0.00      0.00%          3.00
               MacBook Air (A1466) Battery                                                                                                     $552.12      0.01%          6.00
               MacBook Air (A1466) Daughterboard                                                                                               $210.64      0.00%          3.00
               MacBook Air (A1466) Hinge Set*                                                                                                   $31.86      0.00%          1.00
               MacBook Air (A1466) Keyboard                                                                                                    $476.38      0.01%          7.00
               MacBook Air (A1466) LCD                                                                                                       $5,470.21      0.06%         35.00
               MacBook Air (A1466) LCD Assembly                                                                                              $5,647.99      0.07%         26.00
               MacBook Air (A1466) Motherboard                                                                                               $1,132.28      0.01%          6.00
               MacBook Air (A1466) Trackpad                                                                                                    $256.07      0.00%          8.00
               Macbook Air 13in 2020 (A2179) Audio Board - Space Gray                                                                           $82.88      0.00%          1.00
               Macbook Air 13in 2020 (A2179) Battery [49.9Wh]                                                                                   $57.67      0.00%          1.00
               Macbook Air 13in 2020 (A2179) Fan                                                                                                 $4.59      0.00%          1.00
               Macbook Air 13in 2020 (A2179) Palmrest w/ Keyboard - Silver                                                                     $152.29      0.00%          1.00
               Macbook Pro (A1278) LCD Assembly                                                                                                  $0.00      0.00%          1.00
               Macbook Pro (A1707) Housing [Logo Strip Bezel Cover]                                                                             $12.99      0.00%          1.00
               Macbook Pro (A1707) Palmrest w/ Keyboard                                                                                        $199.99      0.00%          1.00




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               Macbook Pro (A1707) Touch Bar                                                                                                                $119.97       0.00%       3.00
               MacBook Pro 13" 2018 (A1989) Palmrest w/ Keyboard and Battery [Space Gray]                                                                   $204.93       0.00%       1.00
               MacBook Pro 13" 2020 (A2289) LCD Assembly - Silver                                                                                         $1,957.10       0.02%       5.00
               Moto X4 Battery                                                                                                                                 $0.00      0.00%      50.00
               Moto Z2 Play (XT1710) GDL - Black                                                                                                               $0.00      0.00%       1.00
               Motorola Moto E4 LCD Assembly - Black                                                                                                           $0.00      0.00%       1.00
               MS-BG-SG-CLR                                                                        Max - Extreme Shell Battle Glass Surface Pro Go 2 $10,147.50           0.12%     902.00
               MS-BG-SP56-CLR-R                                                                    Battle Glass for Microsoft Surface Pro Gen 5           $1,100.00       0.01%     110.00
               MS-ES-SG-G2-BLK                                                                     Extreme Shell for Microsoft Surface Go 1/ Go 2 / Go 3$27,563.85
                                                                                                                                                          - 10" (Black)   0.32%   1,915.00
               MS-ES-SP-G7-BLK                                                                     Extreme Shell for Microsoft Surface Pro 5/6/7 12.3" (Black)
                                                                                                                                                          $9,164.00       0.11%     632.00
               MS-ESL-SLG-12-BLK                                                                   Max Interactive (Max Cases) - Microsoft Surface Laptop$15,503.15
                                                                                                                                                            Go (Black)    0.18%   1,037.00
               Nexus 5 (BL-T9) Battery                                                                                                                         $0.00      0.00%       1.00
               Notebook (BW011DX) LCD                                                                                                                        $42.30       0.00%       1.00
               Pixel XL Battery                                                                                                                                $0.00      0.00%       1.00
               Pixelbook (C0A) Charge Port                                                                                                                     $3.75      0.00%       1.00
               Pixelbook (C0A) Housing [Base] w/ Battery                                                                                                     $24.99       0.00%       1.00
               Pixelbook (C0A) LCD Assembly                                                                                                                  $37.50       0.00%       1.00
               Pixelbook (C0A) Microphone Flex                                                                                                                 $3.75      0.00%       1.00
               Pixelbook (C0A) Motherboard                                                                                                                $1,164.94       0.01%       6.00
               Pixelbook (C0A) Palmrest w/ Keyboard                                                                                                          $22.50       0.00%       1.00
               Pixelbook (C0A) Sensor Flex                                                                                                                     $2.50      0.00%       1.00
               Pixelbook (C0A) Speaker Set                                                                                                                   $27.86       0.00%       2.00
               Pixelbook (C0A) Trackpad Flex                                                                                                                   $2.50      0.00%       1.00
               Pixelbook (C0A) USB-C Flex                                                                                                                      $2.49      0.00%       1.00
               Placeholder Case                                                                    Placeholder Case                                         $228.40       0.00%      20.00
               ProBook 11 (G1 EE) Camera                                                                                                                     $27.36       0.00%       2.00
               ProBook 11 (G1 EE) Keyboard                                                                                                                  $117.49       0.00%       2.00
               ProBook 11 (G1 EE) LCD Assembly                                                                                                                 $0.00      0.00%       2.00
               ProBook 310 (G2) DC Jack                                                                                                                     $191.76       0.00%       5.00
               ProBook 310 (G2) Housing [Base]                                                                                                               $49.07       0.00%       1.00
               ProBook 310 (G2) Housing [LCD Rear Cover]                                                                                                     $34.95       0.00%       1.00
               ProBook 310 (G2) Keyboard                                                                                                                    $949.02       0.01%      10.00
               ProBook 310 (G2) LCD Assembly (11.6")                                                                                                           $0.00      0.00%       2.00
               ProBook 310 (G2) Motherboard                                                                                                               $1,040.44       0.01%       9.00
               ProBook 430 (G7) CMOS Battery                                                                                                                   $0.00      0.00%       4.00
               ProBook 430 (G7) DC Jack                                                                                                                      $43.56       0.00%       2.00
               ProBook 430 (G7) LCD Panel                                                                                                                 $6,305.00       0.07%      97.00
               ProBook 430 (G7) USB Board                                                                                                                    $50.52       0.00%       3.00
               ProBook 430 (G7) Wi-Fi Card                                                                                                                   $17.26       0.00%       1.00
               ProBook 440 (G1) Housing [Base]                                                                                                              $881.90       0.01%      11.00
               ProBook 450 (G1) Motherboard [4000M]                                                                                                         $690.80       0.01%      10.00
               ProBook 650 (G1) LCD Cable                                                                                                                      $0.00      0.00%       1.00
               ProBook 650 (G2) Keyboard                                                                                                                       $0.00      0.00%       1.00
               ProBook x360 11 (G1 EE) AC Adapter                                                                                                            $34.83       0.00%       1.00
               ProBook x360 11 (G1 EE) Battery                                                                                                                 $0.00      0.00%      10.00
               ProBook x360 11 (G1 EE) Cable Kit*                                                                                                            $45.90       0.00%       1.00
               ProBook x360 11 (G1 EE) Camera                                                                                                                $55.94       0.00%      12.00
               ProBook x360 11 (G1 EE) Camera Cable                                                                                                            $0.00      0.00%       7.00
               ProBook x360 11 (G1 EE) CMOS Battery                                                                                                            $0.00      0.00%      11.00
               ProBook x360 11 (G1 EE) Daughterboard                                                                                                           $0.00      0.00%       8.00
               ProBook x360 11 (G1 EE) Daughterboard Flex Set                                                                                                  $0.00      0.00%      11.00
               ProBook x360 11 (G1 EE) Hinge [Right]                                                                                                           $0.00      0.00%       6.00
               ProBook x360 11 (G1 EE) Motherboard [4GB][64GB]                                                                                              $300.00       0.00%       2.00
               ProBook x360 11 (G1 EE) Speaker Set                                                                                                             $0.00      0.00%      11.00
               ProBook x360 11 (G1 EE) Trackpad                                                                                                                $0.00      0.00%       7.00
               ProBook x360 11 (G1 EE) Wi-Fi Card                                                                                                              $0.00      0.00%       1.00
               ProBook x360 11 (G3 EE) AC Adapter                                                                                                            $94.89       0.00%       3.00
               ProBook x360 11 (G3 EE) Battery                                                                                                              $103.33       0.00%      36.00
               ProBook x360 11 (G3 EE) Camera                                                                                                                  $0.00      0.00%      34.00
               ProBook x360 11 (G3 EE) Camera Cable                                                                                                            $0.00      0.00%       4.00
               ProBook x360 11 (G3 EE) CMOS Battery                                                                                                            $0.00      0.00%      46.00
               ProBook x360 11 (G3 EE) Daughterboard                                                                                                           $8.36      0.00%      34.00
               ProBook x360 11 (G3 EE) Daughterboard Flex Set                                                                                                  $0.00      0.00%      39.00
               ProBook x360 11 (G3 EE) DC Jack                                                                                                                 $0.00      0.00%      39.00
               ProBook x360 11 (G3 EE) Digitizer                                                                                                               $0.00      0.00%      26.00
               ProBook x360 11 (G3 EE) Hinge [Left]                                                                                                            $0.00      0.00%      18.00
               ProBook x360 11 (G3 EE) Hinge [Right]                                                                                                           $0.00      0.00%      39.00
               ProBook x360 11 (G3 EE) Housing [Base]                                                                                                       $496.24       0.01%      35.00
               ProBook x360 11 (G3 EE) Housing [LCD Rear Cover]                                                                                           $1,637.10       0.02%      33.00
               ProBook x360 11 (G3 EE) LCD Cable [Touch]                                                                                                       $0.00      0.00%      27.00
               ProBook x360 11 (G3 EE) LCD w/ Digitizer                                                                                                   $6,781.10       0.08%      83.00
               ProBook x360 11 (G3 EE) LED Board                                                                                                               $0.00      0.00%      13.00
               ProBook x360 11 (G3 EE) Motherboard [4GB][64GB]                                                                                            $7,837.64       0.09%      72.00
               ProBook x360 11 (G3 EE) Palmrest w/ Keyboard                                                                                              $10,350.00       0.12%     248.00
               ProBook x360 11 (G3 EE) Screw Kit                                                                                                               $0.00      0.00%      44.00
               ProBook x360 11 (G3 EE) Sensor Board                                                                                                            $0.00      0.00%      37.00
               ProBook x360 11 (G3 EE) Speaker Set                                                                                                             $0.00      0.00%      44.00
               ProBook x360 11 (G3 EE) Trackpad                                                                                                             $340.04       0.00%      45.00
               ProBook x360 11 (G3 EE) Trackpad Flex                                                                                                           $0.00      0.00%      45.00
               ProBook x360 11 (G3 EE) Wi-Fi Antenna                                                                                                           $0.00      0.00%      22.00
               ProBook x360 11 (G3 EE) Wi-Fi Card                                                                                                           $145.76       0.00%      40.00
               ProBook x360 11 (G5 EE) Hinge [Right]                                                                                                        $282.00       0.00%      15.00
               ProBook x360 11 (G5 EE) Housing [LCD Rear Cover]                                                                                             $720.00       0.01%      20.00
               ProBook x360 11 (G5 EE) Palmrest w/ Keyboard                                                                                                    $1.53      0.00%       2.00
               ProBook x360 11 (G6 EE) LCD Assembly (Touch)                                                                                                 $848.49       0.01%       4.00
               ProBook x360 435 (G7) Battery                                                                                                                   $0.00      0.00%       2.00
               ProBook x360 435 (G7) Bracket Kit*                                                                                                              $0.00      0.00%       2.00
               ProBook x360 435 (G7) Cable Kit*                                                                                                                $0.00      0.00%       2.00
               ProBook x360 435 (G7) Camera                                                                                                                    $0.00      0.00%       1.00
               ProBook x360 435 (G7) CMOS Battery                                                                                                              $0.00      0.00%       2.00
               ProBook x360 435 (G7) DC Jack                                                                                                                   $0.00      0.00%       2.00
               ProBook x360 435 (G7) Heatsink                                                                                                                  $0.00      0.00%       1.00
               ProBook x360 435 (G7) Hinge Set*                                                                                                                $0.00      0.00%       1.00
               ProBook x360 435 (G7) LCD Cable                                                                                                              $768.69       0.01%      73.00
               ProBook x360 435 (G7) Memory [DDR4][8GB]                                                                                                        $0.00      0.00%       4.00
               ProBook x360 435 (G7) Screw Kit                                                                                                                 $0.00      0.00%       2.00
               ProBook x360 435 (G7) Speaker Set                                                                                                               $0.00      0.00%       2.00
               ProBook x360 435 (G7) SSD [256GB]                                                                                                               $0.00      0.00%       2.00
               ProBook x360 435 (G7) Trackpad Flex                                                                                                             $0.00      0.00%       2.00
               ProBook x360 435 (G7) Wi-Fi Card                                                                                                                $0.00      0.00%       2.00
               ProBook x360 440 (G1) Battery                                                                                                                $125.02       0.00%       1.00
               ProBook x360 440 (G1) Cable Flex [HD]                                                                                                           $0.00      0.00%      17.00
               ProBook x360 440 (G1) Cable Kit*                                                                                                             $262.06       0.00%      10.00
               ProBook x360 440 (G1) Camera                                                                                                                 $457.40       0.01%       5.00
               ProBook x360 440 (G1) Daughterboard                                                                                                           $78.00       0.00%       4.00
               ProBook x360 440 (G1) Daughterboard Flex                                                                                                        $0.00      0.00%      13.00
               ProBook x360 440 (G1) Fan                                                                                                                     $53.62       0.00%       2.00
               ProBook x360 440 (G1) Housing [Base Plate]                                                                                                    $20.10       0.00%       1.00
               ProBook x360 440 (G1) IO Flex                                                                                                                   $0.00      0.00%      18.00
               ProBook x360 440 (G1) LCD Assembly                                                                                                         $5,408.96       0.06%      16.00
               ProBook x360 440 (G1) LCD Board (Touch) Flex                                                                                                    $0.00      0.00%      11.00
               ProBook x360 440 (G1) LCD Cable                                                                                                                 $0.00      0.00%      18.00
               ProBook x360 440 (G1) Power Button Flex                                                                                                         $0.00      0.00%      22.00
               ProBook x360 440 (G1) Speaker Set                                                                                                             $53.18       0.00%       2.00
               ProBook x360 440 (G1) Trackpad                                                                                                               $125.10       0.00%       5.00
               ProBook x360 440 (G1) Trackpad Flex                                                                                                             $0.00      0.00%      19.00
               ProBook x360 440 (G1) Wi-Fi Card                                                                                                             $113.90       0.00%      10.00
               Recycle Items                                                                                                                              $1,488.45       0.02%      85.50
               s8 temp glass                                                                                                                                   $9.00      0.00%       3.00




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               SM-CS-CC144                                                      Universal Work Case 11" -12"                            $4,250.58            0.05%       879.00
               SM-CS-CC145                                                      Molded EVA Foam, Universal Work Case, Zip 13"-14â€� $0.00                    0.00%       200.00
               SM-CS-CC150                                                      Molded EVA Foam, Universal Work Case, Zip, with Accessory
                                                                                                                                      $610,823.94 Pouch, 11"-12"
                                                                                                                                                             7.05%    72,880.00
               SM-CS-CC151                                                      Molded EVA Foam, Universal Work Case, Zip, with Accessory
                                                                                                                                        $1,047.16 Pouch, 13"-14"
                                                                                                                                                             0.01%       118.00
               SM-CS-CC153                                                      Universal Work-In Case with Acc. Pouch, 13"-14” (with  $35,837.82
                                                                                                                                          corner holders) 0.41%        3,866.00
               SM-CS-CC155                                                      Universal Work-In Case with Acc. Pouch, 15"-16” (with  $19,119.62
                                                                                                                                          corner holders) 0.22%        1,963.00
               SM-CS-LP404                                                      Rugged - Dual Injected Case for LENOVO 300e/500e      $265,040.35
                                                                                                                                        2nd Gen Chr/Win Intel/MTK
                                                                                                                                                             3.06%    33,106.00
               SM-CS-LP405                                                      Rugged - Dual Injected Case for CTL NL7                     $28.61           0.00%    11,813.00
               SM-CS-LP406                                                      Rugged - Dual Injected Case for LENOVO 100e 2nd$226,757.12
                                                                                                                                       Gen Chr/Win Intel/MTK 2.62%    28,325.00
               SM-CS-LP409                                                      MACBOOK PRO 13" TOUCH BAR A1706 A1708 A1988 A1989             $0.00          0.00%         2.00
               SM-CS-LP410                                                      MACBOOK AIR 11" A1465 A1370                                   $0.00          0.00%         1.00
               SM-CS-LP411                                                      MACBOOK AIR 13" A1369 A1466                             $1,988.67            0.02%       206.00
               SM-CS-LP412                                                      MACBOOK RETINA 12" A1534                                      $0.00          0.00%         2.00
               SM-CS-LP413                                                      MACBOOK PRO RETINA 13" A1502 A1425                            $0.00          0.00%         1.00
               SM-CS-LP414                                                      MACBOOK PRO RETINA 15" A1398                                  $0.00          0.00%         3.00
               SM-CS-LP415                                                      MACBOOK AIR 13" (2018) A1932                              $195.44            0.00%        20.00
               SM-CS-LP418                                                      Rugged - Dual Injected Case for LENOVO 11e 5th Gen     $47,438.09
                                                                                                                                          Windows/Yoga 0.55%           5,870.00
               SM-CS-LP420                                                      HP Chromebook 11 G8 EE Dual Injected Case               $3,587.52            0.04%       420.00
               SM-CS-LP426                                                      Lenovo 11e Gen 6 Dual Injected Laptop Case             $32,566.36            0.38%     3,778.00
               SM-CS-LP432                                                      Dual Injected case for Dell 3100 2 in 1                 $3,665.55            0.04%       430.00
               SM-CS-LP433                                                      Rugged - New Design - Dual Injected case for HP Chromebook
                                                                                                                                       $27,133.93X360 11 G3  0.31%     3,181.00
               SM-CS-LP434                                                      HP Chromebook 11 MK G9 EE Dual Injected Laptop case    $16,477.10            0.19%     1,924.00
               SM-CS-LP435                                                      Samsung Chromebook 4 Dual Injected Laptop Case $61,970.03                    0.72%     7,264.00
               SM-CS-LP437                                                      Dell 3120 Latitude Dual Injected Laptop case           $51,242.78            0.59%     6,006.00
               SM-CS-LP438                                                      Dell 3120 Latitude 2 in 1 Dual Injected Laptop case $51,831.48               0.60%     6,075.00
               SM-CS-LP440                                                      Lenovo 100e/w 3rd Gen (2021) Dual Injected Laptop$204,609.66
                                                                                                                                       case                  2.36%    22,764.00
               SM-CS-LP441                                                      Lenovo 300/500e/w 3rd Gen (2021) Dual Injected Laptop $150,247.24
                                                                                                                                           case              1.73%    16,716.00
               SM-CS-LP442                                                      Acer Chromebook C722 Dual Injected Laptop Case $37,472.29                    0.43%     4,393.00
               SM-CS-LP443                                                      Dell 3100 / 3100 with Additional Ports - Dual Injected Laptop
                                                                                                                                        $4,691.50
                                                                                                                                                Case)        0.05%       550.00
               SM-CS-LP444                                                                                                            $174,614.68            2.02%    20,095.00
               SM-CS-LP445                                                      Dell 3100 2 in 1 / 3110 2 in 1 - Dual Injected Laptop case
                                                                                                                                       $57,357.48            0.66%     6,654.00
               SM-CS-LP450                                                      Dell 3100 / 3100 with Additional Ports - Dual Injected$230,283.41
                                                                                                                                       Laptop Case)          2.66%    25,730.00
               SM-CS-SP703                                                      Wrap Case for iPhone 7/8/SE - Black                       $928.64            0.01%       371.00
               SM-CS-SP703-PC                                                   PC Parts of Wrap Case for iPhone 7/8 - red with white nyp $750.00
                                                                                                                                              logo           0.01%       500.00
               SM-CS-SP705                                                      Wrap Case for iPhone 7/8 Plus - Black                     $592.90            0.01%       242.00
               SM-CS-SP706                                                      Wrap Case for iPhone X/Xs - Black                         $502.96            0.01%       203.00
               SM-CS-SP707                                                      Wrap Case for iPhone Xs Max - Black                       $246.01            0.00%       107.00
               SM-CS-SP708                                                      Wrap Case for iPhone XR - Black                           $617.50            0.01%       247.00
               SM-CS-SP709                                                      Wrap Case for Galaxy S9+ - Black                          $535.04            0.01%       200.00
               SM-CS-SP710                                                      Wrap Case for Galaxy Note 9 - Black                       $430.50            0.00%       205.00
               SM-CS-SP785                                                      Wrap Case for Galaxy S9 - Black                           $581.16            0.01%       220.00
               SM-CS-SP786                                                      Wrap Case for Galaxy S10 - Black                          $197.50            0.00%        79.00
               SM-CS-SP787                                                      Wrap Case for Galaxy S10+ - Black                         $235.68            0.00%       119.00
               SM-CS-SP788                                                      Wrap Case for Galaxy S10e - Black                         $540.00            0.01%       200.00
               SM-CS-SP831                                                      Wrap Case for A20 - Black                                 $507.45            0.01%       199.00
               SM-CS-SP832                                                      Wrap Case for A50 - Black                                 $604.47            0.01%       241.00
               SM-CS-SP857                                                      Wrap Case for iPhone 11 Pro (5.8") - Black                $877.50            0.01%       351.00
               SM-CS-SP858                                                      Wrap Case for iPhone 11 (6.1") - Black                  $1,411.64            0.02%       538.00
               SM-CS-SP859                                                      Wrap Case for iPhone 11 Pro Max (6.5") - Black            $940.10            0.01%       337.00
               SM-CS-SP860                                                      Wrap Case for Samsung Note 10 - Black                     $865.20            0.01%       412.00
               SM-CS-SP861                                                      Wrap Case for Samsung Note 10 Pro - Black                 $354.90            0.00%       169.00
               SM-CS-SP864                                                      Wrap Case for Galaxy S20 (6.2") - Black                 $1,557.50            0.02%       623.00
               SM-CS-SP865                                                      Wrap Case for Galaxy S20+ (6.7") - Black                  $428.02            0.00%       177.00
               SM-CS-SP866                                                      Wrap Case for Galaxy S20 Ultra (6.9") - Black             $625.00            0.01%       250.00
               SM-CS-SP918                                                      Case for iPhone 12 Mini (5.4") Wrap Case A2403, A2172,  $1,400.00
                                                                                                                                              A2402, A2404 0.02%         560.00
               SM-CS-SP919                                                      Case for iPhone 12/iPhone 12 Pro (6.1") Wrap Case A2399,$2,190.00
                                                                                                                                                A2176, A2398,0.03%
                                                                                                                                                               A2400, A2399
                                                                                                                                                                         876.00
               SM-CS-SP920                                                      Case for iPhone 12 Pro Max (6.7"ï¼‰Wrap Case A2411,     $3,625.00
                                                                                                                                            A2342, A2410, A2412
                                                                                                                                                             0.04%     1,450.00
               SM-CS-SP935                                                      Armor Case for Galaxy S21 (6.2") - Black                  $455.00            0.01%       182.00
               SM-CS-SP936                                                      Armor Case for Galaxy S21+ (6.7") - Black                 $520.00            0.01%       208.00
               SM-CS-SP937                                                      Armor Case for Galaxy S21 Ultra (6.8") - Black            $500.00            0.01%       200.00
               SM-CS-SP941                                                      Armor Case for iPhone 7/8- Red                                $0.00          0.00%       200.00
               SM-CS-SP944                                                      Wrap Case for iPhone 13 mini (5.4") - Black             $1,022.86            0.01%       376.00
               SM-CS-SP945                                                      Wrap Case for iPhone 13 (6.1") - Black                  $1,850.00            0.02%       520.00
               SM-CS-SP946                                                      Wrap Case for iPhone 13 Pro (6.1") - Black                $486.00            0.01%       180.00
               SM-CS-SP947                                                      Wrap Case for iPhone 13 Pro Max (6.7") - Black          $1,350.00            0.02%       500.00
               SM-CS-TB529                                                      Armor 360 Case with velcro hand strap for iPad Pro 12.9"$1,470.00
                                                                                                                                             (2018) - Black 0.02%        196.00
               SM-CS-TB530                                                      Rugged Vision 360 Case with velcro hand strap for iPad $10,418.05
                                                                                                                                          Air 2/Pro 9.7      0.12%     1,499.00
               SM-CS-TB531                                                      Rugged Vision 360 Case with velcro hand strap for iPad$4,999.30
                                                                                                                                          New/ 6th Gen       0.06%       769.00
               SM-CS-TB532                                                      Rugged Vision 360 Case with velcro hand strap for iPad$7,246.83
                                                                                                                                          Pro 10.5"          0.08%     1,169.00
               SM-CS-TB533                                                      Rugged Vision 360 Case with velcro hand strap for iPad Pro$984.47
                                                                                                                                                11" (2018) 0.01%         122.00
               SM-CS-TB534                                                      Rugged Vision 360 Case with velcro hand strap for iPad $11,122.85
                                                                                                                                          Mini 4/5           0.13%     1,629.00
               SM-CS-TB542                                                      Rugged Vision 360 Case w/ velcro hand strap for iPad $4,290.67
                                                                                                                                        7th gen. 10.2" and iPad
                                                                                                                                                             0.05%
                                                                                                                                                                 8th Gen 650.00
               SM-CS-TB555                                                      Armor Case with velcro hand strap for Galaxy Surface Pro$1,812.50
                                                                                                                                             4/5/6           0.02%       250.00
               SM-CS-TB574                                                      Rugged Vision 360 Case with velcro hand strap for Lenovo
                                                                                                                                       $98,285.81
                                                                                                                                              10e            1.13%    12,971.00
               SM-CS-TB577                                                      iPad Pro 11" (2021)                                     $4,116.80            0.05%       496.00
               SM-CS-TB606                                                      Case for Galaxy Tab S7 T870 , SM-T870, SM-T875, SM-T876B  $489.51            0.01%        49.00
               SM-CS-TB608                                                      Case for Galaxy A7 10.4" T505                             $280.13            0.00%        33.00
               SM-CS-TB610                                                      Rugged Vision 360 Case w/ velcro hand strap for iPad $4,739.30
                                                                                                                                        Pro 11" (2020/2018)0.05%         571.00
               SM-CS-TB611                                                      iPad 10.9 inch (2020)                                   $6,598.50            0.08%       795.00
               SM-CS-TB612                                                      Case for iPad Pro 12.9" (2020/2018) - A1670, A1671, A1584,$536.78A1652       0.01%       229.00
               SM-CS-TB648                                                      Rugged Vision 360 Case with Velcro Hand Strap for iPad Mini $78.20
                                                                                                                                                 6th Gen     0.00%        10.00
               SM-CS-TB650                                                      Case for Galaxy Tab A T380 (2018)                       $4,110.00            0.05%       600.00
               SM-ST-TB550                                                      Shoulder Strap for Tablets with String Attachment         $216.00            0.00%       180.00
               SM-ST-TB551                                                      Shoulder Strap for Tablets with Metal Clips                   $0.00          0.00%        65.00
               SM-TG-IPA106                                                     Tempered Glass for iPad Pro 10.5"                       $3,201.63            0.04%     1,130.00
               SM-TG-IPA108                                                     Tempered Glass for iPad Mini 4/5                        $3,900.89            0.05%     1,605.00
               SM-TG-IPA109                                                     Tempered Glass for iPad Pro 11"                         $2,465.69            0.03%       814.00
               SM-TG-IPA110                                                     Tempered Glass for iPad Pro 12.9"                       $2,173.56            0.03%       523.00
               SM-TG-IPA121                                                     Tempered Glass for iPad 7th Gen 10.2"                   $1,487.70            0.02%       522.00
               SM-TG-IPA144                                                     Tempered Glass for iPad Mini 6th gen                        $24.50           0.00%        10.00
               SM-TG-IPH042                                                     Tempered Glass for iPhone 6/7/8                           $369.20            0.00%       284.00
               SM-TG-IPH043                                                     Tempered Glass for iPhone 6/7/8 Plus                      $557.55            0.01%       413.00
               SM-TG-IPH044                                                     Tempered Glass for iPhone X/Xs                            $329.37            0.00%       259.00
               SM-TG-IPH045                                                     Tempered Glass for iPhone XS Max                          $330.75            0.00%       245.00
               SM-TG-IPH046                                                     Tempered Glass for iPhone XR                              $560.01            0.01%       425.00
               SM-TG-IPH050                                                     Tempered Glass for IPhone 11 Pro (5.8")                 $1,356.01            0.02%       497.00
               SM-TG-IPH051                                                     Tempered Glass for IPhone 11 (6.1")                     $1,624.98            0.02%       591.00
               SM-TG-IPH052                                                     Tempered Glass for IPhone 11 Pro Max (6.5")               $936.52            0.01%       380.00
               SM-TG-LV308                                                      Tempered Glass for Lenovo 10e                          $75,285.78            0.87%    14,019.00
               SM-TG-SP207                                                      Tempered Glass for Galaxy S8/9                            $482.65            0.01%       197.00
               SM-TG-SP208                                                      Tempered Glass for Galaxy S8/9+                           $485.10            0.01%       198.00
               SM-TG-SP210                                                      Tempered Glass for Samsung Note 9                         $624.00            0.01%       195.00
               SM-TG-SP218                                                      Tempered Glass for Galaxy S10                             $986.21            0.01%       337.00
               SM-TG-SP219                                                      Tempered Glass for Galaxy S10+                            $899.75            0.01%       295.00
               SM-TG-SP220                                                      Tempered Glass for Galaxy S10E                          $1,053.00            0.01%       405.00
               SM-TG-SP221                                                      Tempered Glass for S9                                         $0.00          0.00%       381.00
               SM-TG-SP222                                                      Tempered Glass for s9 plus                                    $0.00          0.00%       395.00
               SM-TG-SP230                                                      Tempered Glass for Galaxy S20 (6.2")                    $1,693.92            0.02%       506.00
               SM-TG-SP231                                                      Tempered Glass for Galaxy S20+ (6.7")                     $966.64            0.01%       353.00
               SM-TG-SP232                                                      Tempered Glass for Galaxy S20 Ultra (6.9")                $845.60            0.01%       302.00
               SM-TG-SP250                                                      Tempered Glass for Note 10                              $1,382.40            0.02%       432.00
               SM-TG-SP251                                                      Tempered Glass for Note 10 Pro                            $550.40            0.01%       172.00
               SM-TG-SP259                                                      Tempered Glass for Samsung A20                            $250.00            0.00%       200.00
               SM-TG-SP265                                                      Tempered Glass for Samsung A50                            $287.50            0.00%       230.00
               SM-TG-SP331                                                      Tempered Glass for Galaxy A21, SM-A215U , SM-A215U1 $0.00                    0.00%         7.00
               SM-TG-SP335                                                      Tempered Glass for iPhone 12 Mini (5.4") - Black        $1,498.00            0.02%       535.00
               SM-TG-SP336                                                      Tempered Glass for iPhone 12/iPhone 12 Pro (6.1") Wrap  $2,306.26
                                                                                                                                            Case A2399, A2176,
                                                                                                                                                             0.03%A2398, A2400,
                                                                                                                                                                         826.00 A2399
               SM-TG-SP337                                                      Tempered Glass for iPhone 12 Pro Max (6.7"ï¼‰Wrap$2,243.59Case A2411, A2342, 0.03%
                                                                                                                                                                A2410, A2412
                                                                                                                                                                         803.00
               SM-TG-SP339 Tempered Glass for iPad Air 4 (10.9")                Tempered Glass for iPad Air 4 (10.9")                       $65.10           0.00%        21.00




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               SM-TG-SP340                                                                   Tempered Glass for Galaxy A7 10.4" T505                  $63.15          0.00%           21.00
               SM-TG-SP341                                                                   Tempered Glass for Galaxy Tab S7 T870 , SM-T870, SM-T875, $0.00SM-T876B0.00%             17.00
               SM-TG-SP345                                                                   Tempered Glass Galaxy Tab A 8.0 , SM-P205, SM-P200 $0.00                 0.00%            5.00
               SM-TG-SP354                                                                   Tempered Glass for Galaxy S21 (6.2")                   $523.60           0.01%          154.00
               SM-TG-SP355                                                                   Tempered Glass for Galaxy S21+ (6.7")                  $527.00           0.01%          155.00
               SM-TG-SP356                                                                   Tempered Glass for Galaxy S21 Ultra (6.8")             $693.60           0.01%          204.00
               SM-TG-SP360                                                                   Tempered Glass for iPhone 13 mini (5.4") - Black          $0.00          0.00%          369.00
               SM-TG-SP361                                                                   Tempered Glass for iPhone 13 / 13 Pro (6.1") - Black      $0.00          0.00%          662.00
               SM-TG-SP362                                                                   Tempered Glass for iPhone 13 Pro Max (6.7") - Black       $0.00          0.00%          500.00
               SM-TG-TB312                                                                   Tempered Glass for Surface Go/Go 2                   $3,315.01           0.04%        1,165.00
               SM-TG-TB313                                                                   Tempered Glass for Galaxy Tab A T380 (2018)          $1,438.32           0.02%          594.00
               SM-TG-TB316                                                                   Tempered Glass for Surface Pro 4/5/6/7               $2,131.95           0.02%          699.00
               SM-TG-TB324                                                                   Tempered Glass Galaxy Tab A 10.1 ï¼ˆ2019ï¼‰T510/T515$0.00                0.00%            7.00
               SM-TG-TB335                                                                   TB335 Tempered Glass for Acer Chromebook Tab 10 $637.20                  0.01%          216.00
               SM-TG-TB336                                                                   Surface 3 Tempered Glass (Not Pro)                   $2,074.00           0.02%          680.00
               SM-TG-TB337                                                                   Tempered Glass for Surface Pro 4/5/6/7/7+              $731.40           0.01%          212.00
               Spin 3 (TMB311RN-31-C4SU) Stylus                                                                                                       $71.43          0.00%            3.00
               Spin 5 (SP513-52N-8326) Housing [LCD Rear Cover]                                                                                     $104.10           0.00%            1.00
               Spin 5 (SP513-52N-8326) Keyboard                                                                                                        $3.55          0.00%            1.00
               Spin 5 (SP513-52N-8326) LCD                                                                                                          $684.95           0.01%            5.00
               Spin 5 (SP513-52N-888R) Motherboard [8GB]                                                                                               $0.00          0.00%            1.00
               Spin 5 (SP513-53N-56CR) Camera [Front]                                                                                                  $0.00          0.00%            1.00
               SS-ESS-CB4-BLK                                                                Max Interactive (Max Cases) - Samsung Chromebook 4 11”$0.00              0.00%            2.00
               Stream 11 Keyboard – Black                                                                                                              $0.00          0.00%            6.00
               Stream 11 Pro (G2) Palmrest w/ Keyboard                                                                                                 $0.00          0.00%            9.00
               Stream 11 Pro (G2) Palmrest w/ Keyboard (w/ Cutout)                                                                                    $63.19          0.00%            1.00
               Stream 11 Pro (G4 EE) Battery                                                                                                          $99.66          0.00%            4.00
               Stream 11 Pro (G4 EE) Camera                                                                                                           $41.22          0.00%            4.00
               Stream 11 Pro (G4 EE) Daughterboard                                                                                                    $60.49          0.00%            6.00
               Stream 11 Pro (G4 EE) Daughterboard Flex                                                                                                $0.00          0.00%            2.00
               Stream 11 Pro (G4 EE) DC Jack                                                                                                           $0.00          0.00%            1.00
               Stream 11 Pro (G4 EE) Hinge Set                                                                                                         $0.00          0.00%            2.00
               Stream 11 Pro (G4 EE) Housing [Base]                                                                                                    $0.00          0.00%            2.00
               Stream 11 Pro (G4 EE) Housing [LCD Bezel]                                                                                            $159.50           0.00%            9.00
               Stream 11 Pro (G4 EE) Housing [LCD Rear Cover]                                                                                         $46.31          0.00%            3.00
               Stream 11 Pro (G4 EE) Keyboard                                                                                                     $1,274.68           0.01%           22.00
               Stream 11 Pro (G4 EE) LCD Cable                                                                                                        $57.30          0.00%            7.00
               Stream 11 Pro (G4 EE) LCD Panel                                                                                                      $350.64           0.00%            6.00
               Stream 11 Pro (G4 EE) Motherboard                                                                                                       $0.00          0.00%            1.00
               Stream 11 Pro (G4 EE) Palmrest w/ Keyboard                                                                                           $933.76           0.01%           25.00
               Stream 11 Pro (G4 EE) Power Button Board                                                                                               $64.12          0.00%            5.00
               Stream 11 Pro (G4 EE) Power Button Board Flex                                                                                          $28.66          0.00%            4.00
               Stream 11 Pro (G4 EE) Screw Set                                                                                                         $0.00          0.00%            2.00
               Stream 11 Pro (G4 EE) Speaker Set                                                                                                       $0.00          0.00%            2.00
               Stream 11 Pro (G4 EE) Trackpad                                                                                                         $34.61          0.00%            6.00
               Stream 11 Pro (G4 EE) Trackpad Flex                                                                                                    $44.88          0.00%            8.00
               Stream 11 Pro (G4 EE) Wi-Fi Card                                                                                                        $0.00          0.00%            2.00
               Stream 11 Pro (G5) Camera                                                                                                              $70.95          0.00%            3.00
               Stream 11 Pro (G5) Trackpad                                                                                                             $0.00          0.00%            8.00
               Stream 13 Bezel – Blue                                                                                                                  $0.00          0.00%            2.00
               Stream 13 LCD                                                                                                                           $0.00          0.00%            2.00
               Surface 3 (1645) Back Case Assembly                                                                                                    $68.96          0.00%            2.00
               Surface 3 (1645) Keyboard Connector                                                                                                     $0.00          0.00%            2.00
               Surface 3 (1645) LCD Assembly                                                                                                      $1,347.69           0.02%           12.00
               Surface 3/RT (1645) Headphone Jack                                                                                                     $15.72          0.00%            1.00
               Surface Go 2 LCD Panel (Touch)                                                                                                       $772.40           0.01%           10.00
               Surface Go LCD Assembly                                                                                                            $2,329.29           0.03%           18.00
               Surface Laptop 3 (13.5 in)(1868) Motherboard [i5-1035G7][16GB]                                                                       $225.00           0.00%            3.00
               Surface Pro 4 (1796) LCD                                                                                                               $77.78          0.00%            1.00
               Surface Pro 5 LCD                                                                                                                    $112.92           0.00%            1.00
               Surface Pro 5 LCD Adhesive Tape                                                                                                         $2.40          0.00%            5.00
               Surface Pro Black 12.3 Adjustable Shoulder Strap Protective Case              12.3 inch Adjustable Hand Strap Shoulder Strap Protective$43.85
                                                                                                                                                       case for Microsoft
                                                                                                                                                                      0.00%
                                                                                                                                                                          Surface pro 45.00
                                                                                                                                                                                         5 6 7 case Color:Black
               Surface Shockproof TPU Rugged Case                                            Shockproof TPU rugged case for Microsoft Surface Pro 4/5/6
                                                                                                                                                      $35.00
                                                                                                                                                         compatible with
                                                                                                                                                                      0.00%
                                                                                                                                                                          original keyboard
                                                                                                                                                                                       5.00 Color:Black
               System SKU                                                                    DO NOT ORDER DO NOT SELL DO NOT USE                       $0.00          0.00%            1.00
               T470s LCD Cable                                                                                                                      $622.50           0.01%           50.00
               Thinkpad (20GE) Hinge Set* [Non-Touch]                                                                                                 $17.99          0.00%            1.00
               Thinkpad (20GE) Housing [Base Door]                                                                                                    $81.40          0.00%            2.00
               Thinkpad (20GE) LCD Assembly                                                                                                            $0.00          0.00%            1.00
               Thinkpad (20GE) LCD Cable [Touch]                                                                                                    $133.60           0.00%           10.00
               Thinkpad (20GE) LCD Panel                                                                                                              $55.30          0.00%            1.00
               Thinkpad (20GE) Motherboard [4GB][Non-Touch]                                                                                       $7,410.00           0.09%           52.00
               Thinkpad (20GE) Motherboard [4GB][Touch]                                                                                             $210.62           0.00%            1.00
               Thinkpad (20J0) Trackpad                                                                                                                $8.99          0.00%            1.00
               Thinkpad (20J1) Battery                                                                                                              $205.39           0.00%            2.00
               Thinkpad (20J1) Motherboard                                                                                                        $1,607.34           0.02%            3.00
               Thinkpad (20LQ) LCD Cable (Non-Touch)                                                                                                  $12.71          0.00%            1.00
               Thinkpad (20LQ) Motherboard [N4120][4GB]                                                                                             $102.41           0.00%            1.00
               Thinkpad (20LR) Camera                                                                                                                 $13.71          0.00%            1.00
               Thinkpad (20N3) Keyboard                                                                                                             $322.80           0.00%           18.00
               Thinkpad (20N3) LCD                                                                                                                $3,434.57           0.04%           31.00
               Thinkpad (20N3) Motherboard                                                                                                          $300.00           0.00%            1.00
               Thinkpad (T460s) Hinges                                                                                                                 $0.00          0.00%            3.00
               Thinkpad (T460s) Motherboard                                                                                                         $522.24           0.01%            3.00
               Thinkpad 11e (20DAS06U00)(Non-Touch) Housing [LCD Bezel]                                                                             $418.56           0.00%           32.00
               Thinkpad 11e (20DAS06U00)(Non-Touch) Housing [LCD Rear Cover]                                                                        $968.31           0.01%           29.00
               Thinkpad 11e (20DAS06U00)(Non-Touch) Keyboard                                                                                        $748.10           0.01%           40.00
               Thinkpad 11e (20DAS06U00)(Non-Touch) LCD Cable                                                                                       $216.00           0.00%           36.00
               Thinkpad 11e (20DAS06U00)(Non-Touch) LCD Panel (Non-Touch)                                                                         $2,473.69           0.03%           52.00
               Thinkpad 11e (20DAS06U00)(Non-Touch) LCD Panel (Touch)                                                                               $527.85           0.01%           27.00
               Thinkpad 11e (20DAS06U00)(Non-Touch) Memory [DDR3][8GB]                                                                            $1,012.00           0.01%           23.00
               Thinkpad 11e (20DAS06U00)(Non-Touch) Motherboard (Non-Touch)                                                                       $5,961.00           0.07%           97.00
               Thinkpad 11e (20DAS06U00)(Non-Touch) Palmrest w/ Trackpad                                                                            $495.00           0.01%           20.00
               Thinkpad 11e (20DAS06U00)(Non-Touch) Speaker Set                                                                                       $19.86          0.00%            2.00
               Thinkpad 11e (20DAS06U00)(Non-Touch) Trackpad                                                                                        $125.00           0.00%           25.00
               Thinkpad 11e (20DAS06U00)(Non-Touch) Wi-Fi Card                                                                                        $37.50          0.00%            2.00
               Thinkpad C13 (20UX-001PUS) Wi-Fi Card                                                                                                  $33.26          0.00%            2.00
               ThinkPad C13 Yoga Gen 1 (20UX000LUS) Motherboard [AMD 3150C][4GB][32GB]                                                            $1,558.69           0.02%            7.00
               Thinkpad L15 (20U8S2AJ00) LCD Panel (Non-Touch)                                                                                        $54.89          0.00%            1.00
               ThinkPad L15 Gen 2 (20X4S1H600) LCD Panel (Non-Touch)                                                                                  $54.89          0.00%            1.00
               Thinkpad L390 (20NT) Camera                                                                                                             $0.00          0.00%            1.00
               Thinkpad L390 (20NT) CMOS Battery                                                                                                       $0.00          0.00%            1.00
               Thinkpad L390 (20NT) Fingerprint Reader                                                                                                 $0.00          0.00%            1.00
               Thinkpad L390 (20NT) Fingerprint Reader Flex                                                                                            $0.00          0.00%            1.00
               Thinkpad L390 (20NT) Hinge Set                                                                                                          $0.00          0.00%            1.00
               Thinkpad L390 (20NT) Housing [Base] - Black                                                                                             $0.00          0.00%            1.00
               Thinkpad L390 (20NT) LCD Assembly                                                                                                    $581.46           0.01%            4.00
               Thinkpad L390 (20NT) Palmrest - Black                                                                                                $235.44           0.00%            4.00
               Thinkpad L390 (20NT) Power Board                                                                                                        $0.00          0.00%            1.00
               Thinkpad L390 (20NT) Power Board Flex                                                                                                   $0.00          0.00%            1.00
               Thinkpad L390 (20NT) Sensor Board Flex                                                                                                  $0.00          0.00%            1.00
               Thinkpad L390 (20NT) SSD [128GB]                                                                                                        $0.00          0.00%            1.00
               Thinkpad L390 (20NT) Trackpad - Black                                                                                                   $0.00          0.00%            1.00
               Thinkpad L390 (20NT) Wi-Fi Card                                                                                                         $0.00          0.00%            1.00
               Thinkpad T450 LCD Cable                                                                                                                 $0.00          0.00%            1.00
               Thinkpad T450 LCD Panel (Non-Touch)                                                                                                     $0.00          0.00%            1.00
               Thinkpad T460s LCD Cable                                                                                                                $0.00          0.00%            1.00
               Thinkpad T460s LCD Rear Housing                                                                                                         $0.00          0.00%            1.00
               Thinkpad T460s Speaker Set (L w/ R)                                                                                                    $20.99          0.00%            1.00
               Thinkpad T470s Keyboard                                                                                                                 $0.00          0.00%            1.00




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               Thinkpad T470s Motherboard                                                                                                             $158.82         0.00%         1.00
               Thinkpad T480 LCD Panel                                                                                                                  $0.00         0.00%         1.00
               Thinkpad T480s LCD                                                                                                                   $1,015.92         0.01%        10.00
               Thinkpad T540p DC Jack                                                                                                                   $0.00         0.00%        30.00
               Thinkpad T540p Keyboard                                                                                                                  $0.00         0.00%         1.00
               Thinkpad T580 (20L9) Keyboard                                                                                                            $0.00         0.00%         1.00
               Thinkpad X1 Carbon 5th Gen (20K4) Palmrest w/ Keyboard                                                                                   $0.00         0.00%         1.00
               Thinkpad X1 Extreme (20MF) Keyboard                                                                                                      $0.00         0.00%         1.00
               ThinkPad X1 Yoga Housing [LCD Rear Cover]                                                                                                $0.00         0.00%         1.00
               Thinkpad X395 (20NL) LCD Cable                                                                                                         $146.30         0.00%         5.00
               Thinkpad X395 (20NL) LCD Panel                                                                                                         $450.00         0.01%         3.00
               Thinkpad X395 (20NL) Motherboard                                                                                                     $1,308.00         0.02%         4.00
               Thinkstation (P310) Heat Sink                                                                                                            $0.00         0.00%         1.00
               THZ798GLZ                                                                        11.6" Commercial-Grade Form-Fit Cover for Dellâ„¢ Chromebook
                                                                                                                                                      $139.96 11 3100 0.00%
                                                                                                                                                                      Clamshell     4.00
               Toughbook (CF-C2) Keyboard                                                                                                              $79.99         0.00%         1.00
               Toughbook (CF-C2) Palmrest w/ Keyboard                                                                                                  $39.95         0.00%         1.00
               TravelMate (B118) Battery                                                                                                              $320.00         0.00%        40.00
               TravelMate (B118) Camera                                                                                                                 $0.31         0.00%        36.00
               TravelMate (B118) Daughterboard                                                                                                          $0.00         0.00%        41.00
               TravelMate (B118) Daughterboard Flex                                                                                                     $4.00         0.00%        47.00
               TravelMate (B118) G Sensor                                                                                                               $0.00         0.00%        42.00
               TravelMate (B118) G Sensor Cable                                                                                                         $0.00         0.00%        43.00
               TravelMate (B118) Heatsink                                                                                                               $0.00         0.00%         2.00
               TravelMate (B118) Hinge Set*                                                                                                           $259.60         0.00%        34.00
               TravelMate (B118) Hinge [Left]                                                                                                           $0.00         0.00%        21.00
               TravelMate (B118) Hinge [Right]                                                                                                          $0.00         0.00%        21.00
               TravelMate (B118) Housing [Base]                                                                                                         $0.00         0.00%        40.00
               TravelMate (B118) Housing [HDD Door]                                                                                                     $0.00         0.00%        21.00
               TravelMate (B118) Housing [LCD Bezel]                                                                                                    $0.00         0.00%         1.00
               TravelMate (B118) Housing [LCD Rear Cover]                                                                                               $8.71         0.00%         3.00
               TravelMate (B118) LCD Cable                                                                                                              $0.00         0.00%        42.00
               TravelMate (B118) LCD w/ Digitizer (30 Pin)                                                                                              $0.00         0.00%        33.00
               TravelMate (B118) LED Board                                                                                                              $1.38         0.00%        47.00
               TravelMate (B118) Palmrest w/ Keyboard                                                                                                   $0.00         0.00%        19.00
               TravelMate (B118) Speaker Set                                                                                                            $0.00         0.00%        43.00
               TravelMate (B118) Trackpad                                                                                                               $0.00         0.00%        38.00
               TravelMate (B118) Trackpad Flex                                                                                                          $0.92         0.00%        46.00
               TravelMate (B118) Wi-Fi Card                                                                                                             $0.00         0.00%        44.00
               Travelmate (B118-G1-RN) Motherboard [4GB][64GB]                                                                                        $627.80         0.01%         5.00
               Travelmate (B118-G2-RN) Motherboard [4GB][64GB]                                  NB.VHT11.002                                            $0.00         0.00%         1.00
               Travelmate (B311-31) AC Adapter                                                                                                          $0.00         0.00%         1.00
               TravelMate (N20H1) Motherboard                                                                                                         $418.98         0.00%         2.00
               TravelMate (N20H1) Stylus                                                                                                              $635.00         0.01%        20.00
               VIS-SM-CS-LP406                                                                  Vision Charter Custom Case for Lenovo 100e Gen 2      $784.37         0.01%       108.00
               VivoBook (Flip 14) AC Adapter                                                                                                          $300.46         0.00%        10.00
               VivoBook (Flip 14) Battery                                                                                                              $22.53         0.00%         9.00
               VivoBook (Flip 14) Daughterboard                                                                                                       $375.58         0.00%        10.00
               VivoBook (Flip 14) Digitizer Board                                                                                                       $2.30         0.00%         2.00
               VivoBook (Flip 14) Hinge [Left]                                                                                                          $0.69         0.00%         1.00
               VivoBook (Flip 14) Hinge [Right]                                                                                                         $2.07         0.00%         3.00
               VivoBook (Flip 14) Housing [LCD Bezel]                                                                                                   $0.00         0.00%         9.00
               VivoBook (Flip 14) Housing [LCD Rear Cover]                                                                                             $19.51         0.00%         1.00
               VivoBook (Flip 14) Motherboard                                                                                                       $1,014.06         0.01%         5.00
               VivoBook (Flip 14) Palmrest w/ Keyboard and Trackpad                                                                                   $540.84         0.01%         4.00
               VivoBook (Flip 14) Screw Set                                                                                                             $0.00         0.00%        10.00
               VivoBook (Flip 14) Speaker Set                                                                                                         $135.19         0.00%         6.00
               VivoBook (Flip 14) SSD [256GB]                                                                                                         $375.58         0.00%        10.00
               VivoBook (Flip 14) Wi-Fi Card                                                                                                            $0.00         0.00%         8.00
               VivoBook Flip 14 TP412UA-XB51T LCD w/ Digitizer                                                                                      $3,255.66         0.04%        28.00
               Winbook (300e 81FY) AC Adapter                                                                                                         $403.81         0.00%        28.00
               Winbook (300e 81FY) Battery                                                                                                          $1,138.76         0.01%       374.00
               Winbook (300e 81FY) Bezel Screw Cover                                                                                                    $0.00         0.00%        61.00
               Winbook (300e 81FY) Camera                                                                                                             $388.25         0.00%       185.00
               Winbook (300e 81FY) CMOS Battery                                                                                                       $209.01         0.00%       683.00
               Winbook (300e 81FY) Daughterboard                                                                                                      $403.65         0.00%       201.00
               Winbook (300e 81FY) Daughterboard Flex                                                                                                 $396.90         0.00%       723.00
               Winbook (300e 81FY) Hinge Set                                                                                                           $57.99         0.00%        16.00
               Winbook (300e 81FY) Hinge [Left]                                                                                                     $2,062.28         0.02%       470.00
               Winbook (300e 81FY) Hinge [Right]                                                                                                      $101.58         0.00%       211.00
               Winbook (300e 81FY) Housing [Base]                                                                                                   $2,307.86         0.03%       315.00
               Winbook (300e 81FY) Housing [Hinge Cover]                                                                                            $5,013.42         0.06%       303.00
               Winbook (300e 81FY) Housing [LCD Rear Cover]                                                                                         $5,784.44         0.07%       424.00
               Winbook (300e 81FY) LCD Cable                                                                                                        $1,986.20         0.02%       766.00
               Winbook (300e 81FY) LCD w/ Digitizer                                                                                                $65,829.99         0.76%     1,019.00
               Winbook (300e 81FY) Motherboard                                                                                                      $6,142.88         0.07%       361.00
               Winbook (300e 81FY) Palmrest w/ Keyboard and Trackpad*                                                                               $7,928.38         0.09%       343.00
               Winbook (300e 81FY) Screw Set                                                                                                          $445.77         0.01%       425.00
               Winbook (300e 81FY) Sensor Board                                                                                                       $644.70         0.01%       653.00
               Winbook (300e 81FY) Speaker Set                                                                                                        $145.99         0.00%       206.00
               Winbook (300e 81FY) Stylus                                                                                                              $32.56         0.00%         8.00
               Winbook (300e 81FY) Stylus Holder                                                                                                        $0.00         0.00%        29.00
               Winbook (300e 81FY) Trackpad Button Board                                                                                              $427.94         0.00%       722.00
               Winbook (300e 81FY) Trackpad Flex                                                                                                      $489.57         0.01%     1,299.00
               Winbook (300e 81FY) Wi-Fi Cable                                                                                                         $11.04         0.00%       222.00
               Winbook (300e 81FY) Wi-Fi Card                                                                                                       $9,956.18         0.11%       393.00
               Winbook (300e 81M9) Battery                                                                                                            $166.50         0.00%       211.00
               Winbook (300e 81M9) Camera Cable [WFC]                                                                                                   $0.00         0.00%        38.00
               Winbook (300e 81M9) Camera [Front]                                                                                                      $94.52         0.00%       463.00
               Winbook (300e 81M9) Camera [WFC]                                                                                                        $17.86         0.00%        31.00
               Winbook (300e 81M9) CMOS Battery                                                                                                         $3.18         0.00%       654.00
               Winbook (300e 81M9) Daughterboard                                                                                                    $1,252.96         0.01%       542.00
               Winbook (300e 81M9) Daughterboard Flex                                                                                                 $190.33         0.00%       739.00
               Winbook (300e 81M9) G Sensor                                                                                                             $0.13         0.00%       663.00
               Winbook (300e 81M9) Hinge Rubber                                                                                                        $33.98         0.00%       194.00
               Winbook (300e 81M9) Hinge Set*                                                                                                       $5,220.54         0.06%       474.00
               Winbook (300e 81M9) Hinge [Left]                                                                                                     $2,470.06         0.03%       779.00
               Winbook (300e 81M9) Hinge [Right]                                                                                                    $3,043.92         0.04%       863.00
               Winbook (300e 81M9) Housing [Base]                                                                                                     $355.39         0.00%       463.00
               Winbook (300e 81M9) Housing [Hinge Cover]                                                                                            $2,136.18         0.02%       285.00
               Winbook (300e 81M9) Housing [LCD Rear Cover]                                                                                         $2,062.06         0.02%       371.00
               Winbook (300e 81M9) LCD Cable                                                                                                        $1,182.24         0.01%       656.00
               Winbook (300e 81M9) LCD w/ Digitizer                                                                                                 $8,621.14         0.10%       155.00
               Winbook (300e 81M9) Motherboard                                                                                                        $152.86         0.00%        13.00
               Winbook (300e 81M9) Palmrest w/ Keyboard                                                                                             $2,094.29         0.02%       533.00
               Winbook (300e 81M9) Palmrest w/ Keyboard (w/ Cutout)                                                                                   $882.15         0.01%       199.00
               Winbook (300e 81M9) Palmrest w/ Keyboard and Trackpad                                                                                $4,926.05         0.06%       167.00
               Winbook (300e 81M9) Palmrest w/ Keyboard and Trackpad (w/ Cutout)                                                                    $6,090.26         0.07%       295.00
               Winbook (300e 81M9) Pen Sensor Board w/ Cable                                                                                            $7.57         0.00%       749.00
               Winbook (300e 81M9) Screw Set                                                                                                           $10.57         0.00%       630.00
               Winbook (300e 81M9) Speaker Set                                                                                                        $224.20         0.00%       738.00
               Winbook (300e 81M9) Spine Cover                                                                                                        $395.62         0.00%       344.00
               Winbook (300e 81M9) Spine Cover Rubber                                                                                                   $0.00         0.00%       206.00
               Winbook (300e 81M9) SSD [128GB]                                                                                                          $0.00         0.00%       112.00
               Winbook (300e 81M9) Stylus                                                                                                               $0.42         0.00%       178.00
               Winbook (300e 81M9) Trackpad                                                                                                            $17.91         0.00%       436.00
               Winbook (300e 81M9) Trackpad Flex                                                                                                      $249.81         0.00%       791.00
               Winbook (300e 81M9) Trackpad Flex (WFC)                                                                                                 $75.31         0.00%        65.00
               Winbook (300e 81M9) USB Bracket                                                                                                          $0.00         0.00%       394.00
               Winbook (300e 81M9) Wi-Fi Card                                                                                                       $2,159.61         0.02%       964.00




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               Winbook (N23 80UR) AC Adapter                                                                                           $43.29   0.00%     3.00
               Winbook (N23 80UR) Battery                                                                                               $0.00   0.00%     8.00
               Winbook (N23 80UR) Camera                                                                                                $0.00   0.00%     1.00
               Winbook (N23 80UR) CMOS Battery                                                                                         $26.13   0.00%     4.00
               Winbook (N23 80UR) Daughterboard                                                                                       $365.28   0.00%    16.00
               Winbook (N23 80UR) Daughterboard Flex                                                                                   $26.13   0.00%     4.00
               Winbook (N23 80UR) G Sensor Board                                                                                       $57.72   0.00%     5.00
               Winbook (N23 80UR) Hinge [Left]                                                                                         $94.23   0.00%   121.00
               Winbook (N23 80UR) Hinge [Right]                                                                                        $79.89   0.00%    20.00
               Winbook (N23 80UR) Housing [Base]                                                                                      $110.73   0.00%     6.00
               Winbook (N23 80UR) Housing [LCD Rear Cover]                                                                             $17.95   0.00%     1.00
               Winbook (N23 80UR) Keyboard                                                                                            $678.85   0.01%    10.00
               Winbook (N23 80UR) LCD Cable                                                                                         $1,214.44   0.01%    86.00
               Winbook (N23 80UR) LCD w/ Digitizer                                                                                  $2,261.82   0.03%    22.00
               Winbook (N23 80UR) Motherboard [4GB] [32GB]                                                                          $3,918.24   0.05%    24.00
               Winbook (N23 80UR) Palmrest w/ Keyboard and Trackpad                                                                   $678.90   0.01%    10.00
               Winbook (N23 80UR) Screw Set                                                                                             $3.00   0.00%     1.00
               Winbook (N23 80UR) Speaker Set                                                                                         $100.70   0.00%     6.00
               Winbook (N23 80UR) SSD [128GB]                                                                                         $214.68   0.00%     3.00
               Winbook (N23 80UR) Trackpad Button Board                                                                                $72.15   0.00%     5.00
               Winbook (N23 80UR) Trackpad Flex                                                                                        $34.84   0.00%    36.00
               Winbook (N23 80UR) Wi-Fi Card                                                                                          $111.21   0.00%    12.00
               Winbook (N24) Hinge Set                                                                                                $201.53   0.00%     7.00
               Winbook (N24) LCD Panel (Touch)                                                                                        $427.67   0.00%    14.00
               Winbook (N24) Motherboard [4GB] [32GB]                                                                                   $0.00   0.00%    12.00
               Winbook (N24) Palmrest w/ Keyboard                                                                                   $2,315.42   0.03%   100.00
               Winbook (N24) Palmrest w/ Keyboard and Trackpad                                                                         $39.72   0.00%     2.00
               Winbook (N24) Trackpad                                                                                                   $0.00   0.00%     5.00
               Winbook 11 (100e 81CY) Battery                                                                                           $0.69   0.00%     1.00
               Winbook 11 (100E 81CY) CMOS Battery                                                                                      $0.46   0.00%     1.00
               Winbook 11 (100e 81CY) Daughterboard                                                                                     $0.69   0.00%     1.00
               Winbook 11 (100e 81CY) Daughterboard Flex                                                                                $0.23   0.00%     1.00
               Winbook 11 (100e 81CY) Hinge [Left]                                                                                      $0.69   0.00%     1.00
               Winbook 11 (100e 81CY) Hinge [Right]                                                                                     $0.69   0.00%     1.00
               Winbook 11 (100e 81CY) Housing [Base]                                                                                    $0.00   0.00%     1.00
               Winbook 11 (100E 81CY) LCD Cable w/ Camera                                                                              $36.46   0.00%     1.00
               Winbook 11 (100e 81CY) Palmrest w/ Keyboard Assembly                                                                     $1.15   0.00%     1.00
               Winbook 11 (100E 81CY) Screw Set                                                                                         $1.84   0.00%     1.00
               Winbook 11 (100E 81CY) Speaker Set                                                                                       $0.69   0.00%     1.00
               Winbook 11 (100e 81CY) Trackpad Button Flex                                                                              $0.23   0.00%     1.00
               Winbook 11 (100e 81CY) Trackpad Button Sensor                                                                            $0.46   0.00%     1.00
               Winbook 11 (100e 81CY) Trackpad Flex                                                                                     $0.23   0.00%     1.00
               Winbook 11 (100e 81CY) Wi-Fi Card                                                                                        $0.00   0.00%     1.00
               Winbook 11 (100E 81M8) Battery                                                                                           $0.00   0.00%     4.00
               Winbook 11 (100E 81M8) Camera                                                                                            $0.00   0.00%    29.00
               Winbook 11 (100E 81M8) CMOS Battery                                                                                     $10.18   0.00%    30.00
               Winbook 11 (100E 81M8) Hinge (Left)                                                                                      $0.00   0.00%    51.00
               Winbook 11 (100E 81M8) Hinge (Right)                                                                                     $0.00   0.00%    31.00
               Winbook 11 (100E 81M8) Hinge Set*                                                                                       $48.00   0.00%     6.00
               Winbook 11 (100E 81M8) Housing [Base]                                                                                $1,253.14   0.01%   117.00
               Winbook 11 (100E 81M8) Housing [LCD Bezel]                                                                               $0.00   0.00%    27.00
               Winbook 11 (100E 81M8) Housing [LCD Rear Cover]                                                                          $0.00   0.00%    17.00
               Winbook 11 (100E 81M8) LCD                                                                                              $55.40   0.00%     1.00
               Winbook 11 (100E 81M8) LCD Cable                                                                                         $0.00   0.00%     4.00
               Winbook 11 (100E 81M8) Motherboard [N4000][4GB][128GB]                                                                 $271.70   0.00%     1.00
               Winbook 11 (100E 81M8) Palmrest w/ Keyboard                                                                             $26.34   0.00%    25.00
               Winbook 11 (100E 81M8) Palmrest w/ Keyboard and Trackpad                                                             $1,136.79   0.01%    17.00
               Winbook 11 (100E 81M8) Powerboard w/ Cable                                                                              $34.63   0.00%    39.00
               Winbook 11 (100E 81M8) Screw Set                                                                                         $0.00   0.00%    45.00
               Winbook 11 (100E 81M8) Speaker Set                                                                                       $0.00   0.00%    44.00
               Winbook 11 (100E 81M8) Trackpad                                                                                         $39.21   0.00%    42.00
               Winbook 11 (100E 81M8) Trackpad Flex                                                                                     $0.00   0.00%    70.00
               Winbook 11 (100E 81M8) Wi-Fi Card                                                                                        $0.00   0.00%     6.00
               Winbook 11 (300e 82GK) LCD w/ Digitizer                                                                             $22,805.62   0.26%   153.00
               X360 310 (G2) Palmrest w/ Keyboard and Trackpad                                                                          $0.00   0.00%     1.00
               X360 310 G2 Power Button Board                                                                                         $119.85   0.00%     3.00
               X360 Probook 11" G5/G6 EE DropTech Case                                 DropTech Dell 3189/3190 2-in-1 - Black           $0.00   0.00%    14.00
               Yoga (N23) Battery                                                                                                       $0.00   0.00%     4.00
               Yoga (N23) Camera [Front]                                                                                                $6.00   0.00%     5.00
               Yoga (N23) Daughterboard                                                                                                 $0.00   0.00%    17.00
               Yoga (N23) Hinge Set*                                                                                                    $0.00   0.00%     5.00
               Yoga (N23) Hinge [Left]                                                                                                 $36.79   0.00%    49.00
               Yoga (N23) Hinge [Right]                                                                                                $33.46   0.00%    53.00
               Yoga (N23) Housing [Base]                                                                                               $17.99   0.00%     3.00
               Yoga (N23) Housing [LCD Rear Cover]                                                                                    $133.15   0.00%    10.00
               Yoga (N23) Keyboard                                                                                                    $236.77   0.00%   105.00
               Yoga (N23) LCD Assembly                                                                                              $1,225.45   0.01%    12.00
               Yoga (N23) LCD Cable                                                                                                    $57.38   0.00%    30.00
               Yoga (N23) LCD w/ Digitizer                                                                                              $0.00   0.00%     3.00
               Yoga (N23) Motherboard                                                                                               $2,744.36   0.03%    33.00
               Yoga (N23) Palmrest w/ Keyboard                                                                                        $160.81   0.00%    19.00
               Yoga (N23) Screw Set                                                                                                     $0.00   0.00%    26.00
               Yoga (N23) Speaker Set                                                                                                 $800.17   0.01%   118.00
               Yoga (N23) Spine Cover                                                                                                  $19.96   0.00%     7.00
               Yoga (N23) Trackpad                                                                                                     $44.34   0.00%    35.00
               Yoga (N23) Trackpad Flex                                                                                                 $0.13   0.00%    22.00
               Yoga 11e (20DU) Battery                                                                                                $162.82   0.00%    89.00
               Yoga 11e (20DU) Camera w/ Sensor Board Cable                                                                            $21.79   0.00%    25.00
               Yoga 11e (20DU) Camera [Front]                                                                                         $184.50   0.00%    99.00
               Yoga 11e (20DU) Daughterboard                                                                                          $114.18   0.00%    79.00
               Yoga 11e (20DU) Daughterboard Flex                                                                                      $82.63   0.00%    72.00
               Yoga 11e (20DU) DC Jack                                                                                                $122.43   0.00%    85.00
               Yoga 11e (20DU) Heatsink w/ Fan                                                                                        $123.73   0.00%    94.00
               Yoga 11e (20DU) Hinge Set*                                                                                              $11.04   0.00%     3.00
               Yoga 11e (20DU) Hinge [Left]                                                                                            $21.70   0.00%     9.00
               Yoga 11e (20DU) Hinge [Right]                                                                                          $133.00   0.00%    76.00
               Yoga 11e (20DU) Housing [Base Cover]                                                                                   $207.30   0.00%    99.00
               Yoga 11e (20DU) Housing [Base]                                                                                          $53.76   0.00%    16.00
               Yoga 11e (20DU) Housing [LCD Bezel]                                                                                     $40.94   0.00%    18.00
               Yoga 11e (20DU) Housing [LCD Rear Cover]                                                                             $2,549.20   0.03%    74.00
               Yoga 11e (20DU) Keyboard                                                                                                $91.50   0.00%    59.00
               Yoga 11e (20DU) LCD Cable                                                                                              $173.34   0.00%    80.00
               Yoga 11e (20DU) LED Board w/ Flex [LCD Rear Cover]                                                                       $0.00   0.00%    48.00
               Yoga 11e (20DU) LED Board w/ Flex [Palmrest]                                                                            $86.90   0.00%    75.00
               Yoga 11e (20DU) Motherboard                                                                                            $376.18   0.00%   177.00
               Yoga 11e (20DU) Palmrest                                                                                                $67.43   0.00%    54.00
               Yoga 11e (20DU) Screw Set                                                                                               $53.13   0.00%    66.00
               Yoga 11e (20DU) SD Card Reader                                                                                          $22.08   0.00%    17.00
               Yoga 11e (20DU) Speaker Set                                                                                            $108.18   0.00%   102.00
               Yoga 11e (20DU) Trackpad                                                                                                $64.34   0.00%    72.00
               Yoga 11e (20DU) Trackpad Flex                                                                                           $90.16   0.00%    82.00
               Yoga 11e (20DU) Wi-Fi Card                                                                                              $23.45   0.00%    23.00
               Yoga 11e (20G8) Housing [Base]                                                                                         $432.00   0.00%    12.00
               Yoga 11e (20G8) Housing [LCD Rear Cover]                                                                               $145.26   0.00%     2.00
               Yoga 11e (20G8) LCD Assembly                                                                                           $478.91   0.01%     4.00
               Yoga 11e (20G8) LCD Cable                                                                                               $12.99   0.00%     1.00
               Yoga 11e (20G8) Motherboard                                                                                            $945.63   0.01%     5.00
               Yoga 11e (20G8) Palmrest                                                                                                $57.48   0.00%     1.00
               Yoga 11e (20GA) Battery                                                                                                  $0.92   0.00%     2.00




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                                    Yoga 11e (20GA) Camera                                                                                               $0.92    0.00%         2.00
                                    Yoga 11e (20GA) Camera Cable                                                                                         $0.46    0.00%         2.00
                                    Yoga 11e (20GA) CMOS Battery                                                                                         $0.23    0.00%         1.00
                                    Yoga 11e (20GA) DC Jack                                                                                              $0.46    0.00%         2.00
                                    Yoga 11e (20GA) Fan                                                                                                  $0.92    0.00%         2.00
                                    Yoga 11e (20GA) Hinge [Left]                                                                                         $0.92    0.00%         2.00
                                    Yoga 11e (20GA) Hinge [Right]                                                                                        $0.92    0.00%         2.00
                                    Yoga 11e (20GA) Housing [Base Door]                                                                                  $1.38    0.00%         3.00
                                    Yoga 11e (20GA) Housing [Base]                                                                                       $0.46    0.00%         1.00
                                    Yoga 11e (20GA) Housing [LCD Rear Cover]                                                                             $0.92    0.00%         2.00
                                    Yoga 11e (20GA) Keyboard                                                                                             $0.92    0.00%         2.00
                                    Yoga 11e (20GA) LCD Assembly                                                                                         $0.92    0.00%         2.00
                                    Yoga 11e (20GA) LCD Cable                                                                                            $0.92    0.00%         2.00
                                    Yoga 11e (20GA) LED Board Flex                                                                                       $0.23    0.00%         1.00
                                    Yoga 11e (20GA) Motherboard [N3150]                                                                                  $0.47    0.00%         3.00
                                    Yoga 11e (20GA) Screw Set                                                                                            $0.23    0.00%         1.00
                                    Yoga 11e (20GA) SD Card Reader                                                                                       $0.23    0.00%         1.00
                                    Yoga 11e (20GA) SD Card Reader Flex                                                                                  $0.23    0.00%         1.00
                                    Yoga 11e (20GA) Sensor Board                                                                                         $0.46    0.00%         2.00
                                    Yoga 11e (20GA) Speaker Set                                                                                          $0.23    0.00%         1.00
                                    Yoga 11e (20GA) SSD [128GB]                                                                                          $0.23    0.00%         1.00
                                    Yoga 11e (20GA) Trackpad                                                                                             $0.23    0.00%         1.00
                                    Yoga 11e (20GA) Trackpad Flex                                                                                        $0.23    0.00%         1.00
                                    Yoga 11e (20GA) Wi-Fi Card                                                                                           $0.23    0.00%         1.00
                                    Yoga 11e (20HU) Camera                                                                                               $0.23    0.00%         1.00
                                    Yoga 11e (20HU) Camera Cable                                                                                         $0.23    0.00%         1.00
                                    Yoga 11e (20HU) CMOS Battery                                                                                         $0.23    0.00%         1.00
                                    Yoga 11e (20HU) DC Jack                                                                                              $6.40    0.00%         1.00
                                    Yoga 11e (20HU) Fan                                                                                                  $0.46    0.00%         1.00
                                    Yoga 11e (20HU) Hinge [Left]                                                                                         $0.23    0.00%         1.00
                                    Yoga 11e (20HU) Hinge [Right]                                                                                        $0.23    0.00%         1.00
                                    Yoga 11e (20HU) Housing [Base Cover]                                                                               $381.20    0.00%        10.00
                                    Yoga 11e (20HU) Housing [Base]                                                                                     $572.70    0.01%        46.00
                                    Yoga 11e (20HU) Housing [LCD Rear Cover]                                                                            $44.74    0.00%         1.00
                                    Yoga 11e (20HU) LCD Cable (Touch)                                                                                    $0.46    0.00%         1.00
                                    Yoga 11e (20HU) Screw Kit                                                                                            $0.23    0.00%         1.00
                                    Yoga 11e (20HU) SD Card Reader                                                                                       $0.23    0.00%         1.00
                                    Yoga 11e (20HU) SD Card Reader Cable                                                                                 $0.23    0.00%         1.00
                                    Yoga 11e (20HU) Sensor Board                                                                                         $0.23    0.00%         1.00
                                    Yoga 11e (20HU) Speaker Set                                                                                          $0.23    0.00%         1.00
                                    Yoga 11e (20HU) SSD [128GB]                                                                                          $0.23    0.00%         1.00
                                    Yoga 11e (20HU) Trackpad                                                                                             $0.23    0.00%         1.00
                                    Yoga 11e (20HU) Trackpad Flex                                                                                        $0.23    0.00%         1.00
                                    Yoga 11e (20HU) Wi-Fi Card                                                                                           $0.23    0.00%         1.00
                                    Yoga 11e (20LM) AC Adapter                                                                                       $1,795.01    0.02%       160.00
                                    Yoga 11e (20LM) Battery                                                                                            $407.91    0.00%        56.00
                                    Yoga 11e (20LM) Camera                                                                                             $759.96    0.01%       100.00
                                    Yoga 11e (20LM) Camera Cable                                                                                       $521.20    0.01%       138.00
                                    Yoga 11e (20LM) Camera [Palmrest]                                                                                $1,048.76    0.01%       141.00
                                    Yoga 11e (20LM) CMOS Battery                                                                                       $516.54    0.01%       139.00
                                    Yoga 11e (20LM) DC Jack                                                                                            $520.95    0.01%       140.00
                                    Yoga 11e (20LM) G Sensor Board                                                                                     $528.67    0.01%       143.00
                                    Yoga 11e (20LM) Hinge (Left)                                                                                       $598.35    0.01%        80.00
                                    Yoga 11e (20LM) Hinge (Right)                                                                                    $1,181.78    0.01%       158.00
                                    Yoga 11e (20LM) Housing [Base]                                                                                   $2,709.81    0.03%       146.00
                                    Yoga 11e (20LM) Housing [LCD Rear Cover]                                                                         $3,056.81    0.04%       137.00
                                    Yoga 11e (20LM) LCD Assembly                                                                                     $9,408.80    0.11%       106.00
                                    Yoga 11e (20LM) LCD Cable                                                                                          $484.59    0.01%       130.00
                                    Yoga 11e (20LM) Motherboard                                                                                      $2,393.23    0.03%        28.00
                                    Yoga 11e (20LM) Palmrest                                                                                         $3,534.83    0.04%       141.00
                                    Yoga 11e (20LM) Palmrest LED board w/ Cable                                                                        $428.26    0.00%       133.00
                                    Yoga 11e (20LM) Power Button Board                                                                               $1,152.30    0.01%       148.00
                                    Yoga 11e (20LM) Power Button Board Cable                                                                           $514.42    0.01%       138.00
                                    Yoga 11e (20LM) Screw Set                                                                                          $508.58    0.01%       136.00
                                    Yoga 11e (20LM) Sensor Board Cable                                                                                 $512.73    0.01%       137.00
                                    Yoga 11e (20LM) Speaker Set                                                                                      $1,048.76    0.01%       141.00
                                    Yoga 11e (20LM) SSD [128GB]                                                                                      $7,130.22    0.08%       216.00
                                    Yoga 11e (20LM) Stylus                                                                                           $1,419.12    0.02%       191.00
                                    Yoga 11e (20LM) Stylus Cable                                                                                       $498.66    0.01%       134.00
                                    Yoga 11e (20LM) Trackpad                                                                                         $1,033.40    0.01%       139.00
                                    Yoga 11e (20LM) Trackpad Flex                                                                                      $513.55    0.01%       138.00
                                    Yoga 11e (20LM) Wi-Fi Card                                                                                       $1,036.54    0.01%       139.00
                                    Yoga 11e (20LM) Wi-Fi Card LED Board                                                                               $519.51    0.01%       139.00
                                    Yoga 11e (20LN) DC Jack                                                                                            $118.81    0.00%         8.00
                                    Yoga 11e (20LN) Palmrest                                                                                           $582.07    0.01%        28.00
                                    Yoga 11e (20LN) Sensor Board Cable                                                                                  $15.32    0.00%         1.00
                                    Yoga 11E (4th Gen) Battery                                                                                          $89.99    0.00%         1.00
                                    Yoga 11E (4th Gen) Trackpad                                                                                          $0.00    0.00%         3.00
                                    Yoga 11E (5th Gen) Battery                                                                                           $0.00    0.00%         6.00
                                    Yoga 11E (5th Gen) Housing [Base]                                                                                  $588.98    0.01%        14.00
                                    Yoga 11E (5th Gen) Housing [LCD Rear Cover]                                                                         $24.76    0.00%         1.00
                                    Yoga 11E (5th Gen) Keyboard                                                                                        $758.82    0.01%        20.00
                                    Yoga 11E (5th Gen) LCD                                                                                             $426.67    0.00%         3.00
                                    Yoga 11E (5th Gen) LCD Cable                                                                                     $1,066.96    0.01%        65.00
                                    Yoga 11E (5th Gen) Motherboard                                                                                     $218.55    0.00%         1.00
                                    Yoga 11E (5th Gen) Palmrest                                                                                        $596.88    0.01%        12.00
                                    Yoga 11E (5th Gen) Power Button Board                                                                              $132.30    0.00%         9.00
                                    Yoga 11E (5th Gen) Trackpad                                                                                         $36.20    0.00%         1.00
                                    Yoga 730 (13) LCD Cable                                                                                              $0.00    0.00%         1.00
                                    Yoga 730 (13) Palmrest w/ Keyboard                                                                                   $0.00    0.00%         2.00
                                    Yoga 910 (80VF) Palmrest                                                                                             $0.00    0.00%         2.00
                                    Yoga 910 (80VF) Palmrest w/ Keyboard                                                                                 $0.00    0.00%         1.00
                                    Yoga 910 (80VF) Palmrest w/ Keyboard and Trackpad                                                                    $0.00    0.00%         1.00
   Total - Inventory Item                                                                                                                        $5,594,836.38   64.60%   675,031.50
Total - 9001 - Kennesaw Warehouse                                                                                                                $5,619,935.34   64.89%   675,034.50
9000 - Marietta, GA (SSC)
   Inventory Item
                                    MKTG                                                             SHI Marketing                                  $1,260.00    0.01%       630.00
                                    SM-TG-SP340                                                      Tempered Glass for Galaxy A7 10.4" T505           $45.11    0.00%        15.00
                                    Staymobile Mens Jacket - Large                                                                                      $0.00    0.00%         1.00
                                    Staymobile Tee - Large                                                                                              $0.00    0.00%         2.00
   Total - Inventory Item                                                                                                                           $1,305.11    0.02%       648.00
Total - 9000 - Marietta, GA (SSC)                                                                                                                   $1,305.11    0.02%       648.00
ASP
   8004 - Columbia, SC
        Inventory Item
                                    ## CB 11 (3100 P29T) Camera [Front] ##                                                                            $143.92    0.00%         8.00
                                    ## CB 11 (3100 P29T) Daughterboard (Touch) ##                                                                     $104.32    0.00%         5.00
                                    ## CB 11 (3100 P29T) Housing [LCD Rear Cover] ##                                                                  $108.87    0.00%         5.00
                                    ## CB 11 (3100 P29T) LCD Cable ##                                                                                 $251.86    0.00%        14.00
                                    ## CB 11 (3100 P29T) Motherboard (Touch) ##                                                                       $776.49    0.01%         6.00
                                    CB 11 (300e 81MB) Battery                                                                                         $171.46    0.00%        10.00
                                    CB 11 (300e 81MB) Motherboard                                                                                   $1,365.55    0.02%        10.00
                                    CB 11 (300e 81MB) Palmrest w/ Keyboard                                                                            $359.90    0.00%        10.00
                                    CB 11 (300e 81QC) Camera                                                                                           $70.87    0.00%         5.00
                                    CB 11 (300e 81QC) LCD w/ Camera Cable                                                                              $53.50    0.00%         4.00
                                    CB 11 (300e 81QC) Palmrest w/ Keyboard                                                                             $59.38    0.00%         3.00
                                    CB 11 (300e 81QC) Screw Set                                                                                     $3,951.00    0.05%       300.00
                                    CB 11 (R721T) LCD w/ Digitizer                                                                                  $2,012.68    0.02%        20.00




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                                          CB 11 (R721T) Palmrest w/ Keyboard                                                                                                        $594.93          0.01%       7.00
                                          CB 11 x360 (G3 EE) Daughterboard                                                                                                           $36.29          0.00%       1.00
                                          CB 11 x360 (G3 EE) LCD w/ Digitizer (Finger-Touch)                                                                                      $1,339.80          0.02%      20.00
                                          CB 11 x360 (G3 EE) Motherboard                                                                                                            $257.13          0.00%       5.00
                                          CB 11 x360 (G3 EE) Trackpad Flex                                                                                                           $50.24          0.00%      10.00
   Total - Inventory Item                                                                                                                                                        $11,708.19          0.14%     443.00
Total - 8004 - Columbia, SC                                                                                                                                                      $11,708.19          0.14%     443.00
8000 - Wichita Falls, TX
   Inventory Item
                                          CB 11 (300e 81H0) Battery                                                                                                              $18,242.32          0.21%      578.00
                                          CB 11 (300e 81H0) Camera                                                                                                                  $709.20          0.01%       88.00
                                          CB 11 (300e 81H0) Daughterboard                                                                                                         $9,060.96          0.10%      486.00
                                          CB 11 (300e 81H0) Hinge Set*                                                                                                              $845.12          0.01%       61.00
                                          CB 11 (300e 81H0) Housing [Base]                                                                                                        $2,853.54          0.03%      218.00
                                          CB 11 (300e 81H0) Housing [LCD Rear Cover]                                                                                              $6,204.31          0.07%      473.00
                                          CB 11 (300e 81H0) LCD Cable                                                                                                                $59.05          0.00%       24.00
                                          CB 11 (300e 81H0) LCD w/ Digitizer                                                                                                     $14,948.33          0.17%      241.00
                                          CB 11 (300e 81H0) Motherboard [4GB][32GB] Touch                                                                                         $7,487.74          0.09%      167.00
                                          CB 11 (300e 81H0) Palmrest w/ Keyboard and Trackpad*                                                                                   $11,824.55          0.14%      401.00
                                          CB 11 (300e 81H0) Screw Set                                                                                                               $124.60          0.00%       31.00
                                          CB 11 (300e 81H0) Speaker Set                                                                                                             $325.66          0.00%       59.00
                                          CB 11 (300e 81H0) Spine Cover                                                                                                              $61.30          0.00%       34.00
   Total - Inventory Item                                                                                                                                                        $72,746.68          0.84%    2,861.00
Total - 8000 - Wichita Falls, TX                                                                                                                                                 $72,746.68          0.84%    2,861.00
8001 - Union County, NC
   Inventory Item
                                          CB 11 (100e 81MA) Battery                                                                                                                    $0.00          0.00%      38.00
                                          CB 11 (100e 81MA) Palmrest w/ Keyboard and Trackpad*                                                                                     $2,724.73          0.03%      97.00
                                          CB 11 (100e 82CD) AST AC Adapter                                                                                                           $287.73          0.00%      53.00
                                          CB 11 (100e 82CD) AST Battery                                                                                                            $2,573.51          0.03%      55.00
                                          CB 11 (100e 82CD) AST Camera                                                                                                               $556.17          0.01%      49.00
                                          CB 11 (100e 82CD) AST Daughterboard                                                                                                      $3,160.57          0.04%     163.00
                                          CB 11 (100e 82CD) AST Hinge Set*                                                                                                           $927.36          0.01%      56.00
                                          CB 11 (100e 82CD) AST Housing [Base]                                                                                                       $930.70          0.01%      62.00
                                          CB 11 (100e 82CD) AST Housing [LCD Bezel]                                                                                                $5,162.04          0.06%     358.00
                                          CB 11 (100e 82CD) AST Housing [LCD Rear Cover]                                                                                           $1,321.21          0.02%     107.00
                                          CB 11 (100e 82CD) AST LCD Cable                                                                                                              $0.00          0.00%     130.00
                                          CB 11 (100e 82CD) AST Motherboard                                                                                                        $7,123.97          0.08%      51.00
                                          CB 11 (100e 82CD) AST Palmrest w/ Keyboard                                                                                              $11,999.17          0.14%     285.00
                                          CB 11 (100e 82CD) AST Palmrest w/ Keyboard and Trackpad                                                                                  $9,093.88          0.10%     315.00
                                          CB 11 (100e 82CD) AST Screw Set                                                                                                            $113.08          0.00%      52.00
                                          CB 11 (100e 82CD) AST Speaker Set                                                                                                          $259.39          0.00%      44.00
                                          CB 11 (100e 82CD) AST Trackpad                                                                                                             $380.00          0.00%      38.00
                                          CB 11 (100e 82CD) AST Wi-Fi Card                                                                                                           $648.75          0.01%      95.00
                                          CB 11 (N23) Battery                                                                                                                          $0.00          0.00%      84.00
                                          CB 11 (N23) Daughterboard                                                                                                                  $397.29          0.00%      51.00
                                          CB 11 (N23) Daughterboard Cable                                                                                                              $0.00          0.00%      51.00
                                          CB 11 (N23) DC Jack                                                                                                                        $382.12          0.00%     233.00
                                          CB 11 (N23) Hinge Set*                                                                                                                       $0.00          0.00%      62.00
                                          CB 11 (N23) Hinge [Left]                                                                                                                   $306.23          0.00%     113.00
                                          CB 11 (N23) Hinge [Right]                                                                                                                  $338.75          0.00%     125.00
                                          CB 11 (N23) Housing [Base]                                                                                                               $2,548.58          0.03%     149.00
                                          CB 11 (N23) Housing [Camera]                                                                                                             $1,143.50          0.01%      50.00
                                          CB 11 (N23) Housing [LCD Bezel]                                                                                                          $2,604.38          0.03%     297.00
                                          CB 11 (N23) Housing [LCD Rear Cover]                                                                                                     $2,836.83          0.03%     211.00
                                          CB 11 (N23) LCD Assembly                                                                                                                     $0.00          0.00%   1,278.00
                                          CB 11 (N23) LCD Cable                                                                                                                    $1,923.24          0.02%     341.00
                                          CB 11 (N23) LCD Panel (Touch)                                                                                                                $0.00          0.00%      18.00
                                          CB 11 (N23) Motherboard                                                                                                                    $299.55          0.00%       6.00
                                          CB 11 (N23) Palmrest w/ Keyboard                                                                                                           $396.49          0.00%      31.00
                                          CB 11 (N23) Palmrest w/ Keyboard and Trackpad*                                                                                          $10,790.44          0.12%     397.00
                                          CB 11 (N23) Screw Set                                                                                                                    $1,314.12          0.02%     188.00
                                          CB 11 (N23) Speaker Set                                                                                                                    $135.72          0.00%      78.00
                                          CB 11 (N23) Trackpad                                                                                                                     $1,147.70          0.01%     115.00
                                          CB 11 (N23) Wi-Fi Card                                                                                                                   $1,753.46          0.02%     274.00
                                          SM-CS-CC150                                                                            Molded EVA Foam, Universal Work Case, Zip, with Accessory
                                                                                                                                                                                       $8.38
                                                                                                                                                                                           Pouch, 11"-12"
                                                                                                                                                                                                      0.00%       1.00
                                          System SKU                                                                             DO NOT ORDER DO NOT SELL DO NOT USE                   $0.00          0.00%       1.00
   Total - Inventory Item                                                                                                                                                         $75,589.04          0.87%   6,202.00
Total - 8001 - Union County, NC                                                                                                                                                   $75,589.04          0.87%   6,202.00
8011 - Midwest City-Del City SD
   Inventory Item
                                          ## CB 11 (3100 P29T) Battery Cable ##                                                                                                       $18.46         0.00%       3.00
                                          ## CB 11 (3100 P29T) Daughterboard (Touch) ##                                                                                               $55.15         0.00%       2.00
                                          ## CB 11 (3100 P29T) Housing [LCD Rear Cover] ##                                                                                             $7.03         0.00%       3.00
                                          ## CB 11 (3100 P29T) LCD Cable (Touch) ##                                                                                                   $74.96         0.00%       9.00
                                          ## CB 11 (3100 P29T) Motherboard (Touch) ##                                                                                              $1,366.01         0.02%      10.00
                                          ## CB 11 (3100 P29T) Trackpad ##                                                                                                            $27.14         0.00%       5.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [LCD Bezel]                                                                                      $30.78         0.00%       2.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest                                                                                                  $0.00         0.00%      10.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Wi-Fi Antenna Cable                                                                                       $0.00         0.00%       5.00
                                          CB 11 (3100 P29T Touch)(30J93) Camera [Front]                                                                                               $22.33         0.00%       3.00
                                          CB 11 (3100 P29T Touch)(30J93) Daughterboard                                                                                                 $0.00         0.00%       5.00
                                          CB 11 (3100 P29T Touch)(30J93) Daughterboard Flex Set                                                                                        $0.00         0.00%       5.00
                                          CB 11 (3100 P29T Touch)(30J93) Hinge Set*                                                                                                   $35.00         0.00%       5.00
                                          CB 11 (3100 P29T Touch)(30J93) Housing [LCD Bezel]                                                                                           $0.00         0.00%       3.00
                                          CB 11 (3100 P29T Touch)(30J93) Keyboard                                                                                                     $82.01         0.00%      15.00
                                          CB 11 (3100 P29T Touch)(30J93) LCD Panel                                                                                                 $5,388.62         0.06%      85.00
                                          CB 11 (3100 P29T Touch)(30J93) Palmrest                                                                                                      $0.00         0.00%       4.00
                                          CB 11 (3100 P29T Touch)(30J93) Screw Set                                                                                                     $0.00         0.00%       6.00
                                          CB 11 (3100 P29T Touch)(30J93) Speaker Set                                                                                                   $0.00         0.00%       5.00
                                          CB 11 (3100 P29T Touch)(30J93) Trackpad Bracket                                                                                              $0.00         0.00%       5.00
                                          CB 11 (3100 P29T Touch)(30J93) Trackpad Flex                                                                                                 $0.00         0.00%       5.00
                                          CB 11 (3189) Battery                                                                                                                       $258.52         0.00%      10.00
   Total - Inventory Item                                                                                                                                                          $7,366.01         0.09%     205.00
Total - 8011 - Midwest City-Del City SD                                                                                                                                            $7,366.01         0.09%     205.00
8009 - McAlester
   Inventory Item
                                          ## CB 11 (3100 P29T) Housing [LCD Rear Cover] ##                                                                                            $48.27         0.00%       9.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Battery Cable                                                                                             $0.00         0.00%      10.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Camera [Front]                                                                                            $0.00         0.00%      10.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Daughterboard                                                                                             $0.00         0.00%       5.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Daughterboard Flex Set                                                                                    $0.00         0.00%       5.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Hinge Set*                                                                                              $130.00         0.00%      10.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [Base]                                                                                           $43.80         0.00%      10.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [LCD Bezel]                                                                                     $158.66         0.00%      10.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [LCD Rear Cover]                                                                                $119.66         0.00%      11.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Keyboard                                                                                                 $48.19         0.00%      20.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) LCD Cable                                                                                                $13.55         0.00%       5.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB] [32GB] w/ DB Connector - 0W1C7C                                                       $223.87         0.00%       5.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest                                                                                                  $0.00         0.00%       9.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest w/ Keyboard                                                                                    $320.00         0.00%      10.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest w/ Keyboard (w/ Cutout)                                                                        $105.00         0.00%       5.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Screw Set                                                                                                 $0.00         0.00%       5.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Speaker Set                                                                                               $0.00         0.00%       5.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Trackpad                                                                                                  $5.89         0.00%      15.00
                                          CB 11 (3100 P29T Non-Touch)(TC6KM) Wi-Fi Antenna Cable                                                                                       $0.00         0.00%       5.00
                                          LCD Panel (Touch) L/R Brackets (30 Pin 11 in)                                                                                              $418.37         0.00%      10.00
                                          LCD Panel L/R Brackets (30 Pin 11 in)                                                  30 Pin LCD with Left & Right Brackets             $3,140.27         0.04%      70.00
   Total - Inventory Item                                                                                                                                                          $4,775.53         0.06%     244.00




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Total - 8009 - McAlester                                                                                                                                    $4,775.53   0.06%   244.00
8007 - Micro K-12
   Inventory Item
                                                CB 11 (500e 81MC) AC Adapter                                                                                   $71.98   0.00%     2.00
                                                CB 11 (500e 81MC) Battery                                                                                     $250.06   0.00%     6.00
                                                CB 11 (500e 81MC) Camera [Palmrest]                                                                            $55.42   0.00%    20.00
                                                CB 11 (500e 81MC) Daughterboard (USB)                                                                         $896.38   0.01%    56.00
                                                CB 11 (500e 81MC) Hinge Rubber                                                                                $359.80   0.00%    20.00
                                                CB 11 (500e 81MC) Hinge Set*                                                                                   $93.27   0.00%     5.00
                                                CB 11 (500e 81MC) Hinge [Right]                                                                                 $2.37   0.00%     1.00
                                                CB 11 (500e 81MC) Housing [Base]                                                                              $211.83   0.00%    28.00
                                                CB 11 (500e 81MC) Housing [LCD Rear Cover]                                                                  $1,088.73   0.01%    83.00
                                                CB 11 (500e 81MC) LCD Cable                                                                                    $73.63   0.00%    10.00
                                                CB 11 (500e 81MC) LCD w/ Digitizer (Touch)                                                                  $3,580.50   0.04%    33.00
                                                CB 11 (500e 81MC) Motherboard [4GB][32GB]                                                                  $27,657.97   0.32%   167.00
                                                CB 11 (500e 81MC) Palmrest w/ Keyboard                                                                      $1,843.93   0.02%    84.00
                                                CB 11 (500e 81MC) Palmrest w/ Keyboard and Trackpad                                                         $1,605.65   0.02%    28.00
                                                CB 11 (500e 81MC) Speaker Set                                                                                  $16.44   0.00%     1.00
                                                CB 11 (500e 81MC) Spine Cover                                                                                 $286.65   0.00%    42.00
                                                CB 11 (500e 81MC) Wi-Fi Card                                                                                  $798.91   0.01%   113.00
                                                Winbook (300e 81M9) Hinge Set*                                                                              $1,361.97   0.02%   121.00
                                                Winbook (300e 81M9) Motherboard                                                                                $75.51   0.00%     1.00
                                                Winbook (300e 81M9) Palmrest w/ Keyboard                                                                       $45.13   0.00%     3.00
   Total - Inventory Item                                                                                                                                  $40,376.13   0.47%   824.00
Total - 8007 - Micro K-12                                                                                                                                  $40,376.13   0.47%   824.00
8003 - DCTS
   Inventory Item
                                                CB 11 (100e 81MA) Housing [Base]                                                                                $0.00   0.00%    10.00
                                                CB 11 (C732) Daughterboard                                                                                     $12.11   0.00%     3.00
                                                CB 11 (C732) Daughterboard (USB) Flex [30 Pin]                                                                  $0.74   0.00%     3.00
                                                CB 11 (C732) Hinge [Left]                                                                                       $0.00   0.00%    21.00
                                                CB 11 (C732) Hinge [Right]                                                                                      $0.00   0.00%    21.00
                                                CB 11 (C732) Housing [LCD Bezel]                                                                                $9.76   0.00%    28.00
                                                CB 11 (C732) LCD Cable                                                                                         $11.80   0.00%     7.00
                                                CB 11 (C732) Motherboard [4GB] [32GB]                                                                       $2,903.72   0.03%    36.00
                                                CB 11 (C732) Motherboard [4GB][16GB]                                                                            $0.00   0.00%     3.00
                                                CB 11 (C732) Palmrest w/ Keyboard                                                                              $36.42   0.00%     5.00
                                                CB 11 (C732) Wi-Fi Card                                                                                        $21.31   0.00%    13.00
                                                CB 11 (C771) Housing [LCD Bezel]                                                                                $0.00   0.00%     1.00
                                                CB 11 (R751T) Hinge Set*                                                                                      $288.96   0.00%    16.00
                                                CB 11 (R751T) LCD w/ Digitizer                                                                              $4,292.66   0.05%    23.00
                                                CB 11 (R751T) Motherboard                                                                                   $1,247.70   0.01%     6.00
                                                LCD Panel (40 Pin 11 in) (Touch)                                                                                $0.00   0.00%     6.00
                                                LCD Panel L/R Brackets (30 Pin 11 in)                              30 Pin LCD with Left & Right Brackets    $1,404.29   0.02%    26.00
                                                System SKU                                                         DO NOT ORDER DO NOT SELL DO NOT USE          $0.00   0.00%     1.00
   Total - Inventory Item                                                                                                                                  $10,229.47   0.12%   229.00
Total - 8003 - DCTS                                                                                                                                        $10,229.47   0.12%   229.00
8012 - Fountain - Fort Carson SD - CO
   Inventory Item
                                                CB 11 (300e 82CE) AC Adapter                                                                                  $175.92   0.00%     8.00
                                                CB 11 (300e 82CE) Battery                                                                                     $356.19   0.00%    15.00
                                                CB 11 (300e 82CE) Camera                                                                                       $23.30   0.00%    10.00
                                                CB 11 (300e 82CE) Daughterboard                                                                               $298.91   0.00%    14.00
                                                CB 11 (300e 82CE) Daughterboard Flex                                                                            $1.13   0.00%    15.00
                                                CB 11 (300e 82CE) Hinge Set*                                                                                  $264.20   0.00%    15.00
                                                CB 11 (300e 82CE) Housing [LCD Bezel]                                                                          $50.00   0.00%     5.00
                                                CB 11 (300e 82CE) Housing [LCD Rear Cover]                                                                     $77.91   0.00%     5.00
                                                CB 11 (300e 82CE) LCD Cable                                                                                    $25.45   0.00%     5.00
                                                CB 11 (300e 82CE) LCD w/ Digitizer                                                                            $268.79   0.00%     5.00
                                                CB 11 (300e 82CE) Motherboard [4GB] [32GB]                                                                  $1,565.84   0.02%    12.00
                                                CB 11 (300e 82CE) Palmrest w/ Keyboard and Trackpad                                                            $28.05   0.00%     1.00
                                                CB 11 (300e 82CE) Screw Set                                                                                     $0.00   0.00%     5.00
                                                CB 11 (300e 82CE) Sensor Board                                                                                  $0.00   0.00%     5.00
                                                CB 11 (300e 82CE) Speaker Set                                                                                  $56.82   0.00%    10.00
                                                CB 11 (300e 82CE) Wi-Fi Card                                                                                    $9.38   0.00%    15.00
                                                CB 11 (500e 81MC) AC Adapter                                                                                  $363.86   0.00%    14.00
                                                CB 11 (500e 81MC) Battery                                                                                     $114.03   0.00%     5.00
                                                CB 11 (500e 81MC) Camera Flex [Palmrest]                                                                       $13.13   0.00%     5.00
                                                CB 11 (500e 81MC) Camera [Front]                                                                               $61.65   0.00%     5.00
                                                CB 11 (500e 81MC) Camera [Palmrest]                                                                             $7.93   0.00%     5.00
                                                CB 11 (500e 81MC) Daughterboard (USB) Flex Set                                                                  $0.16   0.00%    15.00
                                                CB 11 (500e 81MC) Hinge Set*                                                                                   $78.55   0.00%     5.00
                                                CB 11 (500e 81MC) LCD Cable                                                                                    $34.26   0.00%     5.00
                                                CB 11 (500e 81MC) LCD w/ Digitizer (Touch) w/ EMR                                                              $10.65   0.00%    13.00
                                                CB 11 (500e 81MC) Screw Set                                                                                     $0.00   0.00%     5.00
                                                CB 11 (500e 81MC) Trackpad                                                                                     $83.25   0.00%    10.00
                                                CB 11 (500e 81MC) USB Bracket                                                                                   $0.00   0.00%     5.00
                                                CB 11 (500e 81MC) Wi-Fi Card                                                                                   $21.00   0.00%    10.00
   Total - Inventory Item                                                                                                                                   $3,990.36   0.05%   247.00
Total - 8012 - Fountain - Fort Carson SD - CO                                                                                                               $3,990.36   0.05%   247.00
8010 - North Penn, PA
   Inventory Item
                                                CB 11 (R751T) Battery                                                                                         $559.74   0.01%    12.00
                                                CB 11 (R751T) Camera                                                                                          $415.83   0.00%    21.00
                                                CB 11 (R751T) Camera Flex [Palmrest]                                                                            $7.27   0.00%     5.00
                                                CB 11 (R751T) Camera [Front]                                                                                  $430.44   0.00%    20.00
                                                CB 11 (R751T) Daughterboard                                                                                   $171.14   0.00%     9.00
                                                CB 11 (R751T) Daughterboard (USB) Flex Set                                                                     $20.18   0.00%     4.00
                                                CB 11 (R751T) Daughterboard Flex [30 Pin]                                                                       $0.00   0.00%     5.00
                                                CB 11 (R751T) Daughterboard Flex [40 Pin]                                                                       $0.00   0.00%     5.00
                                                CB 11 (R751T) Hinge Set*                                                                                       $72.26   0.00%     4.00
                                                CB 11 (R751T) Hinge [Left]                                                                                     $58.41   0.00%     8.00
                                                CB 11 (R751T) Hinge [Right]                                                                                    $47.96   0.00%     8.00
                                                CB 11 (R751T) Housing [LCD Rear Cover]                                                                         $56.27   0.00%    11.00
                                                CB 11 (R751T) LCD Cable                                                                                        $43.02   0.00%     4.00
                                                CB 11 (R751T) LCD w/ Digitizer                                                                              $1,151.40   0.01%    18.00
                                                CB 11 (R751T) Microphone                                                                                      $191.45   0.00%    20.00
                                                CB 11 (R751T) Motherboard                                                                                     $135.00   0.00%     3.00
                                                CB 11 (R751T) Palmrest w/ Keyboard                                                                            $310.67   0.00%    17.00
                                                CB 11 (R751T) Trackpad                                                                                         $89.44   0.00%     9.00
                                                CB 11 (R751T) Trackpad Flex                                                                                    $45.51   0.00%    10.00
                                                CB 11 (R751T) Wi-Fi Card                                                                                      $236.17   0.00%    20.00
                                                CB 11 (R752T) Battery                                                                                         $329.57   0.00%    22.00
                                                CB 11 (R752T) Camera [Front]                                                                                  $588.80   0.01%    29.00
                                                CB 11 (R752T) Daughterboard                                                                                    $95.03   0.00%     7.00
                                                CB 11 (R752T) Daughterboard Flex [30 Pin]                                                                       $0.00   0.00%    15.00
                                                CB 11 (R752T) Daughterboard Flex [40 Pin]                                                                       $0.00   0.00%    15.00
                                                CB 11 (R752T) Hinge - Left                                                                                     $65.86   0.00%    17.00
                                                CB 11 (R752T) Hinge - Right                                                                                    $11.59   0.00%     2.00
                                                CB 11 (R752T) Housing [LCD Rear Cover]                                                                         $83.82   0.00%    35.00
                                                CB 11 (R752T) LCD Assembly                                                                                  $1,054.17   0.01%    14.00
                                                CB 11 (R752T) LCD Cable                                                                                       $135.48   0.00%    12.00
                                                CB 11 (R752T) Microphone                                                                                       $35.85   0.00%    23.00
                                                CB 11 (R752T) Palmrest w/ Keyboard                                                                             $22.57   0.00%     2.00
                                                CB 11 (R752T) Speaker Set                                                                                       $2.04   0.00%     5.00
                                                CB 11 (R752T) Trackpad                                                                                          $9.59   0.00%     2.00
                                                CB 11 (R752T) Wi-Fi Antenna                                                                                     $5.04   0.00%     4.00
                                                CB 11 (R752T) Wi-Fi Card                                                                                       $49.94   0.00%     5.00
                                                CB 11 (R752TN) Housing [LCD Rear Cover]                                                                        $52.65   0.00%     5.00




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                                   CB 11 (R752TN) LCD Cable                                                                     $10.97   0.00%       5.00
                                   CB 11 (R752TN) LCD w/ Digitizer                                                             $936.00   0.01%       4.00
      Total - Inventory Item                                                                                                 $7,531.13   0.09%     436.00
   Total - 8010 - North Penn, PA                                                                                             $7,531.13   0.09%     436.00
   8006 - Nixa SD
      Inventory Item
                                   CB 11 (R752T) Battery                                                                       $490.20   0.01%       12.00
                                   CB 11 (R752T) Camera Cable                                                                    $0.00   0.00%       46.00
                                   CB 11 (R752T) Camera [Front]                                                                $275.54   0.00%       46.00
                                   CB 11 (R752T) Camera [Palmrest]                                                             $619.50   0.01%       59.00
                                   CB 11 (R752T) Daughterboard                                                                 $355.71   0.00%       33.00
                                   CB 11 (R752T) Daughterboard Flex [30 Pin]                                                     $0.00   0.00%       60.00
                                   CB 11 (R752T) Daughterboard Flex [40 Pin]                                                     $0.00   0.00%       55.00
                                   CB 11 (R752T) G Sensor Board                                                                 $87.57   0.00%       63.00
                                   CB 11 (R752T) G Sensor Board Cable                                                           $42.60   0.00%       60.00
                                   CB 11 (R752T) Hinge - Left                                                                  $524.28   0.01%       68.00
                                   CB 11 (R752T) Hinge - Right                                                                 $439.47   0.01%       57.00
                                   CB 11 (R752T) Housing [Base]                                                                $423.43   0.00%       39.00
                                   CB 11 (R752T) Housing [LCD Rear Cover]                                                      $707.21   0.01%       75.00
                                   CB 11 (R752T) LCD Assembly                                                                $3,631.81   0.04%       35.00
                                   CB 11 (R752T) LCD Cable                                                                     $399.60   0.00%       40.00
                                   CB 11 (R752T) Microphone                                                                    $130.20   0.00%       84.00
                                   CB 11 (R752T) Microphone Cable                                                                $0.00   0.00%       59.00
                                   CB 11 (R752T) Motherboard                                                                 $5,117.80   0.06%       25.00
                                   CB 11 (R752T) Palmrest w/ Keyboard                                                        $1,976.35   0.02%       92.00
                                   CB 11 (R752T) Speaker Set                                                                   $161.67   0.00%       51.00
                                   CB 11 (R752T) Trackpad                                                                      $225.60   0.00%       47.00
                                   CB 11 (R752T) Trackpad Flex                                                                  $10.03   0.00%       59.00
                                   CB 11 (R752T) Wi-Fi Antenna                                                                  $85.68   0.00%       68.00
                                   CB 11 (R752T) Wi-Fi Card                                                                    $960.15   0.01%      103.00
                                   CB 11 (R752T) Wi-Fi Repair Kit                                                              $202.35   0.00%       15.00
        Total - Inventory Item                                                                                              $16,866.75   0.19%    1,351.00
   Total - 8006 - Nixa SD                                                                                                   $16,866.75   0.19%    1,351.00
Total - ASP                                                                                                                $251,179.29   2.90%   13,042.00
Return Merchandise
   Inventory Item
                                   ## CB 11 (100e 82CD) AST Keyboard ##                                                         $83.56   0.00%       2.00
                                   ## CB 11 (3100 P29T) Daughterboard ##                                                        $17.86   0.00%       1.00
                                   ## CB 11 (3100 P29T) Daughterboard (Touch) ##                                                $42.30   0.00%       2.00
                                   ## CB 11 (3100 P29T) Housing [LCD Bezel] ##                                                  $13.96   0.00%       1.00
                                   ## CB 11 (3100 P29T) Housing [LCD Rear Cover] ##                                             $39.28   0.00%       2.00
                                   ## CB 11 (3100 P29T) Keyboard ##                                                              $2.75   0.00%       1.00
                                   ## CB 11 (3100 P29T) LCD Panel (Touch) ##                                                 $2,540.61   0.03%      23.00
                                   ## CB 11 (3100 P29T) Motherboard (Touch) ##                                                 $126.07   0.00%       1.00
                                   ## CB 11 (3100 P30T) Daughterboard ##                                                        $12.93   0.00%       1.00
                                   ## CB 11 (3100 P30T) Palmrest ##                                                              $0.00   0.00%       1.00
                                   ## CB 11 (C738T) Sensor Board Cable ##                                                        $0.47   0.00%       1.00
                                   ## CB 11 (G6 EE) Camera ###                                                                  $38.83   0.00%       2.00
                                   ## CB 11 (G6 EE) Housing [LCD Rear Cover] ##                                                 $27.93   0.00%       2.00
                                   ## CB 11 (G6 EE) Keyboard ##                                                                 $77.57   0.00%       2.00
                                   ## CB 11 (G6 EE) LCD Panel (Touch) ##                                                        $59.02   0.00%       1.00
                                   ## CB 11 (G6 EE) Motherboard ##                                                               $0.00   0.00%       1.00
                                   ## CB 11 (G6 EE) Motherboard [4GB][32GB] ##                                                 $651.65   0.01%      28.00
                                   ## CB 11 (G6 EE) Palmrest w/ Keyboard ##                                                     $50.48   0.00%       2.00
                                   ## CB 11 (G6 EE) Trackpad ##                                                                  $8.60   0.00%       1.00
                                   ## CB 11 (G7 EE) Camera ##                                                                   $28.53   0.00%       1.00
                                   ## CB 11 (G7 EE) Motherboard [4GB][16GB] ##                                                 $408.67   0.00%       2.00
                                   ## CB 11 (G8 EE) Camera ##                                                                   $12.09   0.00%       1.00
                                   ## CB 11 (G8 EE) Motherboard ##                                                             $599.54   0.01%       2.00
                                   ## CB 11 (G8 EE) Palmrest w/ Keyboard ##                                                     $39.97   0.00%       1.00
                                   ## CB 11 x360 (G3 EE) Palmrest ##                                                            $46.80   0.00%       1.00
                                   ## CB 11A (G6 EE) Camera ##                                                                  $10.55   0.00%       1.00
                                   ## CB 11A (G6 EE) Housing [LCD Bezel] ##                                                      $5.53   0.00%       1.00
                                   ## CB 11A (G6 EE) LCD Panel ##                                                               $82.21   0.00%       2.00
                                   ## CB 11A (G6 EE) Motherboard [4GB] [32GB] ##                                             $1,390.82   0.02%      13.00
                                   ## CB 11A (G6 EE) Palmrest w/ Keyboard ##                                                   $355.32   0.00%      11.00
                                   ## CB 11A (G8 EE) Battery ##                                                                 $10.92   0.00%       1.00
                                   ## CB 11A (G8 EE) Camera ##                                                                  $22.79   0.00%       1.00
                                   ## CB 11A (G8 EE) LCD Cable ##                                                                $8.79   0.00%       1.00
                                   ## CB 11A (G8 EE) Palmrest w/ Keyboard ##                                                   $139.22   0.00%       5.00
                                   ## CB 11A (G8 EE) Palmrest w/ Keyboard and Trackpad ##                                       $50.29   0.00%       1.00
                                   ## CB 14 (G5) Camera Cable ##                                                                $14.36   0.00%       1.00
                                   ## CB 14 (G5) LCD Panel ##                                                                   $43.20   0.00%       1.00
                                   ## CB 14 (G5) LCD Panel (Touch) ##                                                        $8,058.14   0.09%     105.00
                                   ## CB 14 (G5) Motherboard [4GB] [32GB] ##                                                   $557.38   0.01%       2.00
                                   ## CB 14 (G5) Trackpad Flex ##                                                              $493.60   0.01%      33.00
                                   ### CB 11 (3100 P30T) Palmrest w/ Keyboard ##                                                $67.70   0.00%       3.00
                                   CB 10e (82AM) Motherboard                                                                   $150.75   0.00%       1.00
                                   CB 11 (100e 81ER) Battery                                                                    $45.09   0.00%       2.00
                                   CB 11 (100e 81ER) Camera                                                                      $6.64   0.00%       1.00
                                   CB 11 (100e 81ER) Hinge [Left]                                                                $0.10   0.00%       1.00
                                   CB 11 (100e 81ER) Housing [LCD Bezel]                                                        $31.77   0.00%       3.00
                                   CB 11 (100e 81ER) Housing [LCD Rear Cover]                                                   $38.65   0.00%       3.00
                                   CB 11 (100e 81ER) Motherboard [4GB][16GB]                                                   $830.09   0.01%       8.00
                                   CB 11 (100e 81ER) Motherboard [4GB][32GB]                                                 $2,560.65   0.03%      15.00
                                   CB 11 (100e 81MA) Camera [Front]                                                             $80.29   0.00%       4.00
                                   CB 11 (100e 81MA) Daughterboard                                                              $23.55   0.00%       1.00
                                   CB 11 (100e 81MA) LCD Cable                                                                   $7.54   0.00%       1.00
                                   CB 11 (100e 81MA) Motherboard                                                             $1,108.63   0.01%       8.00
                                   CB 11 (100e 81MA) Palmrest w/ Keyboard                                                       $23.55   0.00%       4.00
                                   CB 11 (100e 81MA) Palmrest w/ Keyboard and Trackpad*                                         $64.28   0.00%       2.00
                                   CB 11 (100e 81QB) Battery                                                                   $235.94   0.00%      18.00
                                   CB 11 (100e 81QB) Camera                                                                      $2.76   0.00%       1.00
                                   CB 11 (100e 81QB) Daughterboard                                                             $269.82   0.00%      57.00
                                   CB 11 (100e 81QB) Daughterboard Flex                                                          $1.02   0.00%       1.00
                                   CB 11 (100e 81QB) Hinge [Left]                                                                $3.48   0.00%       1.00
                                   CB 11 (100e 81QB) Housing [Base]                                                              $4.09   0.00%       1.00
                                   CB 11 (100e 81QB) Housing [LCD Rear Cover]                                                   $68.20   0.00%       6.00
                                   CB 11 (100e 81QB) LCD Cable                                                                   $5.10   0.00%       1.00
                                   CB 11 (100e 81QB) Motherboard                                                             $9,038.06   0.10%     122.00
                                   CB 11 (100e 81QB) Palmrest w/ Keyboard                                                      $711.50   0.01%      55.00
                                   CB 11 (100e 81QB) Palmrest w/ Keyboard and Trackpad                                          $79.23   0.00%       4.00
                                   CB 11 (100e 81QB) Speaker Set                                                                 $4.36   0.00%       2.00
                                   CB 11 (100e 81QB) Trackpad                                                                    $1.63   0.00%       1.00
                                   CB 11 (100e 81QB) Trackpad Flex                                                               $1.64   0.00%       1.00
                                   CB 11 (100e 82CD) AST Battery                                                                $47.17   0.00%       3.00
                                   CB 11 (100e 82CD) AST Daughterboard                                                          $11.38   0.00%       2.00
                                   CB 11 (100e 82CD) AST Hinge [Right]                                                          $68.56   0.00%      20.00
                                   CB 11 (100e 82CD) AST Housing [LCD Rear Cover]                                               $26.42   0.00%       2.00
                                   CB 11 (100e 82CD) AST LCD Cable                                                               $3.62   0.00%       1.00
                                   CB 11 (100e 82CD) AST Motherboard                                                         $6,075.58   0.07%      55.00
                                   CB 11 (100e 82CD) AST Palmrest w/ Keyboard                                                   $19.79   0.00%       2.00
                                   CB 11 (100e 82CD) AST Palmrest w/ Keyboard and Trackpad                                     $450.76   0.01%      11.00
                                   CB 11 (100e 82CD) AST Speaker Set                                                            $14.12   0.00%       8.00
                                   CB 11 (100e 82CD) AST Trackpad                                                               $39.83   0.00%      10.00
                                   CB 11 (100e 82CD) AST Wi-Fi Card                                                              $5.07   0.00%       1.00
                                   CB 11 (300e 81H0) Daughterboard                                                             $101.79   0.00%       6.00
                                   CB 11 (300e 81H0) Hinge [Left]                                                                $2.46   0.00%       2.00
                                   CB 11 (300e 81H0) Housing [Base]                                                             $13.04   0.00%       1.00




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               CB 11 (300e 81H0) Housing [LCD Rear Cover]                                                               $25.89   0.00%     2.00
               CB 11 (300e 81H0) LCD w/ Digitizer                                                                    $1,311.20   0.02%    26.00
               CB 11 (300e 81H0) Motherboard [4GB][32GB] Touch                                                       $1,158.05   0.01%    24.00
               CB 11 (300e 81H0) Palmrest w/ Keyboard                                                                   $64.72   0.00%     4.00
               CB 11 (300e 81H0) Trackpad                                                                               $13.71   0.00%     7.00
               CB 11 (300e 81H0) Trackpad Flex                                                                           $2.18   0.00%     1.00
               CB 11 (300e 81MB) LCD w/ Digitizer                                                                      $510.98   0.01%    10.00
               CB 11 (300e 81MB) Motherboard (w/ WFC)                                                                  $799.95   0.01%    10.00
               CB 11 (300e 81MB) Palmrest w/ Keyboard                                                                   $93.90   0.00%     7.00
               CB 11 (300e 81MB) Palmrest w/ Keyboard (w/ Cutout)                                                      $296.12   0.00%    16.00
               CB 11 (300e 81MB) Trackpad                                                                                $3.47   0.00%     1.00
               CB 11 (300e 81QC) Camera                                                                                  $1.77   0.00%     2.00
               CB 11 (300e 81QC) Daughterboard                                                                         $249.11   0.00%    20.00
               CB 11 (300e 81QC) Housing [Base]                                                                         $14.06   0.00%     2.00
               CB 11 (300e 81QC) Housing [Hinge Cover]                                                                  $18.09   0.00%     3.00
               CB 11 (300e 81QC) Housing [LCD Rear Cover]                                                              $177.66   0.00%    16.00
               CB 11 (300e 81QC) LCD Cable                                                                               $5.27   0.00%     2.00
               CB 11 (300e 81QC) LCD w/ Digitizer                                                                    $8,237.78   0.10%   124.00
               CB 11 (300e 81QC) Motherboard [4GB] [32GB]                                                            $5,171.49   0.06%    47.00
               CB 11 (300e 81QC) Palmrest w/ Keyboard                                                                  $378.58   0.00%    41.00
               CB 11 (300e 81QC) Spine Cover                                                                             $2.21   0.00%     1.00
               CB 11 (300e 81QC) Trackpad                                                                                $5.56   0.00%     8.00
               CB 11 (300e 82CE) Daughterboard                                                                          $19.88   0.00%     1.00
               CB 11 (300e 82CE) Housing [LCD Bezel]                                                                    $10.00   0.00%     1.00
               CB 11 (300e 82CE) LCD Cable                                                                               $5.64   0.00%     1.00
               CB 11 (300e 82CE) LCD w/ Digitizer                                                                      $170.32   0.00%     3.00
               CB 11 (300e 82CE) Motherboard [4GB] [32GB]                                                            $1,020.76   0.01%     8.00
               CB 11 (300e 82CE) Trackpad                                                                                $0.21   0.00%     5.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Daughterboard                                                          $0.00   0.00%     2.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [LCD Bezel]                                                   $13.94   0.00%     1.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Housing [LCD Rear Cover]                                              $42.50   0.00%     3.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Keyboard                                                              $49.80   0.00%    15.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) LCD Cable                                                             $25.68   0.00%     5.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) LCD Panel                                                            $236.12   0.00%     5.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB] [32GB] w/ DB Connector - 0W1C7C                    $121.10   0.00%     1.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB][16GB] (Non-Touch) - 0GD6HC                         $476.32   0.01%     7.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Motherboard [4GB][16GB] (Non-Touch) w/ DB Connector - 01Y3PF         $686.90   0.01%     8.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest                                                               $3.99   0.00%     2.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Palmrest w/ Keyboard and Trackpad*                                    $39.31   0.00%     1.00
               CB 11 (3100 P29T Non-Touch)(TC6KM) Trackpad                                                               $0.06   0.00%     3.00
               CB 11 (3100 P29T Touch)(30J93) Battery                                                                    $4.58   0.00%     4.00
               CB 11 (3100 P29T Touch)(30J93) Housing [LCD Bezel]                                                        $0.00   0.00%     1.00
               CB 11 (3100 P29T Touch)(30J93) Housing [LCD Rear Cover]                                                   $0.00   0.00%     2.00
               CB 11 (3100 P29T Touch)(30J93) Keyboard                                                                   $5.96   0.00%     1.00
               CB 11 (3100 P29T Touch)(30J93) LCD Panel                                                                $200.77   0.00%     3.00
               CB 11 (3100 P29T Touch)(30J93) Motherboard [4GB] [32GB] w/ DB Connector - 0W1C7C                      $1,421.13   0.02%    20.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Battery                                                                  $10.32   0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Camera [Front]                                                            $6.40   0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Daughterboard                                                           $167.18   0.00%    21.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Daughterboard Flex Set                                                    $0.00   0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) G Sensor Cable                                                            $1.38   0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Hinge Set*                                                               $47.93   0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Housing [Base]                                                            $2.06   0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Housing [LCD Rear Cover]                                                 $10.72   0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Keyboard                                                                 $31.61   0.00%     9.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) LCD Cable                                                                 $0.00   0.00%     2.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) LCD w/ Digitizer                                                        $606.40   0.01%    11.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) LCD w/ Digitizer (w/ EMR)                                               $118.00   0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Motherboard [4GB][32GB] w/ WFC Connector - 0FNMF1                     $1,082.83   0.01%     9.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Keyboard                                                     $21.78   0.00%     1.00
               CB 11 (3100 P30T 2-in-1)(NRCK2) Palmrest w/ Keyboard (w/ WFC)                                             $5.30   0.00%     3.00
               CB 11 (3120) Housing [LCD Bezel]                                                                         $41.19   0.00%     3.00
               CB 11 (3180) Housing [Base]                                                                              $14.71   0.00%     1.00
               CB 11 (3180) Housing [Hinge Cover]                                                                       $28.18   0.00%     4.00
               CB 11 (3180) Housing [LCD Rear Cover]                                                                    $25.11   0.00%     3.00
               CB 11 (3180) Keyboard                                                                                    $12.41   0.00%     3.00
               CB 11 (3180) LCD Panel (Non-touch)                                                                        $2.53   0.00%     1.00
               CB 11 (3180) Motherboard [4GB] [32GB]                                                                    $70.18   0.00%     2.00
               CB 11 (3180) Palmrest                                                                                    $19.88   0.00%     1.00
               CB 11 (3180) Trackpad                                                                                     $5.74   0.00%     3.00
               CB 11 (3189) Battery                                                                                     $24.96   0.00%     1.00
               CB 11 (3189) Board Set (Power w/ Audio)                                                                 $101.46   0.00%     3.00
               CB 11 (3189) Hinge [Right]                                                                                $1.82   0.00%     1.00
               CB 11 (3189) Keyboard                                                                                    $22.43   0.00%     3.00
               CB 11 (3189) LCD w/ Digitizer                                                                           $142.29   0.00%     2.00
               CB 11 (3189) Motherboard [4GB] [16GB]                                                                    $40.47   0.00%     1.00
               CB 11 (3189) Palmrest                                                                                   $119.01   0.00%     7.00
               CB 11 (3189) Trackpad                                                                                    $12.36   0.00%     2.00
               CB 11 (500e 81ES) Camera [Front]                                                                      $1,029.06   0.01%    60.00
               CB 11 (500e 81ES) Daughterboard                                                                          $16.85   0.00%     1.00
               CB 11 (500e 81ES) Daughterboard Flex Set                                                                 $13.16   0.00%     1.00
               CB 11 (500e 81ES) Hinge [Right]                                                                          $46.70   0.00%     9.00
               CB 11 (500e 81ES) Housing [LCD Rear Cover]                                                               $70.06   0.00%     5.00
               CB 11 (500e 81ES) LCD Cable                                                                               $6.26   0.00%     1.00
               CB 11 (500e 81ES) LCD w/ Digitizer                                                                      $439.52   0.01%     6.00
               CB 11 (500e 81ES) Motherboard [4GB] [32GB]                                                            $2,615.73   0.03%    17.00
               CB 11 (500e 81ES) Palmrest w/ Keyboard and Trackpad*                                                     $25.45   0.00%     1.00
               CB 11 (500e 81ES) Trackpad                                                                                $1.48   0.00%     1.00
               CB 11 (500e 81ES) Wi-Fi Card                                                                             $15.40   0.00%     2.00
               CB 11 (500e 81MC) Battery                                                                                $18.29   0.00%     1.00
               CB 11 (500e 81MC) Camera [Front]                                                                         $52.69   0.00%     4.00
               CB 11 (500e 81MC) Camera [Palmrest]                                                                       $3.87   0.00%     1.00
               CB 11 (500e 81MC) Daughterboard (USB)                                                                   $118.60   0.00%    11.00
               CB 11 (500e 81MC) Hinge [Left]                                                                            $0.07   0.00%     1.00
               CB 11 (500e 81MC) Housing [LCD Rear Cover]                                                               $83.81   0.00%     6.00
               CB 11 (500e 81MC) LCD Cable                                                                              $13.63   0.00%     2.00
               CB 11 (500e 81MC) LCD w/ Digitizer (Touch)                                                               $71.05   0.00%     1.00
               CB 11 (500e 81MC) Motherboard [4GB][32GB]                                                            $16,425.89   0.19%   104.00
               CB 11 (500e 81MC) Palmrest w/ Keyboard                                                                   $45.03   0.00%     2.00
               CB 11 (500e 81MC) Trackpad                                                                               $33.41   0.00%     8.00
               CB 11 (500e 81MC) Trackpad Flex                                                                           $2.11   0.00%     1.00
               CB 11 (500e 81MC) Wi-Fi Card                                                                            $207.87   0.00%    28.00
               CB 11 (5190) Hinge [Left]                                                                                 $1.73   0.00%     3.00
               CB 11 (5190) Housing [LCD Bezel]                                                                         $10.00   0.00%     1.00
               CB 11 (5190) LCD Panel (Touch)                                                                           $44.85   0.00%     1.00
               CB 11 (5190) Motherboard                                                                                $330.05   0.00%     3.00
               CB 11 (C202SA) Battery                                                                                   $32.37   0.00%     1.00
               CB 11 (C202SA) Camera                                                                                     $8.57   0.00%     3.00
               CB 11 (C202SA) Housing [Hinge Cover] - Black                                                          $2,551.67   0.03%   191.00
               CB 11 (C202SA) Housing [LCD Bezel] - Black                                                               $13.70   0.00%     3.00
               CB 11 (C202SA) Housing [LCD Rear Cover] - Black                                                          $51.97   0.00%     7.00
               CB 11 (C202SA) Housing [LCD Rear Cover] - Blue                                                           $21.67   0.00%     2.00
               CB 11 (C202SA) LCD Cable                                                                                  $6.62   0.00%     1.00
               CB 11 (C202SA) Motherboard [4GB] [32GB]                                                                 $686.65   0.01%     9.00
               CB 11 (C202SA) Palmrest w/ Keyboard - Black                                                              $76.92   0.00%     5.00
               CB 11 (C202SA) Trackpad                                                                                   $5.68   0.00%     1.00
               CB 11 (C203XA) Camera                                                                                     $1.58   0.00%     1.00
               CB 11 (C203XA) Motherboard [MT8173C][4GB][32GB]                                                         $237.51   0.00%     3.00
               CB 11 (C203XA) Palmrest w/ Keyboard                                                                      $44.51   0.00%     2.00




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               CB 11 (C204) Motherboard                                                                     $470.78   0.01%    4.00
               CB 11 (C204EE) Motherboard                                                                 $3,334.78   0.04%   54.00
               CB 11 (C204EE) Palmrest w/ Keyboard                                                            $4.07   0.00%    1.00
               CB 11 (C204MA) Motherboard [4GB]                                                             $111.86   0.00%    3.00
               CB 11 (C204MA) Palmrest w/ Keyboard                                                            $0.00   0.00%    2.00
               CB 11 (C214MA) Motherboard                                                                   $776.08   0.01%    6.00
               CB 11 (C302CA) Motherboard                                                                   $224.84   0.00%    1.00
               CB 11 (C720) Housing [LCD Rear Cover]                                                         $10.45   0.00%    1.00
               CB 11 (C721) Battery                                                                          $26.40   0.00%    1.00
               CB 11 (C721) Daughterboard                                                                    $25.56   0.00%    6.00
               CB 11 (C721) Daughterboard Flex Set                                                            $0.13   0.00%    1.00
               CB 11 (C721) Hinge Set*                                                                        $7.99   0.00%    1.00
               CB 11 (C721) Hinge [Left]                                                                      $0.54   0.00%    1.00
               CB 11 (C721) Hinge [Right]                                                                     $0.46   0.00%    2.00
               CB 11 (C721) Keyboard                                                                        $131.78   0.00%   31.00
               CB 11 (C721) LCD Cable                                                                         $1.16   0.00%    1.00
               CB 11 (C721) Motherboard [A4][4GB][32GB]                                                     $587.86   0.01%    5.00
               CB 11 (C721) Motherboard [A6][4GB][32GB]                                                   $1,201.18   0.01%    6.00
               CB 11 (C721) Palmrest w/ Keyboard                                                              $0.00   0.00%    1.00
               CB 11 (C721) Trackpad                                                                         $16.11   0.00%    7.00
               CB 11 (C721) Wi-Fi Card                                                                        $2.70   0.00%    1.00
               CB 11 (C731) Housing [LCD Bezel]                                                              $13.89   0.00%    2.00
               CB 11 (C731) Housing [LCD Rear Cover]                                                          $9.54   0.00%    1.00
               CB 11 (C731) Motherboard [2GB][16GB]                                                           $5.07   0.00%    4.00
               CB 11 (C731) Motherboard [4GB] [32GB]                                                        $285.36   0.00%    3.00
               CB 11 (C731) Palmrest w/ Keyboard                                                             $64.90   0.00%    5.00
               CB 11 (C731T) Battery                                                                         $45.01   0.00%    1.00
               CB 11 (C731T) Housing [LCD Rear Cover]                                                        $74.19   0.00%    8.00
               CB 11 (C731T) LCD (Touch)                                                                    $206.38   0.00%    3.00
               CB 11 (C731T) LCD Cable (Touch)                                                                $5.04   0.00%    1.00
               CB 11 (C731T) Motherboard [4GB][32GB]                                                        $135.32   0.00%    1.00
               CB 11 (C731T) Palmrest w/ Keyboard                                                            $31.86   0.00%    1.00
               CB 11 (C732) Daughterboard                                                                    $32.15   0.00%    6.00
               CB 11 (C732) Housing [LCD Rear Cover]                                                         $11.13   0.00%    6.00
               CB 11 (C732) Motherboard [4GB] [32GB]                                                        $189.23   0.00%    2.00
               CB 11 (C732) Palmrest w/ Keyboard                                                            $179.08   0.00%   25.00
               CB 11 (C732) Trackpad                                                                         $32.28   0.00%   23.00
               CB 11 (C732T) Palmrest w/ Keyboard                                                            $11.05   0.00%    1.00
               CB 11 (C733-C5AS) Battery                                                                      $8.49   0.00%    1.00
               CB 11 (C733-C5AS) Housing [LCD Rear Cover]                                                    $12.28   0.00%    3.00
               CB 11 (C733-C5AS) LCD Panel                                                                   $63.53   0.00%    1.00
               CB 11 (C733-C5AS) Trackpad                                                                     $3.21   0.00%    1.00
               CB 11 (C740) Battery                                                                          $28.04   0.00%    1.00
               CB 11 (C740) Housing [LCD Bezel]                                                              $16.06   0.00%    1.00
               CB 11 (C740) Housing [LCD Rear Cover]                                                        $413.65   0.00%   18.00
               CB 11 (C740) Motherboard [4GB] [32GB]                                                        $187.72   0.00%    2.00
               CB 11 (C771) Motherboard                                                                     $245.61   0.00%    2.00
               CB 11 (C771T) Motherboard [4GB][32GB]                                                         $45.00   0.00%    1.00
               CB 11 (G5) Motherboard [4GB] [16GB]                                                            $0.00   0.00%    1.00
               CB 11 (G6 EE Non-Touch) Camera                                                                $31.31   0.00%    3.00
               CB 11 (G6 EE Non-Touch) Camera Cable                                                           $6.89   0.00%    2.00
               CB 11 (G6 EE Non-Touch) Daughterboard                                                          $0.00   0.00%    2.00
               CB 11 (G6 EE Non-Touch) Daughterboard Flex Set                                                 $0.00   0.00%    1.00
               CB 11 (G6 EE Non-Touch) Housing [LCD Bezel]                                                    $0.00   0.00%    1.00
               CB 11 (G6 EE Non-Touch) Housing [LCD Rear Cover]                                              $28.65   0.00%    2.00
               CB 11 (G6 EE Non-Touch) LCD Panel                                                              $0.43   0.00%    1.00
               CB 11 (G6 EE Non-Touch) Motherboard [4GB][32GB]                                               $93.38   0.00%    1.00
               CB 11 (G6 EE Non-Touch) Motherboard [N3350][4GB][16GB]                                       $330.93   0.00%    4.00
               CB 11 (G6 EE Non-Touch) Motherboard [N3350][4GB][32GB]                                       $803.33   0.01%   10.00
               CB 11 (G6 EE Non-Touch) Motherboard [N3350][8GB][32GB]                                        $45.00   0.00%    1.00
               CB 11 (G6 EE Non-Touch) Motherboard [N3450][8GB][64GB]                                         $0.00   0.00%   13.00
               CB 11 (G6 EE Non-Touch) Palmrest w/ Keyboard                                                 $500.45   0.01%   20.00
               CB 11 (G6 EE Non-Touch) Speaker Set                                                            $0.00   0.00%    1.00
               CB 11 (G6 EE Non-Touch) Trackpad Flex                                                          $0.00   0.00%    1.00
               CB 11 (G6 EE Non-Touch) Wi-Fi Card                                                             $0.00   0.00%    1.00
               CB 11 (G6 EE Touch) Palmrest w/ Keyboard                                                      $38.47   0.00%    2.00
               CB 11 (G7 EE Non-Touch) Daughterboard                                                          $0.00   0.00%    1.00
               CB 11 (G7 EE Non-Touch) Housing [LCD Bezel]                                                   $71.14   0.00%    6.00
               CB 11 (G7 EE Non-Touch) Housing [LCD Rear Cover]                                             $199.16   0.00%    8.00
               CB 11 (G7 EE Non-Touch) Motherboard [N4100][4GB][32GB]                                       $257.25   0.00%    1.00
               CB 11 (G7 EE Non-Touch) Palmrest w/ Keyboard                                                  $87.69   0.00%   15.00
               CB 11 (G7 EE Non-Touch) Trackpad                                                               $5.56   0.00%    2.00
               CB 11 (G8 EE Non-Touch) Battery                                                               $23.90   0.00%    1.00
               CB 11 (G8 EE Non-Touch) Camera                                                                 $3.73   0.00%    2.00
               CB 11 (G8 EE Non-Touch) Camera Cable                                                           $0.00   0.00%    1.00
               CB 11 (G8 EE Non-Touch) Daughterboard                                                          $6.87   0.00%    2.00
               CB 11 (G8 EE Non-Touch) Housing [LCD Bezel]                                                    $4.91   0.00%    1.00
               CB 11 (G8 EE Non-Touch) Motherboard                                                          $386.31   0.00%    3.00
               CB 11 (G8 EE Non-Touch) Motherboard [N4020][4GB][32GB]                                       $242.96   0.00%    2.00
               CB 11 (G8 EE Non-Touch) Motherboard [N4120][4GB][32GB]                                       $413.97   0.00%    3.00
               CB 11 (G8 EE Non-Touch) Palmrest w/ Keyboard                                                  $74.30   0.00%   13.00
               CB 11 (G8 EE Non-Touch) Palmrest w/ Keyboard and Trackpad                                     $28.23   0.00%    1.00
               CB 11 (G8 EE Non-Touch) Trackpad                                                               $1.57   0.00%    3.00
               CB 11 (N21) Camera                                                                            $89.93   0.00%    4.00
               CB 11 (N21) Palmrest w/ Keyboard                                                             $123.61   0.00%    7.00
               CB 11 (N21) Palmrest w/ Keyboard and Trackpad*                                                $29.71   0.00%    1.00
               CB 11 (N22 80SF) Camera                                                                       $26.36   0.00%    1.00
               CB 11 (N22 80SF) Housing [Base]                                                               $20.04   0.00%    2.00
               CB 11 (N22 80SF) Palmrest w/ Keyboard                                                         $30.29   0.00%    3.00
               CB 11 (N23) Housing [Base]                                                                    $17.05   0.00%    1.00
               CB 11 (N23) Housing [LCD Rear Cover]                                                         $255.64   0.00%   19.00
               CB 11 (N23) Motherboard                                                                      $584.90   0.01%   12.00
               CB 11 (N23) Palmrest w/ Keyboard                                                             $239.55   0.00%   22.00
               CB 11 (N23) Trackpad                                                                          $18.62   0.00%    4.00
               CB 11 (N23) Wi-Fi Card                                                                        $25.05   0.00%    4.00
               CB 11 (R751T) Battery                                                                         $37.15   0.00%    1.00
               CB 11 (R751T) Camera [Front]                                                                  $11.05   0.00%    1.00
               CB 11 (R751T) Daughterboard                                                                   $28.33   0.00%    8.00
               CB 11 (R751T) Hinge Set*                                                                      $51.55   0.00%    3.00
               CB 11 (R751T) Housing [LCD Rear Cover]                                                        $55.96   0.00%    5.00
               CB 11 (R751T) LCD Cable                                                                       $13.74   0.00%    1.00
               CB 11 (R751T) LCD w/ Digitizer                                                               $691.02   0.01%   10.00
               CB 11 (R751T) Motherboard                                                                  $7,335.53   0.08%   39.00
               CB 11 (R751T) Palmrest w/ Keyboard                                                           $315.69   0.00%   16.00
               CB 11 (R751TN) LCD w/ Digitizer                                                              $159.17   0.00%    3.00
               CB 11 (R752T) Camera [Front]                                                                  $15.55   0.00%    1.00
               CB 11 (R752T) Daughterboard                                                                    $0.28   0.00%    1.00
               CB 11 (R752T) LCD Assembly                                                                 $5,893.28   0.07%   79.00
               CB 11 (R752T) Motherboard                                                                  $5,994.95   0.07%   36.00
               CB 11 (R752T) Wi-Fi Repair Kit                                                                $13.49   0.00%    1.00
               CB 11 (R752TN) Motherboard [4GB][32GB]                                                       $135.98   0.00%    1.00
               CB 11 (R851TN) Camera                                                                         $31.92   0.00%    1.00
               CB 11 (R851TN) Daughterboard                                                                   $9.54   0.00%    1.00
               CB 11 (R851TN) LCD w/ Digitizer                                                              $868.02   0.01%   18.00
               CB 11 (R851TN) Motherboard [4GB][32GB]                                                     $1,032.73   0.01%    8.00
               CB 11 (R851TN) Palmrest w/ Keyboard                                                           $11.46   0.00%    1.00
               CB 11 (R851TN) Trackpad                                                                        $2.86   0.00%    1.00
               CB 11 (RC738T) Battery                                                                        $21.31   0.00%    1.00
               CB 11 (RC738T) Hinge [Left]                                                                   $76.14   0.00%    9.00




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               CB 11 (RC738T) Housing [Base]                                                                                             $29.03          0.00%     2.00
               CB 11 (RC738T) Housing [LCD Rear Cover]                                                                                  $327.66          0.00%    30.00
               CB 11 (RC738T) LED Board                                                                                                   $2.35          0.00%     1.00
               CB 11 (RC738T) Microphone                                                                                                $189.01          0.00%    45.00
               CB 11 (RC738T) Motherboard [4GB][32GB]                                                                                    $17.69          0.00%     1.00
               CB 11 (RC738T) Palmrest w/ Keyboard                                                                                       $15.19          0.00%    80.00
               CB 11 (RC738T) Sensor Board                                                                                                $8.04          0.00%     7.00
               CB 11 (XE500C13) Motherboard [4GB] [32GB]                                                                                $105.19          0.00%     1.00
               CB 11 x360 (G1 EE) Camera                                                                                                  $7.00          0.00%     1.00
               CB 11 x360 (G1 EE) LCD Assembly                                                                                           $61.06          0.00%     1.00
               CB 11 x360 (G2 EE) Daughterboard                                                                                           $0.08          0.00%     3.00
               CB 11 x360 (G2 EE) LCD (Touch)                                                                                           $184.40          0.00%     4.00
               CB 11 x360 (G2 EE) LCD Cable (Touch)                                                                                       $1.38          0.00%     1.00
               CB 11 x360 (G2 EE) Motherboard [N4000][4GB][32GB]                                                                      $1,220.04          0.01%     8.00
               CB 11 x360 (G2 EE) Palmrest w/ Keyboard                                                                                    $0.00          0.00%     4.00
               CB 11 x360 (G3 EE) Daughterboard                                                                                          $58.54          0.00%     7.00
               CB 11 x360 (G3 EE) Hinge [Left]                                                                                           $16.27          0.00%     3.00
               CB 11 x360 (G3 EE) Hinge [Right]                                                                                           $3.98          0.00%     3.00
               CB 11 x360 (G3 EE) LCD Cable                                                                                               $3.67          0.00%     3.00
               CB 11 x360 (G3 EE) LCD w/ Digitizer (Finger-Touch)                                                                       $348.89          0.00%     3.00
               CB 11 x360 (G3 EE) Motherboard                                                                                         $1,606.11          0.02%    14.00
               CB 11 x360 (G3 EE) Palmrest w/ Keyboard                                                                                  $336.78          0.00%    14.00
               CB 11 x360 (G3 EE) Sensor Board                                                                                            $4.91          0.00%     2.00
               CB 11 x360 (G3 EE) Speaker Set                                                                                            $34.84          0.00%     4.00
               CB 11 x360 (G3 EE) Trackpad                                                                                                $7.68          0.00%     1.00
               CB 11 x360 (G3 EE) Wi-Fi Card                                                                                              $9.12          0.00%     1.00
               CB 11A (G6 EE Non-Touch) Daughterboard                                                                                     $3.18          0.00%     1.00
               CB 11A (G6 EE Non-Touch) LCD Cable                                                                                         $2.41          0.00%     1.00
               CB 11A (G6 EE Non-Touch) Motherboard [4GB] [16GB]                                                                         $70.58          0.00%     4.00
               CB 11A (G6 EE Non-Touch) Palmrest w/ Keyboard                                                                             $31.86          0.00%     2.00
               CB 11A (G6 EE Non-Touch) Wi-Fi Card                                                                                        $0.00          0.00%     1.00
               CB 11A (G8 EE Non-Touch) Camera                                                                                            $7.37          0.00%     2.00
               CB 11A (G8 EE Non-Touch) Camera Cable                                                                                      $0.00          0.00%     1.00
               CB 11A (G8 EE Non-Touch) Hinge [Left]                                                                                      $0.00          0.00%     1.00
               CB 11A (G8 EE Non-Touch) Housing [Base]                                                                                    $0.00          0.00%     1.00
               CB 11A (G8 EE Non-Touch) Housing [Hinge Cover]                                                                            $12.00          0.00%     1.00
               CB 11A (G8 EE Non-Touch) LCD Cable                                                                                         $6.33          0.00%     2.00
               CB 11A (G8 EE Non-Touch) Motherboard                                                                                     $265.01          0.00%     2.00
               CB 11A (G8 EE Non-Touch) Palmrest w/ Keyboard                                                                             $79.29          0.00%     4.00
               CB 11A (G8 EE Touch) Palmrest w/ Keyboard                                                                                 $50.29          0.00%     1.00
               CB 14 (C933) LCD Assembly                                                                                                $126.00          0.00%     1.00
               CB 14 (C933) LCD w/ Digitizer                                                                                             $71.07          0.00%     1.00
               CB 14 (C933) Motherboard [4GB][32GB]                                                                                     $367.82          0.00%     2.00
               CB 14 (C933) Trackpad                                                                                                      $1.65          0.00%     1.00
               CB 14 (G5 Non-Touch) Camera                                                                                                $2.78          0.00%     1.00
               CB 14 (G5 Non-Touch) Daughterboard Flex Set                                                                               $14.96          0.00%     1.00
               CB 14 (G5 Non-Touch) Motherboard[N3350][4GB][64GB]                                                                       $139.99          0.00%     1.00
               CB 14 (G5 Non-Touch) Palmrest w/ Keyboard                                                                              $6,013.07          0.07%   308.00
               CB 14 (G5 Touch) LCD Panel                                                                                             $5,200.24          0.06%   119.00
               CB 14 (G5 Touch) Motherboard[N3350][4GB][16GB]                                                                           $387.65          0.00%     3.00
               CB 14 (G5 Touch) Trackpad Flex                                                                                             $0.00          0.00%    17.00
               CB 14A (G5 Non-Touch) Battery                                                                                             $40.44          0.00%     2.00
               CB 14A (G5 Non-Touch) LCD Cable                                                                                           $19.80          0.00%     1.00
               CB 14A (G5 Non-Touch) Motherboard [A4-9120C][16GB]                                                                       $156.13          0.00%     1.00
               CB 14A (G5 Non-Touch) Palmrest w/ Keyboard                                                                               $219.58          0.00%    44.00
               CB 14A (G5 Non-Touch) Trackpad                                                                                            $20.78          0.00%     2.00
               CB 14A (G5 Non-Touch) Trackpad Flex                                                                                        $7.98          0.00%     2.00
               CB 14A (G5 Touch) Housing [LCD Bezel]                                                                                    $151.22          0.00%    22.00
               CB 14A (G5 Touch) LCD Cable                                                                                                $4.49          0.00%     1.00
               CB 14A (G5 Touch) LCD Cable (Touch)                                                                                       $42.29          0.00%     6.00
               CB 14A (G5 Touch) LCD Panel                                                                                            $5,477.66          0.06%    67.00
               CB 14A (G5 Touch) Motherboard [A4-9120C][4GB][16GB]                                                                    $1,415.34          0.02%    14.00
               CB 14A (G5 Touch) Palmrest w/ Keyboard                                                                                 $9,649.89          0.11%   251.00
               CB 14A (G5 Touch) Trackpad                                                                                                $80.71          0.00%     6.00
               CB 14A (G5 Touch) Trackpad Flex                                                                                            $8.99          0.00%     2.00
               CB 14b (CA0013DX) LCD Panel w/ Digitizer                                                                                 $159.95          0.00%     1.00
               CB 14c x360 (CA0053DX) Motherboard [8GB][64GB]                                                                           $119.95          0.00%     1.00
               CB 14E (81MH) Camera                                                                                                       $1.80          0.00%     2.00
               CB 14E (81MH) Housing [Hinge Cover]                                                                                        $9.84          0.00%     1.00
               CB 14E (81MH) LCD Cable                                                                                                    $6.97          0.00%     1.00
               CB 14E (81MH) Motherboard [4GB][32GB]                                                                                    $104.45          0.00%     1.00
               CB 14E (81MH) Trackpad                                                                                                     $1.80          0.00%     1.00
               CB Tab 10 (D651N-K9WT) Digitizer                                                                                          $91.67          0.00%     1.00
               CB Tab 10 (D651N-K9WT) Motherboard                                                                                     $1,446.66          0.02%     9.00
               Galaxy S9 Housing [Rear] - Black                                                                                           $7.08          0.00%     1.00
               Galaxy Tab S6 (SM-T867) LCD Assembly                                                                                     $233.66          0.00%     1.00
               iPad 5 Digitizer - Black                                                                                                  $24.79          0.00%     2.00
               iPad 6 Camera [Rear]                                                                                                       $7.91          0.00%     4.00
               iPad 6 Digitizer - Black                                                                                                  $53.24          0.00%     4.00
               iPad 6 Home Button [Black]                                                                                                 $4.65          0.00%     1.00
               iPad 7 (10.2) Digitizer - Black                                                                                           $18.12          0.00%     1.00
               iPad 8 Digitizer - Black                                                                                                  $15.11          0.00%     1.00
               iPad Air 2 Digitizer - Black                                                                                              $53.22          0.00%     3.00
               iPad Air 2 Digitizer - Black (Cellular)                                                                                   $17.74          0.00%     1.00
               iPad Air 2 LCD Assembly - Black                                                                                          $110.64          0.00%     1.00
               iPad Air 3 LCD Assembly - Black                                                                                           $63.35          0.00%     1.00
               iPad Mini 4 Charge Port Flex - Black                                                                                       $5.20          0.00%     2.00
               iPad Pro (11) LCD Assembly                                                                                               $155.04          0.00%     1.00
               Latitude (3180) Palmrest                                                                                                  $28.07          0.00%     1.00
               Latitude (3189) Hinge [Left]                                                                                               $3.20          0.00%     1.00
               Latitude (3189) Hinge [Right]                                                                                              $6.09          0.00%     1.00
               Latitude (3189) LCD Cable                                                                                                 $13.49          0.00%     1.00
               Latitude (3190) Battery (WDX0R)                                                                                            $0.00          0.00%     1.00
               Latitude (3190) Housing [Hinge Cover]                                                                                      $0.00          0.00%     2.00
               Latitude (3190) Keyboard                                                                                                   $8.37          0.00%     1.00
               Latitude (3190) LCD                                                                                                       $74.16          0.00%     1.00
               Latitude (3190) LCD Cable                                                                                                 $77.09          0.00%     5.00
               Latitude (3190) Palmrest w/ Keyboard (w/ Cutout)                                                                           $2.30          0.00%     1.00
               Latitude (3390) Palmrest w/ Keyboard                                                                                      $30.00          0.00%     2.00
               LCD Panel (30 Pin 14 in)                                                                                                 $330.18          0.00%     4.00
               LCD Panel (40 Pin 11 in)                                                                                                 $402.58          0.00%     8.00
               LCD Panel (40 Pin 11 in) (Touch)                                                                                          $55.11          0.00%     2.00
               LCD Panel (40 Pin 14 in) (Touch)                                                                                         $197.07          0.00%     3.00
               LCD Panel (Touch) L/R Brackets (30 Pin 11 in)                                                                             $54.82          0.00%     2.00
               LCD Panel L/R Brackets (30 Pin 11 in)                              30 Pin LCD with Left & Right Brackets               $8,913.53          0.10%   178.00
               MacBook Air (A1466) Motherboard                                                                                          $188.71          0.00%     1.00
               Macbook Air 13in 2020 (A2179) LCD Assembly                                                                               $354.49          0.00%     1.00
               Placeholder Case                                                   Placeholder Case                                        $0.00          0.00%     1.00
               ProBook x360 11 (G3 EE) Camera                                                                                            $23.99          0.00%     1.00
               SM-CS-CC151                                                        Molded EVA Foam, Universal Work Case, Zip, with Accessory
                                                                                                                                        $353.15
                                                                                                                                              Pouch, 13"-14"
                                                                                                                                                         0.00%    40.00
               SM-TG-IPA105                                                       Tempered Glass for iPad Air/Air 2/New/Pro 9.7/6th Gen   $2.85          0.00%     1.00
               SM-TG-TB312                                                        Tempered Glass for Surface Go/Go 2                      $0.00          0.00%     1.00
               Surface Go LCD Assembly                                                                                                  $136.39          0.00%     1.00
               TravelMate (P215) LCD Panel                                                                                               $94.50          0.00%     1.00
               Winbook (300e 81FY) Camera                                                                                                 $7.27          0.00%     1.00
               Winbook (300e 81FY) Hinge [Left]                                                                                           $0.24          0.00%     1.00
               Winbook (300e 81FY) Housing [Base]                                                                                        $74.55          0.00%     5.00
               Winbook (300e 81FY) Housing [LCD Rear Cover]                                                                              $45.50          0.00%     3.00
               Winbook (300e 81FY) LCD w/ Digitizer                                                                                     $179.84          0.00%     3.00




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                                 Winbook (300e 81FY) Motherboard                                                                                                  $77.92     0.00%          2.00
                                 Winbook (300e 81FY) Palmrest w/ Keyboard and Trackpad*                                                                           $73.78     0.00%          2.00
                                 Winbook (300e 81FY) Speaker Set                                                                                                   $1.98     0.00%          1.00
                                 Winbook (300e 81FY) Trackpad Flex                                                                                                 $1.26     0.00%          1.00
                                 Winbook (300e 81FY) Wi-Fi Card                                                                                                   $11.73     0.00%          3.00
                                 Winbook (300e 81M9) Battery                                                                                                       $4.39     0.00%          1.00
                                 Winbook (300e 81M9) Daughterboard                                                                                                $29.70     0.00%          4.00
                                 Winbook (300e 81M9) Daughterboard Flex                                                                                            $0.27     0.00%          1.00
                                 Winbook (300e 81M9) Hinge Set*                                                                                                   $13.53     0.00%          1.00
                                 Winbook (300e 81M9) Hinge [Left]                                                                                                  $5.91     0.00%          1.00
                                 Winbook (300e 81M9) Housing [Hinge Cover]                                                                                        $15.00     0.00%          2.00
                                 Winbook (300e 81M9) Housing [LCD Rear Cover]                                                                                     $54.28     0.00%          8.00
                                 Winbook (300e 81M9) LCD Cable                                                                                                     $2.62     0.00%          1.00
                                 Winbook (300e 81M9) LCD w/ Digitizer                                                                                          $1,385.57     0.02%         28.00
                                 Winbook (300e 81M9) Motherboard                                                                                               $5,287.38     0.06%         37.00
                                 Winbook (300e 81M9) Palmrest w/ Keyboard                                                                                          $7.70     0.00%          2.00
                                 Winbook (300e 81M9) Palmrest w/ Keyboard and Trackpad (w/ Cutout)                                                                $37.49     0.00%          7.00
                                 Winbook (300e 81M9) Spine Cover                                                                                                   $7.23     0.00%          5.00
                                 Winbook (300e 81M9) Trackpad                                                                                                      $5.74     0.00%          7.00
                                 Winbook (300e 81M9) Wi-Fi Card                                                                                                    $2.85     0.00%          1.00
                                 Winbook (81MQ) LCD Panel                                                                                                      $2,635.92     0.03%         24.00
                                 Yoga (N23) Keyboard                                                                                                               $1.55     0.00%          1.00
                                 Yoga (N23) LCD Assembly                                                                                                         $303.66     0.00%          3.00
                                 Yoga (N23) LCD w/ Digitizer                                                                                                     $195.19     0.00%          3.00
                                 Yoga (N23) Motherboard                                                                                                        $1,720.54     0.02%         18.00
                                 Yoga (N23) Speaker Set                                                                                                            $6.99     0.00%          1.00
                                 Yoga 11E (4th Gen) SSD [128GB]                                                                                                  $509.94     0.01%          9.00
                                 Yoga 11E (5th Gen) SSD [128GB]                                                                                                   $49.99     0.00%          1.00
      Total - Inventory Item                                                                                                                                 $188,705.58     2.18%      4,163.00
   Total - Return Merchandise                                                                                                                                $188,705.58     2.18%      4,163.00
   9002 - Goldie Group
      Inventory Item
                                 ## CB 11 (G8 EE) Palmrest w/ Keyboard ##                                                                                          $31.42     0.00%         1.00
                                 ## CB 11A (G8 EE) Daughterboard ##                                                                                                $12.51     0.00%         2.00
                                 CB 11 (100e 81QB) Daughterboard                                                                                                   $17.11     0.00%         4.00
                                 CB 11 (100e 81QB) Daughterboard Flex                                                                                               $4.29     0.00%         5.00
                                 CB 11 (100e 81QB) LCD Cable                                                                                                        $3.30     0.00%         2.00
                                 CB 11 (100e 82CD) AST Palmrest w/ Keyboard and Trackpad                                                                           $28.86     0.00%         1.00
                                 CB 11 (100e 82CD) AST Trackpad                                                                                                     $2.35     0.00%         2.00
                                 CB 11 (100e 82CD) AST Trackpad Cable                                                                                               $0.46     0.00%         1.00
                                 CB 11 (300e 81MB) Camera                                                                                                           $0.54     0.00%         2.00
                                 CB 11 (300e 81MB) LCD Cable (Touch)                                                                                               $13.59     0.00%         3.00
                                 CB 11 (300e 81MB) Palmrest w/ Keyboard (w/ Cutout)                                                                                 $7.86     0.00%         1.00
                                 CB 11 (300e 81QC) Daughterboard                                                                                                   $25.13     0.00%         2.00
                                 CB 11 (300e 81QC) Palmrest w/ Keyboard                                                                                             $5.16     0.00%         1.00
                                 CB 11 (300e 81QC) Speaker Set                                                                                                      $4.48     0.00%         1.00
                                 CB 11 (3100 P29T Touch)(30J93) Battery                                                                                             $4.88     0.00%         5.00
                                 CB 11 (3100 P29T Touch)(30J93) Trackpad                                                                                            $0.00     0.00%         3.00
                                 CB 11 (3180) Audio Board                                                                                                          $11.45     0.00%         1.00
                                 CB 11 (3180) Battery                                                                                                               $7.12     0.00%         1.00
                                 CB 11 (500e 81ES) Trackpad                                                                                                         $5.74     0.00%         1.00
                                 CB 11 (C204) LCD Assembly                                                                                                        $179.98     0.00%         2.00
                                 CB 11 (C204) Trackpad                                                                                                             $14.24     0.00%         1.00
                                 CB 11 (C204) Trackpad Flex                                                                                                         $2.84     0.00%         1.00
                                 CB 11 (C721) LCD Cable                                                                                                             $1.38     0.00%         1.00
                                 CB 11 (G6 EE Non-Touch) Wi-Fi Card                                                                                                 $0.00     0.00%         1.00
                                 CB 11 (G8 EE Non-Touch) LCD Cable                                                                                                  $6.22     0.00%         1.00
                                 CB 11 (G8 EE Non-Touch) Wi-Fi Card                                                                                                 $0.00     0.00%         1.00
                                 CB 11A (G6 EE Non-Touch) Battery                                                                                                   $0.00     0.00%         1.00
                                 CB 11A (G6 EE Non-Touch) Camera Cable                                                                                              $0.25     0.00%         1.00
                                 CB 11A (G6 EE Non-Touch) LCD Cable                                                                                                 $4.09     0.00%         2.00
                                 CB 11A (G8 EE Non-Touch) LCD Cable                                                                                                 $2.71     0.00%         1.00
                                 CB 14 (C933) Camera                                                                                                                $2.49     0.00%         2.00
                                 CB 14 (C933) Daughterboard                                                                                                         $3.06     0.00%         2.00
                                 CB 14 (C933) Hinge [Left]                                                                                                          $0.86     0.00%         1.00
                                 CB 14 (C933) Hinge [Right]                                                                                                         $1.19     0.00%         1.00
                                 CB 14 (C933) Housing [LCD Rear Cover]                                                                                              $5.86     0.00%         1.00
                                 CB 14 (C933) LCD Cable                                                                                                             $7.14     0.00%         1.00
                                 CB 14 (C933) Speaker Set                                                                                                           $0.00     0.00%         1.00
                                 CB 14 (C933T) Camera                                                                                                               $7.32     0.00%         1.00
                                 CB 14 (C933T) LCD Cable                                                                                                           $16.90     0.00%         2.00
                                 LCD Panel L/R Brackets (30 Pin 11 in)                                            30 Pin LCD with Left & Right Brackets           $116.53     0.00%         3.00
        Total - Inventory Item                                                                                                                                    $559.31     0.01%        67.00
   Total - 9002 - Goldie Group                                                                                                                                    $559.31     0.01%        67.00
Total - SMV                                                                                                                                                 $8,661,370.88   100.00%   793,290.50
Total                                                                                                                                                       $8,661,370.88   100.00%   793,290.50




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                  EXHIBIT B




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EXHIBIT 2



Marketing and Operations

We are prepared to deploy our team, experienced in the orderly auction & liquidation of Assets,
to the site to ensure a safe and successful sale. To maximize the net return, we will utilize a
comprehensive, tireless and complete marketing effort, bringing a “no stone unturned” mentality
to the approach and scope of the project. We use a multitude of media and advertising channels
to ensure the proper exposure to the sale and to the project overall, while always protecting the
integrity and reputation of the transaction at hand. Our marketing strategies generally include:
local, regional and international media insertions, nationwide internet announcement, trade
listings, web and Internet notifications, email notices, and direct call marketing telephone
solicitations. Additionally: Tiger Capital Group will assist with marketing to their 1,000’s of
auction buyers.

We would handle all aspects of the transaction from concept through execution as an Orderly
Auction with Sealed Bids including preparing and placing all advertising and marketing
materials, overseeing personnel and operational efforts, onsite execution and support services,
overseeing property removal and building supervision, and providing detailed financial
accounting and support documentation.

Our team plans to mobilize to the site within 48 hours of agreement to begin the process.

PROPOSED TIMELINE:
Day 1 to 5: Onsite evaluation, setup, cataloging, and lotting of the sealed bid lots Day 6 to 15:
Sealed bid customer meetings & preparing “other assets” for auction Day 15 to 20: Listing of
auction lots online
Day 21: Closing sealed bid to highest & best bidders, start bulk removals
Day 35: Auction previews
Day 36: Auction day
Day 37 to 44: Auction invoicing, payment collections, & asset removals
Day 45: Final walk-through & completion on site
Day 60: Final accounting finished




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